        Dated: 5/23/2023




            IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                     MIDDLE DISTRICT OF TENNESSEE

  IN RE:                                      )
                                              ) CASE NO. 318-02662
  LEN SALAS,                                  )
                                              ) JUDGE MARIAN F. HARRISON
         Debtor.                              )
                                              ) CHAPTER 7
  NICOLAAS BREKELMANS AND                     )
  GAIL GREGORY BREKELMANS,                    )
  CO-PERSONAL REPRESENTATIVES                 ) ADV. NO. 320-90027
  OF THE ESTATE OF NINA                       )
  BREKELMANS,                                 )
                                              )
  and                                         )
                                              )
  MICHAEL MCLOUGHLIN AND                      )
  MARTHA JOHNSON, CO-PERSONAL                 )
  REPRESENTATIVES OF THE                      )
  ESTATE OF PATRICK                           )
  MCLOUGHLIN,                                 )
                                              )
         Plaintiffs,                          )
                                              )
  v.                                          )
                                              )
  MAX SALAS,                                  )
                                              )
          Defendant.                          )




                                       ORDER




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       In accordance with the Memorandum Opinion filed contemporaneously with this

 Order, it is hereby ORDERED that the motions for summary judgment on Counts I, II, III,

 and VI of the plaintiffs’ amended complaint are DENIED.



       It is further ORDERED that Max Salas’ motion for summary judgment on

 Counts IV and V of the plaintiffs’ amended complaint is GRANTED.




       IT IS SO ORDERED.




       This Order was signed and entered electronically as indicated at the top
                                 of the first page.




                                                              This Order has been electronically
                                                              signed. The Judge's signature and
                                           2                  Court's seal appear at the top of the
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                                                              United States Bankruptcy Court.

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                          UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF TENNESSEE (NASHVILLE)

                                     .
       IN RE:                        .          Case No. 18-02662
                                     .          Chapter 7
       LEN SALAS,                    .
                                     .
                      Debtor.        .
                                     .
       . . . . . . . . . . . . . . . .
       NICOLAAS BREKELMANS, et al.,  .          Adv. No. 20-90027
                                     .
                        Plaintiffs,  .
                                     .
       v.                            .
                                     .          701 Broadway
       MAX SALAS,                    .          Nashville, TN 37203
                                     .
                        Defendants.  .          Tuesday, November 8, 2022
       . . . . . . . . . . . . . . . .          9:33 a.m.

           TRANSCRIPT OF PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT RE:
           COUNTS I, II, IV, V, AND VI OF THE AMENDED COMPLAINT [73]
                    BEFORE THE HONORABLE MARIAN F. HARRISON
                      UNITED STATES BANKRUPTCY COURT JUDGE

       APPEARANCES:
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   1          (Proceedings commence at 9:33 a.m.)

   2                THE COURT:     Good morning.

   3                THE CLERK:     Hold on, you're still muted, Your Honor.

   4                The United States Bankruptcy Court for the Middle

   5   District of Tennessee is now in session, the Honorable Marian

   6   F. Harrison presiding.

   7                THE COURT:     Good morning.

   8                THE CLERK:     Good morning, Your Honor.

   9                MR. MCNUTT:     Good morning, Your Honor.

  10                MR. YOUNG:     Good morning.

  11                THE CLERK:     We have one matter set at 9:30, Case

  12   Number 20-90027, Brekelmans v. Salas.

  13                MR. MCNUTT:     Good morning, Your Honor.         Phil McNutt,

  14   I'm sorry, I muted myself and didn't realize it.

  15                MR. YOUNG:     Good morning, Your Honor.         Phillip Young

  16   on behalf of the defendant, Max Salas.

  17                THE COURT:     Mr. Cates?

  18                MR. CATES:     I'm here on -- with Mr. McNutt.

  19                THE COURT:     All right.     So we have one motion for

  20   summary judgment.       Is that correct?

  21                MR. MCNUTT:     Yes, Your Honor.

  22                THE COURT:     All right.     Go ahead, Mr. McNutt.

  23                MR. MCNUTT:     Thank you, Your Honor.        Your Honor, I

  24   won't go into a lot of the background and detail because I'm

  25   sure Your Honor is very familiar with it.


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   1                THE COURT:     Yeah.

   2                MR. MCNUTT:     And I know that you've --

   3                THE COURT:     Yeah, there's a threshold issue that I

   4   think we need to address.         And that is the argument that the

   5   son held bare legal title.          Let's talk about that in terms of

   6   the motion for summary judgment first.             Because if there's only

   7   bare legal title according what -- to Whiting Pools, there's no

   8   fraudulent conveyance here.          But let's go ahead and talk about

   9   that first, Mr. McNutt.

  10                MR. MCNUTT:     Sure, Your Honor.       With respect to the

  11   issue of bare legal title, first of all the argument that

  12   there's bare legal title has already been determined against

  13   the defendants in the superior court litigation, which would be

  14   judicial or collateral estoppel to these parties.               Mr. Len

  15   Salas, the debtor, was determined to be the owner of the

  16   property for all purposes.          Also, Your Honor, with respect to

  17   the admissions that were submitted as part of the -- the list

  18   of undisputed facts, that is, rather, the undisputed facts show

  19   that number one, Mr. Len Salas was the titled owner.                Number

  20   two, that he held indicia of title and ownership.               Number

  21   three, that he was the holder and the sole obligor under a deed

  22   of trust to SunTrust bank in the amount of $870,000, which rose

  23   before it was eventually turned over well after the bankruptcy

  24   was filed to Mr. -- to the defendant, Max Salas.               Was turned

  25   over to Max Salas in, I believe it was November of 2019.                 At


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   1   that time, and to this day, I believe, Mr. Len Salas is still

   2   obligated on that deed of trust, which in November of 2019 had

   3   a balance of approximately $1,280,000.

   4                With respect to all of the records of the District of

   5   Columbia and the D.C. Recorder of Deeds, which is the entity in

   6   D.C. that holds the titles and real estate interests of

   7   parties, the only party listed with respect to this property

   8   was Len Salas.      Your Honor, I would also say that my

   9   understanding of the issue of bare legal title relates not to

  10   whether or not the bare legal title makes this property of the

  11   debtor's estate under Section 541, specifically 541(b), but the

  12   issue here is whether or not the interest of the debtor can be

  13   recovered under the recovery powers of the trustee under

  14   Sections -- of the avoidance sections, Sections 544(a), or

  15   as --

  16                THE COURT:     Well, what -- under Whiting Pools -- I

  17   think it's Whiting Pools, avoidance doesn't come into question

  18   if there's only bare legal title transferred because there's no

  19   -- it's worth zero.        Isn't that the way it goes?

  20                MR. MCNUTT:     I don't believe so, Your Honor.           The

  21   cases that I've looked at, and unfortunately I did not look at

  22   Whiting Pools, so I have to -- I mean I'm familiar with the

  23   name of the case.       You know, it's been around for a while.              But

  24   I did not research that case, did not look at that case prior

  25   to today's hearing.        But the case law that I have seen,


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   1   including cases in the Ninth Circuit, one of the cases which

   2   actually criticizes one of the cases cited by Mr. Young.                 And

   3   according to cases in other circuits, there seems to be some

   4   confusion with respect to the difference between whether the

   5   property was a property of the estate, or whether an interest

   6   in property, or that the debtor had could be avoided and or

   7   recovered.     If you look at -- let me see if I can find the

   8   case, Your Honor.       And this is the case of In re Anderson,

   9   which is actually a case out of the Middle District of

  10   Tennessee, 30 B.R. 995.

  11                THE COURT:     Okay.

  12                MR. MCNUTT:     That case said that Section 541(b) poses

  13   no barrier to avoidance and recovery by the trustee.                The case

  14   states that parties considering this issue need to read

  15   Sections 541, 544, 550, and 551 together to determine whether

  16   or not property that can be recovered is property of the

  17   bankruptcy estate.        I believe the confusion relates to the fact

  18   that if there is no property interest at the beginning of the

  19   case, then there's the -- then there -- some cases have said

  20   that there is no interest of the debtor which can be avoided.

  21   However, Sections 550 and 551 make it clear that property that

  22   is avoided or preserved for the benefit of the case -- for --

  23   I'm sorry, for the benefit of the estate under the Bankruptcy

  24   Code in the bankruptcy proceeding, becomes proceeding becomes

  25   property of the estate, and therefore has value to the


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   1   creditors.

   2                THE COURT:     Okay.

   3                MR. MCNUTT:     In the case of Anderson --

   4                THE COURT:     Wait just a second.       Let me tell you what

   5   Whiting Pools is.       It's a Supreme Court opinion decided in

   6   1983.    If -- and it basically says where the debtor holds only

   7   bare legal title and not equitable title to property, only the

   8   legal title becomes part of the debtor's bankruptcy estate.                     It

   9   also says that bare legal title has no value to an estate, and

  10   that a transfer of bare legal tile cannot form the basis for a

  11   fraudulent transfer action.          It's a United States Supreme Court

  12   case, so we need to focus on bare legal title first.

  13                MR. MCNUTT:     Okay.    Just one other thing I might say,

  14   Your Honor.      In the Anderson case, it cites the Bankruptcy

  15   Commission's Report from -- in 1978, I believe, is the date of

  16   the Commission Report.         The Commission Report says property of

  17   the estate includes recoveries under the avoidance sections of

  18   the Act.     And that's cited on Page 1010 of the Anderson

  19   decision.     But with respect to the issue of -- and also, Your

  20   Honor, there is the Tleel decision of the Ninth Circuit which

  21   states that bare legal title is an interest in property which

  22   can be recovered for the benefit of the estate.               Those are all

  23   after the Whiting Pools decision, so I'm not sure how they get

  24   around Whiting Pools.        But in these decisions, the Whiting

  25   Pools case is not discussed as far as I know, as far as I read.


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   1   And these -- you know, I read this based on the cases that were

   2   cited by Mr. Young.        And my conclusion was that the cases that

   3   he cited that seemed to say that bare legal title was

   4   insufficient essentially misread the Bankruptcy Code, and read

   5   only Section 541(b) and did not focus on the fact that property

   6   of the estate includes recoveries.            And a property interest is

   7   different from property of the estate.             Therefore, if a

   8   property interest, or an interest in property of the debtor --

   9   and that's what Sections 550 and 551 say -- are recovered, they

  10   become -- if they're recovered for the benefit of the estate,

  11   or if they're preserved for the benefit of the estate, they

  12   become estate property.         I did not notice any criticisms of

  13   those cases.      Like I said, there are other cases, mostly lower

  14   case -- lower court decisions which do conflict with those.

  15   However --

  16                THE COURT:     Did those cases talk about bare legal

  17   title?

  18                MR. MCNUTT:     Yes, at least two of them did for sure,

  19   Anderson and the Tleel case of the -- which is in the -- which

  20   is in my response.        There's also a Kayfirst Corp. case, decided

  21   in the District of Columbia in 1993, that's cited at 813

  22   F.Supp. 67.      And at Page 72 of that decision, Your Honor, it

  23   says that the claim that the plaintiff held only bare legal

  24   title does not defeat plaintiff's bona fide purchaser status.

  25   The case of In re Tleel, which is Ninth Circuit, 876 Fed. 2d


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   1    769, at page 771, it says that legal title is plainly an

   2    interest in property.       Didn't say it was property of the

   3    estate, but said it was an interest in property.             And I think

   4    that's the difference, Your Honor.          If it is -- if we're

   5    talking about property of the estate under Section 541, the

   6    interest that the debtor held is only a bare legal interest,

   7    which I contend it is not, would not be part of the bankruptcy

   8    estate.    However, if it is an interest that can be recovered

   9    under Section 544, 547, 548, 549, then it is -- becomes part of

  10    the estate pursuant to Sections 550 and Section 551.

  11                Again, Your Honor, with respect to the issue of

  12    whether there was bare legal title, the Superior Court has

  13    already -- the Superior Court of the District of Columbia has

  14    already decided that Mr. Len Salas was the owner of the

  15    property for all purposes and upheld a judgment against him

  16    that was not appealed. The judgment was dated April 4, 2018,

  17    and that judgment became final and is binding on the parties,

  18    and determined that Mr. Len Salas was liable as an owner -- as

  19    the owner of the property.        Mr. Max Salas was liable as the

  20    manager of the property.

  21                In addition, Your Honor, during the period that we're

  22    talking about, from 2010 when the property was supposedly

  23    transferred to the date of the bankruptcy filing, Mr. Max Salas

  24    was also not the owner of the property.           So that leaves only

  25    Len Salas as the owner of the property.           Mr. Max Salas, even in


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   1    his affidavit filed in this case, stated that he was operating

   2    the property for the benefit of a CLR Trust.             The CLR Trust,

   3    according to Len and Max -- according to Len, that is, was a

   4    trust created for the benefit of Max's children, which would

   5    include Len.     So not only did Len have an ownership interest,

   6    but he had a beneficial interest as a beneficiary of the CLR

   7    Trust.    In addition, Your Honor, as Max Salas has admitted, all

   8    of the indicia of ownership relative to the property were held

   9    by Len Salas for the entire period of 2007 through 2018.

  10                THE COURT:     What are the indicia of ownership?

  11                MR. MCNUTT:     All of the tax bills, all of the D.C.

  12    housing and recording requirements, housing code violations.

  13    All those records with respect to who owned the property, who

  14    was required to pay the taxes, who was required to pay the real

  15    property taxes, all of those were issued in the name of

  16    Len Salas, Your Honor.

  17                THE COURT:     But they were all --

  18                MR. MCNUTT:     Every single one of them.

  19                THE COURT:     -- paid, to the extent they were paid, by

  20    Max Salas, weren't they?

  21                MR. MCNUTT:     No, Your Honor.      They were paid by the

  22    CLR Trust, according to Mr. Salas -- according to

  23    Mr. Max Salas.      He didn't pay them, only the CLR Trust paid

  24    them, the Trust that --

  25                THE COURT:     So are you saying --


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   1                MR. MCNUTT:     -- Len --

   2                THE COURT:     -- that if there are two kids, you're

   3    saying that -- are you saying that because of the trust, Len

   4    Salas owned half of the property?          That's the indicia?

   5                MR. MCNUTT:     No, Your Honor.      The indicia of

   6    ownership is record ownership.         And the records with respect to

   7    who owns the property, and who is obligated for the property

   8    that are among the records of the District of Columbia, they

   9    have been produced as exhibits in the bankruptcy case in D.C.,

  10    in the superior court case in D.C., and are referenced in -- I

  11    can try to find the exact admission.           But one of the lists of

  12    -- one of the undisputed facts states specifically that

  13    Len Salas held all indicia of ownership.            That's among the

  14    undisputed facts that are admitted by Mr. Max Salas.              All

  15    indicia of ownership, that's not just bare legal title, Your

  16    Honor.

  17                THE COURT:     All right.     Go ahead.    Are you finished

  18    talking about bare legal title, or do you want -- I'd like to

  19    hear from your opponent if you're finished talking about bare

  20    legal title.     I'm just trying to parse through this.

  21                MR. MCNUTT:     Sure.    I understand, Your Honor.          And

  22    obviously I'd like to help you as much as I can.             I'm not sure

  23    what else I can say other than I'm a little confused about the

  24    Whiting Pools decision because it doesn't seem to come up in

  25    these later cases, and I think it would if it was still an


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   1    issue of whether or not it prevented a recovery.             I don't

   2    believe it does.      I think it's pretty clear from cases cited in

   3    the District of Columbia, U.S. District Court, in this

   4    District, the Sixth Circuit, the Middle District of Tennessee,

   5    the Anderson case, and in the Ninth Circuit, that bare legal

   6    title is sufficient.

   7                But in this case, I'm telling Your Honor that we

   8    already have this issue decided by the Superior Court of the

   9    District of Columbia in a final determination that Len Salas

  10    was the owner of the property as of April 4, 2018.              Nothing

  11    changed between April 4, 2018, and April 18, 2018, except that

  12    Max Salas and Len Salas came up with this basically scheme.                   I

  13    think that's the only way to really describe it, to try to

  14    create an exemption by making up a story about the existence of

  15    the infamous quitclaim deed.         Now, the quitclaim deed, which

  16    was supposed to transfer property from Len to Max was

  17    introduced as part of the superior court case in 2018, and was

  18    rejected by the Superior Court.          And the Superior Court

  19    determined that -- and the jury determined that Len was liable

  20    as owner of the property.        That's in addition to the fact that

  21    all indicia of ownership, as admitted by the defendant, were

  22    held by Len Salas at all times subsequent to 2007.

  23                THE COURT:     All right.     Let me hear from Mr. Salas's

  24    attorney.

  25                MR. YOUNG:     Thank you, Your Honor.        Phillip Young on


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   1    behalf of Max Salas.       I'm going to start by clarifying a few

   2    things that I believe are substantial misstatements.              The Court

   3    can look at the record for itself, obviously.             First of all,

   4    the D.C. Court did not decide the issue of bare legal title.

   5    What the D.C. Court decided was that Len Salas was the record

   6    property owner, and there's no dispute about that, that he's

   7    the record property owner.        And then if the Court will recall,

   8    the D.C. Court deferred to this Court to decide whether there

   9    were issues about whether or not transfers could be set aside.

  10    So that issue has not been decided.          There is no binding

  11    decision on this Court.        Also, for clarity, the Court will

  12    recall that what the D.C. Court found was that there was no

  13    trust.    There may have been an attempt to create a trust, but

  14    there was no trust.       So -- and that's why the Court found that

  15    Max Salas owned a homestead exemption in the home, because

  16    there was no trust.       So I wanted to -- those are a couple of

  17    things that I wanted to clarify.

  18                I also want to clarify that there absolutely was not

  19    an admission that all indicia was -- all indicia to property

  20    was in Len Salas's name.        There -- I'm -- there were admissions

  21    about that the property was titled in his name, and the tax

  22    records were sent to his name, that's all true.             But it is not

  23    true that all indicia of ownership was in Len Salas's name.

  24    That's categorically untrue.         In fact, Your Honor, the debtor,

  25    Len Salas, never owned anything more than bare legal title to


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   1    the property in question.        The undisputed fact as presented by

   2    the plaintiffs themselves clearly demonstrate that.              While the

   3    property was titled in the name of the debtor, as I just

   4    mentioned, it's undisputed that the debtor paid nothing for the

   5    property.    It had previously been in the names of Max Salas and

   6    his ex-wife.     It's undisputed that it was transferred into the

   7    debtor's name prior to 2010 so that Max Salas could refinance

   8    the property into his own name.          Again, all of those are

   9    undisputed facts.      It's also undisputed that Max Salas paid all

  10    mortgage payments.      He paid all taxes on the property, he lived

  11    there.    The debtor never lived there.         He was the one who

  12    rented the rooms out.       All the renters, including the

  13    plaintiffs, dealt only with Max Salas.           They sent payments to

  14    him, he collected the rents, he was the one that oversaw and

  15    paid for reconstruction of the property after the fire.               All

  16    those facts are undisputed by the plaintiffs, and in fact

  17    they're included in their own statement of undisputed facts

  18    that the Court can review on its own.           In short, the debtor

  19    never owned any interest in this property other than being the

  20    record holder, and this is the quintessential definition of

  21    bare legal title.

  22                In our brief, we cite to and summarize case after

  23    case after case from all over the country that hold that in

  24    cases just like this, a bankruptcy estate has no interest in

  25    the property because the debtor only held bare legal title.


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   1    Those cases state that in situations just like this, because a

   2    bare legal title interest is not property of the estate under

   3    541, a transfer of the property is unavoidable by the transfer

   4    -- by the trustee, whether under 544, 547, 548, 549, or state

   5    fraudulent conveyance law.        In this instance, the plaintiffs

   6    are stepping into the shoes of the trustee, because the trustee

   7    decided to sell this cause of action instead of pursuing it

   8    himself, likely because he realized these exact problems with

   9    attempting to recover the transfer of property in which an

  10    estate owns only bare legal title.

  11                We believe that the multitude of cases cited in our

  12    briefs speak for themselves, and I know that the Court has

  13    reviewed the briefs, so I'm not going to walk through those one

  14    by one.    Instead, I'll just state that case after case cited in

  15    our brief have facts almost identical to this one.              Instead of

  16    going through all those cases one by one, what I'd like to do

  17    is use my few minutes this morning to respond to arguments made

  18    in the plaintiffs' brief about why this Court should not adopt

  19    the reasoning of this myriad of cases from multiple courts

  20    throughout the country.

  21                First, they try to argue some kind of unclean hand

  22    theory.    It's not exactly clear.        They say that Max Salas

  23    transferred the property to the debtor as part of divorce

  24    planning, and they even make some unsubstantiated and highly

  25    disputed claims that Max Salas transferred this property to the


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   1    debtor as some scheme to defraud the IRS.            Therefore, the

   2    plaintiffs say Max Salas shouldn't be allowed to defend these

   3    claims due to unclean hands.         However, the cases cited in our

   4    brief make clear that even if the plaintiffs' claims about Max

   5    Salas were absolutely true, unclean hands would not bar him

   6    from defending this action.         The cases make clear that unclean

   7    hands prevent a party from asking a court to grant affirmative

   8    rights, but it doesn't prevent a party from defending his

   9    rights to a property.       So unclean hands is inapplicable here.

  10                The plaintiffs also argue that even though the debtor

  11    had nothing more than bare legal title to the property, Section

  12    544 somehow trumps Max Salas's resulting trust in the property.

  13    And you just heard Mr. McNutt talk about the 1983 decision of

  14    In re Anderson from Judge Paine's courtroom.             And they rely

  15    heavily on this in their response.          And the reasoning behind --

  16    but as the Court knows, the reasoning behind Judge Paine's 1983

  17    decision was undercut by a 1988 decision of the United States

  18    Supreme Court in U.S. v. Whiting Pools, which is cited in our

  19    brief.    And in that later Whiting Pools case, the highest court

  20    in the land noted that if a debtor held only bare legal title

  21    to the property, it can't be property of the estate under 541,

  22    and we quote the Supreme Court's decision on Page 22.               The

  23    Court's already referenced that this morning.             So the Supreme

  24    Court has conclusively decided that bare legal title can't be

  25    recoverable.     And if property is never property of the estate,


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   1    then it can't be recoverable whether under 544, 547, 548, state

   2    law, transfer of whatever, regardless of the trustee's long arm

   3    powers.    A trustee can only recover property of the estate.                 He

   4    can't expand property of the estate.           If it was never property

   5    of the estate, he can't recover it.

   6                 But I want to talk for just a minute, because I think

   7    this is important.      Even if the plaintiffs were right about

   8    this, that the strong arm powers of 544 allow a trustee to

   9    recover property that was never property of the debtor in the

  10    first instance, they'd still lose the summary judgment motion

  11    because the hypothetical judgment lien holder, or the purchaser

  12    in good faith under 544 would have had inquiry notice as of the

  13    date of the bankruptcy.        The plaintiffs recorded a lien lis

  14    pendens before the filing of the debtor's bankruptcy petition.

  15    Therefore, as of the date of the bankruptcy, any good faith

  16    purchaser or any lien creditor would have been on notice of the

  17    lawsuit against the debtor and Max Salas, and under state law

  18    would have been required to do due diligence into the

  19    situation.     Any inquiry whatsoever would have uncovered that

  20    Max Salas, and not the debtor, had exercised clear control and

  21    dominion over the property throughout the time that Max Salas

  22    was the bare record holder of the title.            Because creditors

  23    were on inquiry notice as of the petition date, any

  24    hypothetical judgment lien holder or purchaser in good faith

  25    could not have, in good faith, asserted any kind of a lien


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   1    against the debtor's interest in real property.             Thus, even if

   2    they're right about 544 expanding the estate under 541, the

   3    plaintiffs' summary judgment motion would still fail because

   4    under 544 you have to look what a good faith purchaser would

   5    have been put on notice of.         And there was definitely inquiry

   6    notice in this case.

   7                 Finally, I just want to briefly mention that the

   8    plaintiffs incorrectly argue, despite all of this, that this

   9    property can still be recovered under state fraudulent

  10    conveyance law, even if it can't be recovered under 544 or 548.

  11    Again, the cases that we cited in our brief uniformly deny a

  12    trustee's attempts to avoid transfer of property in which the

  13    estate owned only bare legal title under both 548 and state

  14    fraudulent transfer law.        And the reasoning for that is simple.

  15    First, if the debtor never owned an interest in the property,

  16    then there can't be a transfer, either under federal law or

  17    state law.     But secondly, even if a transfer had occurred under

  18    state law, courts have found that the value of a debtor's bare

  19    legal title is zero.       So there can be no transfer for less than

  20    reasonably equivalent value.         A transfer of property with no

  21    value for no consideration is a reasonably equivalent transfer.

  22    We think that the overwhelming majority of case law as applied

  23    to the undisputed facts of this case make very clear that the

  24    debtor owned nothing more than bare legal title to the

  25    property.    If the Court agrees with this conclusion, then I


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   1    think there's no legal theory upon which the plaintiffs can

   2    proceed.    Indeed, frankly, if we had known all the facts that

   3    the plaintiffs were going to admit in their undisputed facts,

   4    we would have filed our own motion for summary judgment.               We

   5    didn't, because we expected the plaintiffs to dispute a few

   6    facts that they've admitted in their statement of undisputed

   7    facts.

   8                 So we think the Court has two options today.            One, if

   9    the Court agrees that the undisputed facts establish that the

  10    debtor owned nothing more than bare legal title, which we

  11    strongly feel that all the case law indicates that, then we

  12    think the Court should deny the plaintiffs' motion for summary

  13    judgment, and then enter a judgment in favor of the defendant

  14    because there's no legal theory upon which the plaintiffs can

  15    prevail.    We think that's the appropriate outcome here.             But if

  16    the Court thinks there might be some room to argue whether or

  17    not the debtor owns something more than that bare legal title,

  18    then the Court should deny summary judgment and set the matter

  19    for trial.     After all, as we pointed out --

  20                 THE COURT:    Well, I mean, back -- let me back you up

  21    just a minute.      He cited not only the Anderson case, but a

  22    Ninth Circuit case.       What's your position on that?

  23                 MR. YOUNG:    Not controlling, and the Supreme Court

  24    case is.    That's my position on that, Your Honor.

  25                 THE COURT:    Yeah.


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   1                MR. YOUNG:     The Supreme Court case has definitively

   2    decided, and stated very clearly, that bare legal title can't

   3    be recovered in a transfer action, in an avoidance action.                And

   4    that is binding on this Court, and the Ninth Circuit is not.

   5    And Judge Paine's decision would be instructive, but for the

   6    fact that it came before Whiting Pools, and so I don't even

   7    think it's instructive here.         So I think there's no doubt under

   8    Whiting Pools, under all the other cases that we cited.               And,

   9    Your Honor, I'm sorry if I burdened the Court with summary

  10    after summary, but I wanted to give the Court a flavor of cases

  11    across this country with facts very, very similar to this one

  12    that all decided there's nothing to recover under 544, under

  13    547, under 548, under 549, under state law fraudulent transfer,

  14    because bare legal title is not an interest of property in the

  15    estate.    So I think the Court --

  16                THE COURT:     I know -- I know at one point in a very

  17    small court case there was a question of whether or not --

  18    whether the husband or the wife owned the car, and the husband

  19    had the title to it, but the wife paid all the payments.               And I

  20    believe I held the wife had the equitable interest, but I need

  21    to look back on that.

  22                MR. YOUNG:     And that would made sense, obviously,

  23    under this case law that the Court would have held that the

  24    wife held an equitable interest, whether in a resulting trust,

  25    or some other kind of constructive trust.            But even if the


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   1    Court finds that, you know, you're not sure whether the debtor

   2    owned anything more than bare legal title, then this thing

   3    needs to be set for trial because then there are other issues.

   4    We didn't brief the other issues because frankly, we think this

   5    is controlling.      We think the bare legal title begins and ends

   6    the inquiry, and begins and ends this case.

   7                 But if the Court disagrees, then there are other

   8    problems that the plaintiffs haven't addressed to date.               They

   9    haven't identified -- or they've gone back and forth about the

  10    date that the transfer actually occurred.            And then they'd have

  11    to prove the insolvency of the debtor on that date.              Then

  12    they're going to have to prove what creditors existed as of

  13    that date.     And then they're going to have to show whether or

  14    not Max Salas intended to defraud the creditors.             And then

  15    they're -- then they've got to address whether the plaintiff's

  16    actual knowledge of the ownership bars the recovery.              And as

  17    mentioned before, we've still got inquiry notice problems under

  18    544.   So none of that matters, of course, if the Court agrees

  19    that the debtor owned nothing more than bare legal title, which

  20    we think the facts clearly establish when you apply --

  21                 THE COURT:    I remember in that car case, it was a

  22    matter of intent about who owned the property.             And, you know,

  23    both Max Salas and Len Salas listed the property on their

  24    schedules.     And so I don't know that I can even rule on that

  25    right now without hearing -- having a trial on whether or not,


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   1    in addition to everything else, a trial on intent.

   2                MR. YOUNG:     And I understand that, Your Honor.

   3    Frankly, some of those -- we didn't file a motion for summary

   4    judgment because we thought there were some questions around

   5    the very edges of this.        You know, the fact is, I think both

   6    Max and Len testified that they intended that this was going to

   7    always belong to Max, and that it was only parked there to get

   8    him, you know, to refinance the property.            And there are all

   9    sorts of undisputed facts that he attempted to refinance, and

  10    couldn't refinance.       And it's undisputed that there was a

  11    signed quitclaim deed, that's -- you know, it was never

  12    recorded, and that's undisputed.          So to the extent there's a

  13    trial on this matter, I think it's going to be very brief

  14    because I think almost all the facts here are undisputed.

  15    After having looked at the plaintiffs' statement of undisputed

  16    facts, I don't think there's going to be very much dispute

  17    here.

  18                THE COURT:     Well, even --

  19                MR. YOUNG:     It may be that the Court --

  20                THE COURT:     Yeah, even the petitions in both cases, I

  21    mean they kind of raise a question since they both list the

  22    property.

  23                MR. YOUNG:     And I understand that, Your Honor.          And I

  24    understand why the Court would say, you know, you want to hear

  25    testimony on it.      I understand that.       And I'm certainly, as


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   1    I've said, I'm certainly not saying that I think the Court must

   2    rule one way or the other today.          I think the Court could rule

   3    in favor of the defendant.        But what is before the Court is a

   4    motion for summary judgment in favor of the plaintiffs, and

   5    that's absolutely inappropriate, Your Honor.             I'm happy to

   6    take --

   7                 THE COURT:    Well, let's go back to -- there was one

   8    thing made -- one point made by -- that the superior -- was it

   9    the Superior Court that issued the opinion, or that had the

  10    jury trial and, Mr. McNutt, is -- was it the Superior Court

  11    rather than the Bankruptcy Court that issued the opinion on who

  12    was responsible for the deaths of these kids?

  13                 MR. MCNUTT:    Yes, Your Honor.      I think Mr. Young

  14    mistakenly said that it was the Bankruptcy Court, but -- and I

  15    may have confused the issue.         But I was talking about the

  16    Superior Court that determined that Len was the owner of the

  17    property, not just bare legal title, but the owner of the

  18    property for all purposes related to that case, and therefore

  19    responsible for -- co-responsible for the deaths of the -- of

  20    Nina and -- Nina Brekelmans and Michael McLoughlin.              Your

  21    Honor, I do want to --

  22                 THE COURT:    Who had the insurance on the property?

  23                 MR. MCNUTT:    Max Salas --

  24                 THE COURT:    I'm assuming there was insurance

  25    available?


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   1                MR. MCNUTT:     It was Max Salas, Your Honor.

   2                THE COURT:     Okay.    And I assume insurance paid

   3    something, at least for the destruction of the property.                Is

   4    that right?

   5                MR. MCNUTT:     Yes, it did, Your Honor.

   6                THE COURT:     Did -- was there any payment made to the

   7    parents of the kids by the insurance company?

   8                MR. MCNUTT:     Ultimately what happened, Your Honor, is

   9    that in the bankruptcy case -- all of the matters related to

  10    the superior court case were stayed, pending the outcome of the

  11    two bankruptcy cases.       At the end of the Max Salas bankruptcy

  12    case, the insurance company that had the insurance on the

  13    property paid, I believe it was approximately -- well, I think

  14    the total amount was $500,000, and I'm not sure how much of

  15    that was paid to the estates of the two children.              But because

  16    of the size of the claim, you can see how liable it was.

  17                THE COURT:     Yeah.    Well, that's probably not in the

  18    record, but I'd -- just curious about the insurance.              But

  19    trying to figure this all out.

  20                MR. MCNUTT:     Your Honor -- if I may, Your Honor, I

  21    need to make a correction.         When I said that there was

  22    admission that Len Salas had all the indicia of ownership, that

  23    was actually an allegation in the complaint, and not part of

  24    the admissions.

  25                THE COURT:     Okay.


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   1                MR. MCNUTT:     So I apologize.

   2                THE COURT:     You --

   3                MR. MCNUTT:     Mr. Young was correct, and I caused a

   4    furor, which I deserved, but it was inadvertent.             There's so

   5    many --

   6                THE COURT:     That's fine, Mr. McNutt.

   7                MR. YOUNG:     Your Honor, I don't get furious about

   8    cases.

   9                MR. MCNUTT:     Well, I didn't say you were furious, I

  10    just said there was fury.        So -- I understand.

  11                THE COURT:     Mr. McNutt, he's argued about the

  12    fraudulent conveyance statute.         You want to argue about that

  13    now?

  14                MR. MCNUTT:     Okay.    You're talking about the --

  15                THE COURT:     Because I kind of cut -- I kind of cut

  16    you short on -- in terms of your argument because I got fixated

  17    on this bare legal title thing.

  18                MR. MCNUTT:     No, Your Honor, just maybe one other

  19    point that I think bears on this -- well, bad choice of words,

  20    but relates to the bare legal title issue.            And that is that

  21    Mr. Young would have the Court believe, and I understand the

  22    argument, that Len had no involvement with this property.                But

  23    for a period of years, and this is in the admissions, for a

  24    period of years, Len was trying to get his name off the

  25    property, and Max wouldn't do it.          Max tried to get


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   1    refinancing, and that refinancing always required the

   2    participation of Len.       So the refinancing in order to get Len's

   3    name off the property required Len's participation.              So I think

   4    that's another indication that he was much more than just the

   5    holder of bare legal title.         Also, Your Honor, I want to

   6    emphasize that during the period of time that Mr. Max Salas was

   7    supposed to be "paying everything," in quotes, first of all, he

   8    provided -- there's no evidence that he made any payments.

   9    None.   All of the payments were made, that he admitted, were

  10    made the CLR Trust.       And that's even in his affidavit, which is

  11    attached to his -- to Mr. Young's objection to our motion for

  12    summary judgment.      In addition to that -- I've lost my train of

  13    thought.

  14                In addition to that, Your Honor, Mr. Len Salas was

  15    heavily involved in the superior court litigation, and as I

  16    said, found liable as owner of the property, and participated

  17    in the attempt to transfer the property to his father that was

  18    unsuccessful in 2010.

  19                So Mr. Young raised a number of issues with respect

  20    to the fraudulent conveyance statutes.           And putting aside, and

  21    I understand that it's important to the Court.             I just don't

  22    think there's an issue with respect to this bare legal title

  23    argument.    But obviously the Court may believe otherwise.

  24    That's, of course, up to the Court.          But with respect to the

  25    other elements of fraudulent conveyance, Mr. Young stated there


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   1    was no confusion as to when the property was transferred.                I

   2    don't think we stated any confusion, or alluded to any

   3    confusion.     The date the property is transferred, both under

   4    D.C. law and under bankruptcy law, under Section 548(b)(1), the

   5    date is the immediately before the bankruptcy was filed.

   6    That's April 17, 2018.       Now with respect to the insolvency of

   7    the debtor, Len Salas, it is undisputed that Mr. Salas --

   8    Mr. Len Salas had judgments against him of over $15 million as

   9    of April 4, 2018.

  10                 With respect to the SunTrust loan, it is undisputed

  11    that Mr. Len Salas was still an obligor, the only obligor under

  12    that note.     Although -- and although Max Salas claims that he

  13    promised his son that he would make the payments, there was

  14    nothing in writing to indicate that Max Salas accepted any

  15    responsibility for any of the payments to SunTrust.              And during

  16    the period the loan was in effect, the balance on the loan,

  17    which was an interest-only loan for ten years, the balance on

  18    the loan went from $870,000 in 2007 to $1,036,000 as of

  19    April 18, 2018.      And then even after the bankruptcy was filed

  20    by Mr. Max Salas, he still continued to make no payments on

  21    that deed of trust note.        The balance in October of 2019 went

  22    up to $1,208,000, all of which the only party that was legally

  23    responsible for that was Len Salas.          So he incurred all this

  24    liability, all this liability on his credit.             He was not just a

  25    bare legal title owner.


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   1                Now, with respect to the insolvency, we talked about

   2    the two judgments that the schedules showed that --

   3    Mr. Len Salas's schedule showed that on April 18, 2018,

   4    Mr. Len Salas had assets.        I believe the schedules showed

   5    approximately $50,000.       It was definitely under $100,000.           And

   6    the liabilities, as we know, including SunTrust, the IRS, the

   7    estates that I represent, total over $16 million.              So clearly

   8    he was insolvent at the time of that transfer.             In the

   9    admissions, and I believe I'm correct.           I won't -- I don't

  10    think it matters, but there are a number of admissions related

  11    to the insolvency of Mr. Len Salas as early as 2010.              And even

  12    if Mr. Young is arguing that the transfer took place in 2010,

  13    Mr. Len Salas's testimony is that his only major asset in 2010,

  14    and from 2010 to 2018, was the property.            Once the property was

  15    transferred, whenever it was transferred, we assert without

  16    question it's April 17, 2018.         Whenever it was transferred,

  17    Mr. Len Salas would have been insolvent because he would have

  18    lost the collateral for the loan while still being primarily

  19    obligated on the loan.       And as we've noted, and as is admitted

  20    by Mr. Max Salas, the amount of the loan that didn't decrease

  21    during the time that Max Salas was supposed to be making the

  22    payments.    It substantially increased by almost 40 percent

  23    during the period of 2007 to 2019.

  24                Also, on the issue of consideration, there are

  25    admissions that were made that -- and even in Max Salas's


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   1    affidavit he indicates that he paid nothing to his son in 2010.

   2    That he paid nothing to his son on behalf of the deed of trust

   3    note from the period of 2010 to 2018.           Len Salas testified, and

   4    again it's one of the undisputed facts, that he received

   5    nothing of value from his father, whether property or money, in

   6    the period of 2010 through 2018.          I think maybe there's one

   7    slight exception to that because I understand it's not in the

   8    filings, but I understand that Mr. Max Salas paid a part of

   9    Mr. Len Salas's legal fees for the superior court litigation

  10    because Mr. Len Salas could not afford to pay that.

  11    Mr. Len Salas's legal fees were paid by his father and his

  12    brother, and that was during the period of 2015 through 2018,

  13    which is another indication of the inability of Mr. Len Salas

  14    to pay his debts as they became due.

  15                I've added that, Your Honor, it's not part of the

  16    admissions, but it is part of the testimony of Len Salas and

  17    Max Salas in this case.        So I think that I can argue it because

  18    it's clearly the case that -- and I'm not even sure it's

  19    necessary at this point to point that out in addition to

  20    everything else.      But clearly during the period of 2015 through

  21    2018, and during the period of 2018 up until the time of the

  22    bankruptcy filing, Mr. Len Salas was insolvent.

  23                Mr. Len Salas received no compensation for the

  24    transfer of the property, whether it be on April 17, 2018, or

  25    any time earlier than that.         So we've got a transfer without


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   1    consideration at a time when Mr. Len Salas was obligated to pay

   2    debts of over $16 million. I think under the complaint section

   3    -- under the complaints Counts 4 and 5, which I believe are the

   4    fraudulent conveyance counts, it's clearly a fraudulent

   5    conveyance under Section 548.         The D.C. Code Section 28-3104,

   6    the transfer is fraudulent as to the creditor or the debtor if

   7    the transfer -- debtors made the transfer if actual intent to

   8    hinder, delay, or defraud any creditor, or the debtor did not

   9    receive a reasonably equivalent value in exchange for the

  10    transfer, and the debtor incurred debts beyond the debtor's

  11    ability to pay.

  12                And the D.C. Code actually spells out factors to be

  13    determined to determine if there was actual intent, and the

  14    factors include the following.         Transfer was made to an

  15    insider.    In this case, the transfer was made from Len to his

  16    father Max.     And insider, as you know, Your Honor, as defined

  17    by the Bankruptcy Code, clearly Max Salas is an insider of the

  18    debtor.    Sorry, Your Honor, do you need a break?           Do we need to

  19    take a break?

  20                THE COURT:     I think I need a break.        My leg is

  21    cramping up here.      I'll be right back.

  22                MR. MCNUTT:     Oh, sorry.     Sure.

  23                THE COURT:     Be right back.

  24          (Recess taken at 10:23 a.m.)

  25          (Proceedings resumed at 10:24 a.m.)


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   1                THE COURT:     I apologize.     Old age is setting in, I'm

   2    afraid.

   3                MR. MCNUTT:     Your Honor, should I continue?

   4                THE COURT:     Yes, please.     I'm sorry.

   5                MR. MCNUTT:     No problem.     I've sure been there, so no

   6    problem, Your Honor.

   7                THE COURT:     Thank you for recognizing I was in pain.

   8                MR. MCNUTT:     Unfortunately, I'm too familiar with the

   9    look, Your Honor.      I was talking about the factors in

  10    determining actual intent.        And I realize actual intent here

  11    might be a stretch because of the requirement to prove intent.

  12    But if you look at the facts and circumstances that are

  13    identified in our motion with respect to the way the quitclaim

  14    deed was prepared in 2010, and then the emails between and

  15    among D.C. Counsel, Max Salas, Ron Salas, the son and attorney

  16    in Colorado, and Len Salas, you can see that the deed that Max

  17    and Ron and Len attempted to use to try to show a transfer of

  18    the property to the father for purposes of the superior court

  19    case and the bankruptcy case, was -- the deed was abandoned

  20    some time shortly after July of 2010.           The emails that were

  21    produced for the first time by Len Salas as part of the

  22    discovery in this case were not produced in the superior court

  23    case or in the D.C. Bankruptcy Court case.            Those emails show

  24    that in 2011 and 2012, not only did Ron Salas instruct his

  25    father to obtain a deed, to have a local attorney in D.C.


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   1    prepare a deed.      But also to have that -- to make sure -- I'm

   2    sorry.    But also Max is instructing his D.C. lawyers to help

   3    him get Len's name off the property.

   4                This happened in 2011, approximately January of 2011

   5    through February of 2012, and then there is no communication,

   6    dead silence after that until 2018 when Max Salas discusses his

   7    potential bankruptcy with his attorney, Max -- Marc Albert.

   8    And by the way, this was actually testimony in the superior --

   9    the D.C. Bankruptcy Court case.          So this is not privileged

  10    communication as Mr. Young is claiming, I don't believe anyway.

  11    But regardless of that, we're talking about clearly the

  12    quitclaim deed that is at issue here was abandoned in 2011 --

  13    no later than 2011.       It was resurrected in 2018, attempted to

  14    effect a transfer when there was no original of the quitclaim

  15    deed.    The parties, Max alone, did not where the original was.

  16    There was some testimony that Ron Salas may have had the

  17    original, but that was clarified in a communication between

  18    Ron Salas and Mr. Albert, the attorney in D.C., that Ron Salas

  19    only had a copy.

  20                So if you look at the circ -- facts and circumstances

  21    that occurred between 2010 and 2018, it seems clear to me that

  22    Ron and Len and Max made up a story, tried to use a quitclaim

  23    deed that was no longer in effect and could not be found to

  24    create the ability of Max to gain an exemption in the

  25    Bankruptcy Court.      And in the Bankruptcy Court, they all


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   1    claimed that they forgot about the quitclaim deed.              Yet these

   2    emails make it pretty clear that the quitclaim deed was not

   3    forgotten.     It was abandoned, it was not effected for whatever

   4    reason.    There were two attorneys involved.          It was Ron Salas

   5    in Colorado, and there was Stan -- I'm sorry three attorneys

   6    involved.    There was Ron Salas in Colorado; and there was Max

   7    Salas's D.C. attorney -- D.C.-area attorney, they were actually

   8    in suburban Maryland; Mr. Stan Goldstein and Mr. -- Ms. -- I

   9    can't think of her name, but a French-sounding name, Boyeaux

  10    (phonetic 10:29:31*) I think was her last name, Linda

  11    (phonetic*) I think it was.         But anyway, those were the

  12    attorneys that Max was communicating with to get the property

  13    out of his son's name.       And that was as late as February 2012,

  14    despite the fact that they testified in the D.C. Bankruptcy

  15    Court that the deed was in effect and they just forgot about

  16    it.

  17                 Those facts, some of which are admitted, all of which

  18    are alleged, and all of which are part of testimony of Max and

  19    Len in this case, would indicate that there was clearly fraud

  20    here.    I'm not sure if Your Honor is could determine fraud

  21    today.    I will -- I would grant you that.          There may be issues

  22    of fact, and because it's intent, I think fairly that intent

  23    probably needs an evidentiary hearing.           But I believe that this

  24    is -- rises to the level of at least fraud, if not more.

  25                 In addition, Your Honor, Mr. Young argued that


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   1    inquiry notice would have prevented a bona fide purchaser

   2    status to overcome the transfer.          But let's assume that's the

   3    case, and I believe in D.C. -- first of all, the cases that

   4    I've read indicate that inquiry notice is really nothing more

   5    than a part of constructive notice.          In the District of

   6    Columbia, and I think in many jurisdictions, I believe

   7    Tennessee as well, constructive notice means record notice.

   8    And if there is not --

   9                THE COURT:     I thought he was talking about actual

  10    notice, not inquiry notice.         I'm not sure.

  11                MR. MCNUTT:     Well, the notice he's talking about, I

  12    believe what he was saying is that because the judgments are

  13    recorded prior to the bankruptcy filing by Len and Max, that

  14    Len's trustee would therefore have notice on the date of the

  15    bankruptcy filing that there was a judgment against Len, and

  16    that would somehow provide him the obligation to provide -- not

  17    to provide -- would obligate the trustee to make a

  18    determination whether there was something in the title that

  19    would prevent the trustee's recovery as a bona fide purchaser.

  20    But even if all that's true, and I don't believe it is because

  21    there's nothing in the record that would indicate anything

  22    other than there's a judgment.         I don't believe -- and the

  23    judgment was not -- there is -- I want to make sure I say this

  24    right.    There is nothing before Your Honor that indicates that

  25    the judgment is in the chain of title as of the date the


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   1    bankruptcy is filed.       That may have been, but I'm not sure it

   2    was, and I'm pretty sure Mr. Young does not know either.

   3                But even if it is, and even if that would somehow

   4    require the trustee to inquire further, it would go back to the

   5    superior court case and determine that the property was owned

   6    by Len, and that there was no transfer.           That's what the result

   7    of the superior court case was, that Len was the owner of the

   8    property.    So there's nothing in the superior court case that

   9    would help Mr. Young's argument that inquiry notice would show

  10    that there's a defect in the title, and therefore the trustee

  11    would not have -- the trustee's bona fide purchaser status

  12    would not be superior to the interest, whatever it is, that Max

  13    may have had in the property as of the date of Len's bankruptcy

  14    filing in April of 2018.

  15                Your Honor, there are many other facts and arguments

  16    related to this that it looks like we're going to have to have

  17    a trial on it.      But as far as the bare legal title is

  18    concerned, which Your Honor is very concerned about, and I

  19    understand that.      I believe that the bare legal title issue is

  20    one that will not be affected, that Len had substantially more

  21    than bare legal title, that he had an economic interest in the

  22    property, he had an ownership in the property.             He had a

  23    judgment because of his ownership in the property.              The records

  24    of the District of Columbia, and all records related to the

  25    property were in Len's name.         That was part of the case in the


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   1    superior court, and it was part of the -- part of why the court

   2    and the jury determined that Len was responsible, was owner of

   3    the property, and that alone will be binding on Max as a party

   4    to that case.

   5                THE COURT:     All right.     Mr. Young, you want to say

   6    anything further?

   7                MR. YOUNG:     Just very briefly, Your Honor.         Just a

   8    few clarifications from things because a number of issues

   9    raised by Mr. McNutt as sort of things supporting his case have

  10    actually already been addressed by numerous other courts.                So

  11    for example, he raised the (audio interference) you know, there

  12    was no agreement in writing.         Resulting trusts do not have to

  13    be in writing, and the myriad of case law that we cited made

  14    clear of that.

  15                He raised several times, well, the property was in --

  16    was recorded in Len's name, and the Superior Court found that

  17    he was the title owner of the property.           Again, all those

  18    cases, it's the same thing.         All the cases cited the actual

  19    recorded title was in the debtor's name, and the courts found

  20    that the estate -- nevertheless, the estate had no interest in

  21    it.

  22                He said, well, but the mortgage was in the debtor's

  23    name.   Again, there's a number of cases that we cited where the

  24    mortgage was in the debtor's name, but because a third party

  25    made the mortgage payments, the third party had the equitable


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   1    interest, and the debtor had only bare legal title.              And then

   2    he made a point, well, the defendant didn't make all the

   3    mortgage payments.      That doesn't matter, respectfully.           What

   4    matters is that Len Salas, the debtor, made no payments.               And

   5    so that's what is important here.

   6                One other thing on the 544 issue, there was a lien

   7    lis pendens recorded, and we can show that.            I think that was

   8    admitted.    There was a lien lis pendens recorded prior to the

   9    bankruptcy.     The importance of that is it would put any bona

  10    fide purchaser on inquiry notice of the resulting trust.               It

  11    would put them on inquiry notice that Len Salas owned only bare

  12    legal title because any inquiry into the facts and

  13    circumstances of the superior court case would show that Max --

  14    all the facts that we've already talked about this morning.

  15    That Max Salas lived there and rented it out, and made the

  16    payments, and collected rent, and all those things that would

  17    put somebody on inquiry notice that perhaps Len Salas owned

  18    only bare legal title.       So that's the importance of that issue.

  19    And if the Court sets this for trial, I'm happy to brief that

  20    issue prior to trial if that would help the Court.              And one

  21    final thing, if the Court does set this for trial, this is just

  22    sort of a -- I guess a suggestion, that maybe the Court set it

  23    out far enough to allow the parties to get together and try to

  24    stipulate to a number of these facts.           This is one of these

  25    cases where, you know, it could take five days to try it, but


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   1    it looks like to me that the actual relevant facts, there are

   2    very few that are disputed actual relevant facts.              And so I

   3    would suggest that the Court set it out long enough, and

   4    especially given intervening holidays, I know that can be an

   5    issue, that we can sit down and stipulate to facts to try to

   6    make this a one-day trial instead of a five-day trial.                Because

   7    I actually think that the number of relevant facts that are

   8    disputed are relatively few.         And those are my only comments,

   9    Your Honor.

  10                MR. MCNUTT:     Your Honor, if I may, just one thing?

  11    With respect to the resulting trust argument Mr. Young made,

  12    the resulting trust was not determined until September of 2018.

  13                THE COURT:     I'm sorry, I didn't understand what you

  14    said.

  15                MR. MCNUTT:     The -- Mr. Young talked about the Court

  16    determining a -- that there was a resulting trust.              A

  17    bankruptcy court determined that there is a resulting trust,

  18    even though a resulting trust was not argued or -- was not

  19    argued in the superior court case, it was not presented as an

  20    argument in the Bankruptcy Court case.           In the Bankruptcy Court

  21    case, as in the superior court case, Max Salas and Len Salas

  22    argued that the trust that was created by Ron Salas in Colorado

  23    was a valid trust that terminated because of the fact that Max

  24    Salas was both the trustee and the sole beneficiary.                The

  25    argument was that when -- which is correct as far as it goes,


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   1    that when you have a trust and the trustee becomes the sole

   2    beneficiary, the trust terminates.          In this case, the problem

   3    was that the trust never existed because under D.C. law and

   4    Colorado law both, in fact the law in almost every jurisdiction

   5    in the country.      If you create a trust and you are the trustee

   6    and the sole beneficiary, the trust does not exist.

   7    Judge Mannes in his decision in the Bankruptcy Court determined

   8    that that -- our argument that the trust never existed is

   9    accurate, and the argument that Mr. Salas was making that the

  10    trust terminated, and therefore he was the owner of the trust -

  11    - he was owner of the trust property -- I'm sorry, I'm making

  12    this confusing.      But the Bankruptcy Court determined that the

  13    trust never existed.

  14                MR. YOUNG:     Your Honor, maybe I can clarify because I

  15    think I've muddied the waters there, and I didn't mean to --

  16                THE COURT:     Yeah, I'm sorry.

  17                MR. YOUNG:     Yeah, yeah.     What I was saying is not

  18    that it put them -- it put a bona fide purchaser on inquiry

  19    notice that a court had already determined there was a

  20    resulting trust.      That's not what I was trying to intimate.

  21    What I was saying is that the lien lis pendens, with any due

  22    diligence, would have put a bona fide purchaser on notice of

  23    all these other facts that would lead a court to determine that

  24    Len Salas was only the bare legal title owner.             All that came

  25    out in the lower court about who made the payments, and who


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   1    lived in the house, and who made the tax payments, and who had

   2    the insurance policy, and all those sorts of things.              And I was

   3    not -- Mr. McNutt, I apologize if I made that confusing.               I was

   4    not trying to say that it would put a reasonable purchaser on

   5    notice that a court had already determined a resulting trust.

   6    Rather, that it would lead a bona fide purchaser to all these

   7    facts that would establish that Max Salas is actually on the --

   8    is the equitable owner.        That's what I was trying to say.          I

   9    apologize if I muddied the water there.

  10                MR. MCNUTT:     Oh, I think I can declare that I made it

  11    much more confusing than you did, sir.           I think I won that one.

  12                THE COURT:     Well, starting with the bare legal

  13    argument, and the fact that both Max Salas and Len Salas claim

  14    they owned in their petitions the property, and I'm not sure

  15    that I can even grant a summary judgment one way or the other

  16    on this matter.      I think it's a question of fact, and we're

  17    going to need some proof on that, either by stipulation or

  18    whatever.    I can't make a decision on that today, so I'm going

  19    to deny the motion for summary judgment.            And all of the issues

  20    will be tried -- I don't have a book.

  21                Mr. Keimer, thank you.        We're going to have a

  22    pretrial conference --

  23                THE CLERK:     You're going to need a 23.

  24                THE COURT:     Okay.    I'm going to need a 23,

  25    absolutely.


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   1                We're going to have a pretrial conference, after

   2    y'all tried your hand at stipulations, on -- pretrial

   3    conferences are now on Tuesday afternoons.            How long do you

   4    think it will take you all to stipulate facts?

   5                MR. YOUNG:     Your Honor, that's a good question.           I'm

   6    not sure.    There are a lot of facts here, that's the only

   7    reason that I have said, you know, let's leave enough time

   8    because there are a lot of facts here.           I think Mr. McNutt

   9    might have more facts than me that thinks these are relevant.

  10    So, you know, with the intervening holidays, I would say, you

  11    know, maybe we could have a pretrial conference early January?

  12    I don't know about how Mr. McNutt --

  13                THE COURT:     With -- you have already stipulated early

  14    -- by early January?

  15                MR. YOUNG:     I feel like we can.       I feel like we can

  16    trade some, you know, some proposed stipulations back and forth

  17    over the next several weeks.         And again, I would like to think

  18    that would happen in 30 days, but because of the holidays, I

  19    want to make sure we allow additional time.            I know I'm doing

  20    some traveling, so I would think early January would be fine.

  21                THE COURT:     I've got some problems, and they're not

  22    on here.

  23                MR. MCNUTT:     I agree with Mr. Young, by the way, Your

  24    Honor.

  25                THE COURT:     Ms. Beers, will you get the calendar for


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   1    January so I can look at it?         Okay.

   2                 THE CLERK:    (Indiscernible 10:45:19*).

   3                 THE COURT:    Okay.    Never mind, 11 through 17.        You

   4    know, I don't need it.

   5                 THE CLERK:    You can do 10 (indiscernible*).

   6                 THE COURT:    Let's do the pretrial conference at 1:30

   7    on Tuesday, the 24th.

   8                 THE CLERK:    At 1:15?

   9                 THE COURT:    At 1:15, I'm sorry.       And then let's plan

  10    on trying the case -- I'll need to double-check this.               I'd love

  11    to have a trial on stipulations, but I worry because there's

  12    some fuzziness in the undisputed facts from both sides, so I

  13    realize there's going to need to be some testimony probably.

  14    On --

  15                 MR. MCNUTT:    Is that January 24th you were talking

  16    about, Your Honor?

  17                 THE COURT:    Yeah, uh-huh.

  18                 MR. MCNUTT:    Or December --

  19                 THE COURT:    Uh-huh.    January.    Do I have a docket on

  20    March 1st?

  21                 THE CLERK:    Yes.

  22                 THE COURT:    Okay.    Do I have a docket on March 8th?

  23                 THE CLERK:    (No audible response.)

  24                 THE COURT:    Let's get the trial for Wednesday,

  25    March 8th and March 9th.        Hopefully that'll do it, and we'll


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   1    have to go into the 10th if we need to.           Is that okay with

   2    y'all?

   3                MR. YOUNG:     That looks fine to me, Your Honor.

   4                THE COURT:     Mr. McNutt?

   5                MR. MCNUTT:     I'm going to have to reschedule the

   6    clock repairman, but other than that, I'm fine.

   7                THE COURT:     You're going to have to reschedule what?

   8                MR. MCNUTT:     The clock repairman.

   9                MR. YOUNG:     Mr. McNutt, how far out is the clock

  10    repairman put his schedule?         Goodness.

  11                MR. MCNUTT:     Two years, actually.       Two years.

  12                THE COURT:     Oh, my, my.

  13                MR. MCNUTT:     I think I can work around that, Your

  14    Honor.

  15                THE COURT:     All right.     Thank you.     All right.

  16    Hopefully the clock repairman will get there earlier.               Okay.

  17    Well, thank you all, good arguments, and I look forward to

  18    seeing --

  19                MR. YOUNG:     Is the Court going to prepare --           I'm

  20    sorry.    Is the Court going to prepare the order, or do you need

  21    me to prepare the order?

  22                THE COURT:     I'd like for you to prepare the order.

  23                MR. YOUNG:     Thank you.

  24                THE COURT:     And there are just too many facts in this

  25    case for me to grant summary judgment.           All right.


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   1                MR. YOUNG:     Thank you, Your Honor.

   2                MR. MCNUTT:     Thank you, Your Honor.

   3                THE COURT:     All right.

   4                UNIDENTIFIED:      Thanks, Your Honor.

   5                THE COURT:     We'll be adjourned.

   6          (Proceeding concluded at 10:48 a.m.)

   7                                     * * * * *

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  14                           C E R T I F I C A T I O N

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  16                I, Alicia Jarrett, court-approved transcriber, hereby

  17    certify that the foregoing is a correct transcript from the

  18    official electronic sound recording of the proceedings in the

  19    above-entitled matter.

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  24    ALICIA JARRETT, AAERT NO. 428             DATE: November 6, 2023

  25    ACCESS TRANSCRIPTS, LLC


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                           UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF TENNESSEE (NASHVILLE)

                                      .
        IN RE:                        .         Case No. 18-02662
                                      .         Chapter 7
        LEN SALAS,                    .
                                      .
                       Debtor.        .
                                      .
        . . . . . . . . . . . . . . . .
        NICOLAAS BREKELMANS, et al.,  .         Adv. No. 20-90027
                                      .
                         Plaintiffs,  .
                                      .
        v.                            .
                                      .         701 Broadway
        MAX SALAS,                    .         Nashville, TN 37203
                                      .
                         Defendants.  .         Tuesday, March 21, 2023
        . . . . . . . . . . . . . . . .         9:32 a.m.

                 TRANSCRIPT OF CROSS MOTIONS FOR SUMMARY JUDGMENT
                      BEFORE THE HONORABLE MARIAN F. HARRISON
                        UNITED STATES BANKRUPTCY COURT JUDGE

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   1          (Proceedings commence at 9:32 a.m.)

   2                THE CLERK:     All rise.     The United States Bankruptcy

   3    Court for the Middle District of Tennessee is now in session,

   4    the Honorable Marian F. Harrison presiding.

   5                THE COURT:     Be seated, please.       All right.

   6                THE CLERK:     Your Honor, we're here on Case Number 20-

   7    90027, Brekelmans v. Salas.

   8                THE COURT:     All right.     What I want to do first is

   9    talk about 548, Whiting Pools, et cetera.

  10                Mr. McNutt, you want to start?

  11                MR. MCNUTT:     I'm sorry, I didn't -- I heard 548, I

  12    didn't hear the rest of what you said, Your Honor.

  13                THE COURT:     I want to talk about 548 first.

  14                MR. MCNUTT:     Okay.    Thank you, Your Honor.       When

  15    we're talking about 548, I believe what Your Honor's previous

  16    ruling was is that if Mr. Len Salas, the debtor in this case,

  17    held only bare legal title, that the -- that he would not be

  18    able -- that the plaintiffs in their derivative standings for

  19    the bankruptcy estate would not be able to recover on the

  20    constructive fraud.       It wasn't clear to me if you were talking

  21    about all of the 540 -- Section 548 actions or just the

  22    constructive fraud.       But the specific citation, as I understood

  23    it in your order, was only to the constructive fraud section of

  24    Section 548.     Nevertheless, regardless, Your Honor, I think the

  25    issue is whether or not Mr. Len Salas here has only bare legal



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   1    title.

   2                And with respect to the phrasing and the definition

   3    of bare legal title, there is not much to go by with respect to

   4    the first three citations, if you will, for that.              The first

   5    two are the House Report and the Senate Report on the

   6    legislation that was enacted in 1978.           And I'm old enough to go

   7    back further than that, so I know that time period.              The

   8    Bankruptcy Reform Act was enacted in 1978, went into effect in

   9    1979.    And the House and Senate Reports said they would expect

  10    in the trustee's certain recovery actions that there was no

  11    intent that the Bankruptcy Code would allow recovery for bare

  12    legal title.     That's not in the statute, that's in the House

  13    and Senate Reports, so that's number one.

  14                Number two, as Mr. Young stated in his argument

  15    before Your Honor the last time we were before you, Whiting --

  16    the Whiting Pools case cited in dicta, but did cite to the

  17    House Report, and said that there is no intent that bare legal

  18    title will allow the trustee to recover.            Now, as Your Honor

  19    knows, the Whiting Pools case is a case involving an attempt to

  20    overcome or recover a -- an IRS lien, if I recall correctly,

  21    that it was the Internal Revenue Service that was claiming in

  22    Whiting Pools.      It was not an attempt of the trustee to recover

  23    property.    So my contention is that Whiting Pools is merely

  24    dicta, and therefore is not controlling.

  25                Even, however, if it is controlling, Your Honor, and



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   1    I've actually changed my position on this after reading through

   2    these cases.     Even if Whiting Pools is controlling, or even if

   3    the issue of bare legal title is controlling here, and I think

   4    there's a discussion of the relationship between Section 541(d)

   5    of the Bankruptcy Code, and the trustee's recovery and

   6    avoidance powers that they claim different language, and I

   7    believe one does not apply to the other.            For example, as Your

   8    Honor knows, property of the estate includes property that is

   9    recovered by a trustee in bankruptcy (indiscernible), and in

  10    this case by the party who's acting derivatively for the

  11    trustee in bankruptcy.

  12                But in addition to all that, as I've argued in the --

  13    in my supplemental memorandum, and in my opposition to Mr.

  14    Young or to defendant's motion for summary judgment, there's

  15    the issue of what constitutes bare legal title.             And as I

  16    review this, I'm -- I've noticed it several times.              I guess,

  17    again, I'm old enough to notice this, so maybe that's good,

  18    maybe it's bad.      But often times -- not often times, but

  19    occasionally I'd see where cases have been developed over a

  20    long period of time, and I'm reminded of the judge in the

  21    Bishop of Maryland that -- well, maybe 15 years ago was talking

  22    about a provision in the Chapter 11 of the Bankruptcy Code, and

  23    he said that this provision started out as a very simple

  24    premise.    I don't want to go into the details, it had to do

  25    with the debtor's ability to retain property in a Chapter 11



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   1    case if all the creditors are not paid in full.             It had to do

   2    with the idea of the debtor being able to produce consideration

   3    in the Chapter 11 canon that would allow him to retain

   4    property.    And the judge said that --

   5                THE COURT:     Wait just a minute.       Do we have a court

   6    reporter online?

   7                THE CLERK:     Yes, we do, Your Honor.

   8                THE COURT:     Okay.    Just -- suddenly got worried.         Go

   9    ahead.    I'm listening, but I looked over just then.

  10                MR. MCNUTT:     Well, Your Honor, depending on how well

  11    my argument goes, I'm not sure I would rather a court reporter

  12    be here or not.      But hopefully, hopefully I'm doing all right.

  13                And so, anyway, I don't want to make this too long.

  14    But the judge said, I've looked at this case and went back to

  15    the beginning.      And I found out that over a period of 20, 30

  16    years, maybe more, that the original meaning has been changed.

  17    And it's been changed because of the particular facts of a

  18    case, or because somebody takes something out of context from

  19    the original cases and then applies it, and it gets adopted and

  20    adopted and adopted.       And I think where these cases that talk

  21    about bare legal title and go beyond what I would call simply

  22    bare legal title, I believe that's what's happened.              And in

  23    particular, the Patel case that Your Honor has cited in her --

  24    the -- in her most recent order, the January order, that case

  25    cited one case that cited another case, which went back to a



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   1    case in the, I believe it was the Middle District of Florida.

   2    And it turns out that that case in the Middle District of

   3    Florida, although it contained the phrase quoted to the courts

   4    over the years, it didn't actually have the same facts

   5    regarding quote/unquote "bare legal title."

   6                I contend that bare legal title means what it means

   7    in the Geremia case that I cited in my opposition.              And, Your

   8    Honor, the Geremia case is widowed mother who bought property

   9    with her own funds and a bank loan to her.            Now notice that the

  10    facts in Geremia are that the widowed mother bought the

  11    property with her own funds.         That's not true here.       The funds

  12    were borrowed by Len Salas.         And bank loan to her only in the

  13    Geremia case.     Here, you have a bank loan to the son, to Len,

  14    the debtor in this case.        It is not stated in the record, the

  15    mother put her young son under 18 years old on the deed.               I'm

  16    getting a phone icon here.        Can you hear me, Your Honor?

  17                THE COURT:     Yes, I can.

  18                MR. MCNUTT:     Okay.    Sorry.    She paid all the expenses

  19    and, all notices regarding the property was sent to her as the

  20    publicly advertised owner.        Also not the facts of this case.

  21    All of the public notices were addressed to the debtor, Len

  22    Salas, not Max Salas.       She paid all expenses.        Now, that's

  23    arguable here that Max Salas paid at least some of the

  24    expenses.    But you'll note it as in our supplemental

  25    memorandum, Your Honor, that during the period that Max Salas



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   1    was in the property, from 2007 until 2015, and not from 2015 to

   2    2018, but from 2018 forward, that Mr. Max Salas allowed the

   3    mortgage balance to increase by over $300,000.             Even in the

   4    course of his bankruptcy case, Mr. Max Salas -- and Mr. Max

   5    Salas's bankruptcy case was filed on the same day as Len

   6    Salas's case in this Court.         Mr. Max Salas did not pay a single

   7    mortgage payment from the commencement of his bankruptcy case,

   8    so from 2015 to 2018, Mr. Max Salas, according to his own

   9    testimony, paid -- made one payment on the mortgage.              Now, it

  10    was a substantial payment, but it did not bring the mortgage

  11    current.    One payment only.       From the start of his bankruptcy

  12    case until November of 2019, he made exactly no payments, and

  13    paid no money for the mortgage to the property.

  14                So Geremia is a case that I think is typical of the

  15    cases that properly and correctly decide what bare legal title

  16    means.    It means a title that was granted for a purpose other

  17    than intending to convey ownership.          It's not like a deed to an

  18    individual.     Now, I'm going to get into the McKinley case,

  19    which I'm sure Your Honor has seen.          But with respect to the

  20    issue of bare legal title, we're talking about Len Salas, who

  21    obtained the loan to purchase the property so that Mr. Salas

  22    could pay his ex-wife.       So that's the first indication of more

  23    than bare legal title.       Unlike in Geremia, the deed and deed of

  24    trust were issued in the name of Mr. Len Salas solely, not to,

  25    in the case of Geremia the widowed mother and her son.               And by



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   1    the way, the son was not of age at the time he was put on the

   2    deed.   Mr. Len Salas was of age.         Mr. Len Salas then obtained a

   3    deed of trust with the loan.         The loan was in his name only.

   4    There was no agreement, as both Len Salas and Max Salas admit,

   5    there was no agreement for Max Salas to make any payments to

   6    his son, or to notify SunTrust, the lender, that he was

   7    obligated on the loan.       There was no attempt by Max Salas to

   8    indicate that he was the owner in any public record.              In fact,

   9    it is very obvious from the record in this case that Mr. Max

  10    Salas hid his ownership of the property.            And that also goes to

  11    the issue of whether he had open and notorious possession, one

  12    of the other issues Your Honor raised.

  13                So for those reasons, and the reasons that are cited

  14    in the supplemental memorandum and the opposition to the

  15    defendant's motion, I believe that with respect to the issue of

  16    bare legal title, we're talking about something that is far

  17    more limited than the facts of this case.            And therefore, the

  18    debtor, Len Salas, is the owner for all purposes and intents,

  19    has sufficient ownership for the recovery of property under

  20    Section 548.     Neither the actual fraud or the constructive

  21    fraud section of Section 548.         And with respect to the cause of

  22    action from Section 548, because it has been established that

  23    there is -- that the property was conveyed on April 17, 2018,

  24    when Len Salas was clearly insolvent, as indicated by the

  25    schedules and indicated in the documents we provided, and his



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   1    testimony concerning his income over the period of time from

   2    2015 to 2018, and it was not insolvent at the time of the

   3    transaction.     The transaction clearly made him insolvent

   4    because as he testified, his only -- and as the records show,

   5    his only major asset was the property.           Once the property was

   6    conveyed, then the value of the property was no longer his.

   7    But he was still not only obligated on the SunTrust loan, he

   8    was also obligated for the judgments that my clients obtained

   9    on April 4th, 2018.       And he had other smaller obligations that

  10    were not being paid, including tax obligations.             So with

  11    respect to the requirements of Section 548, that's a different

  12    subsection, but it's well-known, and I'm not going to bother to

  13    try to find it because I know Your Honor knows it.              But with

  14    respect to the constructive fraud section, I think we have

  15    clearly shown that there is -- that the facts -- the undisputed

  16    facts of this case show that my clients are entitled to

  17    judgment on the fraudulent conveyance count.             That's both the

  18    bankruptcy fraudulent conveyance count and the state court

  19    count which I believe is -- I think it's 4 and 5, Counts 4 and

  20    5, I believe of the complaint.

  21                THE COURT:     Are you alleging actual --

  22                MR. MCNUTT:     (Indiscernible) the complaint --

  23                THE COURT:     Excuse me.     Are you alleging actual fraud

  24    in addition to constructive fraud?

  25                MR. MCNUTT:     Yes, Your Honor.



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   1                THE COURT:     And the basis for actual fraud is what?

   2                MR. MCNUTT:     The basis for actual fraud is all of the

   3    lies and deception that existed from 2010 to 2018, including

   4    the lies and misstatements and deceit regarding whether or not

   5    there was actual deed on the property.           The facts stated by Mr.

   6    Salas, or relied upon by Mr. Salas is that in July of 2010, he

   7    went to Colorado where his son was a newly barred attorney.

   8    And had his son, or his son offered, I'm not sure which, to

   9    prepare a trust and a quitclaim deed to the trust.              And before

  10    I forget, Your Honor, I believe that it is improper, although I

  11    will say that I haven't found a specific case, but              I haven't

  12    found any cases which show that a deed can be made in the

  13    District of Columbia to a trust.          The trust can be the

  14    beneficial owner of the property, but the trustee is the party

  15    in whose name the deed should be entered.            So I think that was

  16    one problem with the deed, as I'll get into in a minute.

  17                The other problem with the deed is I don't believe it

  18    was created in a -- in the manner required under D.C. law for

  19    verification and identification.          But whatever the facts are,

  20    if you look at the emails that are contained at Exhibit 7 of

  21    the plaintiff's supplemental memorandum, these are emails that

  22    started in mid-2011, and went through February of 2012.               Now,

  23    keep in mind that the quitclaim deed that Mr. Salas is --

  24    actually, Mr. Max Salas -- well, Len and Max Salas are

  25    referencing here, was created in July of 2010, and it was



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   1    created by Ron Salas, the attorney in Colorado.             In June of

   2    2011, as Exhibit 7 makes absolutely clear, Ron Salas is telling

   3    his brother, Len, the debtor, and his father, Max, that

   4    somebody in D.C. needs to create a deed.            There's already a

   5    deed that was quote/unquote "created" in July of 2010.               Now,

   6    it's not an indicator as to why that deed is no longer in

   7    effect.    But it is clear from the emails, there is no question

   8    about this, there is no way that a different inference could be

   9    reasonably asserted that the deed was no longer in effect.

  10    There is constant communication during that period, and later,

  11    between Len and Max, and between Max and counsel in D.C.,

  12    wherein the parties -- wherein Max is asserting, and Len is

  13    asserting that Len is still the owner, and he wants his father

  14    to get him off the title to the property.

  15                Max is saying there -- one of the emails says

  16    specifically there are two things we need to do.             One is to get

  17    Len's name off the property, and I'm paraphrasing here, but

  18    that's the sense of the wording.          The second thing is we need

  19    to get the deed recorded so we can try to refinance the

  20    property, or get the deed so we can refinance the property.

  21    Those are specifically related in the emails, those emails are

  22    not in dispute.      Those emails were produced in August of 2021

  23    by Len.    They were never produced in any of the litigation to

  24    date by Max, by the defendant, even though they should have

  25    been produced in the D.C. Bankruptcy Court case.



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   1                After 2011, Your Honor, Max Salas, and Len Salas, and

   2    Ron Salas have all either testified, or by email communications

   3    that have been verified have stated that they do not have the

   4    original deed.      There is no original deed.        Now, regardless of

   5    whether a deed could be created to transfer property to a

   6    trust, what is also important here is that there is no deed in

   7    existence, and has not been since 2007 that was delivered to

   8    Max Salas that identifies a conveyance to Max Salas.              And, Your

   9    Honor --

  10                THE COURT:     Okay.    What I want to know is where the -

  11    - just succinctly, where the actual fraud comes in here.               Where

  12    is the actual fraud?

  13                MR. MCNUTT:     Sure, Your Honor.       So the period

  14    starting with the Superior Court litigation in 2016 through

  15    2018, through August of 2018, which is the date -- dates of the

  16    exemption period in the D.C. Bankruptcy Court.             Ron Salas, Len

  17    Salas, and Max Salas all testified, stated and testified

  18    numerous times, and they're all in the record, Your Honor.

  19    They're all in the documents that were produced as part of the

  20    supplemental memorandum, and they've been identified in more

  21    than one instance both in deposition testimony and in hearing

  22    testimony by those three parties that the quitclaim deed was

  23    still in existence, and they forgot about it.             And said this

  24    over and over and over again, when they knew that the quitclaim

  25    deed had been abandoned, was not in existence, and in fact they



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   1    couldn't even find it if it was in existence, or even -- they

   2    could not even find it.        Mr. Salas testified that he didn't

   3    know where the original was after 2011.           He admitted in his --

   4    I believe it's in his admissions in this case, that he

   5    understood that the deed may have been given to his attorney,

   6    Mr. Goldstein, or to the real estate agent, Sylvia Jones, but

   7    that he never attempted to find out if Sylvia Jones had a copy

   8    of the deed.     And although he contacted Mr. Goldstein regarding

   9    whether he had a copy of the deed, Mr. Goldstein did not

  10    respond, and Mr. Salas did not follow up.            So in --

  11                THE COURT:     How is that all fraudulent?         How is that

  12    all a fraudulent transfer?        An actual fraudulent transfer?

  13                MR. MCNUTT:     It's a transfer based on fraud, Your

  14    Honor, because there was no deed in existence in April of 2018,

  15    or in April of 2017, or at any time.           And the debtor testified

  16    that in 2017 -- I'm sorry.        The defendant testified in 2017

  17    that after he found out from his attorney, Marc Albert, that he

  18    could exempt the property if he could obtain the deed, he went

  19    back and, quote/unquote "found the deed."            At that time, he had

  20    stated categorically in the Superior Court case that the only

  21    trust that existed was the CLR Trust.           He mentioned different

  22    trusts, never the 1610 Riggs Property Trust.             But he mentions

  23    in his testimony several different trusts, but the only one

  24    that he could specifically identify was the CLR Trust.

  25                In Len's testimony, at the same time, Len testified



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   1    that he didn't know anything about these other trusts that his

   2    father was talking about.        But he did know, "I know that one,"

   3    was his exact testimony.        "I know that one."       He was aware of

   4    the CLR Trust, which was a trust that was created for the

   5    benefit of Len and his two brothers, Chase and Ron.              CLR,

   6    Chase, Len, and Ron.       That was in 2016.      The depositions of

   7    these two parties in 2016 took place in February of 2016 and

   8    March of 2016.      In February of 2016, between the depositions of

   9    Len and Max, Len Salas prepared -- I believe it was actually

  10    prepared by Max, but it was signed by Len, a loss mitigation

  11    statement which was sent to SunTrust to attempt to prevent

  12    SunTrust from foreclosing on the property that's in question

  13    now.   And in that loss mitigation statement, which is attached

  14    as an exhibit to the supplemental memorandum, in that loss

  15    mitigation statement, Mr. Len Salas identifies himself as the

  16    owner of the property two different times.

  17                THE COURT:     He said what?

  18                MR. MCNUTT:     He said that he was -- he stated under

  19    oath that he -- I'm sorry, under penalty of perjury, he stated

  20    that he was the owner of the property.

  21                THE COURT:     That Len was the owner?

  22                MR. MCNUTT:     This was the loss --

  23                THE COURT:     Okay.

  24                MR. MCNUTT:     I'm sorry, Your Honor?

  25                THE COURT:     That Len was the owner?



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   1                MR. MCNUTT:     I'm sorry, I still didn't hear you, Your

   2    Honor, sorry.

   3                THE COURT:     Len Salas stated under oath that he was

   4    the owner of the property.         Is that what you're saying?

   5                MR. MCNUTT:     That's correct, Your Honor.         And that's

   6    in the loss mitigation statement, which I believe is Exhibit F

   7    to the supplemental memorandum.          Let me see here.      Yes, it's

   8    Exhibit F to the supplemental memorandum, Your Honor.

   9                THE COURT:     All right.

  10                MR. MCNUTT:     It's dated February 18, 2016.

  11                THE COURT:     Okay.

  12                MR. MCNUTT:     Also, Your Honor, with respect to the

  13    issue of fraud, or at least I believe is based on the issue of

  14    fraud, the Bankruptcy Court in D.C. found that there was

  15    consideration.      The consideration was $10 paid at the time of

  16    the quitclaim deed.       Len Salas has testified on two different

  17    occasions, once in December of 2013 in front of Your Honor, and

  18    a second time on April 1, 2019, at his continued meeting of

  19    creditors, that Max Salas at no time, including 2007 or 2010,

  20    paid him any money or gave him anything of value for the deed

  21    or deed of trust or transfer of the quitclaim deed that

  22    allegedly occurred in 2010.         It's also confirmed in Max Salas's

  23    affidavit where he said that he never paid anything to his son

  24    at any time related to the property.           Let me make sure I got

  25    that right.     Yeah -- no, I'm sorry, I'm misstating that back.



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   1    Max Salas stated in his affidavit -- let me turn this around.

   2    Max Salas stated in his affidavit that Len Salas received no

   3    proceeds from the loan, nor did he pay anything in exchange for

   4    the quitclaim deed.       I'm not sure why he would pay anything in

   5    exchange for the quitclaim deed, but --

   6                THE COURT:     I thought one of them -- one of the

   7    things referred to $100 and one of the things referred to $10?

   8                MR. MCNUTT:     The deed itself has a recitation of $10,

   9    you know, the standard language for --

  10                THE COURT:     Okay.

  11                MR. MCNUTT:     -- $10 paid, receipt of which is

  12    acknowledged, et cetera, and that was in there.             Now, Your

  13    Honor, this is somewhat important because the bankruptcy judge

  14    in D.C. found that even though the trust failed, the deed,

  15    which the Court deemed valid based on the testimony of Ron,

  16    Len, and Max, still created a resulting trust because there was

  17    an intent for -- of Len to deliver the deed to Max, which of

  18    course never happened.       It was delivered to a trust, not to

  19    Max.

  20                MR. MCNUTT:     Well, I thought that the -- based on

  21    D.C. law -- the judge in Washington said that under D.C. law, a

  22    -- if the trust doesn't exist, then it goes to the beneficiary

  23    for -- it goes to the individual if consideration was given.

  24                MR. MCNUTT:     Well, yes and no.       I mean, what the

  25    Court said is that the defendant argued that the trust that was



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   1    created in 2010, and I believe was created in 2010, because the

   2    trust named Max Salas as both the trustee and the beneficiary,

   3    that the trust collapsed after it was created.             And therefore

   4    Max was the owner of the property because the property would

   5    pass to the beneficiary.

   6                THE COURT:     Yeah.

   7                MR. MCNUTT:     The D.C. Bankruptcy Court said no, and

   8    we argued that that was not the law in D.C., or in Colorado, or

   9    in fact almost any other place in the country.             Apparently,

  10    there are a few jurisdictions that don't hold that, but in D.C.

  11    and Colorado, and Judge Teel found this, that there was not --

  12    there never was a trust in existence.           Because if the trust was

  13    created with the same trustee and beneficiary, and there are no

  14    other beneficiaries, as was the case here, then the trust was a

  15    nullity and was void ab initio.          The Court said, however, I was

  16    doing fine until then.       Court said however, I believe that

  17    there was a resulting trust.         And in order to have a resulting

  18    trust, even if there was appropriate intent and the other

  19    conditions of a resulting trust existed, in order to have a

  20    resulting trust there had to be consideration.             And there was

  21    no consideration as admitted and testified to on several

  22    occasions by both Max and Len.

  23                THE COURT:     Here's what I read in here.         "Bankruptcy

  24    test determined that the trust never existed under either

  25    Colorado or District of Columbia law and was a nullity.               The



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   1    D.C. Bankruptcy Court then considered the impact of the invalid

   2    trust on the conveyance of the property.            Under D.C. law, the

   3    conveyance of property through an invalid trust results in a

   4    resulting trust unless there is consideration, in which case

   5    the legal and beneficial rights are conveyed to the intended

   6    beneficiary of the conveyance."          And so he found that there was

   7    consideration.

   8                MR. MCNUTT:     Correct.

   9                THE COURT:     So it's no -- there's not a resulting

  10    trust.

  11                MR. MCNUTT:     He found that there was a --

  12                THE COURT:     Unless there is consideration, in which

  13    case -- "the conveyance of property through an invalid trust

  14    results in a resulting trust, unless there is consideration, in

  15    which case, the legal and beneficial rights are conveyed to the

  16    intended beneficiary of the conveyance."            So there's no

  17    resulting trust because, he said, because there was

  18    consideration.      It goes -- went to Max.

  19                MR. MCNUTT:     But that's -- that's fair, Your Honor, I

  20    may have paid too much attention to the resulting trust there

  21    in my confusion to why I lost that case, Your Honor.              So I

  22    apologize, I didn't intentionally misstate that, but it sounds

  23    like what you're reading, and I remember that.             So I think

  24    you've got it right.       I just focused on the resulting trust.

  25                THE COURT:     Okay.



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   1                 MR. MCNUTT:    In any event, Your Honor, that does not

   2    change the facts that there was no consideration.              Now, Your

   3    Honor, keep in mind, as I'm sure we'll get to this, that --

   4                 THE COURT:    What do I do with his finding that there

   5    was consideration?

   6                 MR. MCNUTT:    What do you do with it?        Is that what

   7    you're saying?

   8                 THE COURT:    What do I do with his finding that there

   9    was consideration?      The judge in D.C. found there was

  10    consideration.

  11                 MR. MCNUTT:    If there actually -- well, first of all,

  12    the decision of the D.C. bankruptcy judge does not -- is not

  13    binding on this Court, as I'm sure Your Honor knows.

  14                 THE COURT:    Well, I don't know that.        Why?   Maybe

  15    that's what we need to get into.

  16                 MR. MCNUTT:    Yes, Your Honor.

  17                 THE COURT:    I mean I've read -- I read your brief,

  18    but I have some problems.        So tell me about it.

  19                 MR. MCNUTT:    Okay.    Sure, Your Honor.      Let me start

  20    with this.     The Worldcom case is a case that I cited in our

  21    brief.

  22                 THE COURT:    Yeah.

  23                 MR. MCNUTT:    It says the trustee in bankruptcy is the

  24    successor in interest to the debtor, but for purposes of

  25    avoidance and recovery actions he is not in privity.              Now,



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   1    that's not the facts of our case, but that goes to the point of

   2    whether or not the trustee in bankruptcy has privity with any

   3    party to the case below.        I -- after filing the opposition, I

   4    kept looking for cases because I was hoping to find a case that

   5    was generally on point with the facts of this case.              And the

   6    facts, of course, are that the plaintiffs filed an objection to

   7    the debtor's exemption in D.C., and the plaintiffs were --

   8    their objection was overruled.         And then the plaintiffs came to

   9    this court and purchased the trustee's claims.             And the

  10    trustee's claims, we assert, are not subject to res judicata or

  11    collateral estoppel in this court because the trustee has

  12    different rights and different interests.

  13                 But in any event, I did find a case called Kind

  14    Operations, Inc. v. Cadence Bank, N A, it's In re Pa Co-Man,

  15    Inc.   It's a bankruptcy case out of the Western District of

  16    Pennsylvania, I believe, Pittsburgh.           It's a 2022 case, it's a

  17    very recent case.      The citation is 644 B.R. 553 at 636-37.             And

  18    the facts are that Kind had filed a lawsuit against the

  19    debtor's principal, president, or CEO, I can't remember which,

  20    in state court, and lost.        Apparently lost, that's what the

  21    record shows.     Then the case went into bankruptcy and the --

  22    and Kind purchased or obtained the rights to the trustee's

  23    cause of action.      It appears much like the plaintiffs did in

  24    this case.     The ruling in Kind is that Kind Operations, Inc's

  25    capacity by (indiscernible) of the trustee is different from



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   1    its capacity as party to a state court action.             And therefore,

   2    in its current capacity, Kind is not barred by the judgments

   3    entered against it in state court.

   4                Your Honor, as -- and as I argued in both the

   5    supplemental memorandum and the opposition, the trustee's, the

   6    status of the plaintiffs in this case is a derivative status,

   7    as Your Honor found in its February 21st, 2021, ruling -- I

   8    believe it was, February 11th, 2021, ruling, that's at Docket

   9    Number 38, where Your Honor approved the purchase -- I'm sorry.

  10    Where Your Honor approved the filing of the derivative lawsuit

  11    against the defendant.       So the plaintiff's status in this case

  12    is truly that in derivation of the, I think that's the right

  13    way to say it, of the trustee.         And there are a number of cases

  14    which Your Honor cited in her ruling and previously ruled upon

  15    in the Seventh Circuit and the Second Circuit.             And the case --

  16    one of the cases that I cited in the memorandum is Gecker v.

  17    Marathon,    I forget what the rest of the name is, but Gecker,

  18    G-E-C-K-E-R v. Marathon, that's cited at 389 B.R. 630, 633 and

  19    4 [sic].    That's a case out of the Northern District of

  20    Illinois.    And that case stands for the proposition that a

  21    creditor has derivative standing if the trustee refuses to

  22    pursue estate claims.       And I believe that's exactly what Your

  23    Honor found in its ruling on the February 11, 2021.

  24                And there are a number of other cases which we have

  25    cited in the memoranda which indicate that the status of a



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   1    creditor, creditors' committee, a party that purchases the

   2    trustee's claims, they are not the real party in interest.                The

   3    real party in interest is the trustee.           There are cases like In

   4    re Eddy, that's a District of Massachusetts case cited at 304

   5    B.R.   Case of Corzin v. Forou, F-O-R-O-U.           Corzin is C-O-R-Z-I-

   6    N, in re -- Fordu, I think it is, that's how I -- maybe I can't

   7    read my writing.      That's a Sixth Circuit case, 201 Fed. 3d 693

   8    at 705.    All these cases indicate that the trustee's position

   9    is successive to the debtor or the debtor in possession.               In

  10    this case, it would be the debtor in possession because this

  11    was a Chapter 11 converted to a Chapter 7, and that any party

  12    that is suing on behalf of the estate is suing on behalf of the

  13    trustee or the estate, either one, which is a different

  14    capacity.

  15                There's a Fifth Circuit case called Ferrall

  16    Construction, F-A-R-R-E-L-L Construction, v. Jefferson Parish,

  17    obviously Louisiana.       That's at 896 Fed. 2d 136, 140 (1990).

  18    It says the real party in interest is the person holding the

  19    substantive right and not necessarily the person who will

  20    ultimately benefit from the recovery.           And I believe, Your

  21    Honor, that is consistent.        But I could find no case that

  22    indicates that in the circumstances that we have in this case

  23    that the real party in interest is the plaintiffs or that the

  24    plaintiffs would be bound by decision of a prior court in which

  25    the estate and/or the trustee were not a party and did not meet



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   1    the criterion in the Supreme Court case of Taylor v. Sturgell.

   2                The Taylor v. Sturgell case, Your Honor, is a case

   3    cited by Judge Ginsburg, and the case there involved an attempt

   4    by a federal agency, the FAA, to urge that prior litigation by

   5    other parties was binding on the subsequent court by virtue of

   6    the doctrine of virtual representation.           The Supreme Court, and

   7    this is a -- it's a 2008 case, I believe, Your Honor.                I don't

   8    have that written down here.         But Judge Ginsburg for the Court

   9    said that there were three reasons why the so-called virtual

  10    representation doctrine is not favored and did not apply.                The

  11    first is our discussions I'm reading from the Court's decision.

  12    It says we reject this argument for virtual representation for

  13    three reasons.      One, our decisions emphasize the fundamental

  14    nature of the general rule that a litigant is not bound by a

  15    judgment to which she was not a party.           And it cites another

  16    Supreme Court case called Richards, which is 517 U.S. at 798-

  17    799 and Martin, 490 U.S. at 761-762.           The Court says that our

  18    second reason for rejecting a broad doctrine of virtual

  19    representation rests on limitations attending nonparty

  20    preclusion based on adequate representation.             A party's

  21    representation of a nonparty is adequate for preclusion

  22    purposes only if at a minimum the interests of the nonparty and

  23    her representative are aligned, citing the Hansberry case at

  24    311 U.S. at 43, and either the party understood herself to be

  25    acting in a representative capacity or the original court took



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   1    care to protect the interests of the nonparty.

   2                So that would mean that the trustee in this case

   3    would have had to understand that it was being represented in a

   4    representative capacity, which is kind of absurd since the

   5    trustee did not exist until, I believe, certainly 2019, after

   6    the hearing on the exemption.         And also the D.C. Court

   7    specifically decided that it couldn't decide the issues of the

   8    trustee's claims in this case and deferred those to this Court.

   9    Judge Ginsburg goes on to say that in addition, adequate

  10    representation sometimes requires notice of the original suit

  11    to the persons alleged to have been represented.             Obviously,

  12    there was no notice here because the trustee did not have --

  13    the trustee was not in place until after the exemption hearing.

  14    The exemption hearing took place in August of 2018.              And --

  15                THE COURT:     Well, the -- wait a minute.         The trustee

  16    -- let's forget you for the moment.          The trustee did exist at

  17    the time this case was converted to Chapter 7.

  18                MR. MCNUTT:     Correct, Your Honor.

  19                THE COURT:     Actually, the trustee existed at the time

  20    the 11 was filed, because the debtor in possession acts as the

  21    trustee.

  22                MR. MCNUTT:     That's correct, Your Honor.         And it's

  23    also correct that if the debtor, as debtor in possession, takes

  24    certain actions, that those actions, if otherwise legal and

  25    proper, the trustee would be bound by them when he is appointed



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   1    after the conversion of the Chapter 11 to Chapter 7.              But we're

   2    also talking -- situation where we've got a debtor that is the

   3    son of the defendant in this case.          And you may recall, Your

   4    Honor, that one of the -- when this debtor, Len, filed his

   5    Chapter 11 plan, one of the provisions of the Chapter 11 plan

   6    was to deed this property to his father.            That was part of his

   7    proposed plan that was heard in this court in mid-December

   8    2018.   And Your Honor converted the case, I believe I'm

   9    correct, that the basis was that the debtor didn't understand

  10    what the plan was, or what it meant, or his responsibility --

  11                THE COURT:     Well, he was incapable of proceeding as

  12    the debtor in possession is what I found.

  13                MR. MCNUTT:     Okay.    That -- I may have paraphrased it

  14    wrong, but I think that's consistent with my understanding.

  15    I'll certainly take that.        And one of the issues is, at the

  16    time of that hearing, we're talking about a plan that says I,

  17    as the debtor, am the only party obligated to pay a loan that

  18    at the time had a balance of over a million dollars.              My only

  19    substantial asset is the property, and my plan intends to, and

  20    would have conveyed the property to my father for no

  21    consideration.      That was what the plan said.         That was in

  22    December of 2018.      Okay.    Now, and as I said, if the dates are

  23    important, I don't remember the date the trustee was appointed.

  24    It probably was in December of 2018.           It might have been in

  25    very early January 2019.        And the debtor in possession did not



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   1    take any action, was not a party to the case in D.C., was a --

   2    the debtor was a witness.        The debtor appears a witness in that

   3    case, but was not a party to that case.           Clearly, the debtor's

   4    interests are -- were adverse to the interests of his father.

   5                Your Honor, the third reason discussed by Judge

   6    Ginsburg is a diffuse balancing approach to nonparty preclusion

   7    would likely create more headaches than it relieves.              And that

   8    goes into a discussion of the procedural issues and the

   9    possibility of litigation over procedural issues as opposed to

  10    substantive issues, which would bog down courts.             I consider

  11    that a less substantive reason.          But that's the Taylor v.

  12    Sturgell case, the opinion of Judge Ginsburg.             And I apologize,

  13    but I don't -- maybe I do but it's in -- it was.             I'm sorry, I

  14    do have it.     The citation is 553 U.S. 880, 894.          And they're

  15    all on 894?     No, I'm sorry, this is on Pages 880 -- 898 through

  16    901.   It is a 2008 case, Your Honor.

  17                THE COURT:     All right.

  18                MR. MCNUTT:     In reading the decision of Kind, which

  19    is -- it's actually an interesting case, although it's more

  20    like bedtime reading, it's 81 pages long.            I won't read the

  21    whole case.

  22                THE COURT:     Good.

  23                MR. MCNUTT:     Don't worry.     The pertinent sections are

  24    as follows, though, and I believe I've cited these in the -- in

  25    my opposition.      No, maybe I haven't.       No, I don't think so,



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   1    because this is a pretty new case.          "In general, a nonparty to

   2    a prior litigation may be collaterally estopped by a

   3    determination in that litigation by having a relationship with

   4    a party to the prior litigation such that his own rights or

   5    obligations in the subsequent proceeding are conditioned in one

   6    way or another on, or derivative of, the rights of the party to

   7    the prior litigation."       And that -- and then cites -- this is

   8    under New York law, Your Honor, but I don't believe there's any

   9    difference between New York law and D.C. law, at least in this

  10    area.   "In due consideration of these standards, it is

  11    abundantly clear that the bankruptcy estate had no

  12    representation in the state court litigation.             It is also clear

  13    that the bankruptcy estate's claims against the defendants in

  14    this adversary proceeding are not derivative of those claims

  15    previously served by Kind in its individual capacity in the

  16    state court litigation.        Thus, it is equally clear that Kind

  17    did not appear in the same capacity in both actions; here

  18    before this Court, Kind is acting in its capacity as the

  19    assignee of the trustee's interests, and in the state court

  20    litigation, Kind was pursuing its own self interest."

  21                Now, the causes of action in Kind include fraud and

  22    fraudulent conveyance.       To give you an idea of at least how

  23    complicated the decision is, there are 61 headnotes, but

  24    Headnote 39 is labeled fraudulent transfers.

  25                THE COURT:     All right.



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   1                MR. MCNUTT:     And part of the (audio interference) in

   2    this case were recovery under a fraudulent conveyance theory.

   3                THE COURT:     All right.     Anything else on 544?

   4                MR. MCNUTT:     No, Your Honor.      I would

   5    (indiscernible) --

   6                THE COURT:     548, I'm sorry.      I started with 548, I'm

   7    sorry.

   8                MR. MCNUTT:     That's okay.     When you start talking

   9    about numbers, it can get very confusing, I know.              I've never

  10    done it before myself with numbers more than a few thousand

  11    times.    Okay.

  12                I'm a little concerned that I thought this was very

  13    clear, so I'm a little concerned about Your Honor's assertion

  14    that you had problems with the capacity of the plaintiffs to

  15    pursue these causes of action in this case.            But it is very

  16    abundantly clear, and there are numerous cases, some of which

  17    are cited in our pleadings and our filings (indiscernible) that

  18    the trustee's -- the trustee is not in privity with the

  19    creditors, it is not in privity with the debtor when it comes

  20    to recovery actions.       And that was the Worldcom case I cited to

  21    Your Honor.     That's from the Southern District of New York.                I

  22    don't have the date here, but it's 401 B.R. 637 at page 651

  23    specifically, and that Worldcom is cited in, I believe, the

  24    opposition.     But that case makes it clear, and I found no cases

  25    which decide that issue differently, that for purposes of



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   1    avoidance and recovery actions, the trustee is not in privity

   2    with the debtor.      So even if the debtor were a party to the

   3    prior case, which he was not, Worldcom, if correct, and I

   4    believe it is, indicates that the trustee, and therefore the

   5    trustee's claims, would not put the trustee in privity to the

   6    debtor.

   7                Now, there's a difference here when you're talking

   8    about the debtor in possession's estate and then the trustee

   9    coming in as the successor entity.          But that's not what we have

  10    here.   We don't have a situation where the debtor's estate has

  11    entered into a contract or claim was filed against it or

  12    anything that would be binding on the successor trustee.               If

  13    there were, for example, if there was -- a simple example would

  14    be let's say there was a fee application in the -- during the

  15    debtor in possession case.        The subsequent trustee would be

  16    bound by that unless he had some basis for revisiting.

  17    Basically, he'd be bound by that.          If the debtor in possession

  18    entered into a contract to sell property.            Let's say he decided

  19    he was going to sell his house, he did during the debtor in

  20    possession status.      Of course, that's governed by -- that's

  21    subject to court approval and creditor approval, notice, and

  22    all that kind of stuff.        But if that happened the trustee

  23    couldn't come back in this case in Chapter 7 and say no, I was

  24    not a party to that and therefore I can't -- I don't want that,

  25    and I'm going to revisit that.         Can't do that.



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   1                But here we're talking about not anything that

   2    happened in the debtor in possession part of the case.               We're

   3    talking about a decision of the D.C. Bankruptcy Court in 2018

   4    while this estate was -- while the Chapter 11 estate was

   5    pending, but before the Chapter 7 trustee was appointed.               And

   6    again, I apologize for not having the date, but it's in the

   7    record.    I think it was in late December 2018 that Mr. Juganda

   8    (phonetic) was actually appointed the Chapter 7 trustee.

   9                THE COURT:     All right.

  10                MR. MCNUTT:     Do you want me to go on to the open

  11    possession issue, Your Honor?

  12                THE COURT:     I don't think so.      I think you've covered

  13    your thoughts about privity and so forth.            Anything further

  14    after that?

  15                MR. MCNUTT:     Yes, Your Honor, I want to refer you to

  16    the, which you've probably already seen, but I wanted to refer

  17    you to the facts that are in evidence in this case.              I'm sorry,

  18    part of the record in this case -- I don't have them, sorry --

  19    and those include the following, and I'm going to go by memory

  20    here:   We have the facts stated in the plaintiffs' -- I'm sorry

  21    in the parties' joint -- amended joint pretrial statement.                 We

  22    have the facts that are admitted in the defendant's response to

  23    the plaintiff's request for admissions.           They are an exhibit to

  24    the supplemental -- to the motion for summary judgment.               We

  25    have the defendant's responses to discovery, interrogatories,



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   1    and requests for production.         We have the defendant's I'm sure

   2    I'm missing a few things.        We have the defendant's responses to

   3    the plaintiffs' list of undisputed facts and supplemental list

   4    of undisputed facts that are attached to the plaintiffs' motion

   5    for summary judgment.       And I've also -- and of course we have

   6    the exhibits to the motion for summary judgment and the

   7    supplemental memorandum, which include things like the loss

   8    mitigation statement.

   9                There's also a bank statement of the 1610 Riggs

  10    Property Trust which shows that the bank account was opened in

  11    October of 2017.      So prior to 2017, even though in 2011 Ron

  12    Salas told his father to open a bank account in the name of the

  13    trust, he did not -- Max Salas did not do so.             At least there's

  14    no record of it.      The only record of any bank account in the

  15    name of the 1610 Riggs Property Trust, the trust that the

  16    defendant is relying on starts in October of 2018, goes through

  17    April of 2000 -- I'm sorry, I don't think I said that right.

  18    October of 2017 through April of 2018.           And the bank records

  19    show a single transaction, one deposit, nothing else.               No

  20    banking transactions at all.

  21                On the other hand, there is a bank account in the

  22    name of the CLR Trust.       That's the trust that Len testified to,

  23    saying that one I know.        That's the trust for the benefit of

  24    Chase, Len, and Ron, the three sons.           The three brothers, sons

  25    of the defendant.      And then there's Max Salas's affidavit,



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   1    which spells out that all of the rent for the property went

   2    into not the 1610 Riggs Property Trust, but the CLR Trust.

   3                THE COURT:     All right.

   4                MR. MCNUTT:     And attached to the opposition -- the

   5    opposition, let's see.       Attached to the opposition, Your Honor,

   6    is a list of facts taken from all of the -- and it's not

   7    intended to be -- to include everything.            But it is intended to

   8    be facts that bear on -- maybe I shouldn't say bear, but that

   9    relate to the issues that Your Honor asked us to brief in your

  10    January 2023 order.       Bare legal title, open possession, and in

  11    addition to that inquiry notice -- and in addition to that,

  12    Your Honor, you know that I stated that as a court of equity, I

  13    believe that the defendant's behavior has been wholly

  14    inequitable, including false testimony.           And as a result, I

  15    believe that with respect to any equitable relief that the

  16    defendant might otherwise be entitled to, that this Court

  17    should not grant that relief given the lies and deception and

  18    the fact that Mr. Max Salas has hid his interest in this

  19    property since 2010 and even throughout his bankruptcy case in

  20    2018 and 2019, when there was no notice, no public record,

  21    nothing related to his ownership of the property.              Only related

  22    to -- I mean, look he's claiming it in the bankruptcy

  23    documents, but he never changed the public records is what I'm

  24    saying.    I'm not saying this clearly.

  25                THE COURT:     What false testimony --



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   1                MR. MCNUTT:     Even after he filed the bankruptcy --

   2                THE COURT:     Excuse me.     Let me back up.      What false

   3    testimony has he given in this case?

   4                MR. MCNUTT:     He gave false testimony that the

   5    quitclaim deed was in existence and it had not been abandoned,

   6    and that the quitclaim deed was intended to give him ownership

   7    of the property.      And if you look at all of the testimony and

   8    all of the documents of these parties for a period of 2010

   9    through 2016, that's well into the superior court litigation,

  10    you see that both Len and Max are hiding the fact that Len was

  11    still considered the owner for all purposes.             All public

  12    records, all public notices, the -- all title documents, the

  13    deed of trust.      But at the same time, Len was telling his

  14    father will you please get me off the title to the property?

  15    His father is telling the attorneys in 2011 and 2012.               Please,

  16    one of the first things we need to do, and I'm paraphrasing

  17    again, is to get Len off the title to the property.              Max Salas

  18    testified that that's not true.          What he meant was get loan --

  19    get Len off the loan to the property.           But his own words and

  20    his own testimony and his own emails show that that is not the

  21    case.   Throughout the D.C. bankruptcy court litigation, all

  22    three of the Salas family members who testified, Ron, Len, and

  23    Max, asserted that the quitclaim deed was in effect, had not

  24    been abandoned, and that the parties forgot that it existed

  25    until coincidentally and conveniently after Mr. Albert told Mr.



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   1    Salas, Mr. Max Salas, that he may be able to exempt the

   2    property if he can resurrect, and I use the word resurrect

   3    intentionally, that he could resurrect -- I'm not saying Mr.

   4    Albert said this.      But what happened was they resurrected a

   5    deed that was invalid, did not exist, had been abandoned, and

   6    the parties had no intention of using it for any purpose.

   7                THE COURT:     All right.     You -- are you done on 548?

   8                MR. MCNUTT:     I think so, Your Honor.

   9                THE COURT:     All right.     Let me talk to Mr. Young.

  10                MR. YOUNG:     Thank you, Your Honor.        Philip Young on

  11    behalf of the defendant Max Salas.          I'm going to try to use

  12    some restraint --

  13                THE COURT:     Perhaps we should start with collateral

  14    estoppel --

  15                MR. YOUNG:     Sure.

  16                THE COURT:     -- and your position on that.         And then

  17    we'll back up and go to the other parts.

  18                MR. YOUNG:     Well, Your Honor, I think none of this

  19    matters.    And I would love to argue some of these other issues,

  20    because I think there -- that Mr. McNutt is arguing with the

  21    D.C. court is what he's arguing with.           He's trying to litigate

  22    for at least a third time, and maybe a fourth time, things that

  23    he's lost two or three other times.          And while I'm happy to

  24    replow that ground, I'm going to try to stick to the issues

  25    that the Court raised in its January 5th order.             Those issues,



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   1    as I take it, at least as it relates to 548, are two things.

   2    One, whether the D.C. Court has decided already who the owner

   3    of the property was, and it has, even though the plaintiffs

   4    don't like the answer, it has decided that, and the District

   5    Court has affirmed that decision.          And then the second thing is

   6    whether or not that decision is binding on these parties

   7    through collateral estoppel.

   8                Let me very briefly address the first issue.             On Page

   9    57 of a 59-page homestead exemption opinion, and where the

  10    critical issue was whether Max Salas owned sufficient interest

  11    in the property in order to claim a D.C. homestead exemption,

  12    the D.C. Bankruptcy Court made this finding, and I'm going to

  13    quote, on Page 57 accordingly, after 57 pages of factual

  14    findings and analysis, page 57 says, "Accordingly, the Court

  15    finds that under District of Columbia law, the property was

  16    conveyed to Max, and he holds both the legal and beneficial

  17    interest in this property," period.          That statement wasn't mere

  18    dicta, as the plaintiffs seem to want to argue.             It was the

  19    central finding that underpinned the conclusion that Max Salas

  20    owned a sufficient interest in the property in order to claim

  21    homestead exemption.       Again, there's 57 pages of factual

  22    findings and analysis that can -- the Court can look at for

  23    itself.    This was not some naked conclusion.           This was highly

  24    litigated about who the owner of that property was.              The D.C.

  25    Bankruptcy Court, applying D.C. property law, has already made



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   1    a finding that Max Salas and not Len Salas was both the legal

   2    and the equitable owner of the property.            There's no escaping

   3    that.

   4                 So that then takes us to the second question, whether

   5    that finding is somehow binding in this matter on this Court

   6    and on these parties.       That brings us to the doctrine of issue

   7    preclusion or collateral estoppel, which bars successive

   8    litigation of an issue of fact or law that was actually

   9    litigated and resolved in a valid court determination essential

  10    to the prior judgment.       That's a direct quote from the Angelex

  11    case out of the D.C. Court -- Circuit Court, which is cited in

  12    our brief.

  13                 The D.C. Courts have developed a three-pronged test

  14    that's really essentially I mean, it's identical to the Sixth

  15    Circuit's test for issue preclusion.           Those three prongs are as

  16    follows.    One, whether the same issue now being raised was

  17    contested by the parties and submitted for judicial

  18    determination in that prior case.          Two, whether the issue was

  19    actually and necessarily determined by a court of competent

  20    jurisdiction in the prior case.          And three, whether preclusion

  21    would work any basic unfairness.          Applying this test to the

  22    facts of this case, we see that the D.C. Court has already

  23    decided an issue that is central to this matter, who owns the

  24    property.    That issue was central to the D.C. homestead

  25    exemption hearing, and it's central to determining whether



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   1    there can be any fraudulent transfer here.            It was necessary

   2    for the D.C. Court to decide that issue in that case.               It's

   3    necessary in this case.        There is no defect in the prior case

   4    that would cause a court to say that the outcome was unfair.

   5    In fact, that judgment was upheld on appeal.

   6                So the only issue in deciding whether issue

   7    preclusion applies here, then, is whether the parties were the

   8    same in the prior matter and in the present matter.              Now, the

   9    plaintiffs raise a clever argument.          They say in the prior

  10    matter, we were acting on behalf of ourselves, and in this

  11    matter we're acting derivatively.          So we step into the shoes of

  12    the trustee and we're cleansed of any issue preclusion.               It

  13    really is a clever argument, because they're right that a

  14    trustee is not normally bound by issue preclusion.              As this

  15    Court knows, I represent a lot of trustees in this district, so

  16    I'm very familiar with this general rule.            However, issue

  17    preclusion does not require that the parties be exactly the

  18    same in the first suit and in the second suit.             Rather, they

  19    must be either the same parties or parties that are in privity

  20    to the private -- to the prior parties.           And I direct the Court

  21    to the Cramer case out of the Supreme Court and the Peake case

  22    from the D.C. Circuit, both cited on Page 4 of our second brief

  23    for the proposition that a party or their privy may be bound by

  24    issued preclusion.

  25                So the question is whether these plaintiffs, in their



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   1    current capacity are in privity with the same plaintiffs in the

   2    D.C. Bankruptcy case, acting in the capacity they were acting

   3    in that case.     The Sixth Circuit defines a privy as a successor

   4    in interest to the party, one who controlled the earlier

   5    action, or one whose interests were adequately represented.

   6    That or means that any of those relationships causes a party to

   7    be in privity.      In this case, the plaintiffs satisfy all three

   8    elements.    They're a successor in interest, they controlled the

   9    earlier action, and their interests were adequately

  10    represented.

  11                THE COURT:     How are they a successor?

  12                MR. YOUNG:     On --

  13                THE COURT:     Let's back up.      How are they a successor

  14    in interest?

  15                MR. YOUNG:     Sure.    Well, because, Your Honor, well, I

  16    guess they're not a successor -- they are the same party.                It's

  17    not a successor in interest so much as the exact same parties.

  18    I would say that the interest that they're representing here is

  19    identical to the interest they were representing in the prior

  20    case.   Because, and I'm going to get to this in just a moment,

  21    it can't be ignored that the plaintiffs hold 99.5 percent of

  22    the claims in this case.        There is no different interest.          It's

  23    not like they're a 30 percent owner and they owe a fiduciary

  24    duty to the other 70 percent.         They are the claimant in this

  25    case.   So I would say that the interest that they were arguing



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   1    for in the prior case is the exact same interest they're

   2    arguing for in this case.        That is their own self-interest.

   3    And on Pages 6 through 7 of our second brief, our supplemental

   4    brief, we cite to a number of D.C. cases that establish what

   5    privity between two parties looks like.           One example was the

   6    parent of a wholly-owned subsidiary.           Another example was a

   7    company and its directors, officers, and owners.             A third

   8    example was a union and its union members.            So it doesn't have

   9    to be even the same identical parties as long as the control

  10    was the same and the interests protected were the same.

  11                And when you review all the facts of this case, and I

  12    made this point in our brief, it becomes clear that the

  13    question of whether a subsequent party is a privy to a former

  14    party and thus bound by issue preclusion comes down really to

  15    three things, control, decision-making authority, and adequate

  16    representation.      Those are really the three things that the

  17    cases sort of hone in on.        And this is why a trustee is not

  18    normally bound by an adverse decision against a debtor.

  19    Control over the lawsuit is different.           There's a different

  20    decision maker and there's different representation.              When a

  21    trustee takes over a matter, she normally retains new counsel.

  22    She's calling the decisions instead of the debtor, and she's

  23    applying a different standard in making those decisions because

  24    she's acting in a fiduciary capacity.

  25                But all those things are absent in this case.              In



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   1    this case, we have the exact same parties, the same people are

   2    making litigation decisions in this case as in the last case.

   3    In fact, they hired the exact same lawyers who are even making

   4    the exact same arguments before this Court that they made

   5    before the D.C. Court.       And even though they are pursuing this

   6    to look derivatively, like I mentioned before, the plaintiffs

   7    hold 99.5 percent of the claims.          So they're acting in the same

   8    capacity.    They're acting in their own self-interest.             This

   9    isn't a situation where they're a fiduciary.

  10                So summarizing the defendant's position as to the

  11    fraudulent transfer causes of action, the D.C. Court has

  12    already decided that Max Salas owned both the legal and

  13    equitable interest in this property.           That means that the most

  14    Len Salas could have possibly owned was bare legal title.

  15    Moreover, this Court must apply the same finding in this case

  16    because the parties are bound by issues of claim preclusion.

  17    As this Court's already noted, if Len Salas owned only bare

  18    legal title to the property, then the plaintiff's fraudulent

  19    transfer claims have to fail.

  20                I did want to sort of address just two sort of side

  21    issues that Mr. McNutt raised.         One, it's important to realize,

  22    and I want to make this distinction because this was sort of

  23    incorrectly stated in the brief, and then he incorrectly stated

  24    this just now.      The D.C. Court did not defer the 548 actions to

  25    this Court.     The D.C. Court deferred the 544 actions to this



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   1    Court, and there's a clear reason why that is.             The D.C. Court

   2    decided the issue of ownership, and it knew that would decide

   3    the 548 issues in this Court.         However, it did not decide the

   4    issue of inquiry notice because that wasn't necessary to get to

   5    the homestead exemption.        The issue of ownership was necessary

   6    to get to the homestead exemption.          The issue of inquiry notice

   7    was not.    And so, essentially, the D.C. Court passed the buck

   8    to this Court on the issue of inquiry notice, which we'll -- I

   9    know we're going to talk about in just a moment.

  10                THE COURT:     I can't --

  11                MR. YOUNG:     The other thing that I'd like --

  12                THE COURT:     Whoa, whoa, whoa.      I can't remember.       So

  13    he specifically cited 544, but not 548?

  14                MR. YOUNG:     Correct, Your Honor.       That's on -- I

  15    believe it's on Page 57 of the order, and if you'll give me

  16    just a moment here, I'm going to pull up the order --

  17                THE COURT:     No, that's okay.

  18                MR. YOUNG:     -- and make sure that I'm --

  19                THE COURT:     I just -- it's a long opinion, and I've

  20    read it about 15 times, but I couldn't remember.

  21                MR. YOUNG:     Right.    I will represent to the Court

  22    that he specifically says 544 is for another day.              But the

  23    Court will recall that one of the decisions he was asked to

  24    make was a fraudulent transfer decision.            That's why he had to

  25    decide who the owner was, because that was one of the issues



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   1    that was sort of an outside issue of that homestead exemption,

   2    was a 548 issue.      But he specifically passed only the 544 issue

   3    to this Court, and for good reason.          As I said, it wouldn't

   4    have come up in a Homestead exemption about inquiry notice.

   5    And so there's a good reason that Judge Teel passed that on to

   6    this Court, because that didn't come up.

   7                The other thing I'll note is I've not read the Kind

   8    Operations case that Mr. McNutt cited for the first time here

   9    this morning.     He didn't cite it in his brief, so I've not had

  10    a chance to look at it.        But when he was quoting that, and that

  11    was the case that he cited for the proposition that a plaintiff

  12    who buys a trustee's action isn't bound by a former decision

  13    against that plaintiff.        I picked up when he was reading parts

  14    of that decision, though, into the record here, I picked up on

  15    the fact that there was a comment there that said, well, the

  16    difference is before they were acting in their own self-

  17    interest, and now they're acting derivatively, you know, on

  18    behalf of the estate.       Again, I've not read that case.          I would

  19    be very surprised if the facts of that case demonstrated that

  20    Kind Operations was a 99.5 percent claim holder in that case.

  21    And that makes this very distinguishable.            In this situation,

  22    the plaintiffs are pursuing their own self-interest.              That's

  23    what's going on here.       And that's why I think that that is

  24    likely a different outcome.

  25                But just to sort of wrap this up on the 548 issue,



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   1    because the D.C. Court has already considered ownership and

   2    already decided ownership, and because that finding, whether

   3    the plaintiffs like it or not, is binding on the parties to

   4    this, the Court must grant summary judgment in favor of the

   5    defendant on both fraudulent transfer claims.

   6                Unless the Court has further questions of me, that's

   7    all I've got on the 548 issue.

   8                THE COURT:     Does Whiting Pools -- just out of

   9    curiosity, does Whiting Pools limit both actual fraud cases and

  10    constructive fraud cases?

  11                MR. YOUNG:     I don't recall, Your Honor, I really

  12    don't.    I don't recall whether that was only constructive fraud

  13    or both.    I will say here, I understand the constructive fraud

  14    argument in this case.       I get it.     If Len Salas had owned

  15    something more than bare legal title and transferred it, I

  16    understand the constructive fraud.          Frankly, and I've read all

  17    the papers that the plaintiffs have submitted, and I've heard

  18    all the arguments, and I still don't see where the actual fraud

  19    allegation even exists here.         And to the extent that it does

  20    exist, I think it's already been heard and decided by the D.C.

  21    Court and rejected.       So I don't know if the answer to the

  22    Court's question, or I don't recall, I'm happy to look at that

  23    if the Court would like me to look at that.            I don't recall as

  24    I sit here, but I'm not sure that it matters because this is a

  25    constructive fraud case, no matter how the plaintiffs would



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   1    like to slice it.

   2                THE COURT:     Okay.    Is there anything else you want to

   3    say about 548?

   4                MR. YOUNG:     No, Your Honor.      That's all I've got

   5    unless the Court has questions for me.           Well, the one other

   6    thing is I'll just point out to the extent, because I know the

   7    Court had heard some stuff about unclean hands.             And I'll just

   8    point to our last brief when the Court denied the plaintiff's

   9    motion for summary judgment back in November, one of the issues

  10    that they raised there was unclean hands.            And I'm not even

  11    going to get into, just for time's sake, I'm not even going to

  12    get into why all of those allegations are incorrect.              What I'll

  13    say is it doesn't even matter because as we cited in our former

  14    brief, and I think the Court relied upon in making the decision

  15    back in November, unclean hands is only applicable when a party

  16    is seeking affirmative relief.         When it's defending an action,

  17    unclean hands doesn't even come into play.            So that -- the

  18    unclean hands argument that keeps coming up over and over is

  19    misapplied.

  20                THE COURT:     All right.     Mr. McNutt, I have a

  21    question.    What's the --

  22                MR. MCNUTT:     Yes, Your Honor.

  23                THE COURT:     Tell me again what the Kind Operations

  24    case cite is.

  25                MR. MCNUTT:     (Indiscernible), yes, Your Honor.



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   1                THE COURT:     Somehow I missed that.        I'd like to read

   2    it.

   3                MR. MCNUTT:     You better set aside a lot of time.

   4    It's a long case.

   5                THE COURT:     I understand.

   6                MR. MCNUTT:     It's 644 B.R. 553, and again, it's a

   7    2022 case out of the bankruptcy court for the Western District

   8    of Pennsylvania.

   9                THE COURT:     All right.     I have one more question.           Do

  10    you agree that the D.C. Court only referred 544 questions to

  11    this Court?

  12                MR. MCNUTT:     No, I don't, Your Honor.        In its

  13    decision, the D.C. Court raised 544, which it didn't need to.

  14    It's not a part of the decision.          It is clearly an advisory

  15    opinion, which the Court did not need to do because it had

  16    nothing to do with the Court's decision regarding the result of

  17    the resulting trust, I'll call it because, as Your Honor

  18    pointed out, because of the issue of consideration, as the

  19    Court found, although incorrectly, I believe.             Well, it

  20    certainly is incorrect.        But in any event, it wasn't there.

  21    And I don't -- I haven't looked at this, but there is nothing

  22    in that opinion that relates to any other provisions of the

  23    Bankruptcy Code, so clearly -- and when Mr. Young says that the

  24    Court clearly decided that, Mr. Young is very clever, I'll give

  25    him a lot of credit for that.         But what he said was issues that



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   1    might be tangential to Section 548 may have been alluded to by

   2    the Court or decided by the Court.          But the Court did not

   3    decide anything in the context of Section 548 because just like

   4    Section 544, those would not be causes of action that are

   5    available to the trustee of Max Salas's estate.             Like the

   6    Section 544 argument, they would be causes of action that are

   7    available only -- or were available only to the debtor in

   8    possession of the trustee in this case.

   9                And no matter how much Mr. Young argues that there's

  10    somehow privity here, or there's somehow -- you know, because

  11    these creditors are large creditors, that has nothing to do

  12    with this bankruptcy estate.         The bankruptcy estate is a

  13    different party, different cause of action, not in privity with

  14    a debtor, the debtor possession, or the creditors.              And as Kind

  15    so correctly stated, and it's not the only case that says that,

  16    when a party comes in and buys the estate's claims, it is

  17    pursuing those claims in derivative status.            And I might remind

  18    Your Honor that when we had asked the trustee to pursue these

  19    claims on behalf of the estate, and Mr. Juganda had originally

  20    said that he would, but after talking to Mr. Young he decided

  21    to -- that he -- I think he decided that he could make more

  22    money by selling the asset to Mr. Young's client, Mr. Max

  23    Salas, through his son Ron.         And at the hearing regarding the

  24    propriety of the sale to Mr. Salas, Mr. Young argued, and I

  25    believe the Court accepted the fact that the reason that Max



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   1    Salas was attempting to buy the claim was so that nobody would

   2    pursue it.     So that's a different kind of self-interest for

   3    acquiring the assets.       And Mr. Young thought, and the debtor --

   4    and the defendant thought that was proper.            But it's not proper

   5    for a creditor to purchase a claim that the estate has and the

   6    estate is unwilling to pursue it.

   7                 And I would remind Your Honor that my clients paid I

   8    believe $150,000 or so for the claims.           That money went into

   9    the estate, and that money went to pay taxes.             It went to pay

  10    the trustee, it went to pay administrative expenses.              It went

  11    to pay the debtor's counsel.         If this recovery is made, it will

  12    also go into the bankruptcy estate, and it will be paid to the

  13    administrative expenses of the estate by any other claims.

  14    There may be claims for attorneys' fees by the plaintiffs, and

  15    the trustee's commission will be paid out of that and then only

  16    the remainder will be paid to the creditors, of which my

  17    clients represent substantially all the creditors.              I agree

  18    with that.     But it's not a matter of percentage.          It's a matter

  19    of whether the process is correct.          And the standing is

  20    derivative in both cases.        That's correct.      It is a -- the

  21    process was correct.       It was ordered by Your Honor.         There was

  22    bidding.    Mr. Salas had the opportunity, Ron or Max on the same

  23    thing.    They had an opportunity to bid.         They stopped bidding

  24    at some point and the plaintiffs purchased the claims.               At that

  25    point they held derivative status only.



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   1                Your Honor, and this is a minor thing, but the -- Mr.

   2    Young said that the appeal, that when the exemption decision

   3    was appealed, that the District Court upheld the exemption.

   4    That's not technically correct.          What happened was the District

   5    Court dismissed the appeal, and at that point, there was no

   6    decision made on the merits of the appeal.            So while the

   7    Bankruptcy Court's decision stands --

   8                THE COURT:     Why did the District Court dismiss the

   9    appeal?

  10                MR. MCNUTT:     Your Honor, we asked -- we filed an

  11    appeal, filed our brief and found out that the issue of

  12    consideration was not as stated by the Bankruptcy Court in

  13    information that was provided to us by Len. Information that I

  14    alluded to before that was testified to by Len both in the

  15    December confirmation, December 2018 confirmation hearing, and

  16    in the continued meeting of creditors of Len Salas in this case

  17    on April 1, 2019.      When we found that out, we asked the

  18    District Court alternatively, because the appeal had already

  19    been pending for more than a year, asked the District Court to

  20    alternatively allow us to go back to the bankruptcy court and

  21    ask the Bankruptcy Court to reconsider its decision on the

  22    basis that there was new information.           There was new

  23    information that -- I'm sorry, I just got a little screen that

  24    said an order came in another case, I was distracted, sorry to

  25    say.   And I'm sure the order is against me, so now I have to



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   1    step back a little bit.

   2                THE COURT:     I'm sorry.     Not good.

   3                MR. MCNUTT:     It was expected, Your Honor.         Your

   4    Honor, I forgot my train of thought.           So -- about the District

   5    Court.

   6                THE COURT:     So what -- so the District Court just

   7    dismissed it willy-nilly?          I don't understand.     Or was it

   8    because of something you did or didn't do?

   9                MR. MCNUTT:     Well, it may have been something I did.

  10    The Court said that it could, at our request, dismiss the

  11    appeal voluntarily, even though we didn't ask for the appeal to

  12    be dismissed.     It dismissed the appeal and remanded to the

  13    Bankruptcy Court.      The Bankruptcy Court --

  14                THE COURT:     So then what did the Bankruptcy Court do

  15    when it got the information?

  16                MR. MCNUTT:     It decided that it couldn't reconsider

  17    and didn't want to reconsider and then said that we also could

  18    not appeal.     So we dropped the case at that point because it

  19    was clear that we were not going to get relief from any court

  20    in D.C.

  21                THE COURT:     Well, did you ask the District Court to

  22    consider allowing you to appeal?

  23                MR. MCNUTT:     We did, and the District Court summarily

  24    denied that.

  25                THE COURT:     Okay.    All right.    Just checking.



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   1                MR. YOUNG:     Your Honor.

   2                THE COURT:     All right.     I want to --

   3                MR. YOUNG:     Your Honor, if I --

   4                THE COURT:     Yeah.

   5                MR. YOUNG:     Your Honor, I'm sorry.        If I may, Your

   6    Honor, I was just going to point the Court to the section of

   7    the order because I have it here, just a second to look for it,

   8    that I was referring to.        It's page 59 --

   9                THE COURT:     Okay.

  10                MR. YOUNG:     -- of the D.C. homestead exemption.           It

  11    reads like this.      It says, "There is thus an issue of fact as

  12    to whether a hypothetical purchaser of the property would have

  13    inquiry notice of Max's ownership of the property.              However,

  14    that is an issue of fact that must be decided by the U.S.

  15    Bankruptcy Court for the Middle District of Tennessee.               How a

  16    judgment regarding the right of Len's estate to recover the

  17    property under 544 would affect Max's homestead exemption in

  18    this case is an issue for another day."           That was what I was

  19    referring to, Your Honor.

  20                THE COURT:     Okay.

  21                MR. MCNUTT:     Your Honor, in -- a couple of points.

  22    I'll make this quick.       I'm sorry to be so long.        But during the

  23    exemption hearing, Judge Teel specifically stated that --

  24    specifically asked the parties, and it's part of the

  25    transcript, I don't have the cite, but I can find it, might



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   1    take me a few minutes but I could find the cite.             But I read it

   2    yesterday.     The Court said it's not clear to me, and I'm

   3    paraphrasing now, it's not clear to me whether they should be

   4    deciding the exemption because it'll all be moot if the

   5    Tennessee Trustee can recover the property, which would moot

   6    the exemption.      That was not a finding of the judge, it was a

   7    comment by the judge.       I want to make that clear, but that was

   8    during the trial or the evidentiary hearing, and I believe it

   9    was on the third day in Volume 3.

  10                 Also, Your Honor, I have a note here to refer Your

  11    Honor to a case under Tab 10, so let me do that, if I may.                On

  12    Page 7 of the -- what did I do (indiscernible) -- of our

  13    opposition to the defendant's motion for summary judgment, we

  14    cite the Modiri case.       That's a D.C. case that discusses the

  15    fairness doctrine in relation to the use of collateral

  16    estoppel.    And that case states that, "A privy is once so

  17    identified in interest with a party to the former litigation

  18    that he or she represents precisely the same legal right in

  19    respect to the subject matter of the case."            And I emphasize

  20    the words, "precisely the same legal right."             The claims in

  21    this case are not the same legal right as an exemption to the

  22    debtors, -- there's a -- I was going to say it backwards -- as

  23    an objection to the debtor's exemption.           And that cites the

  24    case of Smith.      It only says Smith, I don't know the full site,

  25    but the citation is 562 A.2d at 615.           And it's quoted in the



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   1    Modiri case, which is cited on Page 7 of our opposition, that's

   2    document 95.     The Modiri case is a 2006 District of Columbia

   3    case.

   4                THE COURT:     Okay.

   5                MR. MCNUTT:     I'm sure Your Honor has read.         And even

   6    though I believe it is D.C. law that applies, I also cited the

   7    GMAC Mortgage case out of the Sixth Circuit, which I believe is

   8    to the same effect.

   9                THE COURT:     All right.     Let's move on to 544.       You

  10    want to talk about -- which of you wants to start on 544?

  11                MR. MCNUTT:     Well --

  12                MR. YOUNG:     Your Honor.      Either way is fine with me,

  13    Your Honor.

  14                MR. MCNUTT:     Yeah, it's up to you, Your Honor.

  15                THE COURT:     Mr. McNutt, start it.

  16                MR. MCNUTT:     Why do I always have to start?

  17                THE COURT:     Well, we'll have --

  18                MR. MCNUTT:     Okay.    I --

  19                THE COURT:     -- it's -- all right.       We'll have Mr.

  20    Young start.     We'll have Mr. Young start.

  21                MR. YOUNG:     No problem, Your Honor.        And again, I'll

  22    try to be relatively brief here.          I think the question that the

  23    Court posed in its January 5 order that relates to 544 is

  24    whether a reasonable third party would have had inquiry notice

  25    of Max Salas's ownership of the property.            And indeed, that's



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   1    the question that the D.C. Court kind of punted to this Court,

   2    as we just read.      Why would it have punted?        Like I mentioned

   3    before, unlike ownership, notice was just not an issue for the

   4    D.C. Court to consider in reaching its exemption decision, so

   5    the D.C. Court left that issue to this Court.

   6                 This Court raised the question of whether Max Salas's

   7    physical possession of the property would have put a reasonable

   8    third party on notice of his ownership of the property.               And

   9    indeed, there are a lot of uncontested facts that establish

  10    that Max Salas's possession was very open, very obvious, and

  11    notorious.     He lived in the property, Len Salas did not.            He

  12    was the only one who ever made mortgage payments.              He was the

  13    only one who ever made tax payments.           He was the only one who

  14    ever made utility payments for the property.             He signed all the

  15    leases for the property, he collected all the rent from the

  16    property, he collected the insurance proceeds.             Well, first he

  17    paid for the insurance and then he collected the insurance

  18    proceeds from the fire, and he was the one who oversaw the

  19    reconstruction of the property.          So it would have been obvious

  20    to any third party that Max Salas, and not Len Salas, was the

  21    owner of the property.       In its January 5 order, this Court

  22    cited a number of cases from other jurisdictions that held that

  23    open and obvious signs of possession, such as the ones I just

  24    cited to, would be sufficient to give a reasonable third party

  25    inquiry notice.



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   1                Now, the only case that I could really locate from

   2    D.C. that was very on point on this topic was the Clay

   3    Properties case, which was cited in our brief.             That case held

   4    that under D.C. Law, a reasonable third party had inquiry

   5    notice where, and this is a quote, "such possession is

   6    sufficiently distinct and unequivocal so as to put the

   7    purchaser on his guard."        Unfortunately, there aren't any other

   8    D.C. cases that tell us what sufficiently distinct and

   9    unequivocal means.      And so we're just sort of left with that

  10    hanging chad, so to speak.        And we do believe that Max Salas's

  11    open and notorious possession of this property was distinct and

  12    it was unequivocal.       And we think the Court could find, just

  13    based on the undisputed facts, that any reasonable third party

  14    would have been on inquiry notice of his ownership based on his

  15    possession.

  16                However, we don't think the Court even needs to get

  17    to that because there's a much more obvious marker that would

  18    have put any reasonable third party purchaser on inquiry

  19    notice.    That is, just one week prior to the filing of this

  20    bankruptcy, the plaintiffs themselves reported a judgment lien

  21    against this property.       We attached a copy of the filed lien to

  22    our brief, and we even attached a full title search showing

  23    that any title insurance company would have picked up on this

  24    lien in their search.

  25                On Page 12 of our first brief, filed back a month or



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    1   so ago, we quote case law that establishes what inquiry notice

    2   means.    But basically it means anything that a purchaser of any

    3   reasonable prudence would have to inquire further about.                 And

    4   on Pages 13 and 14 of that first brief, we cite to a number of

    5   D.C. cases that flesh that out a bit.            But perhaps the most

    6   notable was the Webster v. Hope case, again cited in our brief,

    7   where the D.C. District Court found that a recorded divorce

    8   judgment would have put any reasonable purchaser on notice to

    9   inquire further, and that had they inquired further into the

   10   divorce, they would have discovered a marital dissolution

   11   agreement that addressed the property.            But in that case, in

   12   the Webster case, the court barred a trustee from pursuing a

   13   544 action as a result of a recorded judgment that would have

   14   put any reasonable party on inquiry notice to further inquire

   15   on, the balance of that judgment.

   16                THE COURT:     How does that -- I have to ask how that

   17   helps you, since the judgment itself, even though it wasn't

   18   final, that's another question.           But since the judgment itself

   19   says Max is the manager and Len is the owner.

   20                MR. YOUNG:     Well, Your Honor, I think the question is

   21   would it have -- the issue is would it have raised questions?

   22   h That's what inquiry notice means.            Would it have raised

   23   questions?     Would it have caused a reasonable purchaser to hit

   24   pause?    And that's why I think it matters for this case, is it

   25   would have caused further inquiry, and further inquiry would



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    1   have shown that, you know, there was a dispute about who the

    2   owner was that kept -- that was ongoing.             And so that's why I

    3   think it's relevant.        Again, you know, this is -- there are two

    4   ways that we get the inquiry notice, and you put them together,

    5   and they're certainly problematic when you have one person

    6   exercising all the control, living in it, paying the rent,

    7   paying the taxes.       And then there is this judgment lien that

    8   evidences that there's a dispute over this exact issue.                 It

    9   would have given inquiry notice.           And certainly any reasonable

   10   party who was purchasing a million dollar-plus property or

   11   making a loan on a million dollar-plus property would have done

   12   a title search.       And then the title search would have uncovered

   13   that the judgment was against Max Salas and Len Salas.                And

   14   then the question is, what would the purchaser have done next?

   15   And out of necessity, they would have had to have picked up the

   16   phone if for no other reason than to get a payoff, which would

   17   have greatly exceeded the property.            And that step, having to

   18   pick up the phone, talk to counsel about the details of the

   19   lien, find out if there was a dispute about who the owner was.

   20   That's the very definition of inquiry notice.

   21                So as of the petition date, any reasonable party

   22   would have been on inquiry notice of Max Salas's ownership of

   23   the property, both because of his open and obvious possession

   24   of the property and because of the filed judgment lien that

   25   appeared in the chain of title, and courts have universally



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    1   held that inquiry notice defeats a trustee's 544 claims.                 And

    2   so it must be here, too.         And therefore all the 544 causes of

    3   actions must fail because any reasonable party would have been

    4   on inquiry notice to inquire further about the relationship of

    5   Max Salas to this property.

    6                THE COURT:     Even though the judgment wasn't final?

    7                MR. YOUNG:     Yes, Your Honor.      Because it's not a

    8   matter of sort of whether it had been determined, it's a matter

    9   of would it have caused a party to further inquire.                And

   10   certainly the fact that that was a disputed issue would have

   11   caused any reasonable party to hit pause and further inquire.

   12   And that's sort of the definition of inquiry notice.                It's not

   13   that you have to run down the absolute answer or the final

   14   answer.     It's would it have caused a party to inquire further

   15   about another party's ownership interest?             And certainly his

   16   possession would have done that, and the fact that there's this

   17   recorded judgment lien, both of those things -- and when you

   18   put them in conjunction with one another, it absolutely would

   19   have caused any reasonable party to have inquired further about

   20   the status of this property.

   21                THE COURT:     Why don't I need expert opinion from

   22   either a title searcher, maybe some trustees, or Mr. Juganda

   23   himself?

   24                MR. YOUNG:     Well, Your Honor, I mean, certainly

   25   that's within the Court's discretion.            And you know, there's a



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    1   question about whether, you know, I had a question even as we

    2   were working on this, whether the Court would want testimony on

    3   just how open and obvious the possession was.              And I'm not

    4   going to dispute if the Court says that's what I think I need.

    5   I'm not going to dispute that, Your Honor.             Just respectfully.

    6   That that could be how the Court comes down.              What I would say

    7   is, I think the fact that you have a recorded lien, and the

    8   fact that there are undisputed facts that show that Max Salas

    9   was the only person exercising authority and control over this

   10   property is enough for the Court to grant summary judgment.

   11   That's my opinion.       Those two facts combined, because there is

   12   no dispute that -- you know, whether Len Salas lived in the

   13   property.     There is no dispute about whether Len Salas ever

   14   made a tax payment or whether he ever made a mortgage payment,

   15   or whether he was the one signing leases, or whether he was the

   16   one collecting rent personally.           That -- those issues aren't in

   17   dispute.     All those are undisputed facts that establish that

   18   Max Salas was the only person exercising authority and dominion

   19   over this property, and the only person that was in possession

   20   of this property.

   21                So I think you don't need expert opinion on any of

   22   that, Your Honor, because that -- those are undisputed.                 As far

   23   as the recorded lien, I mean the Judge -- the Court could take

   24   judicial notice of that.         It's a file-marked lien.        And so that

   25   just is what it is.        Now, if the Court has questions about, you



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    1   know, wants expert opinion about what would that have caused a

    2   party to do, I'll defer to the Court on that.              I think the

    3   fact, again, it's a pretty low bar.            Inquiry notice is a pretty

    4   low bar.     It's what would cause a party to inquire further.

    5   And I think certainly a file-marked lien -- and in fact, we

    6   cite some cases that say file-marked judgment lien should cause

    7   a party to inquire further as a matter of law.

    8                And so I don't think -- and I've given a lot of

    9   thought to this.       I don't think we need further expert opinion

   10   or further testimony, but I will acknowledge that it is a

   11   fairly close call, and I -- you know, just being frank with the

   12   Court.    And if the Court says, no, I think I need that, I would

   13   not dispute that conclusion.          But I think that when you combine

   14   these facts, when you combine the possession, and you combine

   15   the fact that there was a file-marked lien, and then you look

   16   at the case law that deals with judgment liens and the impact

   17   of judgment liens.       I think that's enough for this Court to

   18   grant summary judgment today on the 544 issue.

   19                THE COURT:     All right. Mr. McNutt?

   20                MR. MCNUTT:     Yes.    Thank you, Your Honor.        I didn't

   21   hear Mr. Young talk about the McKinley case or all of the cases

   22   that are cited by McKinley, including a case out of the Supreme

   23   Court of Tennessee.        The Strong -- I think I've got that right

   24   -- the Strong case?        Yeah, this is a case out of Supreme Court

   25   of Tennessee.      I'm not saying that D.C. law controls here, and



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    1   that's the McKinley case, that we cited in our brief.                And the

    2   McKinley case says quite clearly that while possession can put

    3   a party on inquiry notice where the possession is the vendor or

    4   the seller of the property who has created and filed a deed to

    5   another party and remains in possession of the property that is

    6   not inconsistent with the record title because he is the one

    7   who has actually caused the deed to be filed.              It is his

    8   voluntary act.      And that's publication to the world that he has

    9   conveyed the property to another person.             And the McKinley case

   10   and the Tennessee case, which I cited, Strong v. Efficiency

   11   Apartment Corp. --

   12                THE COURT:     I can't hear you when you move away from

   13   the mic.

   14                MR. MCNUTT:     I'm sorry, Your Honor.        I apologize.

   15   The Strong case is a Tennessee case.            And the Strong case

   16   cites, let me see, cites a case called Curry v. Williams.                 And

   17   it says specifically an exception is recognized to the general

   18   rule that the possession of land is notice of the possessor's

   19   title or claim of title where a vendor remains for a time in

   20   possession after giving a few simple deed with full covenants

   21   which he permits to be duly recorded.            There are a number of

   22   cases that follow that decision.           But the main case we've cited

   23   is the McKinley case, which is -- I'm sorry -- which is a

   24   District of Columbia case.         That case makes it very clear that

   25   once you see that the person in possession has deeded the



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    1   property to a third party, that is all the inquiry that is

    2   necessary.

    3                And that makes perfect sense because if you have --

    4   the sense of the McKinley case and all these other cases is

    5   that the objective here is not to overcome what the seller did,

    6   it's to protect other parties.          The seller has voluntarily

    7   deeded the property.        So if the seller is now trying to claim

    8   that that deed is no longer in effect, that's basically the

    9   seller's problem.       The courts are not here to basically correct

   10   a problem caused by the seller.           That's what the McKinley case

   11   says, and I can cite that provision to you.              Sorry, I moved

   12   away again.      Sorry, Your Honor.       I can cite that provision to

   13   you.    In the McKinley case, I believe this is quoted in our

   14   brief, but --

   15                THE COURT:     I think it is.

   16                MR. MCNUTT:     -- it says, "another reason for this

   17   exception to the rule is the equitable maxim that, where one of

   18   two innocent persons must suffer by the acts of a third, he who

   19   has enabled such third person to occasion of the loss must

   20   sustain it."      And that is also cited, that same rule provision

   21   is cited in the Curry case, which is, again, cited by the -- I

   22   forgot the name, by the case in Tennessee, the Supreme Court

   23   case in Tennessee, the Strong v. Efficiency Apartment Corp.

   24   case.

   25                Now, Your Honor, Mr. Young told the Court that Mr.



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    1   Salas's possession was open and notorious.             I agree with half

    2   of that.     It was clearly notorious, but it wasn't very open.

    3   Let's examine this.        Mr. Young said that Mr. Salas paid the

    4   mortgage.     No, he didn't.      He didn't pay the mortgage.         His own

    5   affidavit says that --

    6                THE COURT:     He paid some of the mortgage.          He paid

    7   some of the mortgage.        He didn't -- Len didn't --

    8                MR. MCNUTT:     Not according to his affidavit.

    9                THE COURT:     Len didn't pay any.       He paid a few

   10   payments.

   11                MR. MCNUTT:     No, he didn't, Your Honor.         CLR Trust

   12   did.    That's -- I'm looking at his affidavit, but maybe I

   13   misstated it.      Let me make sure.       Let me make sure I got this

   14   right.    This is Max Salas's affidavit, which is Docket Entry

   15   75-2.    It was filed by Mr. Salas -- Mr. Max Salas, as part of

   16   his objection to the -- let me make sure I got that right.                   As

   17   part of his objection to the original motion for summary

   18   judgment filed by the plaintiffs.           And I'm reading from Page 3,

   19   starting with Paragraph 19 of Mr. Salas's affidavit.                Let's

   20   see.    "I rented out rooms in the property through an entity

   21   known as the CLR Trust."         And if you recall, Your Honor, the

   22   leases that were provided by the defendant in the D.C.

   23   bankruptcy case and our Exhibit A to the supplemental

   24   memorandum are all in the name of the CLR Trust, with Mr. Salas

   25   signing as trustee.        Not as owner, as trustee.        Trustee of CLR



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    1   or the CLR Trust.       "I rented out rooms in the property through

    2   an entity known as the CLR Trust," Paragraph 19.               Paragraph 20,

    3   "Len Salas had no involvement with the CLR Trust."               Well, we

    4   know that's wrong because both Max -- I'm sorry.               Len stated

    5   categorically that he knew the trust to be a trust created by

    6   his father for the benefit of Len and his two brothers, and CLR

    7   stands for Chase, Len, and Ron, who are the three sons of Max

    8   and the debtor and his two brothers.            "I dealt with tenants,

    9   signed leases, and accepted rent payments on behalf of CLR

   10   Trust.    I deposited all rent checks into an account in the name

   11   of the CLR Trust for which I was a signatory."              Okay.    So to

   12   make clear, he stops there and doesn't say what he did with the

   13   money, but he does say, "I deposited all rent checks into an

   14   account in the name of CLR Trust for which I was signatory."

   15                Now there is -- we also filed as part of the

   16   supplemental memorandum -- I think it is, let me make sure of

   17   that.    Yeah, Exhibit B, I think it is, which is Docket Entry

   18   92-2.    This is an attachment exhibit to the supplemental

   19   memorandum.      Oh, I'm sorry, that's the wrong exhibit.            Let me

   20   see where I have this.        I will -- I apologize, Your Honor.

   21   With the Court's indulgence, let me see if I can find this

   22   document.

   23                THE COURT:     All right.     Who were the rent checks

   24   payable to?

   25                MR. MCNUTT:     According to Max Salas they were paid to



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    1   the CLR Trust.      There's been no document that has been provided

    2   to the plaintiffs on either the superior court case, the D.C.

    3   Bankruptcy Court or this case that indicates that indicates

    4   that any party other than CLR Trust received rent payments.

    5   And as I said before, Your Honor, there is a CLR Trust bank

    6   account that goes back prior to 2017.            There is -- oh, here it

    7   is.    The document I'm looking for, Your Honor, is Paragraph --

    8   sorry.    Is attached to the plaintiff's response to the

    9   defendant's objection to the plaintiff's motion for summary

   10   judgment.

   11                THE COURT:     Okay.

   12                MR. MCNUTT:     And it's in -- it's a document provided

   13   in discovery by Mr. Max Salas to Mr. Young, and it represents

   14   to be the 2015 tax return of Mr. Salas.             It is filed as

   15   document as Docket Number 76-1, and it's the 2015 tax return to

   16   Mr. Salas, and it does not indicate any rental income to him.

   17   You recall, Your Honor, that 2015 was the year in which the

   18   fire occurred, and the -- Nina Brekelmans and Michael

   19   McLoughlin were both tenants at the property in 2015 and signed

   20   leases and paid rents.        Nina -- we have a copy of a portion of

   21   Nina Brekelmans's lease, I believe the whole thing, which

   22   indicates that her lease was with CLR Trust.

   23                THE COURT:     Okay.

   24                MR. MCNUTT:     And again, no rental payments were made

   25   to Mr. Max Salas in 2015.         Now, after the fire, obviously there



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    1   was no rental income, but the fire was in June.               So from

    2   January to June -- Sorry, Your Honor.

    3                THE COURT:     Okay.

    4                MR. MCNUTT:     Should I continue?       I'm sorry, Your

    5   Honor, should I continue?         Oh, sorry.

    6                THE COURT:     Anything further, Mr. Young?

    7                MR. YOUNG:     Nothing from me, Your Honor.

    8                THE COURT:     All right.     All right.     I'm going to take

    9   this all under advisement, and after the hearing, hopefully we

   10   can get to some resolution.          I'm kind of thinking that at

   11   minimum, we're going to need to have a hearing on the 544

   12   issues in terms of proof, but that's as far as I'm going to go

   13   right now.     That's what I'm thinking.

   14                MR. MCNUTT:     (Indiscernible).

   15                THE COURT:     Now, await my -- my opinion, but it's

   16   time for us to get this show on the road, as I say, one way or

   17   the other.

   18                MR. YOUNG:     Thank you, Your Honor.

   19                THE COURT:     All right.

   20                MR. MCNUTT:     Thank you, Your Honor.        Take your time.

   21                THE COURT:     All right.     We'll be adjourned.       If

   22   anybody wants to file anything in the next week, I think I've

   23   got enough.      But if anybody wants to file anything else, do so

   24   within five days.       All right.

   25                MR. MCNUTT:     Thank you, Your Honor.



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    1                THE CLERK:     All rise.

    2                THE COURT:     We'll be adjourned.

    3          (Proceedings concluded at 11:39 a.m.)

    4                                     * * * * *

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   14                           C E R T I F I C A T I O N

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   16                I, Alicia Jarrett, court-approved transcriber, hereby

   17   certify that the foregoing is a correct transcript from the

   18   official electronic sound recording of the proceedings in the

   19   above-entitled matter.

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   23   ____________________________

   24   ALICIA JARRETT, AAERT NO. 428              DATE: November 7, 2023

   25   ACCESS TRANSCRIPTS, LLC



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                           UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF TENNESSEE (NASHVILLE)

                                      .
        IN RE:                        .          Case No. 18-02662
                                      .          Chapter 7
        LEN SALAS,                    .
                                      .
                       Debtor.        .
                                      .
        . . . . . . . . . . . . . . . .
        NICOLAAS BREKELMANS, et al.,  .          Adv. No. 20-90027
                                      .
                         Plaintiffs,  .
                                      .
        v.                            .
                                      .          701 Broadway
        MAX SALAS,                    .          Nashville, TN 37203
                                      .
                         Defendants.  .          Tuesday, August 15, 2023
        . . . . . . . . . . . . . . . .          9:13 a.m.

            TRANSCRIPT OF PLAINTIFFS' MOTION TO ALTER OR AMEND [104]
                     BEFORE THE HONORABLE MARIAN F. HARRISON
                       UNITED STATES BANKRUPTCY COURT JUDGE

        APPEARANCES:
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    1          (Proceedings commence at 9:13 a.m.)

    2                THE CLERK:     All rise.     The United States Bankruptcy

    3   Court for the Middle District of Tennessee is now in session.

    4   The Honorable Marian F. Harrison presiding.

    5                THE COURT:     Good morning, folks.

    6                MR. MCNUTT:     Good morning, Your Honor.

    7                THE COURT:     One second.     I want to get situated here.

    8                THE CLERK:     Sure.

    9                THE COURT:     All right.     Mr. McNutt?

   10                MR. MCNUTT:     Thank you, Your Honor.        First of all, I

   11   apologize for the technical foul up.            I was actually at the

   12   court site but some reason I didn't hit the right button to

   13   join in to the hearing, and so I apologize for that.

   14                THE COURT:     No problem.

   15                MR. MCNUTT:     Your Honor, this is, obviously, a motion

   16   to reconsider which is, you know, a delicate motion to present

   17   to a judge who clearly is attempting to do the right thing and

   18   I think you understand that I'm not -- certainly not quarreling

   19   with the Court's abilities or the consciousness or anything

   20   like that, but I do want to say that I think based on Your

   21   Honor's decision that there are issues that were raised and are

   22   not disputed.

   23                And there is case law that -- there's controlling

   24   case law that with respect to the two issues decided by

   25   Your Honor, we, respectfully, assert should have required a


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    1   judgment in favor of the plaintiffs.

    2                THE COURT:     Let me make one statement and maybe I

    3   wasn't clear, but in Footnote 8 of our opinion we didn't grant

    4   summary judgment in the plaintiff's claim of actual fraud

    5   pursuant to 548(a)(1)(A).         So just so there's no confusion, we

    6   didn't grant summary judgment as to actual fraud.

    7                MR. MCNUTT:     Okay.    I think I understand, Your Honor.

    8   And I'm glad you made that point because that did confuse me a

    9   little bit, but, respectfully, Your Honor, I still don't think

   10   that changes the gravamen of the motion that we filed.

   11                THE COURT:     I understand.

   12                MR. MCNUTT:     As Your Honor knows, motions to

   13   reconsider are very strictly limited.            And I understand that in

   14   our motion we cited several cases in the Sixth Circuit, but all

   15   of which -- I believe all of which were District Court cases.

   16   I'm not sure why they were limited to District Court cases, but

   17   they're consistent so I think they're controlling.

   18                And, essentially, the argument we're making,

   19   Your Honor, is that with respect to the two main points in Your

   20   Honor's memorandum that in effect did not decide the motions in

   21   our favor that under the controlling law we believe there was

   22   sufficient evidence and material facts not in dispute that were

   23   asserted in our motion documents and our briefing.               And those

   24   factors and law we believe under the -- under rulings of the

   25   Sixth Circuit are controlling to the point where if there were


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    1   -- the phrasing of the cases is properly considered, and I'm

    2   not suggesting that Your Honor improperly considered them, I

    3   just am asserting that I don't believe they were given the

    4   consideration that they should have been in light of the

    5   factual background and the procedural background of this case.

    6   And, Your Honor, it starts with this -- as Your Honor knows,

    7   obviously, the circumstances of this adversary proceeding arose

    8   when the trustee attempted to sell the estate's interest and

    9   that the trustees avoiding any recovery claims to the

   10   defendant, Mr. Salas.

   11                Now, the actual party asserted was Mr. Ron Salas, the

   12   defendant's son, but in all proceedings Mr. Ron Salas was

   13   represented by Mr. Young, who, also, obviously, represented the

   14   defendant, Max Salas.        And with respect to the actual auction

   15   that occurred, it was Max Salas who was clearly in charge of

   16   the bidding and telling his son, or at least consulting with

   17   his son as to what the bid could be.            And that's necessarily

   18   been my -- in my declaration which was attached to our motion

   19   to alter or to mend --

   20                THE COURT:     Amend.

   21                MR. MCNUTT:     -- or amend.      That auction, again, was

   22   not the result of any request by the plaintiffs; it was by the

   23   request of the defendant or the defendant's son representing

   24   the defendant, and the Court allowed the sale to go forward.

   25   And, also, Your Honor ordered the procedures by which the


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    1   estate's asset was to be sold.          The result was that my clients,

    2   the plaintiffs, paid $150,000 towards the estate's -- toward

    3   the rights of the estate to pursue Mr. Max Salas under the

    4   theories that are set forth in the complaint; the trustee's

    5   avoiding powers, and the fraudulent advance actions that are

    6   available under both bankruptcy and state law.

    7                Your Honor -- in Your Honor's ruling, Your Honor

    8   relied substantially on the decision of Judge Teel in the

    9   United States Bankruptcy Court for the District of Columbia

   10   which was a ruling on -- not on any avoiding powers or on

   11   fraudulent advance, but was based upon a determination of

   12   whether or not under D.C. law, Mr. Max Salas had a sufficient

   13   interest in the property that he could claim an exemption.                  And

   14   as Your Honor probably knows that's important in the District

   15   of Columbia if he has a homestead exemption to a residence in

   16   which the debtor is presently residing at the time of the

   17   bankruptcy case is unlimited.          Therefore, if the debtor

   18   obtained his exemption, then he had an unlimited exemption and

   19   the property remains outside the reach of creditors at least as

   20   to -- as far as the estate of Max Salas is concerned.                What

   21   Judge Teel did not determine is in the effect of his ruling

   22   that Max Salas had an interest in the property on the trustee's

   23   avoiding powers or, although not specifically mentioned,

   24   clearly he did not say anything, state anything in his opinion

   25   nor could he, I don't believe, Your Honor, regarding the


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    1   trustee's -- this trustee's ability to recover the property on

    2   the basis of a fraudulent conveyance.

    3                And the reason I think -- there's an important

    4   distinction here, Your Honor, and the distinction is that with

    5   respect to the debtor's residence in the Max Salas case that

    6   was determined without reference to when the transfer occurred.

    7   And you'll recall that in our papers, Your Honor, we cited

    8   several statements made by Judge Teel both in the context of

    9   the contested matter related to the debtor's exemption and the

   10   actual evidentiary hearing where Judge Teel commented -- in his

   11   actual decision, rather, where Judge Teel commented that this

   12   all might be upended by the actions of the trustee in the

   13   Tennessee case which was also pending at the time that's this

   14   case where Ron Salas was the debtor.

   15                And, most importantly, there's the date -- the

   16   effective date that the transferred occurred.              And there's no

   17   dispute that for purposes of Section 548 -- I always get these

   18   mixed up, but I think it's 548, the (indiscernible) statute,

   19   that for those purposes the transfer, even though it was

   20   alleged to have occurred in 2010, for purposes of a fraudulent

   21   conveyance was not perfected, and, therefore, was not in effect

   22   until the day before the bankruptcy proceeding.

   23                So while that didn't change necessarily the ability

   24   of the debtor in that case, Max Salas, to claim the homestead

   25   exemption, it did certainly open up his claim -- or open up his


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    1   interest to a claim of a fraudulent conveyance since there was

    2   no perfection of a transfer until the eve of the bankruptcy

    3   case.

    4                Now, Mr. Young has argued previously that the

    5   effective date of the transfer was as early as 2010, but there

    6   is no factual support or case law support for that.                The

    7   statute in D.C. and the statute -- and the federal statute both

    8   make it very clear that the effective date for purposes of

    9   determining whether a transfer took place is the date of the

   10   transfer was perfected or if not perfected, then the day

   11   immediately prior to the bankruptcy case so that was April 17,

   12   2018.    And we contend, Your Honor, that that is an important

   13   distinction that the counters which Your Honor has suggested is

   14   the effect -- not suggested, sorry -- has determined is the

   15   effect of Judge Teel's decision.

   16                We also believe, Your Honor, that there are several

   17   other important facts that should have been considered and we

   18   don't believe, based on Your Honor's memorandum opinion, that

   19   they were considered or at least, on the face of it, it doesn't

   20   appear that they were reconsidered.            I've already stated that

   21   --

   22                THE COURT:     I'm sorry.     Go ahead.     Go ahead.

   23                MR. MCNUTT:     I'm sorry.

   24                THE COURT:     Go ahead.     Go ahead.

   25                MR. MCNUTT:     I'm sorry, Your Honor.        First, Your


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    1   Honor, and this relates to the decision to Your Honor's ruling

    2   that distinguishes the Kind Inc. -- Kind Operations Inc.

    3   (indiscernible) case.        That's the case out of Western District

    4   of Pennsylvania in which the court determined that a creditor

    5   that had previously lost in a state court proceeding could

    6   pursue the same claim as a representative of the bankruptcy

    7   estate after having been assigned a purchase -- I think it was

    8   purchased, actually, or assigned the claim from the trustee in

    9   bankruptcy.

   10                And since I'm on that point, I will say, Your Honor,

   11   that one the concerns that I think the parties have with

   12   respect to the import of your decision is that it's hard to

   13   determine where to draw the line.           Your Honor was impressed, if

   14   that's the right word, with the fact that my clients

   15   represented, substantially, all of the unsecured claims in this

   16   estate and that's accurate.          My client's claims are over $15

   17   million in total, but they represent not one creditor but two

   18   creditors, Your Honor, and there's no -- and each of those

   19   creditors represent less than 50 percent of the unsecured

   20   claims in this case.

   21                THE COURT:     Well, but -- go ahead.        Go ahead.

   22                MR. MCNUTT:     Secondly, Your Honor, they are not the

   23   only claims in this estate.          As I read the trustee's final

   24   report, there were actually 12 claimants that received payments

   25   of this estate including six administrative claims.                The


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    1   Internal Revenue Service, all seven of which now were paid in

    2   full.    So as a result of the payments of my clients into the

    3   estate, the estate gained $150,000 fair consideration because

    4   it was a bid -- fair consideration to the trustee's funds in a

    5   circumstance where my clients did not even present the purchase

    6   to the trustee, it was this defendant who did it.               We didn't

    7   ask for the trustee to assign the claims to us.               My clients did

    8   not ask for that.       It was asked by Mr. Salas or by his son,

    9   Ron, who is an attorney in Colorado, as Your Honor probably

   10   knew of this, but -- and it was a court process -- I'm sorry --

   11   a sale process that Your Honor approved and ordered to go to go

   12   forward which we complied with.           So we are the bona fide

   13   purchasers of the trustee's on the estate's claims by virtue of

   14   an open auction in which the competing party was the defendant.

   15                And although Your Honor has made an important point

   16   about the size of my client's claims, keep in mind that the

   17   reason, as my declaration declares and as Mr. Young asserted in

   18   open court, the purpose of Mr. Salas buying the claims was to

   19   prevent any party from going after his assets, was to prevent

   20   my clients or any other creditor from pursuing a claim or those

   21   claims who -- the avoidance and recovery claims against

   22   Mr. Max Salas.

   23                So you have this situation where Your -- which Your

   24   Honor was concerned about in your memorandum opinion, but my

   25   clients represented substantially all of the unsecured claims


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    1   in the case and yet the Court ordered the purchase which was

    2   authored by Mr. Max Salas or on his behalf where he represented

    3   substantially all of the assets of the estate by virtue of

    4   having a property that was worth, at the time that he filed his

    5   bankruptcy, he said approximately $2.4 million with less than

    6   half that in actual mortgage claims or other claims against the

    7   property.

    8                So we have a circumstance where my clients

    9   represented substantially all of the unsecured debt where

   10   Mr. Salas represented -- Mr. Max Salas represented all of the

   11   assets of the estate, in fact, the only assets of the estate.

   12                THE COURT:     I think you just froze.        Mr. McNutt, I

   13   think you just froze.        You may want to -- if you can -- can you

   14   hear me?     No.   You may want to go back out and come back in.                I

   15   don't know what to do.

   16                Jeremy, do you have an idea here?           You should call

   17   him, I think.

   18                THE CLERK:     I think he -- looks like he's --

   19                THE COURT:     He's doing that.

   20                THE CLERK:     Yep.   I think he's reentering.

   21                THE COURT:     Sorry to call you Jeremy.         It just came

   22   out.    I was befuzzled by the freezing.

   23          (Pause)

   24                THE CLERK:     I'm concerned.      (Indiscernible).

   25                THE COURT:     Maybe you better call him.         Let's take a


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    1   break.

    2          (Recess taken at 9:34 a.m.)

    3          (Proceedings resumed at 9:35 a.m.)

    4                THE COURT:     I hope he's not still talking thinking --

    5          (Pause)

    6                MR. YOUNG:     Judge, I tried to call Mr. McNutt just

    7   now but it went straight to his voicemail.             I just left a

    8   message telling him that we're in recess waiting for him to

    9   sign back on just so that -- to make sure he knew that he got

   10   kicked off.

   11                THE COURT:     Thank you.

   12          (Pause)

   13                THE CLERK:     It looks like he's back, Your Honor.

   14                THE COURT:     We lost you, Mr. McNutt.

   15                MR. MCNUTT:     Yeah.    I think, Your Honor, the server

   16   here at the office went down because I had no phone service or

   17   anything so I apologize.         I assure you it was not -- well,

   18   maybe it was my fault but nothing I did that I know of.

   19                THE COURT:     I understand totally.        I have similar

   20   frustrations from time to time.

   21                MR. MCNUTT:     Yes.    Technology is wonderful when it

   22   works but when it doesn't it gets frustrating especially when

   23   you're not in tune.        You got to be under 40 I think to be in

   24   good shape for that.        So, in any event, should I continue, Your

   25   Honor?    I --


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    1                THE COURT:     Yes, yes.

    2                MR. MCNUTT:     -- again, I apologize.

    3                I think I've, basically, gone through the discussion

    4   regarding Judge Teel's decision.           When I was -- I was also

    5   talking about the money that went into the estate and the

    6   benefits of the estate, and, basically, the consideration that

    7   was paid for those causes of action.

    8                And the next point I wanted to make, Your Honor, is

    9   that if you recall when Your Honor ruled on Mr. Young's motion

   10   to dismiss -- or made the motions to dismiss, the final one,

   11   the Court determined, among other things, that for purposes of

   12   this complaint, the plaintiffs were standing in the shoes of

   13   the trustee.      They were not acting on their own behalf; they

   14   were acting through the trustee and for the benefit of the

   15   estate.

   16                And I had found no cases which indicate, Your Honor,

   17   that in a circumstance like this or in any other circumstance

   18   where the real party in interest is the trustee in bankruptcy

   19   or the bankruptcy estate which is -- I think it's actually the

   20   same thing -- that the status of the claims related to the

   21   plaintiffs in this case by virtue of Judge Teel's decision

   22   would be binding on the bankruptcy estate or the trustee in

   23   bankruptcy whose position is in privity only with the debtor,

   24   in certain cases -- instances, and not with any creditor.                 And

   25   we cited case law to that effect.           I don't actually have that


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    1   right in front of me but I can certainly find it as we go

    2   through this.

    3                And I believe, Your Honor, that -- I believe Your

    4   Honor has put too much emphasis on the fact that my clients

    5   have such large claims.         Would, Your Honor -- the question I

    6   raise, I guess somewhat rhetorical is, would Your Honor's

    7   decision had been the same if my clients represented -- if my

    8   clients had two claims which were $10,000?             Let's say they were

    9   $10,000 and having claims of $20,000 would have been more than

   10   40 percent of the listed unsecured claims in the case.                Or

   11   suppose their claims which totaled $100,000 that would have

   12   been substantially the bulk of the claims against the estate.

   13                The fact that my clients have substantial claims is a

   14   result of the actions of the defendant and the debtor, not

   15   anything that my clients have done.            It's not -- my clients

   16   have not manufactured these claims.            These claims resulted from

   17   a prolific debt that was caused by the negligence of the debtor

   18   and the defendant.       My clients should not be punished for that,

   19   Your Honor.      It's -- and I believe that's what your decision

   20   does.    And I believe, with all due respect, Your Honor, and I

   21   have the utmost respect for this Court, I think you understand

   22   that, always have.       The fact that my clients have large claims

   23   does not enter into whether they had the ability to assert

   24   those claims on behalf of this estate.            And even though many of

   25   the claims -- obviously, this estate have been paid by virtue


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    1   of the purchase of my clients -- by my clients over $150,000.

    2   There are claims that still remain to be paid which would be

    3   paid out of any judgment whether that results from this case.

    4                When I said before, Your Honor, and I'll make this

    5   point quickly, I believe that if this decision stands it will

    6   create precedent for the next situation down the road where a

    7   Kind-like -- a Kind Operations Inc.-like situation arises and a

    8   creditor with a substantial claim against the estate that holds

    9   the case decided in another court assumes for the benefit of

   10   the estate.      It could be claims for the benefit of all of the

   11   parties to the estate and that's exactly what you are doing.

   12                It just so happens -- and I understand, it just so

   13   happens that my clients represent the -- almost all of the

   14   claims of the estate because of the extreme -- because of the

   15   amount of the judgment that was entered in their favor.                 But

   16   the reason why the judgment was entered in that amount is

   17   because my clients or the estates of the two youngsters that

   18   were killed in that fire were only 24 years old.               So if they

   19   were 40 or 45 years old, the claims wouldn't have been and the

   20   judgment wouldn't have been nearly as high, but they were young

   21   with their whole lives ahead of them.            Unfortunately, that --

   22   their lives were snuffed out, but they had that earning power

   23   and because of that earning power, the judgment claims were

   24   substantially higher.        They were high.

   25                Your Honor, with respect to the privity issues, hold


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    1   on -- in the Sixth Circuit in the case of Sanders Confectionary

    2   Products, it states that a trustee stands in privy to the

    3   debtor and not any creditors.          Therefore, my client's claims,

    4   as asserted on behalf of the trustee in the bankruptcy estate,

    5   are in privity only with the debtor, not with any creditor.

    6   And if Your Honor needs that citation I believe I sent it

    7   before but if not, it's 973 F.2d 474, and the specific language

    8   is on Pages 480 and 481, and, as I said, that's a Sixth Circuit

    9   case of 1992.

   10                In the Kind case, the case that Your Honor did redo,

   11   it states that the capacity of the plaintiff as assignee of the

   12   trustee is different from its capacity as party to its prior

   13   state court action.        That's what the Kind case states.          That's

   14   the Western District of Pennsylvania.

   15                And Your Honor distinguished that only because my

   16   clients had such extensive claims and don't I think that's a

   17   distinguishing factor.        I don't think that's an appropriate

   18   distinguishing factor.        I understand that it's psychologically

   19   important or at least psychologically considered important, but

   20   it psychologically comes to mind, but that is not a legal basis

   21   or a factual basis to change the rules regarding privity, real

   22   party in interest, and the fact that these parties are standing

   23   in the shoes of the estate and the trustee, not in the shoes of

   24   any creditor including the plaintiffs in this case.

   25                The Kind decision that I just mentioned, Your Honor,


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    1   is consistent with the substantial body of             case law which

    2   asserts that in a derivative action like the instant case, and

    3   I'm quoting now, "the person holding the substantive right

    4   sought to be enforced and not necessarily the person who will

    5   ultimately benefit from the recovery is the real party in

    6   interest."     And that's actually from the Farrell Construction

    7   Company v. Jefferson Parish, Louisiana, Fifth Circuit case,

    8   1990, and that's cited at 896 F.2d 136, and, specifically, on

    9   Page 140.     And the quote that is a real party in interest is,

   10   "the person holding the substantive right sought to be enforced

   11   and not necessarily the person who will ultimately benefit from

   12   the recovery."

   13                That, also, Your Honor, states quite clearly that

   14   when determining the rights of the parties with respect to

   15   items like res judicata and collateral estoppel that the real

   16   party in interest is the party that the Court should focus on

   17   and that is the trustee and the trustee's claims.               The trustee

   18   was not a party to the exemption decision nor could it be, nor

   19   could it have been.        Even if the trustee chose somehow to

   20   intervene, the trustee would not intervening in the exemption

   21   decision could it have, there was no trustee appointed at the

   22   time that the exemption decision was determined.               The trustee

   23   is not appointed until months later.

   24                The next part of this, Your Honor, is the -- I want

   25   to focus on -- and I'm almost done here.             I want to focus on


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    1   the McKinley case.       That's the case that was cited in my motion

    2   papers.     It's McKinley v. Crawford, and that's a case cited at

    3   58 F.2d 528 and specifically on Page 529 and 530 is where my

    4   discussion comes from.        And this is a D.C. Court of Appeals

    5   case from 1932, and I believe the reason that it's in the

    6   federal court order is because of the jurisdiction -- federal

    7   jurisdiction over the D.C. -- over D.C. and the D.C. Courts

    8   back in 1932.      So I believe the D.C. -- the appellate

    9   decisions, even though they were not from the United State

   10   District Court or recorded in the federal court, I'm not

   11   certain, but I believe that's correct.

   12                The McKinley case wasn't cited in your memorandum

   13   opinion, Your Honor, and I've been told that it was considered,

   14   but we argue that with respect to the undisputed facts of the

   15   case that it is clear that even if everything else -- well,

   16   it's clear that in 2007 Max Salas deeded the property.                The

   17   property was deed, if you recall, from Max Salas and his wife

   18   to Max Salas, and then from Max Salas to his son, Ron Salas,

   19   and Ron Salas remained the only title owner on the property and

   20   the only owner of record without any intervening title

   21   documents asserted.

   22                So Your Honor cited the general rule in asking for

   23   the hearing in March on the motions for summary judgment.

   24   Your Honor cited the general rule that where there was -- and I

   25   think I've got it here.         The general rule is that the actual


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    1   visible and unequivocal possession of real estate inconsistent

    2   with the record title and under an apparent claim of ownership

    3   is notice to purchasers of an adverse interest in the property

    4   to be purchased.       That, as I understand it, is the basis of

    5   Your Honor's decision or at least reluctance to grant summary

    6   judgment to the plaintiffs on the issue of inquiry notice, and

    7   that is the accepted general rule.           However, Your Honor,

    8   McKinley and many other cases including the cases throughout

    9   Tennessee --

   10                THE COURT:     Wait just a second.       Wait one -- I'm

   11   sorry.

   12                MR. MCNUTT:     -- state that there is --

   13                THE COURT:     I'm on mute.     Hang on a minute.

   14                MR. MCNUTT:     -- an exception to the general rules.

   15                THE COURT:     Wait just one second.

   16                MR. MCNUTT:     I'll hang on.

   17                THE COURT:     One second.     I'm assuming you're talking

   18   about -- I didn't grant summary judgment on 544(a)(3) and

   19   544(a)(1).

   20                MR. MCNUTT:     You did not, Your Honor.         My -- and my

   21   argument was that I believe you should have granted us summary

   22   judgment, not that you granted summary judgment to the other

   23   side --

   24                THE COURT:     Okay.

   25                MR. MCNUTT:     -- but that I -- you should have granted


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    1   summary judgment to us.         I'm being very selfish here but that's

    2   what I believe.

    3                THE COURT:     All right.     You can argue what you need.

    4   It's no offense to me.

    5                MR. MCNUTT:     I appreciate it, Your Honor.

    6                Your Honor, my point of this is that Your Honor cited

    7   in your memorandum of opinion, and, hopefully, I can find it

    8   fairly quickly here.        You cited, basically, some competing

    9   undisputed facts.       And the undisputed facts that you cited that

   10   the plaintiffs asserted were that Len Salas was the named owner

   11   under titles of the property, the mortgage on the property was

   12   in Len Salas's name only, rental leases were signed by Max

   13   Salas on behalf of CLR, rather than individually, and, I might

   14   add, Your Honor, we're always in the name of trust.                Under the

   15   name of CLR there was no indication of any entity other than

   16   Mr. Max Salas acting as a trustee or a trust under the name of

   17   CLR.

   18                And two more important factors, one is that the

   19   recorded judgment showed Len Salas was held liable as the owner

   20   of the property and that Max Salas was held liable for

   21   mismanagement, not owner of the property.

   22                Those facts, Your Honor, I believe into the framework

   23   of the McKinley decision which, as I said, is not only valid

   24   law in the District of Columbia which is all that's really

   25   important, but it is a recognized law in many jurisdictions.


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    1                At the time of the Strong decision which I cited in

    2   support of McKinley there were -- let's see if I can find this

    3   here.    And that case was decided in 1929.           At the time of the

    4   Strong decision which is two years prior to McKinley, according

    5   to the Strong decision, and that's again 159 Tenn. 337, which

    6   is 1929, as I said, the Supreme Court of Tennessee, and it

    7   relies heavily on two citations.           One was a Michigan case,

    8   Bloomer v. Henderson, and that appears on Page 344 of the

    9   Strong decision.       And Curry v. Williams, which is a Tennessee

   10   case.

   11                And I'm quoting here from -- this is a quote from the

   12   Curry v. Williams case which is cited in Strong and it states:

   13   "The propriety execution delivers to another a solemn deed or a

   14   conveyance of the land itself and suffers bad seed to go upon

   15   record.     He sends to rule the world," colon, quote: "Whatever

   16   right I have or may claim to have in this land, I have conveyed

   17   to my grantee and, though I am yet in possession, it is for a

   18   temporary purpose without claim or right and merely as a tenant

   19   at sufferance to my grantee."

   20                Later, on the Strong court case, "all presumption of

   21   right or claim of right is rebutted by his own act and deed

   22   that is after the grantor."          One of the main objects of the

   23   registry law would be disputed by any other rule.               And, again,

   24   cites Curry v. Williams in support of that proposition.                 I

   25   believe that's the end of it.          There's a quote in there I


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    1   believe it's from -- it appears to be from Curry v. Williams.

    2                In the McKinley case -- well, it says there's an

    3   exception to the general rule where a vendor remains for a time

    4   in possession after given a simple deed reconveyance since he

    5   permits to be recorded.         And then the Court states, and I'm

    6   emphasizing this, Your Honor, the object of the general rule is

    7   to protect one in possession.          Remember, the general rule is if

    8   you're in an active and open possession, then that's notice to

    9   the world that you -- that you have to require further as to

   10   ownership.

   11                This exception is referenced as follows:            "The object

   12   of the general rule is to protect one in possession from acts

   13   of others who do not derive their title from him, from the

   14   grantor, not to protect the grantor against his own acts and

   15   especially against his own deed."           And that's cited at Page 530

   16   of the McKinley decision.

   17                Let me see if I have overlooked anything that I

   18   outlined.     I think that's my argument.

   19                And the point of that is, Your Honor, while I believe

   20   there are -- none of it is determined back -- this is an issue

   21   not right for summary judgment and I assert that based on the

   22   undisputed facts of the title of the property being in the name

   23   of Len Salas at the hand of Max Salas that the McKinley case

   24   controls and the McKinley case is the law in the District of

   25   Columbia, and it is, apparently, the law in many other


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    1   jurisdictions including Tennessee.

    2                Your Honor, I stated in our motion the law here with

    3   respect in motions for your consideration, and I won't go over

    4   that any more except to say that in the case of Harris v. Perry

    5   which is in the Western District of Tennessee.              It's a Lexus

    6   cite as 13 -- it's a 2016 Lexus -- U.S. District Lexus 139942,

    7   26 -- 2016 Westlaw 5396701.          Essentially, this emphasizes I

    8   think what is consistent with the law cited and in these other

    9   cases, but it says basically that relief Rule 5090, that's the

   10   federal rule that is part of Rule 9023, I think it is, the

   11   bankruptcy court rule, the relief Rule 5090 is available and

   12   appropriate in those cases in which the movant has set forth

   13   facts or law of a strongly convincing nature that show the

   14   Court's prior ruling should be reversed.

   15                Your Honor, that's my argument.          Thank you very much.

   16                THE COURT:     All right.     Just -- Mr. McNutt, just so

   17   you know it doesn't bother me that somebody asks to reconsider

   18   because I've been wrong and I may be wrong in this case, but

   19   I've been wrong before so just so you know.

   20                Mr. Young --

   21                MR. MCNUTT:     I say this by all due respect, Your

   22   Honor, nothing more.

   23                THE COURT:     I agree wholeheartedly.

   24                Mr. Young?

   25                MR. YOUNG:     Good morning, Your Honor.         Phillip Young


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    1   on behalf of the Defendant, Max Salas.            I'm going to try to be

    2   very brief.

    3                The plaintiff's motion is not really a motion to

    4   alter or amend at all.        It's, essentially, an appeal without

    5   filing a notice of appeal, but this is filed as a Rule 59

    6   motion which is disfavored and has to be considered as such.

    7   To succeed on a Rule 59 motion, a movant must show that there

    8   is one of the following:         A clear error of law, newly

    9   discovered evidence, a change in controlling law, a need

   10   prevent manifest injustice, the court clearly overlooked

   11   material facts, the court clearly overlooked controlling law.

   12   The plaintiffs have shown none of this.

   13                The courts have noticed that Rule 59 is an exacting

   14   standard and an extraordinary remedy restricted to those

   15   circumstances of which the moving party has set forth specific

   16   facts or specific law of a -- and this is the word that's used

   17   -- strongly convincing nature that indicate that the court's

   18   prior ruling should be reversed.           The plaintiffs, respectfully,

   19   have not come close to meeting this standard.              Rather they

   20   simply restated their entire argument on every single issue.

   21   This Court has already considered all of these arguments

   22   ad nauseam and reached its conclusion.

   23                If the plaintiffs disagree with this Court's

   24   conclusion, and they're certainly entitled to, they should seek

   25   permission to file an interlocutory appeal, otherwise, we need


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    1   to set this matter for trial.

    2                And, Judge, I'm going to resist the urge to restate

    3   my client's position on every single issue, but I do find it

    4   necessary to at least clarify a few things that were said this

    5   morning.

    6                I think this Court found preclusion as to a

    7   conclusion by the D.C. Court.          For a conclusion -- for a

    8   preclusion to apply, and this is an important point, it doesn't

    9   have to be the exact same party; it just has to be a party that

   10   somehow is standing in privity with the former party.                And we

   11   cited to a number of cases in our briefs, plural, where a

   12   subsequent party was precluded even though they weren't the

   13   same party.      We understand that it's not the exact same party.

   14   I represent trustees all the time.           I understand the difference

   15   between a trustee and a creditor.           But there are lots of cases

   16   that say if the former party appropriately represented the same

   17   interest as the current party then preclusion applies.                That's

   18   definitely the case here.

   19                As the courts -- as Mr. McNutt has talked about this

   20   morning, the dollar amount is one indicia of that.               They

   21   represent -- I don't remember the number, 98 percent, 99

   22   percent of the client pool.          They had the exact same interest

   23   in this matter as they did in the prior matter.               They're even

   24   represented by the same counsel in this case and the same

   25   decision maker.       That's what makes this different than other


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                                                                                  APPX00135
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    1   cases.    It is in that degree -- that full degree of alignment

    2   means that they are in privity.

    3                And I'd be remiss if I didn't point out that

    4   Mr. McNutt said that the Court is punishing his client.                 This

    5   isn't a matter of punishment.          I think the Court understands

    6   that.    It's a matter of whether these issues have already been

    7   fully tried and decided and they have, and now maybe two times

    8   and working on three times.          They've been fully tried and

    9   decided.

   10                I said I was going to be brief.          I'm going to stop

   11   there unless the Court has other questions for me.

   12                THE COURT:     I don't.

   13                Mr. McNutt, do you want to say anything else?

   14                MR. MCNUTT:     Yeah.    I don't want to revisit

   15   everything I've said.        I'm sure Your Honor understands my

   16   position.

   17                I'm a little troubled by this assertion by Mr. Young

   18   that privity stands in the way of my clients -- of the estate's

   19   ability to -- of my clients ability to cover for the estate.

   20   My recollection is that none of the cases cited by Mr. Young

   21   involve an assertion of a trustee having privity for a creditor

   22   in a case in which the trustee was not even appointed at the

   23   time that the original case was argued -- was presented and

   24   decided.     I don't believe any of the cases were trustee cases

   25   but I could be wrong on that, but I'm sure they do not fit the


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    1   facts of this case.

    2                And I do agree with Mr. Young on one other thing that

    3   if Your Honor does not agree with us and determines not to

    4   reconsider your decision, then I think we do have -- I think

    5   it's necessary, and I hope that Your Honor agrees, I don't want

    6   to have two trials.        I don't want to be in court twice, once on

    7   the issues that Your Honor has not yet decided, and again on

    8   the issues that have been decided in this motion, so I believe

    9   that this is a matter that's right for an interlocutory appeal

   10   so that we don't have the issue of having potentially two

   11   trials in the event that we loss on the issues that are left

   12   after Your Honor's decision.          So I don't want to have to try

   13   this case twice.

   14                And almost all of the facts and all of the witnesses

   15   would be the same if Your Honor decides not to reconsider and

   16   that decision is overturned on appeal so we would literally be

   17   having two trials on the same -- on, essentially, the same

   18   issues of the same parties just very technical arguments that

   19   may be decided on appeal.

   20                THE COURT:     Just so you know, Mr. McNutt, it's not my

   21   decision whether you have an opportunity to appeal assuming

   22   what -- I do want to take a break in a minute, but I don't have

   23   a dog in that fight.        So let me take about a five-minute break.

   24                THE CLERK:     All rise.

   25          (Recess taken at 10:08 a.m.)


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    1          (Proceedings resume at 10:16 a.m.)

    2                THE CLERK:     All rise.

    3                THE COURT:     All right.     I appreciate your position,

    4   Mr. McNutt.      This is a hard case and it was a hard case from

    5   the very beginning when you were in state court, and I do have

    6   sympathy for those folks.         It's not my intention to punish

    7   anybody.     But I don't believe, based on your papers and the

    8   argument, that you met the standard under rule -- Bankruptcy

    9   Rule 9023, and Federal Rule Civil Procedure 59 for a motion to

   10   alter or amend.

   11                The arguments made here today were the same arguments

   12   made previously before we entered our lengthy opinion.                And I

   13   agree with you that leave to appeal is something you should

   14   strongly consider.       Just bear in mind that you have 14 days

   15   from the date of whatever order comes down on this denying the

   16   motion to alter or amend.

   17                I call your attention to Rule 8004 which is how you

   18   do it.    Bankruptcy Rule 8004 and Bankruptcy Rule 8005.              They're

   19   two different steps.        If you want to appeal you got to -- from

   20   an interlocutory order you got to file it in time and be

   21   accompanied by a motion for a leave to appeal prepared in

   22   accordance with that rule and the contents of the motion have

   23   to be looked at and in accordance with Rule 8004.

   24                If you want to appeal to the District Court in

   25   addition to whatever you do under 8004, you have to make an


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    1   election to have it heard by the District Court rather than our

    2   Bankruptcy Appellate Panel and that's under Rule 8005.                I don't

    3   know what you want but just be aware of Rule 8004 and 8005,

    4   and, again, 14 days to appeal from the date of the order.

    5                And I'm going to deny the motion.           I'm interested in

    6   what happens after if you do file a motion for leave to appeal

    7   either for the District Court or the Bankruptcy Appellate

    8   Panel.    And I will await a decision in that matter before we

    9   set this case for trial.

   10                Is that what you want, Mr. McNutt?

   11                MR. MCNUTT:     It is, Your Honor.       And I appreciate

   12   your patience and consideration particularly with my

   13   technological issues -- technology issue this morning.

   14                THE COURT:     No problem at all.       By the way --

   15                MR. MCNUTT:     And that --

   16                THE COURT:     -- after September the 15th or so, we're

   17   going to have to go to -- in arguments and in trials,

   18   obviously, we're going to have to go to in person, so luckily

   19   you got this under the Covid rules but we've got to change

   20   these -- the judicial conference in D.C. has said we got to go

   21   back to in person for the most part.

   22                MR. MCNUTT:     I was hoping that was a major

   23   consideration, your granting my motion today so you wouldn't

   24   have to see me anymore, but I guess -- I guess that's not going

   25   to work.


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    1                THE COURT:     You are welcomed here anytime,

    2   Mr. McNutt.

    3                Mr. Young, will you draw the order?

    4                MR. YOUNG:     Yes, Judge.     I just wanted to add just as

    5   a housekeeping matter.        If 14 days passes and no appeal is

    6   filed, I'll file a motion to set a pre-trial conference to

    7   bring that to the Court's attention, otherwise, I think we'll

    8   just wait, you know, until the conclusion of the appeal if an

    9   appeal is granted.

   10                THE COURT:     All right.     Let me -- Mr. McNutt, I just

   11   want to make sure and imprint upon your brain, Rule 8004 and

   12   Rule 8005 of the Bankruptcy Rules of Civil Procedure.

   13                All right.     We'll be adjourned.

   14                THE CLERK:     All rise.

   15                THE COURT:     Take care.

   16                MR. MCNUTT:     Thank you, Your Honor.

   17                MR. YOUNG:     Thank you, Your Honor.

   18          (Proceedings concluded at 10:20 a.m.)

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    1                           C E R T I F I C A T I O N

    2

    3                I, Alicia Jarrett, court-approved transcriber, hereby

    4   certify that the foregoing is a correct transcript from the

    5   official electronic sound recording of the proceedings in the

    6   above-entitled matter.

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   11   ALICIA JARRETT, AAERT NO. 428              DATE: November 7, 2023

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                                                                                 APPX00159
Case 3:23-cv-00987   Document 14-1   Filed 08/16/24   Page 145 of 796 PageID #: 3763
                                                                                 APPX00160
                                               In re Salas




               Id.




                                                                   Id.



                                                             Id.




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                                                                                 APPX00161
                       Id.




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                                                                                 APPX00162
          Hyundai Translead, Inc. v. Jackson Truck & Trailer Repair, Inc. (In re Trailer

 Source, Inc.),

                                                                     Canadian Pac. Forest

 Prod. Ltd. v. J.D. Irving, Ltd. (In re Gibson Group, Inc.)

        Gibson Group




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                                                                                         APPX00163
 Id.                                              Gibson Group



                                     Id.

                                                                         Id.




                                                        Trailer Source

        Gibson Group



                              In re Thomas



                                                                    Gibson Group




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                                                                                   APPX00164
Case 3:23-cv-00987   Document 14-1   Filed 08/16/24   Page 150 of 796 PageID #: 3768
                                                                                 APPX00165
                      Sovran Bank/DC Nat’l v. United States (In re Aumiller)




                                                                                Drown v.

 Wells Fargo Bank, N.A. (In re Scott)

 Craig v. Seymour (In re Crabtree)



                                        Midlantic Nat’l Bank v. Bridge (In re Bridge),




                                                                                  Rogan

 v. Bank One, N.A. (In re Cook)

                                                            Id.


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                                                                                         APPX00166
           Gregory v. Ocwen Fed. Bank (In re Biggs)




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 v. Norwest Bank Minnesota, N.A. (In re Periandri)

                        See also Anderson v. Conine (In re Robertson)




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                                                                                  APPX00167
Case 3:23-cv-00987   Document 14-1   Filed 08/16/24   Page 153 of 796 PageID #: 3771
                                                                                 APPX00168
                                                See UMB Bank, N.A. v. Sun Capital

 Partners V, LP (In re LSC Wind Down, LLC)




                                                        Tabor v. Davis (In re Davis)




               later




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                                                                                       APPX00169
                                                                 actual creditor



                                                                           McClarty

 v. Hatchett (In re Hatchett)




                            Paris v. Walker (In re Walker)




                           Clay Props., Inc. v. Wash. Post Co.



                                                        Id.



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                                                                                   APPX00170
                                                     Id.




                                                                                 Kelley

 v. Opportunity Fin., LLC (In re Petters Co., Inc.




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                                                                                      APPX00171
                                                                                      See

 Rund v. Bank of Am. Corp. (In re EPD Invest. Co., LLC)




                   but if such transfer is not so perfected before the commencement
       of the case, such transfer is made immediately before the date of the filing
       of the petition.



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                                                                                        APPX00172
                                                                           See




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                                                                                 APPX00173
                                                                        See Shapiro

 v. Art Leather, Inc. (In re Connolly N. Am., LLC)




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                                                          United States Bankruptcy Court.

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                                                                                                  APPX00175
                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

 In re:                                       :

  LEN SALAS                                   : Case No. 18-02662-MH3-7

                               Debtor         :

 NICOLAAS BREKELMANS AND                      :
 GAIL GREGORY BREKELMANS,
 CO-PERSONAL REPRESENTATIVES                  :
 OF THE ESTATE OF NINA
 BREKELMANS                                   :

 and                                          :

 MICHAEL MCLOUGHLIN AND                       :
 MARTHA JOHNSON,
 CO-PERSONAL REPRESENTATIVES                  :
 OF THE ESTATE OF MICHAEL
 PATRICK MCLOUGHLIN                           :

 In their capacity as authorized              :
 representatives of the Estate of Len Salas
                                              :
                               Plaintiffs
                                              :
          v.                                      Adversary Proceeding No. 3:20-ap-90027
                                              :
 MAX SALAS
 1610 Riggs Place, NW                         :
 Washington, DC
                                              :
                               Defendant
                                              :



       AMENDED COMPLAINT TO AVOID TRANSFERS AND RECOVER PROPERTY

          COME NOW THE Plaintiffs herein, Nicolaas Brekelmans and Gail Gregory Brekelmans,

 Co-personal Representatives Of the Estate of Nina Brekelmans (“Nina”)(“the Brekelmans




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 Estate”) and Michael Mcloughlin and Martha Johnson, Co-personal Representatives of The

 Estate of Michael Patrick Mcloughlin (“Michael”) (“the McLoughlin Estate”) (“the Brekelmans

 Estate and the Mcloughlin Estate are hereinafter collectively sometimes referred to as “the

 Estates”), suing in their derivative capacity on behalf of the Estate of Len Salas, acting by and

 through their undersigned counsel and for their Complaint against the Defendant, Max Salas,

 allege as follows:

           Jurisdiction and Venue

           1. This Court has jurisdiction under 28 U.S.C. § 1334 (b). This matter involves causes of

 action under the trustee’s avoiding powers purchased by the Plaintiffs from the Debtor’s Estate.

           2. Venue lies in this court under 28 U.S.C. §1409 (a)(c) & (d).

           3. This matter involves property of the estate and claims of creditors of the Debtor’s

 estate.

           4. This matter is a core matter involving Avoiding Powers of the trustee pursuant to 11

 U.S.C. § 544, et seq. (hereinafter, all references to the United States Bankruptcy Code, 11 U.S.C.

 §§ 101, et seq. are cited as “Code, §”). See inter alia, 28 U.S.C. §157 (b)(1) and §157(b)(2)

 (A)(F)(H) & (0).

           5. The Plaintiffs have standing to pursue the causes asserted in this Complaint as the

 authorized representatives of the bankruptcy estate of Len Salas.

           Parties

           6. The Plaintiffs are the personal representatives of the Estates of Nina Brekelmans and

 Michael Patrick McLoughlin, respectively. Nina and Michael were tragically killed in a fire at a

 residence in Washington, DC (“the Fire”) which residence was owned by the Debtor, Len Salas

 and occupied and managed by his father, the Defendant, Max Salas. The Plaintiffs herein, the



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 Estates, were the successful bidders at an auction sale of this bankruptcy estate’s interest in the

 trustee’s avoidance and recovery actions under Code, §§544, et seq. A copy of the Trustee’s

 Report of Sale of those actions is attached hereto as Exhibit A.

        7. The Defendant Max Salas, is the Debtor in Case No. 18-00260, in the United States

 Bankruptcy Court for the District of Columbia (hereinafter “Max”). Max filed a voluntary

 petition, under Chapter 11 of the Code in April, 2018.

        7. Len Salas (hereinafter “Len”), is the Debtor is Case No. 3:18-bk-02662, filed in the

 United States Bankruptcy Court for the Middle District of Tennessee (Nashville) (“Len’s

 Bankruptcy”) on or about May 2, 2018. Len’s Bankruptcy was converted from a Chapter 11 to a

 Chapter 7 bankruptcy on or about December 12, 2018.

        8. This matter involves the recovery of property located at 1610 Riggs Place, NW,

 Washington, DC (“the Property”) at which the Defendant, Max, presently resides.

 Alternatively, the Plaintiffs are seeking a fair market sale of the Property to recover its value,

 believed to be in excess of $1 Million above all prior and/or secured claims.

        9. The Plaintiffs are seeking the relief sought, and the benefit resulting from the causes

 of action asserted in this Complaint through and on behalf of, the Len Salas bankruptcy estate

 (“the Estate”).

        10. Michael Gigandet, the Court appointed Trustee of the Estate, has declined to pursue

 the causes asserted herein and has also declined to join in this action. This Complaint is brought

 as a derivative action on behalf of the Estate of Len Salas.

 Background for All Counts

        11. In April, 2018, the Plaintiffs obtained judgments against Len and Max totaling $15.2

 Million (collectively, “the Judgment”). The Judgment resulted from a fire at the Property which,



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 at the time, Max used as rental property and rented to tenants including Nina and Michael.

 Through the gross negligence of Max and his deliberate failure to make required safety

 improvements to the Property, Nina and Michael tragically lost their lives in a horrific and

 traumatic manner. Len was named a Defendant since he was, at all times, the owner of the

 Property, including at the time of the fire (June, 2015).

        12. The Estates filed separate lawsuits against Max and Len in 2015. After a lengthy

 period of discovery and pre-trial matters, the case was tried in late March, 2018 resulting in the

 Judgment. Although Max and Len both appealed the Judgment, there has been no prosecution of

 the appeal and no stay entered in the appeal. On January 28, 2019, the Bankruptcy Court for the

 District of Columbia entered an Order Confirming Max’s Third Amended Plan of

 Reorganization (“the Confirmed Plan”). Under the terms of the Confirmed Plan, entered in

 Max’s Bankruptcy on or about January 31, 2020, Max is withdrawing his appeal of the

 Judgment(s). See, Confirmed Plan, Max’s Bankruptcy (Case No. 18-00260) (D-298), p. 9, ¶3.6.

 A copy of the Confirmed Plan and Order Confirming the Third Amended Plan are attached

 collectively as Exhibit B.

        13. Shortly after the entry of the Judgment Max and Len filed separate bankruptcies,

 Max in the District of Columbia (Case No. 18-00260)(“Max’s Bankruptcy”) and Len in this

 Court (Case No. 18-02662) (“Len’s Bankruptcy”).

        14. At the time of the bankruptcy filings by Len and Max, Len was, and still is, the title

 owner of property located at 1610 Riggs Place, NW, Washington, D.C. (“the Property”). The

 Property was purchased by Len in 2007 after his father, Max, and Max’s then wife, divorced. In

 order to purchase the Property, Max deeded the Property to Len (“the 2007 Deed”). Len then

 obtained a Deed of Trust from Sun Trust Bank for $870,000 (“the Sun Trust Loan”). The



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 proceeds of the Sun Trust Loan were paid to Max’s wife as part of the divorce settlement.

        15. From 2007 through the present, Len has remained the sole owner of the Property.

 Max’s Confirmed Plan provides that the Confirmation Order constitutes “an Order conveying the

 Property to Max Salas”. See, Exhibit B, Confirmed Plan, Max’s Bankruptcy (Case No. 18-

 00260) (D-298), p. 12, ¶ 4.4.

        16. At the time of Len’s purchase of the Property in 2007, Max had tax liens and other

 obligations which made it impossible for Max to obtain a loan on the Property. In addition, Max

 had a tax evasion conviction on his record. Those and other credit and tax issues continued

 through Max’s Bankruptcy. Max has consistently attempted to hide assets from the IRS and

 other taxing authorities, including his potential interest in the Property.

        17. According to Max, he tried to refinance the Property several times after 2007, all to

 no avail. In fact, at least through 2015 every attempt to refinance the Property required the

 participation of Len as a co-signer or co-obligor.

        18. From sometime after 2007 through the date of the fire, Max rented out rooms at the

 Property. The tenants, including Nina and Michael, signed leases under the name of “the CLR

 Trust” and Max signed each lease as Trustee. According to Len, the CLR Trust, was a trust

 created by Max for the benefit of his three sons, Chase, Len and Ron.

        19. According to Max, the lease payments were put into an account in the name of the

 CLR Trust and were used to pay for the Deed of Trust obligations and other expenses associated

 with the Property.

        20. Through the date of the fire and at all times prior to the bankruptcy filings, all

 governmental notices and tax bills and notices regarding the Property were in Len’s name.

        21. Consistent with his history of attempting to dodge tax liability, Max did not want the



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 Property, or any matters related to the Property, in his name so he could avoid any taxes or

 publicly recorded or confirmed ownership interest.

         22. Similarly, Max did not want to record any income in his name from the leasing of the

 Property. As a result, he deposited all of the income from the leases into the “CLR Trust” bank

 account.

         23. According to Max and Len, in July, 2010, Max and Len traveled to Colorado in July

 2010 to visit Ron, one of Max’s sons. Ron was a recent law school graduate and admitted to

 practice law in Colorado.

         24. While in Colorado, Len and Max executed a very simple trust agreement which Ron

 stated he prepared using a Colorado form even though the alleged trust property, the Property,

 was located in D.C. Ron also prepared a form “Quitclaim Deed,” which Len also signed (“the

 Quitclaim Deed”).

         25. Max asserts that Len, who is very unsophisticated in business and legal transactions,

 deeded the Property to his father while Len remained the sole obligor on the Sun Trust Deed of

 Trust Note (“the Note”).

         26. Max and Ron clearly took advantage of Len and convinced Len to deed the Property

 to his father despite the fact that by that deed, Len would have lost all collateral for his $870,000

 loan obligation to Sun Trust.

         27. The transfer in 2010 was a violation of Len’s Deed of Trust and Note with Sun Trust

 Bank.

         28. At the time of the attempted Quitclaim Deed, in July, 2010, Len’s only significant

 asset was the Property. At all relevant times, Len worked only part time and had limited income

 and assets. At all times following the transfer in 2010, Len was insolvent. His liabilities



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 exceeded his assets and his income was insufficient to pay his obligations, including the Sun

 Trust Deed of Trust Note payments.

        29. As of the filing of Len’s bankruptcy case in 2018, Len was obligated to pay over $15

 Million in damages to the Plaintiffs as a result of their judgments. Neither Len, nor the Trustee

 filed objections to the Plaintiffs’ claims filed in Len’s bankruptcy. In addition Len was solely

 obligated on the Sun Trust Deed of Trust on the Property which, according to the Defendant’s

 bankruptcy schedules was over $1 Million in April, 2018.

        30. At no time, since 2007, including, but not limited to, the time of the Quitclaim Deed

 in July, 2010, did Max make any payments to Len and Len received no property or other value

 from Max related to the Trust or Quitclaim Deed.

        31. Max asserts that he intended to record the Quitclaim Deed in 2010 but had no money

 to pay the required recording and transfer taxes. The Quitclaim Deed has never been recorded

 and Len remains the titled owner of the Property.

        32. Neither Max nor Len are aware of the present location of the original Quitclaim Deed

 or whether it even exists. Regardless, there has been no attempt to record the Quitclaim Deed

 since 2010.

        33. Toward the end of the Superior Court litigation with the Plaintiffs, which resulted in

 the Judgment, Max concocted a scheme to attempt to keep the Property for himself in the face of

 a pending substantial judgment award to the Plaintiffs.

        34. In discussions with his newly hired bankruptcy counsel, Marc Albert (Stinson LLP

 (“Albert”), Max learned that if the Property was owned by Len, it could not be exempted in

 bankruptcy and would be subject to attachment and sale to partially satisfy the eventual

 judgments. These conversations took place in late 2017 and early 2018.



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        35. Max also learned from Albert that if Max could claim he is the actual owner of the

 Property, he could claim the Property exempt in his subsequent bankruptcy proceeding and, due

 to D.C.’s generous homestead exemption, Max could then claim the entire equity in the Property

 as exempt from execution by the Plaintiffs.

        36. Because Len was not residing in the Property he could not claim the benefit of the

 D.C. homestead exemption.

        37. In early 2018, less than a month prior to the Superior Court trial, Max and Len, for

 the first time, alleged and produced a copy of the 2010 trust (“the Trust”) and quitclaim deed

 (“the Quitclaim Deed”) and sought to exclude Len from the Superior Court litigation by asserting

 Max was the real owner of the Property. The Superior Court summarily denied Max’s attempt

 and the trial continued, resulting in the Judgment. The Judgment is now final and binding on all

 parties as a result of the pending final distribution and closing of Len’s Estate in this Court and

 the Confirmed Plan in Max’s Bankruptcy.

        38. The fire occurred in June, 2015. From that time, until February or March, 2018, no

 one resided in the Property. During that time, and continuing after Max’s Bankruptcy filing until

 November, 2019, no payments were made on the Sun Trust Deed of Trust Note (“the Sun Trust

 Note”) with the exception of one payment made by Max from the insurance proceeds he

 received as a result of the fire damage.

        39. According to the schedules filed in Max’s bankruptcy, as of the commencement of

 his bankruptcy case, the only lien creditors were (IRS secured claim - $ 6,768.66) and Sun Trust

 Mortgage ($1,030,825.86). The balance of the Sun Trust Note as of October 26, 2018 was

 $1,141,021.14. Although Max claims he was the sole party responsible for all payments on the

 Sun Trust Loan, and made all loan payments, no payments have been made since prior to 2018



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 (with the exception of one payment from insurance proceeds) and the current balance owned on

 the Property increased at the rate of at least $7800 from some time in 2017 through October,

 2019. Sun Trust sold its Note, in 2019, to U.S. Bank National Association/Select Portfolio

 Servicing, Inc. (“U.S. Bank”). Pursuant to an agreement reached with U.S. Bank in Max’s

 bankruptcy case, Max is required to make monthly payments of approximately $8,300. Upon

 information and belief, Max has been making the required payments since approximately

 November, 2019. See, Exhibit B, Confirmed Plan, p. 8, ¶ 3.3.

        40. On September 25, 2018, the Bankruptcy Court for the District of Columbia (Teel,

 J.)(“the DC Bankruptcy Court”) entered a Memorandum and Order overruling the Estates’

 Objections to the Debtor’s claim of Exemption (“the Exemption Ruling”). The Estates timely

 appealed to the United States District Court for the District of Columbia (“the District Court”).

        41. On or about January 2, 2020, the District Court issued an order remanding the appeal

 to the Bankruptcy Court “the Remand Order” for determination of issues raised by the Plaintiffs

 in a Motion seeking to add to the appellate record or, alternatively, to remand (“the District Court

 Motion”).

        42. On October 13, 2020, the DC Bankruptcy Court denied the Plaintiffs’ Motion to

 Reconsider. The Plaintiffs timely appealed and that appeal is now pending in the United States

 District Court for the District of Columbia (Civil No. 1:20-cv-3091-KBJ)

        43. In the Exemption Ruling, the D.C. Bankruptcy Court ruled that Max was the owner

 of the Property by virtue of the 2010 Quitclaim Deed. The Court also determined, however, that

 the trustee’s avoiding powers (11 U.S.C. §§ 544, et seq.) could result in the recovery of the

 Property for the benefit of the creditors of the Len’s estate and, therefore, that those avoiding

 powers could result in a recovery of the Property, or its value, for the benefit of creditors whether



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 or not Max’s exemption is upheld on appeal. The Court made no final determination of the

 effect of the trustee’s avoiding powers leaving that to the trustee of Len’s bankruptcy estate.

        44. No deed has been recorded naming Max as Trustee or owner. However, as discussed

 above, the Confirmed Plan provides that the Confirmation Order constitutes a recordable order

 conveying the Property to the defendant, Max Salas. Other than the original deed dated 2007

 and the Confirmation Order, no deeds or other documents of title have been filed or recorded

 related to the Property.

        45. Whether the Trust or Quitclaim Deed was ever in effect, or was abandoned after

 2010, all indicia of ownership of the Property were held by Len though the date of Max’s

 bankruptcy and there are no records in the D.C. Recorder of Deeds Office, or in any other public

 record, that Max is the owner of the Property.

        46. Pursuant to an Order of this Court dated June 12, 2019 (“the Tennessee Order”), the

 Trustee in Len’s Bankruptcy was authorized to sell the Estate’s interest in the Trustee’s

 avoidance and recovery rights under, inter alia, 11 U.S.C. §§ 544 through 551. A copy of the

 Tennessee Order is attached hereto as Exhibit C.

        47. On July 23, 2019 the Trustee in Len Salas’ case, pursuant to the Tennessee Order,

 held an auction sale to auction the bankruptcy estate’s interest in the available avoidance and

 recovery actions pursuant to 11 U.S.C. §§544 through 553. The Plaintiffs herein, the Estates,

 were the successful bidders. See Exhibit A, Trustee’s Report of Sale.

        48. No payments or other value were transferred from, or by, Max to Len related to the

 transfer of the Property, either in 2010, or at any other time. According to Len, he has never

 received any compensation, remuneration, property or anything else of value related to the

 Property, the Quitclaim Deed, or the Sun Trust Loan.



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        49. Max valued the Property at $2.5 Million on the Schedules filed in Max’s Bankruptcy

 in or about May, 2018. The Property was appraised in or about August, 2019, for

 approximately$2.4 Million.

        50. At the time of the transfer in 2010, the Property was worth in excess of $1.5 Million

 and the debt to Sun Trust, owed by Len was at least $800,000.

        51. According to 11 U.S.C. § 548 (d)(1) a transfer of real estate is not perfected until the

 transfer is so perfected such that a bona fide purchaser from the debtor cannot acquire an interest

 in the property superior to that of the transferee. There was no such transfer prior to the filing of

 the Max Salas bankruptcy case (April 18, 2018). Therefore, pursuant to 11 U.S.C. § 548 (d)(1)

 the transfer is deemed to have been made immediately before the date of the filing of the

 Debtor’s petition on April 18, 2020.

        52. Under the law of the District of Columbia, a transfer of real property is made when

 the transfer is “so far perfected that a [hypothetical] good-faith purchaser of the asset from the

 debtor…cannot acquire an interest in the asset that is superior to the interest of the transferee.

 D.C. Code § 28-3106.

        53. At all times from 2010 through Len’s bankruptcy filing, he was insolvent by virtue of

 the Sun Trust Deed of Trust obligation and the Estates’ judgments (as of April, 2018).

        54. The Estates filed proofs of claim in both Len’s and Max’s bankruptcy cases and no

 objections were filed to the Estates’ claims, totaling more than $15 Million, in either case.

        55. In accordance with Max’s confirmed Plan of reorganization, the Plaintiffs’ allowed

 claims exceed $15 Million.

        56. Pursuant to the confirmed Plan in Max’s case, the Estates are the owners of the

 recovery and avoidance claims set forth in this Complaint and are entitled to pursue those claims.



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         57. Pursuant to this Court’s Order of February 11, 2020, the Plaintiffs have authority to

 sue on behalf of the Debtor’s Estate.



                                              COUNT I

           (Declaratory Judgment Regarding Plaintiffs’ Bona Fide Purchaser Status)

         58. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

 but not limited to, paragraphs 1 through 57 hereof, the same as if those paragraphs were restated

 in full, hereat.

         59. Pursuant to 11 U.S.C. § 544 (a), the Plaintiffs, as purchasers of the Trustee’s

 avoidance and recovery powers have the status, as of the date of the Len Salas bankruptcy

 petition, namely, May 2, 2018, of a bona fide purchaser of real property from the debtor and a

 judicial lien holder.

         60. Under Code § 544 (a)(3) the trustee’s bona fide purchaser status gives the Plaintiffs

 priority over subsequently recorded interests in the Property.

         61. Under D.C. Code, § 42-401:

         Any deed conveying real property in the District, or interest therein, ...shall be
         held to take effect from the date of the delivery thereof, except that as to
         creditors and subsequent bona fide purchasers and mortgagees without notice
         of said deed, and others interested in said property, it shall only take effect from
         the time of its delivery to the Recorder of Deeds for record.

         62. As a result, the Plaintiffs have a superior and priority interest in the Property ahead

 of any interest acquired by Max Salas and, therefore, the Property should be turned over to the

 Plaintiffs, or sold to recover the net equity for the benefit of the unsecured creditors of Len Salas’

 bankruptcy estate.

         WHEREFORE, as to Count I, the Plaintiffs pray for a declaratory judgment in their



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 favor, declaring as follows:

         1. That the Plaintiffs are the owners of the Property located at 1610 Riggs Place, NW,

 Washington, DC;

         2.     That the Plaintiffs are entitled to immediate possession of the Property; or,

 alternatively,

         3. That the Plaintiff are entitled to sell the Property and to retain the net proceeds from

 such a sale for distribution to the creditors of the bankruptcy estate of Len Salas as directed by

 further order of this Court;

         4. That Len and Max are directed to take all actions, sign all documents and perform all

 acts necessary to transfer or sell the Property as set forth above; and

         5. For such other and further relief as may be just and proper.

                                             COUNT II

              (Declaratory Judgment Regarding Plaintiffs’ Judicial Lienholder Status)

         63. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

 but not limited to, paragraphs 1 through 62 hereof, the same as if those paragraphs were restated

 in full, hereat.

         64. As of the commencement of this case, April 18, 2018, the trustee has, without regard

 to any knowledge of the trustee or any creditor, the rights and powers of, or may avoid any

 transfer of property of the debtor or any obligation incurred by the debtor that is voidable by a

 creditor that extends credit to the debtor at the time of the commencement of the case, and that

 obtains, at such time and with respect to such credit, a judicial lien, whether or not such a

 creditor exists. Code §544 (a)(1).

         65.      The Plaintiffs are the authorized representatives for prosecution of all of the



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 Trustee’s rights and powers under Code §§ 544, et seq.

        66. A judicial lien creditor, under the laws of the District of Columbia, has a superior

 interest to the Property than that of a competing creditor or owner who has not recorded an

 interest in the Property.

        WHEREFORE, as to Count II, the Plaintiffs pray for a declaratory judgment in their

 favor, as follows:

        1. Declaring and establishing that the Plaintiffs, as the authorized representatives of the

 bankruptcy estate of Len Salas, have a judgment lien against the Property located at 1610 Riggs

 Place, NW, Washington, DC, as of April 18, 2018 in the amounts of $7.5 Million (Brekelmans)

 and $7.7 Million (McLoughlin), respectively; and

        2. Entering a judgment or order confirming the Plaintiffs’ judgment liens against the

 Property totaling $15.2 Million; and

        3. Directing, declaring and confirming that the Plaintiffs are entitled to immediately

 execute on their judgment lien against the Property; and

        4. That the Plaintiffs are entitled to sell the Property and to retain the net proceeds from

 such sale for distribution to the creditors of the bankruptcy estate of Len Salas as directed by

 further order of this Court

        5. For such other and further relief as may be just and proper.



                                           COUNT III

  Declaratory Judgment Regarding Plaintiffs’ Status as Trustee as Creditor with Unsatisfied

                                            Execution

        67. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,



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 but not limited to, paragraphs 1 through 66 hereof, the same as if those paragraphs were restated

 in full, hereat.

          68. The Plaintiffs, as purchasers of the avoidance and recovery powers of the Trustee of

 Len’s Bankruptcy, have the status, as of the commencement of Len’s Bankruptcy, by virtue of 11

 USCS § 544(a)(2), of all of the rights and powers of a creditor that had delivered a writ of

 execution against Len’s interest in the Property, which execution was returned unsatisfied.

          69. The Plaintiffs assert that the trustee’s status as a creditor under Code § 544 (a)(2)

 gives him a superior interest in the Property such that the Plaintiffs are entitled to recover the

 Property, or its equity, for the benefit of the unsecured creditors of the bankruptcy estate of Len

 Salas.

          WHEREFORE, as to Count III, the Plaintiffs pray for a declaratory judgment in their

 favor, as follows:

          1. Declaring and establishing that the Plaintiffs, as the authorized representatives of the

 bankruptcy estate of Len Salas, have a superior claim to the Defendant’s Property located at

 1610 Riggs Place, NW, Washington, DC, as of April 18, 2018 in the amounts of $7.5 Million

 (Brekelmans) and $7.7 Million (McLoughlin), respectively; and

          2. Directing, declaring and confirming that the Plaintiffs are entitled to the sale of the

 Property to satisfy the claims of all unsecured creditors of the Len Salas bankruptcy estate; and

          3. For such other and further relief as may be just and proper.

                                             COUNT IV

                             (Fraudulent Conveyance - Code § 548 (a))

          70. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

 but not limited to, paragraphs 1 through 69 hereof, the same as if those paragraphs were restated



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 in full, hereat.

         71. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

 because it was made with the actual intent to defraud creditors and potential creditors of Len

 Salas, including Sun Trust Bank, by transferring the Property to Max without permission.

         72. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

 because it was made with the actual intent to defraud creditors and potential creditors including

 all parties having claims related to the Property, including the Plaintiffs.

         73. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

 because, by transferring the only major asset of Len to his father, the transfer was likely to, and

 did, make Len insolvent and unable to pay his mortgage obligations to Sun Trust Bank.

         74. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

 because it was made with the actual intent to defraud creditors and potential creditors, including

 those having claims related to the Property, such as taxing authorities, utilities, and renters, such

 as Nina and Michael and, therefore, the Estates.

         75. The transfer was a fraudulent conveyance pursuant to Code § 548 because the

 alleged transfer was made for less than reasonably equivalent value.              Len received no

 compensation or property of value and gave up property worth in excess of $2 Million while

 remaining solely obligated on a Deed of Trust Note to Sun Trust bank that was in default at the

 time of the alleged transfer.

         76. Len was either insolvent at the time of the transfer, or the transfer made him

 insolvent since the Property was his only significant asset and he still remained liable on the Sun

 Trust Loan after the alleged transfer.

         77. The transfer of the Property in 2010 by Quitclaim Deed was made after two years



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 prior to Max’s Bankruptcy because pursuant to Code § 548 (d)(1) the transfer of real property is

 deemed perfected when the deed is recorded or, if not recorded prior to the bankruptcy filing, the

 date immediately prior to the bankruptcy filing, namely April 18, 2018.

         WHEREFORE, as to Count IV , the Plaintiffs pray for judgment as follows:

         1.   That the attempted transfer of the Property from Len to Max is a fraudulent

 conveyance under Code § 548 (a); and

         2. That the conveyance is recovered or avoided so that the Property is owned and

 controlled by the Plaintiffs, for the benefit of the unsecured creditors or the bankruptcy estate of

 Len Salas, pursuant to their purchase of the Trustee’s avoidance and recovery rights in Len’s

 Bankruptcy; and

         3. That any further transfer or disposition of the Property is enjoined; and

         4. That the Property be sold at public auction and the proceeds, after payment of closing

 costs and priority secured claims shall be paid to the Plaintiffs, for distribution to unsecured

 creditors pursuant to further order(s) of this court; and

         5. For such other and further relief as may be just and proper.

                                              COUNT V

                                  (Fraudulent Conveyance - D.C.)

         78. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

 but not limited to, paragraphs 1 through 77 hereof, the same as if those paragraphs were restated

 in full, hereat.

         79. The Plaintiffs, as the holders of the rights and claims of the Trustee, may avoid any

 transfer that is voidable under applicable law pursuant to Code § 544 (b) (1).

         80. Under the law of the District of Columbia, the transfer of the Property alleged herein,



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 is a fraudulent conveyance because the transfer was performed with fraudulent intent as to

 existing creditors, such as the IRS, other taxing authorities, Sun Trust Bank, and others,

 including the Plaintiffs and was made for less than reasonably equivalent value, all as

 specifically prohibited by D.C. Code § 28-3104, et seq.

           81. A transfer made is fraudulent as to a creditor whose claim arose before the transfer

 was made if the transfer was made to an insider for an antecedent debt, the debtor was insolvent

 at that time, and the insider had reasonable cause to believe that the debtor was insolvent. D.C.

 Code § 28-3105

           82.   A transfer made, or obligation incurred, by a debtor is fraudulent as to a creditor

 whose claim arose before the transfer was made or the obligation was incurred if the debtor made

 the transfer or incurred the obligation without receiving a reasonably equivalent value in

 exchange for the transfer or obligation and the debtor was insolvent at that time or the debtor

 became insolvent as a result of the transfer or obligation.

           83. In the District of Columbia, a transfer is made:

           (A) With respect to an asset that is real property other than a fixture, including the
           interest of a seller or purchaser under a contract for the sale of the asset, when the
           transfer is so far perfected that a good-faith purchaser of the asset from the debtor
           against whom applicable law permits the transfer to be perfected cannot acquire
           an interest in the asset that is superior to the interest of the transferee.

 D.C. Code § 28-3106

           84. In an action for relief against a transfer or obligation under D.C. law, a creditor may

 obtain:

           (1) Avoidance of the transfer or obligation to the extent necessary to satisfy the
           creditor’s claim;
           (2) An attachment or other provisional remedy against the asset transferred or
           other property of the transferee...;
           (3) Subject to applicable principles of equity and in accordance with applicable
           rules of civil procedure:

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         (A) An injunction against further disposition by the debtor or a transferee, or both,
         of the asset transferred or of other property;
         (B) Appointment of a receiver to take charge of the asset transferred or of other
         property of the transferee; or
         (C) Any other relief the circumstances may require.

 D.C. Code § 28-3107

         WHEREFORE, as to Count V, the Plaintiffs pray for an order:

         1. Avoiding the transfer or attempted transfer of the Property; and

         2. Providing for an attachment against the Property on such terms as the Court may order;

 and

         3. Enjoining any further disposition of the Property or allowing the placement of any

 other liens or encumbrances against the Property pending sale or other disposition approved by

 the Court; and

         4. Such other and further relief as may be just and proper.



                                             COUNT VI

                                      (Liability of Transferee)

          85 . The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

 but not limited to, paragraphs 1 through 84 hereof, the same as if those paragraphs were restated

 in full, hereat.

         86. The Defendant, Max Salas, is the transferee of the alleged transfer which is the

 subject of this Complaint.

         87. Under Code § 550 (a) the trustee may recover, for the benefit of the estate, the

 property transferred or, upon court order, the value of the property.

         WHEREFORE, as to Count VI, the Plaintiffs pray for an Order:



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         1. To turn over the Property; or, alternatively,

         2. To sell the property, by auction or other public sale, upon reasonable notice, and to

 turn over the net proceeds of such sale, subject to court approval of the amount of such proceeds,

 to the Plaintiffs; and

         3.   to authorize and direct the Plaintiffs to retain the property and proceeds for

 distribution to the unsecured creditors of the bankruptcy estate of Len Salas in accordance with

 further order(s) of this Court;

         3. For such other and further relief as may be just and proper.

                                                LAW OFFICE OF PHILIP J. MCNUTT, PLLC


                                                By: /s/ Philip J. McNutt
                                                Philip J. McNutt
                                                11921 Freedom Drive, Ste 584
                                                Reston, VA 20190
                                                703-904-4380
                                                202-379-9217 (fax)

                                                Pmcnutt@mcnuttlawllc.com

                                                BUTCH, PORTER & JOHNSON, PLLC

                                                By: /s/ Taylor A. Cates
                                                Taylor A. Cates
                                                130 North Court Avenue
                                                Memphis, TN 38103
                                                901-524-5165
                                                901-524-5000 (fax)
                                                Tacates@bpjlaw.com
                                                ATTORNEYS FOR THE PLAINTIFFS
                                    CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a copy of the foregoing Amended Complaint was served on
 Philip Young, Counsel for the Defendant, through the Court’s ecf noticing service, on the 16th
 day of February, 2021.


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                                               /s/ Philip J. McNutt
                                              Philip J. McNutt




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE

     IN RE:                                                 CASE NO. 18-02662-MH3-7
     LEN SALAS,                                             CHAPTER 7
                                                            JUDGE MARIAN HARRISON
            Debtor.

                                TRUSTEE’S REPORT OF SALE

            The trustee, Michael Gigandet, makes the following report of sale of the debtor’s

     potential causes of action concerning the real estate located at 1610 Riggs Place, NW,

     Washington, D.C, in the above public auction on July 23, 2019. Notice of this sale was

     provided to all creditors and parties in interest by Trustee’s Notice of Motion to Sell

     Property mailed on April 10, 2019, and a supplemental notice of auction was mailed on

     June 27, 2019. A notice of rescheduled auction was filed on July 16, 2019. By signature

     below, the trustee hereby certifies that the objections to the sale were overruled. The

     order authorizing the sale was entered on June 12, 2019.

            The property sold for $156,000.00. The bill of sale is attached.

            The debtor is not entitled to an exemption from the sale of this property.

                                    Respectfully submitted,

                                    LAW OFFICE OF MICHAEL GIGANDET
                                    /s/ Michael Gigandet
                                    __________________________
                                    Michael Gigandet, Trustee #11498
                                    208 Centre Street
                                    Pleasant View, TN 37146
                                    615-746-4949
                                    Fax: 615-746-4950
                                    michael@mgigandet.com




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                                 CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing Trustee’s Report of Sale has been
     forwarded to the U. S. Trustee, 318 Customs House, 701 Broadway, Nashville, TN
     37203, on this the 14th day of August, 2019.

                                          /s/Michael Gigandet
                                          __________________________
                                          Michael Gigandet




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                             UNITED STATES BANKRUPTCY COU RT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                         at Nashville

   In re:

    LEN SALAS                                              : Case No. 3:18-bk-02662
                                                                  Chapter 7
                          Debtor

                                  SALE OF ESTATE PROPERTY
                           FRE E AND CLEAR OF LIENS AND INTERESTS

                                                                     Notice of Sale of Property dated
            IN ACCORDANCE WITH the Trustee's Motion and
                                                           (D-179) approving bidding procedures and
    April 10, 2019, this Cour t's Order of June 12, 2019
                                                           e of Auction dated June 27, 2019 and the
   ·the Trus tee's sale, the Trus tee's Supplemental Notic
                                                            16, 2019, the Trustee having conducted a
    Trus tee's Notice of Rescheduled Auction dated July
                                                             estate, on July 23, 2019, upon notice to all
    public auction sale of certain property of the Debtor's
                                                                ted the results of the auction sale at a
    creditors and parties in interest, the Trustee having repor
                                                              y confirms the sale of property of the
    hearing held herein on July 23, 2019, the Trustee hereb
    above captioned estate, as follows:
                                                                    Salas Esta te's right, title and
            1. Property conveyed. All of the Trustee's and the Len
                                                         action to which the Trustee or this estate
    interest in and to each and every claim and recovery
                                                         through 553, as applicable, related to the
    may have, under the provisions of 11 U.S.C. §§ 544
                                                           n, DC ("the DC Property") .
    property located at 1610 Riggs Place, NW, Washingto
                                                                    all property rights and interests
            2. Purchaser. the Trustee hereby transfers and conveys
                                                            ughl in and the Estate of Nina
    conveyed hereby to the Estate of Michael Patrick Mclo
                                                             tives, for and in consideration of the
    Brekelmans, by and through their trustees and representa
                                                           owledged.
    total sum of $156,000, receipt of which is hereby ackn
                                                                      ests, claims and rights of all
            3. The Property is conveyed free and clear of all inter
    creditors and parties.

    July 31, 2019                                  For the Seller:


                                                    MIC~

                                                                 --- --- --
                                                    By :'- -~ ~-ndet
                                                            Michael Giga

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   July 31, 2019                              For the Purchaser:

                                              THE ESTATE OF MICHAEL PATRICK
                                              MCLOUGHLIN AND THE ESTATE OF NINA
                                              BREKELMANS



                                              By:   t?~9--~
                                                     Philip J. McNutt, attorney for the Estate of
                                                     Michael Patrick Mcloughlin and the Estate
                                                     of Nina Brekelmans




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The order below is hereby signed.

Signed: January 28 2020




                                                 _____________________________
                                                 S. Martin Teel, Jr.
                                                 United States Bankruptcy Judge




                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLUMBIA

      In re                                     )
                                                )
      MAX E. SALAS,                             )      Case No. 18-00260
                                                )      (Chapter 11)
                            Debtor.             )

        ORDER CONFIRMING DEBTOR’S THIRD AMENDED PLAN OF REORGANIZATION

             At the confirmation hearing of January 22, 2020, the court

      approved modifications of the then-pending proposed plan that are

      not adverse to any creditors, and the debtor later that day filed

      the Third Amended Chapter 11 Plan of Reorganization Dated January

      22, 2020 (Dkt. No. 301) incorporating those modifications.                        The

      court having determined after hearing on notice (the confirmation

      hearing of January 22, 2020) that the requirements for

      confirmation set forth in 11 U.S.C. § 1129(a) and 1129(b) have

      been satisfied with respect to the then-pending plan as thus

      modified, it is

             ORDERED that:



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         1.   Confirmation of Plan.           The Third Amended Chapter 11 Plan

  of Reorganization Dated January 22, 2020 (Dkt. No. 301) filed on

  January 22, 2020, a copy of which is attached hereto, is

  confirmed.

         2.   Plan’s Injunction.          Although the confirmed plan’s § 4.7

  (“Discharge of Debtor and Injunction”) provides for an

  injunction, that injunction is not against conduct not otherwise

  enjoined under the Bankruptcy Code and shall not be construed as

  enjoining conduct not otherwise enjoined under the Bankruptcy

  Code.

         3.   Plan’s Release of Claims.            Although the confirmed plan’s

  § 4.7 (“Discharge of Debtor and Injunction”) provides for a

  release of the debtor from all claims, that release shall not be

  construed as providing any greater release of claims than the

  release of claims arising from the debtor’s discharge and from

  the binding effect of the plan regarding the rights of creditors

  and administrative claimants.

         4.   Recordation of Order to Confirm Title Ownership in

  Property.      The debtor is hereby authorized and directed to take

  any and all actions necessary or appropriate to confirm the

  debtor’s title ownership interest in the real property located at

  1610 Riggs Place NW, Washington, DC 20009 within the land records

  of the District of Columbia, in conformance with the provisions

  of this Order and the Plan, subject to the limitations and


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  reservation of rights described therein.

                                5.                      Immediate Effectiveness of Order.                                This Order shall be

  effective immediately upon entry pursuant to Fed. R. Bankr. P.

  7062 and 9014, and no automatic stay of execution, pursuant to

  Fed. R. Civ. P. 62(a), applies with respect to this Order.

                                6.                      Transmission of Order to Creditors.                                 Within 7 days of

  entry of this order, the debtor’s counsel shall file a

  certificate of mailing a copy of this Order, with the attached

  copy of the Third Amended Chapter 11 Plan of Reorganization Dated

  January 22, 2020, to all entities required to be included on the

  list required under Fed. R. Bankr. P. 1007(a)(1) and all known

  administrative claimants in the case (except for entities

  previously sent a copy of the Third Amended Chapter 11 Plan of

  Reorganization Dated January 22, 2020 via electronic transmission

  in the court’s Case Management/Electronic Case Filing system or

  via other authorized means of service).

                                                                                                                    [Signed and dated above.]

  Copies to: All recipients of e-notification of orders.




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                       UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLUMBIA
  ____________________________________
                                       )
  In re:                               )
                                       )   Case No. 18-00260
  MAX E. SALAS,                        )   Chapter 11
                                       )
                    Debtor.            )
  ____________________________________)

                THIRD AMENDED CHAPTER 11 PLAN OF REORGANIZATION
                             DATED JANUARY 22, 2020

          Max E. Salas, (“Debtor”), an individual, as debtor and debtor-in-possession proposes this
  Plan of Reorganization Under Chapter 11 of the United States Bankruptcy Code (the “Plan”).

                                                  ARTICLE I

                                                 DEFINITIONS

         In addition to such other terms as are defined elsewhere in the Plan, the following terms
  (which appear in the Plan as capitalized terms) have the following meanings as used in the Plan.

          1.1    Administrative Claim means any Claim for an administrative expense of the
  kind described in section 503(b) of the Bankruptcy Code, including, without limitation, the
  actual and necessary costs and expenses of preserving the Estate of the Debtor incurred after the
  Petition Date, Claims for fees and expenses pursuant to Sections 330 and 331 of the Bankruptcy
  Code (covering the period through the Effective Date) fees, if any, due to the United States
  Trustee under 28 U.S.C. § 1930(a)(6), and any cure payments to holders of assumed executory
  contracts.

          1.2     Allowed Claim means a Claim (whether a Secured Claim, Administrative Claim,
  Priority Claim or Unsecured Claim) or any portion thereof (a) as to which no objection to
  allowance or request for estimation has been interposed on or before the expiration of such
  applicable period of limitation fixed by the Bankruptcy Code, the Bankruptcy Rules, this Plan or
  the Bankruptcy Court; (b) as to which any objection to its allowance has been settled, waived
  through payment or withdrawn, or has been denied pursuant to a Final Order; (c) that has been
  allowed pursuant to a Final Order; (d) as to which the liability of the Debtor and the amount
  thereof are determined by Final Order of a court of competent jurisdiction other than the
  Bankruptcy Court; (e) that is expressly allowed in the Plan or Confirmation Order; or (f) that is
  not subject to disallowance under Code section 502(d). Unless otherwise specified in the Plan or
  in the Final Order allowing such Claim, or if such Claim is over-secured under § 506(b), an
  Allowed Claim shall not include interest on the amount of such Claim maturing or accruing from
  and after the Commencement Date, or any punitive or exemplary damages, or any fine, penalty
  or forfeiture. An “Allowed Secured Claim” is an Allowed Claim that is a Secured Claim; an
  “Allowed Administrative Claim” is an Allowed Claim that is an Administrative Claim; an

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  “Allowed Priority Claim” is an Allowed Claim that is a Priority Claim; and an “Allowed
  Unsecured Claim” is an Allowed Claim that is an Unsecured Claim.

           1.3      Assets means all assets of the Debtor as of the Effective Date.

          1.4    Avoidance Actions means the claims for relief available to the Debtor or the
  Estate under sections 544-550 of the Bankruptcy Code.

         1.5    Bankruptcy Case or Case means the above-captioned case under Chapter 11 of
  the Bankruptcy Code commenced by the Debtor on the Petition Date.

          1.6     Bankruptcy Code or Code means the Bankruptcy Reform Act of 1978, as
  amended, as set forth in Title 11 of the United States Code, 11 U.S.C. §§ 101-1330, as now in
  effect or hereafter amended.

        1.7     Bankruptcy Court means the United States Bankruptcy Court for the District of
  Columbia or such other court as may have jurisdiction over the Bankruptcy Case.

         1.8      Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure
  promulgated pursuant to 28 U.S.C. § 2075, as now in effect or hereinafter amended, together
  with the local rules of the Bankruptcy Court.

         1.9    Bar Date means the date fixed as the last day for filing proofs of claim in the
  Bankruptcy Case by the Bankruptcy Court: August 31, 2018 for non-governmental claims
  (October 15, 2018 for governmental claims).

          1.10 Business Day means any day other than a Saturday, a Sunday or “legal holiday,”
  as defined in Bankruptcy Rule 9006(a).

        1.11 Cash means legal tender accepted in the United States of America for the
  payment of public and private debts, currently United States Dollars.

          1.12 Claim means a claim (as defined in section 101(5) of the Bankruptcy Code)
  against the Debtor that is either a Secured Claim, Administrative Claim, Priority Claim or
  Unsecured Claim.

          1.13 Claims Objections means the objections to claims that have been or may be filed
  against the holders (or purported holders) of Claims.

           1.14     Class means a class of Claims established pursuant to Article II of the Plan.

           1.15     Confirmation means the confirmation of the Plan pursuant to the Confirmation
  Order.

        1.16 Confirmation Date means the date on which the Bankruptcy Court enters the
  Confirmation Order on its docket.



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        1.17 Confirmation Hearing means the hearing conducted by the Court to determine
  whether to confirm the Plan.

           1.18     Confirmation Order means the order of the Bankruptcy Court confirming the
  Plan.

          1.19 Creditor means any Entity that holds on the Effective Date a Claim against the
  Debtor that arose or is deemed to have arisen before the Effective Date, including a Claim
  against the Debtor of a kind specified in sections 502(g), 502(h) or 502(i) of the Bankruptcy
  Code.

          1.20 Disclosure Statement means the Disclosure Statement for the Plan (and all
  exhibits and schedules annexed thereto or referred to therein) as approved by the Bankruptcy
  Court.

          1.21 Disputed Claim means any Claim (including, but not limited to Administrative
  and Priority Claims) not otherwise an Allowed Claim or paid pursuant to the Plan or an order of
  the Bankruptcy Court (a) which has been or hereafter is listed on the Debtor’s Schedules as
  unliquidated, contingent or disputed, and which has not been resolved by written agreement of
  the parties or a Final Order of the Bankruptcy Court; (b) proof of which was required to be Filed
  by the Plan or by order of the Bankruptcy Court but as to which a proof of claim was not timely
  or properly Filed; (c) proof of which was timely and properly Filed and which has been or
  hereafter is listed on the Schedules as unliquidated, contingent or disputed; (d) that is disputed in
  accordance with the provisions of this Plan; (e) as to which a party in interest has interposed a
  timely objection or request for estimation in accordance with the Bankruptcy Code, the
  Bankruptcy Rules and any orders of the Bankruptcy Court, or is otherwise disputed by a party in
  interest in accordance with applicable law, which objection, request for estimation or dispute has
  not been withdrawn or determined by a Final Order; or noted for an objection in the Disclosure
  Statement. Any portion of a Claim which is not disputed by a party in interest shall, for purposes
  of receiving distributions under the Plan, be deemed to be an Allowed Claim. A Claim may be a
  Disputed Claim regardless of whether such Claim is classified.

          1.22 Distribution Agent means Stinson, LLP, Debtor's counsel in this Chapter 11
  Case. Stinson, LLP, as Distribution Agent, shall be responsible for making all distributions under
  the Plan.

          1.23 Effective Date The first Business Day that is 30 days after the later of the
  Confirmation Order becoming a Final Order, or the date of delivery of $225,000 by the Debtor to
  the Plan Fund, provided that no order staying consummation of the Plan has been entered prior
  thereto and the Confirmation Order has become a Final Order. If an order staying consummation
  of the Plan has been entered, then Effective Date shall mean the earlier of the first Business Day
  following the date upon which (a) the Confirmation Order has become a Final Order or (b) any
  stay of consummation of the Plan is no longer effective, provided that such latter date is at least
  30 days after the Confirmation Date. Nothing herein shall prevent the Debtor from waiving the
  30 day delay.



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          1.24 Entity means an individual, corporation (of any type), limited liability company,
  partnership (of any type), association, joint stock company, joint venture, estate, trust,
  unincorporated organization, government or any political subdivision thereof, governmental unit,
  official or unofficial committee of creditors or equity holders or other entity.

         1.25 Estate means the estate created by the commencement of the Bankruptcy Case
  under section 541 of the Bankruptcy Code.

         1.26 Extended Tax Payments means those monthly payments to be made by the
  Debtor though the Plan for payment of tax claims (Classes 2, 4, and 5) extended through April
  2023 pursuant to 11 U.S.C. § 1129(a)(9)(C).

          1.27 File or Filed means to file or to have filed with the Clerk of the Bankruptcy Court
  in the Bankruptcy Case.

          1.28 Final Order means an order or judgment of any court, administrative agency or
  other tribunal as to which (a) the time has expired within which a proceeding for review (whether
  by way of rehearing, appeal, certiorari or otherwise, but not pursuant to Bankruptcy Code section
  1144 or Bankruptcy Rule 9024) may be commenced, without any such proceeding having been
  commenced, or (b) if such a proceeding has been timely commenced, such order or judgment has
  been affirmed by the highest tribunal in which review is sought or such proceeding for review
  was otherwise terminated without modification of such order or judgment, and the time has
  expired within which any further proceeding for review may be commenced.

         1.29 Fusion Judgment means the judgment in favor of the Debtor against Fusion
  Contracting Group LLC in the amount of $79,287.17 in damages and attorney's fees with
  postjudgment interest entered by the Bankruptcy Court on July 30, 2019 in Adversary
  proceeding No. 19-10002.

         1.30 Homestead Appeal means the appeal of the Homestead Opinion initiated by the
  Judgment Creditors and currently pending before the United States District Court for the District
  of Columbia as Case No. 1:18-cv-02318-KBJ.

         1.31 Homestead Opinion means the Memorandum Decision and Order re Homestead
  Exemption entered in the Bankruptcy Case on September 25, 2018 as ECF Dkt No. 108 and
  attached for reference as Exhibit A to the Disclosure Statement.

           1.32 Insurance Proceeds means the liability insurance proceeds available under the
  Debtor's insurance policy with Encompass Ins. Co. of America related to the Property and the
  fire that occurred there in 2015 and totaling $500,000.

          1.33 Judgment Creditors means the decedent estates of Patrick McLoughlin Nina
  Brekelmans and the holders of claims filed in the case as Proof of Claim Nos. 3-1 and 4-1 in the
  respective amounts of $7.7 Million and $7.5 million associated with Judgments rendered in D.C.
  Superior Court as Case Numbers 2015 CA 008054 B and 2015 CA 008061 B.




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          1.34 Len Salas Bankruptcy Case means the bankruptcy case of the Debtor's son, Len
  Salas, pending before the United States Bankruptcy Court for the Middle District of Tennessee
  as Case No. 3:18-bk-02662.

           1.35     Lien has the meaning given in section 101(37) of the Bankruptcy Code.

           1.36     Petition Date means April 18, 2018.

         1.37 Plan means this Plan, including the exhibits and schedules hereto, either in its
  present form or as it may be amended, supplemented or modified from time to time in
  accordance with the provisions of the Plan, the Bankruptcy Code and the Bankruptcy Rules.

          1.38 Plan Fund means the fund to be established on or before the Effective Date to
  consisting of the Debtor's non-exempt assets existing as of the Confirmation Date, and an
  additional $225,000 in cash from the Debtor secured by his exempt retirement account to be
  delivered to the Plan.

          1.39 Priority Claim means any Claim, other than an Administrative Claim, to the
  extent such Claim is entitled to priority under section 507(a) of the Bankruptcy Code.

         1.40 Property means the real property located at 1610 Riggs place, NW, Washington
  D.C. 2009 and used by the debtor as his residence.

           1.41     Scheduled means set forth on the Schedules.

        1.42 Schedules means the schedules of assets and liabilities Filed by the Debtor, as the
  same may be amended from time to time prior to the Effective Date.

          1.43 Secured Claim means any Claim of a Creditor that is secured by a Lien on
  property of the Debtor or that is subject to setoff under section 553 of the Bankruptcy Code, to
  the extent of the value of such Creditor’s interest in such property or to the extent of the amount
  subject to setoff, as applicable, as determined (or determinable) pursuant to section 506(a) of the
  Bankruptcy Code.

          1.44 Tennessee Avoidance Actions means the avoidance actions previously purchased
  by the Judgment Creditors from the Len Salas Bankruptcy Case and includes each and every
  claim and recovery action to which the Len Salas Bankrupcy Case Trustee or the Len Salas
  Bankruptcy Case estate may have under the provisions of 11 U.S.C. § § 544 through 553, as
  applicable, related to the Property, and an resultant litigation thereto.

         1.45 Unsecured Claim means a Claim other than a Secured Claim, Administrative
  Claim, or Priority Claim.

                                                  ARTICLE II

                                      CLASSIFICATION OF CLAIMS

           2.1      General.

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            The following is a designation of each Class of Claims under the Plan. A Claim is
  classified in a particular Class only to the extent that the Claim qualifies within the description of
  that Class, and is classified in another Class or Classes to the extent that any remainder of the
  Claim qualifies within the description of such other Class or Classes. Each “Class” (e.g., Class
  3A versus Class 3B) is separate and distinct from all other Classes for all purposes.

           2.2      Classification.

           Claims are classified for all purposes, including voting, confirmation and distribution
  pursuant to the Plan, as follows:


                    Class 1:          All administrative claims including for professional fees, United
                                      States Trustee Quarterly fees and administrative taxes. This class
                                      consists of fees and expenses for Stinson LLP, fees and expenses
                                      for Thompson Burton PLLC, fees and expenses for McNamee,
                                      Hosea, Jernigan, Kim, Greenan & Lynch, P.A., fees and expenses
                                      of Art Lander CPA PC, any other professional fees that may be
                                      incurred by the Debtor, and the United States Trustee’s quarterly
                                      fees. (Unimpaired).

                    Class 2:          All Priority Claims including those arising pursuant to Bankruptcy
                                      Code Section 507(a)(8). (Impaired).

                    Class 3:          U.S. Bank National Association/ Select Portfolio Servicing, Inc.
                                      Secured Claim against Property (Impaired).

                    Class 4:          Allowed Secured Claim of IRS (Impaired).

                    Class 5:          District of Columbia Transfer & Recordation Tax Claim (Claim 5)
                                      (Impaired)

                    Class 6:          Unsecured Claims of Judgment Creditors (Claim No. 3 –
                                      McLoughlin; Claim No. 4 - Brekelmans) (Impaired).

                    Class 7:          All Remaining Allowed Unsecured Non-Priority Claims.
                                      (Impaired).

                    Class 8:          Allowed Unsecured Penalty Claim of the District of Columbia
                                      (Impaired).

                    Class 9:          Paid Hyundai Lease Titling Trust Lease claim (Unimpaired)

                    Class 10:         Contribution Claim of Len Salas listed on Schedules associated
                                      with U.S. Bank/SPS Arrearages (Unimpaired)



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                                              ARTICLE III
                                         TREATMENT OF CLAIMS

           3.1      Administrative Claims.

                    3.1.1    Class 1 Administrative Claims

         The Debtor shall assume and pay to each holder of an Allowed Administrative Claim, on
  account of the Administrative Claim and in full satisfaction thereof, Cash equal to the allowed
  amount of such Administrative Claim, unless the holder agrees or shall have agreed to other less
  favorable treatment of such Claim. Debtor anticipates that some form of agreement concerning
  payment of fees will need to be reached with his legal counsel and accountants in order to
  preserve desired amounts for payment to additional creditors. Administrative Claims are
  expected to exceed $175,000, but payment of Administrative Claims from the Plan Fund shall
  not exceed and be capped at $175,000.

                    3.1.2    Statutory Fees and Continuing Duties to the Office of the United States
                             Trustee

        All fees payable pursuant to 28 U.S.C. § 1930, shall be paid by the Debtor in Cash in an
  amount equal to the amount of such Administrative Claim.

          Until such time as the case is closed, dismissed or converted, the Debtor shall continue to
  report its disbursements each calendar quarter to the U.S. Trustee and shall timely pay all fees
  due under 28 U.S.C. § 1930(a)(6).

                    3.1.3    Treatment and Payment of Administrative Claims.

          After the Effective Date, all professional or others requesting compensation or
  reimbursement of expenses pursuant to Bankruptcy Code sections 327, 328, 330, 503(b) and
  1103 for services rendered before the Effective Date shall file an application for final allowance
  of compensation and reimbursement of expenses. Applications need not be filed with respect to
  fees and expenses previously applied for by Court approved professionals (including applications
  previously approved by and/or previously paid pursuant to an order of the Court). Fees and
  expenses of professionals shall be paid in Cash in full (a) immediately before the Effective Date,
  to the extent allowed by the Court as of such date (such payments to be made by the Debtor) or
  as agreed by the Parties if a lesser amount, but not to exceed an aggregate amount of
  $175,000.00 from the Plan Fund, and (b) on or before the tenth (10th) day after entry of an order
  allowing any such fees and expenses, to the extent such fees and expenses were not allowed as of
  the Effective Date, or upon such payment schedule as agreed between the Parties.

           3.2      Classes 2 (Priority Claims):

          The only known Priority Claim consists of a certain portion of the claim filed by the
  Internal Revenue Service in the amount of $13,196.78 (Claim 2-2). Unless the applicable taxing
  agency or any other priority claim holders that may be established agree to less favorable
  treatment, each holder of an Allowed Priority Claim to the extent their claim is allowable and

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  entitled to priority under Bankruptcy Code section 507(a), shall be paid by the Debtor in regular
  monthly installment payments totaling the full amount of the claim plus interest pursuant to 11
  U.S.C. § 511 beginning on the first day of the month following the Effective Date of the Plan
  and lasting until April 1, 2023 pursuant to 11 U.S.C. § 1129(a)(9)(C). If Debtor is unable to
  generate sufficient funds from his future rental income from the Property and other monthly
  income received, Debtor will deliver payment on the Class 2 claims from funds held in his
  exempt retirement account if necessary. This class is impaired.

           3.3      Class 3: U.S. Bank National Association/ Select Portfolio Servicing, Inc. Secured
                    Claim against Property

          Class 3 consists of the secured lien currently in the name on Len Salas possessed by U.S.
  Bank National Association/ Select Portfolio Servicing, Inc. and secured by the Property (the U.S.
  Bank Claim). Based on Debtor's ownership in the Property established through the Homestead
  Opinion, the Debtor has entered into a Stipulation for Plan Treatment with U.S. Bank National
  Association/ Select Portfolio Servicing, Inc. to establish terms for Debtor's payment toward the
  US Bank Claim and address current arrearages owed. Full terms of the U.S. Bank Stipulation for
  Plan Treatment are attached as Exhibit C to the Disclosure Statement. Under the stipulation,
  beginning November 1, 2019, the Debtor is to begin making adequate protection payments on
  the U.S. Bank Claim in the amount of $8,329.19 per month until approval of the U.S. Bank
  agreement through conformation of the Plan and the Plan's Effective Date, after which time the
  Debtor shall make payments following re-amortization by U.S. Bank following Confirmation
  based on an approximate balance of $1,208,720.40 at a 5.25% fixed interest rate with payments
  calculated at a 360 month amortization schedule, with all amounts due upon the maturity date
  May 1, 2037. This class is impaired.

           3.4.     Class 4: Allowed Secured Claim of IRS..

          Class 4 consists of the Allowed Secured Claim of the IRS consisting of that $6,768.66
  portion of the claim they have filed in the Case (Claim 2-2). Unless the holder of this claim
  agrees to less favorable treatment, to the extent the claim is allowed, payment on Class 4 claims,
  is to be paid by the Debtor in regular monthly installment payments totaling the full amount of
  the claim plus interest pursuant to 11 U.S.C. § 511 beginning on the first day of the month
  following the Effective Date of the Plan and lasting until April 1, 2023 pursuant to 11 U.S.C.
  § 1129(a)(9)(C). If Debtor is unable to generate sufficient funds from his future rental income
  from the Property and other monthly income received, Debtor will deliver payment on the Class
  4 claims from funds held in his exempt retirement account if necessary. The IRS shall retain its
  lien until paid in full. This class is impaired.

           3.5.     Class 5: District of Columbia Transfer & Recordation Tax Claim

          Class 5 consists of that portion claimed as owing for Transfer & Recordation Taxes and
  Interest on Deficiency in the amount of $75,252.37 claimed on Claim 5 filed by the District of
  Columbia. The District has claimed this amount associated with the August 4, 2010 date of
  transfer from Len Salas to Max Salas described in the Homestead Opinion. The Debtor believes
  the District is not entitled to claim this amount due to the fact that no deed was recorded at that
  time and any future recording confirming of Max Salas's ownership in the Property is to be
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  enacted through this Plan and exempt from such taxes pursuant to 11 U.S.C. § 1146(a). Debtor
  intends to object to the District's Claim prior to Confirmation of the Plan. Nevertheless, payment
  to the District, to the extent their claim is allowable, is to be paid by the Debtor in regular
  monthly installment payments totaling the full amount of the claim plus interest pursuant to 11
  U.S.C. § 511 beginning on the first day of the month following the Effective Date of the Plan
  and lasting until April 1, 2023 pursuant to 11 U.S.C. § 1129(a)(9)(C). Class 5 is impaired.

           3.6.     Class 6: Allowed Unsecured Claims of Judgment Creditors (Claim No. 3 –
                    McLoughlin; Claim No. 4 - Brekelmans)

          Class 6 consists of the two claims of the Judgment Creditors in the total amount of $15.2
  million (Claim No. 3 – McLoughlin $7.7 million; Claim No. 4 – Brekelmans; $7.5 million).
  Debtor's plan provides that payment on the Class 6 Claims will be made pro-rata, along with the
  Class 7 remaining allowed unsecured non-priority claims, from a Plan Fund funded by the
  minimal amounts of the existing non-exempt assets of the Debtor consisting of non-exempt cash
  assets existing in Debtor's DIP account at the time of Confirmation, plus an additional influx of
  $225,000 of funds secured by Debtor's exempt retirement account. Administrative Claims are
  expected to exceed $175,000, but payment from the Plan Fund towards Administrative Claims
  shall be capped at $175,000, leaving at least $50,000 of the remaining funds from the additional
  $225,000 cash infusion for distribution to Class 6 and Class 7 Claims. The Plan further provides
  for distribution of any amounts collected by the Debtor from the Fusion Judgment and
  assignment of any remaining amounts of the Fusion Judgment on the Effective Date jointly to
  both Judgment Creditors. As of the date of this Third Amended Plan, no amounts have been
  collected by the Debtor from the Fusion Judgment and the balance of the Fusion Judgment is
  $79,287.17 plus all post-judgment interest accruing since entry of the Fusion Judgment by the
  Bankruptcy Court on July 30, 2019. The Debtor will provide the Judgment Creditors with all
  documents and information reasonably requested to assist with their collection efforts for the
  Fusion Judgment upon assignment. The Debtor will not oppose efforts and provide reasonable
  assistance to the Judgment Creditors' efforts to collect available Insurance Proceeds from
  Encompass associated with their judgments. Upon receipt of discharge, the Debtor will take
  steps to withdraw his appeal of the Judgment Creditor Judgments in the DC Superior Court to
  further resolve that issue. Judgment Creditor Claims are being given separate Class treatment
  based on the fact that they may also collect on the amounts owed to them from available
  Insurance Proceeds (See Motion for Relief from Stay Order; ECF Dkt. No. 74), and based on the
  fact that they possess the right to prosecute the Tennessee Avoidance Actions regarding the
  Property purchased from the Len Salas Bankruptcy Case. Upon Confirmation, the Debtor's
  listing of the Class 6 Claims as Disputed Claims shall be withdrawn without any further notice or
  order of the Court and the Class 6 Claims shall be treated as Allowed Claims to allow for
  distribution under the Plan as contemplated herein. Such withdrawal of the Class 6 Claims as
  disputed, however, shall in no way limit or otherwise affect any defenses the Debtor may have to
  the Tennessee Avoidance Actions, any challenge to the validity of the Homestead Opinion,
  whether by appeal, action upon remand to the Bankruptcy Court, and or any subsequent or
  resulting litigation. Any and all defenses of the Debtor to the Tennessee Avoidance Actions, any
  challenge to the Homestead Opinion, or other action that may challenge the Debtor's ownership
  interest to the Property shall be preserved in full. The Class 6 and Class 7 claims listed on
  Debtor's Schedules have been valued at $15,239,769.40, 99.7% percent ($15.2 million) of which

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  is possessed by the Judgment Creditors. It is anticipated therefore that 99.7% percent of
  distributions from the Plan Fund will be distributed to Class 6 Claims.

        The payment will be made thirty (30) days after the later of (i) the payment of all
  Administrative Claims; and (ii) the Effective Date. This Class is Impaired.

           3.7.     Class 7: Remaining Allowed Unsecured Non-Priority Claims

          All Class 7 Claims, consisting of all remaining allowed unsecured non-priority claims
  will receive a one-time pro-rata distribution following the Effective Date from remaining
  amounts in the Plan Fund following payment to those possessing claims of a higher priority.
  Administrative Claims are expected to exceed $175,000, but payment from the Plan Fund
  towards Administrative Claims shall be capped at $175,000, leaving at least $50,000 of
  remaining funds from the additional $225,000 cash infusion for distribution towards other
  creditors. The Class 6 and Class 7 claims listed on Debtor's Schedules have been valued at
  $15,239,769.40, 0.3% percent ($39,769.40) of which is possessed by the Class 7 Claimants. It is
  anticipated therefore that 0.3% percent of distributions from the Plan Fund will be distributed to
  Class 7 Claims. The payment will be made thirty (30) days after the later of (i) the payment of
  Administrative Claims from the Plan Fund; and (ii) the Effective Date. This class is impaired.

           3.8.     Class 8: Allowed Unsecured Penalty Claim of the District of Columbia.

          Class 8 consists of that portion of the Claim filed by the District of Columbia in the
  amount of $8,708.05 representing a non-filing penalty associated with other aspects of Claim 5,
  to the extent such claim is an allowed unsecured penalty claim. Assuming funds remain available
  in the Plan Fund, Class 8 claims will receive a one-time pro-rata distribution following the
  Effective Date from remaining amounts in the Plan Fund following payment to those possessing
  claims of a higher priority. However, based on the large amount of claims in Class 6 and Class 7,
  no distribution is expected to be made on Class 8 claims. To the extent a payment is made, the
  payment will be made thirty (30) days after the later of (i) the payment of all higher priority
  Claims to be made from the Plan Fund; and (ii) the Effective Date. This class is impaired.

           3.9.     Class 9: Allowed Paid Hyundai Lease Titling Trust Lease Claim

          Class 9 consists of the lease claim filed by Hyundai Titling Trust filed on May 3, 2018 as
  Claim 1 associated with the lease of a vehicle by the Debtor at the time of the Petition Date.
  Following the Petition Date, Debtor continued to make lease payments due for the vehicle until
  the lease terminated in January 2019. No further payments are owed under the Hyundai lease and
  the Debtor has surrendered the Vehicle. No further payments are therefore contemplated for this
  claim. This class has been paid in full and is unimpaired.

           3.10. Class 10: Contribution Claim of Len Salas listed on Schedules associated with
                 U.S. Bank/SPS Arrearages (Unimpaired)

         Class 10 consists of the claim of Len Salas listed on the Debtor's Schedule E/F at 4.14 in
  the amount of $428,614.90. This claim solely represents arrearages existing on the U.S. Bank

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  Claim existing on the Petition Date. Because the deed of trust and underlying note for the
  Property were in the name of Len Salas, but the Debtor was responsible for making payments for
  the Property pursuant to his ownership interest later established in the Homestead Opinion, the
  Debtor included this claim to Len Salas representing amounts ultimately owed as arrearages for
  the lien on the Property. Len Salas having received his discharge and the Debtor having reached
  agreement with U.S. Bank/SPS regarding the U.S. Bank Claim described in the Stipulation for
  Plan Treatment no further treatment or payment to Len Salas (for forwarding to U.S. Bank) is
  warranted by the Debtor and will not occur under Debtor's Plan. Class 10 is Unimpaired.

                                 ARTICLE IV
             MEANS FOR EXECUTION AND IMPLEMENTATION OF THE PLAN

           4.1      Plan Description and Means Funding of Plan.

          This Plan seeks modification of the existing secured debt on the Property through the
  Stipulation for Plan Treatment with U.S. Bank. All continuing payments under the Plan,
  including pre- and post-confirmation monthly payments to U.S. Bank per the Stipulation for Plan
  Treatment, and for the Extended Tax Payments are expected to be derived wholly from the
  Debtor's future exempt earnings consisting of monthly deposits from social security, disability
  payments, and Airbnb and other rental earnings from the Property. A Projection of the Debtor's
  future income generated from these exempt sources is attached as Exhibit D to the Disclosure
  Statement. Further with respect to the Extended Tax Payments of the IRS, if Debtor's future
  income is insufficient to make these payments, Debtor will make payment on these claims from
  funds held in his exempt retirement account if necessary. The Debtor will further submit all
  available non-exempt assets for the benefit of creditors under the Plan at the time of
  Confirmation consisting of the Fusion Judgment and existing non-exempt cash assets existing in
  Debtor's DIP account at the time of Confirmation, but not including any value associated with
  the non-exempt portion of Debtor's home furnishings, equipment, or clothes. The non-exempt
  portion of such home furnishings, equipment, and clothes are believed to be de minimus,
  especially when compared to the additional exempt Plan funding being supplied by the Debtor
  and the cost of ascertaining value of the exempt portion. With the exception of the Fusion
  Judgment, further non-exempt assets of the Debtor are expected to be minimal.

                  Following delivery of the existing non-exempt assets, the Plan will be further
  funded through delivery of $225,000 towards the Plan Fund from either a loan to be received by
  the Debtor for funds 100% secured by the Debtor's exempt retirement account, or if the Debtor
  was unable to receive such a loan, from delivery of $225,000 directly withdrawn from this
  exempt account by the Debtor within forty-five (45) days after Confirmation. Direct withdrawal
  of funds from Debtor's account will cause the Debtor to incur additional tax consequences,
  making a loan preferable. Nevertheless, Debtor's retirement account contains sufficient funds to
  cover tax liability associated with a withdrawal of these funds. From this new value, payment
  towards Administrative Claims from the Plan Fund would be capped at $175,000, allowing for
  payment of at least $50,000 from the new value added into the Plan Fund for distribution to other
  claimants.

           4.2      Executory Contracts and Unexpired Leases


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         The Debtor shall assume all unexpired leases and executory contracts that have not
  previously been rejected in this bankruptcy case. Debtor's Plan further proposes that it shall have
  no effect on the post-petition lease of the Debtor's vehicle approved by the Court at ECF Dkt.
  Entry 159, and the post-petition tenant lease entered into by the Debtor for the renting of the
  basement unit at the Property.

           4.3      Post Confirmation Date Litigation.

                    4.3.1    Homestead Appeal and Tennessee Avoidance Actions

          On or after the Confirmation Date, the Debtor shall be entitled to continue with defense
  of the Homestead Appeal, and shall be entitled to fully defend any claim or action brought
  pursuant to the Tennessee Avoidance Actions or any resultant litigation.

                    4.3.2    Review of and Objections to Claims and Administrative Claims.

          On and after the Confirmation Date, the Debtor shall be entitled to initiate and prosecute
  the Claims Objections on behalf of the Estate, including, but not limited to objection to the
  District of Columbia's claim for transfer and recordation taxes and for potential refund of vacant
  real property taxes previous assessed by the District of Columbia Office of Tax and Revenue.

           4.4      Confirmation Order as Recordable Order Conveying Property to Max Salas

          Upon Confirmation, the Confirmation Order, or a separate order as needed, shall contain
  terms that will constitute an Order conveying the Property to Max Salas based on the ownership
  interest of the Debtor to the Property established through the Homestead Opinion and that such
  order may be recorded with the land records of the District of Columbia in lieu of a deed. If the
  District of Columbia shall later refuse to honor the Confirmation Order as a document properly
  conveying the Property to the Debtor, the Debtor reserves the right to obtain an appropriate deed
  to the Property signed by the trustee in the Len Salas Bankruptcy Case, or if such trustee refuses,
  to seek the appointment of an escrow agent in Debtor's Bankruptcy Case to sign such deed for
  recording purposes. The recording of any document to reflect the transfer of record title of the
  Property to the Debtor shall not limit and shall remain subject to the Judgment Creditors' rights
  under the Tennessee Avoidance Actions and the Judgment Creditors pending challenge to the
  Homestead Opinion establishing Debtor's ownership interest in the Property, and all rights,
  claims, and defenses of the Debtor and the Judgment Creditors shall be preserved.

           4.5      Recordation and Other Taxes Covered by Section 1146(a)

           Pursuant to section 1146(a) of the Bankruptcy Code, the making or delivery of an
  instrument of transfer under the Plan (including the proposed recordation of the Confirmation
  Order or other Order as necessary to confirm Debtor's interest in the Property pursuant to the
  Homestead Opinion as described in Plan Section 4.4) will not be subject to any stamp tax, real
  estate transfer, mortgage recording, or any other similar tax.

           4.6      Distribution of Property Under the Plan.


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                    4.6.1    Disputed Claims.

          Notwithstanding any other provisions of the Plan, no payments or distributions shall be
  made on account of any Disputed Claim until such Claim becomes an Allowed Claim, and then
  only to the extent that it becomes an Allowed Claim and in accordance with the Plan.

          As soon as practicable after the date on which a Disputed Claim becomes an Allowed
  Claim and, in any event, within thirty (30) days after the Effective Date, the Debtor shall
  distribute to the holder of such Claim any Cash that would have been distributable to such holder
  if such Claim had been an Allowed Claim on the Effective Date.

                    4.6.2    Manner of Payment Under the Plan.

         Cash payments made by the Debtor pursuant to the Plan shall be in U.S. dollars by
  checks drawn on a domestic bank selected by the Debtor. All payments shall be made from the
  Plan Fund within 30 days from the Effective Date.

                    4.6.3    Undeliverable Distributions and Distributions of less than $5.

                        (1) Holding and Investment of Undeliverable Distributions.

          If the distribution to the holder of a Claim is returned to the Debtor as undeliverable, no
  further distribution shall be made to such holder unless and until the Debtor is notified in writing
  of such holder’s then current address. Subject to Section 5.6.3(2) hereof, undeliverable
  distributions (“Unclaimed Cash”) shall remain in the possession of the Debtor pursuant to
  Section 5.6.3(2) until such times as a distribution becomes deliverable.

           There is no restriction on where the Debtor may hold Unclaimed Cash.

                        (2) Failure to Claim Undelivered Distributions.

          Any holder of an Allowed Claim who does not assert a claim for an undeliverable
  distribution held by the Debtor within six months after the date such distribution was made shall
  no longer have any claim to or interest in such undeliverable distribution, and shall be forever
  barred from receiving any further distributions under the Plan. In such cases any property held
  for distribution on account of such Allowed Claims, including any Unclaimed Cash relating to
  such Claims, shall be retained by the Debtor for the purposes of making another distribution to
  creditors under the Plan. Nothing contained in the Plan shall require the Debtor to attempt to
  locate any holder of an Allowed Claim.

                        (3) Distributions of less than $5.

         No payment shall be made to any creditor when the distribution is in an amount less than
  $5. Any payment not distributed to a creditor shall be treated in the same manner as Undelivered
  Distributions.

                4.6.4 Rounding Of Distributions. Whenever payment of a fraction of a cent
  would otherwise be called for, the actual payment shall reflect a rounding of such fraction down

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  to the nearest whole cent. To the extent Cash remains undistributed as a result of the rounding of
  such fraction to the nearest whole cent, such Cash shall be treated as Unclaimed Cash under the
  Plan.

                    4.6.5    Compliance With Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtor shall comply with all
  withholding and reporting requirements imposed on it by any governmental unit, and all
  distributions pursuant to the Plan shall be subject to such withholding and reporting
  requirements. The Debtor may withhold the entire distribution due to any holder of an Allowed
  Claim until such time as such holder eliminates or satisfies the need for any applicable
  withholding by providing information to establish that withholding is not required, or by
  providing cash for the payment of applicable withholding. Any property withheld will then be
  paid to the appropriate taxing authority. A holder’s failure to provide the necessary information
  or payments shall render the distribution undeliverable. Any tax liabilities or withholding of
  funds imposed upon the Debtor by any governmental unit, including any tax consequences
  associated with Debtor providing the necessary $225,000.00 to the Plan Fund, shall be borne by
  the Debtor and shall not affect or diminish the payments and transfers to be made under the Plan.

                    4.6.6    Application of Distributions.

         If the distributions of property and interests in property hereunder on account of any
  Allowed Claim are less than the aggregate amount of principal and accrued but unpaid interest
  payable under the agreement governing, instrument evidencing or other document relating to
  such Allowed Claim, such distributions shall be applied first to principal and then to accrued but
  unpaid interest.

           4.7      Discharge of Debtor and Injunction.

          Except as otherwise provided in this Plan, the rights afforded in the Plan and the
  treatment of all Claims herein shall be in exchange for and in complete satisfaction, discharge
  and release of all Claims of any nature whatsoever, including any interest accrued on such
  Claims from and after the Petition Date, against the Debtor. Except as otherwise provided in the
  Plan or the Confirmation Order: (i) on the earlier of the date that is (a) six (6) months after the
  Effective Date, or (b) once all Plan distributions from the Plan Fund have been confirmed as
  received upon notification to the Court by the Debtor, not including future payments to US
  Bank/SPS pursuant to the Stipulation for Plan Treatment, the Extended Tax Payments through
  the Plan pursuant to § 1146(a), any future payment of Administrative Claims beyond the
  $175,000 Plan Fund cap on payment of those claims, and the Judgment Creditors' rights to
  pursue the Tennessee Avoidance Actions and/or continue their litigation challenging the
  Homestead Opinion through appeal, or remand, if available; the Debtor shall be deemed
  discharged pursuant to the provisions of 11 U.S.C. 1141(d)(5) and released from all Claims,
  including, but not limited to, debts, demands, liabilities, and Claims that arose before the Petition
  Date and all debts of the kind specified in sections 502(g), 502(h) or 502(i) of the Bankruptcy
  Code, whether or not: (a) a proof of claim or proof of interest based on such Claim is Filed or
  deemed Filed pursuant to section 501 of the Bankruptcy Code, (b) such Claim is allowed
  pursuant to section 502 of the Bankruptcy Code or (c) the holder of such Claim has accepted the

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  Plan; and (ii) all Entities shall be precluded from asserting against the Debtor these and any
  other or further Claims based upon any act or omission, transaction or other activity of any kind
  or nature that occurred prior to the Petition Date. Except as otherwise provided in the Plan or
  the Confirmation Order, the Confirmation Order shall (effective upon completion of all
  payments as contemplated above) act as a discharge of any and all Claims against and any and
  all debts and liabilities of the Debtor and such discharge shall void any judgment against the
  Debtor at any time obtained to the extent that it relates to a Claim discharged.

          Except as otherwise provided in the Plan or the Confirmation Order, on and after the
  date of Discharge, all Entities who have held, currently hold or may hold a debt or Claim that
  arose prior to the Petition Date are permanently enjoined from taking any of the following
  actions on account of any such discharged debt or Claim: (1) commencing or continuing in any
  manner any action or other proceeding against the Debtor, its successors or their respective
  property; (2) enforcing, attaching, collecting or recovering in any manner any judgment, award,
  decree or order against the Debtor, its successors or their respective property; (3) creating,
  perfecting or enforcing any lien or encumbrance against the Debtor, its successors or their
  respective property; (4) asserting any setoff, right of subrogation or recoupment of any kind
  against any obligation due to the Debtor, its successors or their respective property; and (5)
  commencing or continuing any action, in any manner, in any place that does not comply with or
  is inconsistent with the provisions of the Plan or the Confirmation Order. Discharge of the
  Debtor shall not affect the Judgment Creditors' rights to pursue the Tennessee Avoidance
  Actions or continue with their challenge of the Homestead Opinion through appeal or remand, if
  available. Nothing contained in this section or any other section in the Plan shall serve to limit
  the Debtor's defenses or rights to the Judgment Creditor actions.

           4.8      Other Documents and Actions.

          The Debtor may execute such documents and take such other actions as are necessary to
  effectuate the transactions provided for in the Plan.

           4.9      Authorized Actions.

         The approval and adoption of all matters under the Plan involving the Debtor shall be
  deemed to have occurred and be effective on and after the Effective Date without any
  requirement of further action by the Debtor.

                                               ARTICLE V

                                             CONFIRMATION

           5.1      Confirmation.

          The Debtor requests Confirmation of the Plan under section 1129(a) and section 1129(b)
  of the Bankruptcy Code. The Debtor reserves the right to modify the Plan, to the extent required
  or permitted by applicable law.



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                                               ARTICLE VI

                                      EFFECTIVE DATE CONDITIONS

           6.1      Conditions to Effective Date.

          The Plan shall not be consummated and the Effective Date shall not occur unless and
  until each of the following conditions has been satisfied or duly waived as specified below:

                    6.1.1 The Clerk of the Bankruptcy Court has entered the Confirmation Order, in
                    form and substance satisfactory to the Debtor, and such order shall have become a
                    Final Order.

                    6.1.2    The Debtor has delivered $225,000 to the Plan Fund.

                    6.1.3 Thirty days shall have passed from the occurrence of the later to occur of
                    the conditions in Sections 6.1.1 and 6.1.2.

           6.2      Waiver of Conditions to the Effective Date.

           The Debtor may waive any of the conditions to the Effective Date.

                                               ARTICLE VII

                                      RETENTION OF JURISDICTION

          7.1     Retention Of Jurisdiction. Notwithstanding the entry of the Confirmation Order
  or the occurrence of the Effective Date, the Bankruptcy Court shall retain jurisdiction over the
  Case and any of the proceedings arising from, or relating to, the Case pursuant to section 1142 of
  the Bankruptcy Code and 28 U.S.C. § 1334 to the fullest extent permitted by the Bankruptcy
  Code and other applicable law, including, without limitation, such jurisdiction as is necessary to
  ensure that the purpose and intent of the Plan are carried out. Without limiting the generality of
  the foregoing, the Bankruptcy Court shall retain jurisdiction for the following purposes:

                  7.1.1 to hear and determine any and all objections to the allowance, or requests
  for estimation, of Claims or the establishment of reserves pending the resolution of Disputed
  Claims;

                  7.1.2 to consider and act on the compromise and settlement of any Claim
  against, or cause of action on behalf of, the Debtor or its Estate;

                 7.1.3 to enter such orders as may be necessary or appropriate in connection with
  the recovery of the Debtor’s assets wherever located;

               7.1.4 to hear and determine any and all applications for allowance of
  compensation and reimbursement of expenses;



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                 7.1.5 to hear and determine any and all controversies, suits and disputes arising
  under or in connection with the interpretation, implementation or enforcement of the Plan and
  any of the documents intended to implement the provisions of the Plan or any other matters to be
  resolved by the Bankruptcy Court under the terms of the Plan;

                  7.1.6 to hear and determine any motions or contested matters involving taxes,
  tax refunds, tax attributes and tax benefits and similar and related matters with respect to the
  Debtor arising prior to the Effective Date or relating to the administration of the Case, including,
  without limitation, matters involving federal, state and local taxes in accordance with sections
  346, 505 and 1146 of the Bankruptcy Code;

                7.1.7 to hear and determine any and all applications, adversary proceedings and
  contested matters pending on the Effective Date;

              7.1.8 to hear and determine any and all Avoidance Actions of the Debtor that
  are commenced in accordance with the Plan after the Effective Date;

                    7.1.9    to effectuate distributions under and performance of the provisions of the
  Plan;

                  7.1.10 to hear and determine any applications to modify provisions of the Plan to
  the full extent permitted by the Plan, Bankruptcy Code and Bankruptcy Rules;

                 7.1.11 to correct any defect, cure any omission or reconcile any inconsistency in
  the Plan, documents entered into in order to implement the Plan, the Exhibits to the Plan and
  annexes thereto, or any order of the Bankruptcy Court, including the Confirmation Order, as may
  be necessary to carry out the purposes and intent of the Plan;

               7.1.12 to determine such other matters as may be provided for in the
  Confirmation Order or as may from time to time be authorized under the provisions of the
  Bankruptcy Code or any other applicable law;

                7.1.13 to enforce all orders, judgments, injunctions, releases, exculpations,
  indemnifications and rulings issued or entered in connection with the Case or the Plan;

                7.1.14 to enter such orders as may be necessary or appropriate in aid of
  confirmation and to facilitate implementation of the Plan, including, without limitation, any stay
  orders as may be appropriate in the event that the Confirmation Order is for any reason stayed,
  revoked, modified or vacated;

                 7.1.15 to determine any other matter not inconsistent with the Bankruptcy Code
  or the Plan; and

                7.1.16 to resolve any disputes regarding fees and expenses of professionals
  employed by the Debtor.




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                                                ARTICLE VIII

                                      MISCELLANEOUS PROVISIONS

           8.1      Exemption from Transfer Taxes.

          To the maximum extent provided by 11 U.S.C. § 1146(a), transfers are exempt from
  transfer and recordation taxes.

           8.2      Modification of the Plan.

          Subject to the restrictions on modifications to the Plan set forth in the Plan, the
  Bankruptcy Code and the Bankruptcy Rules, the Debtor may alter, amend or modify the Plan
  before its substantial consummation.

           8.3      Withdrawal of the Plan.

          The Debtor reserves the right to withdraw the Plan prior to the Confirmation Date. If the
  Plan is withdrawn, or if Confirmation does not occur or if the Plan does not become effective,
  then the Plan shall be null and void, and nothing contained in the Plan shall: (1) constitute a
  waiver or release of any Claims by or against the Debtor; (2) constitute an admission of any fact
  or legal conclusion by the Debtor, or any other Entity; or (3) prejudice in any manner the rights
  of the Debtor, or any other Entity in any further proceedings involving the Debtor, or any other
  Entity.

           8.4      Successors and Assigns.

         The rights, benefits and obligations of any Entity named or referred to in the Plan shall be
  binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign
  of such Entity.

           8.5      Saturday, Sunday or Legal Holiday.

          If any payment or act under the Plan is required to be made or performed on a date that is
  not a Business Day, then the making of such payment or the performance of such act may be
  completed on the next succeeding Business Day, but shall be deemed to have been completed as
  of the required date.

           8.6      Post-Effective Date Effect of Evidences of Claims.

          Except as otherwise expressly provided in the Plan, notes, bonds, and other evidences of
  Claims against the Debtor shall, effective upon the Effective Date, represent only the right to
  participate in the distributions contemplated by the Plan, except that nothing contained in this
  section shall limit the Judgment Creditors' rights to pursue or to use any available evidence to
  prosecute the Tennessee Avoidance Actions or challenge to the Homestead Opinion on appeal or
  remand, if available.



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           8.7      Governing Law.

          Unless a rule of law or procedure is supplied by (i) federal law (including the Bankruptcy
  Code and Bankruptcy Rules), or (ii) an express choice of law provision in any agreement,
  contract, instrument or document provided for, or executed in connection with, the Plan, the
  rights and obligations arising under the Plan and any agreements, contracts, documents and
  instruments executed in connection with the Plan shall be governed by, and construed and
  enforced in accordance with, the laws of the District of Columbia without giving effect to the
  principles of conflict of laws thereof.

           8.8      No Admissions.

           Notwithstanding anything herein to the contrary, nothing contained in the Plan shall be
  deemed as an admission by the Debtor with respect to any matter set forth herein, including
  liability on any Claim.

          8.9     Severability Of Plan Provisions. If, prior to the Confirmation Date, any term or
  provision of the Plan is held by the Bankruptcy Court to be invalid, void or unenforceable, the
  Bankruptcy Court shall, with the consent of the Debtor, have the power to interpret, modify or
  delete such term or provision (or portions thereof) to make it valid or enforceable to the
  maximum extent practicable, consistent with the original purpose of the term or provision held to
  be invalid, void or unenforceable, and such term or provision shall then be operative as
  interpreted, modified or deleted. Notwithstanding any such interpretation, modification or
  deletion, the remainder of the terms and provisions of the Plan shall in no way be affected,
  impaired or invalidated by such interpretation, modification or deletion.

          8.10 Rules of Interpretation. For the purposes of the Plan: (a) whenever from the
  context it is appropriate, each term, whether stated in the singular or the plural, shall include both
  the singular and the plural; (b) any reference in the Plan to a contract, instrument, release or other
  agreement or document being in a particular form or on particular terms and conditions means
  that such document shall be substantially in such form or substantially on such terms and
  conditions; (c) any reference in the Plan to an existing document or Exhibit Filed or to be Filed
  means such document or Exhibit, as it may have been or may be amended, modified or
  supplemented; (d) unless otherwise specified in a particular reference, all references in the Plan
  to Sections, Articles and Exhibits are references to Sections, Articles and Exhibits of or to the
  Plan; (e) the words “herein,” “hereof,” “hereto,” “hereunder” and others of similar import refer
  to the Plan in its entirety rather than to only a particular portion of the Plan; (f) whenever the
  words “include,” “includes” or “including” are used in the Plan, they shall be deemed to be
  followed by the words “without limitation;” (g) captions and headings to Articles and Sections
  are inserted for convenience of reference only and are not intended to be part of or to affect the
  interpretations of the Plan; and (h) any term used in the Plan that is not defined in the Plan, either
  in this Article I or elsewhere, but that is used in the Bankruptcy Code or the Bankruptcy Rules
  has the meaning ascribed to such term in the Bankruptcy Code or the Bankruptcy Rules, as
  applicable, and the rules of construction set forth in Bankruptcy Code section 102 shall apply.




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          8.11 Time. In computing any period of time prescribed or allowed by the Plan, the
  provisions of Bankruptcy Rule 9006(a) shall apply. Unless expressly prohibited under the Plan,
  all time periods and deadlines set forth herein shall be subject to enlargement in accordance with
  Bankruptcy Rule 9006(b), and may be reduced in accordance with Bankruptcy Rule 9006(c).

  Dated: January 22, 2020                   By:   /s/ Max E. Salas
                                                  Max E. Salas, Debtor and Debtor-In-Possession



                                                  /s/ Joshua W. Cox
                                                  Marc E. Albert, No. 345181
                                                  Joshua W. Cox, No. 1033283
                                                  STINSON LLP
                                                  1775 Pennsylvania Ave., N.W., Suite 800
                                                  Washington, DC 20006
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                                                  marc.albert@stinson.com
                                                  joshua.cox@stinson.com
                                                  Attorneys for
                                                  Max E. Salas, Appellee and Debtor and Debtor-In-
                                                  Possession




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        et.~
         US Bankruptcy Judge


        Dated: 6/12/2019


                         IN THE UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF TENNESSEE

  IN RE:                              )
                                      ) CASE NO. 318-02662
  LEN SALAS,                          )
                                      ) JUDGE MARIAN F. HARRISON
             Debtor.                  )
                                      ) CHAPTER 7
                                      )
                                      )
  ________________________________________________________________________

                                  ORDER
  ________________________________________________________________________


         This matter came before the Court on the Trustee’s motion to sell, the objection of

  Creditors, Nicolaas J. Brekelmans and Gail Gregory Brekelmans, Co-personal

  Representatives of the Estate of Nina Brekelmans and Michael McLoughlin and Martha

  Johnson, Co-personal Representatives of the Estate of Michael Patrick McLoughlin

  (collectively “Estates Creditors”), and the objection of the U.S. Trustee, which was

  withdrawn at the end of the hearing. Based on the oral findings on the record, which are

  incorporated in this Order:



         IT IS ORDERED that the motion to sell any potential avoidance actions against

  Max Salas and/or his bankruptcy estate under 11 U.S.C. §§ 544, 545, 547, 548, 549, and

  553, as related to the real property located at 1610 Riggs Place, NW, Washington, D.C., is

  GRANTED, and the Estates Creditors’ objection to the sale is OVERRULED.



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          IT IS FURTHER ORDERED that the Trustee shall draft a new notice of sale and

  file it with the Court. The new notice shall clearly state that the Trustee is selling any

  potential avoidance actions against Max Salas and/or his bankruptcy estate under 11 U.S.C.

  §§ 544, 545, 547, 548, 549, and 553, as related to the real property located at 1610 Riggs

  Place, NW, Washington, D.C.



          IT IS FURTHER ORDERED that the Estates Creditors and the U.S. Trustee shall

  have until close of business on June 21, 2019, to provide the names, addresses, email

  addresses, and telephone numbers of any potential buyers.



          IT IS FURTHER ORDERED that the Trustee shall provide the notice to all

  interested parties, the potential buyers that were identified by the Trustee, and the

  additional persons and/or entities, if any, provided by the Estates Creditors or the

  U.S. Trustee by June 28, 2019.



          IT IS FURTHER ORDERED that any party interested in purchasing the property

  shall submit to the Trustee an offer, in writing, in an amount equal to or higher than

  $11,000, by close of business, on Tuesday, July 9, 2019.



          IT IS FURTHER ORDERED that if no alternative bids are received, the Trustee

  shall notify the Court and submit an order approving the sale to Ron Salas for $10,000 in

  cash.

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         IT IS FURTHER ORDERD that if alternative bids are received, the Trustee shall

  conduct an auction on Tuesday, July 16, 2019, at 9:00 a.m., outside Courtroom 3, Customs

  House, 701 Broadway, Nashville, TN 37203, and report the results of the auction in open

  court that same date.



         IT IS SO ORDERED.


               This Order was signed and entered electronically as indicated
                                at the top of the first page.




                                                 3
                                                                     This Order has been electronically
                                                                     signed. The Judge's signature and
                                                                     Court's seal appear at the top of the
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                                                                     United States Bankruptcy Court.

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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

  In re:                                       :

   LEN SALAS                                   : Case No. 18-02662-MH3-7

                                Debtor         :

  NICOLAAS BREKELMANS AND                      :
  GAIL GREGORY BREKELMANS,
  CO-PERSONAL REPRESENTATIVES                  :
  OF THE ESTATE OF NINA
  BREKELMANS                                   :

  and                                          :

  MICHAEL MCLOUGHLIN AND                       :
  MARTHA JOHNSON,
  CO-PERSONAL REPRESENTATIVES                  :
  OF THE ESTATE OF MICHAEL
  PATRICK MCLOUGHLIN                           :

  In their capacity as authorized              :
  representatives of the Estate of Len Salas
                                               :
                                Plaintiffs
                                               :
           v.                                      Adversary Proceeding No. 3:20-ap-90027
                                               :
  MAX SALAS
  1610 Riggs Place, NW                         :
  Washington, DC
                                               :
                                Defendant
                                               :



        AMENDED COMPLAINT TO AVOID TRANSFERS AND RECOVER PROPERTY

           COME NOW THE Plaintiffs herein, Nicolaas Brekelmans and Gail Gregory Brekelmans,

  Co-personal Representatives Of the Estate of Nina Brekelmans (“Nina”)(“the Brekelmans




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  Estate”) and Michael Mcloughlin and Martha Johnson, Co-personal Representatives of The

  Estate of Michael Patrick Mcloughlin (“Michael”) (“the McLoughlin Estate”) (“the Brekelmans

  Estate and the Mcloughlin Estate are hereinafter collectively sometimes referred to as “the

  Estates”), suing in their derivative capacity on behalf of the Estate of Len Salas, acting by and

  through their undersigned counsel and for their Complaint against the Defendant, Max Salas,

  allege as follows:

            Jurisdiction and Venue

            1. This Court has jurisdiction under 28 U.S.C. § 1334 (b). This matter involves causes of

  action under the trustee’s avoiding powers purchased by the Plaintiffs from the Debtor’s Estate.

            2. Venue lies in this court under 28 U.S.C. §1409 (a)(c) & (d).

            3. This matter involves property of the estate and claims of creditors of the Debtor’s

  estate.

            4. This matter is a core matter involving Avoiding Powers of the trustee pursuant to 11

  U.S.C. § 544, et seq. (hereinafter, all references to the United States Bankruptcy Code, 11 U.S.C.

  §§ 101, et seq. are cited as “Code, §”). See inter alia, 28 U.S.C. §157 (b)(1) and §157(b)(2)

  (A)(F)(H) & (0).

            5. The Plaintiffs have standing to pursue the causes asserted in this Complaint as the

  authorized representatives of the bankruptcy estate of Len Salas.

            Parties

            6. The Plaintiffs are the personal representatives of the Estates of Nina Brekelmans and

  Michael Patrick McLoughlin, respectively. Nina and Michael were tragically killed in a fire at a

  residence in Washington, DC (“the Fire”) which residence was owned by the Debtor, Len Salas

  and occupied and managed by his father, the Defendant, Max Salas. The Plaintiffs herein, the




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  Estates, were the successful bidders at an auction sale of this bankruptcy estate’s interest in the

  trustee’s avoidance and recovery actions under Code, §§544, et seq. A copy of the Trustee’s

  Report of Sale of those actions is attached hereto as Exhibit A.

         7. The Defendant Max Salas, is the Debtor in Case No. 18-00260, in the United States

  Bankruptcy Court for the District of Columbia (hereinafter “Max”). Max filed a voluntary

  petition, under Chapter 11 of the Code in April, 2018.

         7. Len Salas (hereinafter “Len”), is the Debtor is Case No. 3:18-bk-02662, filed in the

  United States Bankruptcy Court for the Middle District of Tennessee (Nashville) (“Len’s

  Bankruptcy”) on or about May 2, 2018. Len’s Bankruptcy was converted from a Chapter 11 to a

  Chapter 7 bankruptcy on or about December 12, 2018.

         8. This matter involves the recovery of property located at 1610 Riggs Place, NW,

  Washington, DC (“the Property”) at which the Defendant, Max, presently resides.

  Alternatively, the Plaintiffs are seeking a fair market sale of the Property to recover its value,

  believed to be in excess of $1 Million above all prior and/or secured claims.

         9. The Plaintiffs are seeking the relief sought, and the benefit resulting from the causes

  of action asserted in this Complaint through and on behalf of, the Len Salas bankruptcy estate

  (“the Estate”).

         10. Michael Gigandet, the Court appointed Trustee of the Estate, has declined to pursue

  the causes asserted herein and has also declined to join in this action. This Complaint is brought

  as a derivative action on behalf of the Estate of Len Salas.

  Background for All Counts

         11. In April, 2018, the Plaintiffs obtained judgments against Len and Max totaling $15.2

  Million (collectively, “the Judgment”). The Judgment resulted from a fire at the Property which,



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  at the time, Max used as rental property and rented to tenants including Nina and Michael.

  Through the gross negligence of Max and his deliberate failure to make required safety

  improvements to the Property, Nina and Michael tragically lost their lives in a horrific and

  traumatic manner. Len was named a Defendant since he was, at all times, the owner of the

  Property, including at the time of the fire (June, 2015).

         12. The Estates filed separate lawsuits against Max and Len in 2015. After a lengthy

  period of discovery and pre-trial matters, the case was tried in late March, 2018 resulting in the

  Judgment. Although Max and Len both appealed the Judgment, there has been no prosecution of

  the appeal and no stay entered in the appeal. On January 28, 2019, the Bankruptcy Court for the

  District of Columbia entered an Order Confirming Max’s Third Amended Plan of

  Reorganization (“the Confirmed Plan”). Under the terms of the Confirmed Plan, entered in

  Max’s Bankruptcy on or about January 31, 2020, Max is withdrawing his appeal of the

  Judgment(s). See, Confirmed Plan, Max’s Bankruptcy (Case No. 18-00260) (D-298), p. 9, ¶3.6.

  A copy of the Confirmed Plan and Order Confirming the Third Amended Plan are attached

  collectively as Exhibit B.

         13. Shortly after the entry of the Judgment Max and Len filed separate bankruptcies,

  Max in the District of Columbia (Case No. 18-00260)(“Max’s Bankruptcy”) and Len in this

  Court (Case No. 18-02662) (“Len’s Bankruptcy”).

         14. At the time of the bankruptcy filings by Len and Max, Len was, and still is, the title

  owner of property located at 1610 Riggs Place, NW, Washington, D.C. (“the Property”). The

  Property was purchased by Len in 2007 after his father, Max, and Max’s then wife, divorced. In

  order to purchase the Property, Max deeded the Property to Len (“the 2007 Deed”). Len then

  obtained a Deed of Trust from Sun Trust Bank for $870,000 (“the Sun Trust Loan”). The




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  proceeds of the Sun Trust Loan were paid to Max’s wife as part of the divorce settlement.

         15. From 2007 through the present, Len has remained the sole owner of the Property.

  Max’s Confirmed Plan provides that the Confirmation Order constitutes “an Order conveying the

  Property to Max Salas”. See, Exhibit B, Confirmed Plan, Max’s Bankruptcy (Case No. 18-

  00260) (D-298), p. 12, ¶ 4.4.

         16. At the time of Len’s purchase of the Property in 2007, Max had tax liens and other

  obligations which made it impossible for Max to obtain a loan on the Property. In addition, Max

  had a tax evasion conviction on his record. Those and other credit and tax issues continued

  through Max’s Bankruptcy. Max has consistently attempted to hide assets from the IRS and

  other taxing authorities, including his potential interest in the Property.

         17. According to Max, he tried to refinance the Property several times after 2007, all to

  no avail. In fact, at least through 2015 every attempt to refinance the Property required the

  participation of Len as a co-signer or co-obligor.

         18. From sometime after 2007 through the date of the fire, Max rented out rooms at the

  Property. The tenants, including Nina and Michael, signed leases under the name of “the CLR

  Trust” and Max signed each lease as Trustee. According to Len, the CLR Trust, was a trust

  created by Max for the benefit of his three sons, Chase, Len and Ron.

         19. According to Max, the lease payments were put into an account in the name of the

  CLR Trust and were used to pay for the Deed of Trust obligations and other expenses associated

  with the Property.

         20. Through the date of the fire and at all times prior to the bankruptcy filings, all

  governmental notices and tax bills and notices regarding the Property were in Len’s name.

         21. Consistent with his history of attempting to dodge tax liability, Max did not want the



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  Property, or any matters related to the Property, in his name so he could avoid any taxes or

  publicly recorded or confirmed ownership interest.

          22. Similarly, Max did not want to record any income in his name from the leasing of the

  Property. As a result, he deposited all of the income from the leases into the “CLR Trust” bank

  account.

          23. According to Max and Len, in July, 2010, Max and Len traveled to Colorado in July

  2010 to visit Ron, one of Max’s sons. Ron was a recent law school graduate and admitted to

  practice law in Colorado.

          24. While in Colorado, Len and Max executed a very simple trust agreement which Ron

  stated he prepared using a Colorado form even though the alleged trust property, the Property,

  was located in D.C. Ron also prepared a form “Quitclaim Deed,” which Len also signed (“the

  Quitclaim Deed”).

          25. Max asserts that Len, who is very unsophisticated in business and legal transactions,

  deeded the Property to his father while Len remained the sole obligor on the Sun Trust Deed of

  Trust Note (“the Note”).

          26. Max and Ron clearly took advantage of Len and convinced Len to deed the Property

  to his father despite the fact that by that deed, Len would have lost all collateral for his $870,000

  loan obligation to Sun Trust.

          27. The transfer in 2010 was a violation of Len’s Deed of Trust and Note with Sun Trust

  Bank.

          28. At the time of the attempted Quitclaim Deed, in July, 2010, Len’s only significant

  asset was the Property. At all relevant times, Len worked only part time and had limited income

  and assets. At all times following the transfer in 2010, Len was insolvent. His liabilities




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  exceeded his assets and his income was insufficient to pay his obligations, including the Sun

  Trust Deed of Trust Note payments.

         29. As of the filing of Len’s bankruptcy case in 2018, Len was obligated to pay over $15

  Million in damages to the Plaintiffs as a result of their judgments. Neither Len, nor the Trustee

  filed objections to the Plaintiffs’ claims filed in Len’s bankruptcy. In addition Len was solely

  obligated on the Sun Trust Deed of Trust on the Property which, according to the Defendant’s

  bankruptcy schedules was over $1 Million in April, 2018.

         30. At no time, since 2007, including, but not limited to, the time of the Quitclaim Deed

  in July, 2010, did Max make any payments to Len and Len received no property or other value

  from Max related to the Trust or Quitclaim Deed.

         31. Max asserts that he intended to record the Quitclaim Deed in 2010 but had no money

  to pay the required recording and transfer taxes. The Quitclaim Deed has never been recorded

  and Len remains the titled owner of the Property.

         32. Neither Max nor Len are aware of the present location of the original Quitclaim Deed

  or whether it even exists. Regardless, there has been no attempt to record the Quitclaim Deed

  since 2010.

         33. Toward the end of the Superior Court litigation with the Plaintiffs, which resulted in

  the Judgment, Max concocted a scheme to attempt to keep the Property for himself in the face of

  a pending substantial judgment award to the Plaintiffs.

         34. In discussions with his newly hired bankruptcy counsel, Marc Albert (Stinson LLP

  (“Albert”), Max learned that if the Property was owned by Len, it could not be exempted in

  bankruptcy and would be subject to attachment and sale to partially satisfy the eventual

  judgments. These conversations took place in late 2017 and early 2018.



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         35. Max also learned from Albert that if Max could claim he is the actual owner of the

  Property, he could claim the Property exempt in his subsequent bankruptcy proceeding and, due

  to D.C.’s generous homestead exemption, Max could then claim the entire equity in the Property

  as exempt from execution by the Plaintiffs.

         36. Because Len was not residing in the Property he could not claim the benefit of the

  D.C. homestead exemption.

         37. In early 2018, less than a month prior to the Superior Court trial, Max and Len, for

  the first time, alleged and produced a copy of the 2010 trust (“the Trust”) and quitclaim deed

  (“the Quitclaim Deed”) and sought to exclude Len from the Superior Court litigation by asserting

  Max was the real owner of the Property. The Superior Court summarily denied Max’s attempt

  and the trial continued, resulting in the Judgment. The Judgment is now final and binding on all

  parties as a result of the pending final distribution and closing of Len’s Estate in this Court and

  the Confirmed Plan in Max’s Bankruptcy.

         38. The fire occurred in June, 2015. From that time, until February or March, 2018, no

  one resided in the Property. During that time, and continuing after Max’s Bankruptcy filing until

  November, 2019, no payments were made on the Sun Trust Deed of Trust Note (“the Sun Trust

  Note”) with the exception of one payment made by Max from the insurance proceeds he

  received as a result of the fire damage.

         39. According to the schedules filed in Max’s bankruptcy, as of the commencement of

  his bankruptcy case, the only lien creditors were (IRS secured claim - $ 6,768.66) and Sun Trust

  Mortgage ($1,030,825.86). The balance of the Sun Trust Note as of October 26, 2018 was

  $1,141,021.14. Although Max claims he was the sole party responsible for all payments on the

  Sun Trust Loan, and made all loan payments, no payments have been made since prior to 2018




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  (with the exception of one payment from insurance proceeds) and the current balance owned on

  the Property increased at the rate of at least $7800 from some time in 2017 through October,

  2019. Sun Trust sold its Note, in 2019, to U.S. Bank National Association/Select Portfolio

  Servicing, Inc. (“U.S. Bank”). Pursuant to an agreement reached with U.S. Bank in Max’s

  bankruptcy case, Max is required to make monthly payments of approximately $8,300. Upon

  information and belief, Max has been making the required payments since approximately

  November, 2019. See, Exhibit B, Confirmed Plan, p. 8, ¶ 3.3.

         40. On September 25, 2018, the Bankruptcy Court for the District of Columbia (Teel,

  J.)(“the DC Bankruptcy Court”) entered a Memorandum and Order overruling the Estates’

  Objections to the Debtor’s claim of Exemption (“the Exemption Ruling”). The Estates timely

  appealed to the United States District Court for the District of Columbia (“the District Court”).

         41. On or about January 2, 2020, the District Court issued an order remanding the appeal

  to the Bankruptcy Court “the Remand Order” for determination of issues raised by the Plaintiffs

  in a Motion seeking to add to the appellate record or, alternatively, to remand (“the District Court

  Motion”).

         42. On October 13, 2020, the DC Bankruptcy Court denied the Plaintiffs’ Motion to

  Reconsider. The Plaintiffs timely appealed and that appeal is now pending in the United States

  District Court for the District of Columbia (Civil No. 1:20-cv-3091-KBJ)

         43. In the Exemption Ruling, the D.C. Bankruptcy Court ruled that Max was the owner

  of the Property by virtue of the 2010 Quitclaim Deed. The Court also determined, however, that

  the trustee’s avoiding powers (11 U.S.C. §§ 544, et seq.) could result in the recovery of the

  Property for the benefit of the creditors of the Len’s estate and, therefore, that those avoiding

  powers could result in a recovery of the Property, or its value, for the benefit of creditors whether



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  or not Max’s exemption is upheld on appeal. The Court made no final determination of the

  effect of the trustee’s avoiding powers leaving that to the trustee of Len’s bankruptcy estate.

         44. No deed has been recorded naming Max as Trustee or owner. However, as discussed

  above, the Confirmed Plan provides that the Confirmation Order constitutes a recordable order

  conveying the Property to the defendant, Max Salas. Other than the original deed dated 2007

  and the Confirmation Order, no deeds or other documents of title have been filed or recorded

  related to the Property.

         45. Whether the Trust or Quitclaim Deed was ever in effect, or was abandoned after

  2010, all indicia of ownership of the Property were held by Len though the date of Max’s

  bankruptcy and there are no records in the D.C. Recorder of Deeds Office, or in any other public

  record, that Max is the owner of the Property.

         46. Pursuant to an Order of this Court dated June 12, 2019 (“the Tennessee Order”), the

  Trustee in Len’s Bankruptcy was authorized to sell the Estate’s interest in the Trustee’s

  avoidance and recovery rights under, inter alia, 11 U.S.C. §§ 544 through 551. A copy of the

  Tennessee Order is attached hereto as Exhibit C.

         47. On July 23, 2019 the Trustee in Len Salas’ case, pursuant to the Tennessee Order,

  held an auction sale to auction the bankruptcy estate’s interest in the available avoidance and

  recovery actions pursuant to 11 U.S.C. §§544 through 553. The Plaintiffs herein, the Estates,

  were the successful bidders. See Exhibit A, Trustee’s Report of Sale.

         48. No payments or other value were transferred from, or by, Max to Len related to the

  transfer of the Property, either in 2010, or at any other time. According to Len, he has never

  received any compensation, remuneration, property or anything else of value related to the

  Property, the Quitclaim Deed, or the Sun Trust Loan.




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         49. Max valued the Property at $2.5 Million on the Schedules filed in Max’s Bankruptcy

  in or about May, 2018. The Property was appraised in or about August, 2019, for

  approximately$2.4 Million.

         50. At the time of the transfer in 2010, the Property was worth in excess of $1.5 Million

  and the debt to Sun Trust, owed by Len was at least $800,000.

         51. According to 11 U.S.C. § 548 (d)(1) a transfer of real estate is not perfected until the

  transfer is so perfected such that a bona fide purchaser from the debtor cannot acquire an interest

  in the property superior to that of the transferee. There was no such transfer prior to the filing of

  the Max Salas bankruptcy case (April 18, 2018). Therefore, pursuant to 11 U.S.C. § 548 (d)(1)

  the transfer is deemed to have been made immediately before the date of the filing of the

  Debtor’s petition on April 18, 2020.

         52. Under the law of the District of Columbia, a transfer of real property is made when

  the transfer is “so far perfected that a [hypothetical] good-faith purchaser of the asset from the

  debtor…cannot acquire an interest in the asset that is superior to the interest of the transferee.

  D.C. Code § 28-3106.

         53. At all times from 2010 through Len’s bankruptcy filing, he was insolvent by virtue of

  the Sun Trust Deed of Trust obligation and the Estates’ judgments (as of April, 2018).

         54. The Estates filed proofs of claim in both Len’s and Max’s bankruptcy cases and no

  objections were filed to the Estates’ claims, totaling more than $15 Million, in either case.

         55. In accordance with Max’s confirmed Plan of reorganization, the Plaintiffs’ allowed

  claims exceed $15 Million.

         56. Pursuant to the confirmed Plan in Max’s case, the Estates are the owners of the

  recovery and avoidance claims set forth in this Complaint and are entitled to pursue those claims.



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          57. Pursuant to this Court’s Order of February 11, 2020, the Plaintiffs have authority to

  sue on behalf of the Debtor’s Estate.



                                               COUNT I

            (Declaratory Judgment Regarding Plaintiffs’ Bona Fide Purchaser Status)

          58. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

  but not limited to, paragraphs 1 through 57 hereof, the same as if those paragraphs were restated

  in full, hereat.

          59. Pursuant to 11 U.S.C. § 544 (a), the Plaintiffs, as purchasers of the Trustee’s

  avoidance and recovery powers have the status, as of the date of the Len Salas bankruptcy

  petition, namely, May 2, 2018, of a bona fide purchaser of real property from the debtor and a

  judicial lien holder.

          60. Under Code § 544 (a)(3) the trustee’s bona fide purchaser status gives the Plaintiffs

  priority over subsequently recorded interests in the Property.

          61. Under D.C. Code, § 42-401:

          Any deed conveying real property in the District, or interest therein, ...shall be
          held to take effect from the date of the delivery thereof, except that as to
          creditors and subsequent bona fide purchasers and mortgagees without notice
          of said deed, and others interested in said property, it shall only take effect from
          the time of its delivery to the Recorder of Deeds for record.

          62. As a result, the Plaintiffs have a superior and priority interest in the Property ahead

  of any interest acquired by Max Salas and, therefore, the Property should be turned over to the

  Plaintiffs, or sold to recover the net equity for the benefit of the unsecured creditors of Len Salas’

  bankruptcy estate.

          WHEREFORE, as to Count I, the Plaintiffs pray for a declaratory judgment in their




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  favor, declaring as follows:

          1. That the Plaintiffs are the owners of the Property located at 1610 Riggs Place, NW,

  Washington, DC;

          2.     That the Plaintiffs are entitled to immediate possession of the Property; or,

  alternatively,

          3. That the Plaintiff are entitled to sell the Property and to retain the net proceeds from

  such a sale for distribution to the creditors of the bankruptcy estate of Len Salas as directed by

  further order of this Court;

          4. That Len and Max are directed to take all actions, sign all documents and perform all

  acts necessary to transfer or sell the Property as set forth above; and

          5. For such other and further relief as may be just and proper.

                                              COUNT II

               (Declaratory Judgment Regarding Plaintiffs’ Judicial Lienholder Status)

          63. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

  but not limited to, paragraphs 1 through 62 hereof, the same as if those paragraphs were restated

  in full, hereat.

          64. As of the commencement of this case, April 18, 2018, the trustee has, without regard

  to any knowledge of the trustee or any creditor, the rights and powers of, or may avoid any

  transfer of property of the debtor or any obligation incurred by the debtor that is voidable by a

  creditor that extends credit to the debtor at the time of the commencement of the case, and that

  obtains, at such time and with respect to such credit, a judicial lien, whether or not such a

  creditor exists. Code §544 (a)(1).

          65.      The Plaintiffs are the authorized representatives for prosecution of all of the



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  Trustee’s rights and powers under Code §§ 544, et seq.

         66. A judicial lien creditor, under the laws of the District of Columbia, has a superior

  interest to the Property than that of a competing creditor or owner who has not recorded an

  interest in the Property.

         WHEREFORE, as to Count II, the Plaintiffs pray for a declaratory judgment in their

  favor, as follows:

         1. Declaring and establishing that the Plaintiffs, as the authorized representatives of the

  bankruptcy estate of Len Salas, have a judgment lien against the Property located at 1610 Riggs

  Place, NW, Washington, DC, as of April 18, 2018 in the amounts of $7.5 Million (Brekelmans)

  and $7.7 Million (McLoughlin), respectively; and

         2. Entering a judgment or order confirming the Plaintiffs’ judgment liens against the

  Property totaling $15.2 Million; and

         3. Directing, declaring and confirming that the Plaintiffs are entitled to immediately

  execute on their judgment lien against the Property; and

         4. That the Plaintiffs are entitled to sell the Property and to retain the net proceeds from

  such sale for distribution to the creditors of the bankruptcy estate of Len Salas as directed by

  further order of this Court

         5. For such other and further relief as may be just and proper.



                                            COUNT III

  Declaratory Judgment Regarding Plaintiffs’ Status as Trustee as Creditor with Unsatisfied

                                             Execution

         67. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,




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  but not limited to, paragraphs 1 through 66 hereof, the same as if those paragraphs were restated

  in full, hereat.

           68. The Plaintiffs, as purchasers of the avoidance and recovery powers of the Trustee of

  Len’s Bankruptcy, have the status, as of the commencement of Len’s Bankruptcy, by virtue of 11

  USCS § 544(a)(2), of all of the rights and powers of a creditor that had delivered a writ of

  execution against Len’s interest in the Property, which execution was returned unsatisfied.

           69. The Plaintiffs assert that the trustee’s status as a creditor under Code § 544 (a)(2)

  gives him a superior interest in the Property such that the Plaintiffs are entitled to recover the

  Property, or its equity, for the benefit of the unsecured creditors of the bankruptcy estate of Len

  Salas.

           WHEREFORE, as to Count III, the Plaintiffs pray for a declaratory judgment in their

  favor, as follows:

           1. Declaring and establishing that the Plaintiffs, as the authorized representatives of the

  bankruptcy estate of Len Salas, have a superior claim to the Defendant’s Property located at

  1610 Riggs Place, NW, Washington, DC, as of April 18, 2018 in the amounts of $7.5 Million

  (Brekelmans) and $7.7 Million (McLoughlin), respectively; and

           2. Directing, declaring and confirming that the Plaintiffs are entitled to the sale of the

  Property to satisfy the claims of all unsecured creditors of the Len Salas bankruptcy estate; and

           3. For such other and further relief as may be just and proper.

                                              COUNT IV

                              (Fraudulent Conveyance - Code § 548 (a))

           70. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

  but not limited to, paragraphs 1 through 69 hereof, the same as if those paragraphs were restated



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  in full, hereat.

          71. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

  because it was made with the actual intent to defraud creditors and potential creditors of Len

  Salas, including Sun Trust Bank, by transferring the Property to Max without permission.

          72. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

  because it was made with the actual intent to defraud creditors and potential creditors including

  all parties having claims related to the Property, including the Plaintiffs.

          73. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

  because, by transferring the only major asset of Len to his father, the transfer was likely to, and

  did, make Len insolvent and unable to pay his mortgage obligations to Sun Trust Bank.

          74. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

  because it was made with the actual intent to defraud creditors and potential creditors, including

  those having claims related to the Property, such as taxing authorities, utilities, and renters, such

  as Nina and Michael and, therefore, the Estates.

          75. The transfer was a fraudulent conveyance pursuant to Code § 548 because the

  alleged transfer was made for less than reasonably equivalent value.              Len received no

  compensation or property of value and gave up property worth in excess of $2 Million while

  remaining solely obligated on a Deed of Trust Note to Sun Trust bank that was in default at the

  time of the alleged transfer.

          76. Len was either insolvent at the time of the transfer, or the transfer made him

  insolvent since the Property was his only significant asset and he still remained liable on the Sun

  Trust Loan after the alleged transfer.

          77. The transfer of the Property in 2010 by Quitclaim Deed was made after two years




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  prior to Max’s Bankruptcy because pursuant to Code § 548 (d)(1) the transfer of real property is

  deemed perfected when the deed is recorded or, if not recorded prior to the bankruptcy filing, the

  date immediately prior to the bankruptcy filing, namely April 18, 2018.

          WHEREFORE, as to Count IV , the Plaintiffs pray for judgment as follows:

          1.   That the attempted transfer of the Property from Len to Max is a fraudulent

  conveyance under Code § 548 (a); and

          2. That the conveyance is recovered or avoided so that the Property is owned and

  controlled by the Plaintiffs, for the benefit of the unsecured creditors or the bankruptcy estate of

  Len Salas, pursuant to their purchase of the Trustee’s avoidance and recovery rights in Len’s

  Bankruptcy; and

          3. That any further transfer or disposition of the Property is enjoined; and

          4. That the Property be sold at public auction and the proceeds, after payment of closing

  costs and priority secured claims shall be paid to the Plaintiffs, for distribution to unsecured

  creditors pursuant to further order(s) of this court; and

          5. For such other and further relief as may be just and proper.

                                               COUNT V

                                   (Fraudulent Conveyance - D.C.)

          78. The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

  but not limited to, paragraphs 1 through 77 hereof, the same as if those paragraphs were restated

  in full, hereat.

          79. The Plaintiffs, as the holders of the rights and claims of the Trustee, may avoid any

  transfer that is voidable under applicable law pursuant to Code § 544 (b) (1).

          80. Under the law of the District of Columbia, the transfer of the Property alleged herein,



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  is a fraudulent conveyance because the transfer was performed with fraudulent intent as to

  existing creditors, such as the IRS, other taxing authorities, Sun Trust Bank, and others,

  including the Plaintiffs and was made for less than reasonably equivalent value, all as

  specifically prohibited by D.C. Code § 28-3104, et seq.

            81. A transfer made is fraudulent as to a creditor whose claim arose before the transfer

  was made if the transfer was made to an insider for an antecedent debt, the debtor was insolvent

  at that time, and the insider had reasonable cause to believe that the debtor was insolvent. D.C.

  Code § 28-3105

            82.   A transfer made, or obligation incurred, by a debtor is fraudulent as to a creditor

  whose claim arose before the transfer was made or the obligation was incurred if the debtor made

  the transfer or incurred the obligation without receiving a reasonably equivalent value in

  exchange for the transfer or obligation and the debtor was insolvent at that time or the debtor

  became insolvent as a result of the transfer or obligation.

            83. In the District of Columbia, a transfer is made:

            (A) With respect to an asset that is real property other than a fixture, including the
            interest of a seller or purchaser under a contract for the sale of the asset, when the
            transfer is so far perfected that a good-faith purchaser of the asset from the debtor
            against whom applicable law permits the transfer to be perfected cannot acquire
            an interest in the asset that is superior to the interest of the transferee.

  D.C. Code § 28-3106

            84. In an action for relief against a transfer or obligation under D.C. law, a creditor may

  obtain:

            (1) Avoidance of the transfer or obligation to the extent necessary to satisfy the
            creditor’s claim;
            (2) An attachment or other provisional remedy against the asset transferred or
            other property of the transferee...;
            (3) Subject to applicable principles of equity and in accordance with applicable
            rules of civil procedure:




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          (A) An injunction against further disposition by the debtor or a transferee, or both,
          of the asset transferred or of other property;
          (B) Appointment of a receiver to take charge of the asset transferred or of other
          property of the transferee; or
          (C) Any other relief the circumstances may require.

  D.C. Code § 28-3107

          WHEREFORE, as to Count V, the Plaintiffs pray for an order:

          1. Avoiding the transfer or attempted transfer of the Property; and

          2. Providing for an attachment against the Property on such terms as the Court may order;

  and

          3. Enjoining any further disposition of the Property or allowing the placement of any

  other liens or encumbrances against the Property pending sale or other disposition approved by

  the Court; and

          4. Such other and further relief as may be just and proper.



                                              COUNT VI

                                       (Liability of Transferee)

           85 . The Plaintiffs reallege the allegations of all paragraphs of this Complaint, including,

  but not limited to, paragraphs 1 through 84 hereof, the same as if those paragraphs were restated

  in full, hereat.

          86. The Defendant, Max Salas, is the transferee of the alleged transfer which is the

  subject of this Complaint.

          87. Under Code § 550 (a) the trustee may recover, for the benefit of the estate, the

  property transferred or, upon court order, the value of the property.

          WHEREFORE, as to Count VI, the Plaintiffs pray for an Order:



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          1. To turn over the Property; or, alternatively,

          2. To sell the property, by auction or other public sale, upon reasonable notice, and to

  turn over the net proceeds of such sale, subject to court approval of the amount of such proceeds,

  to the Plaintiffs; and

          3.   to authorize and direct the Plaintiffs to retain the property and proceeds for

  distribution to the unsecured creditors of the bankruptcy estate of Len Salas in accordance with

  further order(s) of this Court;

          3. For such other and further relief as may be just and proper.

                                                 LAW OFFICE OF PHILIP J. MCNUTT, PLLC


                                                 By: /s/ Philip J. McNutt
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                                                 BUTCH, PORTER & JOHNSON, PLLC

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                                                 Taylor A. Cates
                                                 130 North Court Avenue
                                                 Memphis, TN 38103
                                                 901-524-5165
                                                 901-524-5000 (fax)
                                                 Tacates@bpjlaw.com
                                                 ATTORNEYS FOR THE PLAINTIFFS
                                     CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a copy of the foregoing Amended Complaint was served on
  Philip Young, Counsel for the Defendant, through the Court’s ecf noticing service, on the 16th
  day of February, 2021.




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                                                 /s/ Philip J. McNutt
                                                Philip J. McNutt




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                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 Nashville
 In re:                           :
                                         CHAPTER 11
  LEN SALAS                       :      CASE No. 18-02662
                                         JUDGE: HARRISON
            Debtor                :


 NICOLAAS BREKELMANS AND GAIL :
 GREGORY BREKELMANS,
 CO-PERSONAL REPRESENTATIVES  :
 OF THE ESTATE OF NINA
 BREKELMANS, et al            :

                                 Plaintiffs   :

         v.                                   : Adversary Proceeding No. 3:20-ap-90027

 MAX SALAS                                    :

                                 Defendant    :


                        AMENDED MEMORANDUM IN SUPPORT OF
                   THE PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

         COME NOW the Plaintiffs herein, by and through their undersigned counsel and, in

  support of their Motion for Summary Judgment, submit the following Amended Memorandum

 of facts, points and authorities.

 I.      INTRODUCTION

         Through this Motion, the Plaintiffs are seeking summary judgment on Counts I, II, IV, V

 and VI of the Complaint1. The Motion will focus largely on the recovery of the Property at issue




         1
        For purposes of this Motion for Summary Judgment and Memorandum, all references to
 “Complaint” or “the Complaint” refer to the Amended Complaint filed herein on February 16,
 2021 D-40.


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 here, located at 1610 Riggs Place, NW, Washington, DC (“The Property”), under the statutory

 provisions of the United States Bankruptcy Code, 11 U.S.C. (“Bankruptcy Code” or “Code”)

 §550, asserting a right to recovery under Code § 548(A)(1)(B) and Code”) and the D.C. Code §§

 28-3104 and 28-3105 concerning recovery of fraudulent conveyances. The Defendant along with

 the Debtor, Len, engaged in a scheme intended to remove the Property from Len’s bankruptcy

 while allowing Max to exempt the Property in his bankruptcy. As argued below, although this

 scheme constitutes actual fraud, the constructive fraud which is spelled out in 11 U.S.C. § 548

 (a)(1)(B) is clearly shown by the record in this case and those documents, filings and testimony

 referenced in this Motion. Therefore, while the Plaintiffs assert the case for recovery based upon

 actual fraud is unusually strong at this Summary Judgment stage, because of the element of

 intent, although obvious here, and the need to explore a series of facts over a period of time, the

 insolvency standard of Code § 548(a)(1)(B) is an easier target.

        As discussed below, none of the material facts necessary to show fraud or insolvency

 under the standards of 11 U.S.C. § 548 (a)(1)(B) are in dispute. Because the Plaintiffs meet the

 standardized test of the statute, they are entitled to judgment on their fraudulent conveyance

 claim, Count IV, of the Complaint. Additionally, since the criteria for recovery of a fraudulent

 conveyance under D.C. law tracks the language of 11 U.S.C. § 548, and the Plaintiffs have also

 clearly met their burden under that statute, the Plaintiffs are also entitled to judgment on their

 state law fraudulent conveyance claim, Count V.

        Furthermore, the Trustee’s interests in the Property pursuant to 11 U.S.C. § 544 as a

 judgment lien creditor and successor to the rights of creditors and purchasers as a bona fide

 purchaser, without knowledge, are superior to those of the defendant, if any, and also allow the


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 Debtor’s estate to recover the Property or its value for distribution to creditors pursuant to 11

 U.S.C. § 550 (a).

        The attempted conveyance of the Property in 2010 from the Debtor, Len Salas, to his

 father, Max Salas, was never completed and was, in fact abandoned by the parties. In order to

 attempt to avoid liability in the D.C. Superior Court, wrongful death, litigation commenced by

 the Plaintiffs in 2015, the Salas family including at least, the Defendant, Max Salas and his son

 Ron, with the assistance of the Debtor, Len Salas, concocted a scheme which involved using an

 abandoned, stale, and defective quitclaim deed to attempt to remove Len Salas from the Superior

 Court case and, by so doing, allowing Max to claim an exemption of the Property in his planned

 bankruptcy which was filed shortly after the Plaintiffs’ obtained their judgments.

        The scheme involved resurrecting an invalid trust (“the 1610 Riggs Place Trust”)

 prepared by Ron on July 6, 2010, under Colorado law, accompanied by an equally infirm

 quitclaim deed (“the Quitclaim Deed”) purporting to transfer the Property from Len to the trust.

 The Quitclaim Deed was never recorded and, according to communications between and among

 family members and local (D.C. area) counsel, Len Salas (“Len” or “the Debtor”) and Max Salas

 (“Max” of “the Defendant”) abandoned the Quitclaim Deed. While the reasons for this are not

 clear there are some obvious reasons which may have caused the family to abandon the

 Quitclaim Deed, as discussed below. Regardless, it is clear that as soon as June, 2011 Max and

 Ron had no intention of using or recording the Quitclaim Deed.

        During the course of Max’s bankruptcy case (Case no. 18-00260 in the United States

 Bankruptcy Court for the District of Columbia) and in preparation for the hearing on the

 Plaintiffs’ objection to Max’s claimed exemption of the Plaintiffs conducted discovery which


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 consisted of the deposition of Ron Salas and Interrogatories and a Request for Production of

 Documents propounded to the Defendant, Max Salas. Neither Ron Salas, nor his father, Max,

 mentioned or referred to a series of email communications in 2011 and 2012, months following

 the July, 2010 quitclaim deeed, which clearly state that a deed needed to be created to transfer the

 Property from Len to Max.and that all family members, including, at at a minimum, Max, Len

 and Ron, were still attempting to obtain a deed or other means to remove Len’s name from the

 title to the Property. It is clear from the emails that Ron and Max both knew that the quitclaim

 deed was ineffective and no longer valid or enforceable to transfer the Property. See emails

 between and among Max, Ron, Len, Stan Goldstein and Lynn Boileau, between June 17, 2011

 and February 27, 2012, Exhibit 7, Bates Nos. LenSalas 000016 - LenSalas000034. The eMails

 are attached to this Memorandum as Exhibit 7.

        At the very least, these eMails show that Ron, Len and Max made significant

 misrepresentations to the D.C. bankruptcy court, and likely this court, regarding the existence

 and usefulness of the Quitclaim Deed.

        These misrepresentations and the scheme concocted by the Salas family represent actual

 fraud within the meaning of 11 U.S.C. § 548. However, the Plaintiffs’ claim for recovery under

 Code, § 548 (a)(1)(B) is much more straightforward.

 NOTE: All references to Case No. 18-2662 refer to the Chapter 7 bankruptcy of Len Salas filed
 on April 18, 2018 in the United States Bankruptcy Court for the Middle District of Tennessee,
 Case No. 3:18-02662.

        All references to Case No. 18-260 refer to the Chapter 11 case of Max Salas filed in the
 United States Bankruptcy Court for the District of Columbia on April 18, 2018, Case No. 18-
 00260.

        All references to the Complaint refer to the Amended Complaint filed in Adversary


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 Proceeding 3:20-90027 in the United States Bankruptcy Court for the Middle District of
 Tennessee on February 16, 2021 (D-40).

        All references to Case No. 20-90027 refer to the Adversary Proceding captioned above in
 which the Plaintiffs Motion for Summary Judgment and this Memorandum are being filed.

      All references to “Exhibit” or “Exh.” refer to Exhibits to the Plaintiffs’ Motion for
 Summary Judgment unless otherwise specified.

        Referenced documents which are part of the docket entries in Case No. 18-2662 or this
 adversary proceeding are not attached but are incorporated in this Memorandum and into the
 Summary Judgment record by such reference.

        The words “Code” or “the Code”, except as expressly stated otherwise, refer to the
 United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. as amended.

       For ease of reference to members of the Salas family, who are discussed throughout this
 Memorandum, Max Salas, the Defendant, will sometimes be referred to as “Max” or “the
 Defendant”, Len Salas will sometimes be referred to as “Len” or “the Debtor” and Ron Salas will
 sometimes be referred to as “Ron.”


 II.    BACKGROUND OF THE CASE

        1. The Plaintiffs’ Complaint was filed on behalf of the Estate of Len Salas in accordance

 with this Court’s Order entered on February 11, 2021. The Complaint seeks a declaratory

 judgment that under the Trustee’s avoiding powers, the Plaintiffs have a superior interest in the

 Property and are entitled to recovery of the Property, or its value, under 11 U.S.C. §550.

        2. The Plaintiffs assert that they have a superior interest in the Property whether under

 the Trustee’s avoiding powers, pursuant to 11 U.S.C. §§ 544, et seq, or as an actual creditor,

 pursuant to 11 U.S.C. §§ 548 and D.C. Code §§ 28-3104 and 28-3105.

        3. The Plaintiffs’ Complaint seeks recovery of the Property, or its value. The Plaintiffs

 assert they are entitled to recovery under the Trustee’s avoiding powers pursuant to a sale

 conducted by the Trustee under Court authority (Order of June 12, 2019 (D-179) in Case no. 18-


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 2662) and a sale to the Plaintiffs approved by this Court and evidenced by the Trustee’s Report

 of Sale dated August 14, 2019 in Case No. 18-2662 (D-191).

        4. Because the trustee, Mr. Gigandet, declined to pursue the causes of action set forth in

 the Complaint despite Plaintiffs’ request that he do so, facts admitted by the Defendant, the

 Plaintiffs have derivative standing to pursue each count of the Complaint as determined by this

 Court’s Order of February 11, 2021 in Adversary No. 20-90027(D-39). Because the effective

 date of transfer of the Property is April 17, 2018 under both bankruptcy and D.C. law, the

 Complaint was timely filed and is not subject to a claim of limitations.

        5. The Plaintiffs reserve the right, under bankruptcy law and procedure and D.C. law to

 invoke remedies intended to protect the property and preserve its value for the Debtor’s Estate.

        6. The Plaintiffs’ Complaint contains six counts, three seeking recovery under Code §

 544, one under Code § 548, one under D.C. Code §§ 28-3104 and 28-3105 and one under Code

 §550. The Plaintiffs are seeking summary judgment on all counts except Count III.

        7. As a result of this Court’s Memorandum Opinion and Order of February 11, 2021 (D-

 38 and D-39, respectively, in Adversary No. 20-90027), the Plaintiffs assert that the affirmative

 defenses of violation of the applicable statutes of limitations have been overruled and finally

 determined for purposes of the Complaint. There are no disputed facts which could change the

 Court’s legal conclusions and the Court’s conclusions are based upon well established and

 longstanding statutory language and supporting case law.

 III.   BACKGROUND FACTS FOR MOTION FOR SUMMARY JUDGMENT

        A.      Background Facts

        8. The Plaintiffs are the personal representatives of the Estates of Nina Brekelmans


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 and Michael Patrick McLoughlin, respectively (collectively, “the Decedents’ Estates”),

 creditors of the Estate of Len Salas and suing for the benefit of the Estate of Len Salas. Nina

 and Michael were tragically killed in a fire at a residence in Washington, DC (“the Fire”)

 which residence was owned by the Debtor, Len Salas and occupied and managed by his

 father, the Defendant, Max Salas. The Plaintiffs herein, the Estates, were the successful

 bidders at an auction sale of this bankruptcy estate’s interest in the trustee’s avoidance and

 recovery actions under Code, §§544, et seq. A copy of the Trustee’s Report of Sale of those

 actions is attached to the Plaintiffs’ Complaint as Exhibit A. For purposes of this Motion, all

 references to the Plaintiffs’ Complaint refer to the Amended Complaint docketed at D-40,

 filed on February 16, 2021.

        9. The Defendant Max Salas, is the Debtor in Case No. 18-00260, in the United

 States Bankruptcy Court for the District of Columbia (hereinafter “Max’s Bankruptcy”).

 Max filed a voluntary petition, under Chapter 11 of the Code on April 18, 2018.

        10. Len Salas (hereinafter “Len”), is the Debtor is Case No. 3:18-bk-02662, filed in

 the United States Bankruptcy Court for the Middle District of Tennessee (Nashville) (“Len’s

 Bankruptcy”) on or about April 18, 2018. Len’s Bankruptcy was converted from a Chapter

 11 to a Chapter 7 bankruptcy on or about December 12, 2018.

        11. Michael Gigandet was appointed Chapter 7 Trustee and administered Len’s

 Chapter 7 Estate.

        12. The Complaint was timely filed.

        13. The parties have completed their discovery and there are no disputed facts which


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 bear on the issues presented in this Motion.

        14. The Plaintiffs’ Complaint seeks the recovery of property located at 1610 Riggs

 Place, NW, Washington, DC (“the Property”) at which the Defendant, Max, presently

 resides. Alternatively, the Plaintiffs are seeking a fair market sale of the Property to recover

 its value, believed to be in excess of $1 Million above all prior and/or secured claims.

        15. The Plaintiffs are pursuing this matter through, and on behalf of, Len’s Estate.

 The Plaintiffs made requests to the Court appointed trustee, Michael Gigandet (“the

 Trustee”), in early April, 2019, to pursue the causes of action set forth herein. The Trustee

 declined to do so. See Memorandum Decision entered on February 15, 2021 in Adversary

 No. 20-90027 (D-38), p.6.

        16. All relief sought through or by the Complaint, as amended, is sought on behalf of

 the Estate and its creditors. See Complaint at ¶ 9.

        17. On or about September 18, 2020, the Plaintiffs again contacted the Trustee asking

 that the Trustee take over, or join, in the avoidance actions and other claims asserted herein,

 for the benefit of all creditors. The Trustee declined, once again, asserting that by selling the

 claims he intended that they and any benefit from them, would inure solely to the purchasers

 (the Plaintiffs). The Trustee also indicated that if the Actions benefitted Len’s Estate, he

 would take appropriate action to receive and distribute any recovered property or proceeds.

        18. In April, 2018, the Plaintiffs obtained judgments against Len and Max totaling

 $15.2 Million (collectively, “the Judgment”). The Judgment resulted from a fire at the

 Property which, at the time, Max had rented rooms to renters including Nina Brekelmans and


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 Michael McLoughlin. Through the gross negligence of Max and his deliberate failure to

 make safety improvements to the Property required by law, Nina and Michael tragically lost

 their lives in a horrific and traumatic manner from a fire in June, 2015. Len was named a

 Defendant since he was, at all times, the owner of the Property, including at the time of the

 fire.

         19. The Estates filed separate lawsuits against Max and Len in 2015. After a lengthy

 period of discovery and pre-trial matters, the case was tried in late March, 2018 and early

 April, 2018, resulting in Judgments for the Plaintiffs in the amounts of $7.5 Million and $7.7

 Million respectively (“the Judgments”).

         20. The Judgments are allowed claims in the bankruptcy cases of both Len and Max.

 Through Max’s confirmed Chapter 11 Plan and distributions from Len’s Estate, the Plaintiffs

 have received minor payments against their claims - payments of less than $700,000.

         21. Shortly after the entry of the Judgments Max and Len filed separate bankruptcies,

 Max in the District of Columbia (Case No. 18-00260)(“Max’s Bankruptcy”) and Len in this

 Court (Case No. 18-02662) (“Len’s Bankruptcy”).

         22. The Defendant’s approved Amended Disclosure Statement, December 5, 2019

 (D-276) and his confirmed Plan of Reorganization (Max Salas’s Third Amended Plan of

 Reorganization), (D-298), January 22, 2020, specifically reference the Plaintiffs as the

 purchasers of the avoidance actions which are included in the Complaint, as amended.

         23. The Defendant’s Confirmed Plan provides that the Plaintiffs “possess the right to

 prosecute the Tennessee Avoidance Actions regarding the Property purchased from the Len


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 Salas Bankruptcy Case.” Confirmed Plan, Section 3.6, p. 9.

          24. At the time of the bankruptcy filings by Len and Max, Len was, and was, at the

 time of the Debtor’s bankruptcy filing in April, 2018, the title owner of property located at

 1610 Riggs Place, NW, Washington, D.C. (“the Property”).

          25. According to Max and Len, in July, 2010, Max and Len traveled to Colorado in

 July 2010 to visit Ron, one of Max’s sons. Ron was a recent law school graduate and

 admitted to practice law in Colorado.

          26. While in Colorado, Len and Max executed a very simple trust agreement which

 Ron stated he prepared using a Colorado form even though the alleged trust property, the

 Property, was located in D.C. Ron also prepared a form “Quitclaim Deed,” which Len also

 signed (“the Quitclaim Deed”).

          27. Max asserts that Len, who is unsophisticated in business and legal transactions,

 deeded the Property to his father while Len remained the sole obligor on the Sun Trust Deed

 of Trust Note (“the Note”).

          28. Max and Ron convinced Len to deed the Property to his father despite the fact

 that by that deed, Len would have lost all collateral for his $870,000 loan obligation to Sun

 Trust.

          29. The attempted transfer in 2010 was a violation of Len’s Deed of Trust and Note

 with Sun Trust Bank. L Salas Depo Trans., Exhibit 13, 144:7 - 148:7.

          30. At the time of the attempted Quitclaim Deed, in July, 2010, Len’s only significant

 asset was the Property. At all relevant times, Len worked only part time and had limited


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 income and assets. At all times following the transfer in 2010, Len was insolvent. His

 liabilities exceeded his assets and his income was insufficient to pay his obligations,

 including the Sun Trust Deed of Trust Note payments.

        31. At no time, since 2007, including, but not limited to, the time of the Quitclaim

 Deed in July, 2010, did Max make any payments to Len and Len received no property or

 other value from Max related to the Trust or Quitclaim Deed. Exemption Trans. Vol 3,

 (attached hereto as Exhibit 6) 139:15 - 140:2; Len Salas testimony, Plan Confirmation

 Hearing, United States Bankruptcy Court for the Middle District of Tennessee, December 13,

 2018 (“L Salas Conf. Hrg. Trans.”), 68:22 - 69:2. Those pages of Len’s testimony in

 December, 2018 are attached hereto as Exhibit 4.

        32. Max asserts that he intended to record the Quitclaim Deed in 2010 but had no

 money to pay the required recording and transfer taxes. The Quitclaim Deed has never been

 recorded and Len remained the titled owner of the Property through the date of his

 bankruptcy filing in April, 2018.

        33. Max also testified at the Exemption Hearing that he delivered the original

 Quitclaim Deed to Mr. Goldstein’s office and did not recall that Mr. Goldstein mailed it back

 to Mr. Salas. Exemption Trans. Vol. 3, 55:7 - 56:21.

        34. Later in the same testimony Mr. Salas testified that he told his counsel, Mr. Albert

 and his associate, Mr. Cox what he did with the Quitclaim Deed and left it up to them to

 obtain the original from Mr. Goldstein’s Office. Exemption Trans. Vol 3, 57:13 - 58:6

        35. After seeking to record through Mr. Goldstein’s office in 2011 and/or 2012 (See


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 eMails attached as Exhibit 7) Max did not make any further attempts to record the Deed.

 Exemption Trans. Vol 3, 58:9-13

        36. In his deposition Ron Salas testified, under oath, related to the Quitclaim Deed,

 executed on July 6, 2010, as follows:

 “Q And I believe you said, but I want to
 clarify this, that between the time of 2012,
 roughly, and I realize you said, I think, a year
 or two after the transaction, so I'm not trying to
 pin it down, but say roughly 2012, which would be
 two years later, until today, are you aware of any
 other reasons why the deed, the quitclaim deed
 that you prepared would not have been or could not
 have been recorded?
 A. I don't know of any reason and I did not
 know that it was not recorded until the lawsuit
 came in my brother's name.
 Q And what is it about the lawsuit that
 came in your brother's name that made you believe
 the quitclaim deed had not been recorded?
 A The only reason my brother would be
 involved was because his name had to still be on
 the title is the assumption I've made in my mind
 I don't know that that is factually correct, but
 that is my assumption, that it must not have been
 filed or he wouldn't be in this situation.
 He didn't live in the District, he
 never- he didn't live in the house, and I- so
 that's the only logical reason I could make that
 he would be involved, that it was never done. And
 until that point, I did not even know that it had
 not been done. I assumed at some point that he
 came up with the money and did it. But he didn't,
 as we sit here today we all know.
 Transcript of the Deposition of Ron Salas in the United States Bankruptcy Court for the
 District of Columbia, Case No. 18-00260, August 8, 2018, (“R Salas Trans”), 73:15 - 74:21
 (emphasis in original).2 Attached hereto as Exhibit 8.


        2
         Mr. Albert was acting as counsel for Max Salas in his bankruptcy and attended the
 deposition on behalf of Max. Ron Salas appeared without counsel.

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        37. Toward the end of the Superior Court litigation with the Plaintiffs, which resulted
 in the Judgment, Max, apparently with the cooperation and participation of Ron and Len,
 concocted a scheme to attempt to keep the Property for himself in the face of a pending
 substantial judgment award to the Plaintiffs.
        38. In discussions with his newly hired bankruptcy counsel, Marc Albert (Stinson
 LLP) (“Albert”), Max learned that if the Property was owned by Len, it could not be
 exempted in bankruptcy and would be subject to attachment and sale to partially satisfy the
 eventual judgments. See D.C. Code § 15-501 (a)(14) (exemption is available only to
 property in which the owner resides). These conversations took place in early 2018. See
 Exemption Trans. Vol. 3, Exhibit 6, 119:19 - 122:9; See also Albert-R Salas eMails, 2/14 -
 3/7/18, attached hereto as Exhibit 19; Exemption Trans. Vol 1, Exhibit 20, 145:22 - 147:20.
        39. Max also learned from Albert that if Max could claim he is the actual owner of
 the Property, he could claim the Property exempt in his subsequent bankruptcy proceeding
 and, due to D.C.’s generous homestead exemption, Max could then claim the entire equity in
 the Property as exempt from execution by the Plaintiffs.
        40. Because Len was not residing in the Property, he could not claim the benefit of
 the D.C. homestead exemption.
        41. In early 2018, less than a month prior to the Superior Court trial, Max and Len,
 for the first time, alleged and produced a copy of the 2010 trust (“the Trust”) and quitclaim
 deed (“the Quitclaim Deed”) and sought to exclude Len from the Superior Court litigation by
 asserting Max was the real owner of the Property. The Superior Court summarily denied
 Max’s attempt and the trial continued, resulting in the Judgment.
        42. The Judgment is now final and binding on all parties as a result of the final
 distribution and closing of Len’s Estate in this Court and the Confirmed Plan in Max’s
 Bankruptcy. M Salas Chapter 11, Case No. 18-00260 in the United States Bankruptcy Court
 for the District of Columbia, Docket Entries (“D- “) D-298 and 303; L Salas Chapter 7, Case
 No. 18-002662 in the United States Bankruptcy Court for the Middle District of Tennessee,

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 Docket Entries (“D- “) D-209 (Trustee’s Final Report) and 220, Trustee’s Final Account, and
 222 (Final Decree).
        43. Max has not produced, and is currently unaware of the location of, the original
 Quitclaim Deed is, or if it even exists. Transcript of the Continued Deposition of Max Salas,
 March 8, 2022 (“M Salas Trans.”) 51:2-12; 52:6-20
        44. On June 16, 2011, Ron sent an email to the Defendant advising Max that the
 Trust had been registered and that Max needed to have a Quitclaim Deed created to transfer
 the Property to Max. This was nearly a year after the Quitclaim Deed was created, the only
 deed relied upon by Max in asserting his ownership of the Property. A copy of Ron’s email,
 dated June 17, 2011, less than a year after the purported Quitclaim Deed of July 6, 2010, was
 produced in discovery by Len Salas in 2022. These emails were within the scope of the
 document production requested from Max as part of the discovery requests in the Exemption
 Hearing adversary proceeding in Max’s bankruptcy in D.C. Max, Ron and Len all testified at
 that hearing and all asserted, or supported the lie that the Quitclaim Deed of July 6, 2010 was
 in effect in 2018.
        45. Ron’s email states, on June 17, 2011 that “The next step is for someone in D.C. to
 draft a Quitclaim Deed in order to move the property from the possession of Len to the Trust.
 The document should be straight forward and will need to be signed by at least the grantor,
 Len.” Exhibit 7, Bates Number: LenSalas000016 - 17.
        46. On June 21, 2011 Max followed up with an email to his real estate attorney, Stan
 Goldstein. In that email, Max asserts to the attorney, Mr. Goldstein, that “We need to have
 done is have Lenny sign a quick (sic) claim deed into the trust...” Exhibit 7, Bates Number
 LenSalas000016.
        47. In Max’s email to attorney Lynn Boileau on January 17, 2012, he states : There
 are two different requests. One is to get Lenny’s name off of the property. (Want to do
 this asap) The second request is to refinance the property under the name of the trust..”
 (Emphasis supllied) Exhibit 7, Bates Number LenSalas000023.

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        48. On February 24, 2012 Len sent an email to Max asking “Where are we on this?”
 Max’s response is “Still working on this...,,I am in Miami will be back soon.” Exhibit 7,
 Bates Number LenSalas000029.
        49. Max Salas testified that he is unaware that the attorneys he contacted in the D.C.
 area respecting the Trust’s ownership of the Property ever created a deed to convey the
 Property into the Trust. M Salas Trans. , Exhibit 10, 64:16 - 74:2. He further testified that he
 does not recall any further communications with counsel about the 1610 Riggs Place
 documents after February 27, 2012. M Salas Trans. 72:12-18. When asked whether he
 contacted the attorneys to determine if they had a copy of a deed for the Property, Max
 testified as follows:
        Q. Have you contacted Ms. Boileau or
        Mr. Goldstein to determine if they
        have a copy of any deed that might
        have been created?

        A. I did try to contact them. I
        did try to contact them actually
        recently. And I -- but I didn't -- I
        mean, they were trying -- they
        were -- no. I mean, we worked on
        something and then they said it couldn't go
        any further and depends on what you
        were going to do. So I don't -- I guess --
        I can't guess. I don't know.

  M Salas Trans. 73:13-23

        50. There was some confusion in the Salas family testimony concerning whether there

 was more than one original of the Quitclaim Deed and whether Len may have had an original.

 That issue seems to be cleared up by an email string provided by Max Salas as part of the

 discovery and trial in the Exemption dispute. Regardless, the Defendant has produced no

 evidence that anyone other than Max Salas had an original of the deed after July 6, 2010 and

 Max does not know where the original is or when he last had it. See, for example, M Salas


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 Trans., Exhibit 10, 77:2 - 82:23; Max speculated at the Exemption Hearing that the original of

 the Quitclaim Deed may be at the office of the title attorney, Stan Goldstein. Exemption Trans.

 Vol. 3, (August 24, 2018), Exhibit 6, 55:7 - 57:19. However, in his most recent testimony he

 testified that he recently contacted Mr. Goldstein’s office and was unable to obtain the Quitclaim

 Deed. See above, Exhibit 10, M Salas Trans. 73:13-23.

        51. In his testimony at the Exemption Hearing in August, 2018, Ron testified, under oath,

 that he assumed the Quitclaim Deed had been recorded. He stated, in August, 2018 that “my

 assumption was that they were, but as of today I knew they, I know now that they were not.”

 Testimony of Ron Salas, witness for the Debtor Max Salas, August 22, 2018, Exemption Trans.

 Vol 1, 211:7 - 212:14. Ron Salas’s complete testimony at the Exemption Hearing, Exemption

 Trans. Vol. 1, 206:8 - 246:16, is attached as Exhibit 12.

        52. Ron Salas further testified that he did not know why neither his father, his brother, his

 brother’s wife, or he did not think to produce the Quitclaim Deed during the Superior Court

 litigation. Based upon the 2011 email exchange between Ron Salas and his father, it is obvious

 that the Quitclaim Deed Ron prepared could not be recorded and was, likely defective. That is

 the only rational explanation for Ron stating to his father that a Deed needed to be prepared in

 2011, a year after Ron’s Quitclaim Deed. That is the only rational explanation for the continued

 efforts, through February, 2012 to obtain a Quitclaim Deed from Len. That is the only rational

 explanation for Ron, Len, Kendra (Len;s wife) and Max to conveniently forget about the

 Quitclaim Deed until the very eve of the Superior Court Trial, in February, 2018. Exemption

 Trans. Vol 3, 39:15-25.

        53.    The only deed referenced by Max or his counsel, allegedly entitling Max to an


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 ownership interest in the Property, is the 2010 Quitclaim Deed. No other deed has been

 proffered, or even mentioned by the Salas family or by Max, specifically.

        54. Unfortunately, it appears that Ron, his father and his brother hid the fact that the

 Quitclaim was defective, or otherwise unrecordable at the hearing in Max’s case in 2018.

        55. The Plaintiffs are unaware of the reason why the Quitclaim Deed was abandoned.

 However, there are clues. For example, in the Exemption Hearing in D.C., Ron Salas testified

 that he was unaware of the requirements of Quitclaim Deeds in D.C. See, Ron Salas’s testimony,

 Exhibit 12, 227:5 - 228:12. He stated that he was unaware that Deeds made to trusts had to be

 made in the name of the trustee. Id.   Even in 2018, Ron was unaware whether the trust

 documents he created were valid under D.C. law. See, Ron Salas’s testimony, Exhibit 12, 243:8-

        56. Max testified that he did not have the funds to record the deed. More importantly, it

 seems evident that he was unwilling to spend the money to record the deed. He spent hundreds

 of thousands of dollars from retirement savings and other funds in his bankruptcy, funds, at least

 a substantial portion of which, would have been available to Max if he wanted to record the Deed

 in 2010, or thereafter. See, for example, excerpts from Max Salas’ schedules of assets, filed

 April 18, 2018 in Case No. 18-00260, (D-1), attached hereto as Exhibit 9. See also M Salas

 Third Amended Plan, Complaint, Exhibit B, at p. 11, Section 4.1.

        57. No deed was recorded prior to Len’s bankruptcy filing. See Max’s Second Amended

 Disclosure Statement filed in his bankruptcy case in the District of Columbia, Case No. 18-

 00260, December 5, 2019, (D-276) , attached hereto as Exhibit 2, pp. 4, 22.

        58. Max testified in his deposition in the Superior Court case in February, 2016 that there

 was one trust, the CLR Trust. He confirmed that when he mentioned “the 1610 Salas Trust” he


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 was referring to the same trust, namely, the CLR Trust. Max Salas testimony at the Exemption

 Hearing, Exemption Trans. Vol 2, August 23, 2018 (“Exemption Trans. Vol. 2”), Exhibit 3,

 33:23 - 50:25, Max Salas Deposition in Superior Court Case, Case Nos. 2015 CA 8054 B and

 2015 CA 8061 B, Consolidated)(referred to herein as the “Superior Court Litigation’), February

 24, 2016 (“M Salas Sup Ct Depo”), 42:18 - 43:2. Excerpts from the M Salas Sup Ct Depo are

 attached hereto as Exhibit 1.

        59. Len Salas is not aware of the location of any of the wet ink signature originals of the

 July 2010 Quitclaim Deed (Transcript of the Deposition of Len Salas, August 27, 2021 (“L Salas

 Trans.”), Exhibit 13, 15:4-9. Len testified in his deposition that he provided an original“wet ink”

 original of the Quitclaim Deed, or a copy, to his lawyer on the eve of the Superior Court trial in

 March, 2018. L Salas Trans, Exhibit 13, 16:6-24, 19:11-25 - 21:18. Regardless, Len testified

 that the document he produced on the eve of the Superior Court trial, which commenced on

 March 26, 2018, was kept in his possession at all known times between July, 2010 and March,

 2018. Id. Len’s wife, Kendra, testified that she “had a pdf of it” (the July, 2010 Quitclaim Deed)

 and that she thought it was “the same as what Len had “ I thought it was the same thing as what

 Len had, but I’m not sure.” K Rowe Trans. , Exhibit 14, 30:13-20.

        60. At all relevant times Len’s liabilities exceeded his assets when the value of the

 Property is not included. The attempted transfer, or actual transfer, of the Property made Len

 insolvent.

        61. On July 6, 2010, the date of the alleged Quitclaim Deed, Len’s primary asset was the

 home at 1610 Riggs Place, the Property at issue here. His most substantial liability was his

 obligation to Sun Trust Bank in 2007 for which Len remained liable through October 2020. In


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 November, 2020 Sun Trust entered into a new agreement with Max Salas which eliminated Len’s

 obligation on the Property as part of Max’s Chapter 11 Plan. Therefore, on July 6, 2010, and at

 all times after, through October, 2020, Len’s most substantial liability, by far, except for the

 Plaintiffs’ judgments, consisted of his obligation to Sun Trust Bank.

         62. The obligation to Sun Trust Bank was $870,000 in 2007. No payments were made to

 reduce the principal owed to Sun Trust Bank through the date of Len’s Bankruptcy in April,

 2018.

         63. There were no agreements between Len and Max regarding responsibility for

 payment of the Sun Trust Note or any other obligations related to the Property. L Salas Trans.

 28:9 - 29:4; Exemption Trans. Vol I, Exhibit 20, 40:25 - 41:18. Max’s testimony at his most

 recent deposition in March, 2022 confirms that there was no note or other written document

 making Max primarily, or secondarily liable on the SunTrust Note:

 Q. Okay. Let's go to number 19,
 Mr. Salas. Request for admission in 19 asks you
 to admit or deny that Max Salas did not notify
 Sun Trust or the D.C. government that he was an
 obligor under the Sun Trust deed of trust. Your
 response was denied. Max Salas notified Sun
 Trust that he was obligated under the deed of
 trust. I read that correctly, didn't I?

 A. You read it correctly, yes, sir.

 Q. When you notified Sun Trust that you
 were obligated, did you sign a note?

 A. No. I didn't sign.

 Q. Did you sign a guaranty?

 A. Huh?

 Q. Did you sign a guaranty?

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 A. I was -- well, the loan was --
 actually it was a modification. It was a
 modification and a way to get -- to get
 Lenny's -- Lenny wanted the house off of his
 name, and I kept trying to do that. That's
 what happened. I don't blame him. I promised
 him I would do that right away back when he
 first did it. Well, I'm just going on too
 far. So I don't remember, sir.

 Q. Okay. I need to give you a timeframe
 here, so I apologize.
 Prior to your bankruptcy filing, okay,
 prior to your bankruptcy filing, did you notify
 Sun Trust that you were obligated under the deed
 of trust?

 A. I don't remember.

 Q. Did you ever provide, again, prior to
 your bankruptcy filing, did you ever provide Sun
 Trust with a note that you signed as an obligor
 under the deed of trust note?

 A. Same answer.

 Q. Do you have any documents that would
 indicate that you did sign such a note?

 A. I can't remember. You know, I don't
 know. It's just -- it's almost like -- I
 don't know. I don't remember.

 Q. Do you remember if you provided Sun
 Trust with a guaranty of the note obligation
 that Len was obligated for?

 A. Did I provide them a guaranty to
 what, sir?

 Q. Did you provide Sun Trust with a
 guaranty of the deed of trust note obligation?

 A. Did I provide Sun Trust a deed?

 Q. A guaranty.


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 A. A guaranty. You know, Mr. McNutt, I
 may have. I don't remember. I just can't
 remember right. It just doesn't -- it's not
 there.

 Q. If there was a note obligation or a
 guaranty, would those documents have been
 provided to the plaintiff's in this case?

 A. I don't know what -- if there was
 what would have happened. I don't know.

 Q. You haven't provided any documents
 related to a note obligation or a guaranty that
 you provided the Sun Trust Bank prior to your
 bankruptcy filing though, correct?

 A. That's not correct. I don't know
 what I've done. I don't know. I may have. I
 may have. Maybe I didn't. I don't know.

 Transcript of the Deposition of Max Salas on March 22, 2022 (“M Salas Depo Trans”), Exhibit 10, 85:5 -

 87:20.

          64. While the Defendant seems to be confused or perhaps reluctant to testify directly on this

 issue, it is undisputed that there are no documents indicating that Max was liable on the SunTrust loan at

 any time and Max never entered into any agreement or understanding with Len that Max was liable or

 responsible. Moreover, and most importantly there is no document raised, proffered or produced by Max

 indicating that Len was not the sole party responsible for the Deed of Trust payments until at least

 November, 2019.3


          3
          When U.S. Bank obtained assignment of the SunTrust Note, sometime in 2019, it did
 finally reach an agreement with Max for him to make the payments under the Deed of Trust from
 and after November, 2019. However, there is no indication in the agreement reached between
 Max and U.S. Bank that the SunTrust Deed of Trust Note has been canceled or is otherwise not
 in effect. Therefore, Len is still liable for the entire balance under the SunTrust Note which, as
 of September 29, 2019, was $1,208,720.40. See Max Salas Stipulation with U.S. Bank
 (Stipulation for Plan Treatment of First Lien Secured by Real Property at 1610 Riggs Place NW,
 Washington, DC 20009), filed in Case No. 18000260 (D-266-1) on November 20, 2019, attached

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        65. Len Salas was fairly straightforward in his testimony. However in response to the

 question whether Len executed more than one Quitclaim Deed, he not only couldn’t remember

 whether he signed any other document but answered “I don’t know” to the question “if you

 would have executed any other agreement [quitclaim deed], you would have kept a copy of it;

 correct?” L Salas Trans. Exhibit 13, 40:1-20. Regardless of Len’s faulty memory or evasiveness,

 it is clear from his testimony that he is not aware of any documents related to the alleged

 conveyance of the Property other than the trust and quitclaim deed both dated July 6, 2010.

        66. Len had several conversations with his father regarding getting his name off the loan

 and deed after 2010. L Salas Trans., Exhibit 10, 71:25 - 74:16; Exemption Trans.,Vol 1., Exhibit

 20,158:13 - 163:10; Deposition Transcript of the Deposition of Kendra Rowe Salas, August 27,

 2021 (“K Rowe Trans.”), Exhibit 14, 16:6-24.

        67. Max Salas confirmed in his testimony at the Exemption Hearing that Len was

 attempting to get Max to get Len “off of the deed to the property” shortly after the original deed

 to Len in 2007 and continuing all the way into 2018. Exemption Trans. Vol. 1,Exhibit 20,

 42:20 - 43:8. Later in his testimony Max claimed that Len only asked Max to take Len off the

 loan, not off the title asserting that “he’d already taken his name off the property” in 2010.

 Exemption Trans. Vol. 1, Exhibit 20, 44:1-10. That was just another misrepresentation,

 however. During Len’s deposition in the Superior Court litigation, Len testified in March, 2016,

 that the last time Len talked to his father about transferring ownership of the property, not the

 loan, out of Len’s name, was the spring of 2015, the year of the tragic fire that took the lives of

 Nina and Michael. See Exemption Trans. Vol. 1, Exhibit 20, 47:11 - 49:11. The emails


 hereto as Exhibit 15.

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 between Len and his father in the time frame of 2011 -2012, well after the July, 2010 Quitclaim

 Deed, confirm and corroborate Len’s testimony in his 2016 Deposition. See Exhibit 7.

        68. The emails of 2011 - 2012 among Ron, Len, Max and Max’s counsel, produced, for

 the first time, by Len in this litigation, show that Max’s statements are direct contradictions of his

 testimony in 2018 at the Exemption Hearing. Moreover, the testimony of both Ron and Max in

 2018 directly contradicts their email communications in 2011 and 2012. Their testimony in 2018

 was under oath and was used to try to support Max’s claim that he was the owner of the Property

 in April, 2018 for purposes of his exemption claim. Now that testimony appears to be largely, if

 not completely, fabricated for the sole purpose of advancing the false claim that there was an

 effective Deed after 2010. See emails between and among Max, Ron, Len, Stan Goldstein and

 Lynn Boileau, between June 17, 2011 and February 27, 2012, Exhibit 7.

        69. The Sun Trust Note was in default during the period 2010 - 2018. L Salas Trans.,

 Exhibit 13, 55:11-20.

        70. Len Salas was involved in more than one attempt to refinance the Property in the

 time frame of 2010 through 2013 and all such attempts failed. L Salas Trans. 83:23 - 84:4. The

 clear inference from Len’s emails to/from his father and the refinancing attempts is that Len was

 the recognized owner of the Property and was, therefore, necessary for any refinancing.

 Therefore, again, Despite the existence, in July, 2010 of a Quitclaim Deed, that deed was not

 recorded, likely could not be recorded, and was abandoned by Max and Len. See, for example,

 Ron’s email of June 17, 2011, Bates Nos., LenSalas000016-17,attached hereto as part of Exhibit

 7.

        71. Len did not have sufficient funds to pay his attorneys in the Superior Court litigation.


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 He lives “paycheck to paycheck.” L Salas Trans. Exhibit 13,76:20 - 77:2

        72. At the time of his bankruptcy filing in April, 2018, Len was obligated for all

 payments due on the Sun Trust Note, as well as the judgments, totaling $15.2 Million, owed to

 the Plaintiffs. L Salas Trans., Exhibit 13, 61:1 - 63:2.

        73. Len’s brother, Ron, paid for Len’s bankruptcy proceedings and the retention of

 counsel for the appeal of the Superior Court litigation. Disclosure of Compensation of Attorney

 for Debtor, April 18, 2018 (D-1) p. 46 of 56; Motion of Debtor in Possession to Employ Michael

 C. Forster and Forster Law Firm as Special Counsel, April 27, 2018, D-10, at page 3 of 10.

        74. During the Superior Court litigation which ended with the 4 day trial held in late

 March and early April, 2018, Max paid certain expenses and legal fees owed by Len Salas

 because Len could not afford them. See, for example, Max Salas Statement of Financial Affairs,

 filed in his bankruptcy case, No. 18-00260 in the United States Bankruptcy Court for the District

 of Columbia on May 2, 2018 (D-13) (“M Salas SOFA”), p. 5 of 10, attached hereto as Exhibit

 16.

        75. On his bankruptcy schedules filed herein on April 18, 2018 (D-1), Len Salas lists

 total assets of $53,373.38 and total liabilities of $16,107,795.41. Len Salas Schedules of Assets

 and Liabilities, filed on April 18, 2018 in Case No. 18-2662, (D-1) pp. 12-36.

        76. Other than the 1611 Riggs Place Trust executed on July 6, 2010, the only family

 related trust of which Len is aware is the “CLR Trust.” Exemption Trans. Vol 1, Exhibit 20,

 148:1 - 152:24. In Len’s Deposition Testimony in the Superior Court Litigation, Len testified, on

 March 9, 2016, that he had no knowledge of “the 1610 Salas Trust” asserted by his father but he

 did know about “CLR Trust”, “A. Yes, that one I know.” Len Salas Deposition Testimony,


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 March 9, 2016 in the Superior Court Litigation, attached as Exhibit 11, 29:14 - 30:14

        77. Max told Len that he deposited the rent checks into “this account for 1610 [Salas

 Trust]. Exemption Trans., Vol 1, Exhibit 20, 149:2 - 150:21.

        78. The fire occurred in June, 2015. From that time, until February or March, 2018, no

 one resided in the Property. During that time, and continuing after Max’s Bankruptcy filing until

 November, 2019, no payments were made on the Sun Trust Deed of Trust Note (“the Sun Trust

 Note”) with the exception of one payment of made by Max from the insurance proceeds he

 received as a result of the fire damage.

        79. Although Max claims he was the sole party responsible for all payments on the Sun

 Trust Loan, and made all loan payments, no payments have been made since prior to 2018 (with

 the exception of one payment from insurance proceeds) and the current balance was increasing at

 the rate of approximately $7770 month as of October, 2019. Sun Trust sold its Note, in 2019, to

 U.S. Bank National Association/Select Portfolio Servicing, Inc. (“U.S. Bank”). Pursuant to an

 agreement reached with U.S. Bank, Max is required to make monthly payments of approximately

 $8,300. Upon information and belief, Max has been making the required payments since

 approximately November, 2019. See, Exhibit B, Confirmed Plan, p. 8, ¶ 3.3.

        80. Through October, 2019, Len remained solely responsible under the SunTrust Note,

 although Max asserts he was responsible and “made all payments.” However, according to the

 SunTrust Motion for Relief from Stay, filed in Case No. 18-2662 on November 2, 2018, the

 arrearage owed to SunTrust under the Note, as of April, 2018 was $374,282.18. As the sole

 obligor on the Note, Len was responsible for payment of the arrearage.

        81. On the effective date of the attempted transfer of the Property from Len to Max,


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 April 17, 2018, Len’s assets were approximately $53,000 plus the value of the Property. Len’s

 liabilities at the same time included the Plaintiffs’ Judgments, attorney fees owed ot his litigation

 counsel for the Superior Court Litigation, the SunTrust arrearage, the SunTrust Note balance of

 at least $1.03 Million and some taxes and credit card obligations.

           82. On the effective date of the attempted transfer, Len was required to pay the credit

 cards, taxes, attorney fees, SunTrust arrearage and the Plaintiffs’ Judgments.



           B.     Facts Related to the Plaintiffs’ Acquisition of the Trustee’s Avoiding and
                  Recovery Actions

           83. The Court held a hearing on the Trustee’s Motion to sell in June, 2019. Mr. Young,

 counsel for the Defendant, appeared at the hearing representing Mr. Ron Salas and the

 Defendant. Mr. Young had entered his appearance in this case on behalf of the Defendant. At all

 relevant times, Mr. Young represented both Ron Salas and the Defendant. Mr. Young

 represented his clients’ support for the sale at the Court hearing.

           84. After the hearing in June, 2019, this Court entered an order on June 12, 2019

 authorizing the sale and also setting forth the bidding and sale procedures which the Trustee

 followed. The Defendant supported the sale and requested that the Court authorize the sale,

 which it did pursuant to its order of June 12, 2019 (D- 179) (“the Sale Order”).

           85. Thereafter, in accordance with the Sale Order, the Trustee conducted an auction sale.

 The sale took place on July 23, 2019. At the end of the auction, the Plaintiffs were the successful

 bidders. The Trustee’s Report of Sale was filed herein on August 14, 2019 (D-191) (“Report of

 Sale”).



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        86. The Defendant filed no objections or opposition to the proposed sale, this Court’s

 Order of June 12, 2019, or the Report of Sale.

        87. No party appealed the Sale Order and no party sought any additional review or

 modification of that Order, the Report of Sale or the accompanying Bill of Sale (D-191, pp. 3-4).

        88. In the Defendant’s confirmed Plan of Reorganization in his Chapter 11 bankruptcy in

 the United States Bankruptcy Court for the District of Columbia, Case No. 18-00260 (“the D.C.

 Bankruptcy”), filed simultaneously with this case, the Defendant acknowledges that the Plaintiffs

 were the successful bidders for the Trustee’s avoidance and recovery actions. Although the

 Defendant’s Plan and court approved Disclosure Statement specifically state that the Defendant

 has reserved all defenses and objections to the subject avoidance and recovery actions, at no time

 did the Defendant assert that the Plaintiffs were not the rightful owners of the causes of action set

 forth in this Complaint or lacked standing to pursue those causes of action. In fact, the

 Defendant’s approved Disclosure Statement (the D.C. Bankruptcy, Case No. Docket No. 276) the

 Defendant states specifically that “...[the Plaintiffs] possess the right to prosecute the Tennessee

 Avoidance Actions regarding the Property purchased from the Len Salas Bankruptcy Case.” See,

 M Salas Second Amended Disclosure Statement, Exhibit 2, at p. 17. The Plaintiffs reached

 agreement with the Defendant to withdraw their objections to the Defendant’s proposed plan of

 reorganization based upon the representations made in the Disclosure Statement and proposed

 Plan of Reorganization, including the representation that the Plaintiffs were the rightful owners

 of the causes of action which form the bulk of this Complaint.

        89. The Defendant filed his proposed Chapter 11 Plan of Reorganization on August 1,

 2019. In response to objections and events unrelated to this Complaint, the Debtor filed an


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 Amended Disclosure Statement and Plan, followed by a Third Amended Plan, which was

 eventually confirmed by the D.C. bankruptcy court. The Defendant’s disclosure statements and

 proposed plans specifically referenced the sale of the avoidance actions at issue here, but did not

 raise any objections or deficiencies regarding the sale. While the Defendant reserved his right to

 defend the prospective avoidance actions, he did not raise any issues regarding the Plaintiffs

 rightful ownership of those actions. See above discussion.

          C.     Plaintiffs’ List of Uncontested Facts

          90. In accordance with the local rules of this Court, the Plaintiffs have attached to this

 Memorandum a List of Undisputed Facts which support the Plaintiffs’ Motion, along with

 citations to the documents, pleadings, filings, depositions and testimony which support those

 Facts.

 IV.      ARGUMENT

          A.     The Plaintiffs are Entitled to Summary Judgment in Accordance with
                 Fed. R. Civ. P. 56

          91. Summary Judgment in bankruptcy cases, adversary proceedings and contested

 matters, is governed by Fed. R. Civ. P. (“FRCP”) 56 which is incorporated into this adversary

 proceeding pursuant to Fed. R. Bankr. P. 7056 (with only minor changes)(unless stated

 specifically to the contrary, all references to summary judgment rules wqill refere to the

 language of FRCP 56.

          92. This court should grant summary judgment to the Plaintiffs if the record before

 the court is sufficient to show that there is no genuine dispute as to any material fact and the

 Plaintiffs are entitled to judgment as a matter of law. Beard v. Banks, 548 U.S. 521, 529


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 (2006). Rule 56 mandates the entry of summary judgment, after adequate time for discovery,

 against a party who fails to make a showing sufficient to establish the existence of an element

 essential to that party’s defense. Id.; Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

         93. In order to obtain summary judgment the Plaintiffs’ burden is to show the absence

 of a genuine, material dispute and an entitlement to judgment under applicable law. Id., at

 323.

         94. Because this case is not a jury trial, most of the facts of the case are accepted and

 not disputed and judgment is based upon the specific language of the Bankruptcy Code and

 D.C. Code, the Plaintiffs, the facts to establish entitlement are straightforward. Furthermore,

 entitlement to a judgment at this stage, after completion of discovery, is governed by long

 standing statutory provisions that are the subject of significant court review and approval.

 Nevertheless, the Plaintiffs are required in this Motion to show that the evidence is not

 subject to different interpretations or inferences by the trier of fact. Hunt v. Cromartie, 526

 U.S. 541, 553 (1999). See also, Limor v. Anderson (In re Scarbrough) , 2019 Bankr. LEXIS

 933 (BAP 6th Cir. 2019) in which the 6th Circuit’s Bankruptcy Appellate Panel explained:

         perhaps a better way to describe the summary judgment analysis in bankruptcy
         proceedings is to say that when the moving party bears the burden of proof at trial,
         she must make a prima facie case strong enough to justify depriving the other
         party of her day in court. Depending on who bears the burden of proof on a
         material issue, the moving party can make this showing by using deposition
         testimony and affidavits; offering documentary evidence that would be admissible
         at trial; and/or pointing the court to facts in the record that otherwise preclude
         judgment for the non-moving party.

 Id. at *4.

         95. A genuine dispute exists, such that the Plaintiffs Motion should be denied, only when


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 a rational fact finder, considered the evidence in the summary judgment record could find in

 favor of the non-moving party. Ricci v. DeStefano, 557 U.S. 557, 586 (2009); Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242 , 247-252 (1986).

         96. A genuine dispute is not created by a mere scintilla of evidence or evidence which is

 only “colorable’ or insufficiently probative. Id. Additionally, summary judgment will not be

 defeated if the claim or defense asserted by the non-moving party is based upon a factual scenario

 that is plainly contradicted by the summary judgment record. Scott v. Harris, 550 U.S. 272, 280

 (2007); Coble v. City of White House, 634 F.3d 865, 868-9 (6th Cir. 2011) (the principle declared

 in Scott, that is, that the court need not credit “visible fiction”, applies to all types of objectively

 conflicting evidence).

         97. According to the 6th Circuit, in Coble, construing the facts on summary judgment in

 the light most favorable to the non-moving party usually means adopting the plaintiff's version of

 the facts. Id., at 868, citing Scott, 550 U.S. at 378. However, as the 6th Circuit acknowledged, the

 Supreme Court clarified in Scott that facts must be viewed in the light most favorable to the non-

 moving party "only if there is a 'genuine' dispute as to those facts." Coble, supra, citing Scott,

 550 U.S. at 380(quoting Fed. R. Civ. P. 56(c)).

         98. In the context of a motion for summary judgment courts should not accept that which

 is so utterly discredited by the record that no reasonable trier of fact could have believed it.

 United States v. Hughes, 606 F.3d 311, 319 (6th Cir.2010)(quoting Scott, 550 U.S. at 379-

 81)(cited and quoted in Coble, 634 F.3d, at 868.

         99. In a trio of summary judgment cases all decided in 1986, the Supreme Court put its

 stamp of approval on summary judgment motions as a means to eliminate unnecessary trials.


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        The Supreme Court has analogized a motion for summary judgment to a motion
        for directed verdict, because both remove the trial of factual questions from the
        finder of fact. If the movant under Rule 56 presents evidence that, if not
        controverted at trial, would entitle the movant to a Rule 50 judgment as a matter
        of law, that evidence must be accepted as true in a summary judgment motion,
        when the party opposing the motion does not offer counter-affidavits or other
        evidentiary material showing that a genuine issue remains to be tried, or that she is
        unable to present facts justifying opposition to the motion under Rule 56(d).
        Celotex, 477 U.S. at 323, 106 S. Ct. at 2552; Liberty Lobby, 477 U.S. at 250, 106
        S. Ct. at 2511 (standard for granting summary judgment mirrors the standard for a
        directed verdict under Fed. R. Civ. P. 50(a)).

 Limor, supra, 2019 Bankr. LEXIS 933, at *5.

        100. The Plaintiffs assert that they are entitled to Summary Judgment on Counts I, II, IV,

 V, and VI of the Complaint because the Plaintiffs claims fit squarely with the language of 11

 U.S.C. §§ 544 (a) and 548(a)(1)(A) and (B) and D.C. Code §§ 28-3104 and 28-3105 and there

 are no disputed material facts, within the meaning of Rule 56, which would create a genuine, or

 colorable issue preventing judgment at this time.

        B.      The Plaintiffs Have Standing to Pursue The Causes of Action Stated in the
                Complaint


        101. Pursuant to the confirmed Plan in Max’s case, which specifically recognizes the

 Plaintiffs’ standing to pursue the Complaint’s causes of action for the benefit of Len’s

 bankruptcy estate, and the Trustee’s sale of his avoidance and recovery actions to the Plaintiffs in

 Case No. 18-2662, as confirmed by this court, the Plaintiffs the owners of the recovery and

 avoidance claims set forth in this Complaint and have standing to pursue those claims. See

 Jefferson County Bd. Of County Comm’rs v. Voinovich (In re V Cos.), 292 B.R. 290, 294, 298

 (B.A.P. 6th Cir. 2003) (following Canadian Pac. Forest Prods. v. J.D. Irving, Ltd. (In re

 Gibson Group), 66 F.3d 1436, 1438 (6th Cir. 1995).


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        C.      The Plaintiffs are Entitled to Recovery under Count IV of Their Complaint
                (Fraudulent Conveyance Under 11 U.SC. § 548)

        102. The purpose of avoidance of preferential transfers under 11 USCS § 547 and

 fraudulent transfers under 11 USCS § 548 is to prevent a debtor from diminishing, to the

 detriment of some or all of his creditors, funds or property that would, except for the transfer, be

 generally available for distribution to creditors. Consequently, any funds or property under the

 control of the debtor, regardless of source, are deemed property of debtor and cannot be

 transferred if such transfer diminishes the estate. In re Chase & Sanborn Corp., Bankr. L. Rep.

 (CCH) ¶ 1753, 813 F.2d 1177 (11th Cir. 1987).

        103. Purpose of statute is to recover for estate assets that could be distributed to

 unsecured creditors, equity secured creditors, or to debtor as exempt property, and to rectify

 prepetition depletion of debtor’s estate. Ryker v. Current (In re Ryker), 272 B.R. 602, Bankr. L.

 Rep. (CCH) P78605, (Bankr. D.N.J. 2002), rev'd, remanded, 301 B.R. 156, 2003 U.S. Dist.

 LEXIS 20515 (D.N.J. 2003).

                1. Actual Fraud - 548 (a)(1)(A)

        104.    The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

 because it was made with the actual intent to defraud creditors and potential creditors of Len

 Salas, including Sun Trust Bank, the Plaintiffs and the other creditors of the bankruptcy estate of

 Len Salas by transferring the Property to Max without permission and by fabricating the facts and

 circumstances of the alleged Quitclaim .

        105. The Defendant and the Debtor executed a Trust and Quitclaim Deed in July, 2010 at

 the Colorado office of Ron Salas, the Debtor’s brother and the Defendant’s son. Ron was a



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 fledging Colorado attorney at the time who, by his own admission, had limited knowledge of

 trusts and no knowledge about creating an effective trust or deed to property in the District of

 Columbia. He confirmed as much in his deposition on August 10, 2018 (Exhibit 8) and his

 testimony at the Exemption Hearing in August, 2018 in Case No. 18-260 (Exhibits 6 and 20).

        106. The purpose of the Deed was to “remove Len” from the title to the Property. The

 Deed was never recorded and the location of the original deed is unknown.

        107. In 2011, by virtue of emails addressed from Ron to the defendant and the debtor,

 and addressed from Max to his real estate attorneys at the time (Exhibit 7), it is clear that Len and

 Max had long since abandoned the Quitclaim Deed. Ron’s direction to Max to have a D.C.

 attorney prepare a deed show that the deed Ron created must not have been defective and could

 not be recorded.

        108. From 2011 through 2017 Len continually asked Max to remove him (Len) from the

 title to the Property, a clear indication that the deed was ineffective and not recordable.

        109. In October, 2015, Max and Len were sued in the D.C. Superior Court by the

 Plaintiffs for damages resulted from the gross negligene of Len and Max and the horrific deaths

 of Nina Brekelmans and Michael McLoughlin from a fire at the Property in June, 2015.

        110. In October, 2015, Len, Max, Ron and Len’s wife, Kendra, all knew that the only

 reason Len was sued was because his name remained on the title to the Property. They also knew

 that if Len could be proven not to be the owner of the Property he could be dismissed from the

 lawsuit.

        111. Ron Salas testified in 2018 that he knew that the July, 2010 Deed could not have

 been recorded because Len was named a defendant in the lawsuit. He testified as if the Deed was


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 still in effect even though he knew it was not valid, could not have been recorded and no longer

 existed.

         112. The Superior Court case eventually went to trial in late March, 2018. In early April,

 2018 the Plaintiffs obtained their judgments.

         113. From October, 2015 until February, 2018, a month before the Superior Court trial

 was to begin, none of the Salas’ produced an original or copy of the Quitclaim Deed.

         114. Max had the only original of the Deed. He testified that he gave the original to his

 real estate counsel and was not sure if he ever got it back. Based upon the communications

 among the Salas’s and Max’s counsel in 2011 and 2012 it appears certain that the Deed was left

 at the offices of Max’s counsel and likely thrown out as useless. Regardless, Max did not retain

 the original or, if he did, it may have been destroyed in the fire. It is likely that Max’s real estate

 attorney knows the answer.

         115. By late 2017, with the trial looming, it was obvious to Len and Max that they were

 facing substantial judgments from the Superior Court Litigation. Still no one produced the Deed

 or a copy.

         116. It was only after Max learned from his bankruptcy counsel, just weeks before trial,

 that the long lost deed could give him an opportunity to exempt the Property from the judgments

 he was facing. Max and Len learned that Len could not exempt the Property because he was not

 residing in the Property which meant if Max could somehow be deemed the owner, then he could

 exempt the Property under D.C.’s very generous homestead exemption. D.C. Code § 15-

 501(a)(14).

         117. Armed with the knowledge of what they needed to do, from Max’s bankruptcy


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 counsel, Ron, Len and Max concocted the scheme whereby they would now claim they forgot

 about the deed for all these years and magically produced it so that Max could claim the

 exemption he eventually got under, to say the least, false pretenses.

        118. The schemers involved in this fraud include, at a minimum, Len, Max and Ron.

        119. The purpose of the fraud was to transfer the Property from non-exempt to exempt

 status to thwart the Plaintiffs’ collection of their judgments.

        120. The fraud scheme was developed and initiated in or about February, 2018 and

 continues to this day.

        121. In February, 2018 Len (and Max) was facing a substantial judgment. On the

 effective date of the transfer, April 17, 2018, Len (and Max) owed more than $15 Million to

 creditors including Len’s attorneys, the IRS and the Plaintiffs.

                2.        Fraudulent Conveyance - § 548 (a)(1)(B)

        122. The transfer of July, 2010 was a fraudulent conveyance pursuant to Code § 548

 because, by transferring the only major asset of Len to his father, the transfer was likely to, and

 did, make Len insolvent and unable to pay his mortgage obligations to Sun Trust Bank.

 Moreover, at the time of the transfer, and at all times from 2007 through 2018, Max gave no

 consideration, made no payments and gave or transferred no property to Len. Max has produced

 no evidence of consideration for the transfer and Len has testified repeatedly, that Max gave Len

 no money or property of value at any time from 2007 through 2018.

        123. In addition, at the time of the transfer under 548(d)(1), April 17, 2018, Len was

 clearly insolvent since he was unable to pay his attorneys and the IRS, among other creditors, and

 he had a recent unsatisfied judgment recorded against him totaling in excess of $15 Million.


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        124. Len received no compensation or property of value and gave up property worth in

 excess of $2 Million while remaining solely obligated on a Deed of Trust Note to Sun Trust bank

 that was in default at the time of the alleged transfer. The arrearage alone, on the SunTrust Note

 was more than $374,000.

        125. The transfer of the Property in 2010 by Quitclaim Deed was made after two years

 prior to Max’s Bankruptcy because pursuant to Code § 548 (d)(1) the transfer of real property is

 deemed perfected when the deed is recorded or, if not recorded prior to the bankruptcy filing, the

 date immediately prior to the bankruptcy filing, namely April 18, 2018. Therefore, the effective

 date of the transfer is April 17, 2018.

        The trustee may avoid any transfer (including any transfer to or for the
        benefit of an insider under an employment contract) of an interest of the
        debtor in property, or any obligation (including any obligation to or for the
        benefit of an insider under an employment contract) incurred by the debtor,
        that was made or incurred on or within 2 years before the date of the filing
        of the petition.

 §548 (A)(1).

        126. Section 548(d)(l) also provides:

        For purposes of this section, a transfer is made when such transfer is so
        perfected that a bona fide purchaser from the debtor against whom applicable
        law permits such transfer to be perfected cannot acquire an interest in the
        property transferred that is superior to the interest in such property of the
        transferee, but if such transfer is not so perfected before the commencement of
        the case, such transfer is made immediately before the date of the filing of the
        petition.

 Accordingly, for purposes of 11 U.S.C. § 548, the transfer date would be April 1 7, 2018,

 because the Quitclaim Deed was not recorded at the time of Len’s bankruptcy filing..

        127. A transfer under Code §548 (a)(1)(B)(2) if:


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                       2. The debtor received less than a reasonably equivalent value in
                       exchange for such transfer or obligation; and

                              a. The Debtor was insolvent at the time of the transfer; or

                              b. the Debtor became insolvent as a result of such transfer or
                              obligation; or

                              c. the Debtor intended to incur, or believed that the Debtor
                              would incur, debts that would be beyond the Debtor’s ability to
                              pay as such Debts matured.

        128. The Plaintiffs assert that there is no dispute regarding any facts relevant to the

 Plaintiffs ability to recover the Property as a fraudulent conveyance under the provisions of

 11 U.S.C. §548 (a)(1)(B)(2) and the documents and testimony of the Salas family members

 confirm that the “transfer” of the Property pursuant to the Quitclaim Deed was a fraudulent

 conveyance based upon the following:

              a. The Salas family members hid the emails and communications between and
 among Ron, Len, Max, and the Goldstein firm (Stan Goldstein and Lynn Boileau), during the
 period 2011-2012 which clearly shows that the Quitclaim Deed was abandoned by Max and
 Len; and

                b. Both Len and Max testified that Len was attempting to get his name off the
 Property, not the loan, in the period after 2010 at least through the year of the tragic fire at
 the Property (2015); and

                c. None of the Salas family members could confirm the existence, or identify
 the location of the original Quitclaim Deed after 2012; and

               d. The 1610 Riggs Place Trust filed no tax returns for any period; and

                e. Len testified that Max made no payments to Len at the time of the alleged
 transfer in 2010; and

               f. Max made no payments of any kind related to the Propery to Len in or after
 2007; and

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              g. Max gave no consideration of a non-monetary kind to Len, at any time,
 2007 through 2018; and

                 h. The obligation under the Sun Trust Deed of Trust increased from $870,000
 in 2007 to at least $1,030,825.85 as of the filing of Max Salas’s bankruptcy case on April 18,
 2018. See Max Salas Schedules A/B-J, May 2, 2018 (D-12) Case No. 18-00260, United
 States Bankruptcy Court for the District of Columbia. A copy of the Schedules page (p. 19
 of 37) of Docket Entry 12 is attached hereto as Exhibit 18. According to a Stipulation filed
 by the Defendant/Debtor and U.S. Bank (successor in interest to SunTrust) the balance of the
 Sun Trust Deed of Trust as of September 29, 2019 was $1,208,720.40. See Stipulation filed
 on November 20, 2019 (D-266-1) in Max Salas’ bankruptcy, a copy of which is attached
 hereto as Exhibit 15; and

               i. The Property represented, by far, the only major asset owned by Len; and

                j. When the Property was transferred on April 17, 2018, Len was still
 obligated on the SunTrust loan for at least $1,030,825.85; and

              k. When the Property was transferred, Len was obligated to the Estates in the
 amount of $15.2 Million, plus interest; and

               l. According to Len’s schedules his assets as of April 18 2018 totaled
 $53,373.38. His liabilities totaled $16,307,795.41. Len Salas Schedules, Case No. 18-
 002662 in the United States Bankruptcy Court for the Middle District of Tennessee, (D-1), p.
 12 of 56; and

        127. In an analogous case, Rameker v. Peterson (In re Associated Enters., Inc), 234

 B.R. 718, the Wisconsin bankrupt court held that an attempted transfer of real estate into a

 defective trust was a fraudulent conveyance recoverable for the benefit of the debtor’s estate.

 The court entered judgment in favor of the bankruptcy trustee finding:

        Because the trust fails, so does this argument. The transfers were made to an
        insider within one year before the petition was filed. The defendant is the
        president of the debtor corporation and a consummate insider. All relevant
        transfers took place in 1998 and the petition was filed in October 1998. The
        debtor was insolvent at the time of the transfers or the transfers caused the
        debtor to become insolvent. The debtor's bankruptcy schedules list total assets
        of about $ 14,000 and liabilities of almost $ 23,000 less than six months after
        the transfers took place. Finally, the debtor received no consideration for the

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        transfers. This is obviously less than reasonably equivalent value.

 Rameker v. Peterson (In re Associated Enters., Inc.), 234 B.R. 718, 724 (Bankr. W.D. Wis.

 1999). Although the trust at issue here is defective for a different reason, it was, nonetheless,

 a defective trust, void ab initio, as in Rameker. Additionally, as here, in Rameker found that

 the debtor’s liabilities exceeded its assets at the time of the transfer determining that the

 debtor was either insolvent at the time of the transfer or the transfer caused the debtor to

 become insolvent. The debtor, in Rameker, received no consideration for the transfer and

 neither did Len. And, finally, no deed of any kind was recorded to effect the attempted

 transfer.

        128. In another case similar to this one, the bankruptcy court for the Middle District of

 Florida determined that the trustee could avoid, pursuant to 11 U.S.C.S. § 548, a transfer of real

 property which the Debtor deeded to her former husband and son and to recover the property for

 the benefit of the estate. The court found that the initial transfer of debtor's real property took

 place on the date that the deed was recorded, which was less than one year before the petition

 date (the limitations period prior to 2005). In addition, debtor was insolvent at the time of the

 initial transfer and the initial transfer was made without consideration. It was undisputed that

 debtor was not residing on the property at the time of the initial or subsequent transfers, and

 could not have claimed the property as her homestead. Thus, the necessary statutory elements

 were established and the transfers were subject to avoidance by the bankruptcy trustee under 11

 U.S.C.S. § 548(a)(2).

 Cohen v. Bellamy (In re Shannis), 237 B.R. 862, 862 (Bankr. M.D. Fla. 1999).

        129. In its decision, the Shannis court noted that, “other then the effective date of the

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 transfer, the facts are not in dispute.” Id. Here, the material facts are not in dispute, except the

 effective date of the transfer (the Defendant continues to assert the transfer took place in July,

 2010). Max has consistently testified that he was the party responsible for paying the SunTrust

 loan, from 2007 through the commencement of Max’s bankruptcy case. He paid no

 consideration for the original SunTrust loan of 2007 and the loan balance increased from 2007 to

 September, 2019 by more than $300,000. The Quitclaim Deed was not recorded as of the

 commencement of Max’s bankruptcy case on April 18, 2018. Len was insolvent on April 18,

 2018 and the Property was Len’s only asset of more than a few thousand dollars. During the

 period 2010 through 2018, Len’s income was limited and he was unable to pay his obligation

 including the SunTrust Mortgage during that time.

        130. Applicable Florida law appears to be more restrictive than D.C. law regarding the

 rights of a subsequent purchaser for value. See, Fla. Stat. § 695.01. Cohen v. Bellamy (In re

 Shannis), 229 B.R. 234, 237 (Bankr. M.D.Fla. 1999)( depends upon interpretation of Florida’s

 provision which states “without notice”). However, under the analogous (to this case) facts of the

 Shannis decisions above, the court determined that the trustee can avoid the attempted transfer to

 relatives since that transfer occurred within 1 year (under pre-2005 language of § 548 (a)) even

 though the date of the deed was more than one year prior to the bankruptcy because the deed was

 not recorded until the period within one year of the bankruptcy filing.

        131. Standard of proof required under 11 USCS § 548 is preponderance of evidence.

 Dahar v. Jackson (In re Jackson), 2004 BNH 26, 318 B.R. 5, 2004 Bankr. LEXIS 1917 (Bankr.

 D.N.H. 2004). By that standard, the record in this case and the plain language of the statute, §

 548(a)(1)(B) the Plaintiffs are entitled to summary judgment under Count IV of the Complaint.


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        D.      The Plaintiffs are Entitled to Recover Under Count V of Their Complaint
                (Fraudulent Conveyance Under D.C. Law)

        132. The Plaintiffs, as the holders of the rights and claims of the Trustee, may avoid any

 transfer that is voidable under applicable law pursuant to Code § 544 (b) (1).

        133. Under the law of the District of Columbia, the transfer of the Property alleged

 herein, is a fraudulent conveyance because the transfer was performed with fraudulent intent as to

 existing creditors, such as the IRS, other taxing authorities, Sun Trust Bank, and others,

 including the Plaintiffs, and was made for less than reasonably equivalent value, all as

 specifically prohibited by D.C. Code § 28-3104, et seq.

        134. A transfer made is fraudulent as to a creditor whose claim arose before the transfer

 was made if the transfer was made to an insider for an antecedent debt, the debtor was insolvent

 at that time, and the insider had reasonable cause to believe that the debtor was insolvent. D.C.

 Code § 28-3105.

        135. Here the transfer was to the Debtor’s father on the eve of bankruptcy less than two

 weeks after the entry of judgments against the Debtor in an amount in excess of $15,000,000.

 Moreover, the Defendant not only knew Len could not pay the judgment balances, he also knew

 that the Debtor was unable to pay his attorneys in the Superior Court case. The Defendant’s

 bankruptcy schedules show a payment of $2,000 from Max to Len’s attorneys prior to the

 Defendant’s bankruptcy filing.

        136. A transfer made, or obligation incurred, by a debtor is fraudulent as to a creditor

 whose claim arose before the transfer was made or the obligation was incurred if the debtor made

 the transfer or incurred the obligation without receiving a reasonably equivalent value in



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 exchange for the transfer or obligation and the debtor was insolvent at that time or the debtor

 became insolvent as a result of the transfer or obligation.

           In the District of Columbia, a transfer of real property is made:
           (A) With respect to an asset that is real property other than a fixture, including the
           interest of a seller or purchaser under a contract for the sale of the asset, when the
           transfer is so far perfected that a good-faith purchaser of the asset from the debtor
           against whom applicable law permits the transfer to be perfected cannot acquire
           an interest in the asset that is superior to the interest of the transferee.


 D.C. Code § 28-3106. Therefore, under D.C. law the alleged 2010 transfer, even if this Court

 determines that the Quitclaim Deed is valid, was not perfected at the time of Max’s bankruptcy

 filing and is recoverable under D.C. law.

           137. In an action for relief against a transfer or obligation under D.C. law, a creditor may

 obtain:

                  (1) Avoidance of the transfer or obligation to the extent necessary
                  to satisfy the creditor’s claim;

                  (2) An attachment or other provisional remedy against the asset transferred
                  or other property of the transferee...;

                  (3) Subject to applicable principles of equity and in accordance
                  with applicable rules of civil procedure:

                          (A) An injunction against further disposition by the
                          debtor or a transferee, or both, of the asset
                          transferred or of other property;

                          (B) Appointment of a receiver to take charge of the
                          asset transferred or of other property of the
                          transferee; or

                          (C) Any other relief the circumstances may require.

 D.C. Code § 28-3107



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         138. The date of transfer according to the law in the District of Columbia, for purposes of

  creditors and bona fide purchasers without notice, is the date the deed is recorded, in this case,

 no earlier than April 17, 2018.

         Any deed conveying real property in the District, or interest therein, or declaring
         or limiting any use or trust thereof, executed and acknowledged and certified as
         provided in §§ 42-101, 42-121 to 42-123 [repealed],42-306, and 42-602 and
         delivered to the person in whose favor the same is executed, shall be held to take
         effect from the date of the delivery thereof, except that as to creditors and
         subsequent bona fide purchasers and mortgagees without notice of said deed, and
         others interested in said property, it shall only take effect from the time of its
         delivery to the Recorder of Deeds for record.

 D.C. Code §42-401. Sovran Bank v. United States (In re: Aumiller), 168 B.R. 811 (Bankr.

 D.D.C. 1994).

         139. As this court has already noted, because the underlying state law avoidance

 claim was not time-barred as of the commencement of Len Salas' case, this claim could

 have been brought by the Trustee provided the complaint was filed within the time periods

 prescribed in 11 U.S.C. § 546(a). See UMB Bank , N.A. v. Sun Capital Partners V, LP (In

 re LSC Wind Down, LLC), 610 B.R. 779, 785 (Bankr. D. Del. 2020). (If "underlying state

 law avoidance claim is not time-barred as of the commencement of a bankruptcy case, a

 section 544(b)(l) claim may be brought provided that it is commenced within the time periods

 prescribed by section 546(a)."); Tabor v. Davis, No. 05-15794-L, 2016 WL 11696269, at *13

 (Bankr. W.D. Tenn. June 15, 2016) ("The reachback period for avoiding fraudulent transfers

 that could have been avoided by a creditor but for the filing of a bankruptcy case is measured

 from the entry of the order for relief.").

         140. All of the arguments set forth in the section on recovery under §548(a)(1)(B)(2),


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 particularly those involving the circumstances of the transfer of the Property and the insolvency

 of the Debtor apply here. The Plaintiffs assert they are entitled to judgment under the D.C.

 fraudulent conveyance statute.

        E.      The Trustee’s Status as a Bona Fida Purchaser Gives the Trustee a Superior
                Interest in the Property Than the Defendant’s


        141. Aumiller, supra explained that Section 544(a) of the Bankruptcy Code, the "strong

 arm" clause, bestows upon the trustee the rights of a hypothetical judgment lien creditor and the

 rights of a bona fide purchaser for value as of the date of the filing of the bankruptcy petition.

 Although the trustee's strong arm powers arise under federal law, the scope of these powers is

 governed by the substantive laws of the state in which the property is located, in this case, the

 District of Columbia. In re Bridge, 18 F.3d 195, 200 (3d Cir. 1994). Therefore, the relevant

 inquiry in this case is whether the trustee, clothed with the rights bestowed upon him as a bona

 fide purchaser or judgment lien creditor pursuant to D.C. law, prevails over whatever equitable or

 legal rights the Defendant has.

        142. Pursuant to District of Columbia law, a deed conveying an interest in real property

 is not effective against a subsequent bona fide purchaser or creditor without notice unless it is

 recorded. D.C. Code § 45-801 (1990); 3 Manogue v. Bryant, 15 App. D.C. 245 (1899) (purpose

 of statute is to protect judgment creditors as well as purchasers against claims of which they had

 no notice). Because the equitable lien in this case was not recorded, it would not be effective

 against a bona fide purchaser or judgment creditor who acquired an interest in the property

 without notice of that equitable lien.

        143. Pursuant to 11 U.S.C. § 544 (a), the Trustee has as of the date of the Len Salas


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 bankruptcy petition, namely, May 2, 2018, the status of a bona fide purchaser of real property

 from the debtor, without notice.

        144. Under Code § 544 (a)(3) the trustee’s bona fide purchaser status gives the Plaintiffs

 priority over subsequently recorded interests in the Property.

        145. Under D.C. Code, § 42-401:

        Any deed conveying real property in the District, or interest therein, ...shall be
        held to take effect from the date of the delivery thereof, except that as to creditors
        and subsequent bona fide purchasers and mortgagees without notice of said
        deed, and others interested in said property, it shall only take effect from the time
        of its delivery to the Recorder of Deeds for record.

        146. As a result, the Plaintiffs have a superior and priority interest in the Property ahead

 of any interest acquired by Max Salas and, therefore, the Property should be turned over to the

 Plaintiffs, or sold to recover the net equity for the benefit of the unsecured creditors of Len Salas’

 bankruptcy estate.

        147. Section 544 is known as the Trustee’s "the 'strong arm' clause," Aumiller,

 supra, 168 B.R. at 817, and "'gives a bankruptcy trustee the rights and powers of a judicial

 lien creditor or a bona fide purchaser of real property and allows the trustee to avoid any

 transfer of property of the debtor or any obligation incurred by the debtor that is voidable by

 a judicial lien creditor or a bona fide purchaser of real property."' Drown v. Wells Fargo

 Bank, N.A. (In re Scott), 424 B.R. 315,327 (Bankr. S.D. Ohio 2010) (quoting Craig v.

 Seymour (In re Crabtree), 871 F.2d 36, 37 (6th Cir. 1989)).

        148. The scope of these powers is governed by the substantive laws of the state in

 which the property is located, in this case, the District of Columbia. Midlantic Nat’l Bank v.

 Bridge (In re Bridge), 18 F.3d 195, 200 (3d Cir. 1994) (citations omitted).

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        149. Historically, the bankruptcy code has been hostile to secret liens such as the

 Quitclaim Deed at issue here. Bridges, supra, at 199.

        "While an equitable lien . . . may be enforceable against . . . subsequent
        purchasers and incumbrancers with notice, it may not be enforced against prior
        incumbrancers or subsequent incumbrancers without notice. The trustee
        belongs to the latter class." Hayes v. Gibson, 279 F. 812, 814 (3d Cir. 1922)
        (internal citations omitted)

 In re Bridge, supra, 18 F.3d at 199 n.3.

        150. The trustee's status under section 544(a) is governed by the state substantive law

 defining that notice. See, e.g., In re Probasco, 839 F.2d 1352 (9th Cir. 1988) (debtor in

 possession could not avoid partner's interest in real property as a hypothetical bona fide purchaser

 under section 544(a)(3) because it had constructive notice under California law of the partner's

 interest in the property); Angeles Real Estate Co. v. Kerxton, 737 F.2d 416, 420 (4th Cir. 1984)

 (trustee's rights under section 544(a) as judgment lien creditor are subject to prior equitable

 interests under Maryland law); McCannon v. Marston, 679 F.2d 13 (3d Cir. 1982) (where

 possession of property by claimed purchaser put trustee on constructive notice of purchaser's

 interest under Pennsylvania law, trustee could not avoid purchase of the property under section

 544(a)(3)); In re Roman Crest Fruit, Inc., 35 Bankr. 939 (Bankr. S.D.N.Y. 1983) (where

 reasonable inquiry would have revealed existence of agreement between debtor and assignee for

 the sale of debtor's interest in store leases, and knowledge of such agreement was of sufficient

 magnitude to require hypothetical purchaser to inquire further, assignee's equitable lien could not

 be avoided by bankruptcy trustee under section 544(a)).

        151. Pursuant to District of Columbia law, a bona fide purchaser or judgment creditor is

 subject to actual, constructive or inquiry notice. Clay Properties, Inc. v. The Washington Post,

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 604 A.2d 890, 894 (D.C. App. 1992) (subsequent bona fide purchaser can be held to inquiry

 notice); Kayfirst Corp. v. Washington Terminal Co., 813 F. Supp. 67, 72 (D.D.C. 1993) (same);

 Manoque, 15 App. D.C. at 261-62 (judgment lien creditor that was held to inquiry notice of the

 mortgagee's equitable rights took subject to those rights); Hume, 12 App. D.C. at 368-69 (failure

 to record or acknowledge deed does not deprive it of priority over judgment creditor having

 notice of its existence); Groome, 13 App. D.C. at 470 (equitable lien has priority over a

 subsequent judgment lien creditor who had notice of equitable claim). See also Harris v.

 Maryland National Bank, 165 B.R. 729 (Bankr. D.D.C. 1994) (recorded Deed of Trust is

 sufficient notice, (despite misindexing at the Recorder of Deeds) under D.C. statute which states

 that Deed is perfected when presented to the Recorder of Deeds for recording).

        152. Actual notice is not relevant in the context of section 544(a) as the trustee assumes

 the role of a bona fide purchaser or judgment creditor without actual knowledge. McCannon,

 679 F.2d at 16-17 (statute's language renders trustee's actual knowledge irrelevant but trustee

 may be held to constructive or inquiry notice). See also, In re Sandy Ridge Oil Co., 807 F.2d

 1332 (7th Cir. 1986), S. Bank and Trust Co. v. Alexander (In re Alexander), 524 B.R. 82 (E.D.

 Va. 2014)(trustee took title to half-interest in property despite existence of an unrecorded deed);

 Hardesty v. Horn (In re Horn), 606 B.R. 747, 67 BCD 212 (Bankr. S.D. Ohio 2019). In

 Hardesty, the debtors had transferred the subject property by an unrecorded deed to the father

 prior to filing their petition and at the time of the filing the father was merely the holder of an

 unrecorded deed. The bankruptcy court granted summary judgment in favor of the trustee. The

 Court determined the fact that the father had previously transferred the title to the debtors so they

 could obtain financing did not matter, nor did the fact that the county auditor's office had


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 approved the conveyance back to the father because such approval was insufficient under Ohio

 Rev. Code Ann. § 5301.25 to put the trustee on constructive notice of the transfer.

 Id., 606 B.R. 747, 748 (Bankr. S.D.).

        153. Constructive notice, which has generally come to mean record notice, could not

 exist in this case because the equitable lien was not recorded. Clay, 604 A.2d at 895 n.15. See

 also, Sandy Ridge Oil and Hardesty, supra. Compare Treinish v. Norwest Bank Minn., N.A.

 (In re Periandri), 266 B.R. 651 (B.A.P. 6th Cir. 2001)(Pending foreclosure, which operated as a

 lis pendens under Ohio law was constructive notice which defeated the trustee’s bona fide

 purchaser status). Here, the trustee had no notice of any recorded document which could defeat

 his interest as of Len’s bankruptcy filing on April 18, 2018. Sovran Bank v. United States (In re

 Aumiller), 168 B.R. 811, 817-19 (Bankr. D.D.C. 1994)

        154. Under well established law interpreting the subject D.C. statute, and other, similar

 state statutes, the conveyance, for purposes of avoidance or recovery is the date the subject deed

 is recorded or, if unrecorded, the day before the Debtor’s bankruptcy petition, here - April 17,

 2018. As a result, the avoidance and recovery actions set forth in the Complaint are well within

 the limitations periods established by 11 U.S.C. §546 (a), or any other applicable limitations

 period. See, for example, Williams v. Marlar, 252 B.R. 743, 758 (8th Cir BAP 2000)(Arkansas

 Law); Southern Bank & Trust Co. v. Alexander (In re Alexander), 2014 Bankr. LEXIS 3048,

 *21(Bankr. E.D. Va. 2014) Health Science Prods. v. Taylor (In re Health Science Prods.), 183

 B.R. 903, 919 (Bankr. N.D. Ala. 1995);

        155. The record of an instrument that is not permitted by law to be recorded, or that is

 not proved for record as required by law, is constructive notice to no one. Clark v. Harmer,


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 1895 U.S. App. LEXIS 3533 (D.C. Cir. 1895)

        156. Since the “transfer” at issue here, occurred, by statute, on April 17, 2018 and was an

 unrecorded transfer of real property, at best, the Trustee’s status as a bona fide purchaser and

 judgment lien creditor, as of the date of the Debtor’s bankruptcy filing, is superior to whatever

 interest the Defendant may have as of the same date.




        F.      The Trustee’s Status as Hypothetical Judgment Lien Holder Gives the
                Trustee a Superior Interest in the Property

        157. As of the commencement of this case, April 18, 2018, the trustee has, without

 regard to any knowledge of the trustee or any creditor, the rights and powers of, or may avoid any

 transfer of property of the debtor or any obligation incurred by the debtor that is voidable by a

 creditor that extends credit to the debtor at the time of the commencement of the case, and that

 obtains, at such time and with respect to such credit, a judicial lien, whether or not such a

 creditor exists. Code §544 (a)(1).

        158. The Plaintiffs are the authorized representatives for prosecution of all of the

 Trustee’s rights and powers under Code §§ 544, et seq.

        159. A judicial lien creditor, under the laws of the District of Columbia, has a superior

 interest in the Property than that of a competing creditor or owner who has not recorded an

 interest in the Property. Thus, as discussed below, the Trustee’s interest is superior to the

 unrecorded interest of the Defendant.

        160. Section 544( a)( 1) grants a trustee "the status of a hypothetical lien creditor who



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 is deemed to have perfected his interest as of the date of the filing of the bankruptcy petition."

 Rogan v. Bank One, N.S. (In re Cook), 457 F .3d 561, 564 ( 6th Cir. 2006).

        161. The difference between a bona fide purchaser and a judgment creditor, for

 purposes of the Trustee’s Avoiding Powers, is explained as follows:

        a judgment creditor is not in the position of a bona fide purchaser, and his
        claim is subject to prior, undisclosed equities. "He is neither in fact nor in law
        a bona fide purchaser, and must stand or fall by the real, and not the apparent
        rights of the defendant in the judgment."' Kolker v. Gorn, 193 Md. 391, 398,
        and cases cited.

 E. Shore Bldg. & Loan Corp. v. Bank of Somerset, 253 Md. 525, 530, 253 A.2d 367, 370

 (1969). Therefore, unlike a bona fide purchaser, a judgment creditor is subject to any

 existing equitable claims, regardless of notice. Here, however, there are no equities that

 could defeat the Trustee’s lien since the Quitclaim Deed, at best, constituted a secret lien.

 Moreover, the facts and circumstances of the resurrection of the Quitclaim Deed in February,

 2018, as described above hardly favor the Defendant.

        162. As the uncontested facts in this case show:

                a. The Defendant failed to record the Quitclaim Deed despite his obligation to
                do so; and

                b. Less than 6 months after the execution of the Quitclaim Deed Len and Max
                were instructed by Ron, the creator of the Quitclaim Deed, that a new Deed
                needed to be created by someone in D.C. See Exhibit 7.

                c. Ron Salas acknowledged that he knew the only reason Len could be a
                defendant was if the Quitclaim Deed had not been recorded; and

                d. Neither Max, Len, Ron or Kendra produced a copy of the Quitclaim Deed
                during the Superior Court litigation, until February, 2018, even though they all
                knew of its existence and they all also knew that the only reason Len was a
                defendant in the Superior Court litigation was if Len was a titled owner of the

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                Property; and

                e. As of February, 2018 no Salas family member had an original Quitclaim
                Deed; and

                f. As of February, 2018 no Salas family member was aware of the existence of
                an original Quitclaim or, if it existed, its location.

                g. Len produced a copy of the Quitclaim Deed in or about February, 2018
                only after Max (and Len) learned from Marc Albert that the 1610 Riggs
                Property Trust and the Quitclaim Deed could be used to exempt the Property in
                Max’s future bankruptcy.

                h. Both Ron and Max testified that the Quitclaim Deed was still in effect in
                2018, when their own email communications in 2011 and 2012 tell a complete
                contradictory story.


        163. A perfected mortgage is superior to a later-recorded judicial lien. Id. at 565.

 That would apply to the SunTrust Deed of Trust but not to the Quitclaim Deed, even if it is in

 effect as of April 17, 2018.

        164. Much of the argument in previous Section, applied to the Trustee’s status as a

 bona fide purchaser for value and without notice, also applies to the Trustee’s status as a

 hypothetical, judicial lien holder but is not repeated here to avoid unnecessary duplication.

        165. Based upon the undisputed facts of this case and the express provisions of Code, §

 544(a)(1) the Plaintiffs are entitled to judgment on their supeiror claim to the Property due to the

 Trustee’s status as a judgment lien creditor.

        G.      The Plaintiffs May Recover, for the Benefit of the Debtor’s Estate, the
                Property or its Value

        166. Under Code § 550 (a) the trustee may recover, for the benefit of the estate, the

 property transferred or, upon court order, the value of the property. Here the Plaintiffs are seeking


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 the equity in the Property, either through payment of the agreed amount of the equity (approximately

 $1.3 Million), or through the proceeds of a court ordered sale of the Property. See, for example,

 ASARCO LLC v. Americas Mining Corp., 404 B.R. 150, 162 (S.D.Tex. 2009)(court has

 discretion); In re Vedaa, 49 B.R. 409, 411 (Bankr. N.D. 1985); In re: Beck, 25 B.R. 947 (Bankr.

 N.D.Ohio 1982).

 V.     CONCLUSION

        For the reasons set forth in the foregoing Memorandum, the Plaintiffs assert that they are

 entitled to summary judgment on Counts I, II, IV, V, VI of their Complaint and seek a judgment

 declaring and adjudging that the Plaintiffs, on behalf of the Debtor’s Estate are the owners of the

 Property and are entitled to recover the Property or its value for the benefit of the Debtor’s Estate

 and for such other and further relief as is consistent with the Plaintiffs’ Complaint and the relief

 sought therein.

                                               Respectfully submitted,

                                               BURCH, PORTER & JOHNSON, PLLC


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                                               LAW OFFICE OF PHILIP J. McNUTT, PLLC

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                                                      Philip J. McNutt
                                                      11921 Freedom Drive, Ste 584
                                                      Reston, VA 20190
                                                      703-904-4380


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                                                  202-379-9217 (fax)
                                            Pmcnutt@mcnuttlawllc.com

                                            COUNSEL FOR THE PLAINTIFFS

                                     Certificate of Service

        I HEREBY CERTIFY THAT a copy of the foregoing Amended Memorandum, List of
 Uncontested Facts and Exhibits was delivered electronically, on the 1st day of August, 2022
 through the Court’s ecf noticing system to the following:

                                            THOMPSON BURTON PLLC
                                            Phillip Young
                                            One Franklin Park
                                            6100 Tower Circle, Ste 200
                                            Franklin, TN 37067
                                            615-465-6008
                                            615-807-3048 (fax)
                                            phillip@thompsonburton.com


                                            /s/ Philip J McNutt
                                            Philip J. McNutt




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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                                Nashville
 In re:                            :
                                       CHAPTER 11
 LEN SALAS                       :     CASE No. 18-02662
                                       JUDGE: HARRISON
           Debtor                :


 NICOLAAS BREKELMANS AND GAIL :
 GREGORY BREKELMANS,
 CO-PERSONAL REPRESENTATIVES  :
 OF THE ESTATE OF NINA
 BREKELMANS, et al            :

                              Plaintiffs      :

        v.                                    : Adversary Proceeding No. 3:20-ap-90027

 MAX SALAS                                    :

                              Defendant       :


                  PLAINTIFFS’ AMENDED LIST OF UNDISPUTED FACTS,
                   PURSUANT TO LOCAL RULE 7056-1 IN SUPPORT OF
                  THE PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

        In accordance with Local Rule 7056-1 of the rules of this Court, the Plaintiffs submit the

 following facts in support of their Motion for Summary Judgment. The Plaintiffs assert that these

 facts are either stipulated by the parties, supported by the Summary Judgment Record herein, or

 otherwise undisputed.


                     PLAINTIFFS’ LIST OF UNDISPUTED FACTS
             IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT

 NOTE: All references to Case No. 18-2662 refer to the Chapter 7 bankruptcy of Len Salas filed on
 April 18, 2018 in the United States Bankruptcy Court for the Middle District of Tennessee, Case
 No. 3:18-02662.




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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 1 of 29             APPX00450
        All references to Case No. 18-260 refer to the Chapter 11 case of Max Salas filed in the
 United States Bankruptcy Court for the District of Columbia on April 18, 2018, Case No. 18-
 00260.

        All references to the Complaint refer to the Amended Complaint filed in Adversary
 Proceeding 3:20-90027 in the United States Bankruptcy Court for the Middle District of
 Tennessee on February 16, 2021.

      All references to “Exhibit” or “Exh.” refer to Exhibits to the Plaintiffs’ Motion for
 Summary Judgment unless otherwise specified.

        Referenced documents which are part of the docket entries in Case No. 18-2662 or this
 adversary proceeding are not attached but are incorporated in this Memorandum and into the
 Summary Judgment record by such reference.

        1. The Plaintiffs are the personal representatives of the Estates of Nina Brekelmans

 and Michael Patrick McLoughlin, respectively. Joint Stipulation of Uncontested Facts, Joint

 Pretrial Statement, June 22, 2020 (D-14) (“Stip”), No. 1.

        RESPONSE:

        2. Nina Brekelmans and Michael Patrick McLoughlin were tragically killed in a fire

 at a residence in Washington, DC (the “Fire”) located at 1610 Riggs Place, NW, Washington,

 DC (the “Property”). Stip. No. 2

        RESPONSE:

        3. Defendant resided in the Property from approximately 2007 through early June,

 2015 and then commenced residing in the Property again in early 2018. Stip No. 3, Exemption

 Trans. Vol. 3, 62:11 - 63:17.

        RESPONSE:

        4. In 2007 Len Salas took out a loan for $870,000 in order to pay Max’s ex-wife an agreed

 $500,000 in a divorce settlement.



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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 2 of 29             APPX00451
          5. Michael Gigandet, the Court appointed Trustee of the Estate, has declined to pursue the

 causes asserted herein and has also declined to join in this action. Court’s Memorandum Opinion

 dated February 11, 2021 (D-38)(“L Salas Memorandum Opinion”), at p. 6-7.

          RESPONSE:

          6. The Complaint is brought as a derivative action on behalf of the Estate of Len Salas. L

 Salas Memorandum Opinion dated February 11, 2021, in Case No. 20-90027 (D-38).

          RESPONSE:

          7. In April, 2018, the Plaintiffs obtained judgments against Len and Max totaling $15.2

 Million (collectively, “the Judgment”). Joint Statement of Stipulated Facts, Joint Pre-trial

 Statement dated June 22, 2020 (D-14), Stipulation No. (“Stip. No.”) 6.

          RESPONSE:

          8. The Defendant, Max Salas does not have the original of the Quitclaim Deed and the

 1610 Riggs Property Trust, dated July 6, 2010. Defendant’s Amended Responses to the Plaintiffs

 Request for Admissions, dated November 11, 2021 (“Amended Responses-RFP”), Exhibit 17,

 Resp No. 2, p.3. Amended Responses-RFA, Request No. 1., p. 2.

          RESPONSE:

          9. Len Salas does not remember seeing a “wet ink” original of the Quitclaim Deed after

 July 6, 2010. L Salas Trans. 140:13-23.

          RESPONSE:

          10. The Defendant does not have the original Quitclaim Deed created in

 July, 2010. Defendant’s Amended Responses to the Plaintiffs’ Request for Admissions (“RFA”),

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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 3 of 29             APPX00452
           RESPONSE:

           11. That the Defendant is unaware of the location of the original Quitclaim Deed after

 2012.

           RESPONSE:

           12. Ron Salas gave original(s) of the Trust and Quitclaim Deed of July 6, 2010 to Max

 Salas and only kept a copy.

           RESPONSE:

           13. The Defendant did not attempt to record the Quitclaim Deed after 2010.        RFA,

 Req. 3.

           RESPONSE:

           14. That from 2007 through April 18, Len Salas was the sole obligor under the Sun Trust

 loan documents executed in 2007. RFA 16.

           RESPONSE:

           15. Max Salas had no written agreement or understanding with Len Salas that Max

 was responsible for the Sun Trust Mortgage/Deed of Trust obligation. RFA 17.

           RESPONSE:

           16. Neither Len Salas nor Max Salas informed SunTrust in writing that Max was

 responsible for the SunTrust Deed of Trust Note payments.

           RESPONSE:

           17. Max Salas was not a listed or added obligor or guarantor under the SunTrust

 Deed of Trust obligation or Note. RFA 18.

           RESPONSE:


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 4 of 29             APPX00453
        18. Max Salas did not contact Ms. Sylvia Jones, a real estate broker acquaintance,

 regarding the location or existence of the original Quitclaim Deed since June, 2015. RFA 41

        RESPONSE:

        19. That the Note balance as of April, 2007 totaled approximately $870,000. RFA 44

        RESPONSE:

        20. That the Note balance as of the commencement of the Salas bankruptcy case (April 18,

 2018) totaled more than $1,030,825.86. RFA 47

        RESPONSE:



        21. That the Note Balance as of September 29, 2019 totaled $1,208,720.40. Stipulation

 filed on November 20, 2019 (D-266-1) in Max Salas’ bankruptcy, Motion to Approve Settlement

 with U.S. Bank, Exhibit 15.

        RESPONSE:



        22. That on or about July 6, 2010, Ron Salas, an attorney recently admitted to practice law

 in Colorado, prepared a Trust document for the 1610 Riggs Property Trust along with a Quitclaim

 Deed purporting to transfer the Property from Len to Max.

        RESPONSE:



        23. That the foresaid Trust and Deed were prepared and executed in Colorado.

        RESPONSE:

        24. That the Trust was registered in Colorado by Ron Salas in 2011 even though the


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 5 of 29             APPX00454
 Property was located in D.C. Email dated June 17, 2011 from Ron to Max, Exhibit 7.

        RESPONSE:

        25. That the Defendant made at least two attempts to obtain a new or different Quitclaim

 Deed from the Law Firm of Stan Goldstein in 2011 and 2012. Emails between Max Salas and the

 Goldstein Firm, June, 2011 through February, 2012, Exhibit 7.

        RESPONSE:



        26. That on June 17, 2011, Ron Salas sent an email to his father, the Defendant, stating

 that the “next step” was for his father to obtain counsel to prepare a Quitclaim Deed for Len to

 sign. Emails between Max Salas and the Goldstein Firm, June, 2011 through February, 2012,

 Exhibit 7.

        RESPONSE:



        27. That on June 21, 2011 the Defendant forwarded Ron Salas’s email of June 17, 2011 to

 Stanley Goldstein requesting Mr. Goldstein to assist the Defendant to transfer the Property from

 Len to Max. Emails between Max Salas and the Goldstein Firm, June, 2011 through February,

 2012, Exhibit 7.

        RESPONSE:



        28. On January 17, 2012, more than six months later, the Defendant sent another email to

 Lynn Boileau, an associate of Mr. Goldstein requesting that she “get Lenny’s name off of the

 property.” Emails between Max Salas and the Goldstein Firm, June, 2011 through February, 2012,


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 6 of 29             APPX00455
 Exhibit 7.

        RESPONSE:



        29. On February 24, 2012, Len sent his father an email asking for the status of removing

 Len from the property title. Max responded on February 24, 2012 that he is “still working on

 this...” Emails between Max Salas and the Goldstein Firm, June, 2011 through February, 2012,

 Exhibit 7 .

        RESPONSE:



        30. There were no further communications regarding the creation or recording of a Deed

 for the transfer of the Property from Len to Max after February, 2012. L Salas Trans. ____ .

        RESPONSE:

        31. From 2010 through early 2015 Len had numerous communications with Max asking

 Max to remove his name from the Property. L Salas Trans. 70:18 - 74:16

        RESPONSE:

        32. Len had several conversations with his father regarding getting his name off the loan

 and deed after 2010. L Salas Trans. 71:25 - 74:16; Transcript of Len Salas’s testimony at the

 hearing on Objections to the Claim of Exemption (of the Property) by the Debtor, Max Salas, in

 case no. 18-00260 in the United States Bankruptcy Court for the District of Maryland, Trial

 Transcript (“Exemption Trans.”),Vol 1., Exhibit 20, 158:13 - 163:10; Deposition Transcript of the

 Deposition of Kendra Rowe Salas, August 27, 2021 (“K Rowe Trans.”), Exhibit 14, 16:6-24.

        RESPONSE:


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 7 of 29             APPX00456
        33. The Sun Trust Note was in default during the period 2010 - 2018. L Salas Trans.,

 Exhibit 13, 55:11-20.

        RESPONSE:

        34. That from the period 2010 through 2018 the Defendant did not declare the income

 from the rentals of rooms at the Property as income on his Federal or D.C. Income Tax Returns.

        RESPONSE:

        35. The Plaintiffs are the holders of undisputed and accepted claims totaling $15.2

 Million. Of that amount, the claim of the Brekelmans estate represents $7.5 Million and the

 claim of the McLoughlin Estate represents $7.7 Million. Stip. No. 6

        RESPONSE:

        36. According to the Debtor’s schedules and the Trustee’s Final Report (D-209), in Case

 No. 18-2662, the Plaintiffs represent 99.8% of all allowed unsecured claims of the estate.

        RESPONSE:

        37. The Plaintiffs’ judgments were allowed claims in both bankruptcy estates (Len’s and

 Max’s).

        RESPONSE:

        38. The Plaintiffs received distributions on account of their claims from both estates.

        RESPONSE:

        39. The Superior Court Judgments were recorded in the D.C. judgment records on or

 about April 5, 2018.

        RESPONSE:

        40. On April 18, 2018 both Len and Max filed separate Chapter 11 bankruptcy cases in

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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 8 of 29             APPX00457
 the Middle District of Tennessee and the District of Columbia, respectively.

        RESPONSE:

        41. At the time of the bankruptcy filings by Len and Max, Len was, and continued to be,

 until May 3, 2022, the title owner of property located at 1610 Riggs Place, NW, Washington, D.C.

 (“the Property”).

        RESPONSE:

        42. In 2007 Max deeded the Property to Len in 2007 after his father, Max, and Max’s then

 wife, divorced.

        RESPONSE:

        43. Len then obtained a Deed of Trust from Sun Trust Bank for $870,000 (“the Sun Trust

 Loan”).

        RESPONSE:

        44. The proceeds of the Sun Trust Loan were paid to Max’s wife as part of the divorce

 settlement. Exemption Trans. Vol. 3, Exhibit 6, 70:2-17.

        RESPONSE:

        45. Len received no part of the $870,000.

        RESPONSE:

        46. From 2007 through January 27, 2020, Len remained the sole owner of the Property.

 Max’s Confirmed Plan provides that the Confirmation Order constitutes “an Order conveying the

 Property to Max Salas”. See, Complaint, Exhibit B, Confirmed Plan, Max’s Bankruptcy (Case

 No. 18-00260) (D-298), p. 12, ¶ 4.4.

        RESPONSE:

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        47. At the time of Len’s purchase of the Property in 2007, Max had tax liens and other

 obligations which made it impossible for Max to obtain a loan on the Property. Exemption Trans.

 Vol. 3, 71:9 - 72:23.

        RESPONSE:



        48.     At no time, since 2007, including, but not limited to, the time of the Quitclaim

 Deed in July, 2010, did Max make any payments to Len and Len received no property or other

 value from Max related to the Trust or Quitclaim Deed. Exemption Trans. Vol 3, Exhibit 6,

 139:15 - 140:2; Len Salas testimony, Plan Confirmation Hearing, United States Bankruptcy Court

 for the Middle District of Tennessee, December 13, 2018 (“L Salas Conf. Hrg. Trans.”), 68:22 -

 69:2. Exhibit 4.

        RESPONSE:



        49.     Max delivered the original Quitclaim Deed to Mr. Goldstein’s office but did not

 recall whether Mr. Goldstein mailed it back to Mr. Salas. Exemption Trans. Vol. 3, 55:7 - 56:21.

        RESPONSE:

        50. According to Max, he tried to refinance the Property several times after 2007, all to no

 avail. In fact, at least through 2015 every attempt to refinance the Property required the

 participation of Len as a co-signer or co-obligor.

        RESPONSE:

        51. There are no documents indicating that Max was liable on the SunTrust loan at any

 time and Max never entered into any agreement or understanding with Len that Max was liable or


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 10 of 29             APPX00459
 responsible.

        RESPONSE:

        52. There is no document raised, proffered or produced by Max indicating that Len was

 not the sole party responsible for the Deed of Trust payments until at least November, 2019.1

        RESPONSE:

        53. Max testified in his deposition in the Superior Court case in February, 2016 that there

 was one trust, the CLR Trust. He confirmed that, when he mentioned “the 1610 Salas Trust” he

 was referring to the same trust, namely, the CLR Trust. Max Salas testimony at the Exemption

 Hearing, Exemption Trans. Vol. 2, August 23, 2018 (“Exemption Trans. Vol. 2”),Exhibit 3, 33:23

 - 50:25, Max Salas Deposition in Superior Court Case, Case Nos. 2015 CA 8054 B and 2015 CA

 8061 B, Consolidated)(referred to herein as the “Superior Court Litigation’), February 24, 2016

 (“M Salas Sup Ct Depo”), Exhibit 1, 42:18 - 43:2.

        RESPONSE:



        54. From sometime after 2007 through the date of the fire, Max rented out rooms at the

 Property. The tenants, including Nina and Michael, signed leases under the name of “the CLR

 Trust” and Max signed each lease as Trustee.

        RESPONSE:

         1
           When U.S. Bank obtained assignment of the SunTrust Note, sometime in 2019, it did
  finally reach an agreement with Max for him to make the payments under the Deed of Trust from
  and after November, 2019. However, there is no indication in the agreement reached between
  Max and U.S. Bank that the SunTrust Deed of Trust Note has been canceled or is otherwise not
  in effect. Therefore, Len is still liable for the entire balance under the SunTrust Note which, as
  of September 29, 2019, was $1,208,720.40. See Max Salas Stipulation with U.S. Bank attached
  hereto as Exhibit 15.

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        55. According to Len, the CLR Trust, was a trust created by Max for the benefit of his

 three sons, Chase, Len and Ron. Len Salas, Sup. Ct. Depo, Exhibit 11, 30:5-14.

        RESPONSE:

        56. Other than the 1611 Riggs Place Trust executed on July 6, 2010, the only family

 related trust of which Len is aware is the “CLR Trust.” L Salas Trans. 148:1-13. In Len’s

 Deposition Testimony in the Superior Court Litigation, Len testified, on March 9, 2016, that he

 had no knowledge a trust other then the CLR Trust. Len Salas Deposition Testimony, March 9,

 2016 in the Superior Court Litigation, Exhibit 11, 29:14 - 30:14

        RESPONSE:



        57. The lease payments were put into an account in the name of the CLR Trust and were

 used to pay for the Deed of Trust obligations and other expenses associated with the Property.

        RESPONSE:

        58. Max did not want the rents deposited into his personal account. Exemption Trans.

 Vol 3., Exhibit 6, 222:12 - 16

        RESPONSE:

        59. Max told Len that he deposited the rent checks into “this account for 1610 [Salas

 Trust]. Exemption Trans., Vol 1, Exhibit 20, 149:2 - 150:21.

        RESPONSE:

        60. During the period 2015 through 2018, and continuing after Max’s Bankruptcy filing

 until November, 2019, no payments were made on the Sun Trust Deed of Trust Note (“the Sun

 Trust Note”) with the exception of one payment of made by Max from the insurance proceeds he

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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 12 of 29             APPX00461
 received as a result of the fire damage.

        RESPONSE:



        61. As of October, 2018, the deficiency on the SunTrust Note was $420,928.34. Sun

 Trust Motion For Relief, filed November 2, 2018 in Case No. 18-2662 (D-79), pp. 2-3.

        RESPONSE:

        62. As of April, 2018, the deficiency on the SunTrust Note was $374,282.18. Sun Trust

 Motion For Relief, filed November 2, 2018 in Case No. 18-2662 (D-79), pp. 2-3.

        RESPONSE:

        63. As of April, 2018, Len remained the sole obligor on the SunTrust Note.

        RESPONSE:

        64. The transfer in 2010 was a violation of Len’s Deed of Trust and Note with Sun Trust

 Bank. L Salas Depo Trans., Exhibit 13, 144:7 - 148:7, 152:3 - 153:10. See SunTrust Deed of

 Trust, dated April 16, 2007, Exhibit A to SunTrust Motion for Relief from Stay (“SunTrust

 Motion”), filed in Case No. 18-2662 on November 2, 2018 (D-79-1), Exhibit 15.

        RESPONSE:



        65. At the time of the attempted Quitclaim Deed, in July, 2010, Len’s only significant

 asset was the Property.

        RESPONSE:

        66. At all relevant times, Len worked only part time and had limited income and assets.

        RESPONSE:


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 13 of 29             APPX00462
        67. At all times following the transfer in 2010, Len was insolvent. His liabilities exceeded

 his assets and his income was insufficient to pay his obligations, including the Sun Trust Deed of

 Trust Note payments.

        RESPONSE:

        68. Len did not have sufficient funds to pay his attorneys in the Superior Court litigation.

 He lives “paycheck to paycheck.” L Salas Trans. 76:20 - 77:2

        RESPONSE:

        69. At the time of his bankruptcy filing in April, 2018, Len was obligated for all payments

 due on the Sun Trust Note, as well as the judgments, totaling $15.2 Million, owed to the

 Plaintiffs. L Salas Trans. 61:1 - 63:2.

        RESPONSE:

        70. In 2016, Len’s income was a total of $15,151. L Salas Statement of Financial Affairs,

 filed April 18, 2018 in Case No. 18-2662, (D-1), Exhibit 16, p 38.

        RESPONSE:

        71. In 2017 Len’s total income was $30,408. Exhibit 16, p. 38.

        RESPONSE:

        72. In 2018, through April 17, 2018 Len’s total income was $6,720. Exhibit 16, p. 38.

        RESPONSE:

        73. During the Superior Court litigation which ended with the 4 day trial held in late

 March and early April, 2018, Max paid certain expenses and legal fees owed by Len Salas

 because Len could not afford them. See, for example, Max Salas Statement of Financial Affairs,

 filed in his bankruptcy case, No. 18-00260 in the United States Bankruptcy Court for the District


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 14 of 29             APPX00463
 of Columbia on May 2, 2018 (D-13) (“M Salas SOFA”), p. 5 of 10, attached hereto as Exhibit 16.

        RESPONSE:

        74. Len’s brother, Ron, paid for Len’s bankruptcy proceedings and the retention of

 counsel for the appeal of the Superior Court litigation. Disclosure of Compensation of Attorney

 for Debtor, April 18, 2018 (D-1) p. 46 of 56; Motion of Debtor in Possession to Employ Michael

 C. Forster and Forster Law Firm as Special Counsel, filed April 27, 2018 in Case No. 18-2662, D-

 10, at page 3 of 10.

        RESPONSE:



        75. On his bankruptcy schedules filed herein on April 18, 2018 (D-1), Len Salas lists total

 assets of $53,373.38 and total liabilities of $16,107,795.41. Len Salas Schedules of Assets and

 Liabilities, filed on April 18, 2018 in Case No. 18-2662, (D-1) pp. 12-36.

        RESPONSE:



        76. Len received no income, payments or property from Max in 2007 or 2010. L Salas

 Mtg Trans., 4/1/19, Exhibit 5, 5:22 - 7:15.

        RESPONSE:



        77. Len repeatedly attempted to get Max to remove Len’s name from the Property after

 2010. L Salas Depo. Testimony, Exhibit 13, 70:18 - 74:16

        RESPONSE:




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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 15 of 29             APPX00464
        78. Mr. Salas told his counsel, Mr. Albert and his associate, Mr. Cox, in 2018, what Max

 did with the Quitclaim Deed and left it up to his counsel to obtain the original from Mr.

 Goldstein’s Office. Exemption Trans. Vol 3, 57:13 - 58:6

        RESPONSE:



        79. After seeking to record through Mr. Goldstein’s office in 2011 and/or 2012 (See

 eMails attached as Exhibit 7) Max did not make any further attempts to record the Deed.

 Exemption Trans. Vol 3, 58:9-13.

        RESPONSE:



        80. In his deposition Ron Salas testified, under oath, related to the Quitclaim Deed,

 executed on July 6, 2010, as follows:

 “Q And I believe you said, but I want to
 clarify this, that between the time of 2012,
 roughly, and I realize you said, I think, a year
 or two after the transaction, so I'm not trying to
 pin it down, but say roughly 2012, which would be
 two years later, until today, are you aware of any
 other reasons why the deed, the quitclaim deed
 that you prepared would not have been or could not
 have been recorded?
 A. I don't know of any reason and I did not
 know that it was not recorded until the lawsuit
 came in my brother's name.
 Q And what is it about the lawsuit that
 came in your brother's name that made you believe
 the quitclaim deed had not been recorded?
 A The only reason my brother would be
 involved was because his name had to still be on
 the title is the assumption I've made in my mind
 I don't know that that is factually correct, but
 that is my assumption, that it must not have been
 filed or he wouldn't be in this situation.

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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 16 of 29             APPX00465
 He didn't live in the District, he
 never- he didn't live in the house, and I- so
 that's the only logical reason I could make that
 he would be involved, that it was never done. And
 until that point, I did not even know that it had
 not been done. I assumed at some point that he
 came up with the money and did it. But he didn't,
 as we sit here today we all know.

 Transcript of the Deposition of Ron Salas in the United States Bankruptcy Court for the
 District of Columbia, Case No. 18-00260, August 8, 2018, excerpts attached hereto as
 Exhibit 8, (“R Salas Trans”), 73:15 - 74:21 (emphasis in original).2
      RESPONSE:


        81. The Plaintiffs Judgments are now final and binding on all parties as a result of the final
 distribution and closing of Len’s Estate in this Court and the Confirmed Plan in Max’s
 Bankruptcy. M Salas Chapter 11, Case No. 18-00260 in the United States Bankruptcy Court for
 the District of Columbia, Docket Entries D-298 and 303; L Salas Chapter 7, Case No. 18-002662
 in the United States Bankruptcy Court for the Middle District of Tennessee, Docket Entries D-
 209 (Trustee’s Final Report) and D-220, Trustee’s Final Account, and D-222 (Final Decree).
        RESPONSE:


        82. Max has not produced, and is currently unaware of the location of, the original
 Quitclaim Deed is, or if it even exists. Transcript of the Continued Deposition of Max Salas,
 March 8, 2022 (“M Salas Trans.”) 51:2-12; 52:6-20
        RESPONSE:


        83. On June 16, 2011, Ron sent an email to the Defendant advising Max that the Trust



         2
          Mr. Albert was acting as counsel for Max Salas in his bankruptcy and attended the
  deposition on behalf of Max. Ron Salas appeared without counsel.

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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 17 of 29             APPX00466
 had been registered and that Max needed to have a Quitclaim Deed created to transfer the Property
 to Max. This was nearly a year after the Quitclaim Deed was created, the only deed relied upon
 by Max in asserting his ownership of the Property. A copy of Ron’s email, dated June 17, 2011,
 less than a year after the purported Quitclaim Deed of July 6, 2010, was produced in discovery by
 Len Salas in 2022.
        RESPONSE:


        84. These emails attached as Exhibit 7 were within the scope of the document production
 requested from Max as part of the discovery requests in the Exemption Hearing adversary
 proceeding in Max’s bankruptcy in D.C. Debtor’s Responses to Movants’ First Set Request for
 Production of Documents, served on August 6, 2018, in Case No. 18-260, Exhibit 21.
        RESPONSE:


        85. Max, Ron and Len all testified at that hearing and all asserted, or supported the claim
 that the Quitclaim Deed of July 6, 2010 was in effect in 2018.
        RESPONSE:


        86. Ron’s email states, on June 17, 2011 that “The next step is for someone in D.C. to
 draft a Quitclaim Deed in order to move the property from the possession of Len to the Trust. The
 document should be straight forward and will need to be signed by at least the grantor, Len.”
 Exhibit 7, Bates Nos.: LenSalas000016-17.
        RESPONSE:


        87. On June 21, 2011 Max followed up with an email to his real estate attorney, Stan
 Goldstein. In that email, Max asserts to the attorney, Mr. Goldstein, that “We need to have done
 is have Lenny sign a quick (sic) claim deed into the trust...” Exhibit 7, Bates Number
 LenSalas000016.

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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 18 of 29             APPX00467
        RESPONSE:


        88. In Max’s email to attorney Lynn Boileau on January 17, 2012, he states : There are
 two different requests. One is to get Lenny’s name off of the property. (Want to do this asap)
 The second request is to refinance the property under the name of the trust..” (Emphasis supllied)
 Exhibit 7, Bates Number LenSalas000023.
        RESPONSE:


        89. On February 24, 2012 Len sent an email to Max asking “Where are we on this?”
 Max’s response is “Still working on this...,,I am in Miami will be back soon.” Exhibit ___ , Bates
 Number LenSalas000029.
        RESPONSE:


        90. Max Salas testified that he is unaware that the attorneys he contacted in the D.C. area
 respecting the Trust’s ownership of the Property ever created a deed to convey the Property into
 the Trust. M Salas Trans. , Exhibit 10, 64:16 -74:2.
        RESPONSE:


        91. Max also testified that he does not recall any further communications with counsel
 about the 1610 Riggs Place documents after February 27, 2012. M Salas Trans. 72:12-18.
        RESPONSE:


        92. When asked whether he contacted the attorneys to determine if they had a copy of a
 deed for the Property, Max testified as follows:
        Q. Have you contacted Ms. Boileau or
        Mr. Goldstein to determine if they have
        a copy of any deed that might have
        been created?


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 19 of 29             APPX00468
         A. I did try to contact them. I
         did try to contact them actually
         recently. And I -- but I didn't -- I
         mean, they were trying -- they
         were -- no. I mean, we worked on
         something and then they said it couldn't go
         any further and depends on what you
         were going to do. So I don't -- I guess -- I
         can't guess. I don't know.

 M Salas Trans. 73:13-23

         RESPONSE:


         93. Only Max Salas had an original of the Quitclaim Deed after July 6, 2010 and Max

 does not know where the original is or when he last had it. Exhibit 10, M Salas Trans. 73:13-23,

 77:2 - 82:23.

         RESPONSE:

         94. Max testified in his deposition in the Superior Court case in February, 2016 that there

 was one trust, the CLR Trust. He confirmed that when he mentioned “the 1610 Salas Trust” he

 was referring to the same trust, namely, the CLR Trust. Max Salas Deposition in Superior Court

 Case, Case Nos. 2015 CA 8054 B and 2015 CA 8061 B, Consolidated)(referred to herein as the

 “Superior Court Litigation’), February 24, 2016 (“M Salas Sup Ct Depo”), Exhibit 19, 42:18 -

 43:2.

         RESPONSE:



         95. Len Salas is not aware of the location of any of the wet ink signature originals of the

 July 2010 Quitclaim Deed (Transcript of the Deposition of Len Salas, August 27, 2021 (“L Salas

 Trans.”), 15:4-9. Len testified in his deposition that he provided an original“wet ink” original of


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 20 of 29             APPX00469
 the Quitclaim Deed, or a copy, to his lawyer on the eve of the Superior Court trial which resulted

 in the judgment against Len and his father. L Salas Trans, 16:6-24, 19:11-25 - 21:18. Regardless,

 Len testified that the document he produced on the eve of the Superior Court trial, which

 commenced on March 26, 2018, was kept in his possession at all known times between July, 2010

 and March, 2018. Id. Len’s wife, Kendra, testified that she “had a pdf of it (the July, 2010

 Quitclaim Deed) and that she thought it was the same as what Len had “ I thought it was the same

 thing as what Len had, but I’m not sure.” K Rowe Trans. 30:13-20.

        RESPONSE:



        96. Ron Salas stated that he was unaware the Quitclaim Deed had not been recorded

 until he found out that Len had been sued in the Superior Court (in October, 2015. Transcript

 of the Deposition of Ron Salas, August 8, 2018, Exhibit 8, 65:21 - 66:21

        RESPONSE:



        97. Ron Salas was unaware of the requirements of Quitclaim Deeds in D.C. Ron Salas’s

 testimony, Exhibit 12, at pp.227:5 - 228:12.

        RESPONSE:



        98. Ron stated he was unaware whether the trust documents he created were valid under

 D.C. law in August, 2018. Ron Salas’s testimony, Exhibit 12, 243:8-15.

        RESPONSE:

        99.    The only deed referenced by Max or his counsel, allegedly entitling Max to an


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 21 of 29             APPX00470
 ownership interest in the Property, is the 2010 Quitclaim Deed. No other deed has been proffered,

 or even mentioned by the Salas family or by Max, specifically.

        RESPONSE:



        100. As of the filing of Len’s bankruptcy case in 2018, Len was obligated to pay over $15

 Million in damages to the Plaintiffs as a result of their judgments. Neither Len, nor the Trustee

 filed objections to the Plaintiffs’ claims filed in Len’s bankruptcy.

        RESPONSE:



        101. In Len’s Schedule J, filed on April 18, 2018 in Case No. 18-2662 (D-1), p. 35, Len

 listed total monthly income of $4977.75 and total monthly expenses of $4,407.14.

 On April 5, 2018 Max was a creditor of Len’s. He owed Len, at the very least, his contribution

 for the Plaintiffs’ Judgment and the balance of the SunTrust Deed of Trust Note (at least

 $1,035,000 approx) per his consistent promise that he would pay that amount and his consistent

 assertion that he was responsible for payment of the SunTrust Note which was, at all relevant

 times, in Len’s name.

        RESPONSE:



        102. The Judgment is now final and binding on all parties as a result of the final

 distribution and closing of Len’s Estate in this Court and the Confirmed Plan in Max’s

 Bankruptcy. M Salas Chapter 11, Case No. 18-00260 in the United States Bankruptcy Court for

 the District of Columbia, Docket Entries (“D- “) D-298 and 303; L Salas Chapter 7, Case No. 18-


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 22 of 29             APPX00471
 002662 in the United States Bankruptcy Court for the Middle District of Tennessee, Docket

 Entries (“D- “) D-209 (Trustee’s Final Report) and D-220, Trustee’s Final Account, and 222

 (Final Decree).

           RESPONSE:

           103. Len was solely obligated on the Sun Trust Deed of Trust on the Property which,

 according to the Defendant’s bankruptcy schedules was over $1 Million in April, 2018. M Salas

 Schedules, Case No. 18-260 (D-12), p. 19 of 37, attached as Exhibit __ .

 30. At no time, since 2007, including, but not limited to, the time of the Quitclaim Deed in July,

 2010, did Max make any payments to Len and Len received no property or other value from Max

 related to the Trust or Quitclaim Deed. Transcript of Confirmation Hearing in Case No. 18-02662,

 December 13, 2018 at pp. 68-69, excerpts attached as Exhibit 4. See also, Transcript of the

 Chapter 7 Meeting of Creditors of Len Salas, April 1, 2019 (L Salas Mtg. Trans.), Exhibit 5, 5:22

 - 7:15.

           RESPONSE:



           104. Max delivered the original Quitclaim Deed to Mr. Goldstein’s office. He does recall

 that Mr. Goldstein mailed it back to Mr. Salas. Exemption Trans. Vol. 3, 55:7 - 56:21.

           RESPONSE:



           105. After seeking to record through Mr. Goldstein’s office in 2011 and/or 2012 (See

 eMails attached as Exhibit 7) Max did not make any further attempts to record the Deed.

 Exemption Trans. Vol 3, 58:9-13


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 23 of 29             APPX00472
        RESPONSE:



        106. In discussions with his newly hired bankruptcy counsel, Marc Albert (Stinson

 LLP) (“Albert”), Max learned that if the Property was owned by Len, it could not be

 exempted in bankruptcy and would be subject to attachment and sale to partially satisfy the

 eventual judgments. D.C. Code § 15-501 (a)(14). These conversations took place in early

 2018. Exemption Trans. Vol. 3, Exhibit 6, 119:9 - 122:9; Albert-R Salas eMails, 2/14 -

 3/7/18, Exhibit 19, Exemption Trans. Vol 1, Exhibit 20, 145:22 - 147:20.

        RESPONSE:



        107. Max also learned from Albert that if Max could claim he is the actual owner of the

 Property, he could claim the Property exempt in his subsequent bankruptcy proceeding and, due to

 D.C.’s generous homestead exemption, Max could then claim the entire equity in the Property as

 exempt from execution by the Plaintiffs.

        RESPONSE:



        108. Mr. Albert confirmed that no original was found after 2010 at the Exemption Hearing

 through Ron Salas’ “rebuttal” testimony on August 24, 2018. Rebuttal Testimony of Ron Salas, at

 the Exemption Evidentiary Hearing, August 24, 2018. Exemption Trans., Vol 3, 4:10 - 5:16. See

 also, Exemption Trans. 5:19 - 6:3, 7:18 - 12:8, 13:17 - 15:24

        RESPONSE:




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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 24 of 29             APPX00473
        108. At the time of Ron Salas’ conversation with Mr. Albert regarding copies of the trust

 documents, Ron Salas understood that Mr. Albert was representing Max regarding a potential

 bankruptcy filing after the Superior Court trial. Exemption Trans. 12:12 - 13:14

        RESPONSE:



        109. Max Salas valued the Property at $2.5 Million on his schedules in or about May

 2018, and the Property was appraised for approximately $2.4 Million in or about August 2019.

 Stip. No. 50.

        RESPONSE:



        110. Pursuant to an order of this Court dated June 12, 2019, the trustee in this case was

 authorized to sell the estate’s interest in the Trustee’s avoidance and recovery rights under 11

 U.S.C. §§ 544 through 551. Stip. No. 47

        RESPONSE:



        111. On July 23, 2019, the trustee in Len Salas’ case held an auction sale to sell the

 bankruptcy estate’s interest in the avoidance and recovery actions pursuant to 11 U.S.C. §§ 544

 through 553. Stip. No. 48

        RESPONSE:



        112. The Plaintiffs were the successful bidders at the Trustee’s auction sale. Stip No. 49

        RESPONSE:


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 25 of 29             APPX00474
        113. The D.C. Bankruptcy Court made no final determination of the effect of the trustee’s

 avoiding powers asserting that effect was up to Len Salas’ bankruptcy estate. Stip. No. 44

        RESPONSE:



        114. No deed was recorded naming Max Salas as trustee or owner of the Property prior to

 Len Salas’ bankruptcy filing. Stip. No. 45

        RESPONSE:



        115. Other than the original deed dated 2007 and the Confirmation Order, no deeds or

 other documents of title have been filed related to the Property as of June 6, 2022. Stip. No. 46

        RESPONSE:



        116. From the time of the Fire until February or March 2018, no one resided in the

 Property. Stip. No. 35.

        RESPONSE:



        117. During that time, and until November 2019, no payments were made on the

 SunTrust Loan with the exception of one payment made by Max Salas from the insurance

 proceeds he received as a result of the fire damage. Stip No. 36

        RESPONSE:



        118. According to the schedules filed in Max Salas’ bankruptcy, as of the

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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 26 of 29             APPX00475
 commencement of his bankruptcy case, in April, 2018, the only lien creditors were the IRS

 ($6,768.66 claim) and SunTrust Mortgage ($1,030,825.86). Stip. No. 37

          RESPONSE:



          119. The balance of the SunTrust Loan as of October 26, 2018 was $1,141,021.14. Stip.

 No. 38

          RESPONSE:



          120. Max Salas has been making the required payments on the Property since

 November 2019, as of June 22, 2020. Stip. No. 39.

          RESPONSE:



          121. At all relevant times, Len Salas had limited income and assets, other than the

 Property. Stip. No. 28.

          RESPONSE:



          122. Max Salas intended to record the Quitclaim Deed in 2010 but had no money to

 pay the required recording and transfer taxes. Stip. No. 29.

          RESPONSE:



          123. The Quitclaim Deed has never been recorded. Stip. No. 30

          RESPONSE:

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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 27 of 29             APPX00476
        124. As of June 17, 2011, Len and Max abandoned the Quitclaim Deed and no longer had

 any intent to use or record it. Emails dated June, 2011 through February, 2012, Exhibit 7.

        RESPONSE:



        125. While in Colorado, Len Salas and Max Salas executed a trust agreement which

 Ron Salas prepared using a Colorado form even though the purported trust property, the

 Property, was located in D.C. Stip. No. 25.

        RESPONSE:



        126. The Defendant’s Second Amended Disclosure Statement and Third Amended Plan of

 Reorganization, as confirmed by the D.C. bankruptcy court, recognize that the Plaintiffs are the

 owners of, and have the right to pursue, the avoidance actions which are alleged in the Complaint,

 as amended. Exhibit 2, Complaint Exhibit B, M Salas Second Amended Disclosure Statement,

 Exhibit 2, at p. 17.

        RESPONSE:



                                               Respectfully submitted,

                                               BURCH, PORTER & JOHNSON, PLLC


                                               By: /s/ Taylor A. Cates
                                               130 North Court Avenue
                                               Memphis, TN 38103
                                               901-524-5165
                                               901-524-5000 (fax)
                                               Tacates@bpjlaw.com


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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 28 of 29             APPX00477
                                         LAW OFFICE OF PHILIP J. McNUTT, PLLC

                                         By: /s/ Philip J. McNutt
                                                Philip J. McNutt
                                                11921 Freedom Drive, Ste 584
                                                Reston, VA 20190
                                                703-904-4380
                                                202-379-9217 (fax)
                                         Pmcnutt@mcnuttlawllc.com

                                         COUNSEL FOR THE PLAINTIFFS




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           Exhibit Plaintiffs Amended List of Uncontested Facts Page 29 of 29             APPX00478
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      Exhibit 1 M Salas Superior Ct Depo Transcript (2-24-16)Excerpt Page 1 of 1       APPX00479
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                      UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLUMBIA
 ____________________________________
                                      )
 In re:                               )
                                      )  Case No. 18-00260
 MAX E. SALAS,                        )  Chapter 11
                                      )
                   Debtor.            )
 ____________________________________)

              SECOND AMENDED DISCLOSURE STATEMENT FOR PLAN OF
                   REORGANIZATION DATED DECEMBER 5, 2019

          COMES NOW Max E. Salas, the Debtor and Debtor-in-Possession (“Debtor”), and

 hereby presents this Disclosure Statement pursuant to the provisions of Chapter 11 of Title 11 of

 the United States Code.

                                             I. INTRODUCTION

          The Debtor provides this Disclosure Statement in order to disclose the information

 believed to be material for creditors to arrive at a reasonably informed decision in exercising the

 right to vote on acceptance of the Plan of Reorganization Under Chapter 11 of the United States

 Bankruptcy Code Proposed by the Debtor (the “Plan”).

          NO REPRESENTATIONS CONCERNING THE DEBTOR ARE AUTHORIZED

 BY THE DEBTOR, OTHER THAN AS SET FORTH IN THIS DISCLOSURE

 STATEMENT. ANY REPRESENTATIONS OR INDUCEMENTS MADE TO SECURE

 ACCEPTANCE OR REJECTION OF THE PLAN WHICH ARE NOT CONTAINED IN

 THIS STATEMENT SHOULD NOT BE RELIED UPON BY ANY CREDITOR AND

 SHOULD BE REPORTED TO THE OFFICE OF THE UNITED STATE TRUSTEE.

 INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS NOT BEEN

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 SUBJECT TO A CERTIFIED AUDIT. CONSEQUENTLY, THE RECORDS KEPT BY

 THE DEBTOR ARE NOT WARRANTED OR REPRESENTED TO BE WITHOUT ANY

 INACCURACY, ALTHOUGH GREAT EFFORT HAS BEEN MADE TO BE

 ACCURATE AND COMPLETE.

                        II. VOTING ON THE PLAN AND CONFIRMATION

          Voting on acceptance or rejection of the Plan is governed by provisions of the

 Bankruptcy Code. Each voting creditor will be supplied with an Official Ballot, in a form

 prescribed by the Bankruptcy Rules. Creditors may vote to accept or reject the Plan by filing a

 completed ballot with counsel for the Debtor, within the time prescribed for voting. A class of

 creditors will be considered to have accepted the Plan (i) if it is accepted by creditors holding at

 least two-thirds in amount and more than one half in number of the allowed claims of such class

 that have voted, or (ii) if the class is unimpaired within the meaning of the Bankruptcy Code.

          The Bankruptcy Court will conduct a hearing and rule on confirmation of the Plan in

 accordance with the Bankruptcy Code at the United States Bankruptcy Court for the District of

 Columbia, Bankruptcy Court’s Courtroom, United States Courthouse, 3rd and Constitution

 Avenues, NW, Washington, DC 20001. You will receive a separate notice of that hearing.

                   III. CONFIRMATION UNDER ALTERNATE STANDARDS

          If all requirements for confirmation of the Plan under the Bankruptcy Code are otherwise

 satisfied, the Debtor will ask the Bankruptcy Court to confirm the Plan without the unanimous

 acceptance of classes of creditors assuming the Court finds that the Plan does not discriminate

 unfairly against, and is fair and equitable (within the meaning of the Bankruptcy Code) with

 respect to, any class of holders of claims that has or is deemed to have rejected the Plan.


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                           IV. HISTORY AND BACKGROUND OF THE DEBTOR
                                AND REASONS FOR FILING BANKRUPTCY

          The debtor in this case is an individual residing in the District of Columbia at 1610 Riggs

 Place, NW, Washington, DC 20009 (the "Property"). During the night of June 3, 2015, a fire

 occurred at the Property. Tragically, two roomers living in the main part of the home, Nina

 Brekelmans and Michael Patrick McLoughlin, were not able to escape and died in the blaze. As a

 result of the fire, the Property was nearly completely destroyed. Max Salas was also present at

 the time of the fire, where, along with his visiting grandson, he was forced to jump from the

 second story of the building. As a result, Max sustained serious injuries including burns and a

 broken ankle that required hospitalization for a period of six weeks. Following his release from

 the hospital Max further was in convalescence as a result of his injuries and due to an infection

 he contracted, was required to receive drip antibiotics for three months and was heavily sedated

 during this time. During this time, Max lived at an apartment provided to him through the

 insurance policy he had previously obtained in his name for the Property.

          On October 20, 2015, the parents of Nina Brekelmans and Michael Patrick Mcloughlin

 initiated wrongful death actions against both Max Salas and Len Salas in D.C. Superior Court as

 Case Numbers 2015 CA 008054 B and 2015 CA 008061 B (the "Superior Court Litigation").

 One of the Debtor's sons, Len Salas, was included in the action due his appearing as the last

 recorded interest in the Property with the D.C. Recorder of Deeds. The two cases brought by

 each family were later consolidated into a single action.

          Following a jury verdict at the trial against Len and Max, Len, as record owner of the

 Property, was found jointly liable with Max to the McLoughlin Estate and the Brekelmans Estate

 (together, the "Judgment Creditors") in the respective amounts of $7.7 million and $7.5 million

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 (together, the "D.C. Superior Court Judgments"). These judgments prompted Max Salas and Len

 Salas to each file a Chapter 11 bankruptcy case on April 18, 2018. Len Salas's bankruptcy case

 was later converted to chapter 7 and is currently pending before the United States Bankruptcy

 Court for the Middle District of Tennessee as Case No. 3:18-bk-02662 (the "Len Salas

 Bankruptcy Case").


      V.       SIGNIFICANT EVENTS DURING THE DEBTOR'S CHAPTER 11 CASE

 A.        Confirmation of the Debtor's Ownership Interest in the Property and Ability to Claim the
           District of Columbia's Homestead Exemption for the Property

           Max Salas's status as sole legal and equitable owner of the Property had previously been

 called into question through the course of the Superior Court Litigation based on the fact that DC

 Land Records displays Len Salas as possessing the last recoded deeded interest in the Property.

 Questions concerning who possessed the proper ownership interest in the Property were further

 complicated by the existence of a Trust Agreement previously signed by Len Salas and Max

 Salas and a Quitclaim Deed that was not recorded with the DC Recorder of Deeds. With the

 bankruptcy, Debtor claimed full ownership of the Property and claimed an exemption in this

 interest in the Property pursuant to the District of Columbia's homestead exemption found in

 D.C. Code § 15-501(a)(14). The Debtor's claim to ownership of the Property and to the

 homestead exemption were objected to by the Judgment Creditors. Following a three-day trial on

 the matter, on September 25, 2018, the Bankruptcy Court issued a fifty-nine page opinion (the

 "Homestead Opinion") [ECF Dkt. No. 108] detailing Max Salas's history with the Property. The

 Homestead Opinion confirmed that Max Salas possessed the full legal and equitable interest to

 the Property and overruled the Judgment Creditors' objection to the Debtor's claim of the


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 homestead exemption in the Property. A copy of the Homestead Opinion, which details Max

 Salas's full ownership history of the Property is attached to this Disclosure Statement for

 reference as Exhibit A.

          The Judgment Creditors timely appealed the Homestead Opinion and that appeal is

 currently pending before the United States District Court for the District of Columbia as Case

 No. 1:18-cv-02318-KBJ (the "Homestead Appeal"). Although the Homestead Opinion is on

 appeal, no stay has been issued concerning the Homestead Opinion and it currently remains an

 enforceable order of the Court.

 B.       Judgment Creditors Purchase of Avoidance Claims from the Len Salas Bankruptcy Estate

          The Len Salas Bankruptcy Case was converted to chapter 7 on December 26, 2018, and a

 chapter 7 trustee has been appointed to that case. Following the conversion, another of Debtor's

 sons, Ron Salas, sought to purchase any potential avoidance rights concerning transfer of the

 property from Len Salas to Max Salas described in the Homestead Opinion in order to help his

 father with reducing further contingencies and uncertainties in his bankruptcy case concerning

 the Property. Following an auction conducted by the trustee in the Len Salas Bankruptcy Case,

 the Judgment Creditors purchased "each and every claim and recovery action to which the

 Trustee or the [Len Salas bankruptcy] estate may have under the provisions of 11 U.S.C. § § 544

 through 553, as applicable, related to" the Property for the purchase price of $156,000.00. As

 evidenced by a Trustee's Report of Sale filed by the Trustee in the Len Salas Bankruptcy Case on

 August 14, 2019 and a Sale of Estate Property Free and Clear of Liens and Interests attached to

 that report, Payment was delivered by the Judgment Creditors and their purchase of the

 avoidance actions from the Len Salas bankruptcy estate was competed on July 31, 2019. To date,


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 no avoidance actions have yet been initiated by the Judgment Creditors based on these claims,

 although on October 11, 2019, the Judgment Creditors did file a Motion for Relief from the

 Automatic Stay in the Debtor's bankruptcy case seeking authority to file such claim. [ECF Dkt.

 No. 252]. This motion is currently pending before the Court and is scheduled for hearing on

 November 14, 2019.

 C.       Debtor Obtaining a Conditional Certificate of Occupancy and Licensing to Rent Rooms
          at the Property through Short-Tem Rentals

          Following the issuance of the Homestead Opinion, the Debtor was able to secure a

 Certificate of Occupancy and licensing to begin renting rooms at the Property though the short-

 term rental site, Airbnb. A copy of the Debtor's Certificate of Occupancy and associated

 licensing is attached as Exhibit B. Debtor's Certificate of Occupancy in his name is conditioned

 upon Debtor's continued status as owner of the Property and would be revoked should that status

 be overturned through an adverse ruling in the Homestead Appeal or through an adverse ruling

 in a potential avoidance action that could be brought by the Judgment Creditors based on their

 purchase of those claims from the trustee in the Len Salas Bankruptcy Case. Since beginning to

 rent the rooms on a short-term basis through Airbnb beginning in April 2019, the Debtor has

 earned $62,041.42 in rental payouts for the period of April 1, 2019 through September 30, 2019.

 Additionally, the Debtor has secured a lease for the basement unit at the property for the monthly

 rental amount of $4,500.00.

 D.       Fusion Contracting Default Judgment

          On February 8, 2019, the Debtor filed a Complaint initiating Adversary Proceeding No.

 19-10002 against Fusion Contracting Group, LLC (the "Fusion Adversary Proceeding") based on

 breach contract claims stemming from unfinished and faulty work performed by a contractor

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 contracted to perform renovation work to the Property after the fire that occurred in 2015.

 Following a default by the defendant in that action, Judgment for the Debtor was entered on July

 30, 2019, in the amount of $79,287.17 in damages and attorney's fees, with post-judgment

 interest on that judgment award as provide by 28 U.S.C. § 1961. The Debtor has not yet

 performed any post-judgment discovery regarding the Fusion Judgment and makes no

 representations regarding its collectability.

 E.         Deed of Trust Stipulation for Plan Treatment & New Funding for the Plan

          Through the Plan the Debtor is seeking approval of a Stipulation Regarding Plan

 Treatment reached between the Debtor and U.S. Bank/Select Portfolio Servicing for the existing

 Deed of Trust on the Property. Under the terms of the proposed agreement, the Debtor will

 assume payments of $8,329.19 per month toward the Deed of Trust for the Property as adequate

 protection until Plan confirmation. Following approval of confirmation of the Plan, the Debtor

 shall make payments following re-amortization by U.S. Bank following Confirmation based on

 an approximate balance of $1,208,720.40 at a 5.25% fixed interest rate with payments calculated

 at a 360 month amortization schedule, with all amounts due upon the maturity date May 1, 2037.

 The full stipulation between the Debtor and U.S. Bank, subject to approval of the Bankruptcy

 Court of the Debtor's Plan, is attached hereto as Exhibit C.

          In addition to the agreement reached between the Debtor and U.S. Bank/Select Portfolio

 Servicing, the Debtor will deliver all non-exempt assets, primarily consisting of the Fusion

 Judgment, towards funding of the Plan. Debtor additionally, will provide $225,000.00 in

 additional new value into the Plan, in funds guaranteed and secured by funds contained in the

 Debtor's exempt retirement account.


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 F.       Post-Petition Employment of Professionals

          The Debtor has been represented in this Chapter 11 proceeding by Stinson LLP as his

 general bankruptcy counsel, Phillip G. Young, Jr. of Thompson Burton, PLLC as local counsel

 for representation in the Len Salas Bankruptcy Case1, and Justin Fasano and Janet Nesse of

 McNamee Hosea as conflicts counsel for matters concerning U.S. Bank. The Debtor’s

 accountant is Arthur Lander, CPA PC. The Debtor will continue to use these professionals post-

 confirmation as necessary until the bankruptcy case is closed.

                        VI. OVERVIEW OF ASSETS AND MAJOR CLAIMS

          The Debtor's primary Asset, as declared in the Homestead Opinion, is the real property

 located at 1610 Riggs Place, NW, Washington, DC 20009 and serves both as the primary

 residence of the Debtor and source of rental income through the renting of rooms through short-

 term rental site Airbnb. Debtor has scheduled the value of this property on his Schedules as $2.5

 million. The recent appraised value of the real property is $2.45 million. Although not

 specifically a secured claim of the Debtor, the Property is subject to a Note and Deed of Trust

 made by Len Salas originally in favor of U.S. Bank National Association as Trustee for the

 holders of Bank of America Funding Corporation Mortgage pass-Through Certificates, Series

 2007-6 and originally serviced by SunTrust Mortgage, Inc. On April 8, 2019, Select Portfolio

 Servicing, Inc. filed a Transfer of Claim Other than for Security in the Len Salas Bankruptcy

 Case indicating that they now serve as servicer on the Note and Deed of Trust on the Property.



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  The Debtor has also employed Roderick K. Barnes of Rollins, Smalkin, Richards & Mackie,
 LLC ("Barnes") as special counsel for matters concerning the Superior Court Litigation.
 Payment to Barnes is covered by the insurance policy the debtor possessed at the time of the
 Property fire and no attorney fees are expected to be owed from debtor's bankruptcy estate.

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 This claim is treated as Class 3 in the Plan. The Debtor has negotiated with U.S. Bank/Select

 Portfolio Servicing and has arrived at terms for adequate protection payments to U.S. Bank while

 confirmation of the debtor's plan is sought and for modification of the secured loan upon

 approval of the plan, pursuant to the Stipulation for Plan Treatment attached as Exhibit C.

 Debtor's interest in the property has been fully exempted pursuant to the Homestead Opinion and

 DC Code § 15-501(a)(14).

          From Debtor's exempt Property he generates rental income through the leasing of the

 basement unit at the Property, and through short-term rentals of two individual room in the

 Property through the web/rental service Airbnb. These rental monies received are themselves

 exempt as fruits of the Debtor's exempt asset and are further detailed in the income projection

 attached as Exhibit D. Airbnb records of demonstrating the rental history for the Property is

 attached as Exhibit E.

          A second significant asset of the estate includes the recently entered Judgment against

 Fusion Contracting Group, LLC in the amount of $79,287.17. The likely collectability of the

 Fusion Judgment is unknown at this time.

          Although not an asset of the estate, the Debtor possesses an exempt retirement account.

 From this exempt account, the Debtor is proposing in his plan to offer $225,000 to further fund

 his Plan through funds backed by this exempt retirement account. Debtor plans to accomplish

 this either by receiving a loan 100 percent guaranteed and secured by the exempt retirement

 assets, or a direct withdrawal from his retirement account of these funds for delivery into a Plan

 Fund for distribution to claimants. Debtor's exempt retirement account contains funds of

 approximately $500,000 and is sufficient to cover direct withdrawal of the proposed $225,000,


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 and any additional tax labilities incurred based on a withdrawal of the this amount, and any

 payments toward extended tax payments under the Plan if necessary.

          Other significant claims of the estate include those of the Judgment Creditors in the

 respective amounts of $7.5 million (Brekelmans) and $7.7 million (McLoughlin). The Debtor

 listed these claims as disputed in his bankruptcy Schedules based on the fact that the Debtor had

 timely filed appeals of each judgment and on the fact that the judgements were not based on final

 orders of the Superior Court pursuant to D.C. Sup. Ct. R. Civ. P Rule 54(b). Nevertheless, the

 Debtor has provided for treatment of the Judgment Creditor claims within the Plan.

          Based on the findings of fact stated in the Homestead Opinion, the District of Columbia

 filed a Proof of Claim asserting a $83,960.42 associated with unpaid transfer and recordation

 taxes associated with transfer of the Property from Len Salas to Max Salas in 2010, including

 $34,832.19 in recordation and transfer taxes due based on the transfer of the property occurring

 in July 6, 2010 and which is listed as a secured by the Property, a non-filing penalty of $8,708.05

 (25%) (unsecured), and interest on the supposed deficiency in the amount of $40,420.18

 (claimed as secured).

          Debtor's Plan contains definitions, a procedure for claims objections and a provision for

 post-confirmation jurisdiction. Readers should refer to the Plan for a complete discussion of

 these provisions.

                                     VII. SUMMARY OF THE PLAN

 A. Classification and Treatment of Claims Under the Plan:

          THE FOLLOWING IS A BRIEF SUMMARY OF THE PLAN. THIS SUMMARY

 SHOULD NOT BE RELIED UPON FOR VOTING PURPOSES. CREDITORS ARE URGED


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 TO READ THE ENTIRE PLAN. A COPY OF THE PLAN IS BEING SENT TO YOU WITH

 THIS DISCLOSURE STATEMENT. THE PLAN REPRESENTS A PROPOSED LEGALLY

 BINDING AGREEMENT BY AND BETWEEN THE DEBTOR AND ITS CREDITORS. ALL

 CREDITORS WILL BE BOUND BY THE PLAN.

          1.        Classification - Summary

               The following is a designation of each Class of Claims and Interests under the Plan. A

 Claim or Interest is classified in a particular Class only to the extent that the Claim or Interest

 qualifies within the description of that Class, and is classified in another Class or Classes to the

 extent that any remainder of the Claim or Interest qualifies within the description of such other

 Class or Classes. Each “Class” (e.g., Class 2A versus Class 2B and Class 2A versus Class 2B) is

 separate and distinct from all other Classes for all purposes.

          2.        Classification - Specifics

               Claims and Interests are classified for all purposes, including voting, confirmation and

 distribution pursuant to the Plan, as follows:


                    Class 1:         All administrative claims including for professional fees, United
                                     States Trustee Quarterly fees and administrative taxes. This class
                                     consists of fees and expenses for Stinson LLP, fees and expenses
                                     for Thompson Burton PLLC, fees and expenses for McNamee,
                                     Hosea, Jernigan, Kim, Greenan & Lynch, P.A., fees and expenses
                                     of Art Lander CPA PC, any other professional fees that may be
                                     incurred by the Debtor, and the United States Trustee’s quarterly
                                     fees. (Unimpaired).

                    Class 2:         All Priority Claims including those arising pursuant to Bankruptcy
                                     Code Section 507(a)(8). (Impaired).

                    Class 3:         U.S. Bank National Association/ Select Portfolio Servicing, Inc.
                                     Secured Claim against Property (Impaired).


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                   Class 4:          Allowed Secured Claim of IRS (Impaired).

                   Class 5:          District of Columbia Transfer & Recordation Tax Claim (Claim 5)
                                     (Impaired)

                   Class 6:          Unsecured Claims of Judgment Creditors (Claim No. 3 –
                                     McLoughlin; Claim No. 4 - Brekelmans) (Impaired).

                   Class 7:          All Remaining Allowed Unsecured Non-Priority Claims.
                                     (Impaired).

                   Class 8:          Allowed Unsecured Penalty Claim of the District of Columbia
                                     (Impaired).

                   Class 9:          Paid Hyundai Lease Titling Trust Lease claim (Unimpaired)

                   Class 10:         Contribution Claim of Len Salas listed on Schedules associated
                                     with U.S. Bank/SPS Arrearages (Unimpaired)


          3.       Treatment of Claims and Interests

                   A.       Administrative Claims

                            1.       Class 1 Administrative Claims

          The Debtor shall assume and pay to each holder of an Allowed Administrative Claim, on

 account of the Administrative Claim and in full satisfaction thereof, Cash equal to the allowed

 amount of such Administrative Claim, unless the holder agrees or shall have agreed to other less

 favorable treatment of such Claim. Debtor anticipates that some form of agreement concerning

 payment of fees will need to be reached with his legal counsel and accountant in order to

 preserve desired amounts for payment to additional creditors. Administrative Claims are

 expected to exceed $175,000, but payment of Administrative Claims from the Plan Fund shall

 not exceed and be capped at $175,000.

                            2.       Statutory Fees and Continuing Duties to the Office of the United
                                     States Trustee

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          All fees payable pursuant to 28 U.S.C. § 1930, shall be paid by the Debtor in Cash in an

 amount equal to the amount of such Administrative Claim.

          Until such time as the case is closed, dismissed or converted, the Debtor shall continue to

 report its disbursements each calendar quarter to the U.S. Trustee and shall timely pay all fees

 due under 28 U.S.C. § 1930(a)(6).

                            3.       Treatment and Payment of Administrative Claims.

          After the Effective Date, all professional or others requesting compensation or

 reimbursement of expenses pursuant to Bankruptcy Code sections 327, 328, 330, 503(b) and

 1103 for services rendered before the Effective Date shall file an application for final allowance

 of compensation and reimbursement of expenses. Applications need not be filed with respect to

 fees and expenses previously applied for by Court approved professionals (including applications

 previously approved by and/or previously paid pursuant to an order of the Court). Fees and

 expenses of professionals shall be paid in Cash in full (a) immediately before the Effective Date,

 to the extent allowed by the Court as of such date (such payments to be made by the Debtor) or

 as agreed by the Parties if a lesser amount, but not to exceed an aggregate amount of

 $175,000.00 from the Plan Fund, and (b) on or before the tenth (10th) day after entry of an order

 allowing any such fees and expenses, to the extent such fees and expenses were not allowed as of

 the Effective Date, or upon such payment schedule as agreed between the Parties.

                   B.       Class 2: Priority Claims

          The only known Priority Claim consists of a certain portion of the claim filed by the

 Internal Revenue Service in the amount of $13,196.78 (Claim 2-2). Unless the applicable taxing

 agency or any other priority claim holders that may be established agree to less favorable


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 treatment, each holder of an Allowed Priority Claim to the extent their claim is allowable and

 entitled to priority under Bankruptcy Code section 507(a), shall be paid by the Debtor in regular

 monthly installment payments totaling the full amount of the claim plus interest pursuant to 11

 U.S.C. § 511 beginning on the first day of the month following the Effective Date of the Plan

 and lasting until April 1, 2023 pursuant to 11 U.S.C. § 1129(a)(9)(C). If Debtor is unable to

 generate sufficient funds from his future rental income from the Property and other monthly

 income received, Debtor will deliver payment on the Class 2 claims from funds held in his

 exempt retirement account if necessary. This class is impaired.

                   C.       Class 3: U.S. Bank National Association/ Select Portfolio Servicing, Inc.
                            Secured Claim against Property

          Class 3 consists of the secured lien currently in the name on Len Salas possessed by U.S.

 Bank National Association/ Select Portfolio Servicing, Inc. and secured by the Property (the U.S.

 Bank Claim). Based on Debtor's ownership in the Property established through the Homestead

 Opinion, the Debtor has entered into a Stipulation for Plan Treatment with U.S. Bank National

 Association/ Select Portfolio Servicing, Inc. to establish terms for Debtor's payment toward the

 US Bank Claim and address current arrearages owed. Full terms of the U.S. Bank Stipulation for

 Plan Treatment are attached as Exhibit C. Under the stipulation, beginning November 1, 2019,

 the Debtor is to begin making adequate protection payments on the U.S. Bank Claim in the

 amount of $8,329.19 per month until approval of the U.S. Bank agreement through confirmation

 of the Plan and the Plan's Effective Date, after which time the Debtor shall make payments

 following re-amortization by U.S. Bank following Confirmation based on an approximate

 balance of $1,208,720.40 at a 5.25% fixed interest rate with payments calculated at a 360 month

 amortization schedule, with all amounts due upon the maturity date May 1, 2037. U.S. Bank's

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 claim is an in rem claim attaching to the Property, and the Debtor shall not be liability under the

 underlying Deed of Trust and Note hall be limited to Debtor's interest in the Property, with no

 personal liability. Debtor further intends to seek a refund of vacant real property taxes previously

 erroneously assessed against the Debtor and paid pre-petition by U.S. Bank (at the time serviced

 through SunTrust Bank) to the District of Columbia. If the Debtor were to be successful in

 receiving a refund of tax payments previously paid, they are to be delivered in full to U.S.

 Bank/SPS for payment of the existing escrow balance on the U.S. Bank Claim. This class is

 impaired.

                   D.       Class 4: Allowed Secured Claim of IRS.

          Class 4 consists of the Allowed Secured Claim of the IRS consisting of that $6,768.66

 portion of the claim they have filed in the Case (Claim 2-2). Unless the holder of this claim

 agrees to less favorable treatment, to the extent the claim is allowed, payment on Class 4 claims,

 is to be paid by the Debtor in regular monthly installment payments totaling the full amount of

 the claim plus interest pursuant to 11 U.S.C. § 511 beginning on the first day of the month

 following the Effective Date of the Plan and lasting until April 1, 2023 pursuant to 11 U.S.C.

 § 1129(a)(9)(C). If Debtor is unable to generate sufficient funds from his future rental income

 from the Property and other monthly income received, Debtor will deliver payment on the Class

 4 claims from funds held in his exempt retirement account if necessary. The IRS shall retain its

 lien until paid in full. This class is Impaired.

                   E.       Class 5: District of Columbia Transfer & Recordation Tax Claim

          Class 5 consists of that portion claimed as owing for Transfer & Recordation Taxes and

 Interest on Deficiency in the amount of $75,252.37 claimed on Claim 5 filed by the District of


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 Columbia. The District has claimed this amount associated with the August 4, 2010 date of

 transfer from Len Salas to Max Salas described in the Homestead Opinion. The Debtor believes

 the District is not entitled to claim this amount due to the fact that no deed was recorded at that

 time and any future recording confirming of Max Salas's ownership in the Property is to be

 enacted through this Plan and exempt from such taxes pursuant to 11 U.S.C. § 1146(a). Debtor

 intends to object to the District's Claim prior to Confirmation of the Plan. Nevertheless, payment

 to the District, to the extent their claim is allowable, is to be paid by the Debtor in regular

 monthly installment payments totaling the full amount of the claim beginning on the first day of

 the month following the Effective Date of the Plan and lasting until April 1, 2023 pursuant to 11

 U.S.C. § 1129(a)(9)(C). Class 5 is impaired.

                   F.       Class 6: Allowed Unsecured Claims of Judgment Creditors (Claim No. 3 –
                            McLoughlin; Claim No. 4 - Brekelmans)

          Class 6 consists of the two claims of the Judgment Creditors in the total amount of $15.2

 million (Claim No. 3 – McLoughlin $7.7 million; Claim No. 4 – Brekelmans; $7.5 million).

 Debtor's plan provides that payment on the Class 6 Claims will be made pro-rata, along with the

 Class 7 remaining allowed unsecured non-priority claims, from a Plan Fund funded by the

 minimal amounts of the existing non-exempt assets of the Debtor consisting of non-exempt cash

 assets existing in Debtor's DIP account at the time of Confirmation, plus an additional influx of

 $225,000 of funds secured by Debtor's exempt retirement account. Administrative Claims are

 expected to exceed $175,000, but payment from the Plan Fund towards Administrative Claims

 shall be capped at $175,000, leaving at least $50,000 of remaining funds from the additional

 $225,000 cash infusion for distribution to Class 6 and Class 7 Claims. The Plan further provides

 assignment of any uncollected amounts of the Fusion Judgment on the Effective Date jointly to

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 both Judgment Creditors. The Debtor will not oppose efforts and provide reasonable assistance

 to the Judgment Creditors' efforts to collect available Insurance Proceeds from Encompass

 associated with their judgments. Upon receipt of discharge, the Debtor will take steps to

 withdraw his appeal of the Judgment Creditor Judgments in the DC Superior Court to further

 resolve that issue. Judgment Creditor Claims are being given separate Class treatment based on

 the fact that they may also collect on the amounts owed to them from available Insurance

 Proceeds (See Motion for Relief from Stay Order; ECF Dkt. No. 74), and based on the fact that

 they possess the right to prosecute the Tennessee Avoidance Actions regarding the Property

 purchased from the Len Salas Bankruptcy Case. The Class 6 and Class 7 claims listed on

 Debtor's Schedules have been valued at $15,239,769.40, 99.7% percent ($15.2 million) of which

 is possessed by the Judgment Creditors. It is anticipated therefore that 99.7% percent of

 distributions from the Plan Fund will be distributed to Class 6 Claims.

          The payment will be made thirty (30) days after the later of (i) the payment of all

 Administrative Claims; and (ii) the Effective Date. This Class is Impaired.

                   G.       Class 7: Remaining Allowed Unsecured Non-Priority Claims.

          All Class 7 Claims, consisting of all remaining allowed unsecured non-priority claims

 will receive a one-time pro-rata distribution following the Effective Date from remaining

 amounts in the Plan Fund following payment to those possessing claims of a higher priority.

 Administrative Claims are expected to exceed $175,000, but payment from the Plan Fund

 towards Administrative Claims shall be capped at $175,000, leaving at least $50,000 of

 remaining funds from the additional $225,000 cash infusion for distribution towards other

 creditors. The Class 6 and Class 7 claims listed on Debtor's Schedules have been valued at


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 $15,239,769.40, 0.3% percent ($39,769.40) of which is possessed by the Class 7 Claimants. It is

 anticipated therefore that 0.3% percent of distributions from the Plan Fund will be distributed to

 Class 7 Claims. The payment will be made thirty (30) days after the later of (i) the payment of

 Administrative Claims from the Plan Fund; and (ii) the Effective Date. This class is impaired.

                   H.       Class 8: Allowed Unsecured Penalty Claim of the District of Columbia

          Class 8 consists of that portion of the Claim filed by the District of Columbia in the

 amount of $8,708.05 representing a non-filing penalty associated with other aspects of Claim 5,

 to the extent such claim is an allowed unsecured penalty claim. Assuming funds remain available

 in the Plan Fund, Class 8 claims will receive a one-time pro-rata distribution following the

 Effective Date from remaining amounts in the Plan Fund following payment to those possessing

 claims of a higher priority. However, based on the large amount of claims in Class 6 and Class 7,

 no distribution is expected to be made on Class 8 claims. To the extent a payment is made, the

 payment will be made thirty (30) days after the later of (i) the payment of all higher priority

 Claims to be made from the Plan Fund; and (ii) the Effective Date. This class is impaired.

                   I.       Class 9: Allowed Paid Hyundai Lease Titling Trust Lease Claim

          Class 9 consists of the lease claim filed by Hyundai Titling Trust filed on May 3, 2018 as

 Claim 1 associated with the lease of a vehicle by the Debtor at the time of the Petition Date.

 Following the Petition Date, Debtor continued to make lease payments due for the vehicle until

 the lease terminated in January 2019. No further payments are owed under the Hyundai lease and

 the Debtor has surrendered the Vehicle. No further payments are therefore contemplated for this

 claim. This class has been paid in full and is unimpaired.

                   J.       Class 10: Contribution Claim of Len Salas listed on Schedules associated
                            with U.S. Bank/SPS Arrearages (Unimpaired)

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          Class 10 consists of the claim of Len Salas listed on the Debtor's Schedule E/F at 4.14 in

 the amount of $428,614.90. This claim solely represents arrearages existing on the U.S.

 Bank/SPS Claim existing on the Petition Date. Because the deed of trust and underlying note for

 the Property were in the name of Len Salas, but the Debtor was responsible for making payments

 for the Property pursuant to his ownership interest later established in the Homestead Opinion,

 the Debtor included this claim to Len Salas representing amounts ultimately owed as arrearages

 for the lien on the Property. Len Salas having received his discharge and the Debtor having

 reached agreement with U.S. Bank/SPS regarding the U.S. Bank Claim described in the

 Stipulation for Plan Treatment, no further treatment or payment to Len Salas (for forwarding to

 U.S. Bank) is warranted by the Debtor and will not occur under Debtor's Plan. Class 10 is

 Unimpaired.

                   4. Means of Funding the Plan.

          Debtor's Plan seeks modification of the existing secured debt on the Property through the

 Stipulation for Plan Treatment with U.S. Bank. All continuing payments under the Plan,

 including pre- and post-confirmation monthly payments to U.S. Bank per the Stipulation for Plan

 Treatment, and for the Extended Tax Payments are expected to be derived wholly from the

 Debtor's future exempt earnings consisting of monthly deposits from social security, disability

 payments, and Airbnb and other rental earnings from the Property. A Projection of the Debtor's

 future income generated from these exempt sources is attached as Exhibit D. Further with respect

 to the Extended Tax Payments of the IRS, if Debtor's future income is insufficient to make these

 payments, Debtor will make payment on these claims from funds held in his exempt retirement

 account if necessary. The Debtor will further submit all available non-exempt assets for the


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 benefit of creditors under the Plan at the time of Confirmation consisting of the Fusion Judgment

 and existing non-exempt cash assets existing in Debtor's DIP account at the time of

 Confirmation, but not including any value associated with the non-exempt portion of Debtor's

 home furnishings, equipment, or clothes. The non-exempt portion of such home furnishings,

 equipment, and clothes are believed to be de minimus, especially when compared to the

 additional exempt Plan funding being supplied by the Debtor and the cost of ascertaining value

 of the exempt portion. With the exception of the Fusion Judgment, further non-exempt assets of

 the Debtor are expected to be minimal.

          Following delivery of the existing non-exempt assets, the Plan will be further funded

 through delivery of $225,000 towards the Plan Fund from either a loan to be received by the

 Debtor for funds 100% secured by the Debtor's exempt retirement account, or if the Debtor was

 unable to receive such a loan, from delivery of $225,000 directly withdrawn from this exempt

 account by the Debtor within forty-five (45) days after Confirmation. Direct withdrawal of funds

 from Debtor's account will cause the Debtor to incur additional tax consequences, making a loan

 preferable. Nevertheless, Debtor's retirement account contains sufficient funds to cover tax

 liability associated with a withdrawal of these funds. From this new value, payment towards

 Administrative Claims from the Plan Fund would be capped at $175,000, allowing for payment

 of at least $50,000 from the new value added into the Plan Fund for distribution to other

 claimants. It is assumed that confirmation of the Debtor's Plan would require cramdown of the

 Judgment Creditor's claims pursuant to 11 U.S.C. § 1129(b).

                   5. Executory Contracts and Unexpired Leases.




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          The Plan proposes to assume all unexpired leases and executory contracts that have not

 previously been rejected in this bankruptcy case. Debtor's Plan further proposes that it shall have

 no effect on the post-petition lease of the Debtor's vehicle approved by the Court at ECF Dkt.

 Entry 159, and the post-petition tenant lease entered into by the Debtor for the renting of the

 basement unit at the Property.

                   6. Pending Litigation.

          Debtor intends to object to the claim of the District of Columbia that asserts Debtor owes

 transfer and recordation taxes, penalties, and interests associated with the creation of the 2010

 Quitclaim Deed from Len Salas for the Property and cited in the Homestead Opinion. Debtor

 further intends to seek a refund of vacant real property taxes previously erroneously assessed

 against the Debtor and paid pre-petition by U.S. Bank for the Deed of Trust for the Property (at

 the time serviced through SunTrust Bank). Any refunded tax payments would be delivered to US

 Bank/SPS to reduce the a outstanding escrow balance on the Property account associated with

 the previous payment. Other pending litigation includes the appeal of the Homestead Opinion,

 which has been fully briefed for the United State District Court for the District of Columbia, as

 well as avoidance action litigation to be brought by the Judgment Creditors in the U.S.

 Bankruptcy Court for the Middle District of Tennessee following the Judgment Creditors'

 purchase of those claims from the Len Salas Bankruptcy Estate (the "Tennessee Avoidance

 Actions"). Other pending litigation includes the outstanding appeal of the Judgment Creditor

 Judgments in the DC Superior Court brought by the Debtor prior to filing bankruptcy. This

 appeal is currently stayed and would be withdrawn/dismissed by the Debtor upon discharge of

 debts owed to the Judgement Creditors contemplated in the Plan. Additional litigation may also


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 be brought to resolve the additional action against 1610 Riggs Place Trust contemplated

 previously by the Superior Court and/or an action to reduce the judgments in favor of the

 Judgment Creditors to final judgments pursuant to DC Superior Court Rule of Civil Procedure

 Rule 54(b). See Order on Motion to Lift Automatic Stay With Respect to Finalization of Superior

 Court Judgments and Judgment Creditors' Recovery of Insurance Proceeds, ECF Dkt. NO. 74.

 With Plan Confirmation, the Debtor would not oppose steps taken by the Judgment Creditors to

 resolve these issues or to claim insurance proceeds available under Debtor's Encompass

 Insurance Policy.

                   7. Confirmation Order as Recordable Order Conveying Property to Max
                      Salas.

          The Plan provides that, upon Confirmation, the Confirmation Order, or a separate order

 as needed, shall contain terms that will constitute an Order conveying the Property to Max Salas

 based on the ownership interest of the Debtor to the Property established through the Homestead

 Opinion and that such order may be recorded with the land records of the District of Columbia in

 lieu of a deed. If the District of Columbia shall later refuse to honor the Confirmation Order as a

 document properly conveying the Property to the Debtor, the Debtor reserves the right to obtain

 an appropriate deed to th Property signed by the trustee in the Len Salas Bankruptcy Case, or if

 such trustee refuses, to seek the appointment of an escrow agent in Debtor's Bankruptcy Case to

 sign such deed for recording purposes.

                   8. Recordation and Other Taxes Covered by Section 1146(a).

          Pursuant to section 1146(a) of the Bankruptcy Code, the making or delivery of an

 instrument of transfer under the Plan (including the proposed recordation of the Confirmation

 Order or other Order as necessary to confirm Debtor's interest in the Property pursuant to the

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 Homestead Opinion) will not be subject to any stamp tax, real estate transfer, mortgage

 recording, or any other similar tax.

                   9. Discharge Following Distribution on the Effective Date of the Plan
                      Pursuant to 11 U.S.C. § 1141(d)(5)(B).

          Debtor's Plan provides for a discharge of debts upon the Effective Date of the Plan and

 distribution of funds from the Plan Fund. Because Debtor's Plan provides for payment of tax

 debts through April 2023, payments under the Plan will not be completed until that time. Cause

 is warranted to grant a discharge of debts instead upon the Effective Date pursuant to 11 U.S.C.

 1141(d)(5)(B), because unsecured creditors are to receive distribution of funds from the Plan

 Fund at that time, which will be of a greater value than they would receive if the estate were to

 be liquidated under chapter 7. Additionally, following the required monthly payments to U.S.

 Bank and for the extended tax payments, Debtor is unlikely to have any additional disposable

 income for distribution to his other creditors following the initial distributions of the Plan Fund.

 Finally, cause is warranted to grant the Debtor a discharge upon the Effective Date of the Plan

 instead of upon completion of all payments because doing so will allow the Debtor to take steps

 (and the Debtor will take such steps) to withdraw the appeal of the Judgment Creditor Judgments

 in the DC Superior Court to further resolve that issue.

                            VIII. CHAPTER 7 LIQUIDATION ANALYSIS

          A comparison of the amounts to be paid under the Plan and the amounts that would be

 available for distribution to creditors in the event of a liquidation under Chapter 7 indicates that

 the Plan is fair and equitable and in the best interest of the creditors. The Homestead Opinion has

 confirmed that the Debtor's primary asset is fully exempt pursuant to D.C. Code § 15-501(a)(14)

 and any sale of the Property in Chapter 7 would not generate funds for payment to the estate

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 creditors. The Debtor maintains that income generated from the Property (including all Airbnb

 and other rental income) is similarly exempt as income generated from an exempt asset. At least

 two creditors (the Judgment Creditors) have questioned whether it is clear that such business

 income derived from renting of parts of the Property may be treated as exempt. The Court has

 not issued a ruling on this issue in this case. The Debtor possesses no other assets, other than the

 Fusion Judgment, likely to generate any significant value to the estate. The Debtor is not aware

 of any recovery or avoidance actions and does not believe any such actions exist. In addition, a

 Chapter 7 trustee would hire his own attorneys and would charge a commission on any

 distributions he did realize. Here, the Debtor is offering to use his exempt Property to fund a Plan

 of Reorganization, which after reaching agreement with the primary secured lienholder for the

 Property regarding continued payments for the Property, offers anticipated amounts of $225,000

 in new value for payment towards the Debtor's creditors and claimants. For these reasons, a

 conversion to Chapter 7 would not necessarily result in a greater distribution to unsecured and

 penalty claimants and would result in delay of the creditor distributions.

               IX. POTENTIAL RECOVERIES FROM VOIDABLE TRANSFERS

          The Debtor has not fully analyzed the potential recoveries from voidable transfers, but

 does not believe any voidable transfers exist that would be beneficial to pursue. The Debtor does

 not anticipate pursuing any avoidance actions.

                                   X. TAX CONSEQUENCES OF PLAN

          To the extent creditors have written off any accounts receivable on their tax returns,

 ordinary income may be recognized from any distributions received under this Plan.




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          THE DISCUSSION OF FEDERAL INCOME TAX CONSEQUENCES SET OUT

 HEREIN IS LIMITED TO THE GENERAL TAX CONSEQUENCES AFFECTING

 CREDITORS AS A RESULT OF THE DISCHARGE OF INDEBTEDNESS WITHOUT

 PAYMENT UNDER THE PLAN. THE TAX CONSEQUENCES APPLICABLE TO A

 CREDITOR WILL BE ENTIRELY DEPENDENT UPON THE TAX STATUS OF THAT

 ENTITY OR INDIVIDUAL. EACH CREDITOR SHOULD CONSULT THEIR OWN

 TAX ADVISOR TO DETERMINE THE TREATMENT AFFORDED THEIR

 RESPECTIVE CLAIMS BY THE PLAN UNDER FEDERAL TAX LAW, THE TAX

 LAW OF THE VARIOUS STATES AND LOCAL JURISDICTIONS OF THE UNITED

 STATES AND THE LAW OF FOREIGN JURISDICTIONS.

          BECAUSE OF CONTINUAL CHANGES BY THE CONGRESS, THE

 TREASURY DEPARTMENT, AND THE COURTS WITH RESPECT TO THE TAX

 LAWS, NO ASSURANCES CAN BE GIVEN REGARDING INTERPRETATIONS OF

 THE TAX LAWS, REPRESENTATIONS WITH RESPECT THERETO OR ANY

 OTHER MATTER ASSOCIATED THEREWITH.

          NO STATEMENT IN THIS DISCLOSURE STATEMENT IS TO BE

 CONSTRUED AS TAX ADVICE OR LEGAL ADVICE TO ANY CREDITOR. THE

 DEBTOR AND ITS COUNSEL AND ACCOUNTANTS ASSUME NO RESPONSIBILITY

 OR LIABILITY FOR THE TAX CONSEQUENCES A CREDITOR MAY SUSTAIN AS A

 RESULT OF THE TREATMENT AFFORDED THEIR CLAIM UNDER THE PLAN.




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                                    XI. RISK FACTORS/FEASIBILITY

          While there are risk factors with certain individual aspects of the Debtor's Plan, including

 securing a loan backed by the Debtor's retirement funds for proposed Plan funding, the Debtor

 believes that his Plan provides for adequate contingency measures in each instance and that the

 Plan overall provides minimal risk factors or feasibility issues. Other risk factors include the

 potential that Debtor's interest in the Property will be overturned either though reversal of the

 Homestead Opinion on appeal or through loss of a potential avoidance action that may be

 brought by the Judgment Creditors based on the claims they have purchased from the Len Salas

 Bankruptcy Case. Reversal of the Debtor's claim to ownership in the Property would affect

 Debtor's ability to make his continuing payments for tax payments extended under the Plan

 (which would not be discharged) and for the secured loan for the Property (which would remain

 as an in rem lien on the Property), but would not likely affect other aspects of payment to

 Debtor's other creditors from the additional Plan funding supplied by the Debtor. The Debtor and

 his counsel have reviewed the merits of both of these litigation risks associated with the Debtor's

 ownership in in the Property being lost and believe that they will prevail both on the Appeal and

 in any potential avoidance action that could be brought through the Tennessee Avoidance

 Actions. Because Debtor's Airbnb income is subject to market forces, there is also the risk that

 he will not be as successful generating income from this source for payments under the U.S.

 Bank Stipulation for Plan Treatment and the Extended Tax Payments. In this instance, however,

 U.S. Bank would be protected by the default provisions under the Stipulation for Plan Treatment.

 Tax claimants are similarly protected because their debts are not subject to discharge. For these

 reasons, therefore, the Debtor submits that there is minimal risk under this Chapter 11 Plan.


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                                           XII. CONCLUSION

          For all the reasons described above, the Debtor urges you to vote to accept the Plan of

 Reorganization. Any questions regarding this Disclosure Statement may be directed to the

 undersigned.


 Dated: December 5, 2019                   By:   /s/ Max E. Salas
                                                 Max E. Salas, Debtor and Debtor-In-Possession



                                                 /s/ Joshua W. Cox
                                                 Marc E. Albert, No. 345181
                                                 Joshua W. Cox, No. 1033283
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                                                 Possession




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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLUMBIA

           IN RE:                      .                 Case No. 18-00260-smt
                                       .
           MAX E. SALAS,               .
                                       .                 Washington, D.C.
                         Debtor.       .                 August 24, 2018
                                       .
           . . . . . . . . . . . . . . .


                      TRIAL ON THE OBJECTION TO HOMESTEAD EXEMPTION
                                       VOLUME 3 OF 3
                         BEFORE THE HONORABLE S. MARTIN TEEL, JR.
                         TRANSCRIPT ORDERED BY: PHILIP J. McNUTT

           APPEARANCES:
           For the Debtor:                   Stinson Leonard Street, LLP
                                             By: MARC E. ALBERT
                                                 JOSHUA W. COX
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                                             Washington, D.C., 20036
                                             (202) 728-3020

           For the Creditors:                By: PHILIP J. McNUTT
                                             11921 Freedom Drive
                                             Suite 584
                                             Reston, Virginia 20190
                                             (703) 904-4380

           Court Recorder:                  THE CLERK

           Transcribed By:                  MS. KRISTEN SHANKLETON




           Proceedings recorded by electronic sound recording.
           Transcript prepared by transcription service.


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           **Transcriptionist's note: The notations of
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           recording levels being turned up too high, or individuals
           speaking outside of the vocal capture range of the
           microphone.




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       1   Mr. McNutt has been kind enough to permit me, subject to

       2   the Court's okay, to call him now if that's all right.

       3                THE COURT:       That's fine.

       4       RON SALAS, DEBTOR'S REBUTTAL WITNESS, PREVIOUSLY SWORN

       5                THE COURT:       Go ahead, Mr. Albert.

       6                MR. ALBERT:        Thank you.

       7                                DIRECT EXAMINATION

       8                BY MR. ALBERT:

       9          Q.    Good morning.

     10                 I just wanted to clarify again, because I heard

     11    yesterday something that seemed inconsistent with what you

     12    had told the Court and me earlier this week.                     When you and

     13    I spoke and you and I exchanged emails, there was a

     14    discussion regarding the trust agreement and the quit-claim

     15    deed, correct?

     16           A.    Yes.

     17           Q.    And tell the Court and me again what we discussed

     18    and what you did.
     19                 MR. McNUTT:        Objection.      Your Honor, this is not

     20    rebuttal testimony.           He's asking him to state again what he

     21    testified to earlier.            It's not rebuttal.

     22                 THE COURT:       Overruled.

     23                 THE WITNESS:        So in regards to the email where I

     24    said I sent you originals, or I had the originals, I had

     25    spoke with my brother.            He told me he had the original.               I




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       1   said, "Send them to me.            Mr. Albert is asking for them."

       2                MR. McNUTT:        Objection.      Hearsay, Your Honor.

       3                THE COURT:       I'll not receive it for the truth of

       4   the contents.

       5                THE WITNESS:        When he told me he had them, I told

       6   you had originals.          When they arrived in my office I

       7   contacted you immediately and said, "Well, these are not

       8   the originals.         The originals" -- so the only original

       9   would have been to Max.            The reason I knew they were not

     10    the originals is because I, as I testified earlier, scan

     11    all my documents for preservation, and I know there was

     12    blue ink on at least the notary as I recall, and the

     13    documents I received were all blank ink, which indicated to

     14    me they were copies not originals.                 So I let you know at

     15    that point.

     16                 MR. ALBERT:        Thank you.

     17                 THE WITNESS:        Uh-huh.

     18                 MR. ALBERT:        Your witness.
     19                 THE COURT:       You said you got them from your son.

     20    Do you mean from your --

     21                 THE WITNESS:        From my brother.          If I said son, I

     22    apologize.

     23                 THE COURT:       Your brother.        Okay.

     24                 THE WITNESS:        Yes, my brother Len had them, mailed

     25    them to me.        I was going to mail them to you, but they were




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       1          A.    So couldn't assert nothing --

       2          Q.    -- but can you answer --

       3          A.    -- couldn't assert anything about that.

       4          Q.    Can you answer my question, please?

       5          A.    What's the question?

       6                I think I answered it.

       7          Q.    The question is did you produce all documents related

       8   -- did you produce all documents related to your ownership of

       9   the property that you claimed during the Superior Court

     10    litigation?

     11           A.    I don’t -- I guess I don't know the difference --

     12    well, I don't know.         Did we submit them?

     13                 Yeah, we submitted them, but weren't, one of them

     14    weren't -- this document wasn't allowed.

     15           Q.    When you say "this document," you mean what's been

     16    marked --

     17           A.    The deed --

     18           Q.    -- as Exhibit 30, the quit-claim deed and the trust
     19    documents, correct?

     20           A.    That's what I'm talking about, yeah.

     21           Q.    All right.

     22                 And those were submitted, as you put it, on or after

     23    March 12, 2018, correct?

     24           A.    Yeah -- yeah, uh -- yes, sir.            It was like, like a

     25    couple of weeks before the trial.




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       1   Salas?

       2          A.     Because I bought -- because I paid for the policy I

       3   guess.      I don't know.

       4          Q.     Okay.    Fair enough.

       5                 Any other reason that you're aware of?

       6          A.     No, I -- I don't know.         I have no idea.

       7          Q.     You also testified earlier that, in the corrections

       8   that you told Judge Teel about, you also testified that the

       9   original of the document may be at the title attorney's office,

     10    right?

     11           A.     That just came to me -- that just came to me as I was

     12    sitting over there.         I never -- I never told Mr. Albert about

     13    it because I can't talk to him about my testimony, but I just

     14    thought about it, and it's -- and it's possible because I don't

     15    know if they mailed it back to me.              I don't remember that.         All

     16    the papers that I had in my house were burned, so I -- and I

     17    didn't recover it from there.            So I couldn't have recovered it

     18    there.      But it's, you know, it's possible that it's still at
     19    his office because I don't remember -- I don't remember him

     20    mailing it back to me, and I don't remember -- but, there's a

     21    lot of things I don't remember.

     22           Q.     Well, when did you, and I'm assuming because you were

     23    attempting to get the quit-claim deed recorded that you gave

     24    these documents to Mr. Goldstein shortly after you signed the

     25    trust documents in July of 2010; is that fair?




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       1          A.    Yeah, so what -- so I had this realtor.               Her name is

       2   in here, Sylvia Jones, and she told me what she had done --

       3                MR. McNUTT:      Your Honor, I'm going to object.

       4                THE WITNESS:       Well, I'm trying to answer your

       5   question because --

       6                MR. McNUTT:      You can't answer --

       7                THE WITNESS:       -- that has to tell --

       8                MR. McNUTT:      This is more hearsay, Your Honor.

       9                THE COURT:      Overruled.

     10                 THE WITNESS:       So I talked to her.        She told me how

     11    she had put her house in a trust because she had three

     12    daughters, and so I said I formed a trust, and I've got the,

     13    and I quit-claim -- my son quit-claimed the deed over to me,

     14    and I want to now register the trust.              And I said, "How do you

     15    do that?"      She said, "Well, you got to go to a title company."

     16    I said, "Well, who is that?"            She said call Goldstein, Maryland

     17    Title Company or something, and she gave me the number to them.

     18    And so I called them up and they said, "Send us the
     19    information."       So I sent them the information, and about a week

     20    later I called them back and they called -- or they called me

     21    and they told me what the situation was.

     22                 So I don't know if I answered your question there or

     23    not.

     24                 BY MR. McNUTT:

     25           Q.    I can guarantee you didn't answer the question.




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       1          A.    I'm sorry.      What's the question?

       2          Q.    I'll leave it at that.

       3          A.    All right.

       4          Q.    So as you sit here today, you're not really sure what

       5   happened to the original quit-claim deed after you gave it to

       6   Mr. Goldstein, right?

       7                MR. ALBERT:      That was asked and answered.

       8                THE WITNESS:       I just told you, I don't know if it was

       9   in my house or it's in his office, but I -- I don't know.

     10                 MR. McNUTT:      Okay.

     11                 THE COURT:      The objection is overruled.

     12                 BY MR. McNUTT:

     13           Q.    And if it was in Mr. Goldstein's office, then you

     14    could have gotten it by just simply calling him, right?

     15           A.    I -- I -- I could -- I told -- I guess -- I told

     16    Mister -- I told my attorney what I did, and so I -- that's his

     17    job I guess.       I relied on him.

     18           Q.    Which one is that?
     19           A.    Mr. Albert and Mr. Cox.

     20           Q.    Okay.

     21                 You don't have a copy of the original quit-claim deed

     22    with you today, do you?

     23           A.    No.

     24           Q.    Are you aware of at any time after you gave it to Mr.

     25    Goldstein that you were in possession of the original of the




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       1   quit-claim deed?

       2          A.    Any time after that?

       3          Q.    Yes, sir.

       4          A.    No.    I --

       5          Q.    Up until obviously February of 2018.

       6          A.    No, sir.

       7          Q.    Okay.

       8          A.    I don't remember.

       9          Q.    Did you ever try to record the quit-claim deed after

     10    the time that you gave it to Mr. Goldstein?

     11           A.    No.

     12           Q.    Did you ever make another attempt?

     13           A.    No.    No, sir.

     14           Q.    What activities did you undertake as trustee of the

     15    1610 Riggs Property Trust after July 6, 2010?

     16           A.    What activities?

     17           Q.    Yes, sir.      Did you undertake as trustee?           What

     18    activities?
     19           A.    I answered that.        Do you want me to do it again?

     20           Q.    Yes, sir.

     21           A.    I thought I answered it.           I called them and -- I mean

     22    after I called Mr. Goldstein and asked him to register it, and

     23    then he told me that it was going to cost me $50,000, did I do

     24    anything after that?

     25           Q.    Yes, sir.




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       1                Well, you said that you had to pay the mortgage,

       2   but your testimony is that prior to approximately January

       3   of 2015 CLR Trust paid the mortgage.

       4          A.    No, I testified that I paid the mortgage.

       5          Q.    Well, I don't think so, Mr. Salas.                 Let's try to

       6   look at this one more time.

       7                Look at your deposition transcript.                 This is Tab

       8   14.

       9          A.    Okay.

     10                 I mean, you already asked the question and I

     11    already answered it.           I know the question you're going to

     12    ask.

     13                 THE COURT:       Don't speculate.

     14                 Go ahead, Mr. McNutt.

     15                 THE WITNESS:        Sorry.

     16                 BY MR. McNUTT:

     17           Q.    Look at page 216.          This is page 54 of the

     18    transcript.
     19           A.    I'm at page 54.

     20           Q.    Okay.

     21                 Look at page 216?

     22           A.    Okay, I'm there.

     23           Q.    I'm sorry.       Page 215.       The page above that.

     24           A.    Right.

     25           Q.    Last line, 22:




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       1                       "Okay.     You would get payments from

       2                the tenants made payable to CLR, is that

       3                right?      If I understand your testimony.

       4                Your answer:

       5                       "Right."

       6                So you didn’t disagree, correct?

       7          A.    Correct.

       8          Q.           "Question:       And you would deposit

       9                those payments either in your own account

     10                 or a CLR account.           Is that fair to say?"

     11           A.    Yes.

     12           Q.           "Answer:      Yes.    So in the beginning,

     13                 well, for years they just went into the

     14                 CLR account, and then the CLR account made

     15                 the mortgage payments."

     16                 Did I read that correctly?

     17           A.    Yes.

     18           Q.           "After a while or at the very end of
     19                 this whole thing I just made the payments.

     20                 I put the money into my personal account

     21                 and made the personal account, made the

     22                 payments out of my personal account.

     23                        Question:      Do you know when you made

     24                 that change approximately?

     25                        Answer:      Do I know?      Yes.     Probably




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       1                December, January of 2015."

       2                Did I read that correctly?

       3          A.    You read it correctly.

       4          Q.    All right.

       5                So your testimony was that the money went into the

       6   CLR account and was used to pay the mortgage payments from

       7   the CLR account until December of 2014 or January of 2015,

       8   approximately five months prior to the fire, correct?

       9                And subsequent to the fire from 2015 until early

     10    this year, I believe April of this year, you did not live

     11    at the residence; you actually lived at an apartment that

     12    was provided for you by the insurance company, correct?

     13           A.    Right.      So what happened, what actually happened

     14    is that --

     15           Q.    There's no question --

     16           A.    -- lots of times --

     17           Q.    There's no question pending.

     18           A.    -- there wasn't enough money --
     19           Q.    Mr. Salas, there's no question pending.

     20           A.    -- in the CLR Trust account, and so -- I'm trying

     21    to answer your question, sir.               So --

     22           Q.    You answered my question.

     23                 THE COURT:       Let him answer.

     24                 Go ahead, Mr. Salas.

     25                 MR. McNUTT:        All right.




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       1                Go ahead.

       2                THE WITNESS:        So lots of times there wasn't enough

       3   money in the CLR account, so I would take money out of my

       4   personal account to add it to the CLR account to make the

       5   payments.

       6                BY MR. McNUTT:

       7          Q.    Tell me where --

       8          A.    But at the same time it didn't matter if the

       9   payments to the CLR -- if there wasn't enough money in the

     10    CLR account I had to put personal money, my other personal

     11    -- well, I had to add money to the CLR account to make sure

     12    the payments were made.

     13           Q.    Is that the money that you did not use to pay the

     14    taxes that were owed?

     15           A.    What do you mean, the taxes that were owed?

     16                 What taxes are you talking about?

     17           Q.    During the period of time from 2010 to 2015 you

     18    had substantial tax obligations that you did not pay,
     19    correct?

     20           A.    From what now?

     21           Q.    2010 to 2015 you had substantial tax obligations

     22    that you did not pay, correct?

     23           A.    (No verbal response).

     24                 MR. McNUTT:        Your Honor, I'd like to have this

     25    document marked as Exhibit, I think we're on 42.                      This is




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       1           A.   Monthly payments.

       2           Q.   What -- I don't think you answered my question

       3   exactly.     She gets the money; who got the house?

       4           A.   Oh, I got the house.

       5           Q.   All right.

       6                So you took title to the house in your name at that

       7   time?

       8           A.   Yeah, for a day or two.

       9           Q.   Okay.

     10                 Explain the circumstances behind that.

     11            A.   Well, I -- I tried to get a loan.             I couldn't.      I

     12    went to SunTrust Bank.          They said there's enough equity in the

     13    house to get a loan to pay your wife off, but unfortunately you

     14    can't get a loan.        So my, so Len, who had a very good

     15    relationship with my ex-wife and myself, we both went to Len

     16    and asked him if he would sign for a loan to get Vicki paid

     17    off, and he -- and he did.           So that -- so we got a loan so we

     18    could pay her, so I could pay her off and she could move back
     19    to Tennessee.

     20            Q.   Was it necessary to get the loan that the title would

     21    have to go in Len's name?

     22            A.   Yes, it --

     23                 MR. McNUTT:      Objection.

     24                 THE WITNESS:       Yes, it was.

     25                 MR. McNUTT:      He's not only leading the questions,




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       1   he's also asking for a legal conclusion.

       2                THE COURT:      The objection is sustained.           Rephrase the

       3   question.

       4                MR. ALBERT:      Of course, Your Honor.

       5                BY MR. ALBERT:

       6          Q.    Who -- so the property was put in your name then when

       7   you got the loan?

       8          A.    No, it wasn’t.

       9          Q.    Whose name was it put in?

     10           A.    Put in my son's name, Len.

     11           Q.    Why?

     12           A.    Because the loan was made by SunTrust, and his credit

     13    -- that was kind of like the peak of the housing market and the

     14    loan was made out to him.           He didn’t have any -- he had good

     15    credit, and they were giving loans to just about anybody at

     16    that point in time, and there was enough equity in the house to

     17    get it.

     18           Q.    But they wouldn't give you credit -- excuse me.
     19                 They wouldn't lend you the money because?

     20           A.    Because I had liens from, tax liens from years eighty

     21    -- uh -- '97, '98, and '99.           Yeah.

     22           Q.    Okay.

     23           A.    I owed money to the IRS.

     24           Q.    I see.

     25                 Now, you owe money to the IRS today, correct?




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       1          A.    Yes, I do.

       2          Q.    All right.

       3                And you heard yesterday in the questioning by Mr.

       4   McNutt, you owe a certain amount of money, the IRS has filed a

       5   claim in this case?

       6          A.    Yes.

       7          Q.    How much did -- are they claiming?

       8          A.    I think about $25,000.

       9          Q.    How much is the house worth today if you remember?

     10           A.    So it's about 2.4, 2.3, 2.4 million.

     11           Q.    And how do you know that, sir?

     12           A.    We had a guy, an appraiser, a real estate appraiser

     13    do an -- do an appraisal.

     14           Q.    Thank you.

     15                 So, is the property recorded in Len's name?

     16           A.    Yes.

     17           Q.    Has it ever been recorded in your name or any trust

     18    as far as you know?         Recorded?
     19           A.    Well, I --

     20           Q.    Recorded?

     21                 THE COURT:      In the land records, Mr. Salas.

     22                 BY MR. ALBERT:

     23           Q.    In the land records.

     24           A.    In the land records?         I think it was recorded by name

     25    for a day until it was -- until it was -- then I quit-claimed




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       1   it back over to Len until, so he could file the -- so, yeah.

       2   One day I think.        The day that the transaction happened.

       3          Q.    And Lenny also signed a deed of trust?

       4          A.    Yes.

       5          Q.    And he signed the note?

       6          A.    Yes.

       7          Q.    In connection with the loan?

       8          A.    Yes.

       9          Q.    And Lenny I suppose has been paying everything since

     10    that time?

     11           A.    Lenny has never paid any -- Lenny has never paid a

     12    penny, a penny towards the loan of the house.

     13           Q.    No down payment, no monthly payments?

     14           A.    No.

     15           Q.    No loan?

     16           A.    No.    Nothing.

     17           Q.    Besides this accommodation, this help that Lenny gave

     18    you, did he have any responsibility with respect to 1610 Riggs
     19    Place Northwest?

     20           A.    No.

     21           Q.    Who was handling any and everything about the

     22    property?

     23           A.    All my responsibility.          Me.   I was doing it all.

     24           Q.    Okay.

     25                 Even before the divorce from Vicki who was paying all




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       1                THE COURT:      Ask a question.

       2                BY MR. ALBERT:

       3          Q.    Do you know what -- what are -- explain the

       4   circumstances to the Court regarding finding the trust document

       5   and the quit-claim deed.

       6          A.    So you asked me, "You keep talking about this trust

       7   in your deposition.         I read your deposition and you keep

       8   talking about" --

       9          Q.    Who are you talking about?           Are you talking about me?

     10           A.    Yes.

     11           Q.    When you say "you"?

     12           A.    Yes.    You -- you talked to me about, "You keep

     13    talking about this trust through your whole deposition.                    I've

     14    read the whole thing.         What trust are you talking about?"              And

     15    I said, "The trust."         I said what -- and he said, you said to

     16    me, "Who put this trust together for you?                Was there a lawyer

     17    involved?"      And I said, "Yes."        I (sic) said, "Which lawyer?"

     18    "My son."      I (sic) said, "Your son is a lawyer?"              "Yes."
     19    "Where is he at?"        "Colorado."      I   said, "Colorado."         He says,

     20    "Do you -- does he have a copy of the trust?"                 I said -- no you

     21    asked me, "Do you have a copy of the trust?"                 I said, "No."

     22    "Where is it?"       I said, "It burned in the fire.             I don't have

     23    any" -- he says, "Well, do you think your son has a copy of the

     24    trust?"     I said, "Well, he should.           I guess, yeah, he might --

     25    he should."      I don't remember what I said.            "But I can call




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       1   him."

       2                So I called him.        You said, "May I talk to him?"            I

       3   said, "Yes."       You said, "Will you call him and tell him that

       4   I'm going to call him?"          I said, "Yes."

       5                So I called him, told him, asked him if he had a copy

       6   and he said yes.        And so you -- you called him and you got a

       7   copy of that, of the doc -- you got a copy of the trust and the

       8   quit-claim deed.

       9           Q.   Thank you.

     10                 Can you think of any reason why that document wasn't

     11    obtained earlier than that time?

     12            A.   No, I can't think of any reason why it was -- I --

     13    you know, I -- I don't understand why Mr. Barnes didn't ask for

     14    that before.       I just, I can't understand why he didn't ask for

     15    that before but -- and I can't -- there's a lot of things I

     16    look at now and I don't understand why Mr. Barnes didn't get

     17    any witnesses to the trial, like people that saw the windows

     18    open, people that --
     19                 THE COURT:      It's not --

     20                 THE WITNESS:       No --

     21                 THE COURT:      -- pertinent to the question.

     22                 THE WITNESS:       Yes, sir.     I'm sorry.

     23                 So did I answer your question?

     24                 BY MR. ALBERT:

     25            Q.   Thank you.




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       1   of the money to Vicki.          So we got a loan for $800,000 but that

       2   was to pay the old loan off.

       3           Q.   Right.

       4           A.   And then the rest of the loan, the rest of the money

       5   was to pay her for her half of the equity in the house.

       6           Q.   So my question is, did you ever pay your son back for

       7   the money that he borrowed that you used to pay your wife?

       8           A.   I didn't borrow any money from my son.

       9           Q.   I'm sorry.      I missed that.

     10            A.   I didn't borrow any money from my son.

     11            Q.   So the answer is you didn't pay any of this money

     12    back to your son, right?

     13            A.   I didn't borrow any money from my son.

     14            Q.   Okay.

     15                 After -- let me try it this way.             After April --

     16    yeah.     After April 2007, I think it was April 16th when the

     17    deed of trust was recorded?

     18            A.   Uh-huh.
     19            Q.   Does that sound about right?

     20            A.   Yes, sir.

     21            Q.   And that's, there were the three deeds and then the

     22    deed of trust, right?

     23            A.   Right.

     24            Q.   After April of 2010 did you pay any money to your son

     25    Len with respect to any of the money that you paid your wife,




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       1   your ex-wife Vicki?

       2          A.    I never paid Lenny any money.

       3          Q.    Okay, fair enough.

       4                Now, you also said that you tried to refinance.                  When

       5   did you try to refinance the property, and I think you said it

       6   was with SunTrust.         When was that?

       7          A.    So lots of times.        I mean, I continually tried.            At

       8   least twice a year.

       9          Q.    At least twice a year?

     10           A.    Since -- since we borrowed the money from SunTrust.

     11           Q.    Okay.

     12                 And was that always with SunTrust?              The attempts to

     13    refinance, were they always with SunTrust?

     14           A.    I -- I think so.        I mean, we looked at other sources.

     15    I think one time we tried Capital One, but always the -- our

     16    best chances were with SunTrust because we had a track record

     17    with them.      We kept paying the loan to them.             Up until the

     18    fire, and then we fell behind on the mortgage.
     19           Q.    All right.

     20                 And none of those efforts were successful in

     21    obtaining a new loan, right?

     22           A.    No.

     23           Q.    Okay.

     24                 And your son Len was part of the application process,

     25    is that right?




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       1   separate?

       2                THE WITNESS:        Well, because -- because of, the

       3   individual account of Cornet was -- was my personal income,

       4   and the other account for CLR was different.                     And the

       5   intentions were originally is to, CLR was to be -- give

       6   that account to my sons, but that never happened.                       Because

       7   it never made any money.

       8                THE COURT:       What never made any money?

       9                THE WITNESS:        CLR.    It just became a way to

     10    separate income and meet the bills and pay for the mortgage

     11    and -- and the ability to pay for the house.

     12                 THE COURT:       This may have been answered already.

     13    Why use the CLR account for your rents?

     14                 THE WITNESS:        Because I didn't want to put the

     15    rent money into my personal account, into my -- my -- my

     16    personal account because -- see, in the very beginning,

     17    from the very beginning from when Vicki and I owned, well,

     18    when the house was in Vicki's name, and we always had the
     19    basement rented even when she and I -- when she and I were

     20    together we rented the basement, and that wasn't my money.

     21    That really wasn't -- I didn't consider that my money.

     22    That was just money to pay the mortgage.                   And so I would

     23    put the money into the CLR account and then I would

     24    supplement that money from CLR from my personal account,

     25    from the Bank of America -- or I mean from -- yeah, Bank of




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 Exhibit 4 L Salas Confirmation Hrg Transcript in Case No. 18-2662 12-13-18 Page 1 of 6APPX00529
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 Exhibit 4 L Salas Confirmation Hrg Transcript in Case No. 18-2662 12-13-18 Page 3 of 6APPX00531
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 Exhibit 4 L Salas Confirmation Hrg Transcript in Case No. 18-2662 12-13-18 Page 4 of 6APPX00532
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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE


              - - - - - - - - - - - x
              IN RE:                :
              LEN SALAS             : Case 3:18-bk-02662
                      Debtor        :
              - - - - - - - - - - - x

                                                April 1, 2019
                                                Nashville, Tennessee

                       CONTINUED FIRST MEETING OF CREDITORS

                         Pursuant to Section 341 of the U.S.
              Bankruptcy Code.

              APPEARANCES:            MICHAEL GIGANDET, ESQUIRE
                                         Trustee


                                      PHILIP J. McNUTT, ESQUIRE
                                         On behalf of the Decedents




              Also Present:            Mr. Naras, Esquire




              ______________________________________________

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                                    5303 Strathmore Avenue
                                  Kensington, Maryland 20895

                                        (240) 920-6886




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        1                           P R O C E E D I N G S

        2                         MR. GIGANDET:     Our next case is

        3     going to be Len Salas, 18-02662.                Come on up,

        4     Mr. Salas.

        5                         MR. SALAS:    (Complying.)

        6                         MR. GIGANDET:     Remain standing and

        7     raise your right hand.

        8     Whereupon,

        9                                 LEN SALAS

      10      was called as a witness, and, having first been

      11      duly sworn by the Trustee, was examined and

      12      testified as follows:

      13                          MR. GIGANDET:     You can have a seat.

      14      You've been here before, we've already had a

      15      preliminary Meeting of Creditors.                 We continued

      16      the case, resolved some administrative issues

      17      and we're here for your Continued Meeting of

      18      Creditors.

      19                          At this time I want to take

      20      appearances, identify who you are and who you

      21      represent.

      22                          MR. McNUTT:     Philip McNutt on behalf




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        1     of the Estates of the Mcloughlyn and Reclamams

        2     decedents.

        3                         MR. GIGANDET:     All right.      You may

        4     proceed, Mr. McNutt.

        5                         MR. McNUTT:     Thank you.

        6          EXAMINATION BY COUNSEL FOR THE DECEDENTS

        7                         BY MR. McNUTT:

        8              Q.         I just have a couple of short --

        9     well, they may not be short, but quick

      10      questions, Mr. Salas.

      11                          I want to give you a document that

      12      as entered in your father's proceeding that I

      13      know you've seen before.

      14                          It's identified as Document 66-1 in

      15      Case 18-00260 and it is also identified at the

      16      bottom there as Creditor's Exhibit No. 3.

      17                          I will represent to you that this is

      18      the revocable trust and quit claim deed that

      19      you and your father executed in July of 2010.

      20                          Do you recognize those documents?

      21      The quit claim deed is actually on the last

      22      page, if you want to review that.




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        1              A.         (Reviewing document.)       Yes, I

        2     recognize this.

        3              Q.         You know that we've talked about

        4     this many times before, so I'm not going to try

        5     to go over old ground, but I do want to cover a

        6     couple of things that I don't think that we

        7     know specifically.

        8                         This transaction by which you became

        9     the owner of the deed-of-trust of the property

      10      in D.C., the Briggs Place property, do you

      11      remember that property?

      12               A.         Yes.

      13               Q.         Your father's property, right?

      14               A.         Yes, I know that property.

      15               Q.         You obtained the deed-of-trust for

      16      that in approximately 2007, correct?

      17                          MR. GIGANDET:     That's not that

      18      document.

      19                          THE WITNESS:     It's not that

      20      document?           I don't -- yes.

      21                          BY MR. McNUTT:

      22               Q.         You have the original deed-of-trust




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                                                                                      Page 6
        1     on the property through Sun Trust Bank,

        2     correct?

        3              A.         Yes.

        4              Q.         And that was in approximately 2007,

        5     correct?

        6              A.         Yes.

        7              Q.         At the time that you obtained the

        8     deed-of-trust on that property did your father

        9     make any payments to you?

      10               A.         No.

      11               Q.         Did he give you any property that

      12      you're aware of?

      13               A.         No.

      14               Q.         All right.   Skipping forward to the

      15      date of the trust and quit claim deed, which

      16      was in July of 2010, did your father make any

      17      payments to you at that time?

      18               A.         No.

      19               Q.         Did he give you any property at that

      20      time?

      21               A.         No.

      22               Q.         Did he give you anything of value in




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                                                                                      Page 7
        1     or about july of 2010, at the time of the

        2     irrevocable trust?

        3              A.         No.

        4              Q.         Since 2010, since the date of the

        5     irrevocable trust, has your father made any

        6     payments to you with respect to the deed-of-

        7     trust on the property on Briggs Place in

        8     Washington, D.C.?

        9              A.         No.

      10                          MR. GIGANDET:     You mean directly to

      11      him, right?           As opposed to payments to the

      12      bank?

      13                          MR. McNUTT:     Directly to Len?

      14                          MR. GIGANDET:     Yes.

      15                          MR. McNUTT:     Yes.

      16                          MR. GIGANDET:     Okay.

      17                          BY MR. McNUTT:

      18               Q.         Do you know if your father has made

      19      all of the payments on the deed-of-trust since

      20      2007?

      21               A.         I don't know.

      22               Q.         Do you know if the indebtedness on




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                                                                                      Page 8
        1     the deed-of-trust is greater today than it was

        2     in 2007?

        3              A.          I don't know.

        4                          MR. McNUTT:     That's fine, that's all

        5     I have.

        6              `           MR. GIGANDET:     All right.     Mr. Naras

        7     (phonetic) do you have any questions?

        8                          MR. NARAS:    I do not.

        9                         EXAMINATION BY THE TRUSTEE

      10                           BY M R. GIGANDET:

      11               Q.

      12               Mr. Salas, has anything changed in your

      13      petition between the last time you were here

      14      and now?            I mean anything that you found that

      15      was incorrect that you need to correct.

      16               A.          I don't think so.

      17               Q.          All right.    Very good.     Then if

      18      there's nothing further, I'm going to conclude

      19      the Meeting of Creditors now.

      20                           (Whereupon, the Continued 341

      21      Meeting of Creditors was concluded)

      22




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                                  CERTIFICATE OF REPORTER

              - - - - - - - - - - - x
              IN RE:                :
              LEN SALAS             : Case 3:18-bk-02662
                      Debtor        :
              - - - - - - - - - - - x

                         I, Martin S. Scheinberg, Notary
              Public, do hereby certify that the witness
              whose testimony appears in the foregoing pages
              was duly affirmed; that the testimony of said
              witness was recorded by the Trustee and
              thereafter reduced to typewritten form by me;
              that said transcript is a true record of the
              testimony given by said witness to the best of
              my ability; that I am neither counsel for,
              related to, nor employed by any of the parties
              to the action in which this Rule 341 Meeting of
              Creditors was taken; and, further, that I am
              not a relative of or employee of any attorney
              or counsel employed by the parties thereto, nor
              financially or otherwise interested in the
              outcome of the action.



                            _______________________________

                             Martin S. Scheinberg
                             Notary Public in and for
                             the State of Maryland

              My Commission expires:
              September 1, 2022




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                                 UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF COLUMBIA

            IN RE:                      .                  Case No. 18-00260-smt
                                        .
            MAX E. SALAS,               .
                                        .                  Washington, D.C.
                          Debtor.       .                  August 24, 2018
                                        .
            . . . . . . . . . . . . . . .


                       TRIAL ON THE OBJECTION TO HOMESTEAD EXEMPTION
                                        VOLUME 3 OF 3
                          BEFORE THE HONORABLE S. MARTIN TEEL, JR.
                          TRANSCRIPT ORDERED BY: PHILIP J. McNUTT

            APPEARANCES:
            For the Debtor:                   Stinson Leonard Street, LLP
                                              By: MARC E. ALBERT
                                                  JOSHUA W. COX
                                              1775 Pennsylvania Avenue, NW
                                              Suite 800
                                              Washington, D.C., 20036
                                              (202) 728-3020

            For the Creditors:                By: PHILIP J. McNUTT
                                              11921 Freedom Drive
                                              Suite 584
                                              Reston, Virginia 20190
                                              (703) 904-4380

            Court Recorder:                  THE CLERK

            Transcribed By:                  MS. KRISTEN SHANKLETON




            Proceedings recorded by electronic sound recording.
            Transcript prepared by transcription service.


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            **Transcriptionist's note: The notations of
            "(unintelligible)" in this transcript are due to the audio
            recording levels being turned up too high, or individuals
            speaking outside of the vocal capture range of the
            microphone.




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        1   Mr. McNutt has been kind enough to permit me, subject to

        2   the Court's okay, to call him now if that's all right.

        3                 THE COURT:       That's fine.

        4       RON SALAS, DEBTOR'S REBUTTAL WITNESS, PREVIOUSLY SWORN

        5                 THE COURT:       Go ahead, Mr. Albert.

        6                 MR. ALBERT:       Thank you.

        7                                 DIRECT EXAMINATION

        8                 BY MR. ALBERT:

        9          Q.     Good morning.

      10                  I just wanted to clarify again, because I heard

      11    yesterday something that seemed inconsistent with what you

      12    had told the Court and me earlier this week.                      When you and

      13    I spoke and you and I exchanged emails, there was a

      14    discussion regarding the trust agreement and the quit-claim

      15    deed, correct?

      16           A.     Yes.

      17           Q.     And tell the Court and me again what we discussed

      18    and what you did.
      19                  MR. McNUTT:       Objection.       Your Honor, this is not

      20    rebuttal testimony.           He's asking him to state again what he

      21    testified to earlier.            It's not rebuttal.

      22                  THE COURT:       Overruled.

      23                  THE WITNESS:       So in regards to the email where I

      24    said I sent you originals, or I had the originals, I had

      25    spoke with my brother.            He told me he had the original.                I




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        1   said, "Send them to me.             Mr. Albert is asking for them."

        2                 MR. McNUTT:       Objection.       Hearsay, Your Honor.

        3                 THE COURT:       I'll not receive it for the truth of

        4   the contents.

        5                 THE WITNESS:       When he told me he had them, I told

        6   you had originals.           When they arrived in my office I

        7   contacted you immediately and said, "Well, these are not

        8   the originals.         The originals" -- so the only original

        9   would have been to Max.             The reason I knew they were not

      10    the originals is because I, as I testified earlier, scan

      11    all my documents for preservation, and I know there was

      12    blue ink on at least the notary as I recall, and the

      13    documents I received were all blank ink, which indicated to

      14    me they were copies not originals.                 So I let you know at

      15    that point.

      16                  MR. ALBERT:       Thank you.

      17                  THE WITNESS:       Uh-huh.

      18                  MR. ALBERT:       Your witness.
      19                  THE COURT:       You said you got them from your son.

      20    Do you mean from your --

      21                  THE WITNESS:       From my brother.           If I said son, I

      22    apologize.

      23                  THE COURT:       Your brother.        Okay.

      24                  THE WITNESS:       Yes, my brother Len had them, mailed

      25    them to me.        I was going to mail them to you, but they were




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        1          A.     So couldn't assert nothing --

        2          Q.     -- but can you answer --

        3          A.     -- couldn't assert anything about that.

        4          Q.     Can you answer my question, please?

        5          A.     What's the question?

        6                 I think I answered it.

        7          Q.     The question is did you produce all documents related

        8   -- did you produce all documents related to your ownership of

        9   the property that you claimed during the Superior Court

      10    litigation?

      11           A.     I don’t -- I guess I don't know the difference --

      12    well, I don't know.         Did we submit them?

      13                  Yeah, we submitted them, but weren't, one of them

      14    weren't -- this document wasn't allowed.

      15           Q.     When you say "this document," you mean what's been

      16    marked --

      17           A.     The deed --

      18           Q.     -- as Exhibit 30, the quit-claim deed and the trust
      19    documents, correct?

      20           A.     That's what I'm talking about, yeah.

      21           Q.     All right.

      22                  And those were submitted, as you put it, on or after

      23    March 12, 2018, correct?

      24           A.     Yeah -- yeah, uh -- yes, sir.            It was like, like a

      25    couple of weeks before the trial.




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        1   Salas?

        2          A.     Because I bought -- because I paid for the policy I

        3   guess.      I don't know.

        4          Q.     Okay.    Fair enough.

        5                 Any other reason that you're aware of?

        6          A.     No, I -- I don't know.         I have no idea.

        7          Q.     You also testified earlier that, in the corrections

        8   that you told Judge Teel about, you also testified that the

        9   original of the document may be at the title attorney's office,

      10    right?

      11           A.     That just came to me -- that just came to me as I was

      12    sitting over there.         I never -- I never told Mr. Albert about

      13    it because I can't talk to him about my testimony, but I just

      14    thought about it, and it's -- and it's possible because I don't

      15    know if they mailed it back to me.              I don't remember that.          All

      16    the papers that I had in my house were burned, so I -- and I

      17    didn't recover it from there.            So I couldn't have recovered it

      18    there.      But it's, you know, it's possible that it's still at
      19    his office because I don't remember -- I don't remember him

      20    mailing it back to me, and I don't remember -- but, there's a

      21    lot of things I don't remember.

      22           Q.     Well, when did you, and I'm assuming because you were

      23    attempting to get the quit-claim deed recorded that you gave

      24    these documents to Mr. Goldstein shortly after you signed the

      25    trust documents in July of 2010; is that fair?




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        1          A.     Yeah, so what -- so I had this realtor.               Her name is

        2   in here, Sylvia Jones, and she told me what she had done --

        3                 MR. McNUTT:      Your Honor, I'm going to object.

        4                 THE WITNESS:      Well, I'm trying to answer your

        5   question because --

        6                 MR. McNUTT:      You can't answer --

        7                 THE WITNESS:      -- that has to tell --

        8                 MR. McNUTT:      This is more hearsay, Your Honor.

        9                 THE COURT:      Overruled.

      10                  THE WITNESS:      So I talked to her.         She told me how

      11    she had put her house in a trust because she had three

      12    daughters, and so I said I formed a trust, and I've got the,

      13    and I quit-claim -- my son quit-claimed the deed over to me,

      14    and I want to now register the trust.               And I said, "How do you

      15    do that?"      She said, "Well, you got to go to a title company."

      16    I said, "Well, who is that?"            She said call Goldstein, Maryland

      17    Title Company or something, and she gave me the number to them.

      18    And so I called them up and they said, "Send us the
      19    information."       So I sent them the information, and about a week

      20    later I called them back and they called -- or they called me

      21    and they told me what the situation was.

      22                  So I don't know if I answered your question there or

      23    not.

      24                  BY MR. McNUTT:

      25           Q.     I can guarantee you didn't answer the question.




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        1          A.     I'm sorry.      What's the question?

        2          Q.     I'll leave it at that.

        3          A.     All right.

        4          Q.     So as you sit here today, you're not really sure what

        5   happened to the original quit-claim deed after you gave it to

        6   Mr. Goldstein, right?

        7                 MR. ALBERT:      That was asked and answered.

        8                 THE WITNESS:      I just told you, I don't know if it was

        9   in my house or it's in his office, but I -- I don't know.

      10                  MR. McNUTT:      Okay.

      11                  THE COURT:      The objection is overruled.

      12                  BY MR. McNUTT:

      13           Q.     And if it was in Mr. Goldstein's office, then you

      14    could have gotten it by just simply calling him, right?

      15           A.     I -- I -- I could -- I told -- I guess -- I told

      16    Mister -- I told my attorney what I did, and so I -- that's his

      17    job I guess.        I relied on him.

      18           Q.     Which one is that?
      19           A.     Mr. Albert and Mr. Cox.

      20           Q.     Okay.

      21                  You don't have a copy of the original quit-claim deed

      22    with you today, do you?

      23           A.     No.

      24           Q.     Are you aware of at any time after you gave it to Mr.

      25    Goldstein that you were in possession of the original of the




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        1   quit-claim deed?

        2          A.     Any time after that?

        3          Q.     Yes, sir.

        4          A.     No.   I --

        5          Q.     Up until obviously February of 2018.

        6          A.     No, sir.

        7          Q.     Okay.

        8          A.     I don't remember.

        9          Q.     Did you ever try to record the quit-claim deed after

      10    the time that you gave it to Mr. Goldstein?

      11           A.     No.

      12           Q.     Did you ever make another attempt?

      13           A.     No.   No, sir.

      14           Q.     What activities did you undertake as trustee of the

      15    1610 Riggs Property Trust after July 6, 2010?

      16           A.     What activities?

      17           Q.     Yes, sir.     Did you undertake as trustee?            What

      18    activities?
      19           A.     I answered that.       Do you want me to do it again?

      20           Q.     Yes, sir.

      21           A.     I thought I answered it.          I called them and -- I mean

      22    after I called Mr. Goldstein and asked him to register it, and

      23    then he told me that it was going to cost me $50,000, did I do

      24    anything after that?

      25           Q.     Yes, sir.




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        1            A.   Monthly payments.

        2            Q.   What -- I don't think you answered my question

        3    exactly.     She gets the money; who got the house?

        4            A.   Oh, I got the house.

        5            Q.   All right.

        6                 So you took title to the house in your name at that

        7    time?

        8            A.   Yeah, for a day or two.

        9            Q.   Okay.

       10                 Explain the circumstances behind that.

       11            A.   Well, I -- I tried to get a loan.             I couldn't.      I

       12    went to SunTrust Bank.         They said there's enough equity in the

       13    house to get a loan to pay your wife off, but unfortunately you

       14    can't get a loan.        So my, so Len, who had a very good

       15    relationship with my ex-wife and myself, we both went to Len

       16    and asked him if he would sign for a loan to get Vicki paid

       17    off, and he -- and he did.           So that -- so we got a loan so we

       18    could pay her, so I could pay her off and she could move back
       19    to Tennessee.

       20            Q.   Was it necessary to get the loan that the title would

       21    have to go in Len's name?

       22            A.   Yes, it --

       23                 MR. McNUTT:      Objection.

       24                 THE WITNESS:       Yes, it was.

       25                 MR. McNUTT:      He's not only leading the questions,




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        1    he's also asking for a legal conclusion.

        2                 THE COURT:      The objection is sustained.           Rephrase the

        3    question.

        4                 MR. ALBERT:      Of course, Your Honor.

        5                 BY MR. ALBERT:

        6          Q.     Who -- so the property was put in your name then when

        7    you got the loan?

        8          A.     No, it wasn’t.

        9          Q.     Whose name was it put in?

       10          A.     Put in my son's name, Len.

       11          Q.     Why?

       12          A.     Because the loan was made by SunTrust, and his credit

       13    -- that was kind of like the peak of the housing market and the

       14    loan was made out to him.          He didn’t have any -- he had good

       15    credit, and they were giving loans to just about anybody at

       16    that point in time, and there was enough equity in the house to

       17    get it.

       18          Q.     But they wouldn't give you credit -- excuse me.
       19                 They wouldn't lend you the money because?

       20          A.     Because I had liens from, tax liens from years eighty

       21    -- uh -- '97, '98, and '99.           Yeah.

       22          Q.     Okay.

       23          A.     I owed money to the IRS.

       24          Q.     I see.

       25                 Now, you owe money to the IRS today, correct?




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        1          A.     Yes, I do.

        2          Q.     All right.

        3                 And you heard yesterday in the questioning by Mr.

        4    McNutt, you owe a certain amount of money, the IRS has filed a

        5    claim in this case?

        6          A.     Yes.

        7          Q.     How much did -- are they claiming?

        8          A.     I think about $25,000.

        9          Q.     How much is the house worth today if you remember?

       10          A.     So it's about 2.4, 2.3, 2.4 million.

       11          Q.     And how do you know that, sir?

       12          A.     We had a guy, an appraiser, a real estate appraiser

       13    do an -- do an appraisal.

       14          Q.     Thank you.

       15                 So, is the property recorded in Len's name?

       16          A.     Yes.

       17          Q.     Has it ever been recorded in your name or any trust

       18    as far as you know?         Recorded?
       19          A.     Well, I --

       20          Q.     Recorded?

       21                 THE COURT:      In the land records, Mr. Salas.

       22                 BY MR. ALBERT:

       23          Q.     In the land records.

       24          A.     In the land records?         I think it was recorded by name

       25    for a day until it was -- until it was -- then I quit-claimed




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        1    it back over to Len until, so he could file the -- so, yeah.

        2    One day I think.        The day that the transaction happened.

        3          Q.     And Lenny also signed a deed of trust?

        4          A.     Yes.

        5          Q.     And he signed the note?

        6          A.     Yes.

        7          Q.     In connection with the loan?

        8          A.     Yes.

        9          Q.     And Lenny I suppose has been paying everything since

       10    that time?

       11          A.     Lenny has never paid any -- Lenny has never paid a

       12    penny, a penny towards the loan of the house.

       13          Q.     No down payment, no monthly payments?

       14          A.     No.

       15          Q.     No loan?

       16          A.     No.    Nothing.

       17          Q.     Besides this accommodation, this help that Lenny gave

       18    you, did he have any responsibility with respect to 1610 Riggs
       19    Place Northwest?

       20          A.     No.

       21          Q.     Who was handling any and everything about the

       22    property?

       23          A.     All my responsibility.          Me.   I was doing it all.

       24          Q.     Okay.

       25                 Even before the divorce from Vicki who was paying all




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        1                 Do you see that?

        2          A.     The bottom?

        3          Q.     On page 219?

        4          A.     Line which one?        What line?

        5          Q.     Oh, line 17.       I'm sorry, sir.

        6          A.     Okay.    Yeah.

        7                         "No, there's one trust, so no, they are

        8                 not different, they are the same, I think."

        9          Q.     And then read the question and the next answer.

       10          A.             "Did you ever formally set up a trust?"

       11                         "Yes."

       12          Q.     Okay, and read the answer.

       13          A.             "Okay.    Do you agree if it's called CLR?"

       14                         "Yes, sir."

       15          Q.     And is that correct, it was called CLR?

       16          A.     The trust?       No.

       17          Q.     Because that -- all right, thank you.

       18                 Okay.
       19                 Can you explain when you brought to my attention

       20    the trust document and quit-claim deed?

       21          A.     Can I explain when I brought the trust to your

       22    attention?

       23          Q.     Approximately when did you --

       24          A.     Yeah.    So after we had, after the judgment came,

       25    after the trial where Mr. Barnes defended, represented me, you




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        1    -- so I was talking to you and you asked me --

        2          Q.     Did you say after the trial or during the trial?

        3                 MR. McNUTT:      Objection.

        4                 THE WITNESS:       After, well, I think it was after the

        5    trial.     After the trial.       I don't know when it was.

        6                 MR. McNUTT:      Your Honor, that was a blatant attempt -

        7    -

        8                 THE WITNESS:       Oh no --

        9                 MR. McNUTT:      -- to lead the witness.

       10                 THE WITNESS:       -- before the trial.        So, I don't -- I

       11    don't remember when, but I talked with you, and you asked me --

       12                 MR. McNUTT:      Your Honor, I ask that this answer be

       13    stricken.

       14                 THE COURT:      He can answer it now.         He's not honing it

       15    down to a specific time.

       16                 MR. McNUTT:      Your Honor, that was a blatant attempt

       17    to lead him and correct him.

       18                 THE WITNESS:       Okay.
       19                 MR. McNUTT:      That's highly improper.

       20                 THE COURT:      The question was when did this occur, and

       21    he can't remember at this moment.             It's been answered

       22    previously during the trial.

       23                 We're covering a lot of ground all over again.

       24                 MR. ALBERT:      I understand, Judge, but Mr. McNutt took

       25    approximately six hours with --




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        1                 THE COURT:      Ask a question.

        2                 BY MR. ALBERT:

        3          Q.     Do you know what -- what are -- explain the

        4    circumstances to the Court regarding finding the trust document

        5    and the quit-claim deed.

        6          A.     So you asked me, "You keep talking about this trust

        7    in your deposition.         I read your deposition and you keep

        8    talking about" --

        9          Q.     Who are you talking about?           Are you talking about me?

       10          A.     Yes.

       11          Q.     When you say "you"?

       12          A.     Yes.    You -- you talked to me about, "You keep

       13    talking about this trust through your whole deposition.                    I've

       14    read the whole thing.         What trust are you talking about?"              And

       15    I said, "The trust."         I said what -- and he said, you said to

       16    me, "Who put this trust together for you?                Was there a lawyer

       17    involved?"      And I said, "Yes."        I (sic) said, "Which lawyer?"

       18    "My son."     I (sic) said, "Your son is a lawyer?"               "Yes."
       19    "Where is he at?"        "Colorado."      I   said, "Colorado."         He says,

       20    "Do you -- does he have a copy of the trust?"                 I said -- no you

       21    asked me, "Do you have a copy of the trust?"                I said, "No."

       22    "Where is it?"       I said, "It burned in the fire.            I don't have

       23    any" -- he says, "Well, do you think your son has a copy of the

       24    trust?"     I said, "Well, he should.          I guess, yeah, he might --

       25    he should."      I don't remember what I said.            "But I can call




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        1    him."

        2                 So I called him.        You said, "May I talk to him?"            I

        3    said, "Yes."      You said, "Will you call him and tell him that

        4    I'm going to call him?"          I said, "Yes."

        5                 So I called him, told him, asked him if he had a copy

        6    and he said yes.        And so you -- you called him and you got a

        7    copy of that, of the doc -- you got a copy of the trust and the

        8    quit-claim deed.

        9            Q.   Thank you.

       10                 Can you think of any reason why that document wasn't

       11    obtained earlier than that time?

       12            A.   No, I can't think of any reason why it was -- I --

       13    you know, I -- I don't understand why Mr. Barnes didn't ask for

       14    that before.      I just, I can't understand why he didn't ask for

       15    that before but -- and I can't -- there's a lot of things I

       16    look at now and I don't understand why Mr. Barnes didn't get

       17    any witnesses to the trial, like people that saw the windows

       18    open, people that --
       19                 THE COURT:      It's not --

       20                 THE WITNESS:       No --

       21                 THE COURT:      -- pertinent to the question.

       22                 THE WITNESS:       Yes, sir.     I'm sorry.

       23                 So did I answer your question?

       24                 BY MR. ALBERT:

       25            Q.   Thank you.




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        1    of the money to Vicki.         So we got a loan for $800,000 but that

        2    was to pay the old loan off.

        3            Q.   Right.

        4            A.   And then the rest of the loan, the rest of the money

        5    was to pay her for her half of the equity in the house.

        6            Q.   So my question is, did you ever pay your son back for

        7    the money that he borrowed that you used to pay your wife?

        8            A.   I didn't borrow any money from my son.

        9            Q.   I'm sorry.      I missed that.

       10            A.   I didn't borrow any money from my son.

       11            Q.   So the answer is you didn't pay any of this money

       12    back to your son, right?

       13            A.   I didn't borrow any money from my son.

       14            Q.   Okay.

       15                 After -- let me try it this way.             After April --

       16    yeah.    After April 2007, I think it was April 16th when the

       17    deed of trust was recorded?

       18            A.   Uh-huh.
       19            Q.   Does that sound about right?

       20            A.   Yes, sir.

       21            Q.   And that's, there were the three deeds and then the

       22    deed of trust, right?

       23            A.   Right.

       24            Q.   After April of 2010 did you pay any money to your son

       25    Len with respect to any of the money that you paid your wife,




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        1    your ex-wife Vicki?

        2          A.     I never paid Lenny any money.

        3          Q.     Okay, fair enough.

        4                 Now, you also said that you tried to refinance.                  When

        5    did you try to refinance the property, and I think you said it

        6    was with SunTrust.        When was that?

        7          A.     So lots of times.        I mean, I continually tried.            At

        8    least twice a year.

        9          Q.     At least twice a year?

       10          A.     Since -- since we borrowed the money from SunTrust.

       11          Q.     Okay.

       12                 And was that always with SunTrust?             The attempts to

       13    refinance, were they always with SunTrust?

       14          A.     I -- I think so.        I mean, we looked at other sources.

       15    I think one time we tried Capital One, but always the -- our

       16    best chances were with SunTrust because we had a track record

       17    with them.      We kept paying the loan to them.            Up until the

       18    fire, and then we fell behind on the mortgage.
       19          Q.     All right.

       20                 And none of those efforts were successful in

       21    obtaining a new loan, right?

       22          A.     No.

       23          Q.     Okay.

       24                 And your son Len was part of the application process,

       25    is that right?




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        1    separate?

        2                 THE WITNESS:        Well, because -- because of, the

        3    individual account of Cornet was -- was my personal income,

        4    and the other account for CLR was different.                     And the

        5    intentions were originally is to, CLR was to be -- give

        6    that account to my sons, but that never happened.                       Because

        7    it never made any money.

        8                 THE COURT:       What never made any money?

        9                 THE WITNESS:        CLR.    It just became a way to

       10    separate income and meet the bills and pay for the mortgage

       11    and -- and the ability to pay for the house.

       12                 THE COURT:       This may have been answered already.

       13    Why use the CLR account for your rents?

       14                 THE WITNESS:        Because I didn't want to put the

       15    rent money into my personal account, into my -- my -- my

       16    personal account because -- see, in the very beginning,

       17    from the very beginning from when Vicki and I owned, well,

       18    when the house was in Vicki's name, and we always had the
       19    basement rented even when she and I -- when she and I were

       20    together we rented the basement, and that wasn't my money.

       21    That really wasn't -- I didn't consider that my money.

       22    That was just money to pay the mortgage.                   And so I would

       23    put the money into the CLR account and then I would

       24    supplement that money from CLR from my personal account,

       25    from the Bank of America -- or I mean from -- yeah, Bank of




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     Exhibit R Salas Deposiiton Transcript in Case No. 18-260 8-8-18 Page 22 of 22    APPX00601
 Fill in this information to identify your case and this filing:

 Debtor 1                    Max E. Salas
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF DISTRICT OF COLUMBIA

 Case number            18-00260                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1610 Riggs Place, NW                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building             Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative

                                                                                        Manufactured or mobile home               Current value of the      Current value of the
        Washington                        DC        20009-0000                          Land                                      entire property?          portion you own?
        City                              State              ZIP Code                   Investment property                           $2,500,000.00               $2,500,000.00
                                                                                        Timeshare                                 Describe the nature of your ownership interest
                                                                                        Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only                             Owner
                                                                                        Debtor 2 only
        County                                                                          Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                Property held in name of 1610 Riggs Property Trust through unrecorded
                                                                                2010 Quitclaim Deed
                                                                                trust collapsed on creation through merger to convey property to debtor
                                                                                DC Records displays owner as Len Salas
                                                                                Contains furnished basement that is possible to be rented as a seperate
                                                                                unit, but which debtor currently is using as part of personal residence
                                                                                with remainder of property


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $2,500,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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               Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 1 of 9       APPX00602
 Debtor 1       Max E. Salas                                                                                        Case number (if known)      18-00260
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       No
       Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                    $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
      No
      Yes. Describe.....

                                    **See Attached List**                                                                                                     $14,000.00


                                    Previously damaged and restored personal property being held in
                                    storage by Columbia Restoration
                                    **See attached list for property description**                                                                              $2,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                    HP Laptop 18 in.
                                    MacBook Pro 13 in.
                                    IPad 10 In.
                                    IPhone 6                                                                                                                      $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

                                    1 set Taylor-Made Golf Clubs and Bag
                                    1 set Titelist Golf Clubs and Bag                                                                                             $300.00


                                    1 Precor home treadmill                                                                                                     $1,500.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 2
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             Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 2 of 9       APPX00603
 Debtor 1       Max E. Salas                                                                      Case number (if known)   18-00260
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                    11 suits, 2 tuxedos, 7 pairs of shoes, and 15-20 business shirts,
                                    7-8 pairs of pants, various golf wearing apparel and other wearing
                                    apparel.                                                                                                    $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                    Timex watch                                                                                                   $25.00


                                    Gold costume jewelry ring                                                                                     $20.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....

                                    Hearing aides                                                                                               $300.00


                                    Framed Family Pictures                                                                                      $100.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                  $18,945.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                   Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured
                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

                                                                                                      Cash on hand                              $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                    Institution name:




Official Form 106A/B                                                 Schedule A/B: Property                                                         page 3
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             Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 3 of 9       APPX00604
 Debtor 1       Max E. Salas                                                                        Case number (if known)   18-00260


                                      17.1.    Checking                  Bank of America Core checking account                                 $1,779.24

                                                                         Bank of America Interest Checking
                                                                         (in name of 1610 Riggs Property Trust, Max
                                      17.2.    Checking                  Salas Trtee)                                                            $334.96


                                               Other financial           BB&T bank account x5086
                                      17.3.    account                   (CLR, Inc.)                                                         $29,624.97


                                               Other financial           BB&T bank account x1095
                                      17.4.    account                   (CLR, Inc. - Construction Account)                                        $39.68


                                               Other financial           BB&T bank account
                                      17.5.    account                   (1610 Riggs Property Trust)                                           $6,429.44


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................       Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                         % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                Institution name:

                                      401(k)                             T. Rowe Price/Cornet, Inc. 401(k)                                 $505,435.72


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...




Official Form 106A/B                                                 Schedule A/B: Property                                                          page 4
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             Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 4 of 9       APPX00605
 Debtor 1       Max E. Salas                                                                        Case number (if known)   18-00260


                                              Interest in 1610 Riggs Property Trust -
                                              Establishes Debtor as sole-trustee and sole-beneficiary
                                              Trust terminated through merger to grant ownership of trust
                                              property to debtor                                                                                    $0.00


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

 Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                           Beneficiary:                           Surrender or refund
                                                                                                                                  value:

                                         Interest in Life Insurance Policy
                                         through employer Cornet Technology,
                                         Inc.
                                         Interest to terminate upon full
                                         retirement on May 3, 2018
                                         $0.00 refund value                                   Ron Salas                                             $0.00


                                         Interest in health, vision, and dental
                                         insurance policies through employer
                                         Cornet Technology, Inc.
                                         $0.00 cash value                                                                                           $0.00


                                         Interest in Casualty Insurance -
                                         Progressive
                                         $0.00 cash value                                                                                           $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                         page 5
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        Case
          Case
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                3:20-ap-90027 Document
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                                                                                         #: 4069
             Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 5 of 9       APPX00606
 Debtor 1        Max E. Salas                                                                                                    Case number (if known)        18-00260
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

                                                          Potential claim against Encompass Insurance for unpaid
                                                          insurance funds due under policy                                                                                      Unknown


                                                          Contract claim against Fusion Contracting Group for
                                                          deficient and unperformed renovation work                                                                             Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
      Yes. Describe each claim.........

35. Any financial assets you did not already list
      No
      Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $543,844.01


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
       Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
      No
      Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
      Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
     Yes. Describe.....


41. Inventory
      No
      Yes. Describe.....


42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                  % of ownership:


Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 6
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           Case
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                                                                                          #: 4070
              Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 6 of 9       APPX00607
 Debtor 1        Max E. Salas                                                                                                    Case number (if known)        18-00260


                                             1610 Riggs Property Trust a/k/a CLR, Inc.
                                             (Collapsing trust with full ownership vesting in
                                             Max Salas of all trust property)                                                            100%            %                     Unknown


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                   No
                   Yes. Describe.....


44. Any business-related property you did not already list
      No
      Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                    $0.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
      No
      Yes. Give specific information.........

                                             Washington Nationals MLB season tickets                                                                                         $10,000.00


                                             Washington Wizards NBA season basketball tickets                                                                                  $5,940.00


                                             Policy holder for potential insurance payout to third parties for liability
                                             from 2015 house fire - Encompass Insurance                                                                                        Unknown



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                 $15,940.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 7
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                Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 7 of 9       APPX00608
 Debtor 1         Max E. Salas                                                                                                          Case number (if known)   18-00260

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $2,500,000.00
 56. Part 2: Total vehicles, line 5                                                                               $0.00
 57. Part 3: Total personal and household items, line 15                                                     $18,945.00
 58. Part 4: Total financial assets, line 36                                                                $543,844.01
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +          $15,940.00

 62. Total personal property. Add lines 56 through 61...                                                    $578,729.01               Copy personal property total            $578,729.01

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $3,078,729.01




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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                                                                                          #: 4072
              Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 8 of 9       APPX00609
 Fill in this information to identify your case:

 Debtor 1                 Max E. Salas
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF DISTRICT OF COLUMBIA

 Case number           18-00260
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1610 Riggs Place, NW Washington,                               $2,500,000.00                                             D.C. Code Ann. §
      DC 20009                                                                                                                 15-501(a)(14)
      Property held in name of 1610 Riggs                                                  100% of fair market value, up to
      Property Trust through unrecorded                                                    any applicable statutory limit
      2010 Quitclaim Deed
      trust collapsed on creation through
      merger to convey property to debtor
      DC Records displays owner as Len
      Salas
      Contains
      Line from Schedule A/B: 1.1

      **See Attached List**                                            $14,000.00                                $8,621.00     D.C. Code Ann. § 15-501(a)(2)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Previously damaged and restored                                   $2,000.00                                     $1.00    D.C. Code Ann. § 15-501(a)(2)
      personal property being held in
      storage by Columbia Restoration                                                      100% of fair market value, up to
      **See attached list for property                                                     any applicable statutory limit
      description**
      Line from Schedule A/B: 6.2




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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            Case
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               Exhibit 9 M Salas Schedules in Case No. 18-260 5-2-18 Excerpts Page 9 of 9       APPX00610
                                                          Transcript of Max Salas, Volume II                                       1 (41 to 44)

                                                             Conducted on March 8, 2022
                                                                     41                                                                      43
1    IN THE UNITED STATES BANKRUPTCY COURT FOR THE                         1           IT IS HEREBY STIPULATED AND AGREED by and
                MIDDLE DISTRICT OF TENNESSEE
2                   AT NASHVILLE                                           2    between the attorneys for the respective parties
     ------------------------------------------x
3    IN RE:                                                                3    herein, that filing and sealing be and the same are
                             Case No: 3:18-bk-02662
4    Len Salas               Chapter 7                                     4    hereby waived.
                             Judge Harrison
5              Debtor                                                      5        IT IS FURTHER STIPULATED AND AGREED that all
     ___________________________________________
6    Nicolass Brekelmans and Gail Gregory
     Brekelmans, Co-Personal Representatives                               6    objections, except as to the form of the question,
7    of the Estate of Nina Brekelmans
                                                                           7    shall be reserved to the time of the trial.
8    and
                                                                           8          IT IS FURTHER STIPULATED AND AGREED that the
9    Michael McLoughlin and Martha Johnson,
     Co-Personal Representatives of the                                    9    within deposition may be sworn to and signed before
10   Estate of Michael Patrick McLoughlin,
                                                                           10   any officer authorized to administer an oath, with
11   In their capacity as authorized representatives
     of the Estate of Len Salas                                            11   the same force and effect as if signed and sworn to
12
                         Plaintiffs                                        12   before the Court.
13
                   -v-                                                     13
14
     Max Salas,                                                            14
15                          Ad Pro No.3:20-ap-90027
16                       Defendant.                                        15

17   -----------------------------------------x                            16
                          March 8, 2022
18                        10:30                                            17

19                       Videoconference                                   18

20         DEPOSITION of the Defendant MAX SALAS, taken                    19
21   by Plaintiff, before Christine Cutrone, a Notary                      20
22   Public.                                                               21
23                                                                         22
24                                                                         23
25                                                                         24
                                                                           25



                                                                     42                                                                      44
1    A P P E A R A N C E S :                                               1 REPORTER: Will counsel please
2
                                                                           2 stipulate that in lieu of formally swearing in the
3    LAW OFFICE OF PHILIP J. MCNUTT, P.C.
     Attorney for Plaintiff                                                3 witness, the reporter will instead ask the witness to
4          Two fountain Square
           11921 Freedom Drive,                                            4 acknowledge that their testimony will be true under
5          Suite 584
6
           Reston Virginia 20190                                           5 the penalties of perjury, that counsel will not
     BY:   PHILLIP MCNUTT, ESQ.                                            6 object to the admissibility of the transcript based
7
8                                                                          7 on proceeding in this way, and that the witness has
     THOMPSON BURTON, PLLC
9    Attorney for Defendant                                                8 verified that MAX SALAS is in fact the name of the
          6100 Tower Circle
10        Suite 200                                                        9 witness. All counsel agree?
          Franklin, Tennessee 37067
11
     BY: PHILIP G. YOUNG, ESQ.
                                                                           10       MR. MCNUTT: I do.
12                                                                         11       MR. YOUNG: Yes. Thank you.
     MS. DEBORAH LUNN (court clerk)
13                                                                                  REPORTER: Do you hereby acknowledge
                                                                           12
14   Also present: Ethan Rex
                    (Planet Depos Tech)                                    13 that your testimony will be true under the
15                  Nico and Gail Brekelmans
                   Mindy Johnson                                           14 penalties of perjury.
16
17
                                                                           15       THE WITNESS: I will.
18
                                                                           16       MR. MCNUTT: Thank you, madam
19                                                                         17 reporter.
20                                                                         18       First, just a brief statement,
21                                                                         19 Mr. Salas, and all involved. This is a
22                                                                         20 continuation of a deposition that was started in
23                                                                         21 September of last year. The deposition was
24
                                                                           22 adjourned and continued to an indefinite date
25
                                                                           23 by agreement of the parties. We have a member
                                                                           24 of the court present here to monitor the
                                                                           25 deposition.
                                                               PLANET DEPOS
                                                  888.433.3767 | WWW.PLANETDEPOS.COM
Case
  Case
     3:23-cv-00987
        3:20-ap-90027 Document
                         Doc 74-11
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Exhibit M Salas Deposition Transcript in Case No. 20-90027 3-8-22 Excerpts Page 1 of 12 APPX00611
Exhibit M Salas Deposition Transcript in Case No. 20-90027 3-8-22 Excerpts Page 2 of 12
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                                                                                                                                    Transcript of Max Salas, Volume II                          3 (49 to 52)

                                                                                                                                       Conducted on March 8, 2022
                                                                                                                                                49                                                          51
                                                                                          1 what other documents might be around that. I             1 A. Repeat that please?
                                                                                          2 have no idea.                                            2 Q. Yes. This is the deed that you're
                                                                                          3 Q. Not other copies.                                     3 asserting transferred the property at 1610 Riggs
                                                                                          4        Do you know if there are any other                4 Place from your son Len to you as trustee of the
                                                                                          5 trust agreements that you executed regarding the         5 1610 Riggs Property Trust?
                                                                                          6 property?                                                6 A. It's a copy of that, yes, sir. Is
                                                                                          7 A. I don't know. I don't know. There                     7 that what you want? That's the transfer. I
                                                                                          8 may be.                                                  8 don't know if there's any other ones. I don't
                                                                                          9 Q. Okay. Are you aware of any?                           9 know.
                                                                                          10 A. There was a lot of documents handed                  10 Q. Do you know where the original of this
                                                                                          11 back and forth for a long time for three days           11 document is?
                                                                                          12 in a row, and I just don't remember what I              12 A. I don't.
                                                                                          13 saw, sir, so I can't answer that question.              13 Q. Do you know if you received an original
                                                                                          14 So, I guess, I can't answer it. I don't know            14 of this document on or about July 6, 2010?
                                                                                          15 or I don't remember.                                    15 A. 2010. You know, I don't know. So I
                                                                                          16 Q. Would you go to the fifth page, the                  16 really can't say that I do. My -- my
                                                                                          17 next page of that document.                             17 attorneys may have it. I don't have it. The
                                                                                          18 A. Yeah.                                                18 only paperwork that I knew that I had, burned
                                                                                          19 Q. No. The next page. I think it's the                  19 in the fire, sir.
                                                                                          20 next page we're looking at.                             20 Q. When is the last time --
                                                                                          21 A. The notarized signature you mean, is                 21        JUDGE HARRISON: Let me interrupt here
                                                                                          22 that what you're talking about?                         22 for just a minute. I'm sorry I was a little
                                                                                          23 Q. I'm looking for the Quitclaim Deed.                  23 late, but we had a little technical difficulty.
                                                                                          24 Can you scroll up to the top of that page, Mr.          24        I'm just here to monitor. Mr. Salas,
                                                                                          25 Salas, the top of the previous page. I'm sorry,         25 not answering will not do you any favors.
                                                                                                                                                50                                                          52
                                                                                          1 I gave you the wrong direction. Can you scroll           1 Mr. McNutt, any rowdiness will not do you any
                                                                                          2 to the last page, 6 of 6. There we go, right             2 favors. So let's just get this done. I know you
                                                                                          3 there.                                                   3 already started, but go ahead.
                                                                                          4        Do you recognize that document, which             4        MR. MCNUTT: Thank you, your Honor.
                                                                                          5 is titled Quitclaim Deed also dated July 6,              5        THE WITNESS: Thank you. Sorry.
                                                                                          6 2010?                                                    6   Q.    Mr. Salas, when is the last time you
                                                                                          7 A. Again, it's the same answer as the                    7 remember having the original of the Quitclaim
                                                                                          8 last.                                                    8 Deed?
                                                                                          9 Q. Do you recognize it?                                  9 A. I remember having the file right
                                                                                          10 A. It's a copy -- yes, a Quitclaim Deed,                10 before the fire, I guess. I remember -- I
                                                                                          11 that's correct.                                         11 remember I saw -- I didn't see it then, but I
                                                                                          12 Q. That's the deed that you executed                    12 would have had it. Again, it was destroyed in
                                                                                          13 between your son and you in July of 2010; is            13 the fire. Was that the question?
                                                                                          14 that correct?                                           14 Q. So you believe that the original was
                                                                                          15 A. No, I don't know that.                               15 destroyed in the fire that took place in, I
                                                                                          16 Q. You don't know that. Can you scroll                  16 think, it was June of 2015; is that accurate?
                                                                                          17 down to the signatures. Right there.                    17 A. Mr. McNutt that's possible. You
                                                                                          18       Is that your signature at the bottom?             18 know, yes, maybe it is, but I don't remember.
                                                                                          19 A. Yes, it is.                                          19 I mean, I can't say for sure. So I rather be
                                                                                          20 Q. That's dated July 6, 2010?                           20 safe than smart.
                                                                                          21 A. Yes, it is.                                          21 Q. Fine. That's fine.
                                                                                          22 Q. This is the Quitclaim Deed that                      22       Mr. Salas, do you recall at any time
                                                                                          23 resulted in the deed of the property at 1610            23 after June of 2015 that you saw or had in your
                                                                                          24 Riggs Place from your son to the trust; is that         24 possession the original of this document, the
                                                                                          25 accurate?                                               25 Quitclaim Deed?
                                                                                                                                          PLANET DEPOS
                                                                                                                             888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                     Case 3:23-cv-00987                  Document 14-1         Filed 08/16/24     Page 457 of 796 PageID #: 4075
                                                                                                                                                                                                          APPX00612
Exhibit M Salas Deposition Transcript in Case No. 20-90027 3-8-22 Excerpts Page 3 of 12
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                                                                                                                                   Transcript of Max Salas, Volume II                              5 (57 to 60)

                                                                                                                                      Conducted on March 8, 2022
                                                                                                                                                 57                                                            59
                                                                                          1 name and number should also be used to finance            1 A. I don't know. I mean, I don't know
                                                                                          2 the property. Please note that income taxes on            2 -- I don't know why.
                                                                                          3 the trust must be filed annually.                         3 Q. Do you think he just forgot that there
                                                                                          4       Did I read that correctly?                          4 was one signing in July of 2010?
                                                                                          5 A. Yes, sir.                                              5 A. Give me that again?
                                                                                          6 Q. This is your son sending an e-mail to                  6 Q. Do you think that your son, Ron, may
                                                                                          7 you and your other son Len?                               7 have forgotten that you signed a Quitclaim Deed
                                                                                          8 A. Yes. Yes, sir.                                         8 in July of 2010?
                                                                                          9 Q. Do you recognize                                       9 A. I don't know. I can't remember.
                                                                                          10 LenSalas77@Gmail.com --                                  10 Q. Do you know if in response to this
                                                                                          11 A. Yes, sir.                                             11 e-mail, Mr. Salas, did you attempt to obtain
                                                                                          12 Q. -- was that your son Len's e-mail                     12 someone to draft a Quitclaim Deed?
                                                                                          13 address at the time?                                     13 A. I don't remember. No, I don't -- I
                                                                                          14 A. Yes.                                                  14 didn't get anybody to -- no, I don't think so,
                                                                                          15 Q. Now, it says the name and number should               15 sir.
                                                                                          16 also be used to finance the property. And by             16 Q. Okay. Now it says, the deed will then
                                                                                          17 property, he's referring to 1610 Riggs Place,            17 need to be filed with the district/city. And
                                                                                          18 correct?                                                 18 then, let me know if you have any other
                                                                                          19 A. Yes. Correct. Wait, wait ask me                       19 questions.
                                                                                          20 that again, please?                                      20       But no deed was filed with the District
                                                                                          21 Q. He says, the name and number should                   21 City as far as you know, correct?
                                                                                          22 also be used to finance the property. And by             22 A. I don't -- again, Mr. McNutt, I don't
                                                                                          23 the property, he's referring to the 1610 Riggs           23 remember.
                                                                                          24 Place property, correct?                                 24 Q. Would you turn to the next document.
                                                                                          25 A. Right. Yes.                                           25 This is an e-mail that I think it's the e-mail
                                                                                                                                                 58                                                            60
                                                                                          1 Q. He says, please note the income taxes                  1 dated June 21, 2011 at 10:51 a.m. Right there.
                                                                                          2 on the trust must be filed annually.                      2 Go to the top. It appears to be an e-mail from
                                                                                          3 A. Yes, sir.                                              3 you to S.Goldstein@capitoltitle.com.
                                                                                          4 Q. But you didn't file income taxes for                   4 A. Yes. Yes. I remember that.
                                                                                          5 the trust for any year, did you?                          5 Q. Mr. Goldstein, is he an attorney, do
                                                                                          6 A. So -- no, I don't -- I don't -- I                      6 you know?
                                                                                          7 don't know how to file income taxes. I don't              7 A. I don't know what he is. Real estate
                                                                                          8 file them today.                                          8 company. He owns like a title company or a
                                                                                          9 Q. You didn't file any annual income tax                  9 closing company. I'm not sure what it is,
                                                                                          10 returns for the trust, did you?                          10 sir. I'm sorry, I can't tell you.
                                                                                          11 A. I don't know, sir.                                    11 Q. Would you go to the top of that page.
                                                                                          12 Q. You haven't produced any. If you had                  12 A. This one?
                                                                                          13 them, you would have produced them, correct?             13 Q. Yes, right there.
                                                                                          14 A. If I was asked to and I had them,                     14 A. Oh, yeah, okay.
                                                                                          15 yes, of course.                                          15 Q. Actually I think it's the next one up.
                                                                                          16 Q. In the next paragraph, let me read a                  16 Scroll up. Not down. Scroll up. Right there.
                                                                                          17 portion of this to you, Mr. Salas. The next              17 A. Right to this e-mail, right here?
                                                                                          18 step is for someone in D.C. to draft a Quitclaim         18 Q. Let's do the one before that.
                                                                                          19 Deed in order to move the property from the              19 A. That's this one here, correct?
                                                                                          20 possession of Len to the trust. Did I read that          20       MR. MCNUTT: Ethan, I'm wondering if it
                                                                                          21 correctly?                                               21 might be better that I have control of the
                                                                                          22 A. Yes, sir.                                             22 document, and I can direct Mr. Salas more easily.
                                                                                          23 Q. Okay. Do you know why your son was                    23       MR. YOUNG: I was going to suggest
                                                                                          24 asking for someone to draft a Quitclaim Deed on          24 that, Mr. McNutt. That might be easier to put it
                                                                                          25 June 17, 2011?                                           25 on the page that you're asking about.
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                                                                                                                                    Transcript of Max Salas, Volume II                              6 (61 to 64)

                                                                                                                                       Conducted on March 8, 2022
                                                                                                                                                 61                                                           63
                                                                                          1        THE WITNESS: Thank you.                            1 trust here. I can't answer for him. I could
                                                                                          2        THE TECH: You should have control of               2 answer that this -- I understand -- I could
                                                                                          3 the screen now.                                           3 answer, but I don't know what trust we're
                                                                                          4        MR. MCNUTT: Now, I'm sorry, I was                  4 talking about. And I don't know what Len is
                                                                                          5 trying to do something better. That's my fault.           5 talking -- I mean, I wrote the e-mail in 2011.
                                                                                          6 A. Just so you know, I'm a little bit                     6 Ten years ago. I don't remember.
                                                                                          7 limited in computer -- my computer skills at              7 Q. The second paragraph, Mr. Salas, says,
                                                                                          8 my age.                                                   8 at the end of the day, we need to have done is
                                                                                          9 Q. That's fine and understandable,                        9 have Lenny sign a Quitclaim Deed into the trust,
                                                                                          10 Mr. Salas. I have confused you and I apologize.          10 which has been extend lives my son, Ron, in
                                                                                          11 I didn't mean to.                                        11 Colorado.
                                                                                          12       On this page, which is, again, an                  12       Now, that's a little awkward, but I
                                                                                          13 e-mail that your son provided in his document            13 think you're saying that the trust is a Colorado
                                                                                          14 production, and it's dated June 21, 2011, at             14 trust; is that fair?
                                                                                          15 10:51 a.m. It's addressed from you to                    15 A. Mr. McNutt, I can't agree with
                                                                                          16 Mr. Goldstein, and your sons are copied. It              16 anything you think of me. You said, I think
                                                                                          17 says, Stan, and that's Mr. Goldstein, right, is          17 you mean. I don't know what you mean. I
                                                                                          18 his name Stan?                                           18 mean, you read the sentence as best as you
                                                                                          19 A. Yes. I believe, yeah.                                 19 could, yes, sir.
                                                                                          20 Q. It says, as per our conversation, I am                20 Q. Do you know if it refers to a trust
                                                                                          21 sending you the e-mail from my son prepared to           21 that was created in Colorado?
                                                                                          22 documents. Ron, also my other son, Len, is the           22 A. I thought I answered that. Yeah, I
                                                                                          23 gentleman who will Quitclaim Deed to the trust.          23 don't know. I don't remember.
                                                                                          24 I read that correctly, didn't I?                         24 Q. Other than the trust that you executed
                                                                                          25 A. Yes, sir.                                             25 on July 6, 2010, are you aware of any other
                                                                                                                                                 62                                                           64
                                                                                          1 Q. When it says, Quitclaim Deed to the                    1 trust created in Colorado for you or your son?
                                                                                          2 trust, at the end of that sentence, it's                  2 A. I don't remember.
                                                                                          3 referring to the 1610 Riggs Property Trust,               3 Q. Okay.
                                                                                          4 correct?                                                  4 A. So there's the one sentence in there
                                                                                          5 A. I mean, yes. I believe there's only                    5 that says, hope this is not too confusing.
                                                                                          6 one trust, I guess. No, I don't know. I                   6 It's very confusing to me what I wrote.
                                                                                          7 mean, I can't remember, but...                            7 Q. We all have lots of e-mails we like to
                                                                                          8 Q. Well, let me try this -- I'm sorry, are                8 take back, so I'm sympathetic.
                                                                                          9 you finished, Mr. Salas?                                  9        Let me go down to this next page. We
                                                                                          10 A. No, it's just -- you know,                            10 don't think need to worry about that. I don't
                                                                                          11 Mr. McNutt, I've seen so many documents so               11 think we need to worry about this one either.
                                                                                          12 many different times. And lots of times, I               12 A. We already did this one, right?
                                                                                          13 just don't -- you said this or did this, and I           13 Q. Yes, sir. It's just a string of
                                                                                          14 just don't -- I don't remember. I just don't.            14 e-mails which has the same e-mail in it, so not
                                                                                          15 I'm not trying to evade the question. I'm not            15 a problem.
                                                                                          16 trying to -- I'm under oath and I want to tell           16       Let's go to this one. This is an
                                                                                          17 the truth, but if I don't know, I don't know.            17 e-mail dated June 22, 2011, at 8:50 a.m. This is
                                                                                          18 Q. I understand. But with respect to this                18 from Stanley Goldstein. It appears to be the
                                                                                          19 sentence though, it says, whatever the trust is,         19 Stan at Capitol Title. It's addressed to you at
                                                                                          20 it's talking about a Quitclaim Deed to the               20 your AOL address with copies to your sons, and
                                                                                          21 trust. So whatever trust it is, someone,                 21 to, apparently, an attorney by the name of
                                                                                          22 according to this sentence, Len is supposed to           22 Lynne, I'll say, Boileau. That's the way I
                                                                                          23 provide a Quitclaim Deed to the trust, whatever          23 pronounce it.
                                                                                          24 the trust is; is that fair?                              24       Do you see that e-mail?
                                                                                          25 A. Well, we're assuming that Len has the                 25 A. Yes, sir, I see the e-mail.
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                                                                                                                                    Transcript of Max Salas, Volume II                             8 (69 to 72)

                                                                                                                                       Conducted on March 8, 2022
                                                                                                                                                 69                                                           71
                                                                                          1 7:22 p.m. This is an e-mail from your son, Len,           1 Q. It says, Len -- this is from you to
                                                                                          2 to you at your work e-mail address; is that               2 Len. Len, can you send over the original
                                                                                          3 correct?                                                  3 e-mail. I will check with Lynne again and try
                                                                                          4 A. Yeah.                                                  4 to move this thing along. Thanks. I read that
                                                                                          5 Q. And it says, where are we on this? It                  5 correctly, didn't I?
                                                                                          6 appears to be referring to your most recent               6 A. Yes, sir, you read it correctly.
                                                                                          7 e-mail to Lynne Boileau, which is right                   7 Q. Again, you're not sure what this refers
                                                                                          8 underneath. Is that how you read it?                      8 to, what thing you're trying to move along; is
                                                                                          9 A. That's what it says.                                   9 that accurate?
                                                                                          10 Q. This appears to be a response to Len's                10 A. That's -- this is in 2012,
                                                                                          11 previous e-mail that we just mentioned. This is          11 February 27th. This is different than the one
                                                                                          12 an e-mail dated February 24, 2012 at 9:04 p.m.           12 we had before, right, a different e-mail?
                                                                                          13 Your response to Len is, still working on this.          13 Q. Yes, sir.
                                                                                          14 I am in Miami. Will be back soon. I read that            14 A. So this is what this e-mail says,
                                                                                          15 correctly, didn't I?                                     15 yeah. I get what you mean. I mean, you don't
                                                                                          16 A. Yes, sir.                                             16 know really what this is. I'm sorry.
                                                                                          17 Q. So as of February 24, 2012, it does not               17 Q. Let's take a look at this e-mail. This
                                                                                          18 appear that anything has been finalized with             18 one is dated February 27, 2012 at 7:42 p.m.
                                                                                          19 respect to a Quitclaim Deed; is that correct?            19 It's addressed from you at your personal account
                                                                                          20 A. I don't know that, sir.                               20 to Ms. Boileau at Capitol Title. And it looks
                                                                                          21 Q. Is that what these e-mails seem to be                 21 like you copied both of your sons, Len and Ron;
                                                                                          22 saying?                                                  22 am I correct so far?
                                                                                          23 A. Well, they seem to be saying a lot of                 23 A. That's what it looks like, sir.
                                                                                          24 stuff. I just don't, you know -- you're                  24 Q. Then it says, Hi, Lynne, about a month
                                                                                          25 asking me to look back 12 years, I guess, or             25 and a half back, I sent you information in
                                                                                                                                                 70                                                           72
                                                                                          1 how many years was it? I don't remember.                  1 reference to documents of the house, 1610 Riggs
                                                                                          2 Q. Ten years. Okay. So with the phrase,                   2 Northwest. Please let me know when it would be
                                                                                          3 still working on this, do you know what the this          3 convenient for you. My son and I are anxious
                                                                                          4 is, what you were still working on?                       4 and would like to close on this as soon as
                                                                                          5 A. No, I don't, sir.                                      5 possible. Please let us know what the next
                                                                                          6 Q. You don't. Okay. Other than the                        6 that are from our side. We look forward to
                                                                                          7 Quitclaim Deed on the property, are you aware of          7 working with you. What are the next steps? Did
                                                                                          8 any other reason why you would be communicating           8 I read that correctly?
                                                                                          9 with Len Salas about what you're working on?              9 A. Again, another badly written e-mail
                                                                                          10 A. I worked with Len for a long time on                  10 that's pretty confusing, but you read it
                                                                                          11 a lot of different things. So I worked on a              11 correctly. I don't know what it means.
                                                                                          12 whole lot of different things. Getting him a             12 Q. Do you know if you received any
                                                                                          13 new job. Going through different things.                 13 instructions as to next steps from Ms. Boileau?
                                                                                          14 Whatever you talk to about your son when he's            14 A. No. Not according to this e-mail.
                                                                                          15 that age. So I don't know what this is.                  15 Q. Are you aware of any further
                                                                                          16 Q. Okay.                                                 16 communications that you had after February 27,
                                                                                          17 A. If you're asking me to predict                        17 2012, where Ms. Boileau, concerning the
                                                                                          18 something, I can't do that.                              18 documents related to 1610 Riggs Place?
                                                                                          19 Q. I don't want you to guess.                            19 A. So there's -- I can't remember for
                                                                                          20        Mr. Salas, the next e-mail is dated               20 sure. I mean, I can't remember. It's
                                                                                          21 February 27, 2012. It's at 10:08 a.m. It's               21 possible, but I can't remember. I mean...
                                                                                          22 addressed from you from your work e-mail to your         22 Q. Are you aware of any deed that was
                                                                                          23 son, Len, at his personal account, I guess, that         23 created after February 27, 2012 with respect to
                                                                                          24 is, right?                                               24 the property at 1610 Riggs Place Northwest?
                                                                                          25 A. Right.                                                25 A. Any other deed that was created?
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                                                                                                                                    Transcript of Max Salas, Volume II                              9 (73 to 76)

                                                                                                                                       Conducted on March 8, 2022
                                                                                                                                                   73                                                          75
                                                                                          1 Q. Yes.                                                     1 e-mail address, Mr. Salas, do you know, at the
                                                                                          2 A. I don't know. I mean, I am not aware                     2 very top?
                                                                                          3 of any, no.                                                 3        MR. YOUNG: It looks like Mr. Salas may
                                                                                          4 Q. If I make it more specific, are you                      4 be on mute.
                                                                                          5 aware of any Quitclaim Deed that was created                5 A. I'm sorry, I hear it now. I'm was on
                                                                                          6 after February 27, 2012 related to the 1610                 6 mute there. Sorry about that.
                                                                                          7 Riggs Place property?                                       7 Q. I was asking if you recognize your
                                                                                          8 A. I don't remember.                                        8 son's office e-mail address at the top of that
                                                                                          9 Q. Okay. You don't have any such deed in                    9 page?
                                                                                          10 your possession, correct?                                  10 A. Yeah, sir. I thought I answered that
                                                                                          11 A. Mr. McNutt, I've answered that                          11 one.
                                                                                          12 question three times.                                      12 Q. He states there, this is to Mr. Albert,
                                                                                          13 Q. Have you contacted Ms. Boileau or                       13 and this is Ron, Ron's e-mail, it says, my
                                                                                          14 Mr. Goldstein to determine if they have a copy             14 apologies for the delay. I have the originals.
                                                                                          15 of any deed that might have been created?                  15 I read that correctly, did I not?
                                                                                          16 A. I did try to contact them. I did try                    16 A. Yes.
                                                                                          17 to contact them actually recently. And I --                17 Q. If you go to the next page. Again,
                                                                                          18 but I didn't -- I mean, they were trying --                18 this appears to be an e-mail from Mr. Cox's
                                                                                          19 they were -- no. I mean, we worked on                      19 computer. It says from Marc Albert at the top
                                                                                          20 something and then they said it couldn't go                20 to Rod Barnes with a copy to Max Salas, and the
                                                                                          21 any further and depends on what you were going             21 subject says, signed trust; do you see that?
                                                                                          22 to do. So I don't -- I guess -- I can't                    22 A. Yes, sir.
                                                                                          23 guess. I don't know.                                       23 Q. It's dated March 7, 2018 at 11:11 a.m.
                                                                                          24 Q. But when you contacted them most                        24       That's approximately two weeks prior to
                                                                                          25 recently, did they provide you with any                    25 the Superior Court trial, right?
                                                                                                                                                   74                                                          76
                                                                                          1 documents related to the property?                          1 A. Sir, I don't know when the Superior
                                                                                          2 A. No, they didn't take my call.                            2 Court Trial was. I can't understand -- so
                                                                                          3        MR. MCNUTT: Ethan, can we go to                      3 part of the questions -- so, no, I don't -- I
                                                                                          4 Exhibit 22, please.                                         4 don't know. I remember the subject, yes.
                                                                                          5        THE TECH: You still have control of                  5 Q. Okay. Do you recall that your
                                                                                          6  the document,    counsel.                                  6 bankruptcy was filed, I believe, on May 2nd,
                                                                                          7        MR. MCNUTT: Thank you.                               7 2018? Do you recall that, Mr. Salas?
                                                                                          8 Q. This is Exhibit number 22 in the                         8 A. Give me a minute here. I'm thinking.
                                                                                          9 premarked exhibits for this deposition,                     9 Q. Okay.
                                                                                          10 Mr. Salas.                                                 10 A. You said when? May 7th or --
                                                                                          11       I'll represent to you that these are                 11 Q. May 2nd, 2018.
                                                                                          12  e-mails  that you provided that appear to be from         12 A. I don't -- I would remember that
                                                                                          13 Joshua Cox. Joshua Cox is an associate, partner            13 date. My birthday is May 3rd. No, I can't
                                                                                          14 of Marc Albert. They were your attorneys or are            14 remember that, sir.
                                                                                          15 your attorneys, I guess, in the bankruptcy case            15 Q. Actually, I'm in there as well, but it
                                                                                          16 that you filed in the District of Columbia; is             16 was in that timeframe I believe. That's okay.
                                                                                          17 that accurate so far?                                      17      You don't remember when the Superior
                                                                                          18 A. Yes, sir.                                               18 Court trial took place though?
                                                                                          19 Q. And these appear to be a series of                      19 A. Sorry, could you repeat?
                                                                                          20 e-mails, string of e-mails between or among your           20 Q. Well, do you know when the Superior
                                                                                          21 attorneys and your son, Ron Salas.                         21 Court trial took place, the actual trial?
                                                                                          22       The first page at the top is                         22 A. No, I don't.
                                                                                          23  February   14, 2018 at 3:48 p.m. It says, it's            23 Q. Do you remember if it was in 2018?
                                                                                          24 from Ron Salas, and that is his office e-mail              24 A. I really don't. That sounds right,
                                                                                          25 address, is it not? Is that your son's office              25 but I couldn't -- I can't swear, so I'm going
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                                                                                                                                  Transcript of Max Salas, Volume II                          10 (77 to 80)

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                                                                                                                                                77                                                         79
                                                                                          1 to say I don't remember.                                 1 go to the signature page here.
                                                                                          2 Q. Now, if you look at the bottom of this                2         These were submitted by your attorney,
                                                                                          3 page, this is the same e-mail that I just read           3 Philip Young, on your behalf, is that accurate
                                                                                          4 to you. It says, from Ron to Mr. Albert. My              4 so far, Mr. Salas?
                                                                                          5 apologies for the delay. I have the originals;           5 A. Okay. It took quite a while for you
                                                                                          6 do you see that?                                         6 to ask that question. It was a long question.
                                                                                          7 A. I see that.                                           7 Can you cut it down --
                                                                                          8 Q. And the response from Marc Albert to                  8 Q. Sure.
                                                                                          9 Mr. Barnes and to you, with a copy to Mr. Cox,           9 A. -- by sections one and two, and I can
                                                                                          10 subject, forward, signed trust. It says,                10 answer that, because I don't know remember the
                                                                                          11 clarification, I spoke to Rod Barnes this               11 first question, the first part of the question
                                                                                          12 morning. He indicated he misspoke in his                12 was.
                                                                                          13 e-mail. He gave the originals to his father so          13 Q. Sure. What I'm asking you, Mr. Salas,
                                                                                          14 they could be recorded in D.C. He only retained         14 is if you can identify this document as the
                                                                                          15 a copy of the signed documents. Did I read that         15 response that your attorney provided for you
                                                                                          16 correctly?                                              16 with respect to the plaintiff's request for
                                                                                          17 A. You read it correctly.                               17 admissions.
                                                                                          18 Q. Then just to clarify, there's an e-mail              18 A. I don't know how to answer that
                                                                                          19 from Mr. Cox addressed to Mr. Albert that says,         19 question.
                                                                                          20 I think you meant Ron Salas. Not Rod Barnes.            20 Q. Do you recall in viewing the request
                                                                                          21 And Mr. Albert makes that correction in his             21 for admissions, the first five of which, for
                                                                                          22 e-mail to Mr. Barnes and a copy to you on               22 example, appear on the page in front of you?
                                                                                          23 March 7, 2018, at 11:11 a.m.; am I correct so           23 A. No, I don't recall reviewing any of
                                                                                          24 far?                                                    24 that.
                                                                                          25 A. You read it correct.                                 25 Q. Do you recall providing information to
                                                                                                                                                78                                                         80
                                                                                          1 Q. Do you know what this refers to with                  1 your attorney so that he could fill out the
                                                                                          2 respect to the originals?                                2 response to these requests?
                                                                                          3 A. So, Mr. McNutt, I can't remember --                   3 A. So sometimes I get documents from Rod
                                                                                          4 if you ask me -- if you read something, I can            4 Barnes. Sometimes I get them from, you know,
                                                                                          5 tell you whether you read it or not. You ask             5 from different people, Ron included, and I'll
                                                                                          6 me to remember something, I don't remember. I            6 skim over them really, and I didn't understand
                                                                                          7 just don't remember.                                     7 them. So I just sent them on to whoever was
                                                                                          8 Q. The subject references signed trust.                  8 helping me with that subject, with that issue.
                                                                                          9       Isn't that a reference to the 1610                 9 So, you know, you're asking me if I remember.
                                                                                          10 Riggs Property Trust?                                   10 No, I can't -- can I say this is the document?
                                                                                          11 A. I don't know what it is, sir.                        11 I can't.
                                                                                          12 Q. Could it be any other trust that you're              12 Q. Okay. Just so the record is clear, who
                                                                                          13 aware of?                                               13 is Mr. Barnes, Mr. Salas?
                                                                                          14 A. I don't know that it could of. I                     14 A. That was my original attorney. The
                                                                                          15 don't know -- I don't know what it was. I               15 attorney for the criminal or -- the fire
                                                                                          16 don't want to...                                        16 attorney. The criminal thing or whatever the
                                                                                          17      MR. MCNUTT: Okay. Can you pull up                  17 -- not the civil judge. My attorney.
                                                                                          18 Exhibit 39, Max Salas number 39.                        18 Q. He was your attorney or one of your
                                                                                          19 Q. Mr. Salas, Exhibit number 39 is a                    19 attorneys in the Superior Court litigation,
                                                                                          20 document titled, amended responses to request           20 right?
                                                                                          21 for admissions to the defendant. And it says,           21 A. Yes, sir.
                                                                                          22 comes now, Defendant, Max Salas and for his             22        MR. YOUNG: Mr. McNutt, the responses
                                                                                          23 amended responses to requests for admissions to         23 to the request for admission, we'll stipulate
                                                                                          24 the Defendant states as follows. And then               24 that they are.
                                                                                          25 proceeds to state objections and responses. We          25        MR. MCNUTT: I understand.
                                                                                                                                        PLANET DEPOS
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                                                                                                                                    Transcript of Max Salas, Volume II                            11 (81 to 84)

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                                                                                                                                                 81                                                           83
                                                                                          1        MR. YOUNG: I know you're probably                  1 refinance the D.C. property after 2012. And
                                                                                          2  going  to ask if he remembers this, and I know           2 your response is denied. That indicates to me
                                                                                          3 that's a different question, but if you're asking         3 that you did make attempts to refinance the D.C.
                                                                                          4 if this is what it is, that is what it is, we'll          4 property after 2012. Is that accurate, that you
                                                                                          5 stipulate to that.                                        5 made attempts to refinance after 2012?
                                                                                          6        MR. MCNUTT: I understand and I                     6 A. No, that's not accurate. That was --
                                                                                          7 appreciate that.                                          7 that's not accurate. I have tried to -- I
                                                                                          8 Q. Mr. Salas, I like to read for you the                  8 have in fact tried to refinance a lot of
                                                                                          9 request and response for number 2. It says,               9 different times, you know, yes.
                                                                                          10 that the defendant --                                    10 Q. Okay.
                                                                                          11 A. Oh, I'm sorry. Maybe you should ask                   11 A. That was denied. That's wrong, I'm
                                                                                          12 Mr. Albert, that was him. Go ahead.                      12 sorry. I could tell you that it's a mistake.
                                                                                          13 Q. Tell him I'd love to talk to him.                     13 Or maybe I didn't remember, but I knew -- so
                                                                                          14 A. I bet you would.                                      14 this is really clear, as the defendant makes
                                                                                          15 Q. Number 2, that the defendant is unaware               15 no attempts to refinance the D.C. property
                                                                                          16 of the location of the original Quitclaim Deed.          16 after 2012. That's not right. I don't
                                                                                          17 Response, denied. Ron Salas has an original              17 understand how -- I said this, right?
                                                                                          18 copy. I read that correctly, didn't I?                   18 Q. You denied it. That's correct. You
                                                                                          19 A. You read it correctly, yes, sir.                      19 denied it.
                                                                                          20 Q. Now, your answer says that Ron Salas                  20 A. Okay. I don't understand it. Maybe I
                                                                                          21 has an original copy. But I showed you the               21 need a break.
                                                                                          22 e-mail exchanged between your son, Ron, and              22 Q. Do you need a break?
                                                                                          23 Mr. Albert, which is Exhibit 22. And I'll read           23 A. I'm okay.
                                                                                          24 it again for you. If you want me to pull it up,          24 Q. Okay. I'm hoping I don't have a lot
                                                                                          25 I will. Mr. Albert, says, on March 7, 2018,              25 more to go over, Mr. Salas, but I haven't gone
                                                                                                                                                 82                                                           84
                                                                                          1 clarification, I spoke to Ron Barnes -- we know           1 through everything yet, so I can't give you an
                                                                                          2 Ron Barnes means Ron Salas. It's a mistake --             2 accurate appraisal. But if you need a break at
                                                                                          3 this morning. He indicated that he misspoke in            3 any time, short or longer, just let me know,
                                                                                          4 his e-mail. He gave the originals to his                  4 okay?
                                                                                          5 father, so they can be recorded in D.C. He only           5 A. Understood. Thank you, sir.
                                                                                          6 retained a copy of the signed documents.                  6 Q. I apologize if I confused you that you
                                                                                          7 A. Yeah.                                                  7 denied that you didn't make any attempts to
                                                                                          8 Q. That indicates that your son, Ron, does                8 refinance.
                                                                                          9 not have an original copy of the Quitclaim Deed;          9        My question to you though is, the
                                                                                          10 isn't that correct?                                      10 attempts that you did make after 2012, all of
                                                                                          11 A. That's what that indicates, but well,                 11 them were unsuccessful, correct, you were unable
                                                                                          12 that's what that indicates.                              12 to refinance?
                                                                                          13 Q. Okay.                                                 13 A. Right. No, I wasn't -- I was unable
                                                                                          14 A. But I think that he did have or he                    14 to refinance, that's correct.
                                                                                          15 later found an original copy of it. An                   15 Q. Is it correct, Mr. Salas, that when you
                                                                                          16 original copy of it.                                     16 did attempt to refinance, that your son, Len,
                                                                                          17 Q. Do you know where that original copy                  17 was a borrower or co-borrower in every attempt?
                                                                                          18 is?                                                      18 A. No. No. So the whole point -- the
                                                                                          19 A. No.                                                   19 whole point -- I don't -- Len was -- Len kept
                                                                                          20 Q. Do you know if you've ever produced the               20 trying to get me to finance the house and get
                                                                                          21 original in this litigation or in the D.C.               21 -- so get him off the loan basically, that's
                                                                                          22 Bankruptcy Court litigation?                             22 what he wanted. Get him off -- he was on me
                                                                                          23 A. I don't -- I don't recall.                            23 and I wanted to do it for him. I kept working
                                                                                          24 Q. In number 7, Mr. Salas, it says, that                 24 on it and I couldn't get it done.
                                                                                          25 the defendant, that's you, made no attempts to           25 Q. The banks or institutions where you
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                                                                                                                                   Transcript of Max Salas, Volume II                              12 (85 to 88)

                                                                                                                                      Conducted on March 8, 2022
                                                                                                                                                 85                                                          87
                                                                                          1 attempted to refinance required Len to be a               1 Q. Did you provide Sun Trust with a
                                                                                          2 borrower?                                                 2 guaranty of the deed of trust note obligation?
                                                                                          3 A. I didn't attempt to get any loans for                  3 A. Did I provide Sun Trust a deed?
                                                                                          4 Len anywhere that I can possibly remember.                4 Q. A guaranty.
                                                                                          5 Q. Okay. Let's go to number 19,                           5 A. A guaranty. You know, Mr. McNutt, I
                                                                                          6 Mr. Salas. Request for admission in 19 asks you           6 may have. I don't remember. I just can't
                                                                                          7 to admit or deny that Max Salas did not notify            7 remember right. It just doesn't -- it's not
                                                                                          8 Sun Trust or the D.C. government that he was an           8 there.
                                                                                          9 obligor under the Sun Trust deed of trust. Your           9 Q. If there was a note obligation or a
                                                                                          10 response was denied. Max Salas notified Sun              10 guaranty, would those documents have been
                                                                                          11 Trust that he was obligated under the deed of            11 provided to the plaintiff's in this case?
                                                                                          12 trust. I read that correctly, didn't I?                  12 A. I don't know what -- if there was
                                                                                          13 A. You read it correctly, yes, sir.                      13 what would have happened. I don't know.
                                                                                          14 Q. When you notified Sun Trust that you                  14 Q. You haven't provided any documents
                                                                                          15 were obligated, did you sign a note?                     15 related to a note obligation or a guaranty that
                                                                                          16 A. No. I didn't sign.                                    16 you provided the Sun Trust Bank prior to your
                                                                                          17 Q. Did you sign a guaranty?                              17 bankruptcy filing though, correct?
                                                                                          18 A. Huh?                                                  18 A. That's not correct. I don't know
                                                                                          19 Q. Did you sign a guaranty?                              19 what I've done. I don't know. I may have. I
                                                                                          20 A. I was -- well, the loan was --                        20 may have. Maybe I didn't. I don't know.
                                                                                          21 actually it was a modification. It was a                 21 Q. Let's go to number 20, Mr. Salas. The
                                                                                          22 modification and a way to get -- to get                  22 request for admission asks that you admit or
                                                                                          23 Lenny's -- Lenny wanted the house off of his             23 deny that Max Salas did not notify D.C. or any
                                                                                          24 name, and I kept trying to do that. That's               24 taxing authority that he was the owner of the
                                                                                          25 what happened. I don't blame him. I promised             25 D.C. property. Your response is denied. Max
                                                                                                                                                 86                                                          88
                                                                                          1 him I would do that right away back when he               1 Salas has recorded the D.C. Bankruptcy Court
                                                                                          2 first did it. Well, I'm just going on too                 2 order, which declares him the owner. Max Salas
                                                                                          3 far. So I don't remember, sir.                            3 also filed the homestead exemption with the
                                                                                          4 Q. Okay. I need to give you a timeframe                   4 Register of Deeds in December 2012. I read that
                                                                                          5 here, so I apologize.                                     5 correctly, right?
                                                                                          6        Prior to your bankruptcy filing, okay,             6 A. Yeah, I did. I did file a -- I got a
                                                                                          7 prior to your bankruptcy filing, did you notify           7 note at the house that I was eligible for
                                                                                          8 Sun Trust that you were obligated under the deed          8 signing. So I went down and tried to -- tried
                                                                                          9 of trust?                                                 9 to get the homestead exemption, and I made my
                                                                                          10 A. I don't remember.                                     10 application. And I don't remember the last
                                                                                          11 Q. Did you ever provide, again, prior to                 11 part of that. Max also filed a homestead
                                                                                          12 your bankruptcy filing, did you ever provide Sun         12 exemption within the register of deeds in
                                                                                          13 Trust with a note that you signed as an obligor          13 2012. As you -- I mean, you could read these
                                                                                          14 under the deed of trust note?                            14 things and, yes, could understand what they
                                                                                          15 A. Same answer.                                          15 said. Obviously I didn't write them. But...
                                                                                          16 Q. Do you have any documents that would                  16 Q. Do you have --
                                                                                          17 indicate that you did sign such a note?                  17 A. Yes, I remember doing a homestead
                                                                                          18 A. I can't remember. You know, I don't                   18 exemption. I don't know -- I provided -- I
                                                                                          19 know. It's just -- it's almost like -- I                 19 don't know what I provided the court. And the
                                                                                          20 don't know. I don't remember.                            20 court order says that it's my property, agrees
                                                                                          21 Q. Do you remember if you provided Sun                   21 with me.
                                                                                          22 Trust with a guaranty of the note obligation             22 Q. Do you have a copy of the homestead
                                                                                          23 that Len was obligated for?                              23 exemption that you filed, Mr. Salas?
                                                                                          24 A. Did I provide them a guaranty to                      24 A. I don't, but you can get it,
                                                                                          25 what, sir?                                               25 Mr. McNutt. All you have to do is call the
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                                                                                                                                  Transcript of Max Salas, Volume II                               13 (89 to 92)

                                                                                                                                     Conducted on March 8, 2022
                                                                                                                                                  89                                                            91
                                                                                           1 D.C. government and they have it there. Yep.              1 Mr. Salas, my question is, whether you became
                                                                                           2 Q. So you don't have a copy? Is that what                 2 aware of other signed original copies of the
                                                                                           3 you're telling me, you don't have a copy?                 3 Quitclaim Deed other than what Ron Salas told
                                                                                           4 A. I'm thinking. I can't remember where                   4 Mr. Albert?
                                                                                           5 it's at if I have it. No, I probably don't                5 A. So what is this exhibit from? I know
                                                                                           6 have it. So what happened is, Mr. McNutt, is              6 we worked on it a little while ago -- I mean,
                                                                                           7 you go there and you apply. You pay your                  7 before, but I don't remember what we went back
                                                                                           8 money. And then they e-mail you your                      8 to now.
                                                                                           9 homestead exemption letter and number,                    9 Q. These are the requests for admissions.
                                                                                           10 whatever it is. So that's what happens.                  10 A. From who to who?
                                                                                           11 That's the way they do it in D.C.                        11 Q. These are your responses to the
                                                                                           12 Q. Subsequent to 2015, did you seek to                   12 plaintiff's request for admissions that your
                                                                                           13 obtain a copy of the homestead exemption?                13 counsel prepared and served on or about
                                                                                           14 A. I had years before, right after my                    14 November 9, 2002.
                                                                                           15 divorce. I believe -- I explained to them                15 A. Okay.
                                                                                           16 that the house was mine, but it was -- title             16 Q. And that's the title right there. Then
                                                                                           17 was in my son's name, and they said, well, you           17 I'm asking you about request number 30. Maybe I
                                                                                           18 can't get it.                                            18 could make this simpler.
                                                                                           19 Q. Okay.                                                 19       Other than your son, Ron, were you
                                                                                           20 A. So that was right there -- so that                    20 aware  of any other party that had an original of
                                                                                           21 would be 12, 15 years ago. And then the last             21 the Quitclaim Deed?
                                                                                           22 time was in 28 [sic] -- whenever it was. You             22 A. Well, you know, I think there were
                                                                                           23 know, I can't be tied down to dates, because I           23 four copies when we signed them, or at least
                                                                                           24 don't know. I really don't.                              24 three I remember. So Ron got one of them.
                                                                                           25 Q. You and me both, Mr. Salas. I                         25 Len got one of them. I got one of them. I
                                                                                                                                                  90                                                            92
                                                                                           1 understand.                                               1 don't remember who got the other or if there
                                                                                           2        MR. MCNUTT: Tell you what, why don't               2 was a fourth really.
                                                                                           3 we take a short break, maybe 10 or 15 minutes.            3 Q. Okay.
                                                                                           4 I'm going to review my notes and documents to see         4        (Technical issue.)
                                                                                           5 how much more I have if any. If we can reconvene          5 A. Are you there? Yeah. So I don't
                                                                                           6 at 12:05, if that's okay with everybody.                  6 remember.
                                                                                           7        MR. YOUNG: That works for me. Just for             7 Q. Now, I think you said there were three
                                                                                           8 clarification that's 11:05 central, correct?              8 originals, and you got one of them, and your
                                                                                           9        MR. MCNUTT: Right. 12:05 my time.                  9 sons had the other two.
                                                                                           10       (Whereupon, a short break was taken.)              10       Are you talking about originals or are
                                                                                           11       MR. MCNUTT: Mr. Salas, you will be                 11 you talking about copies of the original?
                                                                                           12 happy  to know that I just have a few more               12 A. No. So these were -- when we went,
                                                                                           13 questions.                                               13 we signed, we did this. There were three
                                                                                           14       Ethan, can we bring back Exhibit 39                14 original copies. Wow -- no, I can't remember
                                                                                           15 please.                                                  15 that for sure. I think there were more than
                                                                                           16 Q. Mr. Salas, one more question on this                  16 one copy. I thought Len had an original, and
                                                                                           17 exhibit. It relates to response to request               17 I thought Ron had an original, and I had an
                                                                                           18 number 30. If I can pull that up. Number 30,             18 original. So, yeah. Am I aware that more
                                                                                           19 the request to admit or deny says that on and            19 than three? No. Do I think there were at
                                                                                           20 after July 6, 2010, you were aware that you had          20 latest three? I think, yes.
                                                                                           21 received the only signed original Quitclaim              21 Q. But other than you and your two sons,
                                                                                           22 Deed. Your response is denied. Defendant later           22 you're not aware of anyone that would have had
                                                                                           23 became aware of other signed original copies of          23 an original of the Quitclaim Deed; is that fair?
                                                                                           24 the quitclaim deed existed.                              24 A. I'm not -- I'm sorry. I'm not aware.
                                                                                           25       Now, with respect to this response,                25       MR. MCNUTT: Ethan, can we pull up
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                                                                                                                                    Transcript of Max Salas, Volume II                             14 (93 to 96)

                                                                                                                                       Conducted on March 8, 2022
                                                                                                                                                  93                                                           95
                                                                                           1 Exhibit number 40?                                        1 CLR Trust file any tax returns from 2014 to
                                                                                           2 Q. Mr. Salas, I'll represent to you that                  2 2018?
                                                                                           3 these are the amended responses to plaintiff's            3 A. I can't remember that. I don't know.
                                                                                           4 first request to the defendant, Max Salas, for            4 Q. You're not aware of any?
                                                                                           5 the production of documents.                              5 A. I'm not -- I'm not aware of any.
                                                                                           6        So these are your written responses to             6 Sounds like CLR, LLC -- it's probably not.
                                                                                           7 my client's request for production of documents.          7 You know, I don't know, that's it. I just
                                                                                           8 And these were amended pursuant to Judge                  8 don't know. I'm guessing now, and I don't
                                                                                           9 Harrison's order that required additional                 9 want to guess.
                                                                                           10 responses. These are also prepared and provided          10 Q. Do you know if you provided this
                                                                                           11 by your counsel on or about November 9, 2021. I          11 information to your attorney?
                                                                                           12 just have a couple of questions regarding these          12 A. I don't remember providing any of
                                                                                           13 responses.                                               13 this to my attorney.
                                                                                           14       This is request number one, Mr. Salas;             14 Q. Okay. Well, you don't believe your
                                                                                           15 do you see that?                                         15 attorney made this up, do you?
                                                                                           16 A. Yeah. Yes, sir, I'm sorry.                            16 A. No, I don't believe he made it up.
                                                                                           17 Q. It asks for, all federal and state                    17 You're asking me if this is -- am I aware?
                                                                                           18 income tax returns for the following persons and         18 No, I don't think -- I don't even know which
                                                                                           19 entities for the period of 2015 through the              19 attorney it was. But I don't -- sir, you
                                                                                           20 present. Those are the entities. It says, any            20 know, I'm not trying to be cute really.
                                                                                           21 other entity in which you were a member, owner,          21 Q. I understand.
                                                                                           22 partner, officer or shareholder. And then it             22 A. I don't -- I don't...
                                                                                           23 says also, any other account on which you were           23 Q. Unless there's something else you want
                                                                                           24 an authorized signatory or in which you                  24 to say, let me let that go.
                                                                                           25 deposited funds from which you withdrew funds.           25 A. Okay. That's it.
                                                                                                                                                  94                                                           96
                                                                                           1        Your attorney prepared an objection.               1 Q. But if there's something that you want
                                                                                           2 And then said, notwithstanding these objections.          2 to say, go ahead.
                                                                                           3 I'm reading from response paragraph.                      3 A. You can ask shorter questions. You
                                                                                           4 Notwithstanding these objections and subject to           4 know, sometimes I think you ask three
                                                                                           5 the provision of the discovery order, as Judge            5 questions in one question, so it confuses me.
                                                                                           6 Harrison's order, Salas has attached his                  6 I'm a simple guy. You know, I just need a yes
                                                                                           7 personal income tax returns for 2014, 2015,               7 or no. Past ten words, it's a little
                                                                                           8 2016, 2017 and 2018 hereto. I read that                   8 difficult for me.
                                                                                           9 correctly so far, haven't I?                              9 Q. I apologize. I'm doing my best.
                                                                                           10 A. Yes, sir.                                             10 A. I understand, sir.
                                                                                           11 Q. Then the last sentence says, Salas                    11 Q. Let me ask you this. The main reason
                                                                                           12 states that CLR Trust, CLR Inc., CLR Corp. and           12 why I went over this is, you did not mention in
                                                                                           13 CLR, LLC did not file tax returns for any year           13 your answer the 1610 Riggs Property Trust.
                                                                                           14 from 2014 to 2018. I read that correctly,                14 Previously, I believe you said that you were not
                                                                                           15 didn't I?                                                15 aware that the trust had filed a tax return.
                                                                                           16 A. Yeah, you read it correctly. Yes,                     16 But I want to make sure that is correct, and
                                                                                           17 but I'm not sure I'm agreeing with the                   17 that from the period of 2014 through 2018, 1610
                                                                                           18 response. The first time I'm seeing it, but,             18 Riggs Property Trust did not file a federal or
                                                                                           19 yeah, go ahead.                                          19 state income tax return?
                                                                                           20 Q. And that was my first question, is that               20 A. Again, yeah, that sounds right. Yes,
                                                                                           21 statement correct that --                                21 sir, that sounds right, but, you know, I can't
                                                                                           22 A. That's what you read, yes.                            22 -- I'll be guessing if I knew that it
                                                                                           23 Q. Pardon me?                                            23 happened. You know, I didn't -- I don't
                                                                                           24 A. That's what you read, yes, sir.                       24 remember saying that. I don't -- see the
                                                                                           25 Q. Is the statement correct though, did                  25 thing is, I don't remember even seeing this
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                                                                                                                                   Transcript of Max Salas, Volume II                               16 (101 to 104)

                                                                                                                                      Conducted on March 8, 2022
                                                                                                                                                 101                                                          103
                                                                                           1 don't know.                                               1 -- yeah, I mean, CLR Construction account,
                                                                                           2 Q. Have you asked them whether they have                  2 yes, that sounds familiar, but, yeah.
                                                                                           3 e-mails, such as the e-mails that we've reviewed          3 Q. None of those proceeds went into the
                                                                                           4 today between you and Ms. Boileau?                        4 1610 Riggs Property Trust account, did they?
                                                                                           5 A. No.                                                    5 A. The account or the property?
                                                                                           6 Q. Now, Mr. Salas, your insurance company,                6 Q. Well, maybe I confused you. Let me
                                                                                           7 which I believe was Encompass, does that sound            7 backup.
                                                                                           8 right?                                                    8         Looking through your accounts, it does
                                                                                           9 A. Yes.                                                   9 not appear that any of the insurance proceeds
                                                                                           10 Q. Did you receive or they awarded you,                  10 were deposited into an account under the name
                                                                                           11 whatever the correct wording is, proceeds that           11 1610 Riggs Property Trust; is that correct?
                                                                                           12 you used to reconstruct or rebuild your home at          12 A. That sounds correct, yes, sir.
                                                                                           13 1610 Riggs Place, right?                                 13        MR. MCNUTT: Mr. Salas, I think that's
                                                                                           14 A. Yes. Yes, sir.                                        14 all I have.
                                                                                           15 Q. I'm assuming that you received                        15        THE WITNESS: Thank you.
                                                                                           16 insurance proceeds from time to time for that            16        MR. YOUNG: I have no questions.
                                                                                           17 renovation or reconstruction?                            17        (Court reporter asks for order.)
                                                                                           18 A. I can't remember what -- how it did.                  18        MR. MCNUTT: Electronic.
                                                                                           19 So there was a guy that was managing that                19        MR. YOUNG: Yes, ma'am, please.
                                                                                           20 project -- was managing that. Some guy called            20        THE TECH: Would you both like exhibits
                                                                                           21 an adjustment professional or something. So              21 attached on that?
                                                                                           22 I, you know...                                           22        MR. MCNUTT: Yes. Please.
                                                                                           23 Q. Insurance adjuster or somebody like                   23        Instructions about reading and signing,
                                                                                           24 that?                                                    24 you want to mention that?
                                                                                           25 A. That's it. There you go. Insurance                    25        MR. YOUNG: Max, you're allowed to read
                                                                                                                                                 102                                                          104
                                                                                           1 adjuster. No, it wasn't an adjuster.                      1 your deposition transcript and make sure that
                                                                                           2 Investigator or something. I don't know what              2 it's accurate and signoff on it before it becomes
                                                                                           3 it was. It was somebody else that was -- in               3 official, if you want to. Or you're welcome to
                                                                                           4 other words, he...                                        4 waive that right. Do you want to review it
                                                                                           5 Q. You're saying that somebody on behalf                  5 beforehand or waive that right?
                                                                                           6 of the insurance company was monitoring the               6         THE WITNESS: Yeah, I like to review
                                                                                           7 renovation reconstruction and providing you with          7 it. I like to review it.
                                                                                           8 payments for contractors and that sort of thing,          8         MR. YOUNG: We'll review it.
                                                                                           9 does that sound right?                                    9         (Time noted: 12:29 p.m.)
                                                                                           10 A. That sounds right. But, you know,                     10
                                                                                           11 it's just one of those questions that is hard            11
                                                                                           12 for me to answer yes or no.                              12
                                                                                           13 Q. Okay.                                                 13
                                                                                           14 A. Maybe some. I don't know. I don't                     14
                                                                                           15 remember.                                                15
                                                                                           16 Q. Let me tell you what I'm trying to get                16
                                                                                           17 at. I'm trying to figure out the insurance               17
                                                                                           18 proceeds that you got for the rebuilding of the          18
                                                                                           19 house, what account they were put in? Was that           19
                                                                                           20 the CLR Construction account?                            20
                                                                                           21 A. Was there -- I don't -- was there a                   21
                                                                                           22 CLR Construction account?                                22
                                                                                           23 Q. Yes, sir.                                             23
                                                                                           24 A. Yeah, that sounds like that, but I                    24
                                                                                           25 don't remember. This is a -- so that account             25
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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLUMBIA

           IN RE:                      .                 Case No. 18-00260-smt
                                       .
           MAX E. SALAS,               .
                                       .                 Washington, D.C.
                         Debtor.       .                 August 22, 2018
                                       .
           . . . . . . . . . . . . . . .


                      TRIAL ON THE OBJECTION TO HOMESTEAD EXEMPTION
                                       VOLUME 1 OF 3
                         BEFORE THE HONORABLE S. MARTIN TEEL, JR.
                         TRANSCRIPT ORDERED BY: PHILIP J. McNUTT

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           Court Recorder:                  THE CLERK

           Transcribed By:                  MS. KRISTEN SHANKLETON




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           **Transcriptionist's note: The notations of
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           speaking outside of the vocal capture range of the
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       1   Court.      We'll have to discuss that once we're finished.

       2                RON SALAS, DEBTOR'S WITNESS, SWORN

       3                THE CLERK:       Please have a seat and state your name

       4   for the record.

       5                THE WITNESS:        Ron Salas.       S-a-l-a-s.

       6                                DIRECT EXAMINATION

       7                BY MR. ALBERT:

       8          Q.    Thank you for traveling all the way from Denver.

       9   We appreciate it.

     10           A.    You bet.

     11           Q.    What is the relationship with the Debtor, Max

     12    Salas, please?

     13           A.    I'm his eldest son.

     14           Q.    Where do you live, please?

     15           A.    I live in Fort Collins, Colorado.

     16           Q.    And what is your occupation?

     17           A.    I am an attorney.

     18           Q.    And when were you admitted to practice and in what
     19    state?

     20           A.    In the state of Colorado, 2009.

     21           Q.    Are you familiar with the property located at 1610

     22    Riggs Place Northwest?

     23           A.    I am.

     24           Q.    And what is your familiarity with the property?

     25           A.    It's my father's home.            Lived there since '95 or




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       1   '96.

       2          Q.    Do you know if the D.C. records display the

       3   property as being your father's name?

       4          A.    My current knowledge is that it is the official --

       5   it is -- the recorded deed is in my brother's name, but

       6   there was a quit-claim deed signed years ago that

       7   transferred it from my brother to a trust and my father.

       8          Q.    Do you know why the property was transferred to

       9   your brother at some point?

     10           A.    Yes.     So originally it was in my step-mother's

     11    name, my father's second wife.               They divorced.         When they

     12    did so the house needed to be refinanced so that she could

     13    get her marital portion of the property.                   My father was

     14    unable to refinance it at that point in time.                     And my step-

     15    mother, Vicki Bruff, and my father asked my brother to see

     16    if he could refinance it in his name.                  And so, you know, so

     17    that she could get the buyout with the intent of my father

     18    getting a loan thereafter and doing it, so that's what --
     19           Q.    Doing what?

     20                 I'm sorry.       I couldn't hear you.

     21           A.    Yeah, the intent was that my father would

     22    refinance the loan when his credit, when his

     23    creditworthiness met that so that he could do so, and then

     24    refinance it and keep it in his name; keep his house.

     25           Q.    Who do you consider to be the owner of the




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       1   property?

       2          A.     My father.

       3                 MR. McNUTT:       Objection.      No foundation for who he

       4   considers --

       5                 THE COURT:      Overruled.       It's not received as

       6   anything other than his understanding.                  It's not going to

       7   determine the title.

       8                 BY MR. ALBERT:

       9          Q.     Why do you say your father?

     10           A.     Because my father has lived in the home as I said

     11    since '94, '95, '96; in that area.                 He purchase the home,

     12    he remodeled the home -- bless you, Your Honor -- he

     13    remodeled the home several times.                He lived there with my

     14    step-mother.        To my knowledge he, you know, paid all the

     15    bills and no one else did.              So it's his home.         I visited

     16    there over the years a multitude of times with my children

     17    and had holidays there.            It's his home.

     18           Q.     What was Len's role in connection with this
     19    property?

     20           A.     Len lived there briefly before the divorce, and

     21    then he lived there briefly after the divorce with his I

     22    think then girlfriend and now wife.                 But that was less than

     23    a year is my recollection back in, I don't know, mid-

     24    nineties.       Other than that, that's the only relationship I

     25    know.       Well, I know that he was, besides the loan that I




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       1   spoke of earlier.

       2          Q.    The loan was in his name, correct?

       3          A.    The records that I've seen recently in depositions

       4   and such indicate that yes, the loan was in his name until,

       5   I guess the loan is still in his name.                  I don't know that,

       6   though.

       7          Q.    Did you ever help your father and Len do anything

       8   to further confirm the property was Max's?

       9          A.    Yes.     So, you know, after my -- so one of the

     10    reasons my sister-in-law and brother moved out is they

     11    didn’t get along.          My sister-in-law didn't get along with

     12    Max, and it was a bone of contention that the home was

     13    still in his name, and he wanted to get it off.                      My brother

     14    and my father asked me to do a, set up a trust or set up a

     15    document to transfer the home out of my brother's name and

     16    put it back into his name because it was his home.

     17           Q.    Who's name?

     18           A.    Into Max's name, my father, because it was a
     19    stress on my brother's marriage, and it was a stress on my

     20    brother.      And so shortly after, you know, I graduated from

     21    law school I prepared those documents for them per their

     22    request.      We prepared a quit-claim deed, we prepared a

     23    trust.      I had them at my office to sign those documents,

     24    and --

     25           Q.    Can I interrupt for a minute?




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       1          A.    Yes.

       2          Q.    You said put it in your father's name, but then

       3   you switched to a trust.             Can you --

       4          A.    It was a trust document that we set up rather than

       5   directly into his name.            So it was a trust with him as the

       6   sole beneficiary of the trust, and he as the trustee of the

       7   trust.      So, but yes.       That was the plan.          The plan was to

       8   get it out of my brother's name.

       9          Q.    Okay.

     10           A.    That was the intent.

     11           Q.    Thank you.

     12                 And so let's look at that Exhibit Number C

     13    document in the little, I think it's the little book.                        Yes.

     14    Would you look at that document, or documents please?

     15           A.    That's C as in Charlie?

     16           Q.    Yes.

     17           A.    Yes.

     18           Q.    What's the title of the first page, please?
     19           A.    It's Irrevocable Trust Agreement.

     20           Q.    Okay.     And if you go to the back, the end, what's

     21    the title of that document, the last page?

     22           A.    The last page is a quit-claim deed.

     23           Q.    All right.       And have you seen these documents

     24    before?

     25           A.    I have, yes.




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       1          Q.     Who prepared these documents?

       2          A.     I prepared them.

       3          Q.     All right.

       4                 And did you have your brother and your father in

       5   your office with respect to these documents?

       6          A.     I did.

       7          Q.     And what happened at that time?

       8          A.     At that time myself, my father, my brother, and

       9   his wife were present.            We signed the trust documents.                I

      10   as a witness, my sister-in-law as a witness.                      It was a

      11   notary present.          We signed the trust agreement.               We signed

      12   the quit-claim -- well, I did not sign the quit-claim.                          The

      13   quit-claim deed was signed by my brother Len and Max, and

      14   the deed was given to, from Len to Max, the original to be

      15   filed.      And a copy was given to my brother for his records,

      16   and I kept a copy.

      17          Q.     Okay.

      18                 And these documents were notarized also, correct?
      19          A.     They were, yes, that's correct.

      20          Q.     And who notarized them?

      21          A.     Lori King.       She worked in my office at that point

      22   for several years and she notarized -- well, it was a

      23   shared office.         She worked in the office as a receptionist.

      24   She notarized documents for the attorneys in the office.

      25          Q.     Okay.




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       1                 And you witnessed the other people, including the

       2   notary signing, were appropriate?

       3          A.     I did.

       4          Q.     You saw your brother sign, you saw your father

       5   sign?

       6          A.     Yes.

       7          Q.     Did you review these documents with them before

       8   they signed them?

       9          A.     Yes, I did.

      10          Q.     And do you know whether these documents were ever

      11   recorded?

      12          A.     I know today that they were not recorded.                    My

      13   assumption was that they were, but as of today I knew they,

      14   I know now that they were not.

      15          Q.     Okay.

      16                 Did there come a time you knew your father and

      17   brother were involved in litigation involving the deaths

      18   that occurred from a fire in 2015?
      19          A.     Yes.

      20          Q.     What did you, who did you learn about this

      21   litigation from and what did you learn?

      22          A.     I learned that they were both named in a lawsuit.

      23   I don't recall who contacted me first, whether it was my

      24   brother or my father.            I know they both at some point did.

      25   Both sent me copies of the summons or petition, summons I




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       1   guess at that point.            I don't recall what it was.              I know

       2   that I spoke to my brother and he was upset.                      But so

       3   sometime after the accident or incident a year or so later,

       4   nine months, I don't recall exactly, after the fire.

       5          Q.     There was a lawsuit filed?

       6          A.     There was a lawsuit filed.

       7          Q.     You're not sure you remember when?

       8          A.     Right.     I don't remember exactly, no.

       9          Q.     What did you think of Len being involved in the

      10   litigation?

      11                 MR. McNUTT:       Objection.

      12                 THE COURT:       Overruled.

      13                 THE WITNESS:        At that point I was a bit surprised.

      14   I did not -- we prepared the documents previously.                         I

      15   didn't think that my brother had any ownership interest at

      16   that point.        I don't even know if he was still living in

      17   the district.         He may have been.          And I asked him why, and

      18   we looked at it, and it said that he was the registered
      19   owner of it, or the deeds showed that he was indicated.                          I

      20   said, "Wow, that's not good."               I said, "You probably need

      21   to get an attorney and make sure that they understand that

      22   you don't even own the property."

      23                 BY MR. ALBERT:

      24          Q.     Did your brother get an attorney?

      25          A.     He did later get an attorney, yes.




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       1          Q.     And what was his name, do you remember?

       2          A.     Michael Forester I believe was his attorney at the

       3   trial.      I don't know if that was the attorney for the

       4   entire period.         I don't know.

       5          Q.     There's -- there's going to be a lot of questions

       6   I'm sure after I finish about whether or not you provided

       7   the trust documents to your brother and your father, their

       8   lawyers, opposing counsel?

       9          A.     I didn't.      I didn't provide them.            I assumed they

      10   had them.       Honestly I didn't think about it a lot.                   I knew

      11   what we had done, but I didn't think about providing the

      12   documents.       I was never asked for them.               They had

      13   attorneys.       I assumed if they needed them and if they were

      14   being properly vetted by an attorney that they would search

      15   for those documents, they'd ask for those documents if they

      16   needed them.        I, you know, I don't practice in the

      17   district.       I don't -- you know, as an attorney I don't like

      18   when other attorneys from family members get involved in my
      19   cases, so I kept my distance.               I didn't think it was

      20   appropriate for me to do that.                I don’t do insurance

      21   defense, so I didn't get involved.

      22          Q.     Did there come a time that you did provide the

      23   trust documents and the quit-claim deed?

      24          A.     I did.     Once it was getting close to trial time, I

      25   know I told my father that if it were to happen that he




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       1   needed to contact a bankruptcy attorney, because that's

       2   what I do, and I provided him some names, and I believe he

       3   hired you.       I know he did.         And then you contacted me after

       4   your interview with him and asked if -- because he

       5   mentioned to you there was a trust document.                      And he said,

       6   "You know, Mr. Albert asked me about the trust, the copy

       7   that I had, burned.           And I need one.         Do you have one?"          I

       8   said, "Yeah, I have it."             And so that was shortly before

       9   the trial I provided it to you.

      10          Q.     We spoke on the phone?

      11          A.     Yes, you called me a couple of times.                  And I

      12   finally was able to locate it and get it to you.

      13          Q.     And then what happened at that point?

      14          A.     I provided it to you.           I believe you provided it,

      15   or Max provided it to his attorney in the civil litigation.

      16   However, because of the late date had passed and the Judge

      17   in that case barred that information from coming in due to

      18   disclosure deadlines being missed --
      19                 THE COURT:       What did you retain, a photocopy or a

      20   scanned copy?

      21                 THE WITNESS:        A scanned copy.

      22                 THE COURT:       Back in July of 2010 you created a

      23   scanned copy and retained that electronic copy?

      24                 THE WITNESS:        That's correct, Your Honor.              That's

      25   my process.        I scan every document and keep it in a e-file.




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       1   Soft copy.

       2                 THE COURT:       And so that's what you sent to Mr.

       3   Albert?

       4                 THE WITNESS:        I sent to Mr. Albert, yeah, I have a

       5   scanned copy --

       6                 THE COURT:       Well, you sent to somebody at Mr.

       7   Albert's request?

       8                 THE WITNESS:        It was Mr. Albert directly spoke to

       9   me.     He asked me if I had it.            I said I have it somewhere

      10   in my scanned documents.             I found it and I emailed the PDF

      11   copy to him.

      12                 THE COURT:       All right, thank you.

      13                 THE WITNESS:        Yes, sir.

      14                 BY MR. ALBERT:

      15          Q.     Do you know of any reason why you, your brother,

      16   or your father would purposely keep this trust document,

      17   quit-claim deed away from their own lawyers or the opposing

      18   parties in the litigation?
      19          A.     No.    I mean I assumed they had it; they were

      20   working their case, they knew what was going on.                       You know,

      21   had I known, I wish I would have provided these documents

      22   immediately, but I ignorantly at this point thought that

      23   they would come up.           My brother had a copy, my father had a

      24   copy, and that they were working towards that.                      I just, you

      25   know, hindsight now, I wish I'd have been more involved,




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       1   but I'm, you know, 3,000 miles away.                  I have, at the time

       2   two teenagers.         My son was involved in the fire and was

       3   going through issues because of it.                  You know, I just, I --

       4   I didn't think about it.

       5          Q.     And at the time of the trial, a little before

       6   that, did you have some other personal events that caused

       7   you to focus on other issues?

       8          A.     Yeah.     You know, three months before my son was

       9   murdered, and, you know, it was a grieving time for the

      10   family, and I just -- you know, I was thinking about my

      11   wife and my daughter.

      12          Q.     I'm sorry.

      13          A.     No, it's okay.

      14          Q.     Just a couple other questions.

      15          A.     Sure.

      16          Q.     The fire took place in June, was it June of 2015?

      17          A.     Three years, yes.

      18          Q.     Was your father injured in the fire?
      19          A.     Yes.    My father and my son escaped the fire.                   He

      20   jumped from a second story window.                 My father broke his

      21   ankle I believe.          He had --

      22                 MR. McNUTT:       Your Honor, I'm going to object

      23   because this is information that's not personal knowledge,

      24   not first-hand knowledge of this witness.

      25                 THE COURT:       It's cumulative, too, Mr. Albert.




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       1   Sustained.

       2                 MR. ALBERT:       It is, but can I, just a couple

       3   questions on it?

       4                 I understand it's cumulative.               May I just ask a

       5   couple questions or no?

       6                 THE COURT:       Well, he learned of that information.

       7   He learned of that information.                That's obvious.

       8                 MR. ALBERT:       Well, I was going to ask him what his

       9   condition of his father was after the fire, if he could

      10   tell the Court.

      11                 THE COURT:       All right.

      12                 BY MR. ALBERT:

      13          Q.     How was your father physically and mentally doing

      14   after the accident?

      15          A.     My father had a tough time.              He had to see

      16   therapists.        He was under medication for pain for his

      17   breaks.      He had a difficult time --

      18                 MR. McNUTT:       Objection again, Your Honor.               This is
      19   second or third-hand information.                 Mr. Max Salas may be

      20   able to testify to this, but I don't understand how his son

      21   can.     There's been no establishment of any foundation for

      22   the information that this witness would know in his

      23   personal first-hand information.

      24                 THE COURT:       Sustained.

      25                 MR. ALBERT:       Judge, I have no further questions.




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       1                 Thank you.

       2                 THE COURT:       The answer to the question is

       3   stricken.

       4                 MR. ALBERT:       I'm sorry, Judge?

       5                 THE COURT:       The partial answer to the question is

       6   stricken.

       7                 MR. ALBERT:       Yes, sir.       Thank you.

       8                                  CROSS-EXAMINATION

       9                 BY MR. McNUTT:

      10          Q.     Good afternoon, Mr. Salas.

      11          A.     Good afternoon.

      12          Q.     I have to tell you, this is the first time I heard

      13   about your son, and I am, you know, as a parent myself, I

      14   can't imagine what that's like or what you may even be

      15   going through now.           So I apologize for you to have to be

      16   here and go through this, but I really do sincerely --

      17          A.     Thank you.

      18          Q.     I mean, this is a tough case obviously for the
      19   reasons that my clients' family have gone through as well.

      20   So we have to carry on as they say.

      21          A.     Yes.

      22          Q.     I have just a couple of questions, a few questions

      23   I should say, based on your testimony.

      24                 You said in your testimony that in July of 2010

      25   your intent was to create a document that would get the




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       1   property out of your brother's name.                  Is that a fair

       2   characterization of your testimony?

       3          A.     Yes.

       4          Q.     Now, you also said at the time I believe that you

       5   were a fairly young attorney, is that right?

       6          A.     That's correct.

       7          Q.     How long after you had passed the bar?

       8          A.     Six, eight months.

       9          Q.     And I believe when I took your deposition I

      10   believe you said that your primary focus for your practice

      11   is in the area of bankruptcy and then some estates and

      12   trusts.      I think you also did a smattering of minor

      13   criminal matters and immigration matters.                    Is that fair?

      14          A.     Majority is bankruptcy, probably 70 percent.                     I do

      15   20 percent family law, divorce.

      16          Q.     Okay.

      17          A.     And then a smattering of the other issues.

      18          Q.     Not much in the way of estates and trusts?
      19          A.     No.

      20          Q.     And no real estate practice?

      21          A.     None.

      22          Q.     Now I would think that as an attorney talking

      23   about transfer of property that the first thing that would

      24   come to mind would be a deed.               And you did prepare a quit-

      25   claim deed?




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       1          A.     Yes.

       2          Q.     Why was there no quit-claim deed?                Why was there a

       3   need for a trust?          Why wasn't the property just deeded from

       4   Ron -- from your brother to your father?

       5          A.     Because at the time my father had some outstanding

       6   tax issues, and there was fear that if it was placed

       7   directly in his name it would be easier to lien the

       8   property.

       9          Q.     All right, and I believe -- that's fair.

      10                 And in your testimony I believe you said that your

      11   father has had continuous tax problems for a long period of

      12   time?

      13          A.     He's had tax problems since the late '90s.

      14          Q.     All right, so --

      15          A.     Or early '90s.        Excuse me.

      16          Q.     So it was important for this transaction that the

      17   property not be in your father's name.                   Is that accurate?

      18          A.     Directly in his name, that's accurate.
      19          Q.     Okay.

      20                 Because if the property was in his name there was

      21   a possibility that these tax issues or tax liens I guess

      22   they were, would have attached to your father's property,

      23   correct?

      24          A.     Correct.

      25          Q.     Now, you said that after the transaction you said




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       1   that you kept a copy electronically.                  You gave a copy to

       2   your father -- I'm sorry.              Did you say you gave the

       3   original or a copy to your father?

       4          A.     My father had an original.

       5          Q.     All right.

       6                 And you said that your brother had a copy.                    Do you

       7   know if there were any other copies?                  Do you know if your

       8   brother and sister had a copy?

       9                 MR. ALBERT:       Brother and sister?

      10                 MR. McNUTT:       Oh, I'm sorry.         What did I say?

      11                 Thank you for mentioning that.

      12                 BY MR. McNUTT:

      13          Q.     I'm sorry.       Your brother's wife I meant obviously.

      14   I don't know where -- and I keep calling you the brother,

      15   the son; I don't know.

      16          A.     That's all right.          No problem.

      17          Q.     I apologize.

      18          A.     She may have.        I don't know for a fact, but now
      19   that you say that, I kind of remember that she may have

      20   wanted to have a copy of her own, but I don't recall with

      21   certainty.

      22          Q.     But she was there, so she certainly knew that this

      23   had taken place?

      24          A.     That is correct.

      25          Q.     And I heard you say I think in your response to




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       1   Mr. Albert's questioning that you explained the documents

       2   to your father and your brother.                 Was your brother's wife

       3   there at the time you explained it as well?

       4          A.     She was.

       5          Q.     So all those parties knew what the purpose of the

       6   document was and what the effect was, and you told them

       7   that the effect of the document was that the property would

       8   no longer be owned by your brother; it would be out of his

       9   name?       Is that fair?

      10          A.     Yes.

      11          Q.     Okay.

      12                 And that never happened because the deed was never

      13   recorded.       Is that also fair?

      14                 MR. ALBERT:       Objection.       He says it never

      15   happened.       That's not true.

      16                 THE COURT:       Sustained.       It involves a conclusion

      17   of law.

      18                 BY MR. McNUTT:
      19          Q.     Well, let me ask you what your understanding was

      20   then, because the deed was, as you now understand because

      21   the deed was never recorded, do you know what affect that -

      22   - do you have an understanding of what the effect was on

      23   the ownership of the property?

      24                 MR. ALBERT:       Objection.       Is Mr. Salas an expert

      25   witness today?




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       1                 THE COURT:       The objection is sustained.

       2                 MR. McNUTT:       Thank you, Your Honor.

       3                 THE COURT:       What were you trying to accomplish by

       4   having title transferred to a trust of which Max Salas was

       5   the beneficiary?

       6                 THE WITNESS:        To get the house back in control of

       7   my father because it was his house.

       8                 MR. McNUTT:       All right.

       9                 THE COURT:       What was the purpose of having him

      10   have control of the house?

      11                 THE WITNESS:        To relieve my brother from any

      12   responsibility because his name happened to be on it, and

      13   he had no interest in it.

      14                 THE COURT:       What kind of responsibility?

      15                 THE WITNESS:        I thought he had minimal

      16   responsibility.          His wife disagreed and didn't want any

      17   ties to my father and the home whatsoever.                     And, there was

      18   a loan and the point was to get it refinanced because there
      19   was still the loan in my brother's name which he didn't

      20   want responsibility for should my father default on that

      21   loan because my father had been paying the mortgage.                         And

      22   my brother had no knowledge of if he was paying or if he

      23   was not paying.

      24                 THE COURT:       Did you have discussions about

      25   refinancing of the loan?




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       1                 THE WITNESS:        No.    I mean, other than my brother

       2   wanted my father to do it, but I didn’t have any

       3   discussions in who should be doing it or what needed to

       4   take place.

       5                 THE COURT:       Go ahead, Mr. McNutt.

       6                 MR. McNUTT:       Thank you, Your Honor.

       7                 BY MR. McNUTT:

       8          Q.     Mr. Salas, the quit-claim deed that you prepared,

       9   and I think you were looking at the Debtor's book, so let's

      10   use that.       I think it's Exhibit C?

      11          A.     Yes.

      12          Q.     And specifically as you look at the quit-claim

      13   deed, in the first paragraph it states the parties to the

      14   deed, and the person conveying is Len Salas in the first

      15   line.       Do you see that?

      16          A.     Yes.

      17          Q.     And then the recipient of the property, the quit-

      18   claim deed to is named 1611 Riggs Property Trust.                        Do you
      19   see that?

      20          A.     Yes.

      21          Q.     Do you know what the 1611 Riggs Property Trust is?

      22          A.     It's a typo is my guess.             I don't know the -- the

      23   trust was the 1610 Riggs Property Trust.                    The common

      24   address in the real property is 1610 Riggs Place, and the

      25   house is 1610 Riggs Place, so.




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       1          Q.     Okay.

       2          A.     I think I just made an error typing it.

       3          Q.     Okay.

       4                 So tell me, did you prepare a corrected deed?

       5          A.     No.

       6          Q.     So this is the only deed that you prepared with

       7   respect to the purport transfer of the property from Len

       8   Salas to his father as trustee, is that accurate?

       9          A.     I believe that is correct.             I do not recall any

      10   other one.

      11          Q.     All right.

      12                 Now, do you know -- let's just take what your

      13   knowledge is in Colorado.              I'm assuming that you have a

      14   deed to your property there?

      15          A.     I do.

      16          Q.     Have you ever seen other deeds in the performance

      17   of your practice as an attorney?

      18          A.     I have.
      19          Q.     All right.

      20                 With respect to estates and trusts and those sorts

      21   of things did you see deeds from time to time?

      22          A.     I see them -- not really.             I see more quit-claim

      23   deeds in my divorce work.              When one party leaves a

      24   marriage, we typically quit-claim it over to the other

      25   party so that they can refinance that debt and pay off the




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       1   other spouse, so.

       2          Q.     Okay.

       3          A.     I see it more in that context.

       4          Q.     All right.

       5                 This deed states that the property is being quit-

       6   claimed to the 1611, and I understand that's a typo, but

       7   the 1611 Riggs Property Trust.                Do you know if the deed can

       8   be recorded in the name of the Riggs Property Trust, or

       9   does it have to be recorded in the name of the trustee, Max

      10   Salas?

      11          A.     In Colorado we can transfer it to the trust.                     I

      12   don't know in D.C.

      13          Q.     All right.

      14                 If I told you in D.C. the property would have to

      15   be titled in the name of Max Salas as trustee would that

      16   affect your plan to quit-claim the property without putting

      17   it in your father's name?

      18          A.     I think the plan would have been the same.                    The
      19   plan was to transfer it to them.                 If that is required in

      20   D.C. and I made an error, then I -- I don't know.                        Didn't

      21   change the plan, sir.

      22          Q.     Well, and you told me in your deposition, did you

      23   not, that you didn't look at D.C. law to determine what was

      24   required with respect to either the trust or the quit-claim

      25   deed, correct?




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       1          A.     That's correct.

       2          Q.     In fact, you used a Colorado form book --

       3          A.     That's correct.

       4          Q.     -- to prepare both documents, correct?

       5          A.     Yes.

       6          Q.     So as you sit here today you still don't know

       7   whether or not a deed that states it's being deeded,

       8   property is deeded to 1611 Riggs Property Trust, which

       9   admittedly is a typo but that's what it says, could be

      10   deeded in the name of the trust or would have to be deeded

      11   in the name of the trustee, Max Salas?

      12          A.     I don't know.

      13          Q.     You don't know?

      14          A.     That's correct.

      15          Q.     All right.

      16                 And if it was Max Salas, that would create the

      17   same problem with respect to the taxes or other obligations

      18   of your father, correct?
      19          A.     As trustee I don't know.

      20          Q.     It would be under the name of Max Salas, trustee.

      21   So his name would be on the deed.                 That would present a

      22   problem if he had tax issues, right?

      23          A.     I don't know.

      24          Q.     Okay.     You don't know.         Fair enough.

      25                 THE COURT:       His name would show up in the land




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       1   records as having some sort of interest in the property,

       2   whereas if it were recorded in the name of the trust he

       3   wouldn’t show up in the land records necessarily, correct?

       4                 THE WITNESS:        I agree with that, yes, Your Honor.

       5   What threw me with the question is Max Salas, trustee.                          I

       6   don't know if -- if the trustee portion would skew it or

       7   not.

       8                 THE COURT:       If the IRS started looking at land

       9   recorded they'd see Max Salas, that it had been recorded in

      10   the name of Max Salas, trustee, and they might start

      11   investigating what the trust said, correct?

      12                 THE WITNESS:        That's fair.       Yes, Your Honor.

      13                 THE COURT:       All right.

      14                 BY MR. McNUTT:

      15          Q.     Now, Mr. Salas, would you take a look at what's

      16   been introduced in evidence, and these actually appear in

      17   both books, but this is Tab F in the smaller binder.                         These

      18   are a series of lease documents.                 It looks like there are
      19   one, two, three, four, five lease documents.                      Would you

      20   look at those, please, each of the five documents and tell

      21   me when you've had a chance to look at them?

      22          (At 4:57 p.m., brief pause as witness reviews

      23          documents.)

      24                 THE WITNESS:        Okay.

      25                 BY MR. McNUTT:




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       1          Q.     If you look at the first one, the one that has the

       2   exhibit stamp on it, or did -- I'm sorry.                    Exhibit sticker

       3   on it?

       4          A.     Yes.

       5          Q.     It looks like it's dated the first day of

       6   November, 2014.          The tenant is John Mechum, and the

       7   landlord it says is Max Salas CLR.                 Do you see that?

       8          A.     I do.

       9          Q.     Do you know what CLR is?

      10          A.     No.

      11          Q.     Okay.

      12                 It also says, if you look down, I guess it's maybe

      13   the third paragraph where it says, "Payment of rent will be

      14   made to."       Do you see that?

      15                 Same page.       "Payment of rent will be made to."                 Do

      16   you see that?

      17          A.     Which number?        Oh, yes.      Yes.

      18          Q.     Right above number 1?
      19          A.     Yes.    I see, yes.

      20          Q.     Okay.

      21                 And it also says, "Max Salas CLR."                 Do you have

      22   any recollection what CLR is?

      23          A.     I've heard CLR years ago, but I don't know exactly

      24   what type of entity it is.              I don't know what it is.             I've

      25   heard the initials, acronym.




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       1          Q.     Okay.     And you know obviously that the initials

       2   CLR stand for, could stand for at least, Chase, Len, and

       3   Ron, right?

       4          A.     I've heard them in that context.                I don't know

       5   what it is.

       6                 MR. McNUTT:       Okay.

       7                 Now, Your Honor, I'd like to offer a document that

       8   I have not put in the book yet.                This is Exhibit 41.

       9                 THE COURT:       Forty-one.

      10                 MR. McNUTT:       I made copies before I put the

      11   exhibit sticker on it, but I do have the exhibit sticker on

      12   the original at least.            I apologize for that.

      13                 I have two copies for the Court, Your Honor.

      14          (At 5:00 p.m., Creditor Exhibit 41 marked.)

      15                 MR. ALBERT:       Judge, I think we were supposed to

      16   submit all of our exhibits by date certain.

      17                 MR. McNUTT:       This is an impeachment document, Your

      18   Honor.
      19                 MR. ALBERT:       I suggest this relates to the

      20   documents that he was objecting to in my exhibit book.

      21   This is one page out of a series of pages.                     I would suggest

      22   that we have to include all the documents that --

      23                 MR. McNUTT:       Well, Your Honor, the reason I have

      24   this document is because we objected, as you recall to

      25   Exhibit G, and the reason we objected to it is because it




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       1   had that hearsay statement by Mr. Albert actually.

       2                 This document represents the actual email, an

       3   actual email sent by Mr. Ron Salas to Mr. Albert with the

       4   trust document that is at issue here.                   And I believe it's

       5   admissible because it is a statement against interest, and

       6   it impeaches the witness' prior testimony that he gave

       7   copies, that he gave the original to his father.

       8                 MR. ALBERT:       Judge, I think if you look at the

       9   whole series of emails it explains that that was a mistake,

      10   and so we might as well have all the documents --

      11                 MR. McNUTT:       This --

      12                 MR. ALBERT:       It was quickly corrected that he

      13   indicated, "No, it wasn't the originals.                    It was a copy."

      14                 MR. McNUTT:       That -- Your Honor, you can look at

      15   Exhibit G.       What Exhibit G says --

      16                 THE COURT:       The objection to the exhibits is

      17   overruled.       You may ask the witness about it.

      18                 MR. ALBERT:       I'm sorry, Judge?
      19                 THE COURT:       The objection is overruled.              He may

      20   ask the witness about it.

      21                 MR. McNUTT:       All right.

      22                 So Exhibit G is in evidence then, Your Honor?

      23                 THE COURT:       It's not in evidence yet.             It hasn't

      24   been authenticated yet.

      25                 MR. McNUTT:       Okay.     All right.




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       1                 If you would turn in the -- it's still in the

       2   book, right?

       3                 MR. ALBERT:       I'm sorry?

       4                 MR. McNUTT:       It's still in the book, right?

       5                 MR. ALBERT:       In my book.

       6                 BY MR. McNUTT:

       7          Q.     If you would look at Exhibit G?

       8          A.     Yes.

       9                 THE COURT:       Well, Exhibit 41 is what I was ruling

      10   upon.

      11                 MR. McNUTT:       Oh, I'm sorry.         Oh, I'm sorry.        I

      12   apologize, Your Honor.

      13                 Then don't look at Exhibit G.

      14                 THE WITNESS:        Okay.

      15                 MR. McNUTT:       I haven't handed this to the witness.

      16   May I approach?

      17                 I apologize, Your Honor.             I misunderstood.

      18                 BY MR. McNUTT:
      19          Q.     Can you identify that exhibit, please?

      20          A.     It looks like an email that I sent to Mr. Cox.

      21                 BY MR. McNUTT:

      22          Q.     All right.

      23                 And that email, you attached to that email the

      24   trust documents that you created in July 6, 2010, correct?

      25          A.     Yes.




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       1          Q.     And your email says that you are sending to Mr.

       2   Albert the originals, right?

       3          A.     No.    It says:

       4                        "My apologies for the delay.              I have

       5                 the originals."

       6          Q.     Okay.     So it says that you have the original of

       7   the documents that you created in July of 2010, right?

       8          A.     That's what this email says, yes.

       9          Q.     Okay.

      10                 Now, Mr. Albert contends that they weren't the

      11   originals but they were only copies?

      12          A.     He's accurate.

      13          Q.     Okay.

      14                 Did you ever correct your statement that those

      15   were not the originals, they were copies?

      16          A.     I did speak to them.           So if I can explain?

      17          Q.     Did you ever correct your email?

      18          A.     Did I send an email?           No, I -- I don't know.            I
      19   may.     I don't know.

      20          Q.     You stated that your father was supposed to record

      21   the original, right?

      22          A.     Yes.

      23          Q.     The original was never recorded?

      24          A.     Correct.

      25          Q.     As you sit here today, you have no idea where the




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       1   original is, do you?

       2          A.     I suspect it burned in the fire.

       3          Q.     Do you know?

       4          A.     But no, I do not know.

       5          Q.     Okay.

       6                 Do you know if there was ever an intent to record

       7   any document?

       8          A.     I do know there was an intent to record a

       9   document, yes.

      10          Q.     But no document was ever recorded changing the

      11   title of the property from your brother to your father,

      12   correct?

      13          A.     To my knowledge at this point, that is correct.

      14          Q.     Okay.

      15                 Now, would you take a look at, in the white book,

      16   sir, this would be Exhibit 24.

      17          A.     Before we get into this, for the record I never

      18   did get to -- received a copy of this, nor have I been able
      19   to review it, and I did ask for it.

      20          Q.     Well, there's a copy right there.

      21          A.     It's a little late now, but I -- just so that you

      22   understand.        I just want it on the record.

      23          Q.     Well, if there's any part of this that you believe

      24   is incorrect you can certainly say so.

      25                 What I would like you to look at is, and I do




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       1   apologize because not all of the pages of your transcript

       2   are actually in here because I didn't deem them relevant to

       3   the case today.          But I would like you to take a look at

       4   page 17 of the transcript.              This is transcript pages 65 to

       5   68.     Do you have that, sir?

       6          A.     Yes.

       7          Q.     All right.

       8                 And are you looking at or can you look at page 67

       9   of the transcript?

      10          A.     Yes.

      11          Q.     It starts:

      12                        "Question:      During the course of the

      13                 lawsuit in the District of Columbia."

      14                 Do you see that?

      15          A.     Yes.

      16          Q.     All right.

      17                        "Question:      During the course of the

      18                 lawsuit in the District of Columbia, the
      19                 Superior Court litigation that your father

      20                 and your brother were involved in, did you

      21                 ever offer to provide your brother or your

      22                 father a copy of the trust document?

      23                        Answer:     I did not.

      24                        Question:      Did you have any

      25                 discussions with your brother or your




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       1                 father regarding the trust document?

       2                        Answer:     I wish I had.        I assumed

       3                 falsely, I suppose, that both of them had

       4                 it.    They both had competent attorneys,

       5                 and that their attorneys would ask for

       6                 them and they would provide them.                Had I

       7                 known and had I had the gumption to jump

       8                 into somebody else's case, I wish to God

       9                 that I would have given it to them then.

      10                 And I didn't know, and I didn't, and I

      11                 believed my brother and my father had the

      12                 sense to do that, and I believe that their

      13                 attorneys were competent enough to ask the

      14                 questions, and I beat myself up that I

      15                 didn't, but the answer is no."

      16                 I read that correctly, didn't I?

      17          A.     Yes.

      18          Q.     Okay.
      19                 So during the entire course of the litigation,

      20   even though you knew how important the trust documents

      21   would be to absolve your brother from any responsibility,

      22   you never talked to your brother or your father about them?

      23   Never gave them to the attorneys?                 Never talked to the

      24   attorneys about them?            That's your testimony, right?

      25          A.     Yeah.




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       1          Q.     Okay.

       2                 And during the course of that litigation, your

       3   father had the same issue.              You said in your deposition,

       4   and I can quote it here if I need to, I'm sure I don't, in

       5   your deposition that you knew that your, the relationship

       6   between your brother and your father had been strained for

       7   years because your brother was still on the property at

       8   1610 Riggs Place, right?

       9          A.     Yes.

      10          Q.     And despite your knowledge of that -- and you also

      11   knew that the reason that he was being sued was because he

      12   was a titled owner of the property.                  You already said that

      13   in response to Mr. Albert's questions, right?

      14          A.     Yes.

      15          Q.     And yet for the entire period of time that you

      16   were aware of the litigation, which was starting when, in

      17   2015?

      18          A.     I -- yeah.       I don't know the date that it
      19   happened, but shortly after they were filed, so.

      20          Q.     Okay.

      21          A.     So that was 2015, then yes.

      22          Q.     So for almost three years you never brought it up?

      23          A.     No.

      24          Q.     And despite the fact that your brother, your

      25   father, and your sister-in-law also knew about the




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       1   transaction, apparently they never brought it up either?

       2          A.     That's accurate.          That's correct.

       3          Q.     All right.

       4                 Now, the reason for that wasn't the fact that your

       5   father had all kinds of issues with respect to taxes and

       6   other obligations, was it?

       7          A.     The reason for what?

       8          Q.     Not bringing the trust documents up?

       9          A.     I have no idea why he didn't bring 'em up.                    Like I

      10   said, I assumed he would have.                I don't know why he didn't

      11   --

      12          Q.     Right, I think -- right.             I think everybody would.

      13   Sure.       But you never talked to him about it?

      14                 Never said, "Hey, did you guys bring up the

      15   trust?"

      16          A.     No.

      17          Q.     "Hey, Len, remember that trust?"                You never said

      18   that?
      19          A.     No, I didn’t.

      20                 THE COURT:       You remembered the trust, clearly,

      21   when your brother called you --

      22                 THE WITNESS:        No.

      23                 THE COURT:       -- and said, "I've been sued?"

      24                 THE WITNESS:        No, actually when he first called me

      25   did I remember the trust?               I didn't.     I mean, I -- you




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       1   know, I didn't until later on and I remembered.                       I don't --

       2   yeah, I don't remember how I remembered.                    I mean, I -- I

       3   don't know.        I wish I'd have known.            I, you know, I -- I

       4   don't know.

       5                 You know, what I can tell you is I do too many

       6   cases.      I do -- I'm dealing with my son that had drug

       7   issues.      I'm dealing with my daughter and my wife, and to

       8   be frank, you know, I can't babysit the entire world,

       9   especially my own family.              I'm not babysitting my family.

      10   So should I have done it?              Yeah.     Like I said, I beat

      11   myself up that my brother's in this spot and my father's in

      12   this spot.       I didn't do it.          What I did was took care of my

      13   family the best I could to try to keep my son out of jail

      14   and off drugs, tried to keep my practice afloat.                       And no, I

      15   didn't do it, sir.

      16                 THE COURT:       So when Mr. Albert called you and

      17   said, "Max Salas says that you prepared a trust document,"

      18   did that jog your memory?
      19                 THE WITNESS:        Yes.    I said, "Yeah, we did.            Let me

      20   find it."

      21                 THE COURT:       But you didn't remember it when Len

      22   Salas called you and said, "I've been sued"?

      23                 THE WITNESS:        I didn't put two and two together

      24   about it.       I mean, like I said, I thought they had it.                     I

      25   didn't have it.          I didn't think about it.            I just didn't --




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       1   no, I mean --

       2                 THE COURT:       All right.

       3                 THE WITNESS:        -- I don't know.         No.

       4                 BY MR. McNUTT:

       5          Q.     Mr. Salas, if I recall correctly, you just

       6   testified in response to a question by Mr. Albert that you

       7   were surprised at Len's involvement in the lawsuit because

       8   you knew about the trust, and that occurred --

       9          A.     I knew --

      10          Q.     -- shortly after the case was filed?

      11          A.     Yeah, I mean I knew that he had the deal.                    I knew

      12   that -- I was surprised.             I was surprised.

      13          Q.     So you did know and you didn't bring it up?

      14          A.     I guess.      I knew there was a document at some

      15   point.      I didn't -- I didn't know where it was.                   They had

      16   copies.      I didn't do any digging.             I was lazy.       I just

      17   waited.      You know, I waited for them to tell me, for the

      18   attorneys to ask for it.             I just didn't go digging.             I
      19   didn't -- I didn't get into the case.

      20          Q.     You knew that there was a reason your father

      21   didn't want the trust documents known, didn't you?

      22          A.     No, I didn't.

      23          Q.     Okay.

      24                 Well, I don't see any other explanation, do you?

      25          A.     Explanation --




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       1          Q.     I didn't think so.

       2          A.     -- for what?

       3                 I didn't understand the question.

       4          Q.     Let me ask you this, Mr. Salas, do you know where

       5   your father lived in July of 2010?

       6          A.     1610 Riggs Place.

       7          Q.     And do you know where your brother lived in 2010?

       8   In July of 2010?

       9          A.     No, I don't.

      10          Q.     Did he live in the District of Columbia?

      11          A.     In 2010 I believe he did, yes.               Yes, he did.        Yes.

      12          Q.     All right.

      13                 So I'm assuming that mail service works well from

      14   your office in Colorado, right?

      15          A.     Yes.

      16          Q.     And I'm assuming back in 2010 that the internet

      17   worked reasonably well from your office in Colorado?

      18          A.     Yes.
      19          Q.     Okay.

      20                 So you could have sent the trust documents and the

      21   quit-claim deed to your brother or your father, and they

      22   could have signed them in D.C., right?

      23          A.     They could have.

      24          Q.     But instead you chose, or one of them chose to

      25   have it done in Colorado?




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       1          A.     I believe we did that because they were there for

       2   the holiday.        It was July 6th.          I think they were there for

       3   the holiday weekend and everybody was together, so that's

       4   how we did it, but yes, that's true.

       5          Q.     Was there something about Colorado law that you

       6   thought would protect either party more?

       7          A.     No.

       8          Q.     In fact, you didn't even know what the difference

       9   was, if any, between Colorado law and D.C. law, right?

      10          A.     That's accurate.

      11          Q.     Yeah.

      12                 Are you aware as you sit here today whether or not

      13   this trust document, the documents that you've prepared,

      14   created a valid trust under D.C. law?

      15          A.     As of today I don't know.

      16          Q.     Are you aware as of today whether that trust

      17   document created a valid trust under Colorado law?

      18          A.     I don't know.
      19          Q.     All right.

      20                 When you prepared it in July of 2010, were you

      21   aware of whether or not the trust documents created a valid

      22   trust under Colorado law?

      23          A.     I believe at the time it did, yes.

      24          Q.     What makes you say that?

      25          A.     I pulled the form from stock form in Colorado.                      I




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       1   assumed it was accurate.

       2          Q.     In the form that you pulled did it say anything

       3   about naming a trust with the same trustee and beneficiary?

       4          A.     I don't recall that, no.

       5          Q.     Yeah.

       6                 And you didn't know at the time that you created

       7   the trust whether the trust was valid under D.C. law

       8   either, right?

       9          A.     I think I answered that.             I did not know.

      10          Q.     Well, I apologize, but I think I asked you as of

      11   today rather than as of July of 2010, so --

      12          A.     So no.

      13          Q.     -- I wanted to go back and cover both things.

      14          A.     Understood.       My apologies.

      15          Q.     Now, as you described the transactions and the

      16   purpose of the transactions, as you sit here today you're

      17   not aware whether your father at any time could have

      18   obtained a mortgage, deed of trust, or even a deed to the
      19   property in his own name without the help of your brother

      20   Len, correct?

      21          A.     Do I know if he could have?

      22          Q.     Yeah, do you know?

      23          A.     No, I don't.

      24          Q.     Okay.

      25                 In fact, you're not aware at any time of your




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       1   father's ability to obtain property or a mortgage or deed

       2   of trust on property in his own name, right?

       3          A.     I don't know.

       4                 MR. McNUTT:       I think that's all I have, Your

       5   Honor.

       6                 MR. ALBERT:       Briefly, Your Honor.

       7                               REDIRECT EXAMINATION

       8                 BY MR. ALBERT:

       9          Q.     Why would it be to your father's advantage not to

      10   tell people about the trust?

      11                 MR. McNUTT:       Objection.

      12                 THE COURT:       It's overruled.

      13                 THE WITNESS:        I don't know.

      14                 BY MR. ALBERT:

      15          Q.     Can you think of any reason?

      16          A.     Not at all.

      17                 MR. McNUTT:       Objection.       If he said he doesn’t

      18   know, he doesn't know.
      19                 THE COURT:       Sustained.       That answer is stricken.

      20                 BY MR. ALBERT:

      21          Q.     Do you -- you mentioned your father had some tax

      22   problems.       Do you know whether those tax problems were

      23   eventually resolved?

      24          A.     I don't know.

      25          Q.     Okay.




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       1                 And look at Exhibit C, please.               And that's the

       2   trust document.          Look at paragraph 14 on the third page.

       3          A.     Yes.

       4          Q.     Could you read that to me, please?

       5          A.     Yes.

       6                        "The trust has been executed and

       7                 delivered in the State of Colorado and

       8                 shall be instructed and administered

       9                 according to the laws of Colorado.                 In

      10                 witness whereof Grantor and Trustee have

      11                 executed the agreement in Colorado."

      12                 MR. ALBERT:       No further questions, Your Honor.

      13                 THE COURT:       Anything else of this witness?

      14                 MR. McNUTT:       No, Your Honor.

      15                 THE COURT:       May this witness be excused?

      16          (No verbal response).

      17                 THE COURT:       You're excused.         Mr. Salas, thank you

      18   for coming from Colorado.
      19                 THE WITNESS:        Yes, Your Honor.         Thank you.

      20          (At 5:18 p.m., witness excused.)

      21                 MR. McNUTT:       Your Honor, if I may, it's now

      22   approaching 5:30.          Rather than get started on another line

      23   of questioning, would this be a good time to break since

      24   we're going to have to come back anyway?

      25                 THE COURT:       Tell me what you're going to do.




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       1   You're going to re-call Max Salas as your --

       2                 MR. McNUTT:       Yes, Your Honor, and I --

       3                 THE COURT:       -- next step?

       4                 MR. McNUTT:       I told Mr. Albert that I probably

       5   have another hour with Mr. Max Salas.

       6                 THE COURT:       Then who else do you have as

       7   witnesses?

       8                 MR. McNUTT:       That's it.       That would be just --

       9                 THE COURT:       And who else do you have as witnesses?

      10                 MR. ALBERT:       Judge, I would probably put Max on

      11   again on direct testimony.

      12                 THE COURT:       And that's it you think?

      13                 MR. ALBERT:       That would be it.          Yes, sir.

      14                 THE COURT:       So what time do you want to resume

      15   tomorrow?

      16                 MR. ALBERT:       Judge, I have those business cases

      17   Martini and TK at 341 at 1:00 tomorrow.

      18                 THE COURT:       So do you want to start early tomorrow
      19   morning?

      20                 MR. ALBERT:       I have a, one of my Creditor's

      21   committee counsel, I have a 9:00 meeting by phone that

      22   should last about 15 minutes.               Besides that I'm good in the

      23   morning.

      24                 MR. McNUTT:       I'm free all day tomorrow, Your

      25   Honor.




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       1                 THE COURT:       So do you think we can start at 10:00

       2   --

       3                 MR. McNUTT:       I could do morning, afternoon.

       4                 THE COURT:       -- and finish it up in time enough for

       5   Mr. Albert to make a 1:00 341?

       6                 MR. ALBERT:       It's just downstairs, yeah.

       7                 MR. McNUTT:       I would hope.

       8                 THE COURT:       We can start at 9:30 if you'd like.                  I

       9   -- if you think we can finish in two hours.

      10                 MR. McNUTT:       I think we can, Your Honor.              I

      11   hesitate only because I'm terrible at predicting this.                          I

      12   always take longer than I think, but we've got a lot in,

      13   and I would think that I need no more than an hour, which I

      14   think would probably mean that two hours or so would do it.

      15   I would prefer not to try to -- I live a long way away,

      16   Your Honor.        I would prefer not to try to come in at 9:30

      17   if at all possible.

      18                 THE COURT:       If he wanted -- then we'll start at
      19   10:00 or 10:30 depending upon what the parties agree upon.

      20                 MR. ALBERT:       I don't have to, you know, take a

      21   lunch break, Judge.           I can go straight through to 1:00.

      22                 MR. McNUTT:       Yeah, I can as well.

      23                 MR. ALBERT:       But of course that's up to your

      24   deputy and your --

      25                 THE COURT:       So Mr. McNutt, you tell me, 10:00 or




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       1   10:30?

       2                 MR. McNUTT:       10:00 is fine, Your Honor.

       3                 THE COURT:       This matter is continued until

       4   tomorrow morning at 10:00 a.m.

       5                 Thank you.

       6                 MR. McNUTT:       Thank you, Your Honor.

       7                 MR. ALBERT:       Thank you, Judge.

       8                 Thank you, Phil.

       9                 THE CLERK:       All rise.

      10                 Court stands in recess.

      11                 THE COURT:       You're excused

      12          (At 5:21 p.m., proceedings adjourned to resume the

      13          following day, August 23, 2018 at 10:00 a.m.; off the

      14          record.)




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                                                                                                  Transcript of Len Salas
                                                                                                                   Date: August 27, 2021
                                                                                                              Case: Brekelmans, et al. -v- Salas




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                                                                                                                                                     Transcript of Len Salas                                                1 (1 to 4)

                                                                                                                                                  Conducted on August 27, 2021
                                                                                                                                                           1                                                                             3
                                                                                      1               IN THE UNITED STATES BANKRUPTCY COURT                     1                     A P P E A R A N C E S
                                                                                      2               FOR THE MIDDLE DISTRICT OF TENNESSEE                      2
                                                                                      3                       Nashville, Tennessee                              3    ON BEHALF OF PLAINTIFFS:
                                                                                      4     - - - - - - - - - - - - - -x                                        4       PHILIP J. McNUTT, ESQUIRE
                                                                                      5    IN RE:                     :                                         5       LAW OFFICE OF PHILIP J. McNUTT, PLLC
                                                                                      6    LEN SALAS,                 :   CHAPTER 7                             6       11921 Freedom Drive, Suite 584
                                                                                      7    Debtor-in-possession       :   CASE NO:     18-02662                 7       Reston, Virginia 20190
                                                                                      8                               :   JUDGE:     HARRISON                   8       (703) 904-4380
                                                                                      9                               :                                         9
                                                                                      10    (Caption continued on next page)                                    10   ON BEHALF OF DEFENDANT:
                                                                                      11    - - - - - - - - - - - - - - - -x                                    11      PHILLIP G. YOUNG, JR., ESQUIRE
                                                                                      12                                                                        12      THOMPSON BURTON, PLLC
                                                                                      13                                                                        13      One Franklin Park
                                                                                      14                   Deposition of LEN SALAS                              14      6100 Tower Circle, Suite 200
                                                                                      15                     Conducted Virtually                                15      Franklin, Tennessee       37067
                                                                                      16                   Friday, August 27, 2021                              16      (615) 465-6000
                                                                                      17                       11:13 a.m. EST                                   17
                                                                                      18                                                                        18   ALSO PRESENT:
                                                                                      19                                                                        19      JUSTIN WOODWARD, AV Technician
                                                                                      20                                                                        20      MINDY JOHNSON
                                                                                      21                                                                        21      GAIL BREKELMANS
                                                                                      22                                                                        22      NICOLAAS BREKELMANS
                                                                                      23    Job No.: 393647                                                     23      KENDRA ROWE SALAS
                                                                                      24    Pages: 1 - 199                                                      24
                                                                                      25    Reported By: Cynthia A. Whyte                                       25



                                                                                                                                                           2                                                                             4
                                                                                      1     (Caption continued from previous page)                              1                           C O N T E N T S
                                                                                      2                                                                         2    EXAMINATION OF LEN SALAS                        PAGE
                                                                                      3    NICOLAAS BREKELMANS        :                                         3     By Mr. McNutt                                    7
                                                                                      4    AND GAIL GREGORY           :   ADVERSARY PROCEEDING NO.              4     By Mr. Young                                   170
                                                                                      5    BREKELMANS,                :   3:20-ap-90027                         5     By Mr. McNutt                                  188
                                                                                      6    CO-PERSONAL                :                                         6
                                                                                      7    REPRESENTATIVES OF         :                                         7                           E X H I B I T S
                                                                                      8    THE ESTATE OF NINA         :                                         8                 (Attached to the Transcript)
                                                                                      9    BREKELMANS, et al.,        :                                         9    LEN SALAS DEPOSITION EXHIBITS                   PAGE
                                                                                      10   In their capacity as       :                                         10   Exhibit 1        Subpoena                        12
                                                                                      11   authorized                 :                                         11   Exhibit 2        Irrevocable Trust Agreement     33
                                                                                      12   representatives of         :                                         12   Exhibit 3        Document to Max Salas from
                                                                                      13   the Estate of Len          :                                         13                    IRS                             41
                                                                                      14   Salas,                     :                                         14   Exhibit 5        E-mail chain, LenSalas000009
                                                                                      15                Plaintiffs,   :                                         15                    to LenSalas000010               43
                                                                                      16   v.                         :                                         16   Exhibit 6        E-mail chain, LenSalas000011
                                                                                      17   MAX SALAS,                 :                                         17                    to LenSalas000012               48
                                                                                      18                Defendant     :                                         18   Exhibit 36       Motion for Relief from
                                                                                      19                                                                        19                    Automatic Stay                  51
                                                                                      20                                                                        20   Exhibit 24       Len Salas Bankruptcy
                                                                                      21            Deposition of LEN SALAS, conducted virtually                21                    Schedules, 4/18/18              57
                                                                                      22                                                                        22   Exhibit 7        E-mail, 6/21/11, to Mr.
                                                                                      23                                                                        23                    Goldstein from Max Salas,
                                                                                      24    Pursuant to notice, before Cynthia A. Whyte,                        24                    LenSalas000013                  69
                                                                                      25    Notary Public in and for the State of Maryland.                     25




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                                                                                                                                                        Transcript of Len Salas                               2 (5 to 8)

                                                                                                                                                     Conducted on August 27, 2021
                                                                                                                                                              5                                                            7
                                                                                      1                E X H I B I T S    C O N T I N U E D                        1           P ROCEEDINGS
                                                                                      2                   (Attached to the Transcript)                             2               LEN SALAS
                                                                                      3    LEN SALAS DEPOSITION EXHIBITS                       PAGE                3 Having been duly sworn, testified as follows:
                                                                                      4    Exhibit 12       E-mail chain, LenSalas
                                                                                                                                                                   4 BY MR. McNUTT:
                                                                                      5                     000021                              80
                                                                                                                                                                   5     Q Mr. Salas, this is Phil McNutt. We've
                                                                                      6    Exhibit 13       E-mail chain, LenSalas
                                                                                                                                                                   6 met before. You know that I represent the
                                                                                      7                     000022                              81
                                                                                                                                                                   7 Brekelmans estate and the McLoughlin estate with
                                                                                      8    Exhibit 19       E-mail, 2/27/12, to Ms.
                                                                                                                                                                   8 respect to their claims in your bankruptcy
                                                                                      9                     Boileau from Max Salas,
                                                                                                                                                                   9 proceeding and that of your father, Max Salas,
                                                                                      10                    LenSalas000034                      82
                                                                                      11   Exhibit 20       List of personal property,
                                                                                                                                                                   10 which is currently underway in the District of
                                                                                      12                    LenSalas000035                      86
                                                                                                                                                                   11 Columbia.
                                                                                      13   Exhibit 21       List of household property,
                                                                                                                                                                   12       Do you understand that so far?
                                                                                      14                    LenSalas000036 to 000037            89
                                                                                                                                                                   13 A Yeah. Yes.
                                                                                      15   Exhibit 32       2015 Income Tax Return              98                 14 Q All right. And you are here for a
                                                                                      16   Exhibit 33       2016 Income Tax Return             102                 15 deposition. I know that you have been deposed
                                                                                      17   Exhibit 28       SunTrust Loss Mitigation                               16 before, but can you tell me the last time that you
                                                                                      18                    Form, 3/18/16, Salas002271                             17 remember being deposed?
                                                                                      19                    to Salas002292                     103                 18 A I don't.
                                                                                      20   Exhibit 34       2017 Income Tax Return             118                 19 Q Were you deposed in the Superior Court
                                                                                      21   Exhibit 25       Statement of Financial                                 20 case in the District of Columbia involving the
                                                                                      22                    Affairs, 4/18/18                   120                 21 death of Nina Brekelmans and Michael McLoughlin?
                                                                                      23   Exhibit 23       Trust Registration Statement       127                 22 A Yes.
                                                                                      24   Exhibit 30       Len Salas transcript, 3/9/16       137                 23 Q And that was in March of 2016. Does that
                                                                                      25                                                                           24 sound correct?
                                                                                                                                                                   25 A Sure. I don't know.
                                                                                                                                                              6                                                            8
                                                                                      1                 E X H I B I T S    C O N T I N U E D                       1      Q Okay. Tell me your full name and your
                                                                                      2                    (Attached to the Transcript)                            2 present address, Mr. Salas.
                                                                                      3    LEN SALAS DEPOSITION EXHIBITS                       PAGE                3      A Len Salas, 1018 Vince Court.
                                                                                      4    Exhibit 8        E-mail chain, LenSalas                                        Q And that's in Murfreesboro, Tennessee;
                                                                                                                                                                   4
                                                                                      5                     000014 to 000015                   161
                                                                                                                                                                   5 correct?
                                                                                      6    Exhibit 9        E-mail chain, LenSalas
                                                                                                                                                                   6      A Yes.
                                                                                      7                     000016 to 000018                   161
                                                                                                                                                                   7      Q Is that where you are now?
                                                                                      8    Exhibit 10       E-mail, 6/22/11, to Max
                                                                                                                                                                   8      A Yes.
                                                                                      9                     Salas from Len Salas,
                                                                                                                                                                   9      Q And are you in a specific room in your
                                                                                      10                    LenSalas000019                     162
                                                                                      11   Exhibit 11       E-mail, 6/22/11, to Len
                                                                                                                                                                   10 house?
                                                                                      12                    Salas from Max Salas,
                                                                                                                                                                   11 A Yes.
                                                                                      13                    LenSalas000020                     163
                                                                                                                                                                   12 Q Are you alone in the room?
                                                                                      14   Exhibit 14       E-mail, 1/17/12, to Ms.
                                                                                                                                                                   13 A No.
                                                                                      15                    Boileau from Max Salas,                                14 Q Who else is in the room with you?
                                                                                      16                    LenSalas000023 to 000024           166                 15 A My wife.
                                                                                      17                                                                           16 Q And you're sitting in front of a
                                                                                      18                                                                           17 computer; is that correct?
                                                                                      19                                                                           18 A Yes.
                                                                                      20                                                                           19 Q Is it a laptop or a desktop?
                                                                                      21                                                                           20 A Laptop.
                                                                                      22                                                                           21 Q Are you the only one that has access to
                                                                                      23                                                                           22 it?
                                                                                      24                                                                           23 A No.
                                                                                      25                                                                           24 Q Right now are you the only one who has
                                                                                                                                                                   25 access to it?
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                                                                                                                                  Transcript of Len Salas                                    4 (13 to 16)

                                                                                                                               Conducted on August 27, 2021
                                                                                                                                             13                                                            15
                                                                                      1     A Yes.                                                1 quitclaim deed?
                                                                                      2     Q Okay. And let me go through the requests            2     A Yes, they are -- yes, I'm aware of them.
                                                                                      3 and ask you to give me a little bit of                    3 What was your question? I'm sorry.
                                                                                      4 information.                                              4     Q That was it, whether you're aware of any
                                                                                      5        With respect to Item No. 1: "All email             5 wet ink signature originals of the quitclaim deed.
                                                                                      6 or other communications between Len Salas, and Ron        6     A Yes.
                                                                                      7 Salas, or Max Salas, for the period 2010 through          7     Q And do you know where they're presently
                                                                                      8 the present regarding the property at 1610 Riggs          8  located?
                                                                                      9 Place, NW, Washington DC, the sale or refinancing         9     A I do not know.
                                                                                      10 of that property, the Sun Trust Deed of Trust on         10 Q When is the last time that you saw a wet
                                                                                      11 that property or attempts to sell, convey or             11 ink signature original of the quitclaim deed?
                                                                                      12 otherwise dispose of, that property."                    12 A When I gave it to my lawyer shortly
                                                                                      13       Did I read that correctly?                         13 before the trial.
                                                                                      14    A    Yes.                                             14 Q Okay. And that was a wet ink original
                                                                                      15 Q Okay. Can you tell me what efforts you                 15 you're saying --
                                                                                      16 made to obtain any documents related to Request          16 A Yes.
                                                                                      17 No. 1?                                                   17 Q -- or was that a copy?
                                                                                      18 A I looked through my e-mail.                            18 A I believe mine was an original.
                                                                                      19 Q Did you do anything else?                              19 Q Okay. So --
                                                                                      20 A No.                                                    20 A Which did not get admitted into evidence.
                                                                                      21 Q Okay. And you did produce some documents               21 Q I'm sorry?
                                                                                      22 which I'll get into later. Are you confident that        22 A Which did not get admitted into evidence
                                                                                      23 you found every e-mail that you believe fits the         23 during the trial.
                                                                                      24 description in No. 1?                                    24 Q Do you know where that wet ink signature
                                                                                      25 A Yes.                                                   25 copy is right now?
                                                                                                                                             14                                                            16
                                                                                      1     Q Let's go to No. 2: "The originals and               1     A No.
                                                                                      2 all copies of the Quitclaim Deed executed in              2     Q And you said your attorneys. You mean be
                                                                                      3 Colorado in July, 2010."                                  3 your attorneys in the Superior Court case?
                                                                                      4        AV TECHNICIAN: You wanted me to go to              4     A Yes. The one in D.C., that one I guess,
                                                                                      5 Exhibit 2; correct?                                       5 yeah.
                                                                                      6        MR. McNUTT: No, no, no. It's still on              6     Q Do you recall how you obtained that wet
                                                                                      7 the same exhibit. No. 2 is just the item on that          7 ink signature original with respect to the
                                                                                      8 page. Thank you.                                          8 Superior Court trial?
                                                                                      9        AV TECHNICIAN: Sorry about that.                   9     A Yes.
                                                                                      10       MR. McNUTT: That's all right.                      10 Q Okay. How?
                                                                                      11 Q Mr. Salas, do you see that No. 2, "The                 11 A I found it.
                                                                                      12 originals and all copies of the Quitclaim Deed           12 Q And where did you find it?
                                                                                      13 executed in Colorado in July, 2010"?                     13 A In a filing cabinet.
                                                                                      14 A Yes.                                                   14 Q At your home?
                                                                                      15 Q What did you do to obtain those                        15 A I don't know. I don't remember.
                                                                                      16 documents?                                               16 Q Well, you said you found it in a file
                                                                                      17 A I looked through my Dropbox and submitted              17 cabinet. Was it your file cabinet?
                                                                                      18 what I had.                                              18 A Yes.
                                                                                      19 Q So what you submitted to me was an                     19 Q In other words, it wasn't located
                                                                                      20 electronic copy?                                         20 anywhere else but where you live; correct?
                                                                                      21 A Yes.                                                   21 A I don't remember.
                                                                                      22 Q Of the quitclaim deed?                                 22 Q Was it in a file cabinet that you believe
                                                                                      23 A Yes.                                                   23 belonged to someone other than you?
                                                                                      24 Q Are you aware of the existence of any                  24 A No.
                                                                                      25 original wet ink signature originals of that             25 Q Okay. Other than the original that you
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                                                                                                                                    Transcript of Len Salas                                    5 (17 to 20)

                                                                                                                                 Conducted on August 27, 2021
                                                                                                                                               17                                                           19
                                                                                      1 just described, when is the last time that you saw          1 judgment --
                                                                                      2 a wet ink signature original of the quitclaim deed          2     A I assume --
                                                                                      3 executed in July of 2010?                                   3         THE COURT REPORTER: If you can wait
                                                                                      4     A Probably July of 2010.                                4 until the question is finished because I didn't
                                                                                      5     Q Okay. And just to be clear, when you say              5 hear the very end.
                                                                                      6 that you found it in a file cabinet, I think you            6         THE WITNESS: Sorry about that.
                                                                                      7 said before the trial but I want to make sure I'm           7         (The court reporter read the last
                                                                                      8 not misstating your testimony.                              8  question.)
                                                                                      9     A Oh, I'm sorry; maybe I misunderstood the              9     Q In the Superior Court case, that was the
                                                                                      10 question.                                                  10 question.
                                                                                      11 Q I'm sorry?                                               11        Maybe the best way to ask it is this: I
                                                                                      12 A Maybe I misunderstood the previous                       12 will represent to you that your attorneys filed a
                                                                                      13 question.                                                  13 motion with a copy of the proposed quitclaim --
                                                                                      14 Q Well, all right. And what are you saying                 14 well, I say proposed -- of the quitclaim deed in
                                                                                      15 you may have misunderstood?                                15 approximately February of 2018. Do you know if
                                                                                      16 A What was the previous question?                          16 what they had was the original, the wet ink
                                                                                      17 Q The previous question was -- I don't know                17 signature, or just a photocopy?
                                                                                      18 the exact words, but rather than have the court            18 A I don't know. I don't remember exactly,
                                                                                      19 reporter read it back, I'll just paraphrase it for         19 but I -- I don't know what they found. But I
                                                                                      20 you -- was the last time you saw a wet ink                 20 think I found that -- I must have found that wet
                                                                                      21 signature original of the quitclaim deed, and I            21 ink copy before that filing. That's what I assume
                                                                                      22 believe your answer was you found one in a file            22 set that motion in file and I gave it to the
                                                                                      23 cabinet that either belonged to you or was at or           23 lawyers and they moved forward. How they -- they
                                                                                      24 near your residence. And I'm trying to find out            24 proceeded with due diligence, I assume.
                                                                                      25 what time frame that was.                                  25 Q Sure. And between July of 2010 and
                                                                                                                                               18                                                           20
                                                                                      1     A Oh, okay.                                             1 approximately February of 2018 you're not aware of
                                                                                      2     Q Can you tell me what time frame?                      2 the existence of any other wet ink original of the
                                                                                      3     A Shortly before the trial, somewhere in                3 quitclaim deed; is that accurate?
                                                                                      4 the trial, between, you know -- I don't know.               4     A I remember the day we signed it. I don't
                                                                                      5 Shortly before the trial.                                   5 know. I assume -- I don't remember. We were in
                                                                                      6     Q Okay. And the trial, I will represent to              6 Ron's office, I signed a copy -- I signed
                                                                                      7 you that the first day of the trial was                     7 something -- I signed a copy, Kendra signed a
                                                                                      8 approximately March 27, 2018. Are you saying that           8 copy, Max signed a copy, Ron saw it. You know, I
                                                                                      9 it was sometime immediately prior to that date,             9 don't remember. That's the -- I filed it away.
                                                                                      10 March 27, 2018?                                            10 After that I filed it away and forgot about it and
                                                                                      11 A Yes.                                                     11 that's all. You can refer back to my subpoena
                                                                                      12 Q Now, to be fair, your attorneys filed on                 12 from the previous deposition about that. I don't
                                                                                      13 your behalf a motion I believe in February of 2018         13 remember what I said so I don't want to say
                                                                                      14 that related to the existence of the quitclaim             14 something that I didn't say that I said back then.
                                                                                      15 deed. Do you remember that?                                15 So you can read that transcript because I have
                                                                                      16 A No, I don't know. I do not.                              16 answered that question before.
                                                                                      17 Q Okay. Do you know if prior to your                       17 Q Yeah. I'm not trying to trap you; I'm
                                                                                      18 attorneys filing a motion in or about February of          18 just trying to get as clear as I can.
                                                                                      19 2018 that you found this wet ink original                  19        So you believe that the document that you
                                                                                      20 document?                                                  20 found in your file cabinet was the original that
                                                                                      21 A I'm sorry; state your question again.                    21 you signed in your brother's office in Colorado in
                                                                                      22 Q Yeah. Do you know if you found the wet                   22 2010; is that accurate?
                                                                                      23 ink signature original that you have just                  23 A Again, I don't know.
                                                                                      24 testified to before or after your attorneys filed          24 Q Well, you didn't sign any other original
                                                                                      25 the motion, I believe it was a motion for summary          25 of the quitclaim deed between 2010 and 2018, did
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                                                                                                                                   Transcript of Len Salas                                      6 (21 to 24)

                                                                                                                                Conducted on August 27, 2021
                                                                                                                                              21                                                             23
                                                                                      1 you?                                                       1     A Oh, I guess my -- more than a thousand
                                                                                      2      A I signed that copy -- I signed a piece of           2  dollars.   I guess -- I guess the house, my house.
                                                                                      3 paper that day. I don't know if I got a copy. I            3 I bought my house. I don't know. No? No, no,
                                                                                      4 don't know if I got an original. So I don't know.          4 unh-unh.
                                                                                      5      Q So you don't know if you had an original            5     Q I know you looked to your wife then.
                                                                                      6 on that day, but you do know that you found an             6 What you're saying is that the house you live in
                                                                                      7 original in February of 2018; is that correct?             7 now is owned by your wife; correct?
                                                                                      8      A I guess. I don't know. I don't know                 8     A Correct.
                                                                                      9 what I found. I found -- I don't know if I found           9     Q And it has always been owned in your
                                                                                      10 a copy. I don't know if I found an original. I            10 wife's name only; correct?
                                                                                      11 found what I found.                                       11 A Yes.
                                                                                      12 Q Okay. Well, are you now telling me                      12 Q Okay. Okay. Thank you. No. 5 on still
                                                                                      13 you're not sure whether what you found was a wet          13 the same exhibit, it's: "All documents and
                                                                                      14 ink original of the quitclaim deed?                       14 records related to the sale, conveyance or
                                                                                      15 A Now you've put that in my mind, I don't                 15 disposition of any asset or property held by
                                                                                      16 know.                                                     16 you..." Other than the property in D.C. at 1610
                                                                                      17 Q Because you're not sure?                                17 Riggs Place Northwest -- that's the home that your
                                                                                      18 A I don't know now.                                       18 father presently lives in. You're aware of that;
                                                                                      19 Q Okay. What about let's go to still this                 19 correct?
                                                                                      20 first Exhibit, same page, No. 3: "All documents,          20 A Yes.
                                                                                      21 invoices, receipts, purchase orders, deeds,               21 Q Okay -- other than that asset, did you
                                                                                      22 titles, or other documents of" -- that's a                22 sell, transfer, or dispose of any asset worth more
                                                                                      23 spelling error; sorry -- or other documents               23 than a thousand dollars during the period 2010 to
                                                                                      24 "regarding your assets and liabilities during the         24 2018?
                                                                                      25 period, 2010 through 2018."                               25 A No.
                                                                                                                                              22                                                             24
                                                                                      1        Did you look for any of these documents?            1     Q Okay.
                                                                                      2     A Yes.                                                 2     A I don't know. I'm going to say I don't
                                                                                      3     Q Did you find any?                                    3 know because I don't remember. I don't remember.
                                                                                      4     A No.                                                  4     Q Now, in response to this No. 5, did you
                                                                                      5     Q Okay. So with respect to whatever assets             5 provide any documents in your document production?
                                                                                      6  and liabilities you had or incurred from the              6     A I don't remember.
                                                                                      7 period 2010 through 2018, you have no documents,           7     Q All right. Well, let's see what we have
                                                                                      8 invoices, receipts, purchase orders, deeds,                8 here. I have a list of your document production,
                                                                                      9 titles, or other documents of any kind; is that            9 Mr. Salas, and I'm looking at the list, and you
                                                                                      10 what you're saying?                                       10 have the trust documents, the trust EIN form; SSN
                                                                                      11 A I guess documents regarding your assets                 11 from the Internal Revenue Service; and then you
                                                                                      12 and liabilities, for my subsequent -- because of          12 have e-mails, mostly either to or from your father
                                                                                      13 the trial and because of my subsequent bankruptcy,        13 or from your father to Mr. Goldstein or persons in
                                                                                      14 I did list a set of assets and liabilities for            14 his office for the period of approximately 2011
                                                                                      15 that that I had to submit for the bankruptcy. I           15 through early 2012 --
                                                                                      16 believe I submitted that. That's what I found so          16 A Oh.
                                                                                      17 that's what I submitted.                                  17 Q -- then you provided the list of personal
                                                                                      18 Q Okay. Well, let me ask you this: During                 18 property that you mentioned previously, and that
                                                                                      19 the period of 2010 through 2018 did you acquire           19 looks to be the same list that you filed in your
                                                                                      20 any assets or purchase any assets that you believe        20 bankruptcy. Do you know if that's correct?
                                                                                      21 were major assets in nature?                              21 A Yes.
                                                                                      22 A No.                                                     22 Q Okay. And then you provided a list of
                                                                                      23 Q Do you believe that you acquired or                     23 household property. And I will represent to you
                                                                                      24 purchased any assets during that period valued            24 that I compared that to your bankruptcy list of
                                                                                      25 more than a thousand dollars?                             25 property and it differs, although it's similar.
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                                                                                                                                   Transcript of Len Salas                                     7 (25 to 28)

                                                                                                                                Conducted on August 27, 2021
                                                                                                                                               25                                                             27
                                                                                      1 Do you know what I'm talking about, the list of             1     Q Okay. So you --
                                                                                      2 household goods that you provided me?                       2     A We have what we have. Everything is
                                                                                      3     A I believe so, yeah, approximately.                    3 digital now. So I don't know. No. There is no
                                                                                      4     Q Okay. And that was approximately three                4 need to keep them. We don't want to waste paper.
                                                                                      5 or four pages; correct?                                     5 We are very conscious of that so we don't keep a
                                                                                      6     A I don't remember.                                     6 lot of paper documents around. So...
                                                                                      7     Q It was just a list of property, though,               7     Q Okay. So you're saying that whatever
                                                                                      8  nothing   else, no documents of title, no e-mails,         8  documents    you may have had from 2010 through 2018
                                                                                      9 no correspondence, just a list of the property;             9 that you did not provide may have been lost or
                                                                                      10 correct?                                                   10 thrown away or discarded in some fashion?
                                                                                      11 A I don't know.                                            11 A If they were paper, they were recycled.
                                                                                      12 Q Okay. And then you provided a trust                      12 Q Meaning you put them in a recycle bin and
                                                                                      13 registration statement that I believe you obtained         13 somebody else took care of them, trashed them?
                                                                                      14 from your brother Ron. And that's the extent. So           14 A I don't -- if it was paper, I recycled
                                                                                      15 I don't see any documents related to the sale,             15 it. I don't know I guess is the best answer. I
                                                                                      16 conveyance, or the disposition of any asset or             16 don't know.
                                                                                      17 property held by you. Do you think you provided            17 Q All right. What about No. 6, Mr. Salas:
                                                                                      18 any, any such documents?                                   18 "All agreements between you and any other person
                                                                                      19 A I provided what I had, what I could find.                19 or entity, respecting the payment of the SunTrust
                                                                                      20 Q And you looked for these documents and                   20 Deed of Trust obligation, representing the first
                                                                                      21 this is all you could provide; correct?                    21 Deed of Trust obligation on the property at Riggs
                                                                                      22 A Yes.                                                     22 Place, NW, Washington, DC from 2007 through April,
                                                                                      23 Q Okay. And when you looked for these                      23 2018"; what did you do to find any agreements that
                                                                                      24 documents, did you make a thorough look? What did          24 would be responsive to No. 6?
                                                                                      25 you look through to try to attempt to find                 25 A I looked through my filing cabinet, my
                                                                                                                                               26                                                             28
                                                                                      1 documents in response to No. 5?                             1 filing system, and I found what I found, submitted
                                                                                      2      A I looked through my e-mail and I looked              2 what I submitted.
                                                                                      3 through my filing cabinet.                                  3     Q Did you ask your father for any documents
                                                                                      4      Q Okay. Does your wife have any files                  4 he may have had?
                                                                                      5 related to assets or property held by you?                  5     A No.
                                                                                      6      A I don't know. I don't remember. I don't              6     Q Did you contact SunTrust to determine if
                                                                                      7 think so.                                                   7 SunTrust had any documents responsive to No. 6?
                                                                                      8      Q You didn't look for them, in any event;              8     A No.
                                                                                      9 correct? You didn't look through any of your                9     Q Okay. Did you have any written
                                                                                      10 wife's documents?                                          10 agreements between you and your father with
                                                                                      11 A I looked what I looked at, I found what I                11 respect to the payment of the SunTrust Deed of
                                                                                      12 found, and I submitted what I had.                         12 Trust or other obligations related to the property
                                                                                      13 Q I understand. But I'm just trying to                     13 in D.C.?
                                                                                      14 make sure that I have the full breadth of where            14 A I don't remember any.
                                                                                      15 you looked. So you didn't look in any documents            15 Q Okay. If there would have been one, you
                                                                                      16 your wife may have had, you only looked through            16 would have kept it, though, I'm assuming; right?
                                                                                      17 the documents that you had in your filing cabinet;         17 A If.
                                                                                      18 is that accurate?                                          18 Q All right. And you did look for
                                                                                      19 A Her documents are my documents at this                   19 documents in response to No. 6, didn't you?
                                                                                      20 point.                                                     20 A Yes.
                                                                                      21 Q Is that a yes?                                           21 Q All right. You didn't find any.
                                                                                      22 A It's the same filing cabinet. It's a                     22 A Yes.
                                                                                      23 little cabinet and a drawer, that's it. That's             23 Q And you would agree with me that any such
                                                                                      24 what we have and that's what we keep it in. We             24 document would have been kept either in paper copy
                                                                                      25 don't keep any receipts anymore. We don't keep --          25 or digitally by you --
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                                                                                                                                    Transcript of Len Salas                                     8 (29 to 32)

                                                                                                                                 Conducted on August 27, 2021
                                                                                                                                               29                                                            31
                                                                                      1     A Yes.                                                  1 April of 2018?
                                                                                      2     Q -- is that fair? Okay.                                2      A I don't remember.
                                                                                      3        You didn't find any; right?                          3      Q But you looked for one and you didn't
                                                                                      4     A Right, yes.                                           4 find any; correct?
                                                                                      5     Q Okay. Thank you.                                      5      A Yes.
                                                                                      6        Now, with respect to No. 7: "All                     6      Q Going down to No. 8, 8 says: "All
                                                                                      7 financial statements which you prepared, or                 7 records of payments, transfers or property, of any
                                                                                      8 provided to any person or party, respecting                 8 nature, paid, transferred or given to you by your
                                                                                      9 your" -- well, it says "your," it's supposed to be          9 father Max, or on his behalf, during the period
                                                                                      10 "you" -- "or your and your wife's financial                10 2007 through 2018." And your answer is that there
                                                                                      11 condition during the period 2010 through 2018,"            11 were none to produce. Am I correct on that?
                                                                                      12 you do indicate that you provided documents. You           12 A Yes. That's what the paper says.
                                                                                      13 say "See attached." I'm not sure which documents           13 Q And that's what you determined after a
                                                                                      14 you believe were responsive.                               14 thorough review of all of the records that you
                                                                                      15 A Oh, that was the -- that -- the thing                    15 believe you had access to; correct?
                                                                                      16 that I provided for the bankruptcy prior to --             16 A Yes.
                                                                                      17 Q The list of personal --                                  17 Q All right. Going on to No. 10, it looks
                                                                                      18 A Yeah, I prepared that.                                   18 like there wasn't a 9 --
                                                                                      19 Q Okay. The list of personal property?                     19        MR. McNUTT: Can we get that exhibit
                                                                                      20 A Yes.                                                     20 pulled  up so we can see No. 10. You can pull it
                                                                                      21 Q What about the list of household                         21 all the way up.
                                                                                      22 property?                                                  22        AV TECHNICIAN: Exhibit what was that
                                                                                      23 A Yeah. It was both. They were both --                     23 again, counsel?
                                                                                      24 they were both required for the bankruptcy.                24        MR. McNUTT: Same exhibit, same page, so
                                                                                      25 Q Okay. So other than those -- I'm sorry.                  25 we can see the bottom of the page.
                                                                                                                                               30                                                            32
                                                                                      1         THE COURT REPORTER: I'm sorry, sir.                 1         AV TECHNICIAN: Okay.
                                                                                      2     A Again, that's what I found so that's what             2         MR. McNUTT: There you go. Thank you.
                                                                                      3 I submitted.                                                3      Q There is No. 9 so that there's no
                                                                                      4     Q And you attempted to find any documents               4 confusion on the record. No. 10 is: "All written
                                                                                      5 that you believe were responsive to No. 7;                  5 or recorded communications between you and your
                                                                                      6 correct?                                                    6 D.C. Superior Court litigation counsel during the
                                                                                      7     A Yes.                                                  7 period 2015 through April 2018 regarding your
                                                                                      8     Q And what you provided was the list of                 8 ownership of the Riggs Place property. And you
                                                                                      9 personal property from your bankruptcy proceeding           9 declined to answer that asserting an
                                                                                      10 and a list of household property that you and your         10 attorney/client privilege. Have I got that right?
                                                                                      11 wife prepared; is that correct?                            11 A Yes.
                                                                                      12 A Yes. It was also required for the                        12 Q And you're not waiving that privilege;
                                                                                      13 bankruptcy.                                                13 correct?
                                                                                      14 Q Okay. But that's not the same list that                  14 A I don't understand.
                                                                                      15 was filed in your bankruptcy; correct?                     15 Q Well, it's your privilege, you can waive
                                                                                      16 A I don't remember at this time.                           16 it if you want to. What I'm trying to establish
                                                                                      17 Q Did your wife help you fill it out?                      17 is that by your answer you do not waive your
                                                                                      18 A I assume. I don't know. I don't                          18 attorney/client privilege and you are not willing
                                                                                      19 remember.                                                  19 to divulge any written or recorded communication
                                                                                      20 Q The document that you provided, the list                 20 between you and your D.C. Superior Court counsel.
                                                                                      21 of household property, do you know when that was           21 Is that accurate?
                                                                                      22 prepared?                                                  22 A Yes.
                                                                                      23 A Before my bankruptcy.                                    23 Q All right. And the same is true with
                                                                                      24 Q Okay. You did not prepare any document                   24 respect to No. 11; correct?
                                                                                      25 like that subsequent to your bankruptcy filing in          25 A Yes.
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                                                                                                                                    Transcript of Len Salas                                    10 (37 to 40)

                                                                                                                                 Conducted on August 27, 2021
                                                                                                                                              37                                                             39
                                                                                      1 the trustee is "Max E Salas." Do you see that?             1     Q Well, can you tell me any address other
                                                                                      2     A No. Oh, yeah. Yes.                                   2  than 1610 Riggs Place that you believe your father
                                                                                      3     Q Okay. And that's your father; correct?               3 may have resided between the period 2010 and 2018
                                                                                      4     A Yes.                                                 4 other than Washington, D.C.?
                                                                                      5     Q And your understanding is that when you              5     A No.
                                                                                      6 signed this irrevocable trust agreement, you were          6     Q And I just realized I gave you sort of a
                                                                                      7 signing it with the intent that your father be the         7 trick question. I understand that your father did
                                                                                      8 trustee of this trust; correct?                            8 not live at the Riggs Place property for some
                                                                                      9     A Yes.                                                 9 period of time after June of 2015, but he always
                                                                                      10 Q Now, in 2010 do you know where your                     10 lived in the District of Columbia; isn't that
                                                                                      11 father lived?                                             11 correct?
                                                                                      12 A I believe he lived at 1610 Riggs Place.                 12 A As far as I know.
                                                                                      13 Q In Washington, D.C.; correct?                           13 Q Say that again.
                                                                                      14 A Uh-huh, yes.                                            14 A As far as I know. I don't know. People
                                                                                      15 Q To your knowledge did he ever have a                    15 have secret lives, you know, people have two
                                                                                      16 residence at 155 East Boardwalk, Suite 300, Fort          16 families. I don't know what he's up to. You'd
                                                                                      17 Collins, Colorado 80525?                                  17 have to ask him.
                                                                                      18 A No.                                                     18 Q Sure, and I will. I'm just trying to get
                                                                                      19 Q Was Mr. Salas ever a resident, to your                  19 what knowledge you have, that's all.
                                                                                      20 knowledge, in the State of Colorado?                      20 A But I don't know.
                                                                                      21 A Yes.                                                    21 Q Now, Mr. Salas, are you aware of any
                                                                                      22 Q Your father?                                            22 other trust agreement that you executed or
                                                                                      23 A Yes.                                                    23 delivered to your father at any time between 2007
                                                                                      24 Q Okay. Do you know when?                                 24 and 2018?
                                                                                      25 A He was born there and I don't -- he lived               25 A I don't remember.
                                                                                                                                              38                                                             40
                                                                                      1 there off and on. You have to ask him. I don't             1     Q Do you recall any other trust agreement
                                                                                      2 know. I know he lived there.                               2 that your brother prepared for you to sign than
                                                                                      3     Q Subsequent to 2007 did you ever                      3 this one between the period of January 1, 2010,
                                                                                      4 communicate with your father at an address in              4 and 2018?
                                                                                      5 Colorado that you understood was his residence?            5     A I don't remember.
                                                                                      6     A I don't know. I don't remember.                      6     Q Okay. Do you recall any other quitclaim
                                                                                      7     Q Do you remember any time?                            7 deed that you executed other than this one that is
                                                                                      8     A No.                                                  8 I think starting on Page 6 of this document
                                                                                      9     Q He was living at 1610 Riggs Place,                   9 between the period January 1, 2010, and 2018?
                                                                                      10 Northwest, in Washington, D.C., in 2007; correct?         10 A I don't remember.
                                                                                      11 A Yes.                                                    11 Q If you would have executed any other
                                                                                      12 Q In fact, I believe you were as well;                    12 agreement, you would have kept a copy of it;
                                                                                      13 right?                                                    13 correct?
                                                                                      14 A Yeah.                                                   14 A I don't know.
                                                                                      15 Q Or at least part of that year?                          15 Q You don't know if you would have kept a
                                                                                      16 A I think so, yeah.                                       16 copy of a trust agreement that you executed?
                                                                                      17 Q I'm sorry; say it again, please.                        17 A Yes.
                                                                                      18 A Yes, I think so.                                        18 Q In the ordinary course of keeping records
                                                                                      19 Q And are you aware between the period 2007               19 you would have kept such a document, wouldn't you?
                                                                                      20 through 2018 that your father had a different             20 A I don't know.
                                                                                      21 residence address than 1610 Riggs Place,                  21 Q You don't know. Okay. All right.
                                                                                      22 Northwest, Washington, D.C.?                              22       MR. McNUTT: Justin, let's go on to
                                                                                      23 A I don't know.                                           23 Exhibit 3, I think it is.
                                                                                      24 Q You're not aware of any, are you?                       24       (A discussion was held off the record.)
                                                                                      25 A I don't know.                                           25       AV TECHNICIAN: Counsel, this is going to
                                                                                                                                     PLANET DEPOS
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                                                          Transcript of Len Salas                                 14 (53 to 56)

                                                       Conducted on August 27, 2021
                                                     53                                                                       55
1 PURSUANT TO SECTION 404 OF THE DISTRICT OF                         1     Q You didn't, okay.
2 COLUMBIA THEFT AND WHITE COLOR CRIMES ACT OF 1982,                 2        Okay. And you produced no written
3 EFFECTIVE DECEMBER 1, 1982 (DC LAW 4-164; DC CODE                  3 document that indicates that your father is the
4 22-2514), THAT THE REAL PROPERTY DESCRIBED WITHIN                  4 only one responsible for payments of the SunTrust
5 IS EITHER CLASS 1 PROPERTY OR CLASS 2 PROPERTY, AS                 5 Deed of Trust note; correct?
6 THOSE CLASSES OF PROPERTY ARE ESTABLISHED PURSUANT                 6     A Correct, I think.
7 TO SECTION 412A OF THE DISTRICT OF COLUMBIA REAL                   7     Q Do you know that during the period 2010
8 PROPERTY TAX REVISION ACT OF 1974, APPROVED                        8  to 2018  that at any time the SunTrust monthly Deed
9 SEPTEMBER 3, 1984 (88 STAT. 1051; DC CODE 47-813),                 9 of Trust payments were in default?
10 WITH 5 OR FEWER UNITS."                                           10 A Say again.
11      And that's your signature; correct?                          11 Q Do you know whether or not the SunTrust
12     A Yes.                                                        12 Deed of Trust monthly payments were in default
13    Q And it is notarized by it looks like                         13 during the period 2010 through 2018 at any time?
14 Antuanette Requejo, I believe, on the 16th day of                 14 A Yes.
15 April 2007. Do you see that?                                      15 Q Do you know how many times?
16     A No.                                                         16 A No.
17     Q You said no? Look below that where it                       17 Q Do you know if it was months?
18 says "STATE OF MARYLAND, COUNTY OF MONTGOMERY,"                   18 A I don't -- I don't --
19 and then it has under that a paragraph that says                  19 Q Was it years?
20 that: "I...DO HEREBY CERTIFY THAT LEN SALAS, WHO                  20 A I don't remember.
21 EXECUTED THE FOREGOING ATTACHED DEED OF TRUST,                    21 Q Okay. Do you remember the original
22 BEARING THE DATE OF THE 16 DAY OF APRIL, 2007,                    22 amount of the note?
23 PERSONALLY APPEARED BEFORE ME," et cetera. Do you                 23 A No. You stated a number earlier. That
24 see that?                                                         24 sounded about right.
25     A Yes.                                                        25 Q Let's see what we have here. Look at
                                                                54                                                            56
1     Q And that's signed by Ms. Requejo, I think                    1 Page 23 of that document. According to this
2 is how you pronounce it, first name Antuanette,                    2 document, in Paragraph 1 it states that the
3 and her notary seal appears. Do you see that?                      3 original amount of the note was $870,000. Do you
4     A No.                                                          4 agree with that number?
5     Q You don't see that. You don't see the                        5     A Yes.
6  notary seal at the bottom?                                        6     Q And let's take a look at the signatures
7     A Oh, I do now.                                                7 under the note. It looks like that's on Page 25.
8     Q Sorry; my fault. So that's a document                        8 And whose name do you see there?
9 that you signed on April 16, 2007. And on neither                  9     A That's mine.
10 of those two pages is there a signature of any                    10 Q Do you see your father's name anywhere?
11 other party; correct?                                             11 A No.
12 A Correct.                                                        12 Q Anyone else?
13 Q And you've already said that you made no                        13 A Tamar Hill, officer.
14 agreement, written agreement anyway, with your                    14 Q Okay. She was a member of SunTrust;
15 father with respect to his responsibility for the                 15 correct?
16 SunTrust loan payments; correct?                                  16 A I don't know.
17 A We had a -- as I said, we had like a                            17 Q It says "SUNTRUST MORTGAGE, INC." Above
18 gentlemen's agreement again, so...                                18 her name; correct?
19 Q I understand.                                                   19 A Yes.
20 A Which I testified before in the previous                        20 Q All right. She wasn't obligated under
21 deposition so you can --                                          21 the note, as far as you know, was she?
22 Q Right, gentlemen's agreement. And that's                        22 A I don't know.
23 something you discussed with your brother last                    23 Q Do you know if anyone else other than you
24 week; correct?                                                    24 was obligated under the note?
25 A No.                                                             25 A No, I don't know.
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                                                                                                                                    Transcript of Len Salas                                     16 (61 to 64)

                                                                                                                                 Conducted on August 27, 2021
                                                                                                                                               61                                                            63
                                                                                       1     Q And "Part 1" says: "List All Secured                 1 outcome of who got what, so you would have to ask
                                                                                       2  Claims," and the first two you list are the               2 him I guess.
                                                                                       3 "Estate of Michael Patrick McLoughlin" and the             3     Q I'm looking at the "Sun Trust Mortgage"
                                                                                       4 "Estate of Nina Brekelmans." Do you see that?              4 below that. Do you see that? This is under 2.3
                                                                                       5     A Yes.                                                 5 on the left. Do you see the numbers 2.3, same
                                                                                       6     Q Now, do you know if in your bankruptcy               6 page?
                                                                                       7 you filed any objections to those claims?                  7     A No, I do not.
                                                                                       8     A I don't remember.                                    8        MR. McNUTT: You have to go down, Justin,
                                                                                       9     Q Do you know if those claims were allowed             9 go down a little bit. Some more. Next page I
                                                                                       10 in your bankruptcy case?                                  10 guess it is.
                                                                                       11 A I don't know.                                           11       Stop there. Yeah, there we go.
                                                                                       12 Q Do you know whether or not judgments were               12 Q Do you see 2.3, "Sun Trust Mortgage"?
                                                                                       13 obtained on behalf of those two estates in April          13 A Yes.
                                                                                       14 of 2018?                                                  14 Q All right. And you listed the balance
                                                                                       15 A I don't know.                                           15 owed as $868,754.73. Can you tell me where you
                                                                                       16 Q You don't know. You don't know there                    16 got that number?
                                                                                       17 were judgments entered against you?                       17 A No.
                                                                                       18 A What are you -- I don't understand the                  18 Q Do you know if that was the actual amount
                                                                                       19 question, I guess. I don't know. That's why I             19 owed to SunTrust mortgage at the time that you
                                                                                       20 said I don't know.                                        20 filed your bankruptcy in April of 2018?
                                                                                       21 Q Do you know if you became obligated                     21 A I don't know.
                                                                                       22 sometime in April of 2018 to pay the estate of            22 Q Do you know whether your father listed a
                                                                                       23 Michael McLoughlin, Jr., $7,700,000?                      23 different amount on his bankruptcy schedules?
                                                                                       24 A Oh, yes.                                                24 A No.
                                                                                       25 Q Do you know --                                          25 Q Between you and your father, who would
                                                                                                                                               62                                                            64
                                                                                       1        THE COURT REPORTER: I'm sorry, sir; I               1 you believe had the better knowledge of what the
                                                                                       2 didn't hear you.                                           2 current amount due SunTrust was as of April 18,
                                                                                       3        THE WITNESS: Which sir?                             3 2018?
                                                                                       4        THE COURT REPORTER: I heard you say yes.            4     A Him.
                                                                                       5 I didn't hear what you said after that.                    5     Q Okay. And do you have any reason to
                                                                                       6        THE WITNESS: I said -- I don't remember             6  disagree  with the number that your father stated
                                                                                       7 what I said actually. I said I assume -- I said            7 on his schedules in 2018, in April of 2018?
                                                                                       8 that's why it's on the bankruptcy, I guess, is             8     A No.
                                                                                       9 what I think I said.                                       9        MR. McNUTT: Justin, let's go back to
                                                                                       10 Q And at the same time a judgment of                      10 Exhibit 6.
                                                                                       11 $7,500,000 was entered against you in favor of the        11       AV TECHNICIAN: Okay. One moment.
                                                                                       12 estate of Nina Brekelmans; correct?                       12    Q    This is, again, the e-mail from your
                                                                                       13 A Yes.                                                    13 father, Max Salas, to Mr. Goldstein on June 21,
                                                                                       14 Q Now, those claims are listed as                         14 2011. You have produced no document that I'm
                                                                                       15 contingent and disputed on your bankruptcy                15 aware of related to any communications between
                                                                                       16 schedules, but you never objected to their claims         16 your father and anyone else related to the
                                                                                       17 in your bankruptcy as far as you know; right?             17 quitclaim deed since July 6, 2010. Are you aware
                                                                                       18 A I don't remember.                                       18 of any document that exists between the period of
                                                                                       19 Q Do you know whether or not the assets                   19 July 6, 2010, to June 21, 2011, related to the
                                                                                       20 obtained by your trustee were paid in part to the         20 recording of the quitclaim deed?
                                                                                       21 two estates that I just mentioned?                        21 A No.
                                                                                       22 A I remember something -- I remember you                  22 Q And with respect to your own records and
                                                                                       23 said that something was paid, some -- everybody           23 documents, you looked at everything you thought
                                                                                       24 got percentages of something. I don't know what           24 was available to you and could not find any
                                                                                       25 the final -- I don't remember what the final              25 documents between July 6, 2010, and June 2011; is
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                                                                                                                                    Transcript of Len Salas                                   18 (69 to 72)

                                                                                                                                 Conducted on August 27, 2021
                                                                                                                                              69                                                            71
                                                                                       1         AV TECHNICIAN: One moment.                        1     Q Right.
                                                                                       2         This is Exhibit 7. Is this what you're            2     A Yeah, I mean, I told him multiple times
                                                                                       3 looking for?                                              3 to get it off my name -- to get my name off of it,
                                                                                       4         MR. McNUTT: Yes, sir.                             4 to get my name off the loan, yes.
                                                                                       5         AV TECHNICIAN: Okay.                              5     Q Not off the title.
                                                                                       6      Q Mr. Salas, would you look at what has              6     A That was a different question.
                                                                                       7 been -- well, it hasn't been marked, but I guess          7     Q Are you saying get your name off the loan
                                                                                       8 it's Exhibit 7. It looks like it's going to be            8  or your  name off the title?
                                                                                       9 marked pretty soon. And it is so marked.                  9     A I wanted both. Well, I wanted both. And
                                                                                       10        (Len Salas Deposition Exhibit 7 marked            10 I guess I didn't remember about the trust and so
                                                                                       11 for identification and is attached to the                11 then it was the question of the loan at that
                                                                                       12 transcript.)                                             12 point.
                                                                                       13 Q This is another e-mail that you produced               13 Q All right. Now --
                                                                                       14 back on I believe it was the 23rd of August. And         14 A Maybe. I don't know. I don't remember
                                                                                       15 it is an e-mail that the title of the e-mail is          15 that much about it. This is ten years ago. You
                                                                                       16 "trust #" and then it says Max Salas to                  16 know, I don't even remember.
                                                                                       17 Mr. Goldstein, it looks like, with a copy to you         17 Q You didn't review your prior testimony in
                                                                                       18 and a copy to your brother and it looks like the         18 your bankruptcy case before this deposition, did
                                                                                       19 "EINNumber" is attached dated June 21, 2011. Do          19 you?
                                                                                       20 you see that?                                            20 A No.
                                                                                       21 A Yes.                                                   21 Q You didn't review your testimony in your
                                                                                       22 Q All right. And you got a copy of this                  22 father's bankruptcy case in August of 2018 before
                                                                                       23 e-mail. So you're aware that there was this              23 your deposition today; right?
                                                                                       24 communication between your father and                    24 A No.
                                                                                       25 Mr. Goldstein on June 21, 2011; correct?                 25 Q You made several communications every
                                                                                                                                              70                                                            72
                                                                                       1     A Yes.                                                1 year since 2010 asking your father for an update
                                                                                       2     Q And there were a series of communications           2 on getting your name off the loan and the title.
                                                                                       3 between your father and Mr. Goldstein's office. I         3 That was your previous testimony. Is that still
                                                                                       4 believe the attorney's name was Lynne, I will             4 accurate?
                                                                                       5 pronounce it, Boileau, B-O-I-L-E-A-U, between             5     A Sure, yes. I mean, yeah, I said that. I
                                                                                       6 approximately this time and early 2017, and the           6  remember     saying that.
                                                                                       7 reason I know that is because they're in the              7     Q And that's true; correct?
                                                                                       8 e-mails that you produced.                                8     A Yes.
                                                                                       9        After February of 2017 are you aware of            9     Q Did you do this in 2010 after July 6?
                                                                                       10 any activity with respect to the recordation of          10 A I don't remember when I started to ask.
                                                                                       11 the quitclaim deed?                                      11 Q If you were so concerned about getting
                                                                                       12 A I don't remember any.                                  12 your name off the loan and the title, I would
                                                                                       13 Q Okay. Are you aware of any conversations               13 think after months went by after July of 2010 you
                                                                                       14 or communications you had with your father               14 would have been asking your father what's up with
                                                                                       15 regarding the recordation of the quitclaim deed          15 this and --
                                                                                       16 after February of 2012?                                  16 A I remember now, okay. Yes, because I
                                                                                       17 A I don't remember.                                      17 wasn't able -- yes. This sounds about right,
                                                                                       18 Q In your previous testimony in your                     18 2010, 2011, because I wanted -- I had been -- I
                                                                                       19 bankruptcy case you indicated that you had               19 got married in 2010 and we wanted to buy a house
                                                                                       20 numerous conversations with your father through          20 together in my name -- in our joint names, and I
                                                                                       21 early 2015 about getting your name off the title         21 wasn't able to. So that was the precipice of all
                                                                                       22 to the property. Do you recall that?                     22 of the e-mails to get the -- I couldn't qualify
                                                                                       23 A Yeah. If that's what you meant, sure,                  23 for a loan for my house so we had to just -- so my
                                                                                       24 yeah. I told him multiple times. Is that what            24 wife bought -- so it's not -- so I don't even have
                                                                                       25 you mean?                                                25 a -- yes, so that was the precipice. That's when
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                                                                                                                                  Transcript of Len Salas                                        19 (73 to 76)

                                                                                                                               Conducted on August 27, 2021
                                                                                                                                              73                                                               75
                                                                                       1 the communication started and that's when I               1 what point in time did you start to forget that
                                                                                       2 started haggling him about getting me off the loan        2 there was a quitclaim deed?
                                                                                       3 so I could thus qualify to get my name on my house        3     A I don't know.
                                                                                       4 and that loan.                                            4     Q 2011? 2012?
                                                                                       5         So that house was always in my wife's             5     A I think it wasn't the deed at that point;
                                                                                       6 name. And all of our houses are in her name               6 I think it was the loan.
                                                                                       7 because -- well, I guess they're not our houses,          7     Q Okay. So at some point your discussions
                                                                                       8 they're her houses. So that was the precipice.            8  changed   from getting the deed recorded to get your
                                                                                       9 So that's probably when the communications                9 name off the property to getting the property
                                                                                       10 started. And there were various on and off and I         10 refinanced?
                                                                                       11 would, you know, bug him for a while and I would         11 A Yes.
                                                                                       12 get no answer and then I would start again and --        12 Q And you just forgot about the deed.
                                                                                       13 I don't know. I guess it was like that until this        13 A Yes.
                                                                                       14 whole thing happened.                                    14 Q Okay. So after this point in time,
                                                                                       15 Q And that happened in every year, 2011,                 15 whenever it was, 2013, 2014, did your father ever
                                                                                       16 2012, 2013, 2014, and 2015; right?                       16 bring up the subject of the quitclaim deed?
                                                                                       17 A Probably. I can't -- I don't remember                  17 A I don't remember.
                                                                                       18 specific dates.                                          18 Q Did he ever discuss with you the
                                                                                       19 Q You said that you started and stopped.                 19 importance of getting the quitclaim deed recorded?
                                                                                       20 So maybe a few months would go by and then you           20 A I don't remember.
                                                                                       21 would bug him again; is that fair?                       21 Q Did he ever discuss with you his
                                                                                       22 A Something like that.                                   22 inability to get the quitclaim deed recorded?
                                                                                       23 Q Was there ever a period of time more than              23 A I don't remember.
                                                                                       24 a year where you think you didn't bug him, just          24 Q When were you served with the papers in
                                                                                       25 let it go?                                               25 the Superior Court litigation from the estates of
                                                                                                                                              74                                                               76
                                                                                       1      A Yeah, I guess. I don't know.                       1 Ms. Brekelmans and Mr. McLoughlin?
                                                                                       2      Q You don't know, do you?                            2     A After the fire and before the trial. I
                                                                                       3      A No. I probably --                                  3 don't remember exact date.
                                                                                       4      Q Do you know at what period of time --              4     Q The lawsuits were filed in October of
                                                                                       5      A I don't remember how often --                      5 2015. Do you know if you were served in 2015?
                                                                                       6      Q I'm sorry; go ahead finish your answer.            6     A October of 2015 sounds about right.
                                                                                       7 Go ahead. Sorry.                                          7     Q When you were served with the papers, who
                                                                                       8      A I don't remember how often I bugged him            8 did you discuss that with, the lawsuit?
                                                                                       9 about it is the answer.                                   9     A Multiple people.
                                                                                       10 Q Well, you told me before every year. Is                10 Q Did you discuss it with your father?
                                                                                       11 that inaccurate?                                         11 A Yes.
                                                                                       12 A Right. But -- yes, every year. But like                12 Q Did you discuss it with your wife?
                                                                                       13 I don't know if it was once a year, I don't know         13 A Yes.
                                                                                       14 if it was twice a year, I don't know if it was 12        14 Q Did you discuss it with your brother?
                                                                                       15 times a year, I don't know if it was 24 times a          15 A Yes.
                                                                                       16 year. I don't know. That's the part --                   16 Q Okay. Do you recall what you discussed
                                                                                       17 Q Fair enough. Fair enough. So at what                   17 with your brother, what the subject matter was?
                                                                                       18 point did you start forgetting that there was a          18 A In October of 2015 and this is 2021, six
                                                                                       19 quitclaim deed?                                          19 years ago? No, I don't remember.
                                                                                       20 A How would I -- how could I remember when               20 Q Now, do you know whether you had enough
                                                                                       21 I forgot?                                                21 money to pay the attorneys to defend the case
                                                                                       22        MR. YOUNG: Object as to form.                     22 against you in the lawsuit?
                                                                                       23     Q   You said that you forgot about it. And           23 A Yes.
                                                                                       24 I'm asking during all of these attempts to get           24 Q Did you have the money to do that?
                                                                                       25 your father to take your name off the title, at          25 A No.
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                                                                                                                                     Transcript of Len Salas                                     20 (77 to 80)

                                                                                                                                  Conducted on August 27, 2021
                                                                                                                                               77                                                            79
                                                                                       1     Q Okay. Why not?                                       1     Q And not by your wife?
                                                                                       2     A Because I live paycheck to paycheck.                 2     A Correct.
                                                                                       3     Q Okay. And did you then borrow the money              3     Q And it was because you couldn't afford to
                                                                                       4 to pay your lawyers?                                       4 pay them in the first place; correct?
                                                                                       5     A No. They were paid.                                  5     A Yes.
                                                                                       6     Q I'm sorry?                                           6     Q And that goes from the time that the case
                                                                                       7     A Excuse me? No, I didn't. No. The                     7 was commenced in approximately October 2015 to the
                                                                                       8  answer   is no.                                           8 time of the appeal, which was in April of 2018;
                                                                                       9     Q Okay. You didn't borrow it. Where did                9 correct?
                                                                                       10 you get the money from then?                              10 A Yes.
                                                                                       11 A I didn't get the money.                                 11 Q And then on April 18, 2018, you filed
                                                                                       12 Q You didn't get the money. So your                       12 bankruptcy and your brother paid for that?
                                                                                       13 lawyers worked for nothing?                               13 A Somebody paid for it. I don't know if it
                                                                                       14 A No. Oh, how did I get the -- oh, well.                  14 was him.
                                                                                       15 Oh, how did I get the money. I guess Max paid             15 Q Well, your bankruptcy schedules actually
                                                                                       16 them because I told him I wasn't going to put             16 say that.
                                                                                       17 any -- if you want me to have a lawyer, you're            17 A Okay.
                                                                                       18 going to have to pay for it. So Max paid for it.          18 Q You paid Mr. --
                                                                                       19 Q So Max paid it. Did Ron pay any of the                  19 A Well, all I can tell you is I didn't pay.
                                                                                       20 money for the legal fees?                                 20 So I don't know.
                                                                                       21 A Yeah, I guess. I don't know actually.                   21 Q Fine.
                                                                                       22 Q Okay. Do you know who paid the retainer                 22 A If you want the truth, that's the truth.
                                                                                       23 for your bankruptcy lawyer?                               23 I don't know.
                                                                                       24 A That was Ron.                                           24 Q I do want the truth.
                                                                                       25 Q Did he pay the filing fees as well?                     25 A Right. That's what I'm telling you. I
                                                                                                                                               78                                                            80
                                                                                       1        THE COURT REPORTER: I'm sorry, sir; I               1 don't -- I can tell you for sure that I didn't pay
                                                                                       2 didn't hear you.                                           2 them.
                                                                                       3        THE WITNESS: Which sir?                             3      Q Okay. At least that part I believe.
                                                                                       4     A I said I don't know -- I didn't know if              4         MR. McNUTT: Justin, let's go to Exhibit
                                                                                       5 you were talking about the litigation or the trial         5 12, please.
                                                                                       6 when you asked your question.                              6         AV TECHNICIAN: Okay. One moment.
                                                                                       7     Q So there is no confusion, let's do it                7         (Len Salas Deposition Exhibit 12 marked
                                                                                       8 this way: With respect to the Superior Court               8 for identification and is attached to the
                                                                                       9 litigation, do you know if your brother paid any           9 transcript.)
                                                                                       10 portion of your legal fees?                               10 Q Exhibit 12, Mr. Salas, is a document that
                                                                                       11 A I don't know.                                           11 has the reference "trust #." It's dated June 22,
                                                                                       12 Q With respect to the appeal of the                       12 2011, one day later than our previous e-mail, and
                                                                                       13 Superior Court litigation, do you know if your            13 it is addressed from you to your father. And it
                                                                                       14 brother paid any portion of the litigation fees           14 is actually in response to your father's e-mail
                                                                                       15 for the appeal?                                           15 responding to your prior e-mail asking your
                                                                                       16 A No, I don't know.                                       16 father: "Have you contacted a bank to set up an
                                                                                       17 Q Did you pay them?                                       17 acct for the trust?"
                                                                                       18 A No.                                                     18 A Uh-huh.
                                                                                       19 Q Did you pay any legal fees?                             19 Q And your response is: "Yeah, I saw that.
                                                                                       20 A No.                                                     20 But that is not what I asked. I asked if you used
                                                                                       21 Q So those legal fees were paid by your                   21 this EIN # to set up a bank acct with a bank
                                                                                       22 father, your brother, or someone else?                    22 either BB&T or bank of america or SunTrust."
                                                                                       23 A Yes.                                                    23        Did I read that correctly?
                                                                                       24 Q Not by you; correct?                                    24 A Yes.
                                                                                       25 A Yes.                                                    25        MR. McNUTT: Let's go to the next e-mail.
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                                                                                                                                     Transcript of Len Salas                                     21 (81 to 84)

                                                                                                                                  Conducted on August 27, 2021
                                                                                                                                                81                                                            83
                                                                                       1 This is Exhibit 13, Justin.                                 1 -- "My son and I are anxious and would like to
                                                                                       2         AV TECHNICIAN: Yes. One moment.                     2 close on this as soon as possible please let us
                                                                                       3         (Len Salas Deposition Exhibit 13 marked             3 know what the next" -- I think it's supposed to
                                                                                       4 for identification and is attached to the                   4 mean steps -- "that are from our side."
                                                                                       5 transcript.)                                                5        Do you know if anything happened as a
                                                                                       6     Q That e-mail, this is Exhibit 13, e-mail               6 result of Mr. Salas' communications with Ms.
                                                                                       7 dated -- well, at the top e-mail dated -- June 22,          7 Boileau, if I pronounced her name right, the
                                                                                       8 2011, at 3:19 p.m. from Max Salas to you. That's            8 attorney at Capitol Title?
                                                                                       9 in response to the previous e-mail that I just              9     A I don't know.
                                                                                       10 recited and Max' response is "NO." So I would              10 Q This is the last e-mail regarding
                                                                                       11 recognize that as an answer with emphasis. That's          11 changing the name of the owner of the house into
                                                                                       12 how you read it?                                           12 the trust. Were there no more attempts after
                                                                                       13 A Well, no, not really. Sure, he said no.                  13 February 2012?
                                                                                       14 Q No? How did you read it?                                 14 A I don't know.
                                                                                       15 A No. He probably -- my assumption was he                  15 Q There were no more communications between
                                                                                       16 texted -- or he used his phone to answer that              16 you and your father related to the status of this?
                                                                                       17 and -- to answer that e-mail and he's not the most         17 A Probably.
                                                                                       18 technical savvy person that I know so he probably          18 Q Probably there were?
                                                                                       19 left the caps on or whatever. I don't know. But            19 A Yeah.
                                                                                       20 I don't know if it was emphasis. That's his                20 Q Do you know?
                                                                                       21 answer.                                                    21 A I don't know for a fact. I'm going -- I
                                                                                       22 Q Okay. But his answer was clearly no,                     22 don't remember.
                                                                                       23 wasn't it?                                                 23 Q It's true, is it not, Mr. Salas, that in
                                                                                       24 A Yeah.                                                    24 the time frame of 2010 through at least 2012 or
                                                                                       25 Q Okay.                                                    25 '13 that you were involved in more than one
                                                                                                                                                82                                                            84
                                                                                       1        MR. McNUTT: Let me see if we can skip a              1 attempt to refinance the property?
                                                                                       2 little bit here. Okay. Yeah, let's go to Exhibit            2     A Yes.
                                                                                       3 19, Justin.                                                 3     Q And all of those failed?
                                                                                       4        (Len Salas Deposition Exhibit 19 marked              4     A Yes.
                                                                                       5 for identification and is attached to the                   5     Q In fact, weren't you told or your father
                                                                                       6 transcript.)                                                6  told that because of the type of loan it couldn't
                                                                                       7     Q Mr. Salas, this is your Exhibit 19. It's              7 be refinanced?
                                                                                       8 dated February 27, 2012. It's an e-mail with a              8     A I remember something to that fact.
                                                                                       9 reference "Getting house changed over into trust            9     Q Do you know when that was?
                                                                                       10 name." So this is February of 2012. This is now            10 A No.
                                                                                       11 more than a year and a half after the quitclaim            11       Can we take five?
                                                                                       12 deed was signed and nothing has happened. You              12    Q    I'm sorry?
                                                                                       13 received this e-mail, didn't you?                          13 A I need to take five.
                                                                                       14 A Yes.                                                     14       MR. McNUTT: Sure. Let's take a break.
                                                                                       15 Q Is this one of the times when you                        15       (A recess was taken.)
                                                                                       16 contacted your father and insisted that he do              16 BY MR. McNUTT:
                                                                                       17 something to get your name off the title?                  17 Q Let's get back to Exhibit 19 we were
                                                                                       18 A I guess that's what precipitated this                    18 looking at. And I just want to be clear,
                                                                                       19 e-mail, but I'm not sure. I couldn't tell you for          19 Mr. Salas, that you found no e-mails or other
                                                                                       20 sure.                                                      20 notes or documents related to any communications
                                                                                       21 Q Okay. As you read it, it says: "Hi                       21 with your father after this date with respect to
                                                                                       22 Lynn, about a month and a half back I sent you             22 the recordation of the quitclaim deed; is that
                                                                                       23 information in reference to documents of the house         23 accurate?
                                                                                       24 1610 Riggs, NW. Please let me know when it be              24 A Yes.
                                                                                       25 convenient for you" -- and "it would be" obviously         25 Q And you found no written communications
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                                                                                                                                     Transcript of Len Salas                                       36 (141 to 144)

                                                                                                                                  Conducted on August 27, 2021
                                                                                                                                                 141                                                            143
                                                                                       1     A I believe three.                                        1 of in this case a piece of property; right?
                                                                                       2     Q At least three?                                         2      A I understand that, yes.
                                                                                       3     A I think.                                                3      Q And the purpose of the quitclaim deed was
                                                                                       4     Q Why would you want three originals of a                 4 to allow your father to record a deed showing that
                                                                                       5 trust document and a quitclaim deed?                          5 he was the owner of the property; correct?
                                                                                       6     A One for each of us. One for the lawyer,                 6      A Yes.
                                                                                       7 which is Ron; one for Max, who signed it; and one             7      Q Okay.
                                                                                       8 for me, who signed it. I --                                   8      A Okay. So as of 2007 -- or July 2010 he
                                                                                       9     Q Why do you -- are you done? I'm sorry;                  9 owned the property. Okay. If that's your
                                                                                       10 are you done?                                                10 reasoning, sure, he owned the property.
                                                                                       11 A No. That's -- well, I think. I'm not                       11 Q Okay. But if you had an original
                                                                                       12 sure I am right, but that's what I think.                    12 quitclaim deed, you could have recorded that deed,
                                                                                       13 Q Okay. Why would you need an original                       13 too?
                                                                                       14 rather than a photocopy?                                     14 A I guess.
                                                                                       15 A I don't know.                                              15 Q Because you have an original. Your
                                                                                       16 Q I don't either. Do you have any idea why                   16 brother could have recorded one because he had the
                                                                                       17 you would need one?                                          17 original.
                                                                                       18 A No. I mean, I just assumed that's -- I                     18 A Right.
                                                                                       19 guess what I'm saying is -- yeah, I don't know who           19 Q And anybody who came into possession --
                                                                                       20 kept them. I don't know. Maybe I got a copy of               20 are you still there, Len?
                                                                                       21 the wet that day. I don't remember. I don't know             21 A Yeah, I'm still here. Go ahead. Sorry;
                                                                                       22 who kept the original. I assume Ron did, I guess.            22 I just have --
                                                                                       23 Now I assume that, but I don't know.                         23 Q We can't see your face now.
                                                                                       24 Q Why would Ron have the original if the                     24 A So I just have to move rooms. Go ahead.
                                                                                       25 quitclaim deed had to be recorded by your father             25 Q So anyone who had a copy of the quitclaim
                                                                                                                                                 142                                                            144
                                                                                       1 in the District of Columbia?                                  1 deed could have reported that deed and would be
                                                                                       2      A I don't know. That's just a guess.                     2 the title owner of the property?
                                                                                       3      Q On July 5, 2010, you were the owner of                 3     A I guess. I don't know how that works.
                                                                                       4 the property at 1610 Riggs Place Northwest; right?            4     Q Are you there, Len?
                                                                                       5      A I was not an owner. I owned the loan.                  5     A Yeah, I'm here. Go ahead.
                                                                                       6  My   name was on the loan. I did not own -- I don't          6     Q Okay. Enough of that.
                                                                                       7 believe I owned the property.                                 7        MR. McNUTT: Let's go to Exhibit 36,
                                                                                       8      Q So your name was not on the deed?                      8 Justin, please.
                                                                                       9      A I don't know how to answer that.                       9        AV TECHNICIAN: The exhibit is on the
                                                                                       10 Q Well, you can answer it from what you                      10 screen.
                                                                                       11 know.                                                        11       MR. McNUTT: Yes, I see it. Thanks.
                                                                                       12 A I guess when we referred back to that                      12 Let's go to Page 15 of 29.
                                                                                       13 thing, I mean, from our earlier conversation.                13 Q Do you see that in front of you,
                                                                                       14 Q I have no idea what you're saying. Try                     14 Mr. Salas?
                                                                                       15 to explain it to me.                                         15 A Yeah.
                                                                                       16 A You asked me this earlier, so just take                    16 Q All right. Would you look at Paragraph
                                                                                       17 my answer from earlier this morning.                         17 18, please. By the way, do you recognize this
                                                                                       18 Q Well, that might be just as confusing as                   18 document as the Deed of Trust that you executed in
                                                                                       19 what you just told me, so I'm trying to clarify              19 2007?
                                                                                       20 it.                                                          20 A I don't know. I mean, not from this
                                                                                       21 A I don't want to -- yeah, I don't want to                   21 paragraph, no, I don't.
                                                                                       22 muddy the waters, so just refer back to that                 22 Q Well, we reviewed it before. But why
                                                                                       23 answer.                                                      23 don't you --
                                                                                       24 Q Let me try it this way: You understand                     24       MR. McNUTT: Justin if you could.
                                                                                       25 that a deed is a document that shows the ownership           25 Q -- take a look at Page 18.
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                                                                                                                                      Transcript of Len Salas                                    37 (145 to 148)

                                                                                                                                   Conducted on August 27, 2021
                                                                                                                                                145                                                           147
                                                                                       1         MR. McNUTT: Maybe make that page a                   1 right?
                                                                                       2  little smaller. Yeah.                                       2      A Yeah.
                                                                                       3      A Okay.                                                 3      Q And he prepared both of these documents?
                                                                                       4      Q Do you recognize that as the document                 4 He prepared the trust and the quitclaim deed;
                                                                                       5 that you signed on April 16, 2007?                           5 correct?
                                                                                       6      A Yeah; now.                                            6      A Yes.
                                                                                       7      Q And if you look at Page 5 --                          7      Q And you signed them in his office.
                                                                                       8         MR. McNUTT: Justin, please.                          8      A Yes.
                                                                                       9      Q -- this is the Deed of Trust that you                 9      Q Did you ask your brother whether there
                                                                                       10 signed in April 2007.                                       10 were any consequences of doing this, bad
                                                                                       11 A Okay.                                                     11 consequences, of having the quitclaim deed
                                                                                       12        MR. McNUTT: Now, Justin, if you go back              12 recorded?
                                                                                       13 to Page 15, please.                                         13 A Not that I remember.
                                                                                       14 Q Paragraph 18, do you see that there,                      14 Q Do you think a competent attorney would
                                                                                       15 Mr. Salas?                                                  15 have told you that there might be such
                                                                                       16 A I do now.                                                 16 consequences?
                                                                                       17 Q Paragraph 18 reads: "Transfer of the                      17 A I don't know.
                                                                                       18 Property or a Beneficial Interest in Borrower. As           18 Q Did you attempt to find out or ask anyone
                                                                                       19 use in this Section 18, 'Interest in the Property'          19 if there were consequences of you executing the
                                                                                       20 means any legal or beneficial interest in the               20 quitclaim deed?
                                                                                       21 Property, including, but not limited to, those              21 A I don't remember.
                                                                                       22 beneficial interests transferred in a bond for              22 Q Did you notify SunTrust at any time that
                                                                                       23 deed, contract for deed, installment sales                  23 you were no longer the owner of the property?
                                                                                       24 contract or escrow agreement, the intent of which           24 A Not that I can recall.
                                                                                       25 is the transfer of title by Borrower at a future            25 Q Are you aware of any time that your
                                                                                                                                                146                                                           148
                                                                                       1 date to a purchaser.                                         1 father notified SunTrust that he was the owner of
                                                                                       2         "If all or any part of the Property or               2 the property?
                                                                                       3 any Interest in the Property is sold or                      3     A No, I couldn't attest to that.
                                                                                       4 transferred (or if Borrower is not a natural                 4     Q Well, you don't know of any time; right?
                                                                                       5 person and a beneficial interest in Borrower is              5     A Yeah, I don't know. You know, I don't
                                                                                       6 sold or transferred) without Lender's prior                  6  know  if that's something that he would do. How
                                                                                       7 written consent, Lender may require immediate                7 would I know something...
                                                                                       8 payment in full of all sums secured by this                  8     Q The lawsuit was filed in 2015 and your
                                                                                       9 Security Instrument."                                        9 deposition was taken in 2016 in March, correct,
                                                                                       10        Did I read that correctly?                           10 March 9 --
                                                                                       11 A Yes.                                                      11 A I think so.
                                                                                       12 Q Is it your understanding from the second                  12 Q -- to be exact?
                                                                                       13 paragraph of Section 18 that the bank had the               13       And on March 8 your testimony is that
                                                                                       14 right to accelerate the entirety of the Deed of             14 your father prepared a loss mitigation statement
                                                                                       15 Trust indebtedness upon the transfer of the                 15 attempting to modify the terms of the loan
                                                                                       16 property from you to your father?                           16 documents because of your inability to pay the
                                                                                       17 A I don't know.                                             17 loan payments; correct?
                                                                                       18 Q Did you refer to this section to                          18 A No.
                                                                                       19 determine whether or not you created any problems           19 Q Yes, I think so, because it was all based
                                                                                       20 with SunTrust by virtue of the quitclaim deed to            20 on your inability to make the monthly payments,
                                                                                       21 your father?                                                21 you lost your job and you had no money to pay it.
                                                                                       22 A I don't remember.                                         22 A Okay.
                                                                                       23 Q Did you discuss it with your brother?                     23 Q Isn't that right?
                                                                                       24 A I don't remember. (Indecipherable).                       24 A I don't know. I guess.
                                                                                       25 Q Your brother was a lawyer at the time;                    25 Q It is also true that the house was burned
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 Transcript of Kendra Coral Rowe
               Salas
                                Date: August 27, 2021
                           Case: Brekelmans, et al. -v- Salas




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                                                                                                                                                    Transcript of Kendra Coral Rowe Salas                                       1 (1 to 4)

                                                                                                                                                        Conducted on August 27, 2021
                                                                                                                                                                 1                                                                           3
                                                                                               1              IN THE UNITED STATES BANKRUPTCY COURT                   1                    A P P E A R A N C E S
                                                                                               2               FOR THE MIDDLE DISTRICT OF TENNESSEE                   2
                                                                                               3                       Nashville, Tennessee                           3    ON BEHALF OF PLAINTIFFS:
                                                                                               4     - - - - - - - - - - - - - -x                                     4       PHILIP J. McNUTT, ESQUIRE
                                                                                               5    IN RE:                     :                                      5       LAW OFFICE OF PHILIP J. McNUTT, PLLC
                                                                                               6    LEN SALAS,                 :   CHAPTER 7                          6       11921 Freedom Drive, Suite 584
                                                                                               7    Debtor-in-possession       :   CASE NO:     18-02662              7       Reston, Virginia 20190
                                                                                               8                               :   JUDGE:     HARRISON                8       (703) 904-4380
                                                                                               9                               :                                      9
                                                                                               10    (Caption continued on next page)                                 10   ON BEHALF OF DEFENDANT:
                                                                                               11    - - - - - - - - - - - - - - - -x                                 11      PHILLIP G. YOUNG, JR., ESQUIRE
                                                                                               12                                                                     12      THOMPSON BURTON, PLLC
                                                                                               13                                                                     13      One Franklin Park
                                                                                               14             Deposition of KENDRA CORAL ROWE SALAS                   14      6100 Tower Circle, Suite 200
                                                                                               15                     Conducted Virtually                             15      Franklin, Tennessee      37067
                                                                                               16                   Friday, August 27, 2021                           16      (615) 465-6000
                                                                                               17                        2:50 p.m. EST                                17
                                                                                               18                                                                     18   ALSO PRESENT:
                                                                                               19                                                                     19      JUSTIN WOODWARD, AV Technician
                                                                                               20                                                                     20
                                                                                               21                                                                     21
                                                                                               22                                                                     22
                                                                                               23    Job No.: 393647                                                  23
                                                                                               24    Pages: 1 - 35                                                    24
                                                                                               25    Reported By: Cynthia A. Whyte                                    25



                                                                                                                                                                 2                                                                           4
                                                                                               1     (Caption continued from previous page)                           1                        C O N T E N T S
                                                                                               2                                                                      2    EXAMINATION OF KENDRA CORAL ROWE SALAS      PAGE
                                                                                               3    NICOLAAS BREKELMANS        :                                      3     By Mr. McNutt                                   5
                                                                                               4    AND GAIL GREGORY           :   ADVERSARY PROCEEDING NO.           4
                                                                                               5    BREKELMANS,                :   3:20-ap-90027                      5
                                                                                               6    CO-PERSONAL                :                                      6
                                                                                               7    REPRESENTATIVES OF         :                                      7
                                                                                               8    THE ESTATE OF NINA         :                                      8                        E X H I B I T S
                                                                                               9    BREKELMANS, et al.,        :                                      9                (Attached to the Transcript)
                                                                                               10   In their capacity as       :                                      10   KENDRA SALAS DEPOSITION EXHIBITS           PAGE
                                                                                               11   authorized                 :                                      11   Exhibit 4        Len Salas Bankruptcy
                                                                                               12   representatives of         :                                      12                    Schedules, 4/18/18          7
                                                                                               13   the Estate of Len          :                                      13   Exhibit 1        Subpoena                   10
                                                                                               14   Salas,                     :                                      14
                                                                                               15                Plaintiffs,   :                                      15
                                                                                               16   v.                         :                                      16
                                                                                               17   MAX SALAS,                 :                                      17
                                                                                               18                Defendant     :                                      18
                                                                                               19                                                                     19
                                                                                               20            Deposition of KENDRA CORAL ROWE SALAS,                   20
                                                                                               21    conducted virtually                                              21
                                                                                               22                                                                     22
                                                                                               23                                                                     23
                                                                                               24    Pursuant to notice, before Cynthia A. Whyte,                     24
                                                                                               25    Notary Public in and for the State of Maryland.                  25




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                                                                                                                                   Transcript of Kendra Coral Rowe Salas                              4 (13 to 16)

                                                                                                                                       Conducted on August 27, 2021
                                                                                                                                                      13                                                            15
                                                                                               1     Q Anyone else?                                        1 was aware of Max not being on that at that time.
                                                                                               2     A My cousin --                                        2     Q Okay. Now, you were present in July of
                                                                                               3     Q Okay.                                               3 2010 when the infamous trust and the quitclaim
                                                                                               4     A -- was --                                           4 deed were executed at Ron's office; right?
                                                                                               5     Q What about Ron Salas? I'm sorry; did I              5     A Yes.
                                                                                               6 cut off your answer?                                      6     Q And when you were there, what did you
                                                                                               7     A Oh, I said my cousin was visiting. It's             7 understand those documents to mean?
                                                                                               8  irrelevant.  But I remember her being there so I         8     A I thought it meant Len's name was going
                                                                                               9 told her about it.                                        9 to get off of the house officially and that it
                                                                                               10        And as far as Ron, I'm sure we discussed          10 would be put into the trust.
                                                                                               11 it at family gatherings. I don't recall dates or         11 Q Okay. Did you have any discussion with
                                                                                               12 content of those conversations.                          12 Ron, your husband, or Max concerning how that was
                                                                                               13 Q Okay. And what about your father-in-law,               13 going to happen?
                                                                                               14 Max Salas?                                               14 A Not that I recall. I thought that Max or
                                                                                               15 A I'm sure we also had communication with                15 Ron was going to file it right away and that it
                                                                                               16 him about this. I don't recall dates or                  16 was going to be put in place.
                                                                                               17 specifics.                                               17 Q All right. Do you know whether or not --
                                                                                               18 Q Did you understand at any time after your              18 A So that's what I assumed.
                                                                                               19 husband was sued that the reason he was sued was         19 Q Sorry. Do you know whether or not there
                                                                                               20 because he was the titled owner of the property?         20 were attempts to file the quitclaim deed at any
                                                                                               21 A Yes, that's -- well, yes.                              21 time after July 6, 2010?
                                                                                               22 Q Okay.                                                  22 A I don't know. Like I said, I thought it
                                                                                               23 A I mean, technically. I don't -- none of                23 had been done already.
                                                                                               24 us consider him the owner of the home. But, yes,         24 Q Did you have any discussions with your
                                                                                               25 I know what you mean, that it was in his name.           25 husband regarding any issues concerning the
                                                                                                                                                      14                                                            16
                                                                                               1     Q And when you say "none of us consider him           1 recordation of the quitclaim deed?
                                                                                               2 the owner of the home," what do you mean by that?         2      A I don't remember.
                                                                                               3     A That that house is Max', that we                    3      Q As you sit there today, do you have an
                                                                                               4 always -- you know, that Max lived there and took         4 understanding?
                                                                                               5 care of the home and that was Max' house.                 5      A Of what? I'm sorry.
                                                                                               6     Q Okay. But you were aware that your                  6      Q Do you have an understanding of any
                                                                                               7 husband was obligated to pay the mortgage at least        7 issues with respect to the recording of the
                                                                                               8 in the event that Max Salas did not pay it; right?        8 quitclaim deed?
                                                                                               9     A No.                                                 9      A I understand that it did not get put
                                                                                               10 Q You were not aware of that?                            10 through like it was supposed to or recorded, I
                                                                                               11 A No, because Max took care of the home,                 11 guess, as it was supposed to.
                                                                                               12 including the mortgage.                                  12 Q All right. Do you recall any
                                                                                               13 Q Were you aware that your husband was on                13 communications after 2012 concerning the quitclaim
                                                                                               14 the note to SunTrust for the entire mortgage             14 deed at all?
                                                                                               15 balance?                                                 15 A I don't know about the quitclaim deed
                                                                                               16 A Yes.                                                   16 specifically. I do know Len would -- I don't know
                                                                                               17 Q Had you ever seen the SunTrust loan                    17 how often, but every -- more than once a year
                                                                                               18 documents prior to today?                                18 would call his father and ask the status of
                                                                                               19 A Not that I remember.                                   19 getting his name off of everything. I don't know
                                                                                               20 Q Okay. Were you aware that your husband                 20 if that was specific to the quitclaim deed or the
                                                                                               21 was the only borrower on the SunTrust loan               21 mortgage.
                                                                                               22 documents?                                               22 Q And when you say "everything," you're
                                                                                               23 A Not that I remember. I don't know if I                 23 talking about the mortgage loan and the deed --
                                                                                               24 thought Max was on it as well. I'm aware now that        24 A Yes.
                                                                                               25 Len's name's on it. I don't know if at the time I        25 Q -- right?
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                                                                                                                                    Transcript of Kendra Coral Rowe Salas                                8 (29 to 32)

                                                                                                                                        Conducted on August 27, 2021
                                                                                                                                                        29                                                             31
                                                                                               1 sole purpose -- not the sole purpose, but for at            1     A I don't know.
                                                                                               2 least the partial purpose -- of taking Len's name           2     Q You haven't seen an original, though?
                                                                                               3 off the property, that all four people, including           3     A I don't know. I don't recall if the
                                                                                               4 the people that discussed it, created it,                   4 document he found was an original or a copy. I
                                                                                               5 registered it in Colorado forgot completely about           5 don't know.
                                                                                               6 the quitclaim deed? Doesn't that seem unusual to            6     Q As you sit here today, you can't remember
                                                                                               7 you?                                                        7 seeing an original of the quitclaim deed on or
                                                                                               8     A Do I think it's unusual?                              8 about February of 2018?
                                                                                               9     Q Yes.                                                  9     A I'm not sure how else to answer this. I
                                                                                               10 A No. I think it's unfortunate. That's                     10 have said I don't know. I'm not trying to be
                                                                                               11 five years. That's a long time for a document              11 rude. I don't know. I do not remember if the
                                                                                               12 that, like I said, I thought it had been filed or          12 document was the original or a copy. I did not
                                                                                               13 recorded. So to me it's just unfortunate. I                13 think at the time, four years ago, to look at the
                                                                                               14 can --                                                     14 copy or the original and note if it was a wet
                                                                                               15 Q If you had a document that stated that                   15 signature or if it was a copy of it. So I don't
                                                                                               16 you were the titled owner of a piece of property           16 know what else to tell you on that. I don't know.
                                                                                               17 and somebody challenged that like in a lawsuit,            17 I wish I knew and I wish I had a better memory for
                                                                                               18 wouldn't you remember to pull up that document and         18 you, but I do not know.
                                                                                               19 make sure everybody knew that you were the actual          19         MR. McNUTT: Kendra, that's all I have.
                                                                                               20 owner of the property?                                     20 And   I, again, appreciate your time and your
                                                                                               21 A I would hope so. That would be great;                    21 patience.
                                                                                               22 right?                                                     22         Madam Court Reporter, do you need to tell
                                                                                               23 Q Yeah.                                                    23 the witness about reading and signing and all of
                                                                                               24 A Like I said, we are all unhappy with                     24 that.
                                                                                               25 ourselves that we forgot that document.                    25         MR. YOUNG: Just a moment. Let me go on
                                                                                                                                                        30                                                             32
                                                                                               1     Q Oh, yeah, yeah, I'm sure you're all                   1 the record. This is Phillip Young.
                                                                                               2 unhappy. I think my clients are unhappy, too.               2         MR. McNUTT: Oh, I'm sorry, Phillip.
                                                                                               3         MR. McNUTT: All right, Kendra, I                    3         MR. YOUNG: I represent Max Salas. I
                                                                                               4 appreciate your bearing with me on this. Let me             4 have no questions for this witness. Thank you.
                                                                                               5 just make sure I don't need anything else.                  5         MR. McNUTT: Okay. Okay. Sorry; I
                                                                                               6     Q Oh, one other thing. Other than July 6,               6  should   have asked.
                                                                                               7 2010, have you ever seen a wet ink original of the          7         Madam Reporter?
                                                                                               8 quitclaim deed?                                             8         THE COURT REPORTER: It's up to you guys
                                                                                               9     A I don't know. I mean, I saw it when he                9 about reading and signing. I don't say anything
                                                                                               10 signed it. I don't know if I saw an original or a          10 about that.
                                                                                               11 copy after that. I don't know if what we had was           11        MR. McNUTT: Okay. Kendra, just for the
                                                                                               12 a copy or the original. I'm not sure.                      12 sake  of being professional about this, you are
                                                                                               13 Q Well, the copy that your husband said he                 13 entitled to read the transcript that the court
                                                                                               14 found in the file cabinet, is that the same copy           14 reporter provides or you can waive the reading.
                                                                                               15 that you produced --                                       15 If you waive the reading, then you accept whatever
                                                                                               16 A I had a --                                               16 the court reporter has put down. The court
                                                                                               17 Q -- or is that a different version?                       17 reporters are pretty good, but sometimes they hear
                                                                                               18 A I had a pdf of it, which I think is the                  18 things different than it was said or from the
                                                                                               19 same thing -- I thought it was the same thing as           19 pronunciation have the wrong words or things like
                                                                                               20 what Len had, but I'm not sure.                            20 that. So if you're concerned about that, then you
                                                                                               21 Q And Len said approximately February of                   21 would ask to read and sign, which means that the
                                                                                               22 2018, I'll even pin it down, but approximately             22 court reporter can provide you with a copy and you
                                                                                               23 February of 2018 is when he found the document in          23 have a period of time, I think it's 30 days, to
                                                                                               24 the file cabinet. That was not an original, that           24 review it and make any corrections that you
                                                                                               25 was a copy; correct?                                       25 believe should be in the record, and then that
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   Exhibit 15 M Salas-U.S. Bank Stipulation in Case No. 18-260 11-20-19 Page 3 of 5 APPX00697
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   Exhibit 15 M Salas-U.S. Bank Stipulation in Case No. 18-260 11-20-19 Page 4 of 5 APPX00698
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   Exhibit 15 M Salas-U.S. Bank Stipulation in Case No. 18-260 11-20-19 Page 5 of 5 APPX00699
           Case 18-00260-SMT                          Doc 13          Filed 05/02/18 Entered 05/02/18 15:28:00                               Desc Main
                                                                     Document      Page 5 of 10
 Debtor 1      Max E. Salas                                                                                Case number (if known)   18-00260


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

      
      
            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Len Salas                                                 4/6/2017, 5/3/2017,            $1,656.66            Unknown        Reimbursement of travel an
       1018 Vince Court                                          12/11/2017,                                                        other expenses associated
       Mufreesboro, TN 37128                                     2/27/2018,                                                         with Superior Court trials.
                                                                 4/5/2018


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      
      
            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       Len Salas                                                 3/26/2018                      $2,000.00            Unknown        Payment of attorney fees
       1018 Vince Court                                                                                                             associated with DC
       Mufreesboro, TN 37128                                                                                                        Superior Court Cases
                                                                                                                                    Paid to:
                                                                                                                                    Michael C. Forster, Esq.
                                                                                                                                    Forster Law Firm
                                                                                                                                    2007 Vermont Ave., NW
                                                                                                                                    Washington, DC 20001


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      
      
            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
                                                                                                                                     Pending
                                                                                                                                     On appeal
       Michael McLoughlin, Jr. et al. v.                         wrongful death             DC Superior Court
       Len Salas, et al.                                         and survival               500 Indiana Ave., NW
                                                                                                                                     Concluded
       2015 CA 0008054 B                                         actions                    Washington, DC 20001


                                                                                                                                     Pending
                                                                                                                                     On appeal
       Nina Brekelmans, et al. v. Len                            wrongful death             DC Superior Court
       Salas, et al.                                             and survival               500 Indiana Ave., NW
                                                                                                                                     Concluded
       2015 CA 0008061 B                                         actions                    Washington, DC 20001




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
       Case
         Case 3:23-cv-00987
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       Exhibit 16 M Salas Statement of Financial Affairs filed in Case No. 18-260 5-2-1 Page 1 ofAPPX00700
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          Case 18-00260-SMT                           Doc 13          Filed 05/02/18 Entered 05/02/18 15:28:00                                  Desc Main
                                                                     Document      Page 9 of 10
 Debtor 1      Max E. Salas                                                                                     Case number (if known)   18-00260


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      
      
            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

      
      
            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      
      
            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       CLR Inc.                                                  Revoked DC Corporatin with                          EIN:       XX-XXXXXXX
       1610 Riggs Place, NW                                      interests reverting to Debtor.
       Washington, DC 20009                                      Name of business used by debtor                     From-To    1995 - 2009
                                                                 following revokation.



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

      
      
            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
       Case
         Case 3:23-cv-00987
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       Exhibit 16 M Salas Statement of Financial Affairs filed in Case No. 18-260 5-2-1 Page 2 ofAPPX00701
                                                                                                   2
                                IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                                            Nashville, Tennessee

      In re:                                             :
                                                                 CHAPTER 11
      LEN SALAS                                          :       CASE No. 18-02662
                                                                 JUDGE: HARRISON
                          Debtor-in-possession           :

      NICOLAAS BREKELMANS AND GAIL :
      GREGORY BREKELMANS,
      CO-PERSONAL REPRESENTATIVES  :
      OF THE ESTATE OF NINA
      BREKELMANS, et al            :

      In their capacity as authorized                    :
      representatives of the Estate of Len Salas
                                                         :
                                         Plaintiffs

                    v.                                   : Adversary Proceeding No. 3:20-ap-90027

      MAX SALAS                                          :

                                         Defendant       :


                                          AMENDED RESPONSES TO REQUESTS
                                         FOR ADMISSIONS TO THE DEFENDANT

                Comes Now, Defendant, Max Salas (“Defendant”), and for his Amended Responses to

     Requests for Admissions to the Defendant (the “Discovery”)1, states as follows:

                                          GENERAL OBJECTIONS

               1.        Defendant’s Responses to the Discovery shall not constitute a waiver of his

     objections as to admissibility.

               2.        Defendant objects to the Discovery to the extent it exceeds the scope of permissible

     discovery.




   1
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  Case
     Case amendment  is being produced
          3:23-cv-00987
              3:20-ap-90027        Docpursuant
                                Document 74-18  to the
                                              14-1     Court’s
                                                    FiledFiled Order
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                                                                                       547Denying
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Exhibit 17 toMCompel
   Motion       SalasWritten
                       AmendedAnswers  to Discovery to
                                    Responses        andPlaintiffs
                                                         ProductionRequests
                                                                   of Documents    (Doc.
                                                                                 for     67) (the “Discovery
                                                                                      Admission     in Cas Order”).
                                                                                                                Page 1APPX00702
                                                                                                                        of 8
          3.         Defendant objects to the Discovery to the extent that the information sought is

    protected from discovery by the attorney-client privilege or the attorney work-product doctrine.

          4.         Defendant objects to the Discovery to the extent that the information and

    documents sought are not in his possession, custody or control.

          5.         Defendant objects to the Discovery to the extent that the information sought is

    irrelevant, immaterial and not reasonably calculated to lead to the discovery of admissible

    evidence.

          6.         Defendant objects to the Discovery to the extent that the information sought is

    equally available to Plaintiff as to Defendant.

          7.         Defendant objects to the definitions and instructions to the extent Plaintiff seeks

    to impose any requirement in excess of those imposed by the Federal Rules of Civil Procedure.

    Additionally, Defendant is not required by the Federal Rules of Civil Procedure to adopt, follow

    or utilize Plaintiff’s definitions and instructions, and Defendant’s Responses are based upon the

    governing provisions of the applicable Rules, laws and the ordinary and usual meaning of the

    words used, except as otherwise noted in the Responses.

           8.        Defendant reserves the right to supplement his Responses to the Discovery based

    upon subsequently acquired information as permitted by the Federal Rules of Civil Procedure.

                                         REQUESTS FOR ADMISSION

             1. That the Defendant does not have the original Quitclaim Deed allegedly created in
     July, 2010.
                Response: Admitted.

               2. That the Defendant is unaware of the location of the original Quitclaim Deed.
                  Response: Denied. Ron Salas has an original copy.

               3. That the Defendant did not attempt to record the Quitclaim Deed after 2010.
                  Response: Admitted.

               4. That the Defendant is unaware that the original Quitclaim Deed exists.
                  Response: Denied. Ron Salas has an original copy.

  Case
     Case   5. That the purpose
         3:23-cv-00987
            3:20-ap-90027       of the
                            Document
                              Doc      attempted
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Exhibit 17 M Salas Amended Responses to Plaintiffs Requests for Admission in Cas Page 2APPX00703     of 8
     Defendant to refinance the D.C. Property.
              Response: Admitted.

            6. That the Defendant tried to obtain refinancing after July, 2010 but was unsuccessful in
     doing so.
               Response: Admitted.

            7. That the Defendant made no attempts to refinance the D.C. Property after 2012.
               Response: Denied.

           8. That all D.C. notices regarding the Property, after 2007, were addressed to Len Salas
     as owner of the Property.
               Response: Admitted.

            9. That the Defendant did not want the Property in his name after 2010 so that he could
     avoid any tax or other obligations in his name.
                Response: Denied. Titling the Property in Len Salas’ name had nothing to do
     with tax obligations or any other obligations.

            10. That during the period, 2008 through March, 2018, there were outstanding, overdue,
     unpaid federal income taxes owed by you.
                Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information. Notwithstanding that objection, and
     pursuant to the Court’s Discovery Order, Defendant admits that there were outstanding,
     overdue, unpaid federal income taxes owed by him during the time period 2015-2018.

            11. That during the period, 2008 through March, 2018, there were outstanding, overdue,
     unpaid D.C. property taxes owed against the Property.
               Response: Denied. Property taxes were paid from 2008 – 2018.

            12. That during the period, 2008 through March, 2018, there were outstanding, overdue,
     unpaid local utilities’ obligations owed against the Property.
               Response: Denied. Utilities were paid from 2008-2018.

            13. That during the period, 2008 through March, 2018, there were outstanding, overdue,
     unpaid fines for violations of D.C. ordinances against the Property.
               Response: Denied. Defendant is aware of no unpaid fines from 2008-2018.

            14. That during the period, 2008 through March, 2018, there were outstanding, overdue,
     unpaid federal income taxes owed by you.
                Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information. Notwithstanding that objection, and
     pursuant to the Court’s Discovery Order, Defendant admits that there were outstanding,
     overdue, unpaid federal income taxes owed by him during the time period 2015-2018.

            15, That the Defendant was aware, in 2016 that his son Ron Salas and his son Len Salas,
    both had, or should have had, copies of the 2010 Quitclaim Deed.
                   Response: Denied. Defendant was unaware in 2016 that Ron Salas or Len Salas
   had
  Case  copies
     Case      of the
         3:23-cv-009872010 Quitclaim
            3:20-ap-90027   Document Deed.
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Exhibit 17 M Salas Amended Responses to Plaintiffs Requests for Admission in Cas Page 3APPX00704    of 8
            16. That from 2007 through April 18, Len Salas was the sole obligor under the Sun Trust
     loan documents executed in 2007.
               Response: Admitted.

            17. That Max Salas had no written agreement or understanding with Len Salas that Max
     was responsible for the Sun Trust Mortgage/Deed of Trust obligation.
               Response: Admitted.

           18. That Max Salas was not a listed or added obligor or guarantor under the SunTrust
     Deed of Trust obligation or Note.
               Response: Admitted.

            19. That Max Salas did not notify Sun Trust or the D.C. government that he was an
     obligor under the Sun Trust Deed of Trust.
               Response: Denied. Max Salas notified SunTrust that he was obligated under the
     Deed of Trust.

            20. That Max Salas did not notify D.C. or any taxing authority that he was the owner of
     the DC Property.
                Response: Denied. Max Salas has recorded the DC Bankruptcy Court order
     which declares him the owner. Max Salas also filed a homestead exemption with the
     Register of Deeds in 2012.

             21. That the document attached as Exhibit B to the Amended Complaint filed herein is a
     true and correct copy of the Order Confirming Debtor’s Third Amended Plan of Reorganization
     and The Third Amended Chapter 11 Plan of Reorganization Dated January 22, 2020.
                Response: Admitted.

             22. That the transcript of your testimony in the bankruptcy case of Len Salas, Case No.
     3:18-bk-02662 “the Len Salas Case”), dated December 12, 2018 is a true and correct copy of
     your testimony on December 12, 2018 in Nashville, Tennessee.
                Response: Admitted.

             23. That you were present at all times, during the hearing on the attempted confirmation
     of the Debtor’s proposed Chapter 11 Plan, the Len Salas Case, on December 12 and 13, 2018.
                Response: Admitted.

           24. That you were represented by counsel at that hearing, including Mr. Cox, Mr. Albert
     and Mr. Young.
              Response: Admitted.

            25. That on or about July 6, 2010 you visited your son, Ron, at his residence in Colorado
     along with your son, Len, and his wife.
               Response: Admitted.

             26. That all lease payments for rental income from the rental of all or part of the DC
    Property from the period May, 2007 through April, 2018 were deposited into an account in the
    name
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              the CLR Trust.Document
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Exhibit 17 M Salas Amended Responses to Plaintiffs Requests for Admission in Cas Page 4APPX00705         of 8
               Response: Denied as stated. Some, but not all, lease payments for rental income
     from the DC Property from May 2007 through Aprils 2018 were deposited into a CLR Trust
     bank account.

            27. That there was no active bank account in the name of “CLR” other than the CLR
     Trust during the period between July, 2010 and April, 2018.
                Response: Defendant can neither admit nor deny this Request as he does not
     understand the question as stated.

            28. That you did not provide copies of bank statements, canceled checks, or other bank
     records related to any bank account on which you were a signatory, or in which you deposited
     funds as part of your document production to the Plaintiffs in the matter of their objection to your
     claim of exemption in the Salas Bankruptcy.
                  Response: Defendant objects to this Request on the grounds that it is irrelevant and
     unlikely to lead to any discoverable information.

            29. That as of June 1, 2015 you had a copy of the signed Quitclaim Deed in your
     possession.
               Response: Admitted.

             30. That on and after July 6, 2010 you were aware that you had received the only signed,
     original Quitclaim Deed.
                Response: Denied. Defendant later became aware that other signed, original
    copies of the Quitclaim Deed existed.

            31. That the sole purpose of the Quitclaim Deed was to allow you the opportunity to
     refinance the Property so that your son would no longer have Deed of Trust obligation to Sun
     Trust Bank, or any other lender associated with the Property.
                Response: Denied. Another purpose of the Quitclaim Deed was to secure a
     mortgage with a lower interest rate than the SunTrust Deed of Trust carried.

            32. That the source of the funds to be used by your son, Ron, to purchase the Trustee’s
     Avoiding and Recovery Powers from Mr. Gigandet in the L Salas Bankruptcy was funds owned
     and controlled by you.
                 Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information.

            33. That all at times after commencement of the Superior Court Litigation you were
     aware of the existence of the Quitclaim Deed and the Riggs Property Trust.
                Response: Denied.

            34. That, at all times after commencement of the Superior Court Litigation you were
     aware that your sons, Ron and Len, had copies of the Quitclaim Deed.
               Response: Denied.

             35. That your son, Ron Salas, a Colorado lawyer was aware of the pendency of the
     Superior Court Litigation almost immediately after its commencement in 2015.
                 Response: Defendant objects to this Request on the grounds that it is
     irrelevant
  CaseCase      and unlikely to
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Exhibit 17 M Salas Amended Responses to Plaintiffs Requests for Admission in Cas Page 5APPX00706    of 8
            36. That your son, Ron, was aware that the only reason your other son, Len, was a
     defendant in the Superior Court Litigation is because he was the titled owner of the Property.
                 Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information. Defendant further objects on the
     grounds that the Request seeks information from Defendant regarding the mental
     impressions of a third party.

             37. You were aware, prior to 2016, that the only reason your son, Len, was a Defendant
     in the Superior Court Litigation was because he was the titled owner of the Property.
                 Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information.

             38. That your son, Len, was physically present at your deposition in the Superior Court
     Litigation held on February 24, 2016.
                 Response: Admitted.

            39. That you were physically present at Len’s deposition in the Superior Court Litigation
     held on March 9, 2016.
                Response: Admitted.

            40. That you were unaware of the possibility that the Property could be exempted in a
     bankruptcy proceeding by you until after you spoke to Mr. Marc Albert in early 2018.
                Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information. Defendant further objects on the
     grounds that the Request seeks information that is protected by the attorney-client privilege.

             41. That you have not contacted Ms. Sylvia Jones regarding the location or existence of
     the original Quitclaim Deed since June, 2015.
                  Response: Admitted.

            42. That you have not contacted Stan Goldstein or Capitol Title regarding the location or
     existence of the original Quitclaim Deed since June, 2015.
                 Response: Denied.

             43. That you made no payments against the Sun Trust Deed of Trust Note during the
     period June 1, 2015 through October, 2019.
                 Response: Denied.

            44. That the Note balance as of April, 2007 totaled approximately $870,000.
                Response: Admitted.

            45. That the Note balance as of June, 2010 totaled more than $870,000.
                Response: Defendant is without sufficient knowledge to admit or deny this Request.

            46. That the Note balance as of July, 2010 totaled more than $870,000.
                Response: Defendant is without sufficient knowledge to admit or deny this Request.

  Case
     Case   47. That the Note
         3:23-cv-00987
            3:20-ap-90027     balance
                           Document
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                                   74-18 of the commencement
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Exhibit 17 M Salas Amended Responses to Plaintiffs Requests for Admission in Cas Page 6APPX00707      of 8
     than $1,030,825.86.
                Response: Admitted.

            48, That the Note balance as of October 23, 2019 was $1,208,720.40.
                  Response: Admitted.

            49. That the Proof of Claim filed by the Internal Revenue Service (“the IRS Claim”) in
     your bankruptcy case on December 16, 2018 (C-2-1) is a true and correct copy of the IRS claim
     which was allowed under your Confirmed Plan.
                 Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information.

             50. That you did not object to the IRS Claim and it remains an allowed secured and
     priority claim allowed in the Salas Bankruptcy.
                  Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information.

            51. That from the period 2008 through May, 2015 you rented multiple rooms at the
     Property, from time to time.
                 Response: Admitted.

             52. That from the period 2008 through 2018 you did not declare the income from the
     rentals of rooms at the Property as income on your Federal or D.C. Income Tax Returns.
                  Response: Defendant objects to this Request on the grounds that it is irrelevant
     and unlikely to lead to any discoverable information.

            53. That from 2008 through the present, all notices from the District of Columbia and all
     tax forms related to the Property were addressed to Len Salas.
                 Response: Defendant objects to this Request on the grounds that it is duplicative.

            54. That the Complaint is made by the Plaintiffs on behalf of the bankruptcy estate of
     Len Salas.
                Response: Admitted.

             55. That Salas had no communications with the Trustee concerning the Quitclaim Deed
     or the Riggs Property Trust until sometime after March, 2019.
                 Response: Denied. Defendant’s first communications with the Trustee
     concerning the Quitclaim Deed and the Riggs Property Trust occurred in December 2018.

            56. That neither Salas nor Len produced a copy of the Quitclaim Deed or the Riggs
     Property Trust in their document production as part of the Superior Court Litigation.
                Response: Admitted.

            57. That neither Salas nor Len provided the original or a copy of the Quitclaim Deed or
    Riggs Property Trust to Plaintiffs or their counsel (in the Superior Court Litigation) until after
    February 15, 2018.
                Response: While Defendant cannot admit to an exact date, Defendant admits that
    it was sometime after this general timeframe.
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Exhibit 17 M Salas Amended Responses to Plaintiffs Requests for Admission in Cas Page 7APPX00708         of 8
            58. That the intent of the attempted Quitclaim Deed in July, 2010 was to remove Len
    Salas from any liability related to the DC Property.
                Response: Defendant denies that this was the only reason for the Quitclaim
    Deed, as explained in other responses herein.

           59. That the intent of the Riggs Property Trust was to avoid having the property in the
    name of Max Salas.
                Response: Admitted, but the transfer to the trust was only done to aid in
    refinancing the note.

          60. That the intent of the Riggs Property Trust was to avoid income tax liability of, or by,
    Max Salas.
               Response: Denied.

            61. That Salas was unaware he could exempt his alleged interest in the DC Property until
    after 2017.
                 Response: Defendant objects to this Request on the grounds that it is irrelevant and
    unlikely to lead to any discoverable information.

           62. That Salas did not attempt to locate a copy of the Quitclaim Deed or Riggs Property
    Trust until 2018.
                 Response: Admitted.

            63. That Salas was unaware of any assets owned or controlled by Len over the value of
    $25,000 in July, 2010.
                Response: Admitted, because Defendant had little knowledge of Len Salas’ assets
    in July 2010.

           64. That Salas had more than one conversation with Len after 2010 about removing Len
    from the title to the DC Property.
                 Response: Admitted.

           65. That Salas had more than one conversation with Len after 2010 about eliminating
    Len as an obligor on obligation(s) secured by the DC Property.
               Response: Admitted.


                                                Respectfully submitted,

                                                /s/ Phillip G. Young_________________
                                                Phillip G. Young (TN 021087)
                                                THOMPSON BURTON, PLLC
                                                6100 TOWER CIRCLE, SUITE 200
                                                FRANKLIN, TENNESSEE 37067
                                                (615)-465-6008
                                                phillip@thompsonburton.com

                                                Attorneys for Defendant
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 Fill in this information to identify your case:

 Debtor 1                   Max E. Salas
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF DISTRICT OF COLUMBIA

 Case number           18-00260
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Internal Revenue Service                 Describe the property that secures the claim:                   $6,766.92                Unknown                      $0.00
         Creditor's Name                          All property
         Cental Insolvency
         Operation
         PO Box 7346                              As of the date you file, the claim is: Check all that
                                                  apply.
         Philadelphia, PA                             Contingent
         19101-7346
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)   IRS Tax Lien
     community debt

                                 2009, 2010,
 Date debt was incurred          2011                      Last 4 digits of account number        2714


 2.2     SunTrust Mortgage, Inc.                  Describe the property that secures the claim:             $1,030,825.86            $2,500,000.00                      $0.00
         Creditor's Name                          1610 Riggs Place, NW Washington,
                                                  DC 20009
                                                  Property held in name of 1610 Riggs
                                                  Property Trust through unrecorded
                                                  2010 Quitclaim Deed
         ATTN: Client Services -                  trust collapsed on creation through
         RVW 30                                   merger to convey property to debtor
         P.O. Box 26149                           DC Records displays owner as Len
                                                  As of the date you file, the claim is: Check all that
         Richmond, VA                             apply.
         23260-6149                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                   UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF COLUMBIA

              IN RE:                      .                 Case No. 18-00260-smt
                                          .
              MAX E. SALAS,               .
                                          .                 Washington, D.C.
                            Debtor.       .                 August 22, 2018
                                          .
              . . . . . . . . . . . . . . .


                        TRIAL ON THE OBJECTION TO HOMESTEAD EXEMPTION
                                         VOLUME 1 OF 3
                           BEFORE THE HONORABLE S. MARTIN TEEL, JR.
                           TRANSCRIPT ORDERED BY: PHILIP J. McNUTT

              APPEARANCES:
              For the Debtor:                   Stinson Leonard Street, LLP
                                                By: MARC E. ALBERT
                                                    JOSHUA W. COX
                                                1775 Pennsylvania Avenue, NW
                                                Suite 800
                                                Washington, D.C., 20036
                                                (202) 728-3020

              For the Creditors:                By: PHILIP J. McNUTT
                                                11921 Freedom Drive
                                                Suite 584
                                                Reston, Virginia 20190
                                                (703) 904-4380

              Court Recorder:                  THE CLERK

              Transcribed By:                  MS. KRISTEN SHANKLETON




              Proceedings recorded by electronic sound recording.
              Transcript prepared by transcription service.




               _______________________________________________________________
                                       MODERN COURT REPORTING & VIDEO, LLC
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                                               Saline, Michigan 48176
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              **Transcriptionist's note: The notations of
              "(unintelligible)" in this transcript are due to the audio
              recording levels being turned up too high, or individuals
              speaking outside of the vocal capture range of the
              microphone.




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          1   she signed it back over to me, right?

          2          Q.    I'm sorry?

          3          A.    She -- what do you mean?             Can you ask the question

          4   -- what does convey mean for sure?

          5                I'm -- she signed it back over to me?

          6          Q.    Did you understand that she signed the property

          7   back over to you, in your words, in April of 2007?

          8          A.    Yes.

          9          Q.    All right.

        10                 And the purpose of that was to allow you to live

        11    in the property and to also obtain funds to pay her as part

        12    of the divorce settlement, correct?

        13           A.    Well, I lived in the property since 1995 when we

        14    bought the property together.

        15           Q.    I understand that, but what was the purpose -- let

        16    me try it this way.

        17                 In April 2007 you conveyed the property to your

        18    son, correct?
        19           A.    What do you mean by convey?              Can you tell me that?

        20           Q.    Did you sign a deed --

        21           A.    Yes.

        22           Q.    -- of the property to your son Len?

        23           A.    Yes.

        24           Q.    Okay.

        25                 And the purpose of that was so that he could




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          1   obtain a deed of trust on the property to pay your ex-wife,

          2   correct?

          3          A.    Well, I signed it over to him so we could get a

          4   loan to pay my ex-wife for her half of the settlement in

          5   the divorce.

          6          Q.    Okay.

          7                And you son agreed to do that, correct?

          8          A.    Yes.

          9          Q.    All right.

        10                 And when you say "we obtained a loan," were you on

        11    the loan?

        12           A.    I promised my son that I would pay for the loan,

        13    yes.

        14           Q.    Is that in writing?

        15           A.    I promised my -- I know it was my word to my son.

        16           Q.    What was that -- that wasn't my question.                    My

        17    question is was that promise in writing?

        18           A.    No.
        19           Q.    Okay.

        20                 Now, at the time in 2007 there was a deed of trust

        21    taken out on the property through SunTrust Mortgage,

        22    correct?

        23           A.    Yes, sir.

        24           Q.    And that deed of trust and the loan was taken out

        25    by your son Len Salas, correct?




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          1          A.    Yes, sir.

          2          Q.    And he was the only person obligated on that loan,

          3   correct?

          4          A.    Technically, yes.          Yes, sir.

          5          Q.    Technically, legally on paper, all of that,

          6   correct?

          7          A.    Well, I promised him that he wouldn't have to pay

          8   for the loan, that I would pay for the loan.

          9          Q.    I understand, but who was responsible for paying

        10    the loan according to the loan documents as you understood

        11    them?

        12           A.    I was responsible for paying the loan.

        13           Q.    Under the loan documents as you understood them

        14    you were responsible to make the payments on the loan?

        15           A.    Yes.     I've made every payment on every -- on that

        16    loan since 1995 to today.

        17           Q.    Did you sign the promissory note to SunTrust?

        18           A.    I didn't sign a promissory note to SunTrust.
        19           Q.    Okay.

        20                 Now, during the course of -- let's go back to the

        21    period subsequent to 2007 when these deeds transferring the

        22    property from Ms. Bruff to you, and from you to your son,

        23    were created.        Do you remember that timeframe?

        24           A.    Yes, sir.

        25           Q.    All right.




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          1                And it's true that shortly after that timeframe

          2   your son started asking you to undertake to get him off of

          3   the deed to the property, is that correct?

          4          A.    Yes.

          5          Q.    And that was something that he was consistently

          6   asking you to do even through 2018, correct?

          7          A.    Yes, every opportunity he could every -- yes.                     He

          8   wanted off the loan.

          9          Q.    Okay.

        10                 And what efforts did you undertake to get him off

        11    the loan between, well, let's start with the period between

        12    2007 and July of 2010?

        13                 And the reason I'm using July of 2010 is because

        14    that was the month in which the alleged trust -- and I'm

        15    saying alleged trust, you might believe it's a trust I

        16    understand, was created in Colorado -- during that period

        17    of time, how many times would you say your son contacted

        18    you with respect to getting his name off the property, the
        19    Riggs Place Property?

        20           A.    So let me make sure I understand your question.

        21    From 2010 to 2007 -- from 2007 to 2010, three years?

        22           Q.    Yes, sir.

        23           A.    I would say at least three times or four times a

        24    year, so that would be twelve times.

        25           Q.    Okay.




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          1                Now, did your son talk to you about taking his

          2   name off the deed after July of 2010?

          3          A.    Yes.     Well -- yes.       No, he -- he talked to me

          4   about taking his name off the loan.

          5          Q.    Did he talk to you about taking his name off the

          6   property?

          7          A.    No, he'd already taken his name off the property.

          8          Q.    When did he do that?

          9          A.    He signed it over to me, he signed it over to my

        10    trust on 2010, July 6th of 2010.

        11           Q.    So after July of 2010 it's your position that your

        12    son was no longer on the property, no longer an owner of

        13    the property, is that correct?

        14           A.    That's correct, sir.

        15           Q.    Okay.

        16                 Now, during the course of the Superior Court

        17    litigation in the District of Columbia, there were

        18    depositions taken of you and your son in 2016.                      Do you
        19    remember that?

        20           A.    Repeat the question, please.

        21           Q.    Yes.

        22                 Do you remember the depositions that were taken of

        23    you and your son in the Superior Court case, and when I say

        24    Superior Court case I'm talking about the personal injury

        25    and wrongful death litigation --




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          1                 THE COURT:

          2                 BY MR. McNUTT:

          3          Q.     Let me refer you to page 113 of the same

          4    deposition, Mr. Salas.

          5                 MR. ALBERT:       Judge, did he -- you took the whole

          6    transcript into evidence, right?

          7                 THE COURT:       I took pages 117 through 120.

          8                 MR. ALBERT:       Not the whole thing.           Okay.

          9                 THE COURT:       Into evidence.

         10                 BY MR. McNUTT:

         11          Q.     Are you with me, Mr. Salas?              Page 113?

         12          A.     Yes, sir.

         13          Q.     All right.

         14                 Starting on line 7 of page 113, the question,

         15    again I believe this is Mr. Curnonni?

         16          A.     Yes, sir.

         17          Q.            "Did you, after you got the mortgage

         18                 in the years prior to the fire, did you
         19                 ever have a discussion with your father

         20                 with regards to transferring ownership of

         21                 the property to him?"

         22                 Did I read that correctly?

         23          A.     Yes, sir.

         24          Q.     And his answer is, "Yes," on line 11, correct?

         25          A.     Yes, sir.




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          1    Murfreesboro.        It went from the truck to the garage.                  It's

          2    always been in the garage since.                Whenever we moved to the

          3    Murfreesboro, whatever date that was.

          4                 THE COURT:       All right.

          5                 THE WITNESS:        December of 2016 -- well -- right?

          6                 THE COURT:       Okay.

          7                 December of 2017, a few months before the trial?

          8                 THE WITNESS:        I guess the filing cabinet at --

          9    yeah.      What -- no.      So I'd been -- yeah, I guess it'd been

         10    in there for a year.

         11                 THE COURT:       Thank you.

         12                 THE WITNESS:        Or a year --

         13                 THE COURT:       That clears that up.           Thank you.

         14                 THE WITNESS:        A year and some change.            But it was

         15    stuck in the corner with a whole bunch of stuff in front of

         16    it, so I never looked in it.              Hardly ever.

         17                 MR. McNUTT:       All right.

         18                 May I continue, Your Honor?
         19                 THE COURT:       Yes.

         20                 MR. McNUTT:       Thank you.

         21                 BY MR. McNUTT:

         22          Q.     I just want to be clear, prior to sometime in the

         23    weeks before trial you never talked to your brother about

         24    produce, your brother Ron, about producing a copy of the

         25    trust document, is that correct?




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          1          A.     When?     What was the timeframe?            What was your --

          2          Q.     Prior to, let's say prior to March of 2018.

          3          A.     No.

          4          Q.     Okay.

          5          A.     I guess --

          6                 THE COURT:       Did you know he had a copy?

          7                 THE WITNESS:        No, I didn't -- I mean in retrospect

          8    I thought all, you know, the day we signed it he put a copy

          9    in it, but I didn't think about that at the time, and, that

         10    he kept an electronic copy.              So I don't know.         And then I

         11    don't know when he and Marc got together and decided, and

         12    said, "Send me the files."             I don't know when that

         13    happened.

         14                 BY MR. McNUTT:

         15          Q.     Do you know if your father Max ever requested a

         16    copy of the trust documents from your brother prior to

         17    March of 2018?

         18          A.     I don't know if he requested a copy.                  I assume he
         19    got a copy like I did the day we signed it, but I don't

         20    know if he requested a copy.

         21          Q.     Do you know if your wife requested a copy from

         22    your brother?

         23          A.     Yeah, the day we signed it.              Yeah, I guess.        I

         24    mean --

         25          Q.     And what about during the timeframe after the




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          1    signature in July of 2015 through March of -- through

          2    February of 2018?

          3          A.     Uh --

          4          Q.     Did your wife ask for a copy?

          5          A.     No, I assume she forgot it just like I did.

          6          Q.     So --

          7          A.     And then, you know.

          8          Q.     So the important issue with respect to your

          9    liability was your ownership of the property, and you knew

         10    that from the date that the lawsuits were filed in October

         11    of 2015 yet -- and your brother had knowledge of the

         12    lawsuit, your wife had knowledge of the lawsuit, your

         13    father had knowledge of the lawsuit, and you had knowledge

         14    of the lawsuit, and none of the four of you thought to come

         15    up with a copy of the trust document that you claim deeded

         16    the property from you to your father which would have

         17    absolved you from liability of the lawsuit, none of you

         18    thought to obtain a copy of that from your brother through
         19    February of 2018?          That's what you're telling me?

         20          A.     Yeah.     We all forgot about it.            Which is --

         21          Q.     Okay, now is that the only trust that you're aware

         22    of with respect to the family?

         23          A.     There's a -- no.

         24          Q.     Sorry?

         25          A.     Yes.




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          1          Q.     It's not the only one?

          2          A.     There's a CLR Trust or something.                I don't know.

          3          Q.     Okay.

          4                 What do you know about the CLR Trust?

          5          A.     That it exists.         That's about it.         I have no idea.

          6          Q.     Have you ever seen a copy of the trust documents?

          7          A.     No.

          8          Q.     Did you ever ask your brother for a copy of the

          9    trust documents?

         10          A.     No.

         11          Q.     Did you ever ask your father for a copy of the

         12    trust documents?

         13          A.     No.

         14          Q.     All right.

         15                 In your deposition, would you look at paragraph --

         16    I'm sorry.       Would you look at document 15 again in the

         17    white binder?

         18                 That's your deposition transcript.
         19          A.     What page again?

         20          Q.     This would be on page 8.             And it refers to

         21    transcript pages 29 through 32.

         22          A.     Uh-huh.

         23          Q.     Do you see that?

         24                 I'm looking specifically at page 29, starting at

         25    line 9.




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          1          A.     Yes.

          2          Q.     Okay.     And you were asked the question:

          3                        "What do you know about the 1610

          4                 Salas Trust?"

          5          A.     Yeah.

          6          Q.     All right.

          7                 Do you know what the reference to the 1610 Salas

          8    Trust is?

          9          A.     Oh, no, I mean, no.           Uhm -- actually, no.           Not

         10    quite.     See, it says not much.            It's an account.         I thought

         11    it was an account.

         12          Q.     And what made you think it was an account?

         13          A.     Because he, when I got that call from SunTrust

         14    saying that the mortgage hadn’t been paid, I said what

         15    happened.      He says, "Well, I've set up this account for

         16    1610 so all the rent checks go into there, and then I pay

         17    that."     And I guess one check didn't clear before they

         18    pulled my check.         I -- something.         I got some kind of
         19    answer like that.          Something to that effect.

         20          Q.     And that's what your father told you?

         21          A.     So that's what I thought, that's what I referred

         22    to.

         23          Q.     But that's what your father told you, right?

         24          A.     Correct.

         25          Q.     Is that what you're saying?




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          1                 Okay.     And he filled you in on an account in the

          2    name the Salas Trust?

          3          A.     Yeah.

          4          Q.     Okay.

          5          A.     But I don't --

          6          Q.     And that's --

          7          A.     I don't --

          8          Q.     And that's where the rents were paid?

          9          A.     Excuse me?

         10                 I don't know if -- I couldn't --

         11          Q.     And that's where the rents were paid?

         12          A.     I think.

         13          Q.     Okay.

         14          A.     I assume.       I don't know.        That's what he's told

         15    me, so I don't know.

         16          Q.     Okay.

         17                 And that's what he told you.              When did he tell you

         18    that?
         19          A.     I don't know.        I don't remember.

         20          Q.     Sometime prior to the fire?

         21          A.     Yes.

         22          Q.     Okay.

         23                 And he, did he tell you what the purpose of the

         24    account was?

         25          A.     To pay the rent I guess, or to pay the mortgage.




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          1          Q.     Okay.     All right.

          2                 Continuing, you say, you say in answer to the

          3    question what do you know about the 16 Salas Trust (sic),

          4    you say, starting in line 10:

          5                        "Not much.       It is an account.

          6                        Question:      What does that mean?

          7                        Answer:     It is some kind of account,

          8                 I guess. I don't really know.               I don't

          9                 really know, really.           It is just the

         10                 trust."

         11          A.     Uh-huh.

         12          Q.     Continuing:

         13                        "Question:       Do you have any personal

         14                 knowledge regarding 1610 Salas Trust?

         15                        Answer:     No, actually, I mean what I

         16                 found out the other day from your

         17                 deposition of my father is what I know."

         18          A.     Right.
         19          Q.     So do I understand from that testimony that the

         20    first time you heard of the 1610 Salas Trust is at the

         21    deposition of your father in the Superior Court case?

         22          A.     I guess.      Well, I -- sorry.          There -- I -- yeah.

         23    He -- I'm not sure, to tell you the truth.

         24                 What was the question?            I'm sorry.

         25          Q.     The question is whether you had any knowledge of




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          1    the 1610 Salas Trust outside of the testimony of your

          2    father in his deposition in the Superior Court case?

          3          A.     Uh --

          4                 THE COURT:       Whether he had knowledge as of what

          5    point, Mr. McNutt?

          6                 MR. McNUTT:       This would have been at the time of

          7    the depositions which were in February and March of 2018.

          8                 THE COURT:       So rephrase the question to be precise

          9    --

         10                 MR. McNUTT:       Sure.

         11                 THE COURT:       -- as to the time of the state of his

         12    knowledge.

         13                 MR. McNUTT:       Sure.     Thank you, Your Honor.

         14                 BY MR. McNUTT:

         15          Q.     Is it your understanding, is it -- am I correct

         16    based on your answer that I've just read that as of

         17    approximately March 9, 2016 the only knowledge you had

         18    concerning the 1610 Salas Trust was knowledge obtained from
         19    the testimony of your father at his deposition in February

         20    of that same year?

         21          A.     I don't know.

         22          Q.     Are you aware of any other information or

         23    knowledge that you had regarding the 1610 Salas Trust?

         24          A.     I don't know.        I don't remember.          I don't know.

         25          Q.     Okay.




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          1    think it's supposed to mean:

          2                        "Why did your wife want to transfer

          3                 ownership?

          4                        Answer:     Because she didn't want that

          5                 in my name.       Same thing for the reason I

          6                 guess."

          7                 That was your answer, correct?

          8          A.     Uh-huh.      For the --

          9          Q.     All right.

         10                 Would you turn then to page 116?                That's

         11    on the same typed page, but transcript page 116.

         12          A.     Yes, I have it.

         13          Q.     All right.

         14                 Starting on line 13, the question is:

         15                        "How many conversations did you have

         16                 with your father about potentially

         17                 transferring ownership of the building to

         18                 him?
         19                        Answer:     Multiple.

         20                        Question:      When was the last time you

         21                 had such a conversation prior to the fire?

         22                        Answer:     That spring since we were in

         23                 that summer."

         24                 Did I read that correctly?

         25          A.     You read it correctly, yes.




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          1          Q.     All right.

          2                 So in 2015, five years after you executed the

          3    trust documents and five years after you believe that you

          4    deeded the property to your father, you're still asking the

          5    father to transfer ownership of the property to him?

          6          A.     The mortgage is what I was talking about.

          7          Q.     It doesn't say mortgage here, does it?

          8          A.     Yeah, but that's what I was referring to.

          9          Q.     Well, you were referring to ownership in the

         10    property, weren't you?

         11          A.     No, because it said the mortgage because I said I

         12    want to buy my house.           The reason I couldn't buy my, well,

         13    the house that I live in that was currently my wife's, is

         14    because I couldn't because of my credit that was on the

         15    1610 Riggs Place.          So I couldn't buy, I quote/unquote

         16    "couldn't buy" my house or have my house, my name on my

         17    house because my credit wasn't good enough to get, to have

         18    two houses.
         19          Q.     Okay, let's try this again.

         20                 If you look on page 113, please?

         21          A.     Uh-huh.

         22          Q.     The question is, starting in line 8:

         23                        "Did you ever have a discussion with

         24                 your father with regards to transferring

         25                 ownership of the property to him?"




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          1                 And your answer was:

          2                        "Yes."

          3           A.    Where does --

          4           Q.    It doesn't ask you --

          5           A.    -- it say that?

          6           Q.    -- about a mortgage.           It asks about transferring

          7    ownership of the property, right?

          8           A.    Line 7, "Do you...did you do...you got the

          9    mortgage in the years..."             So I thought when he said

         10    mortgage, I assumed he was talking about the mortgage.

         11    Line 7 on page 13.

         12           Q.    So you read the:

         13                        "Did you, after you got the mortgage

         14                 in the years prior to the fire, did you

         15                 ever have a discussion with your father

         16                 with regards to transferring ownership of

         17                 the property to him?"

         18                 You read that to mean transferring the mortgage to
         19    him?

         20           A.    Yes.

         21           Q.    Okay.

         22                 And page 116, paragraph, starting on line 13 it

         23    says:

         24                        "How many conversations did you have

         25                 with your father about potentially




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          1                 transferring ownership of the building to
          2                 him?"
          3                 Doesn't say anything about a mortgage, does it?
          4          A.     Well, I guess I misunderstood the question because
          5    I mean, I thought he was speaking of mortgage, and I said
          6    multiple times.         I said multiple.
          7          Q.     Does it say mortgage there or note?
          8          A.     I thought he was referring to mortgage.

          9          Q.     All right.
         10                 Let's go to page 117 then.             I think we have to
         11    start at the last page, 116 on line 22.                   Do you see page
         12    116 at the very end of the, Mr. Salas?
         13          A.     Uh-huh.
         14          Q.     All right.
         15                 It ways:

         16                        "What was the catalyst..."
         17                 And this is referring to the conversation that you
         18    had in the spring or summer of 2015, okay?

         19          A.     Uh-huh.
         20          Q.            "What was the catalyst for that specific

         21                 conversation?
         22                        Answer:     I don't know.        It was always

         23                 in my mind to get it off of my name.
         24                        Question:      Do you remember why it
         25                 occurred that spring before the fire?                  Was




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          1                 there anything going on in your life or
          2                 your father's life which was the catalyst
          3                 for that conversation?
          4                        Answer:     No, I don't think so.            Maybe
          5                 I knew that I was going to be a father
          6                 again and that prompted me.              I don't know."
          7                 Correct?
          8          A.     Correct.

          9          Q.     All right.
         10                        "Okay.     What did your father say
         11                 during that conversation?
         12                        Answer:     'I'm trying.'"
         13                 I read that correctly, didn't I?
         14          A.     Correct.
         15          Q.     All right.

         16                 And then the next question is:
         17                        "And what did you understand that to
         18                 mean?

         19                        Answer:     That he was looking to get
         20                 it repackaged or remortgaged or

         21                 something."
         22          A.     Uh-huh.

         23          Q.     I read that correctly, didn't I?
         24          A.     Right.
         25          Q.     So you were hoping that your father was trying to




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          1    get the home refinanced so you could be taken off the
          2    mortgage?
          3          A.     Correct.
          4          Q.     Okay.
          5                 And the question is:
          6                        "Who was he trying to get the house
          7                 re-mortgaged with?
          8                        Answer:     SunTrust."

          9                 Right?
         10          A.     Correct.
         11          Q.     Line 20?
         12          A.     Yes.
         13          Q.     All right.
         14                 And then I believe this is, I'm not sure who was
         15    asking the questions here, but counsel for one of the

         16    estates is asking you about whether you saw any documents
         17    related to the refinancing that you were talking about.
         18          A.     Uh-huh.

         19          Q.     And on page 118 starting at line 20, the question
         20    is:

         21                        "What documents did you see that led
         22                 you to believe that that process had

         23                 started?
         24                        Answer:     Refinancing documents."
         25                 Right?




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          1          A.     When, at -- when I'm asking him to get --
          2          Q.     In 2015.
          3          A.     For, in 2007 in the original or?                Or in the --
          4          Q.     In the context of your answers here, which I
          5    believe are in the spring or summer of 2015.
          6          A.     So what was the question again then?
          7          Q.     The question is why are you filling out
          8    applications with your income and credit information if

          9    your father is trying to refinance the property and get you
         10    off the mortgage?
         11          A.     I -- I don't know.
         12          Q.     Are you aware of any refinancing that your father
         13    requested that did not have your financial information and
         14    credit information attached to it at any time?
         15          A.     Excuse me?

         16          Q.     At any time after 2007 are you aware of any
         17    refinancing sought by your father in which your credit
         18    information and income were not a part of the application?

         19          A.     I don't know.        I don't.
         20          Q.     So as we sit here today, your father has not been

         21    able to refinance the property or take your name off the
         22    property since 2007?           That's accurate, isn't it?

         23          A.     I don't know.
         24          Q.     Okay.
         25                 Are you aware of whether your father up until the




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          1          Q.     Who prepared these documents?
          2          A.     I prepared them.
          3          Q.     All right.
          4                 And did you have your brother and your father in
          5    your office with respect to these documents?
          6          A.     I did.
          7          Q.     And what happened at that time?
          8          A.     At that time myself, my father, my brother, and

          9    his wife were present.            We signed the trust documents.               I
         10    as a witness, my sister-in-law as a witness.                     It was a
         11    notary present.         We signed the trust agreement.               We signed
         12    the quit-claim -- well, I did not sign the quit-claim.                         The
         13    quit-claim deed was signed by my brother Len and Max, and
         14    the deed was given to, from Len to Max, the original to be
         15    filed.     And a copy was given to my brother for his records,

         16    and I kept a copy.
         17          Q.     Okay.
         18                 And these documents were notarized also, correct?

         19          A.     They were, yes, that's correct.
         20          Q.     And who notarized them?

         21          A.     Lori King.       She worked in my office at that point
         22    for several years and she notarized -- well, it was a

         23    shared office.        She worked in the office as a receptionist.
         24    She notarized documents for the attorneys in the office.
         25          Q.     Okay.




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          1                 And you witnessed the other people, including the
          2    notary signing, were appropriate?
          3          A.     I did.
          4          Q.     You saw your brother sign, you saw your father
          5    sign?
          6          A.     Yes.
          7          Q.     Did you review these documents with them before
          8    they signed them?

          9          A.     Yes, I did.
         10          Q.     And do you know whether these documents were ever
         11    recorded?
         12          A.     I know today that they were not recorded.                    My
         13    assumption was that they were, but as of today I knew they,
         14    I know now that they were not.
         15          Q.     Okay.

         16                 Did there come a time you knew your father and
         17    brother were involved in litigation involving the deaths
         18    that occurred from a fire in 2015?

         19          A.     Yes.
         20          Q.     What did you, who did you learn about this

         21    litigation from and what did you learn?
         22          A.     I learned that they were both named in a lawsuit.

         23    I don't recall who contacted me first, whether it was my
         24    brother or my father.           I know they both at some point did.
         25    Both sent me copies of the summons or petition, summons I




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          6    I certify that the foregoing is a correct transcript from

          7    the electronic sound recording of the proceedings in the

          8    above-entitled matter.

          9

         10    /s/Kristen Shankleton, CER-6785                      Dated: 10/27/18




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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

     IN RE:                          )
                                     )
     LEN SALAS                       )           CASE NO. 3:18-BK-02662
                                     )           CHAPTER 11
         DEBTOR.                     )           JUDGE HARRISON
                                     )
     NICOLAAS BREKELMANS AND         )
     GAIL GREGORY BREKELMANS,        )
     CO-PERSONAL REPRESENTATIVES OF  )
     THE ESTATE OF NINA BREKELMANS   )
                                     )
     and                             )
                                     )
     MICHAEL MCLOUGHLIN AND          )
     MARTHA JOHNSON, CO-PERSONAL     )
     REPRESENTATIVES OF THE ESTATE   )
     OF MICHAEL PATTRICK MCLOUGHLIN, )
                                     )
            PLAINTIFFS,              )
                                     )
     v.                              )           Adv. Pro. No. 3:20-ap-90027
                                     )
     MAX SALAS,                      )
                                     )
            DEFENDANT.               )



                        DEFENDANT’S OBJECTION TO
                PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



             This matter is set to be heard on September 13, 2022 at 9:30 a.m.
         Courtroom Three, US Customs House, 701 Broadway, Nashville, Tennessee
     ________________________________________________________________________




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              Comes now Max Salas, Defendant herein (“Salas” or “Defendant”), and for his

     objection to the Plaintiffs’ Motion for Summary Judgment (the “Motion”) (Doc. 73)1,

     states as follows:

                                                INTRODUCTION

              The Plaintiffs are not entitled to summary judgment. The Motion contains fatal

     procedural and substantive flaws which the Court cannot overlook and which necessitate

     the denial of the Motion.

              Procedurally, the Plaintiffs have failed to comply with Rule 7056 of the Federal

     Rules of Bankruptcy Procedure, Rule 56(c) of the Federal Rules of Civil Procedure, and

     Rule 7056-1(a) of the Local Rules of Court for the United States Bankruptcy Court for the

     Middle District of Tennessee. Opinions from across the country, including one from the

     Sixth Circuit Bankruptcy Appellate Panel that upheld a decision of this Court, have held

     that failure to abide by Rule 56(c) and its companion local rule must result in the Court’s

     denial of any motion based upon the defective statement of undisputed facts.

              Substantively, the Plaintiffs have put the cart before the horse. While the Plaintiffs

     spend fifty-two (52) pages discussing an alleged fraudulent transfer of certain real property,

     they have failed to demonstrate any undisputed facts that establish that the real property in

     question was ever property of the Debtor or of the estate, over which the Trustee and/or

     the Plaintiffs have any authority. In fact, the real property in question was always owned




     1 In addition to the Motion, the Plaintiffs late-filed an amended motion for summary judgment (Doc. 74)
     after the deadline of July 29, 2022. The Defendant believes that the only amendment was the attachment of
     certain exhibits that the Plaintiffs’ counsel could not upload on July 29, 2022. The Defendant has no objection
     to the Court’s consideration of those late-filed exhibits. However, to the extent that the amended motion
     contained substantive alterations to the facts and/or law presented, the Defendant objects to the consideration
     of the amendments. This Objection addresses the Motion, supporting brief, and supporting statement of
     undisputed facts filed on July 29, 2022, along with all exhibits filed on July 29, 2022 and August 1, 2022.


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     by the Defendant, with the Debtor and this estate holding nothing but bare legal title. Case

     law is clear that, on facts similar to these, the estate has no authority to avoid a transfer of

     property in which the Debtor held only bare legal title. Whether the Debtor ever owned

     anything other than bare legal title to the real property is a disputed question of fact that

     must be decided by the Court at a trial of this matter.

                                                 FACTS

             The facts show quite clearly that the Debtor owned nothing more than bare legal

     title to the real property in question and, as such, the Plaintiffs have no valid cause of action

     against the Defendant.2 The Defendant and his wife owned real property located at 1610

     Riggs Place, NW, Washington, D.C. (the “Property”), as husband and wife, until 2007.

     Affidavit of Max Salas (“Salas Aff.”), attached hereto as Exhibit 2, ¶ 2. In 2007, Defendant

     and his wife divorced, and Defendant was ordered to pay wife a portion of the equity in the

     Property. Salas Aff, ¶ 3. The Defendant, who wished to stay in his home, determined that

     he would take out a loan against the Property in order to fund the payment to his ex-wife.

     Id, ¶ 4. However, upon seeking financing for the payment, he learned that he was not

     credit worthy to borrow the funds. Id, ¶ 5. To facilitate this transaction, he quitclaimed

     the Property to his son, the Debtor in this matter, who then borrowed $870,000 against the

     Property. Id, ¶ 6. The Defendant’s ex-wife received the proceeds of the loan. Id, ¶ 7.

     The Debtor received no proceeds from the loan nor did he pay anything in exchange for

     the quitclaim deed. Id, ¶ 8.




     2 The Defendant attaches hereto, as Exhibit 1, his Response to Plaintiffs’ Amended List

     of Undisputed Facts, Pursuant to Local Rule 7056-1 in Support of the Plaintiffs’ Motion
     for Summary Judgment (the “Response”)


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              At the time that the Property was quitclaimed to the Debtor, the Defendant

     promised to refinance the loan and remove the Debtor’s name from both the loan and the

     title to the Property as soon as possible. Id, ¶ 9. The Defendant made multiple attempts

     to refinance the Property over a number of years but found each time that he was unable to

     qualify for a loan. Id, ¶ 10. In 2010, with the assistance of his son Ron Salas, who was

     an attorney in Colorado, the Defendant determined to have the Property quitclaimed from

     the Debtor to a trust, in hopes that the trust could then borrow the funds to remove the

     Debtor from the loan and the title to the Property. Id, ¶ 11. In furtherance of that plan,

     the Debtor executed a quitclaim deed (the “2010 Quitclaim Deed”) to the 1610 Riggs Place

     Trust (the “Trust”) in July 2010.3 Id, ¶ 12. Attempts to refinance the Property in the name

     of the Trust were ultimately unsuccessful and the 2010 Quitclaim Deed was never

     recorded. Id, ¶ 13.

              Despite the Debtor’s name remaining on the formal title to the Property, the

     Property was never the Debtor’s primary residence. Id, ¶ 14. Despite the mortgage being

     in the name of the Debtor, the Debtor never made a single mortgage payment. Id, ¶ 15.

     The Debtor never paid any property taxes on the Property. Id, ¶ 16. The Debtor never

     paid for any upkeep on the Property. Id, ¶ 17. In fact, after the fire that gives rise to the

     Plaintiffs’ involvement in this matter, it was exclusively the Defendant, not the Debtor,

     who oversaw and paid for the renovation and rebuilding of the structure on the Property.

     Id, ¶ 18.




     3 The United States Bankruptcy Court for the District of Columbia subsequently ruled that the 1610 Riggs
     Place Trust was never properly formed, and that any transfer to the Trust was in fact a transfer to the
     Defendant. In re Max E. Salas, Case No. 18-00260-ELG, Bankr. D.C., Doc. 108.


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               The Defendant rented out rooms in the Property through an entity known as the

     “CLR Trust”. Id, ¶ 19. The Debtor had no involvement with the CLR Trust. Id, ¶ 20.

     The Defendant dealt with tenants, signed leases, and accepted rent payments on behalf of

     CLR Trust. Id, ¶ 21. The Defendant deposited all rent checks into an account in the name

     of CLR Trust, for which the Defendant was a signatory. Id, ¶ 22. The Debtor was never

     involved in the leasing of the Property, nor did he receive any portion of the rents paid for

     rooms in the Property. Id, ¶ 23.

               Importantly, the Plaintiffs had actual knowledge of the Defendant’s ownership of

     the Property well before the Petition Date. The Plaintiffs in this case had actual knowledge

     that the Defendant lived in the Property, signed leases for the Property, accepted rent for

     the Property, and that Len Salas had quitclaimed his interest in the Property in July 2010.

     Id, ¶ 24. Therefore, it is no necessary to consider whether they had constructive or inquiry

     notice.

               Based upon these facts, neither the Debtor nor the bankruptcy estate ever owned

     anything more than bare legal title in the Property. As such, under well-established case

     law, the Plaintiffs cannot avoid the transfer of the Property back to the Defendant, nor can

     the Plaintiffs seek turnover of the Property.

                           STANDARD FOR SUMMARY JUDGMENT

               A court may grant summary judgment on a matter only “if the movant shows that

     there is no genuine dispute as to any material fact and the movant is entitled to judgment

     as a matter of law.” Fed. R. Civ. P 56(a). Fed. R. Civ. P. 56 is made applicable in these

     proceedings pursuant to Fed. R. Bankr. P. 7056. Moreover, “[a] party asserting that a fact

     cannot be . . . disputed must support the assertion by citing to particular parts of materials




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     in the record, including depositions, documents, electronically stored information,

     affidavits or declarations, stipulations (including those made for purposes of the motion

     only), admissions, interrogatory answers, or other materials. Fed. R. Civ. P 56(c). The

     Local Rules of this Court reiterate and further this requirement, mandating that:

            To assist the court in ascertaining whether there are material facts in dispute,
            any motion for summary judgment made pursuant to FED. R. BANKR. P.
            7056 shall be accompanied by a separate, concise statement of the material
            facts which the moving party contends are not disputed. Each fact shall be
            stated in a separate, numbered paragraph. Each fact shall be supported by
            specific citation to the record. After each paragraph, the word “response”
            shall be inserted and a blank space shall be provided reasonably calculated
            to enable the nonmoving party to respond to the assertion that the fact is
            undisputed.

     Local Rules of the United States Bankruptcy Court for the Middle District of Tennessee,

     Rule 7056-1(a).

            At the summary judgment stage, the role of the court “is not to weigh evidence, but

     to determine whether there is a genuine issue for trial.” Hargrave v. Radbill, 2013 Bankr.

     LEXIS 2883 (Bankr. N.J. 2013) (citing Knauss v. Dwek, 289 F. Supp. 2d 546, 549 (D.N.J.

     2003). An issue of fact is “genuine” if a reasonable juror could return a verdict for the non-

     moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986).


                                          APPLICATION


            The Plaintiffs’ Motion contains two fatal flaws: (1) its Statement of Undisputed

     Facts do not comply with Bankruptcy Rule 7056, Federal Rule of Civil Procedure 56, nor

     Local Rule 7056-1; and (2) the Motion fails to demonstrate undisputed facts to establish

     that the Debtor owned anything more than bare legal title to the Property, thus calling into

     question the Plaintiffs’ standing to pursue these causes of action on behalf of an estate that

     never owned the Property.


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            A. The Plaintiffs’ Statement of Undisputed Facts Must Be Stricken For Non-
               Compliance with Bankruptcy Rule 7056, Federal Rule of Civil Procedure
               56, and Local Rule 7056-1.

            The requirements of Bankruptcy Rule 7056, Federal Rule of Civil Procedure 56,

     and Local Rule 7056-1 are clear and unambiguous: a party moving for summary judgment

     bears the burden of presenting undisputed facts in separate paragraphs and, for each such

     fact, there must be a specific citation to the record that establishes the fact. Where the

     movant fails to provide a specific citation to the record establishing the alleged undisputed

     facts, court have uniformly held that the proposed fact must be stricken. See, e.g., Langley

     v. Tulare Police Dep’t, 2017 U.S. Dist. LEXIS 21572, *5-7 (E.D. Cal. 2017) (denying

     plaintiff’s motion for summary judgment where the plaintiff did not support allegedly

     undisputed facts with record citations); Moore v. Sacramento County Sheriff’s Dep’t, 2015

     U.S. Dist. LEXIS 19986, *11-13 (E.D. Cal. 2015) (denying plaintiff’s motion for summary

     judgment where “plaintiff has often failed to cite to specific parts of the record or evidence

     submitted in support of his purported statement of undisputed facts”); Gipbsin v. Kernan,

     2015 U.S. Dist. LEXIS 25090, *3-5 (E.D. Cal. 2015) (denying summary judgment where

     plaintiff’s statement of undisputed facts failed to cite to the record); Beaudreault v.

     Delfarno, 2014 U.S. Dist. LEXIS 73332, *12-14 (D.R.I. 2014) (striking paragraphs from

     the statement of undisputed facts that contained no citations to the record and, thus, denying

     the movant’s motion for summary judgment).

            The Sixth Circuit Bankruptcy Appellate Panel has previously considered and ruled

     on a case from this Court that addressed this very issue, albeit in the context of a respondent

     who failed to identify specific citations to the record in support of his denial of alleged

     undisputed facts. In Hadley v. Harrison, 2022 Bankr. LEXIS 483 (6th Cir. BAP 2022), the




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     Bankruptcy Appellate Panel was asked to review Judge Walker’s granting of summary

     judgment in favor of the movant. In addressing what facts it would consider, the BAP

     considered allegedly undisputed facts to be true where the respondent simply denied the

     undisputed facts (or stated that he lacked knowledge about the facts), rather than citing to

     specific portions of the record as required by the Bankruptcy Rules, the Rules of Federal

     Civil Procedure and the Local Rules. Id at *5-8. The Hadley court noted, “in response to

     Hadley PLLC's motion for summary judgment, which was supported by 166 statements of

     material fact not in dispute, each of which included citations to the record, Harrison was

     required to prove that there were genuine disputes of material fact for trial. In so doing, he

     was not entitled to rely solely on allegations or denials in the pleadings.” Id at *6.

            In this case, the Plaintiffs rely upon approximately thirty-two (32) allegedly

     undisputed facts for which they provide no factual support, i.e. no reference to the record

     whatsoever. See Plaintiffs’ List of Undisputed Facts, Pursuant to Local Rule 7056-1 in

     Support of the Plaintiffs’ Motion for Summary Judgment (the “Statement of Undisputed

     Facts”), Doc. 73-2, Paragraph Nos. 4, 11, 12, 16, 22, 23, 34, 37, 38, 39, 40, 41, 42, 43, 45,

     50, 51, 52, 54, 55, 57, 60, 63, 65, 66, 67, 84, 85, 99, 100, 101, and 107. The Plaintiffs also

     rely on at least two allegedly undisputed facts for which they provide only general, not

     specific, citations to the record. See Statement of Undisputed Facts, Doc. 73-2, Paragraph

     Nos. 30 and 124. Based upon the caselaw cited herein, the Court should not consider any

     of the facts alleged in these thirty-four (34) paragraphs in determining this Motion.

     Because of the sheer volume of the Plaintiff’s Statement of Undisputed Facts that do not

     comply with Bankruptcy Rule 7056, Federal Rule of Civil Procedure 56, nor Local Rule

     7056-1, the Defendant suggests that the Court should simply deny the Motion rather than




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     attempting to parse through the properly-alleged undisputed facts to determine whether

     they support the relief sought. See Moore v. Sacramento County Sheriff’s Dep’t, 2015 U.S.

     Dist. LEXIS 19986, *11-13 (E.D. Cal. 2015) (where the court denied the plaintiff’s motion

     for summary judgment where he “often” failed to support facts with citations to the record).

     It is a movant’s duty to appropriately present undisputed facts to support its motion; it is

     not this Court’s duty to try to “hunt and peck” through the allegations to determine what is

     property supported and what is not. Hadley v. Harrison, 2022 Bankr. LEXIS 483, *6 (6th

     Cir. BAP 2022).

            B. The Plaintiffs Have Failed To Assert Undisputed Facts Demonstrating
               That The Debtor Owned Anything More Than Bare Legal Title To The
               Property.

            Even if the Court were to consider all of the allegedly undisputed facts presented

     in the Plaintiffs’ Statement of Undisputed Facts, even those without a scintilla of support

     from the record, the Plaintiffs’ Motion would still fail because the Plaintiffs have failed to

     present undisputed facts showing that the Debtor held anything but bare legal title to the

     Property. Without a showing that the Debtor owned something more than bare legal title,

     the Plaintiffs (and their predecessor, the Trustee) have no standing to pursue any avoidance

     actions that seek a recovery of the Property because the Property was never “property of

     the estate” according to § 541 of the Bankruptcy Code. Alternatively, even if bare legal

     title to the Property was “property of the estate”, it had no value such that there can be no

     recovery.

            When faced with facts similar to those at issue in this matter, courts throughout the

     nation have been remarkably consistent in finding that the debtor held only bare legal title,

     rather than possessing full ownership to property. Those courts have likewise been




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     consistent in denying trustees’ recovery efforts, whether under § 547, § 548, § 544, or state

     fraudulent transfer laws. For example:

                •   In Kelley v. Haar (In re Haar), 634 B.R. 429 (Bankr. M.D. Ga. 2021), the

                    court granted a motion for summary judgment in favor of the defendant on

                    a § 544 action, finding that the debtor held the properties in constructive

                    trust for the defendant and that the debtor herself held only bare legal title.

                    The defendant (who was the debtor’s brother) purchased two parcels of real

                    property with his own funds, and maintained both parcels as rental

                    properties. One of the properties was rented to the debtor and the debtor

                    paid rent to the defendant. When the defendant separated from his wife, the

                    defendant conveyed both properties to the debtor for no value as part of pre-

                    divorce planning. Despite being the record owner of the property, the

                    debtor continued paying rent to the defendant and the defendant paid all

                    taxes, insurance, and repair costs. Defendant continued collecting rent from

                    the properties, and addressing tenant issues, even while the debtor was the

                    record owner. Less than a year prior to her bankruptcy filing, the debtor

                    transferred the properties back to the defendant for no value. On these facts,

                    the court held that the debtor owned only bare legal title to the property and

                    held it in constructive trust for the defendant while she was the record owner

                    of the property. As such, when the debtor transferred the property back to

                    the defendant, it was not a transfer of property of the estate such that could

                    be avoided under §544. The court also rejected the trustee’s argument that

                    the defendant should be barred from defending the action by the doctrine of




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                  unclean hands, on account of the defendant having transferred the property

                  to the debtor in the first place in an attempt to avoid certain outcomes in

                  divorce court. The court found that the unclean hands doctrine was not a

                  bar to the defendant’s defense, even if the property had been transferred for

                  a questionable purpose.

              •   In Geremia v. Dwyer (In re Dwyer), 250 B.R. 472 (Bankr. D.R.I. 2000), the

                  court granted the defendant’s motion for summary judgment in a fraudulent

                  transfer action brought by a trustee. In Dwyer, the defendant purchased a

                  home in 1978 and put her eldest son, the debtor, on the deed to the property.

                  The defendant lived in the property for a number of years; paid all mortgage

                  and tax obligations on the property; paid for all utilities and repairs; and

                  later collected all rents from the property.       When the debtor began

                  experiencing marital difficulties, the defendant asked him to quitclaim the

                  property back to his mother as the sole owner.            He filed bankruptcy

                  approximately six months later. On these facts, the court found that the

                  debtor owned only bare legal title to the property. It further found that bare

                  legal title has no value to an estate and that a transfer of bare legal title

                  cannot form the basis for a fraudulent transfer action.

              •   In Dunham v. Kiask, 192 F.3d 1104 (7th Cir. 1999), the Seventh Circuit

                  affirmed the bankruptcy court’s denial of a trustee’s § 548 action. In this

                  case, a home was built on an unimproved lot and titled in the name of

                  parents, their son (the debtor), and the debtor’s wife. The parents alone

                  lived in the home, paid the taxes, paid the insurance, and paid for all upkeep.




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                  The debtor and his wife executed a quitclaim deed to remove their names

                  from the title to his parents’ home ten months prior to his bankruptcy filing,

                  and while he was embroiled in litigation. The bankruptcy court concluded

                  that the debtor held nothing more than bare legal title to his parents’ home

                  or that, alternatively, he held it in constructive trust for his parents. The

                  district court tweaked the bankruptcy court’s finding, holding that the

                  debtor was the trustee of a resulting, rather than constructive, trust for his

                  parents – but the end result was the same. The Seventh Circuit found that

                  the debtor merely held the property in trust for his parents (even as a record

                  owner of the property) and, as such, the transfer was not a transfer of

                  property of the estate. Like the case now before this Court, the Seventh

                  Circuit noted: “What the trustee has overlooked, however, is that section

                  548(a)(1) requires proof of circumstances in addition to the debtor’s transfer

                  of a property interest before a transfer can be deemed fraudulent and set

                  aside.” Id at 1109. The court noted that property held in trust for another

                  is not property of the estate, so the trustee’s complaint fails.

              •   In In re Gillman, 120 B.R. 219 (Bankr. M.D. Fla. 1990), the bankruptcy

                  court denied the trustee’s motion for summary judgment on an adversary

                  proceeding for fraudulent transfer, finding that the debtor owned nothing

                  but bare legal title to the property in question. In that case, the debtor and

                  his mother were joint tenants of a residential lot. The mother paid for the

                  lot, paid to build a house on the lot, made all mortgage payments, paid all

                  insurance premiums, and paid all real estate taxes. The debtor quit claimed




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                  his interest in the property to his mother less than a year prior to his

                  bankruptcy. The court found that the debtor’s interest in the property had

                  no economic value, thus it could not have been fraudulently conveyed back

                  to his mother.

              •   In Lovesac Corp. v. Cox (In re Lovesac Corp.), 422 B.R. 478 (Bankr. D.

                  Del. 2010), a corporation transferred a ski resort to another party for the

                  purpose of attempting to get financing through the third party. The third

                  party, the debtor corporation, transferred the property back to its original

                  owner prior to the bankruptcy. The trustee moved for summary judgment in

                  a fraudulent transfer adversary proceeding, which was denied by the court.

                  The Delaware bankruptcy court found that the property was held by the

                  debtor in a resulting trust for its original owner. In so finding, the court

                  noted, “in factual situations analogous to the case at bar, where one entity

                  transferred the title to property to another entity for purposes of obtaining

                  financing, courts routinely impose a trust on the parties, even in the absence

                  of a written trust agreement.” Id at 488.

              •   In In re Torrez, 827 F.2d 1299 (9th Cir. 1987), parents purchased 120 acres

                  in California but had the property deeded to their son and his wife. The sole

                  reason for deeding the property to their son and his wife was to gain access

                  to federally subsidized irrigation water, because the parents had exceeded

                  their maximum allotment. The parents made all mortgage payments, all tax

                  payments, improved the property, and operated a farm on the property.

                  When the debtors became financially troubled, they deeded the property to




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                  the parents and their bankruptcy ensued less than a year later. On these

                  facts, the Ninth Circuit found that the real property was never property of

                  the estate, as the debtors held only bare legal title. It found that the property

                  was always held in a resulting trust in favor of the parents. The Ninth

                  Circuit also rejected the trustee’s argument that the parents’ unclean hands

                  prevented them from asserting the equitable trust.

              •   In Tolz v. Miller (In re Todd), 391 B.R. 504 (Bankr. S.D. Fla. 2008), the

                  court granted summary judgment in favor of the defendant in a fraudulent

                  transfer action pursuant to § 548 and state law. In 2005, the defendants

                  transferred a parcel of real property to the debtor for no value in an attempt

                  to lower the loan to value ratio of one of the defendants, in hopes that she

                  would be able to qualify for a loan to purchase a business. In 2006, after

                  the loan transaction had been completed, the debtor transferred the property

                  back to the defendants for no value. The debtor filed bankruptcy less than

                  a year later. There was no dispute that the debtor was insolvent at the time

                  of the transfer of the property to the defendants, and no dispute that the sole

                  reason for the transfer to the debtor in the first place was to assist with bank

                  financing. On these facts, the court found that the debtor held the property

                  in a resulting trust for the defendants and that the debtor herself possessed

                  only bare legal title to the property. The court likewise denied the trustee’s

                  unclean hands argument. While it found that the defendants “parked” the

                  property in the debtor’s name and in doing so acted in bad faith, it noted




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                  that unclean hands only bars a litigant from seeking “active intervention by

                  the Court”. Id at 510.

              •   In Swanson v. Stoffregen (In re Stoffregen), 206 B.R. 939 (Bankr. E.D. Wis.

                  1997), the court granted the defendants’ motion for summary judgment in a

                  § 548 action, finding that the debtor held only bare legal title to the property

                  in question. In that case, parents purchased a parcel of unimproved property

                  and added their minor children’s name to the deed.             The mother, a

                  defendant, and her deceased husband built a house on the property and paid

                  all taxes, insurance, HOA fees, repairs, and upkeep expenses. Neither the

                  debtor, one of the children on the deed, nor his brother financially

                  contributed to the property. Just sixteen days before filing bankruptcy, the

                  debtor deeded his interest in the property to his mother and brother, the

                  defendants. The trustee sought to set aside the transfer under § 548. The

                  court found that the debtor owned only bare legal title to the property and,

                  as such, a transfer of that property could not be recovered for the estate

                  under § 548.

              •   In Kapila v. Moodie (In re Moodie), 362 B.R. 554 (Bankr. S.D. Fla. 2007),

                  the court denied the trustee’s complaint to avoid the transfer of real property

                  pursuant to § 548 and state fraudulent transfer laws.          The defendant,

                  debtor’s mother, purchased a parcel of real property and added the debtor,

                  her daughter, to the deed. The defendant provided all of the funds used to

                  purchase the property and paid all expenses of ownership. While both the

                  debtor and the defendant were on the mortgage, the debtor never contributed




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                  to the mortgage payment. The debtor was never involved in owning the

                  property in any way, other than appearing on the deed and the mortgage. In

                  the year prior to the bankruptcy, the debtor transferred her interest in the

                  property to the defendant for no value. The debtor and the defendant both

                  testified that the purpose of the transfer was to avoid the property being

                  “tied up” in the bankruptcy. On these facts, the court found that there was

                  a resulting trust in favor of the defendant and that the debtor owned nothing

                  more than bare legal title to the property. The court further found that, when

                  a debtor holds only bare legal title to property, there can be no transfer of

                  that interest for “less than reasonably equivalent value”.

              •   In In re Penney, 632 B.R. 181 (Bankr. E.D. Ark. 2021), the court denied a

                  trustee’s motion for summary judgment pursuant to § 548. In Penney, the

                  debtor and his daughter acquired title to real property as joint tenants. Prior

                  to the petition date, the debtor transferred all of his interest in the property

                  to his daughter, the defendant, for no value. The defendant paid the entire

                  purchase price for the property. There was no encumbrance upon the

                  property.   The defendant lived on the property and made substantial

                  renovations thereto. The defendant always held herself out as the owner of

                  the property, even when it was jointly owned with the debtor, and the debtor

                  never held himself out as the owner of the property despite being on the

                  deed. Based on these facts, the court found that the debtor might hold only

                  bare legal title to the property, and ordered a trial be conducted in order to

                  weigh the evidence and determine the truthfulness of certain assertions. The




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                    court noted that, if the debtor held only bare legal title to the property, then

                    it might have no value to the estate; therefore, a transfer for no value would

                    be a transfer for reasonably equivalent value.

                •   In Swinson v. Fritz (In re Lytle), 2010 Bankr. LEXIS 4337 (Bankr. N.D.

                    Okl. 2010), the court dismissed an adversary proceeding that sought to

                    recover real property pursuant to §§ 548 and 544. The debtor and the

                    defendant were both listed on the deed to a parcel of unimproved property,

                    though the purchase price was paid entirely by the defendant. The debtor

                    was to build a home for the defendant’s parents on the property but ran into

                    financial problems before the home was constructed.                The debtor

                    quitclaimed the property back to the defendant prior to bankruptcy so that

                    he could find another builder to build a home on the lot, and the debtor

                    subsequently filed bankruptcy. The debtor built a home for his parents on

                    the lot. The trustee sought to recover the property (with improvements)

                    under § 548 and/or § 544. The court found that the debtor owned only bare

                    legal title to the property and that the property was subject to a resulting

                    trust in favor of the defendant; thus a § 548 action could not be instituted.

                    Since there had been a transfer of the property which constituted

                    constructive notice, the court found that § 544 was ineffective.

            The consistency of these opinions and their application to the facts of the case at

     hand are equally obvious. Like the facts of the cases summarized above, the Debtor had

     no involvement in the true ownership of the Property. The Property was deeded to the

     Debtor exclusively for the purpose of obtaining financing, as was the situation in several




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     of the cases cited above. The Debtor did not purchase the Property, did not live in the

     Property, made no payments on the mortgage, made no tax payments, did not pay for

     maintenance of the Property, did not sign leases on the Property, did not collect rent on the

     Property, and was not the person who oversaw the refurbishment of the Property after the

     fire. It is clear, based upon these facts and applying the case law cited above, that the

     Debtor owned nothing more than bare legal title to the Property. When a debtor owns bare

     legal title to a property, courts consistently find that the trustee is not entitled to avoid the

     transfer of that property.

             While the outcomes of these cases are all very consistent, the manner by which they

     reach that outcome differs slightly. Some courts find that § 544 and § 548 cases fail when

     a debtor has only bare legal title because the property never became property of the estate.

     See, e.g., Dunham v. Kiask, 192 F.3d 1104 (7th Cir. 1999); In re Torrez, 827 F.2d 1299 (9th

     Cir. 1987); Kelley v. Haar (In re Haar), 634 B.R. 429 (Bankr. M.D. Ga. 2021); Lovesac

     Corp. v. Cox (In re Lovesac Corp.), 422 B.R. 478 (Bankr. D. Del. 2010); Swinson v. Fritz

     (In re Lytle), 2010 Bankr. LEXIS 4337 (Bankr. N.D. Okl. 2010); Tolz v. Miller (In re Todd),

     391 B.R. 504 (Bankr. S.D. Fla. 2008). Others rule in favor of the defendants because, even

     if bare legal title to property constitutes an asset of the estate, it has no value and, thus, can

     never be transferred for less than reasonably equivalent value. See. e.g., In re Penney, 632

     B.R. 181 (Bankr. E.D. Ark. 2021); Kapila v. Moodie (In re Moodie), 362 B.R. 554 (Bankr.

     S.D. Fla. 2007); Geremia v. Dwyer (In re Dwyer), 250 B.R. 472 (Bankr. D.R.I. 2000);

     Swanson v. Stoffregen (In re Stoffregen), 206 B.R. 939 (Bankr. E.D. Wis. 1997); In re

     Gillman, 120 B.R. 219 (Bankr. M.D. Fla. 1990). Most of these courts also generally




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     impress an equitable trust upon the property in favor of the defendants, whether a resulting

     trust or a constructive trust.

             One thing about which these courts uniformly agree is that it is state law, not

     bankruptcy law, that determines the extent and nature of the property (including whether

     an equitable trust is created) and that bankruptcy law merely applies the state law property

     rights. “A debtor’s interest in property under 11 U.S.C. § 541(a)(1) is defined by state law

     at the time of the commencement of the case unless altered by applicable federal law or a

     countervailing federal interest.” Haar, 634 B.R. at 435 (citing Butner v. United States, 440

     U.S. 48, 55 (1979)). In this case, because the Property is located in the District of

     Columbia, it is D.C. property law that governs this matter. See. e.g., Lovesac Corp., 422

     B.R. at 487 (Delaware bankruptcy court applying Utah law where the property in question

     was located in Utah). The District of Columbia recognizes both constructive trusts and

     resulting trusts. See, e.g., Zanders v. Baker, 207 A.3d 1129 (D.C. Ct. App. 2019)

     (discussing both resulting and constructive trusts as they exist under D.C. law); Dennis v.

     Edwards, 831 A.2d 1006 (D.C. Ct. App. 2003) (discussing constructive trusts); Leeks v.

     Leeks, 570 A.2d 271 (D.C. Ct. App. 1989) (discussing resulting trusts under D.C. law);

     Save Immaculata/Dunblame, Inc. v. Immaculata Preparatory School, Inc., 514 A.2d 1152,

     1157 (D.C. Ct. App. 1986) (discussing resulting trusts); Gray v. Gray, 412 A.2d 1208 (D.C.

     Ct. App. 1980) (impressing a constructive trust in favor of mother despite daughter’s name

     appearing on deed); Hertz v. Klavan, 374 A.2d 871 (D.C. Ct. App. 1977) (impressing a

     constructive trust on property to avoid unjust enrichment); Woodruff v. Coleman, 98 A.2d

     22 (D.C. Ct. App. 1953) (discussing both resulting and constructive trusts under D.C. law,

     and explaining the differences between the two).




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              Under D.C. law, the Property is impressed with a resulting trust in favor of the

     Defendant. See Save Immaculata/Dunblame, Inc. v. Immaculata Preparatory School, Inc.,

     514 A.2d 1152, 1157 (D.C. Ct. App. 1986) (a resulting trust “is a property relationship

     designed to effectuate the parties' intent when one party takes title to property for which

     another has furnished the consideration”, quoting Edwards v. Woods, 385 A.2d 780,

     783(D.C. Ct. App. 1978)). The Defendant deeded the property to the Debtor solely for the

     purpose of obtaining refinancing, the Defendant provided all consideration for and

     operation of the property, and there was a clear understanding (as evidenced by both emails

     and testimony) that the Debtor was to transfer the Property back to the Defendant as soon

     as alternate financing was obtained. This is the quintessential case for the imposition of a

     resulting trust.

              Because the Debtor never possessed anything more than bare legal title to the

     Property and he held it in a resulting trust for the Defendant, the Property was never a part

     of the bankruptcy estate and cannot be recovered under § 548 or state fraudulent transfer

     law. Similarly, if the Property was never part of the bankruptcy estate, then a trustee would

     have no right to recover the Property on behalf of creditors pursuant to § 544.4 Markair,

     Inc. v. Markair Express, Inc., 172 B.R. 638, 642 (9th Cir. BAP 1994) (“A resulting trust

     can defeat the trustee’s strongarm powers under § 544. The resulting trust having been

     determined by law to exist, the trustee has no equitable rights in the trust, and the res is not

     property of the estate pursuant to § 541.”); Kelley v. Haar (In re Haar), 634 B.R. 429

     (Bankr. M.D. Ga. 2021). Even if the Court were to find that the Debtor’s bare legal title to

     the Property was nonetheless an asset of the estate, the Plaintiffs’ fraudulent transfer claims


     4 It is axiomatic that the filing of a bankruptcy preserves assets of the estate; it does not create assets where
     no estate assets ever existed.


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     and its § 544 claims still fail because the Property would be impressed with an equitable

     trust in favor of the Defendant. Since the Defendant’s trust attached to the Property upon

     its transfer to him in 2007, no creditor’s claims can eclipse the Defendant’s interest in the

     Property.

            Finally, the Plaintiffs’ fraudulent transfer causes of action fail because the Plaintiffs

     have not, and cannot, show that the Debtor received less than reasonably equivalent value

     for the transfer of the Property via the 2010 quitclaim deed. Courts have repeatedly noted

     that bare legal title to property has no value. See. e.g., Geremia v. Dwyer (In re Dwyer),

     250 B.R. 472 (Bankr. D.R.I. 2000); In re Gillman, 120 B.R. 219 (Bankr. M.D. Fla. 1990);

     Swanson v. Stoffregen (In re Stoffregen), 206 B.R. 939 (Bankr. E.D. Wis. 1997); Kapila v.

     Moodie (In re Moodie), 362 B.R. 554 (Bankr. S.D. Fla. 2007); In re Penney, 632 B.R. 181

     (Bankr. E.D. Ark. 2021). If the Debtor’s bare legal title to the Property had no value, then

     receiving no value for its transfer was reasonably equivalent value.

            The Plaintiffs seem to argue two counterpoints to avoid the outcome that is

     necessitated by a finding that the Debtor owned nothing more than bare legal title. First,

     they insinuate that the Defendant has “unclean hands” based upon his transfer of the

     Property to the Defendant to gain bank financing and/or the unsubstantiated claims that he

     transferred the Property as some sort of a scheme to defraud the Internal Revenue Service.

     With regard to the tax claims, the Plaintiffs have presented no evidence (much less

     uncontroverted evidence) to demonstrate that the transfer of the Property was related to tax

     evasion, so that matter can be easily dispensed. With regard to his admission that the

     transfer of the Property was done in order to obtain financing, other cases have refused to

     permit the unclean hands defense on similar, or much worse, fact patterns. Lovesac Corp.




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     v. Cox (In re Lovesac Corp.), 422 B.R. 478 (Bankr. D. Del. 2010) (property deeded in order

     to obtain financing); Tolz v. Miller (In re Todd), 391 B.R. 504 (Bankr. S.D. Fla. 2008)

     (property deeded to obtain financing); In re Torrez, 827 F.2d 1299 (9th Cir. 1987) (property

     deeded to obtain federally subsidized irrigation to which the actual property owner was not

     entitled); Kelley v. Haar (In re Haar), 634 B.R. 429 (Bankr. M.D. Ga. 2021) (property

     deeded to avoid inclusion in divorce case). In fact, as explained by all of the courts that

     examine the unclean hands defense in resulting trust cases, unclean hands prevents a party

     from proactively claiming an equitable title to property where it does not otherwise exist,

     but it does not prevent a party from defending its title to property under a trust theory.

     Therefore, unclean hands is inapplicable to this case.

            Second, the Plaintiffs seem to argue § 544 allows them to step into the shoes of a

     hypothetical lien holder and avoid the transfer of the Property to the Defendant, irrespective

     of the Defendant’s ownership rights as the beneficiary of a resulting trust. There are

     multiple problems with the Plaintiffs’ theory. First, courts have found that § 544 cannot

     be used to avoid a transfer of property in which the Debtor had only bare legal title because

     the property was never property of the estate under § 541. See, e.g., Markair, Inc. v.

     Markair Express, Inc., 172 B.R. 638, 642 (9th Cir. BAP 1994); Kelley v. Haar (In re Haar),

     634 B.R. 429 (Bankr. M.D. Ga. 2021). This is only sensible; a bankruptcy trustee cannot

     create a property right for the estate where none existed. The United States Supreme Court

     has adopted this general theory, noting: “The legislative history [of § 541(a)(1)] indicates

     that Congress intended to exclude from the estate property of others in which the debtor

     had some minor interests such as a lien or bare legal title.” United States v. Whiting Pools,

     Inc., 462 U.S. 198, 205 (1988). Second, the Plaintffs are barred from pursuing a § 544




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     action because they had actual notice of the 2010 quitclaim deed prior to the petition date.

     By their own admission, the Plaintiffs will be the only beneficiary of an avoidance of the

     Property, since they hold approximately 99.8% of the debt. Therefore, their actual

     knowledge of the transfer is highly relevant in this, a court of equity. Finally, even if the

     Court were to ignore that this action benefits the Plaintiffs and only the Plaintiffs, there are

     no undisputed facts that illustrate that any other party would not have been on reasonable

     inquiry notice of the Defendant’s interest in this Property. The Defendant lived there, paid

     the mortgage, paid the taxes, contracted for and paid for all renovations, signed leases for

     the Property, and accepted rent on the Property. Prior to the petition date, the Plaintiffs

     themselves filed a lien lis pendens on the Property, which would require further inquiry

     from a hypothetical purchaser. The Court needs to conduct a trial to determine whether a

     reasonable creditor would have been on inquiry notice of the Defendant’s equitable interest

     in the Property. Thus, summary judgment is inappropriate.

            C. The Defendant Has Other Meritorious Defenses Which Are The Subject
               Of Disputed Facts.

            Other disputed facts exist with regard to the substance of the Plaintiffs’ claims that

     work to defeat their motion for summary judgment. For example:

                •   The Plaintiffs cannot offer undisputed facts to establish when the transfer

                    of the Property actually occurred, much less do they offer facts to prove the

                    insolvency of the Debtor as of the date of that transfer.

                •   The Plaintiffs offer no undisputed facts to establish that creditors existed on

                    the date of the transfer, a necessary element to their § 544 and § 548 claims.

                •   The Plaintiffs offer no undisputed facts that demonstrate that the Debtor

                    intended to defraud his creditors in 2010 when he executed the quitclaim


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                       deed in favor of the Defendant, an element necessary for their §

                       548(a)(1)(A) claim.5

     Any of these issues, standing alone, would warrant the denial of this Motion. However,

     due to the strength and conclusive nature of the legal argument concerning the Debtor’s

     bare legal title ownership, and the fatal procedural flaws of the Plaintiffs’ Motion, the

     Defendant will reserve further discussion of these issues for the trial of this matter.

                                                  CONCLUSION

              This matter cannot be decided on a motion for summary judgment; to determine

     the true nature and value of the Debtor’s ownership interest in the Property, the Court must

     hear and weight the probative value of evidence on what was done, when, for what reasons,

     and what was known by the Plaintiffs. See In re Penney, 632 B.R. 181, 191 (Bankr. E.D.

     Ark. 2021). For the reasons set forth herein, the Defendant prays that this Court deny the

     Plaintiffs’ Motion and grant any other further relief that the Court deems equitable and

     appropriate under the circumstances.

     Dated this 12th day of August, 2022

                                                             Respectfully Submitted,

                                                             /s/ Phillip G. Young, Jr.
                                                             Phillip G. Young, Jr. (Tn. Bar No. 21078)
                                                             Thompson Burton PLLC
                                                             One Franklin Park
                                                             6100 Tower Circle, Suite 200
                                                             Franklin, Tennessee 37067
                                                             Phone: 615-465-6015
                                                             phillip@thompsonburton.com

                                                             Attorneys for Max Salas


     5 At most, they have alleged disputed facts that establish fraudulent intent at the time of perfection of the
     transfer in 2018, not the initiation of the transfer in 2010. The Defendant vehemently denies any allegation
     of fraudulent intent.


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                                        Certificate of Service

            The undersigned hereby certifies that a true and exact copy of the foregoing has

     been served via electronic notice/ECF on all parties having made an appearance herein,

     including counsel for the Plaintiffs.


     This 12th day of August, 2022.

                                                  /s/ Phillip G. Young, Jr.
                                                  Phillip G. Young, Jr.




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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE
                                        NASHVILLE DIVISION

 IN RE:                                                      )
                                                             )
 LEN SALAS                                                   )   CASE NO. 3:18-BK-02662
                                                   )             CHAPTER 11
           DEBTOR.                                 )             JUDGE HARRISON
                                                   )
 NICOLAAS BREKELMANS AND                           )
 GAIL GREGORY BREKELMANS,                          )
 CO-PERSONAL REPRESENTATIVES OF                    )
 THE ESTATE OF NINA BREKELMANS                     )
                                                   )
 and                                               )
                                                   )
 MICHAEL MCLOUGHLIN AND                            )
 MARTHA JOHNSON, CO-PERSONAL                       )
 REPRESENTATIVES OF THE ESTATE                     )
 OF MICHAEL PATTRICK MCLOUGHLIN,                   )
                                                   )
          PLAINTIFFS,                              )
                                                   )
 v.                                                )   Adv. Pro. No. 3:20-ap-90027
                                                   )
 MAX SALAS,                                        )
                                                   )
          DEFENDANT.                               )

                    DEFENDANTS’ RESPONSE TO PLAINTIFFS’ AMENDED
                    LIST OF UNDISPUTED FACTS, PURSUANT TO LOCAL
                       RULE 7056-1 IN SUPPORT OF THE PLAINTIFFS’
                            MOTION FOR SUMMARY JUDGMENT

       Comes now the Defendant, Max Salas (the “Defendant”), by and through counsel, and submits

the following responses to the statement of undisputedfacts (Doc. 74-1) (the “Plaintiffs’ Statement of

Undisputed Facts”) submitted by the Plaintiffs:

          1. The Plaintiffs are the personal representatives of the Estates of Nina Brekelmans

 and Michael Patrick McLoughlin, respectively. Joint Stipulation of Uncontested Facts, Joint

 Pretrial Statement, June 22, 2020 (D-14) (“Stip”), No. 1.

          RESPONSE:



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        Admitted

          2. Nina Brekelmans and Michael Patrick McLoughlin were tragically killed in a fire

  at a residence in Washington, DC (the “Fire”) located at 1610 Riggs Place, NW, Washington,

  DC (the “Property”). Stip. No. 2

          RESPONSE:

        Admitted

          3. Defendant resided in the Property from approximately 2007 through early June,

  2015 and then commenced residing in the Property again in early 2018. Stip No. 3, Exemption

  Trans. Vol. 3, 62:11 - 63:17.

          RESPONSE:

        Admitted

          4. In 2007 Len Salas took out a loan for $870,000 in order to pay Max’s ex-wife an agreed

  $500,000 in a divorce settlement.

          RESPONSE:

         This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
 of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

             5. Michael Gigandet, the Court appointed Trustee of the Estate, has declined to pursue

 the causes asserted herein and has also declined to join in this action. Court’s Memorandum

 Opinion dated February 11, 2021 (D-38)(“L Salas Memorandum Opinion”), at p. 6-7.

          RESPONSE:

        Admitted

             6. The Complaint is brought as a derivative action on behalf of the Estate of Len

Salas. L Salas Memorandum Opinion dated February 11, 2021, in Case No. 20-90027 (D-38).



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                               Exhibit 1 Page 2 of 32                                 APPX00774
           RESPONSE:

         Admitted

             7. In April, 2018, the Plaintiffs obtained judgments against Len and Max totaling

$15.2 Million (collectively, “the Judgment”). Joint Statement of Stipulated Facts, Joint Pre-trial

Statement dated June 22, 2020 (D-14), Stipulation No. (“Stip. No.”) 6.

           RESPONSE:

         Admitted


             8. The Defendant, Max Salas does not have the original of the Quitclaim Deed and

the 1610 Riggs Property Trust, dated July 6, 2010. Defendant’s Amended Responses to the

Plaintiffs Request for Admissions, dated November 11, 2021 (“Amended Responses-RFP”),

Exhibit 17, Resp No. 2, p.3. Amended Responses-RFA, Request No. 1., p. 2.

           RESPONSE:

         Admitted


             9. Len Salas does not remember seeing a “wet ink” original of the Quitclaim Deed

after July 6, 2010. L Salas Trans. 140:13-23.

           RESPONSE:

         Admitted

              10.       The Defendant does not have the original Quitclaim Deed created in

  July, 2010. Defendant’s Amended Responses to the Plaintiffs’ Request for Admissions (“RFA”),

  Req. 1

           RESPONSE:

         Admitted



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                               Exhibit 1 Page 3 of 32                                 APPX00775
               11.       That the Defendant is unaware of the location of the original Quitclaim Deed
after 2012.

            RESPONSE:

         This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
 of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.


            12. Ron Salas gave original(s) of the Trust and Quitclaim Deed of July 6, 2010 to Max

  Salas and only kept a copy.

            RESPONSE:

         This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
 of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.


            13. The Defendant did not attempt to record the Quitclaim Deed after 2010.        RFA,

  Req. 3.

            RESPONSE:

         Admitted

            14. That from 2007 through April 18, Len Salas was the sole obligor under the Sun Trust

  loan documents executed in 2007. RFA 16.

            RESPONSE:

         Admitted

            15. Max Salas had no written agreement or understanding with Len Salas that Max

  was responsible for the Sun Trust Mortgage/Deed of Trust obligation. RFA 17.

            RESPONSE:

         Admitted

            16. Neither Len Salas nor Max Salas informed SunTrust in writing that Max was



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                               Exhibit 1 Page 4 of 32                                 APPX00776
 responsible for the SunTrust Deed of Trust Note payments.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.


        17. Max Salas was not a listed or added obligor or guarantor under the SunTrust

 Deed of Trust obligation or Note. RFA 18.

        RESPONSE:

       Admitted

        18. Max Salas did not contact Ms. Sylvia Jones, a real estate broker acquaintance,

 regarding the location or existence of the original Quitclaim Deed since June, 2015. RFA 41

        RESPONSE:

       Admitted

        19. That the Note balance as of April, 2007 totaled approximately $870,000. RFA 44

        RESPONSE:

       Admitted

        20. That the Note balance as of the commencement of the Salas bankruptcy case (April 18,

 2018) totaled more than $1,030,825.86. RFA 47

        RESPONSE:

       Admitted

        21. That the Note Balance as of September 29, 2019 totaled $1,208,720.40. Stipulation

 filed on November 20, 2019 (D-266-1) in Max Salas’ bankruptcy, Motion to Approve Settlement

 with U.S. Bank, Exhibit 15.

        RESPONSE:



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                              Exhibit 1 Page 5 of 32                                 APPX00777
       Admitted

        22. That on or about July 6, 2010, Ron Salas, an attorney recently admitted to practice law

 in Colorado, prepared a Trust document for the 1610 Riggs Property Trust along with a Quitclaim

 Deed purporting to transfer the Property from Len to Max.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        23. That the foresaid Trust and Deed were prepared and executed in Colorado.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        24. That the Trust was registered in Colorado by Ron Salas in 2011 even though the


 Property was located in D.C. Email dated June 17, 2011 from Ron to Max, Exhibit 7.

        RESPONSE:

       Admitted

        25. That the Defendant made at least two attempts to obtain a new or different Quitclaim

 Deed from the Law Firm of Stan Goldstein in 2011 and 2012. Emails between Max Salas and the

 Goldstein Firm, June, 2011 through February, 2012, Exhibit 7.

        RESPONSE:

       Admitted

        26. That on June 17, 2011, Ron Salas sent an email to his father, the Defendant, stating

 that the “next step” was for his father to obtain counsel to prepare a Quitclaim Deed for Len to

 sign. Emails between Max Salas and the Goldstein Firm, June, 2011 through February, 2012,



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                              Exhibit 1 Page 6 of 32                                 APPX00778
 Exhibit 7.

        RESPONSE:

       Admitted

        27. That on June 21, 2011 the Defendant forwarded Ron Salas’s email of June 17, 2011 to

 Stanley Goldstein requesting Mr. Goldstein to assist the Defendant to transfer the Property from

 Len to Max. Emails between Max Salas and the Goldstein Firm, June, 2011 through February,

 2012, Exhibit 7.

        RESPONSE:

       Admitted

        28. On January 17, 2012, more than six months later, the Defendant sent another email to

 Lynn Boileau, an associate of Mr. Goldstein requesting that she “get Lenny’s name off of the

 property.” Emails between Max Salas and the Goldstein Firm, June, 2011 through February, 2012,


 Exhibit 7.

        RESPONSE:

       Admitted

        29. On February 24, 2012, Len sent his father an email asking for the status of removing

 Len from the property title. Max responded on February 24, 2012 that he is “still working on

 this...” Emails between Max Salas and the Goldstein Firm, June, 2011 through February, 2012,

 Exhibit 7 .

        RESPONSE:

       Admitted

        30. There were no further communications regarding the creation or recording of a Deed




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                              Exhibit 1 Page 7 of 32                                 APPX00779
 for the transfer of the Property from Len to Max after February, 2012. L Salas Trans.     .

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        31. From 2010 through early 2015 Len had numerous communications with Max asking

 Max to remove his name from the Property. L Salas Trans. 70:18 - 74:16

        RESPONSE:

       Admitted

        32. Len had several conversations with his father regarding getting his name off the loan

 and deed after 2010. L Salas Trans. 71:25 - 74:16; Transcript of Len Salas’s testimony at the

 hearing on Objections to the Claim of Exemption (of the Property) by the Debtor, Max Salas, in

 case no. 18-00260 in the United States Bankruptcy Court for the District of Maryland, Trial

 Transcript (“Exemption Trans.”),Vol 1., Exhibit 20, 158:13 - 163:10; Deposition Transcript of the

 Deposition of Kendra Rowe Salas, August 27, 2021 (“K Rowe Trans.”), Exhibit 14, 16:6-24.

        RESPONSE:

       Admitted

        33. The Sun Trust Note was in default during the period 2010 - 2018. L Salas Trans.,

 Exhibit 13, 55:11-20.

        RESPONSE:

       Admitted

        34. That from the period 2010 through 2018 the Defendant did not declare the income

 from the rentals of rooms at the Property as income on his Federal or D.C. Income Tax Returns.

        RESPONSE:




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                              Exhibit 1 Page 8 of 32                                 APPX00780
        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.


        35. The Plaintiffs are the holders of undisputed and accepted claims totaling $15.2

 Million. Of that amount, the claim of the Brekelmans estate represents $7.5 Million and the

 claim of the McLoughlin Estate represents $7.7 Million. Stip. No. 6

        RESPONSE:

       Admitted

        36. According to the Debtor’s schedules and the Trustee’s Final Report (D-209), in Case

 No. 18-2662, the Plaintiffs represent 99.8% of all allowed unsecured claims of the estate.

        RESPONSE:

       Admitted

        37. The Plaintiffs’ judgments were allowed claims in both bankruptcy estates (Len’s and

 Max’s).

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.


        38. The Plaintiffs received distributions on account of their claims from both estates.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        39. The Superior Court Judgments were recorded in the D.C. judgment records on or

 about April 5, 2018.

        RESPONSE:




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                              Exhibit 1 Page 9 of 32                                 APPX00781
        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        40. On April 18, 2018 both Len and Max filed separate Chapter 11 bankruptcy cases in

 the Middle District of Tennessee and the District of Columbia, respectively.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        41. At the time of the bankruptcy filings by Len and Max, Len was, and continued to be,

 until May 3, 2022, the title owner of property located at 1610 Riggs Place, NW, Washington, D.C.

 (“the Property”).

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        42. In 2007 Max deeded the Property to Len in 2007 after his father, Max, and Max’s then

 wife, divorced.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.


        43. Len then obtained a Deed of Trust from Sun Trust Bank for $870,000 (“the Sun Trust

 Loan”).

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        44. The proceeds of the Sun Trust Loan were paid to Max’s wife as part of the divorce

 settlement. Exemption Trans. Vol. 3, Exhibit 6, 70:2-17.



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        RESPONSE:

       Admitted

        45. Len received no part of the $870,000.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        46. From 2007 through January 27, 2020, Len remained the sole owner of the Property.

 Max’s Confirmed Plan provides that the Confirmation Order constitutes “an Order conveying the

 Property to Max Salas”. See, Complaint, Exhibit B, Confirmed Plan, Max’s Bankruptcy (Case

 No. 18-00260) (D-298), p. 12, ¶ 4.4.

        RESPONSE:

          The wording of the Plan is admitted. The remainder of the statement fails to comply with
the requirements of Bankruptcy Rule 7056, Federal Rule of Civil Procedure 56, and Local Rule
7056-1; therefore, no response is required. To the extent a response is required, the remainder of the
statement is denied. The facts contained in Paragraphs 1-24 of the Max Salas Affidavit, attached to
the Response to Motion for Summary Judgment, illustrate that Len Salas held nothing but bare legal
title to the Property.

        47. At the time of Len’s purchase of the Property in 2007, Max had tax liens and other

 obligations which made it impossible for Max to obtain a loan on the Property. Exemption Trans.

 Vol. 3, 71:9 - 72:23.

        RESPONSE:

       Admitted

        48.     At no time, since 2007, including, but not limited to, the time of the Quitclaim

 Deed in July, 2010, did Max make any payments to Len and Len received no property or other

 value from Max related to the Trust or Quitclaim Deed. Exemption Trans. Vol 3, Exhibit 6,

 139:15 - 140:2; Len Salas testimony, Plan Confirmation Hearing, United States Bankruptcy Court



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                             Exhibit 1 Page 11 of 32                                 APPX00783
 for the Middle District of Tennessee, December 13, 2018 (“L Salas Conf. Hrg. Trans.”), 68:22 -

 69:2. Exhibit 4.

        RESPONSE:

       Admitted

        49.     Max delivered the original Quitclaim Deed to Mr. Goldstein’s office but did not

 recall whether Mr. Goldstein mailed it back to Mr. Salas. Exemption Trans. Vol. 3, 55:7 - 56:21.

        RESPONSE:

       Admitted

        50. According to Max, he tried to refinance the Property several times after 2007, all to no

 avail. In fact, at least through 2015 every attempt to refinance the Property required the

 participation of Len as a co-signer or co-obligor.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        51. There are no documents indicating that Max was liable on the SunTrust loan at any

 time and Max never entered into any agreement or understanding with Len that Max was liable or

 responsible.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        52. There is no document raised, proffered or produced by Max indicating that Len was

 not the sole party responsible for the Deed of Trust payments until at least November, 2019.1

        RESPONSE:

       This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule



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                             Exhibit 1 Page 12 of 32                                 APPX00784
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        53. Max testified in his deposition in the Superior Court case in February, 2016 that there

 was one trust, the CLR Trust. He confirmed that, when he mentioned “the 1610 Salas Trust” he

 was referring to the same trust, namely, the CLR Trust. Max Salas testimony at the Exemption

 Hearing, Exemption Trans. Vol. 2, August 23, 2018 (“Exemption Trans. Vol. 2”),Exhibit 3, 33:23

 - 50:25, Max Salas Deposition in Superior Court Case, Case Nos. 2015 CA 8054 B and 2015 CA

 8061 B, Consolidated)(referred to herein as the “Superior Court Litigation’), February 24, 2016

 (“M Salas Sup Ct Depo”), Exhibit 1, 42:18 - 43:2.

        RESPONSE:

       Admitted


        54. From sometime after 2007 through the date of the fire, Max rented out rooms at the

 Property. The tenants, including Nina and Michael, signed leases under the name of “the CLR

 Trust” and Max signed each lease as Trustee.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        55. According to Len, the CLR Trust, was a trust created by Max for the benefit of his

 three sons, Chase, Len and Ron. Len Salas, Sup. Ct. Depo, Exhibit 11, 30:5-14.

        RESPONSE:

       Admitted.

        56. Other than the 1611 Riggs Place Trust executed on July 6, 2010, the only family

 related trust of which Len is aware is the “CLR Trust.” L Salas Trans. 148:1-13. In Len’s

 Deposition Testimony in the Superior Court Litigation, Len testified, on March 9, 2016, that he



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                             Exhibit 1 Page 13 of 32                                 APPX00785
 had no knowledge a trust other then the CLR Trust. Len Salas Deposition Testimony, March 9,

 2016 in the Superior Court Litigation, Exhibit 11, 29:14 - 30:14

        RESPONSE:

       Admitted

        57. The lease payments were put into an account in the name of the CLR Trust and were

 used to pay for the Deed of Trust obligations and other expenses associated with the Property.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        58. Max did not want the rents deposited into his personal account. Exemption Trans.

 Vol 3., Exhibit 6, 222:12 - 16

        RESPONSE:

       Admitted for purposes of this motion only.

        59. Max told Len that he deposited the rent checks into “this account for 1610 [Salas

 Trust]. Exemption Trans., Vol 1, Exhibit 20, 149:2 - 150:21.

        RESPONSE:

       Admitted

        60. During the period 2015 through 2018, and continuing after Max’s Bankruptcy filing

 until November, 2019, no payments were made on the Sun Trust Deed of Trust Note (“the Sun

 Trust Note”) with the exception of one payment of made by Max from the insurance proceeds he

 received as a result of the fire damage.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.



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                             Exhibit 1 Page 14 of 32                                 APPX00786
        61. As of October, 2018, the deficiency on the SunTrust Note was $420,928.34. Sun

 Trust Motion For Relief, filed November 2, 2018 in Case No. 18-2662 (D-79), pp. 2-3.

        RESPONSE:

       Admitted

        62. As of April, 2018, the deficiency on the SunTrust Note was $374,282.18. Sun Trust

 Motion For Relief, filed November 2, 2018 in Case No. 18-2662 (D-79), pp. 2-3.

        RESPONSE:

       Admitted

        63. As of April, 2018, Len remained the sole obligor on the SunTrust Note.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        64. The transfer in 2010 was a violation of Len’s Deed of Trust and Note with Sun Trust

 Bank. L Salas Depo Trans., Exhibit 13, 144:7 - 148:7, 152:3 - 153:10. See SunTrust Deed of

 Trust, dated April 16, 2007, Exhibit A to SunTrust Motion for Relief from Stay (“SunTrust

 Motion”), filed in Case No. 18-2662 on November 2, 2018 (D-79-1), Exhibit 15.

        RESPONSE:

       Admitted for purposes of this motion only.

        65. At the time of the attempted Quitclaim Deed, in July, 2010, Len’s only significant

 asset was the Property.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.




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                             Exhibit 1 Page 15 of 32                                 APPX00787
        66. At all relevant times, Len worked only part time and had limited income and assets.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        67. At all times following the transfer in 2010, Len was insolvent. His liabilities exceeded

 his assets and his income was insufficient to pay his obligations, including the Sun Trust Deed of

 Trust Note payments.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        68. Len did not have sufficient funds to pay his attorneys in the Superior Court litigation.

 He lives “paycheck to paycheck.” L Salas Trans. 76:20 - 77:2

        RESPONSE:

       Admitted

        69. At the time of his bankruptcy filing in April, 2018, Len was obligated for all payments

 due on the Sun Trust Note, as well as the judgments, totaling $15.2 Million, owed to the

 Plaintiffs. L Salas Trans. 61:1 - 63:2.

        RESPONSE:

       Admitted

        70. In 2016, Len’s income was a total of $15,151. L Salas Statement of Financial Affairs,

 filed April 18, 2018 in Case No. 18-2662, (D-1), Exhibit 16, p 38.

        RESPONSE:

       Admitted

        71. In 2017 Len’s total income was $30,408. Exhibit 16, p. 38.



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                             Exhibit 1 Page 16 of 32                                 APPX00788
        RESPONSE:

       Admitted

        72. In 2018, through April 17, 2018 Len’s total income was $6,720. Exhibit 16, p. 38.

        RESPONSE:

       Admitted

        73. During the Superior Court litigation which ended with the 4 day trial held in late

 March and early April, 2018, Max paid certain expenses and legal fees owed by Len Salas

 because Len could not afford them. See, for example, Max Salas Statement of Financial Affairs,

 filed in his bankruptcy case, No. 18-00260 in the United States Bankruptcy Court for the District


 of Columbia on May 2, 2018 (D-13) (“M Salas SOFA”), p. 5 of 10, attached hereto as Exhibit 16.

        RESPONSE:

       Admitted

        74. Len’s brother, Ron, paid for Len’s bankruptcy proceedings and the retention of

 counsel for the appeal of the Superior Court litigation. Disclosure of Compensation of Attorney

 for Debtor, April 18, 2018 (D-1) p. 46 of 56; Motion of Debtor in Possession to Employ Michael

 C. Forster and Forster Law Firm as Special Counsel, filed April 27, 2018 in Case No. 18-2662, D-

 10, at page 3 of 10.

        RESPONSE:

       Admitted

        75. On his bankruptcy schedules filed herein on April 18, 2018 (D-1), Len Salas lists total

 assets of $53,373.38 and total liabilities of $16,107,795.41. Len Salas Schedules of Assets and

 Liabilities, filed on April 18, 2018 in Case No. 18-2662, (D-1) pp. 12-36.



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        RESPONSE:

       Admitted

        76. Len received no income, payments or property from Max in 2007 or 2010. L Salas

 Mtg Trans., 4/1/19, Exhibit 5, 5:22 - 7:15.

        RESPONSE:

       Admitted

        77. Len repeatedly attempted to get Max to remove Len’s name from the Property after

 2010. L Salas Depo. Testimony, Exhibit 13, 70:18 - 74:16

        RESPONSE:

       Admitted

        78. Mr. Salas told his counsel, Mr. Albert and his associate, Mr. Cox, in 2018, what Max

 did with the Quitclaim Deed and left it up to his counsel to obtain the original from Mr.

 Goldstein’s Office. Exemption Trans. Vol 3, 57:13 - 58:6

        RESPONSE:

       Admitted

        79. After seeking to record through Mr. Goldstein’s office in 2011 and/or 2012 (See

 emails attached as Exhibit 7) Max did not make any further attempts to record the Deed.

 Exemption Trans. Vol 3, 58:9-13.

        RESPONSE:


       Admitted for purposes of this Motion only.


        80. In his deposition Ron Salas testified, under oath, related to the Quitclaim Deed,

 executed on July 6, 2010, as follows:



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 “Q And I believe you said, but I want to
 clarify this, that between the time of 2012,
 roughly, and I realize you said, I think, a year
 or two after the transaction, so I'm not trying to
 pin it down, but say roughly 2012, which would be
 two years later, until today, are you aware of any
 other reasons why the deed, the quitclaim deed
 that you prepared would not have been or could not
 have been recorded?
 A. I don't know of any reason and I did not
 know that it was not recorded until the lawsuit
 came in my brother's name.
 Q And what is it about the lawsuit that
 came in your brother's name that made you believe
 the quitclaim deed had not been recorded?
 A The only reason my brother would be
 involved was because his name had to still be on
 the title is the assumption I've made in my mind
 I don't know that that is factually correct, but
 that is my assumption, that it must not have been
 filed or he wouldn't be in this situation.

 He didn't live in the District, he
 never- he didn't live in the house, and I- so
 that's the only logical reason I could make that
 he would be involved, that it was never done. And
 until that point, I did not even know that it had
 not been done. I assumed at some point that he
 came up with the money and did it. But he didn't,
 as we sit here today we all know.

 Transcript of the Deposition of Ron Salas in the United States Bankruptcy Court for the
 District of Columbia, Case No. 18-00260, August 8, 2018, excerpts attached hereto as
 Exhibit 8, (“R Salas Trans”), 73:15 - 74:21 (emphasis in original).2
        RESPONSE:

       Admitted

        81. The Plaintiffs Judgments are now final and binding on all parties as a result of the final
 distribution and closing of Len’s Estate in this Court and the Confirmed Plan in Max’s
 Bankruptcy. M Salas Chapter 11, Case No. 18-00260 in the United States Bankruptcy Court for
 the District of Columbia, Docket Entries D-298 and 303; L Salas Chapter 7, Case No. 18-002662




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 in the United States Bankruptcy Court for the Middle District of Tennessee, Docket Entries D-
 209 (Trustee’s Final Report) and D-220, Trustee’s Final Account, and D-222 (Final Decree).
        RESPONSE:

       Admitted

        82. Max has not produced, and is currently unaware of the location of, the original
 Quitclaim Deed is, or if it even exists. Transcript of the Continued Deposition of Max Salas,
 March 8, 2022 (“M Salas Trans.”) 51:2-12; 52:6-20
        RESPONSE:

       Admitted

        83. On June 16, 2011, Ron sent an email to the Defendant advising Max that the Trust
 had been registered and that Max needed to have a Quitclaim Deed created to transfer the Property
 to Max. This was nearly a year after the Quitclaim Deed was created, the only deed relied upon
 by Max in asserting his ownership of the Property. A copy of Ron’s email, dated June 17, 2011,
 less than a year after the purported Quitclaim Deed of July 6, 2010, was produced in discovery by
 Len Salas in 2022.
        RESPONSE:

       The Defendant denies that the Quitclaim Deed is his only proof of ownership of the
Property. Otherwise, the statement is admitted.

        84. These emails attached as Exhibit 7 were within the scope of the document production
 requested from Max as part of the discovery requests in the Exemption Hearing adversary
 proceeding in Max’s bankruptcy in D.C. Debtor’s Responses to Movants’ First Set Request for
 Production of Documents, served on August 6, 2018, in Case No. 18-260, Exhibit 21.
        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.


        85. Max, Ron and Len all testified at that hearing and all asserted, or supported the claim



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                             Exhibit 1 Page 20 of 32                                 APPX00792
 that the Quitclaim Deed of July 6, 2010 was in effect in 2018.
        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.


        86. Ron’s email states, on June 17, 2011 that “The next step is for someone in D.C. to
 draft a Quitclaim Deed in order to move the property from the possession of Len to the Trust. The
 document should be straight forward and will need to be signed by at least the grantor, Len.”
 Exhibit 7, Bates Nos.: LenSalas000016-17.
        RESPONSE:

       Admitted

        87. On June 21, 2011 Max followed up with an email to his real estate attorney, Stan
 Goldstein. In that email, Max asserts to the attorney, Mr. Goldstein, that “We need to have done
 is have Lenny sign a quick (sic) claim deed into the trust...” Exhibit 7, Bates Number
 LenSalas000016.
        RESPONSE:

       Admitted

        88. In Max’s email to attorney Lynn Boileau on January 17, 2012, he states : There are
 two different requests. One is to get Lenny’s name off of the property. (Want to do this asap)
 The second request is to refinance the property under the name of the trust..” (Emphasis
 supplied) Exhibit 7, Bates Number LenSalas000023.
        RESPONSE:

       Admitted

        89. On February 24, 2012 Len sent an email to Max asking “Where are we on this?”
 Max’s response is “Still working on this...,,I am in Miami will be back soon.” Exhibit     , Bates
 Number LenSalas000029.



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                             Exhibit 1 Page 21 of 32                                 APPX00793
        RESPONSE:

       Admitted

        90. Max Salas testified that he is unaware that the attorneys he contacted in the D.C. area
 respecting the Trust’s ownership of the Property ever created a deed to convey the Property into
 the Trust. M Salas Trans. , Exhibit 10, 64:16 -74:2.
        RESPONSE:

       Admitted.

        91. Max also testified that he does not recall any further communications with counsel
 about the 1610 Riggs Place documents after February 27, 2012. M Salas Trans. 72:12-18.
        RESPONSE:

       Admitted

        92. When asked whether he contacted the attorneys to determine if they had a copy of a
 deed for the Property, Max testified as follows:
        Q. Have you contacted Ms. Boileau or
        Mr. Goldstein to determine if they have
        a copy of any deed that might have
        been created?


        A. I did try to contact them. I
        did try to contact them actually
        recently. And I -- but I didn't -- I
        mean, they were trying -- they
        were -- no. I mean, we worked on
        something and then they said it couldn't go
        any further and depends on what you
        were going to do. So I don't -- I guess -- I
        can't guess. I don't know.

 M Salas Trans. 73:13-23

        RESPONSE:

       Admitted




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                             Exhibit 1 Page 22 of 32                                 APPX00794
         93. Only Max Salas had an original of the Quitclaim Deed after July 6, 2010 and Max

 does not know where the original is or when he last had it. Exhibit 10, M Salas Trans. 73:13-23,

 77:2 - 82:23.

          RESPONSE:

         Admitted for purposes of this Motion only.

         94. Max testified in his deposition in the Superior Court case in February, 2016 that there

 was one trust, the CLR Trust. He confirmed that when he mentioned “the 1610 Salas Trust” he

 was referring to the same trust, namely, the CLR Trust. Max Salas Deposition in Superior Court

 Case, Case Nos. 2015 CA 8054 B and 2015 CA 8061 B, Consolidated)(referred to herein as the

 “Superior Court Litigation’), February 24, 2016 (“M Salas Sup Ct Depo”), Exhibit 19, 42:18 -

 43:2.

          RESPONSE:

         Admitted

         95. Len Salas is not aware of the location of any of the wet ink signature originals of the

 July 2010 Quitclaim Deed (Transcript of the Deposition of Len Salas, August 27, 2021 (“L Salas

 Trans.”), 15:4-9. Len testified in his deposition that he provided an original “wet ink” original

 of the Quitclaim Deed, or a copy, to his lawyer on the eve of the Superior Court trial which resulted in

 the judgment against Len and his father. L Salas Trans, 16:6-24, 19:11-25 - 21:18. Regardless, Len

 testified that the document he produced on the eve of the Superior Court trial, which commenced on

 March 26, 2018, was kept in his possession at all known times between July, 2010 and March, 2018. Id.

 Len’s wife, Kendra, testified that she “had a pdf of it (the July, 2010 Quitclaim Deed) and that she

 thought it was the same as what Len had “ I thought it was the same thing as what Len had, but I’m not

 sure.” K Rowe Trans. 30:13-20.




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        RESPONSE:

       Admitted

        96. Ron Salas stated that he was unaware the Quitclaim Deed had not been recorded

 until he found out that Len had been sued in the Superior Court (in October, 2015. Transcript

 of the Deposition of Ron Salas, August 8, 2018, Exhibit 8, 65:21 - 66:21

        RESPONSE:

       Admitted

        97. Ron Salas was unaware of the requirements of Quitclaim Deeds in D.C. Ron Salas’s

 testimony, Exhibit 12, at pp.227:5 - 228:12.

        RESPONSE:

       Admitted

        98. Ron stated he was unaware whether the trust documents he created were valid under

 D.C. law in August, 2018. Ron Salas’s testimony, Exhibit 12, 243:8-15.

        RESPONSE:

       Admitted

        99.    The only deed referenced by Max or his counsel, allegedly entitling Max to an

 ownership interest in the Property, is the 2010 Quitclaim Deed. No other deed has been proffered,

 or even mentioned by the Salas family or by Max, specifically.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        100. As of the filing of Len’s bankruptcy case in 2018, Len was obligated to pay over $15

 Million in damages to the Plaintiffs as a result of their judgments. Neither Len, nor the Trustee




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                             Exhibit 1 Page 24 of 32                                 APPX00796
 filed objections to the Plaintiffs’ claims filed in Len’s bankruptcy.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        101. In Len’s Schedule J, filed on April 18, 2018 in Case No. 18-2662 (D-1), p. 35, Len

 listed total monthly income of $4977.75 and total monthly expenses of $4,407.14.

 On April 5, 2018 Max was a creditor of Len’s. He owed Len, at the very least, his contribution

 for the Plaintiffs’ Judgment and the balance of the SunTrust Deed of Trust Note (at least

 $1,035,000 approx) per his consistent promise that he would pay that amount and his consistent

 assertion that he was responsible for payment of the SunTrust Note which was, at all relevant

 times, in Len’s name.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        102. The Judgment is now final and binding on all parties as a result of the final

 distribution and closing of Len’s Estate in this Court and the Confirmed Plan in Max’s

 Bankruptcy. M Salas Chapter 11, Case No. 18-00260 in the United States Bankruptcy Court for

 the District of Columbia, Docket Entries (“D- “) D-298 and 303; L Salas Chapter 7, Case No. 18-


 002662 in the United States Bankruptcy Court for the Middle District of Tennessee, Docket

 Entries (“D- “) D-209 (Trustee’s Final Report) and D-220, Trustee’s Final Account, and 222

 (Final Decree).

        RESPONSE:

       Admitted




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           103. Len was solely obligated on the Sun Trust Deed of Trust on the Property which,

 according to the Defendant’s bankruptcy schedules was over $1 Million in April, 2018. M Salas

 Schedules, Case No. 18-260 (D-12), p. 19 of 37, attached as Exhibit      .

 30. At no time, since 2007, including, but not limited to, the time of the Quitclaim Deed in July,

 2010, did Max make any payments to Len and Len received no property or other value from Max

 related to the Trust or Quitclaim Deed. Transcript of Confirmation Hearing in Case No. 18-02662,

 December 13, 2018 at pp. 68-69, excerpts attached as Exhibit 4. See also, Transcript of the

 Chapter 7 Meeting of Creditors of Len Salas, April 1, 2019 (L Salas Mtg. Trans.), Exhibit 5, 5:22

 - 7:15.

           RESPONSE:

           Admitted

           104. Max delivered the original Quitclaim Deed to Mr. Goldstein’s office. He does recall

 that Mr. Goldstein mailed it back to Mr. Salas. Exemption Trans. Vol. 3, 55:7 - 56:21.

           RESPONSE:

           Admitted

           105. After seeking to record through Mr. Goldstein’s office in 2011 and/or 2012 (See

 emails attached as Exhibit 7) Max did not make any further attempts to record the Deed.

 Exemption Trans. Vol 3, 58:9-13


           RESPONSE:

           Admitted

           106. In discussions with his newly hired bankruptcy counsel, Marc Albert (Stinson

 LLP) (“Albert”), Max learned that if the Property was owned by Len, it could not be




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 exempted in bankruptcy and would be subject to attachment and sale to partially satisfy the

 eventual judgments. D.C. Code § 15-501 (a)(14). These conversations took place in early

 2018. Exemption Trans. Vol. 3, Exhibit 6, 119:9 - 122:9; Albert-R Salas emails, 2/14 -

 3/7/18, Exhibit 19, Exemption Trans. Vol 1, Exhibit 20, 145:22 - 147:20.

        RESPONSE:

       Admitted for purposes of this Motion only, and such admission is made without waiving the
attorney-client privilege.

        107. Max also learned from Albert that if Max could claim he is the actual owner of the

 Property, he could claim the Property exempt in his subsequent bankruptcy proceeding and, due to

 D.C.’s generous homestead exemption, Max could then claim the entire equity in the Property as

 exempt from execution by the Plaintiffs.

        RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required.

        108. Mr. Albert confirmed that no original was found after 2010 at the Exemption Hearing

 through Ron Salas’ “rebuttal” testimony on August 24, 2018. Rebuttal Testimony of Ron Salas, at

 the Exemption Evidentiary Hearing, August 24, 2018. Exemption Trans., Vol 3, 4:10 - 5:16. See

 also, Exemption Trans. 5:19 - 6:3, 7:18 - 12:8, 13:17 - 15:24

        RESPONSE:

       Admitted

        108. At the time of Ron Salas’ conversation with Mr. Albert regarding copies of the trust

 documents, Ron Salas understood that Mr. Albert was representing Max regarding a potential

 bankruptcy filing after the Superior Court trial. Exemption Trans. 12:12 - 13:14




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        RESPONSE:

       Admitted


        109. Max Salas valued the Property at $2.5 Million on his schedules in or about May

 2018, and the Property was appraised for approximately $2.4 Million in or about August 2019.

 Stip. No. 50.

        RESPONSE:

       Admitted


        110. Pursuant to an order of this Court dated June 12, 2019, the trustee in this case was

 authorized to sell the estate’s interest in the Trustee’s avoidance and recovery rights under 11

 U.S.C. §§ 544 through 551. Stip. No. 47

        RESPONSE:

       Admitted

        111. On July 23, 2019, the trustee in Len Salas’ case held an auction sale to sell the

 bankruptcy estate’s interest in the avoidance and recovery actions pursuant to 11 U.S.C. §§ 544

 through 553. Stip. No. 48

        RESPONSE:

       Admitted

        112. The Plaintiffs were the successful bidders at the Trustee’s auction sale. Stip No. 49

        RESPONSE:

       Admitted

        113. The D.C. Bankruptcy Court made no final determination of the effect of the trustee’s

 avoiding powers asserting that effect was up to Len Salas’ bankruptcy estate. Stip. No. 44



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        RESPONSE:

       Admitted

        114. No deed was recorded naming Max Salas as trustee or owner of the Property prior to

 Len Salas’ bankruptcy filing. Stip. No. 45

        RESPONSE:

       Admitted

        115. Other than the original deed dated 2007 and the Confirmation Order, no deeds or

 other documents of title have been filed related to the Property as of June 6, 2022. Stip. No. 46

        RESPONSE:

       Admitted

        116. From the time of the Fire until February or March 2018, no one resided in the

 Property. Stip. No. 35.

        RESPONSE:

       Admitted

        117. During that time, and until November 2019, no payments were made on the

 SunTrust Loan with the exception of one payment made by Max Salas from the insurance

 proceeds he received as a result of the fire damage. Stip No. 36

        RESPONSE:

       Admitted

        118. According to the schedules filed in Max Salas’ bankruptcy, as of the

 commencement of his bankruptcy case, in April, 2018, the only lien creditors were the IRS

 ($6,768.66 claim) and SunTrust Mortgage ($1,030,825.86). Stip. No. 37

        RESPONSE:



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                             Exhibit 1 Page 29 of 32                                 APPX00801
       Admitted

          119. The balance of the SunTrust Loan as of October 26, 2018 was $1,141,021.14. Stip.

 No. 38

          RESPONSE:

       Admitted



          120. Max Salas has been making the required payments on the Property since

 November 2019, as of June 22, 2020. Stip. No. 39.

          RESPONSE:

       Admitted

          121. At all relevant times, Len Salas had limited income and assets, other than the

 Property. Stip. No. 28.

          RESPONSE:

       Admitted

          122. Max Salas intended to record the Quitclaim Deed in 2010 but had no money to

 pay the required recording and transfer taxes. Stip. No. 29.

          RESPONSE:

       Admitted

          123. The Quitclaim Deed has never been recorded. Stip. No. 30

          RESPONSE:

       Admitted

          124. As of June 17, 2011, Len and Max abandoned the Quitclaim Deed and no longer had




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                             Exhibit 1 Page 30 of 32                                 APPX00802
 any intent to use or record it. Emails dated June, 2011 through February, 2012, Exhibit 7.

         RESPONSE:

        This statement fails to comply with the requirements of Bankruptcy Rule 7056, Federal Rule
of Civil Procedure 56, and Local Rule 7056-1; therefore, no response is required. To the extent a
response is required, the Defendant denies that the referenced emails establish this alleged fact and
would request that the Plaintiffs identify a specific email upon which they rely.

        125. While in Colorado, Len Salas and Max Salas executed a trust agreement which

 Ron Salas prepared using a Colorado form even though the purported trust property, the

 Property, was located in D.C. Stip. No. 25.

         RESPONSE:

       Admitted

        126. The Defendant’s Second Amended Disclosure Statement and Third Amended Plan of

 Reorganization, as confirmed by the D.C. bankruptcy court, recognize that the Plaintiffs are the

 owners of, and have the right to pursue, the avoidance actions which are alleged in the Complaint,

 as amended. Exhibit 2, Complaint Exhibit B, M Salas Second Amended Disclosure Statement,

 Exhibit 2, at p. 17.

         RESPONSE:

       Admitted




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                             Exhibit 1 Page 31 of 32                                 APPX00803
Dated: August 12, 2022
                                            Respectfully Submitted,

                                            /s/ Phillip G. Young, Jr.
                                            Phillip G. Young, Jr.
                                            Thompson Burton PLLC
                                            One Franklin Park
                                            6100 Tower Circle, Suite 200
                                            Franklin, TN 37067
                                            Tel: 615.465.6008
                                            Fax: 615.807.3048
                                            Email: phillip@thompsonburton.com

                                            Attorneys for Defendant




                                       Certificate of Service

        The undersigned hereby certifies that a true and exact copy of the foregoing has been served

via electronic notice/ECF on all parties having made an appearance herein, including counsel for the

Plaintiffs.


This 12th day of August, 2022.

                                            /s/ Phillip G. Young, Jr.
                                            Phillip G. Young, Jr.




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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   Nashville Division

 In Re:                                               :

  LEN SALAS                                           :       CASE NO. 3:18-BK-02662
                                                              CHAPTER 11
                               DEBTOR                 :       JUDGE HARRISON


 NICOLAAS BREKELMANS AND                              :
 GAIL GREGORY BREKELMANS,
 CO-PERSONAL REPRESENTATIVES OF                       :
 THE ESTATE OF NINA BREKELMANS
                                                      :
          and
                                                      :
 MICHAEL MCLOUGHLIN AND
 MARTHA JOHNSON, CO-PERSONAL                          :
 REPRESENTATIVES OF THE ESTATE
 OF MICHAEL PATTRICK MCLOUGHLIN                       :

                               PLAINTIFFS             :

          v.                                          : Adv. Pro. No. 3:20-ap-90027

 MAX SALAS                                            :

                               DEFENDANT              :

                 PLAINTIFFS’ RESPONSE TO THE DEFENDANT’S
          OBJECTION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


               This matter is set to be heard on September 13, 2022 at 9:30 a.m.
           Courtroom Three, US Customs House, 701 Broadway, Nashville, Tennessee

          COME NOW, the Plaintiffs herein, Nicolaas Brekelmans and Gail Gregory Brekelmans,

 Co-personal Representatives of the Estate of Nina Brekelmans and Michael McLoughlin and

 Martha Johnson, Co-personal Representatives of the Estate of Michael Pattrick McLoughlin

 (“the Estates”), by and through their counsel and, for their response to the Defendants’



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 Objections to the Plaintiffs’ Motion for Summary Judgment state as follows:

 I.     INTRODUCTION

        1. As a threshold matter, the Defendant did not file an opposition to the Motion for

 Summary Judgment and offered no undisputed facts in support of his “Objections.” Although

 the Defendant makes the general statement that he has other meritorious defenses to the

 Plaintiffs’ Complaint, he fails to explain them in any detail, fails to assert any undisputed facts in

 support and those “defenses” do not impact the right of the Trustee to avoid and recovery the

 subject Property in D.C. from the Defendant. The Defendant did file an Affidavit of the

 Defendant but the Defendant stated in his Opposition that the purpose of the Affidavit was to

 show that the Debtor had no interest in the Property. From the Plaintiffs’ perspective, the

 Affidavit supports the Plaintiffs’ Motion, as discussed below.

        2. The Plaintiffs assert that the Defendant has conceded that the undisputed facts support

 the Plaintiffs’ entitlement to Summary Judgment, except for the single “objection” that the

 Debtor’s “bare legal title” is an insufficient basis for the use of the Trustee’s “strong arm”

 remedies under 11 U.S.C. § 544 (a). That argument is completely without merit and not even

 supported by cases cited by the Defendant. In addition, the Defendant has offered no argument

 against the state law claim in Complaint, Count V (Fraudulent Conveyance - D.C.). Therefore,

 the Plaintiffs assert that, at a minimum, they are entitled to judgment on Count V. See D.C. Code

 §§ 28-3104, et seq., 42-401 and Clay Properties, Inc. v. Washington Post Co. 604 A.2d 890,

 894 (D.C. 1992). Furthermore, the Defendant’s Affidavit, filed in support of his “Objections”

 confirm facts which not only support the Plaintiffs’ allegations and right to relief but also show

 that Defendant was not the owner of the Property, at least since sometime before 2015 and that


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 the “trust” to which the Quitclaim Deed of July 2010 was purportedly transferred did not exist

 and, in fact, the CLR Trust was the actual owner of the subject Property, not the Defendant.

         3. The Plaintiffs are emphasizing that they are entitled to judgment on the basis of actual

 fraud, bad faith, misrepresentations which border on perjury, and other factors that do not allow

 the Defendant to obtain the equitable relief he seeks in this court. However, for purposes of this

 Motion the Plaintiffs are asserting that they are entitled to summary judgment on the counts of

 the Complaint alleging fraudulent conveyances, namely, Counts IV and V, and avoidance of the

 transfer from the Debtor to the Defendant on April 17, 2018 pursuant to 11 U.S.C. § 544 (a)(3)

 (“bona fide purchaser”). The Plaintiffs are also asserting that they are entitled to the recovery of

 the property at 1610 Riggs Place, N.W., Washington, DC (“the Property”), or its value upon sale

 of the Property, under Count VI, all for the benefit of the Debtor’s bankruptcy estate.

         4. In his Objection, the Defendant does not offer any direct evidence that refutes the

 allegations of the Plaintiffs’ Motion, but does offer two “Objections” related to compliance with

 Fed. R. Civ. P. (“FRCP”) 56 (c) and Local Rule 7056-1 and the misguided theory that the

 Debtor’s interest is just that of “bare legal title.” Therefore, the Trustee is not entitled to use his

 “strong arm” powers to avoid the alleged transfer and recover the Property for the benefit of the

 Debtor’s Estate. As argued below, neither of these objections are valid and the lack of an

 appropriate opposition requires this Court to grant summary judgment.

         5. The Defendant asserts that he has other meritorious defenses which are the subject of

 disputed facts but does not elaborate in his Opposition and has cited no facts in support of those

 arguments.




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 II.      ARGUMENT

          A.     The Applicable Provisions of Fed. R. Civ. P. 56 and Local Rule 7056-1 Do
                 Not Constitute an Impediment to Summary Judgment

          6. The Defendant’s threshold argument is that the summary judgment rule (Fed. R. Civ.

 P. 56 (c), as modified by this Court’s Local Rule 7056-1 (L.R. 7056-1) requires that each of the

 Plaintiffs’ listed items of undisputed facts must be supported by a direct reference to the record,

 including depositions, admissions, etc., citing several cases from the Eastern District of

 California and a recent case of the 6th Circuit Bankruptcy Appellate Panel, Hadley v. Harrison,

 2022 Bankr. LEXIS 483 (6th Cir. BAP).

          7. The lead case asserted by the Defendant is the case of Langley v. Tulare Police Dept.,

 in which Langley’s “Motion for Summary Judgment” consisted of the following letter sent to the

 Court:

          September 22, 2016 an AdmissionRequest [sic] was served on counsel for
          defendants, Jose Colegio [sic] and Tulare Police Department. A copy was also
          filed with the United States Courts, Eastern District of California received and
          dated 09/26/2016.

          Counsel for the defendants acknowledges receipt, and dates receipt as 09/26/2016.
          Counsels failure to respond to Admissions Request demonstrates [they're]
          conceding my allegations are true and correct. Counsels [sic] claim of "No Proof
          of Service" does not solidify actions in "Failure" to contest the admissions of fact.
          Enclosed is letter from counsel acknowledging receipt.

          Counsel's failure to respond, contests allegations supports my claims, and
          therefore there is no need for trial as there is no dispute in fact making summary
          of judgement appropriate.”

 Langley v. Tulare Police Dep't, No. 1:16-cv-00336-DAD-SKO, 2017 U.S. Dist. LEXIS 21572,

 at *4-5 (E.D. Cal. Feb. 15, 2017). The “motion” filed in Langley bears no resemblance or

 possible comparison to the Plaintiffs’ motion in this case.


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         8. The Defendant seems to believe that relying on inmate, or criminal defendants’ pro se

 cases are relevant to the facts and circumstances of the pending motion. The Plaintiffs’ would

 like to think that their Motion and the 90+ admitted Statements of Fact which accompany their

 Motion, rise to a justiciable level a little above, that of Langley and the other cases cited by the

 Defendant.

         9. Like Langley, Moore v. Sacramento Sheriff’s Dep’t, 2015 U.S. Dist. LEXIS 19986 is

 a case in which the Plaintiff, a state prisoner, is acting pro se. Id., at *1. The relevant facts in

 Moore are that the Plaintiff filed six motions for summary judgment, all confusing and

 duplicative, prompting the court to advise the Plaintiff “that improper and superfluous filings by

 the parties impede the progress of civil action and the court’s handling of the case.” Id., at *10-

 11. The court provided an example of the Plaintiff’s failure to provide citations to the record as

 required by the court’s local rule, which rule appears to be similar to Rule 56 but, unlike Local

 Rule 7056-1, the California rule allows citations to any supporting document. Local Rule 260(a),

 United States District Court for the Eastern District of California (E.D. L.R. 260(a)). The

 Eastern District stated in Moore: “plaintiff notes in his motion for summary judgment against

 defendants Jennings and Carriger that his motion is supported by “Exhibit (A) not attached so not

 to burden this court with excessive paper work...” Id., at *12. The court also noted that the

 Movant’s apparent attempt to provide the required Statement of Undisputed Facts through a

 defective and improper affidavit was not in compliance with Rule 56, or E. D. L.R. 260(a).

         10. The Eastern District of California denied the inmate Plaintiff’s Motion for Summary

 but, despite the significant deficiencies noted above, did so without prejudice. Id., at *13

         11. In the instant case, the Plaintiffs’ concede that most, but not all, of the 32 Statements


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 of which the Defendant complains do not contain citations to the record as required under FRCP

 56 and Local Rule 7056-1. However, that leaves over 90 Statements which are admitted and at

 least two Statements which the Plaintiffs contend are supported by proper record citations, but to

 which the Defendant does not counter and, therefore, those Statements are also deemed

 undisputed.

         12. In Harrison, supra, the Plaintiff stated 166 statements of fact each of which

 including citations to the record. In response, the Defendant, Harrison, was required to prove

 that there were genuine disputes of material fact to defeat the Plaintiff’s motion. See, Salas

 Objections, at p. 8 of 25. Harrison failed to sufficiently deny any of the allegations which Hadley

 submitted and therefore the motion for summary judgment was granted. The Harrison court

 implied that the Defendant failed to respond correctly to any of the Statements of Facts properly

 presented by the Plaintiff. Unlike in the cases cited by the Defendant, in the instant case, the

 Plaintiffs have provided more than 90 Statements of Fact supported by record citations and

 admitted by the Defendant. See Defendant’s Response to Plaintiffs’ Amended List of

 Undisputed Facts (“Defendant’s Response”) filed on August 12, 2022 (D-75-2). Moreover, most

 of the Statements objected to are covered, completely, or to a very large extent, by other

 Statements which the Defendant did admit.

        13. Of the 32 Statements of Fact to which the Defendant objected, some are obvious

 facts which are not in dispute (but admittedly do not contain direct references to the record), like

 for example, Statement No. 4. : “In 2007 Len Salas took out a loan for $870,000 in order to pay

 Max’s ex-wife an agreed $500,000 in a divorce settlement.” However, compare Statement No. 4

 to the Defendant’s Affidavit, (D-75-2) which states:


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                “3. In 2007, my wife and I divorced, and I was ordered to pay my ex-wife a

 portion of the equity in the Property.

                ...

                5. ...I learned that I was not credit worthy to borrow the funds.

                6. To facilitate this transaction, I quitclaimed the Property to my son,, Len Salas,

 who then borrowed $870,000 against the Property.

                7. My wife received the proceeds of the loan.

                8. Len Salas received no proceeds from the loan nor did he pay anything in

 exchange for the quitclaim deed.”

        14. In addition, Plaintiffs’ List of Undisputed Facts (“Plaintiffs’ List”) No. 19. States:

 “That the Note balance as of April, 2007 totaled approximately $870,000.” Defendant admits

 that Statement. See Defendant’s Response to Plaintiffs’ Amended List of Undisputed Facts (D-

 75-1), August 12, 2022 (“Defendant’s Response”), at p. 5 of 32.

        15. Defendant also objects to Statement No. 11, which reads: “That the Defendant is

 unaware of the location of the original Quitclaim Deed.” However, Plaintiffs’ List, Statement

 No. 82 states: “Max has not produced, and is currently unaware of the location of, the original

 Quitclaim Deed is (sic), or if it even exists.” (Citations omitted). The Defendant admits

 Statement No. 82. See Defendant’s Response, at p. 20 of 32.

        16. Defendant has also objected to Plaintiffs’ List, Statements Nos. 22 and 23. These are

 particularly surprising to the Plaintiffs. While the Plaintiffs admit they did not provide a direct

 citation to the record, the facts recited by Statements 22 and 23 (and related “facts”) were first

 advanced by the Defendant as early as April, 2018. See, for example, Defendant’s Schedule A


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 attached hereto as part of Exhibit 9, pp 1, 5, and 9; Exhibit 18; M Salas Affidavit attached to the

 Defendant’s Objections (D-75-2), at ¶¶ 11 & 12. In addition, Statement No. 24, which the

 Defendant admits, states: “That the Trust was registered in Colorado by Ron Salas in 2011 even

 though the Property was located in D.C.” See Defendant’s Response, Statement No. 24, at p. 6

 of 32.

          17. The Defendant objects to the Plaintiffs’ List, Statement No. 57, despite the fact that

 Defendant’s own affidavit recites nearly identical facts. See Max Salas Affidavit dated August

 10, 2022 (D-75-2), at ¶¶ 19, 21-22.

          18. Defendant also objects to Plaintiffs’ List, Statement No. 84 which reads: “These

 emails attached as Exhibit 7 were within the scope of the document production requested from

 Max as part of the discovery requests in the Exemption Hearing adversary proceeding in Max’s

 bankruptcy in D.C. This statement bears two citations, one to Exhibit 7, which is the emails

 produced by Len Salas at the time of his deposition in this adversary proceeding (August, 2021)

 case but also Exhibit 21, attached to the Plaintiffs’ Memorandum. Plaintiffs assert that the

 Defendant’s objection should be overruled and Statement No. 84 should be deemed undisputed.

 FRCP 56 (e)(2).

          19. The above makes it very clear that the Defendant’s objection is based upon nothing

 more than the hope the technical failure to support a relatively small minority of the Statements

 on the Plaintiffs’ List is sufficient to establish a road block to the inevitable judgment in this

 case. While the Plaintiffs concede that in these few cases, 30 out of 126 Statements, the

 Statements do not comply with the requirements of FRCP 56 (c)(1)(A), that technical failure

 does not preclude this Court’s consideration of the remaining 94 Statements which do comply


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 with the rules and to which the Defendant did not object, or seek to counter. Of those 94

 Statements, the Defendant admitted, either without reservation or limited to the pending Motion,

 92 Statements. The Defendant only partially admitted Statement No. 46 and did object to

 Statement No. 124 but also answered stating that he “denies the referenced emails establish this

 alleged fact.” The Defendant, however, offers no counter fact or citation to the record in his

 denial. FRCP 56 (c)(1)(A). The Plaintiffs submit that Statement No. 124 should be deemed

 undisputed. FRCP 56 (e)(2).

        20. It is curious that the Defendant provided no response to any of the Statements to

 which he objected, with the sole exception of Statement No. 124. Statement No. 124 references

 the statements in the emails among the Salas family members (Ron, Max and Len) and Max’s

 real estate attorneys in the time frame of June, 2011 through February, 2012 (Memorandum,

 Exhibit 7) in which emails the parties, including Len and Max make clear that they have either

 abandoned the July, 2010 Quitclaim Deed or determined that the Deed was defective, or

 ineffective to transfer the D.C. Property at issue here.

        21. This Court’s Local Rule (L.R.) 7056-1 requires the presentation of undisputed facts

 in a particular manner, described in L.R. 7056-1 (a). In every case, the defective Statements,

 even if stricken or ignored by the Court, will not defeat the Plaintiffs’ claim for Summary

 Judgment.

        22. L.R. 7056-1 does not provide a specific remedy for failure to comply with paragraph

 (a) of the Local Rule. However, FRCP 56, which is incorporated into Fed R. Bankr. P. 7056

 without any modification relevant to this case, does provide some direction. In addition to Rule

 56 (c)(1)(A)’s requirement of citation to parts of the record, which includes the broad category of


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 “other materials,” FRCP 56 (c)(1)(B) allows a party asserting a fact in support of his motion or

 opposition to show, alternatively, “that the materials cited do establish the absence or presence

 of a genuine dispute...

        23. FRCP § 56 (c)(3) further states that while "The court need consider only the cited

 materials, but it may consider other materials in the record." Fed. R. Civ. P. 56(c)(3). Bateman v.

 Driggett, No. 11-13142, 2012 U.S. Dist. LEXIS 91221, at *16-17 (E.D. Mich. July 2, 2012).

        24. Ultimately the court must determine whether the record as a whole presents a genuine

 issue of material fact, drawing "all justifiable inferences in the light most favorable to the

 non-moving party," Hager v. Pike County Bd. Of Education, 286 F.3d 366, 370 (6th Cir. 2002).

        25. The remedies for failure to comply with FRCP 56 (a) are set forth in FRCP 56(e)

 which states that the court may:

        “(1) give an opportunity to properly support or address the fact;

        (2) consider the fact undisputed for purposes of the motion;

        (3) grant summary judgment if the motion and supporting materials – including the facts

 considered undisputed – show that the movant is entitled to it; or

        (4) issue any other appropriate order.

 Bateman, supra. Since this Court’s Local Rules do not specify the remedy for non-compliance,

 the Plaintiffs assert that FRCP 56 (e) applies and the court is well within its discretion to grant

 summary judgment to the Plaintiffs. Most importantly, even without the Statements of Fact to

 which the Defendant objects, considering the remaining Statement of Facts, and the failure of the

 Defendant to offer any counter facts, the Plaintiffs assert they are entitled to summary judgment.

 The Plaintiffs’ believe, and therefore assert, that such a judgment on Counts III, IV, V and VI is


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 compelled by the overwhelming factual evidence in support, the lack of disputed facts material to

 the recovery under the Trustee’s strong arm powers, and the statutory and case law which

 uniformly supports the Plaintiffs’ theory of this case.

        26. The Defendant has attempted to paint a picture of a wholly unsupported motion with

 numerous, necessary material facts unsupported by the record. That is hardly the case. As

 argued above, most of the contested facts are stated elsewhere in Plaintiffs’ List and supported by

 both record citations and the admission of the Defendant. In some instances, while relevant to

 the matters before the court, the defective Statements are not necessary to support the pending

 Motion. In other instances, the contested facts are supported by parts of the record which are

 readily available to the court, including for example, the Defendant’s Affidavit attached to his

 Objections (D-75-2).

        27. Neither FRCP 56, Local Rule 7056-1 nor the cases cited by the Defendant conclude

 that the court must ignore the Statements presented by the Plaintiffs that do contain references to

 the record. Rule 56 (c)(3) allows this Court to also consider other materials in the record such as

 the Debtor’s bankruptcy filings, schedules and statement of financial affairs, the Complaint, the

 Defendant’s answer to the Complaint, deposition transcripts, Complaint exhibits, deposition

 exhibits and other documents that are in the record. Rule 56 (c)(3).

        B.      Defendant’s Response is Defective and Certain Statements Objected to
                Should be Deemed Undisputed

        28. The Defendant has objected to several statements of fact that contain references to

 the Motion Exhibit which supports the statement of fact. See, for example, Defendant’s

 Response to Plaintiff’s Amended List of Undisputed Facts, ¶¶84, 101, 124. These facts should



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 be deemed admitted under the Defendant’s own arguments regarding the requirement for

 citations to the record by both the moving and the non-moving party.

        29. In almost every case, the stated fact objected to by the Defendant is an

 uncontroversial statement that the Defendant has either admitted in his answer to the Plaintiff’s

 (Amended) Complaint, admitted in discovery or admitted in prior hearings in this matter.

        30. In almost every case, where the Defendant has objected to one of the listed facts, the

 same or very similar fact or facts are supported by another Statement of Fact, submitted with

 specific citations to the record and admitted by the Defendant.

        31. The Defendant objected to Statement No. 34. The Plaintiff is satisfied with the

 statements made in the Defendant’s affidavit regarding the fact that all of the rental income from

 the Property was deposited into an account in the name of “CLR Trust.” See, Affidavit of Max

 Salas, attached as an exhibit to the Defendant’s “Objections” (“Salas Affidavit”), at ¶¶ 19-22 (“I

 dealt with tenants, signed leases, and accepted rent payments on behalf of CLR Trust.” ¶21; and,

 “I deposited all rent checks into an account in the name of CLR Trust, for which I was signatory.

 ¶22”) Later, the Defendant admits, in response to Statement No. 55 that the Debtor understood

 the CLR Trust was a trust created by the Defendant for the benefit of his sons, Chase, Len and

 Ron.

        32. Among the documents produced by the Defendant pursuant to the Plaintiffs’ Motion

 to Compel, were the Defendant’s individual federal and state income tax returns for the years

 2014 through 2018. Although the Defendant’s 2014 tax return shows rental income, the 2015

 return shows no rental income despite the acknowledged fact that the Defendant had at least two

 tenants paying rent in 2015, namely the deceased children of the Plaintiff Estates. A copy of the


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 Defendant’s 2015 federal tax return, undated and unsigned, is attached hereto as an Exhibit to

 this Response. Notably, the Defendant’s 2014 and 2016 returns show preparation by a tax

 preparation service while no tax preparation service is identified in the 2015 return. The date the

 tax return was signed, if at all, was presumably after April 15, 2016 because attached to the

 return is an Application for an Automatic Extension of the 2015 return which would have been

 due on or about April 15, 2016.

         33. The Defendant also objected to Statement of Fact No. 37. which stated “the

 Plaintiff’s judgments were allowed claims in both bankruptcy estates.” The Plaintiff admittedly

 failed to cite to the record regarding this statement. However, again, this is a non-controversial

 statement which is already supported by the Defendant’s admission of Statements Nos. 35 and 36

         34. The Defendant objected to, and did not respond to Statement No. 101. However, the

 first sentence of that Statement is clearly supported by the reference to “Len’s Schedule J, filed

 on April 18, 2018 in Case No. 18-2662 (D-1), p. 35.” Therefore, the Defendant’s objection to

 that part of No. 101 should be overruled and that statement should be deemed admitted.

         35. Statement No. 107, to which the Defendant also objected, is a continuation of

 Statement No. 106 which contains several references to materials in the record.

         36. Max denies that the Quitclaim Deed is Max’s only proof of ownership. Defendant’s

 Response, Statement No. 83, at p. 20. However, the Defendant provides no facts to support that

 claim. Without a citation to the record, Statement No 83 should be deemed undisputed in its

 entirety.




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        C.      Legal Title is an Obvious Interest in Property Which Brings the Property
                Under the Trustee’s Avoiding Powers

                1.      The Debtor had more than Bare Legal Title

        37. At all times prior to the Debtor’s bankruptcy petition on April 18, 2018, he was the

 acknowledged owner of the Property for all purposes.

        38. It should be noted that, although the Debtor apparently did not pay anything in

 exchange for the quitclaim deed, he did obligate himself solely for the entire balance of the

 SunTrust Mortgage which, as of the date of the Debtor’s bankruptcy in April, 2018 had a balance

 of more than $1.037 Million per the Defendant’s schedules attached as Exhibit 18 to the

 Plaintiffs’ Motion. See also Defendant’s Response, at p. 5 of 32, Statement No. 20.

        39. Furthermore, all of the notices regarding the Property were sent in Len’s name as

 owner. In addition, the Defendant has admitted that he was unable to obtained refinancing for

 the Property and all efforts to obtain refinancing required the participation of Len and a co-

 borrower and co-obligor. See Complaint, ¶17 (admitted per Defendant’s Answer of March 9,

 2021 (D-42), at p. 4 of 9.

        40. The Debtor, at all times prior to November, 2019, was solely obligated under the

 SunTrust Deed of Trust. Plaintiffs’ List, Statement 103, admitted by the Defendant. See

 Defendant’s Response, Statement 103, at p. 26.

        41. The Debtor was found liable for the damages suffered by the Plaintiffs in the

 Superior Court’s April, 2018 decision from which the judgments totaling $15.2 Million were

 rendered.




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                2.      The Evidence is Overwhelming and Unrefuted that There is No Deed in
                        Existence Transferring the Property from the Debtor to the Defendant
                        prior to April 18, 2018

         41. According to the Defendant, he had no deed to record in 2011 or 2012 and he made

 no attempt to acquire such a deed after 2012. See discussion above.

         42. Neither the Debtor nor the Defendant are aware of the existence of an original of the

 Quitclaim Deed after 2010.

         43. The Debtor was not the owner of the Property. CLR Trust was. See, for example,

 Defendant’s Affidavit (D-75-2). There is no evidence offered by the Defendant that he was the

 owner of the property on April 17, 2018, but the Defendant and the Debtor have now provided

 irrefutable evidence that, if any “trust” owned the property after 2010, it was the CLR Trust. The

 Debtor has been consistent on that issue since 2015. He is now corroborated by the Defendant’s

 affidavit.

         D.     The Trustee is Entitled to Avoid and Recovery the D.C. Property Pursuant to
                His Avoidance and Recovery Authority in 11 U.S.C. §§ 544, et seq.

         44. The Defendant asserts in his “Objections” that the Debtor’s interest in the property

 was a bare legal title and appears to argue, therefore, that such an interest cannot be property of

 the estate for purposes of application of the Trustee’s avoiding powers. The cases cited by the

 Defendant do not support this contention and numerous cases, including in the 6th Circuit,

 support the Plaintiff’s claims and, therefore, the summary judgment sought in the pending

 Motion.




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        45. Ransel v. Libertyville Bank & Tr. Co. (In re Holco Capital Grp., Inc.), 2013 Bankr.

 LEXIS 4068, at *30-32 (Bankr. N.D. Ind. 2013) provides a partial explanation of the relationship

 between what is property of the estate and the trustee’s avoiding powers.

        The Code provides a sweeping definition of "property of the estate" in § 541(a),
        and it normally includes "property fraudulently or improperly transferred by the
        debtor before bankruptcy." Koch Refining v. Farmers Union Central Exchange,
        831 F.2d 1339, 1343 (7th Cir. 1987). The Supreme Court and Seventh Circuit
        have made clear that "'property of the debtor' subject to the preferential transfer
        provision is best understood as that property that would have been part of the
        estate had it not been transferred before the commencement of bankruptcy
        proceedings." Begier v. I.R.S., 496 U.S. 53, 58, 110 S. Ct. 2258, 110 L.Ed.2d 46
        (1990); accord, Warsco v. Preferred Technical Group, 258 F.3d 557, 564 (7th
        Cir. 2001); Homann v. R.I.H. Acquisitions IN, LLC (In re Lewinski), 410 B.R.
        828, 833 (Bankr. N.D. Ind. 2008). The Fourth Circuit applied that analysis to §
        548. See French v. Liebmann (In re French), 440 F.3d 145, 151-52 (4th Cir.),
        cert. denied, 549 U.S. 815, 127 S. Ct. 72, 166 L. Ed. 2d 25 (2006) ("§ 548 plainly
        allows a trustee to avoid any transfer of property that would have been 'property of
        the estate' prior to the transfer in question – as defined by § 541 – even if that
        property is not 'property of the estate' now.") (citing Begier)).

        46. In Ransel, the defendants asserted that the Funds accounts at issue were not property

 of the estate because "[t]he transfer of a property interest that the debtor holds in trust for another

 person will not qualify" as a transfer of an interest of the debtor in property. (Internal citations

 omitted) (quoting Dunham v. Kisak, 192 F.3d 1104, 1109 (7th Cir. 1999)). They cited § 541(d)

 of the Bankruptcy Code and contended that, in a trust arrangement like this one, Holco's interest

 in the Funds was purely a legal interest, not an equitable one. Without an equitable interest, they

 insisted, as a matter of law the Funds could not constitute property of the debtor.

        47. In Ransel v. Libertyville Bank & Tr. Co. (In re Holco Capital Grp., Inc.), Nos.

 10-30006 HCD, 12-3023, 2013 Bankr. LEXIS 4068, at *25-26 (Bankr. N.D. Ind. Sep. 25, 2013)

 the court explained that the 7th Circuit’s Dunham decision made no determination as to the



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 ability of the Trustee to avoid the subject deed issued prior to bankruptcy, but not recorded. In

 Ransel, the court explained:

        The Seventh Circuit, in Dunham, did state that general principle, but only in
        dictum. It declined to "confront the question of whether the 1995 deed amounted
        to a 'transfer of an interest of the debtor in property'" under § 548(a)(1), because
        the trustee forfeited the issue by failing to challenge the bankruptcy court's
        specific findings that there was no evidence that the debtor intended to hinder,
        delay, or defraud his creditors; that the debtor was insolvent when the transfer was
        made; or that the transfer rendered him insolvent. Dunham, 192 F.3d at 1110.

 Ransel v. Libertyville Bank & Tr. Co., supra, at *26 n.12.

        48. Likewise, the Defendant totally misstates the effect of the case of In re Torrez, also

 relied upon in the Defendant’s Objections.

        At oral argument, Chbat relied on In re Matter of Torrez, 63 Bankr. 751 (9th Cir.
        BAP 1986), aff'd on other grounds, 827 F.2d 1299 (9th Cir. 1987). Torrez held
        that the "strong arm" power of section 544 could not make the corpus of the valid
        resulting trust in that case property of a bankruptcy estate. Id. at 754. Chbat argues
        that Torrez should be extended to the constructive trust in this case. This
        extension of Torrez is unwarranted. Torrez did not hold that section 544 was
        inapplicable in general to resulting trusts or any other kind of trust. Rather, the
        BAP, applying section 544(a)(3), held that the debtor-in-possession in that case
        did not qualify as a bona fide purchaser for value without notice under California
        law and therefore could not invoke the avoidance power of section 544(a)(3). Id.
        Torrez leaves open, rather than forecloses, the possibility that under certain
        circumstances the corpus of a valid resulting trust may become estate property
        upon exercise of section 544(a)(3)'s avoidance powers. Neither Torrez, nor Chbat,
        presents any reason why we should not apply this reasoning to a constructive trust.

 In re Tleel, 876 F.2d 769, 772 (9th Cir. 1989)

        49. The Defendant is apparently arguing that his alleged equitable interest in the D.C.

 Property trumps the Trustee's 11 U.S.C. § 544(a)(1) powers. Courts, including in the Sixth

 Circuit, have ruled, however, that the Trustee can still use his 11 U.S.C. § 544(a) powers to

 preempt 11 U.S.C. § 541(d). See In re Elin, 20 Bankr. 1012 (D.C.N.J. 1982) aff'd without



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 opinion 707 F.2d 1400 ( 3rd Cir. 1983); In re Dlott, 43 Bankr. 789 (Bankr. D. Mass. 1983); In re

 Anderson, 30 Bankr. 995 (Bankr. M.D.Tenn.1983); In re Tleel, supra. These decisions

 demonstrate that the Trustee can bring any property into the bankruptcy estate which he could

 have reached with his 11 U.S.C. § 544(a) strong arm powers. See also, Dutch Miller Chevrolet,

 Inc. v. Tri-State Mech. Servs., Inc., 141 B.R. 488, 495 (Bankr. W.D. Pa. 1992) (Plaintiff’s

 constructive trust, which was unperfected at the time of the Debtor’s bankruptcy filing could be

 avoided and recovered for the benefit of creditors pursuant to 11 U.S.C. §§ 544, 550 and 551).

        50. In In re Anderson, a decision of this District Court, Judge Paine noted that

        “a reading and comparison of § 541(d) and § 544 leads to the inescapable
        conclusion that § 541(d) does not represent a general limitation on the trustee's
        avoidance powers under § 544. Section 541(d) qualifies the trustee's right under §
        541(a) to succeed to certain property interests possessed by the debtor at the time
        of the filing of his bankruptcy petition. In contrast, § 544(a) arms the trustee at the
        time of the filing of the debtor's bankruptcy petition with all the rights and powers
        of various creditors and transferees of the debtor so as to avoid incomplete or
        improperly perfected transfers of the debtor and thereby insure an equality of
        distribution among the debtor's general unsecured creditors. See, e.g., 4 L. KING,
        COLLIER ON BANKRUPTCY para. 541.01, 541-5 to 541-9 and para. 544.01,
        544-2 to 544-4 (15th ed. 1982); 2 W. NORTON, BANKRUPTCY LAW AND
        PRACTICE §§ 29.01 and 30.01 (1982). Section 544(a) in fact contemplates that
        the debtor has no remaining interest in the property which is the subject of the
        avoided transaction. The trustee is thus given the ability to bring into the estate,
        in addition to the debtor's property as defined by § 541(a) and limited by § 541(d),
        any property which he can obtain through his avoidance powers under the
        Bankruptcy Code, including his ability to invalidate certain transfers by the debtor
        under § 544(a). See 11 U.S.C.A. §§ 541(a)(3), 550, 551 (West 1979).

 In re Anderson, 30 B.R. 995, 1009-10 (M.D. Tenn. 1983)

        51. Judge Paine offered as support for his decision an analysis of the two provisions of

 the bankruptcy code referenced above by Judge Debevoise in the case of Elin v. Busche, 20

 Bankr. 1012, 1016-1017 (D. N.J. 1982). As Judge Debevoise explained:



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           "The fallacy of plaintiff's position [that § 541(d) restricts the application of §
        544(a)(3)] lies in a misreading of § 541. Three sections of the Act must be read
        together -- § 541, § 551 and § 544. Granted that the bare language of these
        sections may appear to be elliptical, the meaning which emerges is that assets
        recoverable by a trustee pursuant to § 544 become property of the estate
        notwithstanding the provisions of § 541(d). In other words, if a person other than
        the debtor holds an equitable interest in assets subject to recovery under § 544, the
        provisions of § 541(d) upon which plaintiff relies do not prevent the trustee from
        recovering those assets.

           Section 541(a)(4) provides that an estate is comprised of "any interest in
        property preserved for the benefit of or ordered transferred to the estate under
        section . . . . 551. " § 551 provides that 'any transfer avoided under section . . . .
        544 . . . . is preserved for the benefit of the estate but only with respect to property
        of the estate. ' Thus, § 541, and § 551 which is incorporated therein by reference,
        bring within the debtor's estate property recoverable pursuant to § 544.

 Id., cited and quoted in In re Anderson, 30 B.R. at 1010.

        52. The Ninth Circuit has held that a constructive trust or equitable lien is subject to the

 bankruptcy trustee's section 544 "strong arm" powers and may be voided to the extent voidable

 by a bona fide purchaser under state law. National Bank of Alaska v. Erickson (In re Seaway

 Express Corp.), 912 F.2d 1125, 1128-29 (9th Cir. 1990) Chbat v. Tleel (In re Tleel), 876 F.2d

 769, 770 (9th Cir. 1989). See also, Bank of Alex Brown v. Goldberg (In re Goldberg), 158 B.R.

 188, 196-97 (Bankr. E.D. Cal. 1993) (Bank's constructive trust was not perfected prior to the

 Debtor’s bankruptcy filing, thus Bank's interest may be avoided pursuant to section 544).

        53. Thus, even if the Debtor held just “bare legal title” that clearly constitutes an interest

 in property under the umbrella of the Trustee’s avoidance and recovery powers.

        E.      The Plaintiffs are Entitled to Summary Judgment, on Behalf of the Estate
                Under the Bankruptcy Code and D.C. Fraudulent Conveyance Act

        54. In order to establish a right to recovery as a fraudulent conveyance in Counts IV and

 V of the Complaint, the Plaintiffs must show that the Debtor (1) transferred an interest in


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 property; (2) for less than reasonably equivalent value; and the debtor was either (3) insolvent on

 the date the transfer was made, or became insolvent as a result of the transfer. 11 U.S.C. § 548

 (a)(1)(B). See also, Dunham v. Kisak, 192 F.3d 1104, 1109 (7th Cir. 1999); Limor v. Anderson

 In re Scarbrough), 2019 Bankr. LEXIS 933 (6th Cir. BAP 2019), at *9.

        55. D.C. Code §28-3105 (a) tracks 11 U.S.C. § 548 (a)(1)(B) except for the addition of

 the requirement that the transfer is “fraudulent as to a creditor whose claim arose before the

 transfer was made...” D.C. Code §28-3105(a).

        56. The Debtor held a recorded deed and was the maker of a Deed of Trust on the

 Property as of April 17, 2018.

        57. That Deed was more than just an accommodation as the Debtor was required to assist

 the Defendant in his attempts to obtain refinancing and continued to be obligated under the

 SunTrust Deed of Trust. The Debtor was also listed as the owner on all notices from the D.C.

 government and was liable, as owner, for any damages sustained at the property as evidenced by

 the final judgment in the D.C. Superior Court case in April, 2018.

        58. The Property was the subject of an alleged Quitclaim Deed dated July 6, 2010.

        59. The Quitclaim Deed was not recorded as of the Debtor’s bankruptcy filing on April

 18, 2018.

        60. By statute, the Deed was, therefor, deemed recorded on April 17, 2018.

        61. At the time of the transfer, the Debtor had obligations which exceeded $16 Million

 just with the SunTrust Note and the Plaintiffs’ judgments. Plaintiffs’ List, Statements Nos. 75,

 81.




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        62. At the moment before the transfer, the Debtor’s assets included the Property, worth

 approximately $2.5 Million, and approximately $53,000. Plaintiffs’ List, Statement No. 75.

        63. At no time did the Defendant pay any money or transfer anything of value to the

 Debtor related to the D.C. Property. Defendant’s Affidavit (D-75-2); Plaintiffs’ List, Statement

 No. 103; Plaintiffs’ Memorandum, Exhibits 4 and 5.

        64. Immediately following the transfer of the Property on April 17, 2018, the Debtor’s

 assets were approximately $53,000 and his liabilities exceeded $16 Million. Debtor’s Schedules

 of Asset and Liabilities filed herein on April 18, 2018; Statement No. 75.

        65. In accordance with the above stated facts all of which are undisputed and admitted by

 the Defendant, the Plaintiffs have met their burden to prove undisputed facts showing entitlement

 to judgment on their fraudulent conveyance claims under Counts IV and V of the Complaint.

 The Debtor transferred his interest in the subject Property to the Defendant on April 17, 2018. At

 the time of the transfer the Debtor was insolvent and the transfer made him even more insolvent

 by removing his only major asset, the Property. The transfer was not for valid consideration

 since the Defendant paid no money and transferred nothing of value to the Debtor at the time.

        66. For the purposes of § 548, the Bankruptcy Code defines "value" as "property, or

 satisfaction or securing of a present or antecedent debt of the debtor, but does not include an

 unperformed promise to furnish support to the debtor or to a relative of the debtor[.]" 11 U.S.C. §

 548(d)(2)(A); see also Lisle v. John Wiley & Sons, Inc. (In re Wilkinson), 319 B.R. 134, 138

 (Bankr. E.D. Ky. 2004) (defining "value" as "that which provides an economic benefit, either

 direct or indirect, to the debtor."). Courts generally compare the value of the property transferred

 with the value of what the debtor received to ascertain whether there was a reasonably equivalent


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 value, although a dollar-for-dollar equivalent is not required. Corzin v. Fordu (In re Fordu), 201

 F.3d 693, 707 (6th Cir. 1999); Butler Aviation Int'l v. Whyte (In re Fairchild Aircraft Corp.), 6

 F.3d 1119, 1125-26 (5th Cir. 1993); see also Allard v. Flamingo Hilton (In re Chomakos), 69

 F.3d 769, 771 (6th Cir. 1995) (holding that "the contractual right to receive payment in the event

 that it turns out well is obviously worth something.").

        67. The value of the Property at the time of transfer, excluding liens, was $2.5 Million.

 Plaintiffs’ List, Statement No. 109. It’s present value is estimated to be more than $2.4 Million.

 Id.

        68. The original Sun Trust loan balance was $870,000. The balance in October, 2018

 was $1,114,021.14. Statement No. 119.

        69. The SunTrust Note deficiency was $374,282.18 as of April, 2018. Statement No. 62.

 No payments were made on the SunTrust loan from 2015 through 2018 except one, only from

 insurance proceeds. Statement No. 116.

        70. The Defendant has stated in previous testimony that he “promised” to pay the

 SunTrust Note obligation. Obviously, by failing to keep up with the payments and the necessary

 upkeep on the Property (reference: the fire), he wholly failed in that “promise.” Regardless, that

 promise cannot be used as “consideration” or “value.” See In re Palermini, 113 B.R. 380, 384

 (Bankr. S.D. Ohio 1990) and Whitlock v. Hause (In re Hause), 13 Bankr. 75, 79 (Bankr. D.

 Mass. 1981), aff'd, 694 F.2d 861 (1st Cir. 1982).




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        F.      The Plaintiffs are Entitled to Summary Judgment on Counts I (Bona Fide
                Purchaser) and II (Judicial Lienholder) of the Amended Complaint

        71. The Plaintiffs are entitled to summary judgment on Count I of the Complaint because

 the undisputed facts show that the subject Deed was not recorded and there is no other recorded

 interest in the records of the District of Columbia that would provide the Trustee with actual or

 constructive notice of the Defendant’s alleged interest on the date of the bankruptcy filing. A

 deed conveying real property in the District of Columbia is not valid against a subsequent bona

 fide purchaser without notice until the deed is recorded. D.C. Code §42-401.

        72. Likewise, the Plaintiffs are entitled to summary judgment on Count II of the

 Complaint because the Quitclaim Deed, if ever valid, was not recorded prior to April 18, 2018,

 the date of which the Trustee, as a hypothetical lien creditor, is deemed to have perfected his

 interest. See Rogan v. Bank One, N.A. (In re Cook), 457 F.3d 561, 564 (6th Cir. 2006).

        G.      The Defendant’s “Other Meritorious Defenses” Claim is Not Supported by
                any Statements of Fact

        73. Finally, the Defendant asserts that he has other “meritorious defenses” which would

 thwart the Plaintiffs’ right to summary judgment. See, Defendant’s Objections, pp. 23 and 24.

 These claims contain nothing but bare arguments without reference to the record and without

 reference to any facts. Fatal to these arguments by the Defendant is his failure to support any of

 these “meritorious defenses” with facts supported by citations to the record. See Defendant’s

 discussion at Section A. starting on page 7 of his Objection (D-75).




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 CONCLUSION

        For the reasons set forth above and in the Plaintiffs’ Memorandum filed in support of

 their Motion for Summary Judgment, the Plaintiffs assert that they are entitled to summary

 judgment on Counts I, II, IV, V and VI of the Amended Complaint.

                                             Respectfully submitted,

                                             BURCH, PORTER & JOHNSON, PLLC


                                             By: /s/ Taylor A. Cates
                                             130 North Court Avenue
                                             Memphis, TN 38103
                                             901-524-5165
                                             901-524-5000 (fax)
                                             Tacates@bpjlaw.com

                                             LAW OFFICE OF PHILIP J. McNUTT, PLLC

                                             By: /s/ Philip J. McNutt
                                             Philip J. McNutt
                                             11921 Freedom Drive, Ste 584
                                             Reston, VA 20190
                                             703-904-4380
                                             202-379-9217 (fax)
                                             Pmcnutt@mcnuttlawllc.com

                                             COUNSEL FOR THE PLAINTIFFS

                                      Certificate of Service

       I HEREBY CERTIFY THAT a copy of the foregoing Motion, along with the Plaintiffs
 Memorandum and accompanying exhibits, was delivered electronically, on the 23th day of
 August, 2022 through the Court’s ecf noticing system to the following:

                                             THOMPSON BURTON PLLC
                                             Phillip Young
                                             One Franklin Park
                                             6100 Tower Circle, Ste 200
                                             Franklin, TN 37067


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                                       615-465-6008
                                       615-807-3048 (fax)
                                       phillip@thompsonburton.com


                                       /s/ Philip J McNutt
                                       Philip J. McNutt




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                 Exhibit Max Salas 2015 IRS Tax Return Page 1 of 13                    APPX00834
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                 Exhibit Max Salas 2015 IRS Tax Return Page 2 of 13                    APPX00835
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                         Doc 76-114-1FiledFiled
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                 Exhibit Max Salas 2015 IRS Tax Return Page 4 of 13                    APPX00837
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                         Doc 76-114-1FiledFiled
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                                                                                  #: 4301
                 Exhibit Max Salas 2015 IRS Tax Return Page 5 of 13                    APPX00838
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                 Exhibit Max Salas 2015 IRS Tax Return Page 6 of 13                    APPX00839
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                 Exhibit Max Salas 2015 IRS Tax Return Page 8 of 13                    APPX00841
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                 Exhibit Max Salas 2015 IRS Tax Return Page 9 of 13                    APPX00842
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                Exhibit Max Salas 2015 IRS Tax Return Page 10 of 13                   APPX00843
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                Exhibit Max Salas 2015 IRS Tax Return Page 12 of 13                   APPX00845
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                Exhibit Max Salas 2015 IRS Tax Return Page 13 of 13                   APPX00846
                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                                Nashville
 In re:                            :
                                       CHAPTER 11
 LEN SALAS                       :     CASE No. 18-02662
                                       JUDGE: HARRISON
           Debtor                :


 NICOLAAS BREKELMANS AND GAIL :
 GREGORY BREKELMANS,
 CO-PERSONAL REPRESENTATIVES  :
 OF THE ESTATE OF NINA
 BREKELMANS, et al            :

                               Plaintiffs     :

         v.                                   : Adversary Proceeding No. 3:20-ap-90027

 MAX SALAS                                    :

                               Defendant      :


                PLAINTIFFS’ SUPPLEMENTAL LIST OF UNDISPUTED FACTS,
                    PURSUANT TO LOCAL RULE 7056-1 IN SUPPORT OF
                  THE PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

         In accordance with Local Rule 7056-1 of the rules of this Court, and this Court’s Order of

 September 12, 2022, the Plaintiffs submit the following facts in support of their Motion for

 Summary Judgment and citations, or additional citations to the record. This supplemental list is

 intended to supplement and support the Amended List of Undisputed Facts filed herein and only

 addresses those facts listed previously by the Plaintiff to which the Defendant objected. To the

 extent necessary, except as stated herein, the Plaintiffs adopts and incorporates their Amended

 List filed herein.




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                            Plaintiffs’ Citations, or Additional Citations
                                  to Their List of Undisputed Facts
                        In Support of Their Motion for Summary Judgment

 NOTE: All references to Case No. 18-2662 refer to the Chapter 7 bankruptcy of Len Salas filed on
 April 18, 2018 in the United States Bankruptcy Court for the Middle District of Tennessee, Case
 No. 3:18-02662.

        All references to Case No. 18-260 refer to the Chapter 11 case of Max Salas filed in the
 United States Bankruptcy Court for the District of Columbia on April 18, 2018, Case No. 18-
 00260.

        All references to the Complaint refer to the Amended Complaint filed in Adversary
 Proceeding 3:20-90027 in the United States Bankruptcy Court for the Middle District of
 Tennessee on February 16, 2021.

       All references to “Exhibit” or “Exh.” refer to Exhibits to the Plaintiffs’ Memorandum in
 Support of their Motion for Summary Judgment, as amended, unless otherwise specified.

        Referenced documents which are part of the docket entries in Case No. 18-2662 or this
 adversary proceeding are not attached but are incorporated in this Memorandum and into the
 Summary Judgment record by such reference.

       The numbered listed facts refers to the numbers set forth in the Plaintiffs Amended List of
 Undisputed Facts filed herein.



           4. In 2007 Len Salas took out a loan for $870,000 in order to pay Max’s ex-wife an agreed

 $500,000 in a divorce settlement. Amended Joint Pre-trial Statement filed herein on March 29,

 2021, Parties Joint Statement of Uncontested Facts, (D-43, pp. 3-10) (“Joint Statement”), Nos. 12

 and 13.

           RESPONSE:



           11. That the Defendant is unaware of the location of the original Quitclaim Deed after

 2012. Exh. 3, Exemption Hrg Trans. Vol. 2, 55:7 - 58:13; Joint Statement No. 33.


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        RESPONSE:



        12. Ron Salas gave original(s) of the Trust and Quitclaim Deed of July 6, 2010 to Max

 Salas and only kept a copy. Exh. 4, L Salas Confirmation Hearing Transcript, 12/13/18, in Case

 No. 3:18-2662 (“L Salas Conf. Trans.”), 22:8-20; 53: 3-24. Exhibit 19 (Ron Salas - M Albert

 eMail chain, “Bates” No. salassm7-16-18 00557)

        RESPONSE:



        16. Neither Len Salas nor Max Salas informed SunTrust in writing that Max was

 responsible for the SunTrust Deed of Trust Note payments. Exh. 4, L Salas Conf. Trans. 67:13-

 25; Exh. 13, L Salas Depo Trans. 22:22 - 23:7;

        RESPONSE:



        22. That on or about July 6, 2010, Ron Salas, an attorney recently admitted to practice law

 in Colorado, prepared a Trust document for the 1610 Riggs Property Trust along with a Quitclaim

 Deed purporting to transfer the Property from Len to Max. Joint Statement Nos. 24, 25, 26; Exh.

 7.

        RESPONSE:



        23. That the foresaid Trust and Deed were prepared and executed in Colorado. Joint

 Statement Nos. 24, 25, 26; Exh. 7.

        RESPONSE:


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        30. There were no further communications regarding the creation or recording of a Deed

 for the transfer of the Property from Len to Max after February, 2012. Exh. 13, L Salas Depo

 Trans. 70:2-17.

        RESPONSE:



        34. That from the period 2010 through 2018 the Defendant did not declare the income

 from the rentals of rooms at the Property as income on his Federal or D.C. Income Tax Returns.

 Salas 2015 Federal Tax Return, Exh A to Plaintiffs’ Response (D-76-1).

        RESPONSE:



        37. The Plaintiffs’ judgments were allowed claims in both bankruptcy estates (Len’s and

 Max’s). Trustee’s Final Reports and Distribution, 18-2662, D-209 (Trustee’s Final Report), 220

 (Trustee’s Final Account) and 222 (Final Decree).

        RESPONSE:



        38. The Plaintiffs received distributions on account of their claims from both estates.

 Trustee’s Final Reports and Distribution, 18-2662, D-209 (Trustee’s Final Report), 220 (Trustee’s

 Final Account) and 222 (Final Decree).

        RESPONSE:




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        39. The Superior Court Judgments were recorded in the D.C. judgment records on or

 about April 5, 2018. Plaintiffs’ Proofs of Claim filed herein at claims C-5-1 and C-6-1, filed

 August 7, 2018, at pp. 4-9 of 9, respectively.

        RESPONSE:



        40. On April 18, 2018 both Len and Max filed separate Chapter 11 bankruptcy cases in

 the Middle District of Tennessee and the District of Columbia, respectively. Joint Statement No.

 5, Case No. 18-2662 (D-1), Case No. 18-260 (D-1).

        RESPONSE:



        41. At the time of the bankruptcy filings by Len and Max, Len was, and continued to be,

 until May 3, 2022, the title owner of property located at 1610 Riggs Place, NW, Washington, D.C.

 (“the Property”). Joint Statement Nos. 7 and 23, Complaint Exhibit B, Defendant’s Third

 Amended Plan (D-40-2), p. 19 of 37, Exh. 6, Exemption Hrg Trans. Vol 3, 40:2 - 46:16.

        RESPONSE:



        42. In 2007 Max deeded the Property to Len in 2007 after his father, Max, and Max’s then

 wife, divorced. Joint State Nos. 11-13

        RESPONSE:



        43. Len then obtained a Deed of Trust from Sun Trust Bank for $870,000 (“the Sun Trust

 Loan”). Joint Statement No. 12.

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        RESPONSE:



        45. Len received no part of the $870,000. M. Salas Affidavit attached as an Exhibit to the

 Defendant’s Opposition in Case No. 20-9007 (D-75-2)(“M Salas Aff.”); Exh. 5, L Salas Mtg of

 Creds Trans, at p. 6.

        RESPONSE:



        46. From 2007 through January 27, 2020, Len remained the sole owner of the Property.

 Max’s Confirmed Plan provides that the Confirmation Order constitutes “an Order conveying the

 Property to Max Salas”. See, Complaint, Exhibit B, Confirmed Plan, Max’s Bankruptcy (Case

 No. 18-00260) (D-298), p. 12, ¶ 4.4.; Joint Statement Nos. 7 and 23; Exh. 4, L Salas Conf Hrg

 Trans, 67:13-25; Exh. 6, Exemption Hrg Trans, Vol. 3, 43:25 - 44:24

        RESPONSE:



        47. At the time of Len’s purchase of the Property in 2007, Max had tax liens and other

 obligations which made it impossible for Max to obtain a loan on the Property. Exh. 6, Exemption

 Hrg Trans, Vol. 3, 71:9 - 72:23.

        RESPONSE:



        50. According to Max, he tried to refinance the Property several times after 2007, all to no

 avail. In fact, at least through 2015 every attempt to refinance the Property required the

 participation of Len as a co-signer or co-obligor. Joint Statement Nos. 17, 18.


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        RESPONSE:



        51. There are no documents indicating that Max was liable on the SunTrust loan at any

 time and Max never entered into any agreement or understanding with Len that Max was liable or

 responsible. Exh. 22, M Salas Document Production, 8/17/18, for Exemption Hearing, August 22-

 24, 2018, Docket No. 84, pp. 4-7; M Salas Aff.; Exh. 15, Motion to Approve U.S. Bank

 Settlement; Defendant’s Amended Answers to Plaintiffs’ Request for Admissions (“RFA”), 17;

 Exh. 23, Court Proceeding Memo in Case No. 18-00260 (D-96), 8/28/18 (“Proceeding Memo”),

 Exhibits Lists.

        RESPONSE:



        52. There is no document raised, proffered or produced by Max indicating that Len was

 not the sole party responsible for the Deed of Trust payments until at least November, 2019.1

 Exh. 22, M Salas Document Production, Exemption Hearing, August 22-24, 2018, Docket No.

 84, pp. 4-7; Exh. 15, Motion to Approve Settlement with U.S. Bank; Defendant’s Document

 Production in Case No. 3:20-90027; RFA 16, 18-20, Exh. 23, Proceeding Memo, Exhibits Lists.

        RESPONSE:




         1
          When U.S. Bank obtained assignment of the SunTrust Note, sometime in 2019, it did
 finally reach an agreement with Max for him to make the payments under the Deed of Trust from
 and after November, 2019. However, there is no indication in the agreement reached between
 Max and U.S. Bank that the SunTrust Deed of Trust Note has been canceled or is otherwise not
 in effect. Therefore, Len is still liable for the entire balance under the SunTrust Note which, as
 of September 29, 2019, was $1,208,720.40. See Max Salas Stipulation with U.S. Bank attached
 hereto as Exhibit 15.

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        54. From sometime after 2007 through the date of the fire, Max rented out rooms at the

 Property. The tenants, including Nina and Michael, signed leases under the name of “the CLR

 Trust” and Max signed each lease as Trustee. M Salas Aff. Exh. 1 (M Salas Depo Trans) 42:18 -

 43:2, 43:13-18; Joint Statement. Nos. 19-20; RFA 51.

        RESPONSE:




        57. The lease payments were put into an account in the name of the CLR Trust and were

 used to pay for the Deed of Trust obligations and other expenses associated with the Property. M

 Salas Aff.; Joint Statement. Nos. 19-22; RFA 26.

        RESPONSE:



        60. During the period 2015 through 2018, and continuing after Max’s Bankruptcy filing

 until November, 2019, no payments were made on the Sun Trust Deed of Trust Note (“the Sun

 Trust Note”) with the exception of one payment of made by Max from the insurance proceeds he

 received as a result of the fire damage. Joint Statement. No. 39.

        RESPONSE:



        63. As of April, 2018, Len remained the sole obligor on the SunTrust Note. RFA 16.

        RESPONSE:




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           65. At the time of the attempted Quitclaim Deed, in July, 2010, Len’s only significant

 asset was the Property. Joint Statement. No. 28.

           RESPONSE:



           66. At all relevant times, Len worked only part time and had limited income and assets.

 Exh. 13, L Salas Depo Trans, 22:18 - 23:25, 76:20 - 77:2, 87:6 - 21; Joint Statement No. 28.

           RESPONSE:

           67. At all times following the transfer in 2010, Len was insolvent. His liabilities exceeded

 his assets and his income was insufficient to pay his obligations, including the Sun Trust Deed of

 Trust Note payments. Exh. 13, L Salas Depo Trans, 22:18 - 23:25, 76:20 - 77:2, 87:6 - 21, Joint

 Statement Nos. 28 - 30.

           RESPONSE:




           84. These emails attached as Exhibit 7 were within the scope of the document production

 requested from Max as part of the discovery requests in the Exemption Hearing adversary

 proceeding in Max’s bankruptcy in D.C. Exh. 21, Debtor’s Responses to Movants’ First Set

 Request for Production of Documents, in Case No. 18-260, served on August 6, 2018, Request

 No. 10.

           RESPONSE:



           85. Max, Ron and Len all testified at that hearing and all asserted, or supported the claim


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 that the Quitclaim Deed of July 6, 2010 was in effect in 2018. Exhibits 3, 6, 20, Exemption Hrg

 Trans, Vols 1-3.

        RESPONSE:




        99.     The only deed referenced by Max or his counsel, allegedly entitling Max to an

 ownership interest in the Property, is the 2010 Quitclaim Deed. No other deed has been proffered,

 or even mentioned by the Salas family or by Max, specifically. Exhibit 13, L Salas Depo Trans,

 39:21 - 40:20, Exemption Hearing Transcripts Vols 1-3.

        RESPONSE:



        100. As of the filing of Len’s bankruptcy case in 2018, Len was obligated to pay over $15

 Million in damages to the Plaintiffs as a result of their judgments. Neither Len, nor the Trustee

 filed objections to the Plaintiffs’ claims filed in Len’s bankruptcy. Exh. 13, L Salas Depo Trans,

 61:12 - 62:13, Proofs of Claim Nos. C-5 and C-6,

        RESPONSE:



        101. In Len’s Schedule J, filed on April 18, 2018 in Case No. 18-2662 (D-1), p. 35, Len

 listed total monthly income of $4977.75 and total monthly expenses of $4,407.14.

 On April 5, 2018 Max was a creditor of Len’s. He owed Len, at the very least, his contribution

 for the Plaintiffs’ Judgment and the balance of the SunTrust Deed of Trust Note (at least

 $1,035,000 approx) per his consistent promise that he would pay that amount and his consistent



                                                 -10-


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 assertion that he was responsible for payment of the SunTrust Note which was, at all relevant

 times, in Len’s name. Exh. 9, M Salas Schedules filed in Case No. 18-00260 in the United States

 Bankruptcy Court for the District of Columbia, 5/2/18, (D-12), (“M Salas Scheds”), Schedule

 A/B, p. 3 of 37, Schedule D, pp. 19-20 of 37, Schedule F, p. 27 of 37.

          RESPONSE:




          104. Max delivered the original Quitclaim Deed to Mr. Goldstein’s office. He does not

 recall that Mr. Goldstein mailed it back to Mr. Salas. Exh. 6, Exemption Trans. Vol. 3, 55:7 -

 56:21.

          RESPONSE:




          107. Max also learned from Albert that if Max could claim he is the actual owner of the

 Property, he could claim the Property exempt in his subsequent bankruptcy proceeding and, due to

 D.C.’s generous homestead exemption, Max could then claim the entire equity in the Property as

 exempt from execution by the Plaintiffs. Exh. 6, Exemption Hrg Trans. Vol 3, 121:3 - 122:1

          RESPONSE:




          124. As of June 17, 2011, Len and Max abandoned the Quitclaim Deed and no longer had


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 any intent to use or record it. Exh. 7, eMails dated June, 2011 through February, 2012; Exh. 13, L

 Salas Depo Trans. 68:13 - 70:17.

        RESPONSE:




                                        Respectfully submitted,

                                        BURCH, PORTER & JOHNSON, PLLC


                                        By: /s/ Taylor A. Cates
                                                Taylor A. Cates
                                        130 North Court Avenue
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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLUMBIA

           IN RE:                      .                  Case No. 18-00260-smt
                                       .
           MAX E. SALAS,               .
                                       .                  Washington, D.C.
                         Debtor.       .                  August 23, 2018
                                       .
           . . . . . . . . . . . . . . .


                      TRIAL ON THE OBJECTION TO HOMESTEAD EXEMPTION
                                       VOLUME 2 OF 3
                         BEFORE THE HONORABLE S. MARTIN TEEL, JR.
                         TRANSCRIPT ORDERED BY: PHILIP J. McNUTT

           APPEARANCES:
           For the Debtor:                   Stinson Leonard Street, LLP
                                             By: MARC E. ALBERT
                                                 JOSHUA W. COX
                                             1775 Pennsylvania Avenue, NW
                                             Suite 800
                                             Washington, D.C., 20036
                                             (202) 728-3020

           For the Creditors:                By: PHILIP J. McNUTT
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           Court Recorder:                  THE CLERK

           Transcribed By:                  MS. KRISTEN SHANKLETON




           Proceedings recorded by electronic sound recording.
           Transcript prepared by transcription service.


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       1   attorney involved in CLR?
       2          A.    That's correct.
       3          Q.    All right.
       4                So did you contact him to determine if he had the
       5   trust documents for the CLR Trust?
       6          A.    I knew that -- I knew that Mr. Fernandez had not
       7   put together the trust.
       8          Q.    So --

       9          A.    I knew that he had put together CLR, but not the
     10    trust.
     11           Q.    Okay.
     12                 CLR the entity --
     13           A.    The corp.
     14           Q.    -- that you acted as trustee for with respect to
     15    all of the leases that were generated for the property at

     16    1610 Riggs Place, right?
     17           A.    Repeat the question.
     18           Q.    CLR Trust was the entity that you acted as trustee

     19    for with respect to all of the leases for the property at
     20    1610 Riggs Place through January of 2015, right?

     21           A.    Mr. McNutt, there is no CLR Trust.                 There never
     22    has been a CLR Trust.

     23           Q.    All right.
     24                 So you're now saying that suddenly at some point
     25    when you talked to Mr. Albert that you came up with this




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       1   idea about the trust?
       2          A.     It's not an idea, sir.           It was -- it's not an
       3   idea.       It's not sudden, suddenly.           It didn't even cross my
       4   mind.       I'd totally forgot about it.            Mr. Albert says, "I
       5   read your testimony," or, "I read your transcript," and he
       6   says, "You keep talking about a trust.                    Who put together -
       7   - do you have a copy of the trust?                 Where is it?"        I said,
       8   "It burned; all my documents burned in the fire."                       He said,

       9   "Who formed the trust for you?"                He said -- I told him, "My
     10    son did."       And he says, "Does he have a copy of the trust?"
     11    I said, "He must."          And I -- he said, "Can I talk to him?"
     12    And I said, "Yes."          I says, "Call him."
     13           Q.     So --
     14           A.     And so I gave him my son's number, and he called
     15    Ron for the trust and asked him about the trust.

     16           Q.     So what's your --
     17           A.     This was not sudden, sir.            This was -- it was not
     18    suddenly.       It was not planned.          It was discovered by Mr.

     19    Albert.      That's one thing that Mr. Barnes, these people
     20    from Baltimore that were my insurance attorneys, did a poor

     21    job of, and they never asked me for that.                    They were at the
     22    deposition.        They never asked me for it, "Who was this

     23    trust -- who put it together?"               They should have, and --
     24    they didn't prepare well and -- and they should have.                        And
     25    I should have known.           I've got an eighth grade education.




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       1   I look like I know what I'm doing, but I don’t.                      I look
       2   like I know about corporations and I know about trusts and
       3   I know about the law and I know about writing leases, and I
       4   -- but I don’t.
       5          Q.    Mr. Salas, have you ever operated a business that
       6   you owed?
       7          A.    I did.      I did.
       8          Q.    How many?

       9          A.    Several.      Well, two.
     10           Q.    For what period of time?
     11           A.    So, from the time I was 15 years old 'til the time
     12    I was -- to the time I was 45.               And I didn't do very good
     13    at that.      I did good enough to have me underreport my
     14    income, and have me put in jail for underreporting taxes.
     15    So I am not very good.            I am good enough to get in trouble,

     16    but I'm not good enough to stay out of trouble.
     17           Q.    You ever sign business agreements on behalf of the
     18    businesses that you represented and worked for and owned?

     19           A.    I -- yes, I have.
     20           Q.    You ever sign sales agreements on behalf of Cornet

     21    Technologies?
     22           A.    No, I haven't.

     23           Q.    None?     Ever?
     24           A.    Sales agreements?
     25           Q.    Yes, sir.




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       1          A.    No.    I turned -- I got -- I'm a salesman.                  That's
       2   all I do.       I put people together.           I find deals.        I turn
       3   them over to administrative, and they sign contracts.                        I
       4   never do.
       5          Q.    What kind of deals did you put together for
       6   Cornet?
       7          A.    Federal contracts.
       8          Q.    What kind of contracts?            For what services?

       9          A.    IT services.
     10           Q.    Okay.
     11                 You negotiated those with federal contract
     12    officers?
     13           A.    I didn't negotiate 'em.
     14           Q.    You didn't?
     15           A.    I've -- no.        I found the deals, I turned them over

     16    to contracts, they put the deals together.
     17           Q.    In order to find the deals you had to pursue
     18    solicitations and requests for bids and those sorts of

     19    things from federal agencies, correct?
     20           A.    Right.

     21           Q.    All right.
     22                 And you know how to read those and respond to

     23    them, correct?
     24           A.    Sir, I'm a salesman.           I am a business development.
     25    I am good at being able to talk to people and put people




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       1   together.       Once they start negotiations, once they start
       2   really the doc -- the work, the best thing to do, for me,
       3   is to get out of the way.             Because I can screw up a deal as
       4   fast as I can get it.            I've learned that much.
       5          Q.    Mr. Salas, you've now spent quite a bit of time
       6   talking about the fact that the CLR Trust and the 1610
       7   Salas Trust that you testified to in your deposition never
       8   existed, and that the information that you set forth in

       9   your Answers to Interrogatories and the deposition was
     10    inaccurate.        That's what you've testified to, correct?
     11           A.    I did the best I could; yes, sir, that's correct.
     12           Q.    Okay.
     13                 And you never corrected that testimony, you never
     14    corrected your Interrogatory Answers, you never provided
     15    any documents relative to any trust to opposing counsel or

     16    to the Brekelmans Estate or to the McLoughlin Estate until
     17    sometime after you hired Mr. Albert, right?
     18           A.    That's correct.

     19           Q.    When did you hire Mr. Albert?
     20                 Was it in 2018?

     21           A.    No, it was -- I think it was '17.                When I -- I
     22    hired Mr. Albert when we started to do mediation for, with

     23    the Brekelmans and the McLoughlins.                 And it was clear that
     24    the attorneys that were representing me in terms of the
     25    insurance, for the insurance were representing the




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       1   insurance and they really weren't representing me, my best
       2   interests I thought, and in fact the attorneys that were
       3   representing the insurance said that I really should get my
       4   personal attorney.          That's what they said.            And as I did in
       5   sales and I did as -- and I did in my businesses, I knew
       6   that I didn't know what I was doing, and I knew that I --
       7   that I was way over my head.              So just like in a business
       8   meeting when I know I can put a deal together, but when it

       9   comes to details, I -- I don't know what I'm doing.                        I --
     10    and so I can cause more trouble than I can do good.                        So I
     11    knew I needed some help.
     12           Q.    So you hired Mr. Albert to be your personal
     13    attorney?
     14           A.    Yes.
     15           Q.    All right.

     16                 Representing you in the Superior Court case?
     17           A.    To advise me through the mediation and through the
     18    Spirit court case to help guide me and give me advice as to

     19    what I should -- what I -- what I should do.
     20           Q.    All right.

     21                 You were here when your son Ron testified
     22    yesterday, correct?

     23           A.    Yes.
     24           Q.    You sat through all his testimony, right?
     25           A.    Yes, sir.




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       6   I certify that the foregoing is a correct transcript from
       7   the electronic sound recording of the proceedings in the
       8   above-entitled matter.

       9
     10    /s/Kristen Shankleton, CER-6785                      Dated: 10/28/18




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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLUMBIA

           IN RE:                      .                 Case No. 18-00260-smt
                                       .
           MAX E. SALAS,               .
                                       .                 Washington, D.C.
                         Debtor.       .                 August 24, 2018
                                       .
           . . . . . . . . . . . . . . .


                      TRIAL ON THE OBJECTION TO HOMESTEAD EXEMPTION
                                       VOLUME 3 OF 3
                         BEFORE THE HONORABLE S. MARTIN TEEL, JR.
                         TRANSCRIPT ORDERED BY: PHILIP J. McNUTT

           APPEARANCES:
           For the Debtor:                   Stinson Leonard Street, LLP
                                             By: MARC E. ALBERT
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                                             Washington, D.C., 20036
                                             (202) 728-3020

           For the Creditors:                By: PHILIP J. McNUTT
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                                             Suite 584
                                             Reston, Virginia 20190
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           Court Recorder:                  THE CLERK

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       1   Mr. McNutt has been kind enough to permit me, subject to

       2   the Court's okay, to call him now if that's all right.

       3                THE COURT:       That's fine.

       4       RON SALAS, DEBTOR'S REBUTTAL WITNESS, PREVIOUSLY SWORN

       5                THE COURT:       Go ahead, Mr. Albert.

       6                MR. ALBERT:        Thank you.

       7                                DIRECT EXAMINATION

       8                BY MR. ALBERT:

       9          Q.    Good morning.

     10                 I just wanted to clarify again, because I heard

     11    yesterday something that seemed inconsistent with what you

     12    had told the Court and me earlier this week.                     When you and

     13    I spoke and you and I exchanged emails, there was a

     14    discussion regarding the trust agreement and the quit-claim

     15    deed, correct?

     16           A.    Yes.

     17           Q.    And tell the Court and me again what we discussed

     18    and what you did.
     19                 MR. McNUTT:        Objection.      Your Honor, this is not

     20    rebuttal testimony.           He's asking him to state again what he

     21    testified to earlier.            It's not rebuttal.

     22                 THE COURT:       Overruled.

     23                 THE WITNESS:        So in regards to the email where I

     24    said I sent you originals, or I had the originals, I had

     25    spoke with my brother.            He told me he had the original.               I




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       1   said, "Send them to me.            Mr. Albert is asking for them."

       2                MR. McNUTT:        Objection.      Hearsay, Your Honor.

       3                THE COURT:       I'll not receive it for the truth of

       4   the contents.

       5                THE WITNESS:        When he told me he had them, I told

       6   you had originals.          When they arrived in my office I

       7   contacted you immediately and said, "Well, these are not

       8   the originals.         The originals" -- so the only original

       9   would have been to Max.            The reason I knew they were not

     10    the originals is because I, as I testified earlier, scan

     11    all my documents for preservation, and I know there was

     12    blue ink on at least the notary as I recall, and the

     13    documents I received were all blank ink, which indicated to

     14    me they were copies not originals.                 So I let you know at

     15    that point.

     16                 MR. ALBERT:        Thank you.

     17                 THE WITNESS:        Uh-huh.

     18                 MR. ALBERT:        Your witness.
     19                 THE COURT:       You said you got them from your son.

     20    Do you mean from your --

     21                 THE WITNESS:        From my brother.          If I said son, I

     22    apologize.

     23                 THE COURT:       Your brother.        Okay.

     24                 THE WITNESS:        Yes, my brother Len had them, mailed

     25    them to me.        I was going to mail them to you, but they were




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       1          A.    So couldn't assert nothing --

       2          Q.    -- but can you answer --

       3          A.    -- couldn't assert anything about that.

       4          Q.    Can you answer my question, please?

       5          A.    What's the question?

       6                I think I answered it.

       7          Q.    The question is did you produce all documents related

       8   -- did you produce all documents related to your ownership of

       9   the property that you claimed during the Superior Court

     10    litigation?

     11           A.    I don’t -- I guess I don't know the difference --

     12    well, I don't know.         Did we submit them?

     13                 Yeah, we submitted them, but weren't, one of them

     14    weren't -- this document wasn't allowed.

     15           Q.    When you say "this document," you mean what's been

     16    marked --

     17           A.    The deed --

     18           Q.    -- as Exhibit 30, the quit-claim deed and the trust
     19    documents, correct?

     20           A.    That's what I'm talking about, yeah.

     21           Q.    All right.

     22                 And those were submitted, as you put it, on or after

     23    March 12, 2018, correct?

     24           A.    Yeah -- yeah, uh -- yes, sir.            It was like, like a

     25    couple of weeks before the trial.




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       1          Q.    Okay.

       2                Take a look at what's been -- well, take a look at

       3   Tab 20 in the white book.           This is a document that has been

       4   entered, that has been admitted into evidence in this case, and

       5   it was also admitted as Plaintiff's Exhibit Number 7 in the

       6   Superior Court litigation.

       7          A.    Yeah.

       8          Q.    And this is a D.C. property request report for the

       9   property at 1610 Riggs Place Northwest dated Wednesday, June

     10    17, 2015.      So that's approximately two weeks after the fire,

     11    right?

     12           A.    Yes, sir, that sounds right.            Yes.

     13           Q.    And if you look at the second page of that document?

     14           A.    Right.

     15           Q.    About a third of the way down the page --

     16           A.    Uh-huh.

     17           Q.    -- it has, listing owner, and it says Len Salas.

     18           A.    Right.
     19           Q.    Take a look at Number 21 if you would, please?

     20           A.    Yes, sir.

     21           Q.    This is a document, the first page of which is

     22    titled, Certificate of Service Related to a Notice of

     23    Infraction.      This notice of infraction was sent I believe on

     24    November 6, 2015.        Do you see that?

     25           A.    No, uh -- no -- yeah, the notice of infraction.                  I




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       1   see that, yes, sir.

       2          Q.    Okay.

       3                This was sent to Len Salas at his address on Otis

       4   Street, correct?

       5          A.    That's correct.

       6          Q.    And that's because he was listed as the owner of the

       7   property at 1610 Riggs Place, right?

       8          A.    That's correct.

       9          Q.    All right.

     10                 Here's a document.         Look at Tab 22, please.

     11           A.    Yes, sir.

     12           Q.    This is a document, and all of these were introduced

     13    in your trial in the Superior Court.              This is a document that

     14    titled, Notice of Immediate Abatement Issued by the Department

     15    of Consumer and Regulatory Affairs?

     16           A.    Right.

     17           Q.    And it says the address of the violation is 1610

     18    Riggs Place Northwest?
     19           A.    Right.

     20           Q.    And then underneath that is says, Responsible Party:

     21    Len Salas.      Correct?

     22                 Do you see that on the left hand side of the page,

     23    sir?

     24           A.    Uh --

     25           Q.    If you look at the --




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       1          A.    What was the -- compliance enforcement?               Is that the

       2   one dated June 17?

       3                "Dear Property Owner," is that -- am I on the right

       4   document here?

       5          Q.    Number 22, sir.

       6          A.    Oh.    Number 22, Notice of Infraction.             And then the

       7   next page?

       8          Q.    All right.

       9                Number 22 is a document titled, Notice of Immediate

     10    Abatement.      Do you see that?

     11           A.    Yes, I see it.

     12           Q.    Okay.

     13                 And then the first page on that document it lists the

     14    address as 1610 Riggs Place Northwest?

     15           A.    Right.

     16           Q.    Responsible Party --

     17           A.    Right.

     18           Q.    -- Len Salas?
     19           A.    Right.

     20           Q.    Same address, correct?

     21           A.    Yes, sir.

     22           Q.    Okay.

     23                 And if you turn to the third page?

     24           A.    Third page of?

     25           Q.    Of that document.




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       1           A.   Yep.

       2           Q.   At the top right it says, DCRA Special Assessment

       3   Bill?

       4           A.   Right.

       5           Q.   Care of Office of Tax and Revenue.              Correct?

       6           A.   Right.

       7           Q.   It identifies the property address as 1610 Riggs

       8   Place Northwest, correct?

       9           A.   Yes.

     10            Q.   It identifies the responsible person as Len Salas at

     11    1610 Riggs Place Northwest, Washington, D.C.?

     12            A.   I don't see where it says responsible, but it says

     13    Len Salas.

     14            Q.   It's addressed to Mr. Salas.

     15            A.   I know, but I can tell you that I paid every one of

     16    these bills.       Personally.      Including the fine and all of that.

     17    I -- every one of these things.             None of these did Len pay

     18    because he wasn’t the guy that broke -- that caused the
     19    problem.     I paid 'em all.        Every of 'em.

     20            Q.   Did you receive a copy of this special assessment

     21    bill then?

     22            A.   Yes.

     23            Q.   Did you hand it over to your son?

     24            A.   No.

     25            Q.   Did you contact DCRA and tell them that your son




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       1   wasn't responsible, you were?

       2          A.    Yes.

       3          Q.    Do you have that in writing?

       4          A.    I went over and paid the bill.

       5          Q.    Do you have that in writing was my question.

       6          A.    Do I have that in writing from DCRA?

       7          Q.    Do you have it in writing that you told DCRA that you

       8   were responsible for the bill?

       9          A.    I paid 'em and they gave me a receipt.

     10           Q.    Did you provide anything in writing to DCRA

     11    indicating that you were the responsible party, not your son?

     12           A.    Sir, I just answered that.

     13           Q.    No, you didn't.

     14           A.    Okay, so I gave them a check --

     15           Q.    The answer is a yes or no.

     16           A.    -- and they said your issue is taken care of.

     17           Q.    Mr. Salas, you can answer that question yes or no.

     18    If you want to say yes or no with an explanation, I'm happy to
     19    hear your explanation, but I'd like an answer --

     20           A.    No with an explanation.

     21           Q.    -- to it.

     22           A.    I don't have it in writing, sir.             I said, "I am

     23    responsible for this bill, here is my check," and I paid it,

     24    and they said, "Okay, you're done here."

     25           Q.    Take a look at the next page.




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       1           A.   Okay.

       2           Q.   We're now on page 4.

       3           A.   What's the title?

       4           Q.   At the top it's got a recording set of numbers.                  It

       5   says, Filed and Recorded 6/17/2015 at 12:38 p.m.                  Do you see

       6   that?

       7                The document is titled, Government of the District of

       8   Columbia, Department of Consumer and Regulatory Affairs,

       9   Housing Regulation Administration.

     10            A.   Right.     I got that.

     11            Q.   Okay.

     12                 And it says, Certificate of Delinquent Costs for

     13    Correction of Wrongful Housing Conditions.

     14            A.   Yes, sir.

     15            Q.   Did I read that correctly?

     16            A.   Yes.

     17            Q.   All right.

     18                 And it states the complainant is the District of
     19    Columbia, right?

     20            A.   Yes, sir.

     21            Q.   And it says the respondent is Len Salas, your son,

     22    correct?

     23            A.   That's right.

     24            Q.   Okay.

     25                 Now would you take a look at the next page?




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       1          A.    Yes, sir.

       2          Q.    This is a document titled, Government of the

       3   dischargeable offense, Division of Enforcement and Legislative

       4   Affairs?

       5          A.    Yes.

       6          Q.    It says, Cost Assessment Summary, Cost Sheet for

       7   Abatement of Nuisance Properties.

       8          A.    Yes, sir.

       9          Q.    Did I read that correctly?

     10           A.    Yes, sir.

     11           Q.    The address of the property location is 610 (sic)

     12    Riggs Place Northwest, correct?

     13           A.    Yes, sir.

     14           Q.    It identifies the owner just below that, Owner of

     15    Record, Owner: Len Salas.           Correct?

     16           A.    Yes, sir.

     17           Q.    All right.

     18                 Now, Mr. Salas, we've talked about the trust and the
     19    quit-claim deed.        Do you have any documents in your exhibits in

     20    the smaller binder that state that you are the titled owner of

     21    the property or that the District of Columbia is to look to you

     22    for assessments regarding infractions and the like?

     23                 Do you have any documents like that in your exhibits?

     24           A.    In this -- this exhibit?

     25           Q.    In your exhibits, sir.




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       1          A.     This is --

       2          Q.     You have exhibits in the small --

       3          A.     I don't know if this is my exhibit or not.

       4          Q.     In the small binder.

       5                 I'm sorry?

       6          A.     I don't know.      The answer is I don't know.

       7          Q.     Okay.

       8                 Have you looked?

       9                 Are you familiar with your exhibits?             Have you looked

     10    at them?

     11           A.     This is the black binder?

     12           Q.     Yes, sir.

     13           A.     I -- I've looked at them, sir.           I'm not a

     14    sophisticated man and -- with the law.               I mean I -- I don't

     15    know what's in there.         I mean I -- I -- so the question is have

     16    I looked at it?        Yes, with an explanation.          I don't know -- I

     17    don't know.      I mean I don't know what's in there.              I couldn't -

     18    - I really couldn’t tell you.
     19                  I'm not trying to be cute and I'm not trying to be

     20    fancy.      I just don't know.

     21           Q.     Okay.

     22                  But as you sit here today you're not aware of any

     23    documents that you have introduced in this case that indicate

     24    that you have paid any amounts respecting the property at 1610

     25    Riggs Place Northwest, right?




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       1                THE COURT:      Any amounts regarding what?

       2                MR. McNUTT:      Yeah, that was a bad question.            Let me

       3   withdraw it.

       4                THE WITNESS:       Yeah.

       5                BY MR. McNUTT:

       6           Q.   As you sit here today, Mr. Salas, with respect to the

       7   documents that you have offered into evidence, none of these

       8   documents relate to any payments that you've made with respect

       9   to your alleged ownership of the property at 1610 Riggs Place

     10    Northwest, do they?

     11            A.   Sir, I've made every payment in every expense in any

     12    way and in every way.         There's nobody, absolutely nobody, not

     13    Vicki, not Lenny, not Ron, not Chase, not anyone has made any

     14    payments towards that house for any expenses but myself since

     15    1995.     I have made every payment.

     16            Q.   You and CLR Trust?

     17            A.   Me.

     18            Q.   CLR Trust, right?
     19            A.   Sir, I don't -- you know, technically I don't know

     20    what that -- I -- I don't know what you mean, so.

     21            Q.   So Mr. Salas, let me ask you this: if you made all

     22    these payments and you claim that by making those payments --

     23            A.   Not if, sir; I did.

     24            Q.   -- you're the owner of the property --

     25            A.   I'm trying -- I don't know how many times I gotta




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       1   tell you, I did it.         It's my money.       I made the payments, I've

       2   been responsible.        I've paid 'em.       I don't know what -- I mean

       3   --

       4          Q.    All right.

       5          A.    I don't know what you're trying to say.               I made every

       6   payment.

       7          Q.    Take a look at your exhibits.

       8          A.    Which one?

       9          Q.    Just calm down.        Take a look at the exhibits.

     10           A.    These exhibits?

     11           Q.    Take a look at your book of exhibits.

     12           A.    Yeah.

     13           Q.    And show me the documents that show that you've made

     14    all these payments.

     15           A.    So, what I'm trying to -- what I'm saying is if

     16    there's any exhibits in here -- there's nobody else that made

     17    any payments except me.

     18           Q.    If you made the payments, you would have proof of the
     19    payment, wouldn't you?

     20                 You'd have a canceled check, you'd have a bank

     21    statement, you'd have --

     22           A.    If there's somebody else that made the payments can

     23    you bring them forward?

     24           Q.    That's not my job, Mr. Salas.

     25           A.    Okay.




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       1   Salas?

       2          A.     Because I bought -- because I paid for the policy I

       3   guess.      I don't know.

       4          Q.     Okay.    Fair enough.

       5                 Any other reason that you're aware of?

       6          A.     No, I -- I don't know.         I have no idea.

       7          Q.     You also testified earlier that, in the corrections

       8   that you told Judge Teel about, you also testified that the

       9   original of the document may be at the title attorney's office,

     10    right?

     11           A.     That just came to me -- that just came to me as I was

     12    sitting over there.         I never -- I never told Mr. Albert about

     13    it because I can't talk to him about my testimony, but I just

     14    thought about it, and it's -- and it's possible because I don't

     15    know if they mailed it back to me.              I don't remember that.         All

     16    the papers that I had in my house were burned, so I -- and I

     17    didn't recover it from there.            So I couldn't have recovered it

     18    there.      But it's, you know, it's possible that it's still at
     19    his office because I don't remember -- I don't remember him

     20    mailing it back to me, and I don't remember -- but, there's a

     21    lot of things I don't remember.

     22           Q.     Well, when did you, and I'm assuming because you were

     23    attempting to get the quit-claim deed recorded that you gave

     24    these documents to Mr. Goldstein shortly after you signed the

     25    trust documents in July of 2010; is that fair?




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       1          A.    Yeah, so what -- so I had this realtor.               Her name is

       2   in here, Sylvia Jones, and she told me what she had done --

       3                MR. McNUTT:      Your Honor, I'm going to object.

       4                THE WITNESS:       Well, I'm trying to answer your

       5   question because --

       6                MR. McNUTT:      You can't answer --

       7                THE WITNESS:       -- that has to tell --

       8                MR. McNUTT:      This is more hearsay, Your Honor.

       9                THE COURT:      Overruled.

     10                 THE WITNESS:       So I talked to her.        She told me how

     11    she had put her house in a trust because she had three

     12    daughters, and so I said I formed a trust, and I've got the,

     13    and I quit-claim -- my son quit-claimed the deed over to me,

     14    and I want to now register the trust.              And I said, "How do you

     15    do that?"      She said, "Well, you got to go to a title company."

     16    I said, "Well, who is that?"            She said call Goldstein, Maryland

     17    Title Company or something, and she gave me the number to them.

     18    And so I called them up and they said, "Send us the
     19    information."       So I sent them the information, and about a week

     20    later I called them back and they called -- or they called me

     21    and they told me what the situation was.

     22                 So I don't know if I answered your question there or

     23    not.

     24                 BY MR. McNUTT:

     25           Q.    I can guarantee you didn't answer the question.




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       1          A.    I'm sorry.      What's the question?

       2          Q.    I'll leave it at that.

       3          A.    All right.

       4          Q.    So as you sit here today, you're not really sure what

       5   happened to the original quit-claim deed after you gave it to

       6   Mr. Goldstein, right?

       7                MR. ALBERT:      That was asked and answered.

       8                THE WITNESS:       I just told you, I don't know if it was

       9   in my house or it's in his office, but I -- I don't know.

     10                 MR. McNUTT:      Okay.

     11                 THE COURT:      The objection is overruled.

     12                 BY MR. McNUTT:

     13           Q.    And if it was in Mr. Goldstein's office, then you

     14    could have gotten it by just simply calling him, right?

     15           A.    I -- I -- I could -- I told -- I guess -- I told

     16    Mister -- I told my attorney what I did, and so I -- that's his

     17    job I guess.       I relied on him.

     18           Q.    Which one is that?
     19           A.    Mr. Albert and Mr. Cox.

     20           Q.    Okay.

     21                 You don't have a copy of the original quit-claim deed

     22    with you today, do you?

     23           A.    No.

     24           Q.    Are you aware of at any time after you gave it to Mr.

     25    Goldstein that you were in possession of the original of the




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       1   quit-claim deed?

       2          A.    Any time after that?

       3          Q.    Yes, sir.

       4          A.    No.    I --

       5          Q.    Up until obviously February of 2018.

       6          A.    No, sir.

       7          Q.    Okay.

       8          A.    I don't remember.

       9          Q.    Did you ever try to record the quit-claim deed after

     10    the time that you gave it to Mr. Goldstein?

     11           A.    No.

     12           Q.    Did you ever make another attempt?

     13           A.    No.    No, sir.

     14           Q.    What activities did you undertake as trustee of the

     15    1610 Riggs Property Trust after July 6, 2010?

     16           A.    What activities?

     17           Q.    Yes, sir.      Did you undertake as trustee?           What

     18    activities?
     19           A.    I answered that.        Do you want me to do it again?

     20           Q.    Yes, sir.

     21           A.    I thought I answered it.           I called them and -- I mean

     22    after I called Mr. Goldstein and asked him to register it, and

     23    then he told me that it was going to cost me $50,000, did I do

     24    anything after that?

     25           Q.    Yes, sir.




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       1           A.   Monthly payments.

       2           Q.   What -- I don't think you answered my question

       3   exactly.     She gets the money; who got the house?

       4           A.   Oh, I got the house.

       5           Q.   All right.

       6                So you took title to the house in your name at that

       7   time?

       8           A.   Yeah, for a day or two.

       9           Q.   Okay.

     10                 Explain the circumstances behind that.

     11            A.   Well, I -- I tried to get a loan.             I couldn't.      I

     12    went to SunTrust Bank.          They said there's enough equity in the

     13    house to get a loan to pay your wife off, but unfortunately you

     14    can't get a loan.        So my, so Len, who had a very good

     15    relationship with my ex-wife and myself, we both went to Len

     16    and asked him if he would sign for a loan to get Vicki paid

     17    off, and he -- and he did.           So that -- so we got a loan so we

     18    could pay her, so I could pay her off and she could move back
     19    to Tennessee.

     20            Q.   Was it necessary to get the loan that the title would

     21    have to go in Len's name?

     22            A.   Yes, it --

     23                 MR. McNUTT:      Objection.

     24                 THE WITNESS:       Yes, it was.

     25                 MR. McNUTT:      He's not only leading the questions,




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       1   he's also asking for a legal conclusion.

       2                THE COURT:      The objection is sustained.           Rephrase the

       3   question.

       4                MR. ALBERT:      Of course, Your Honor.

       5                BY MR. ALBERT:

       6          Q.    Who -- so the property was put in your name then when

       7   you got the loan?

       8          A.    No, it wasn’t.

       9          Q.    Whose name was it put in?

     10           A.    Put in my son's name, Len.

     11           Q.    Why?

     12           A.    Because the loan was made by SunTrust, and his credit

     13    -- that was kind of like the peak of the housing market and the

     14    loan was made out to him.           He didn’t have any -- he had good

     15    credit, and they were giving loans to just about anybody at

     16    that point in time, and there was enough equity in the house to

     17    get it.

     18           Q.    But they wouldn't give you credit -- excuse me.
     19                 They wouldn't lend you the money because?

     20           A.    Because I had liens from, tax liens from years eighty

     21    -- uh -- '97, '98, and '99.           Yeah.

     22           Q.    Okay.

     23           A.    I owed money to the IRS.

     24           Q.    I see.

     25                 Now, you owe money to the IRS today, correct?




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       1          A.    Yes, I do.

       2          Q.    All right.

       3                And you heard yesterday in the questioning by Mr.

       4   McNutt, you owe a certain amount of money, the IRS has filed a

       5   claim in this case?

       6          A.    Yes.

       7          Q.    How much did -- are they claiming?

       8          A.    I think about $25,000.

       9          Q.    How much is the house worth today if you remember?

     10           A.    So it's about 2.4, 2.3, 2.4 million.

     11           Q.    And how do you know that, sir?

     12           A.    We had a guy, an appraiser, a real estate appraiser

     13    do an -- do an appraisal.

     14           Q.    Thank you.

     15                 So, is the property recorded in Len's name?

     16           A.    Yes.

     17           Q.    Has it ever been recorded in your name or any trust

     18    as far as you know?         Recorded?
     19           A.    Well, I --

     20           Q.    Recorded?

     21                 THE COURT:      In the land records, Mr. Salas.

     22                 BY MR. ALBERT:

     23           Q.    In the land records.

     24           A.    In the land records?         I think it was recorded by name

     25    for a day until it was -- until it was -- then I quit-claimed




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       1   it back over to Len until, so he could file the -- so, yeah.

       2   One day I think.        The day that the transaction happened.

       3          Q.    And Lenny also signed a deed of trust?

       4          A.    Yes.

       5          Q.    And he signed the note?

       6          A.    Yes.

       7          Q.    In connection with the loan?

       8          A.    Yes.

       9          Q.    And Lenny I suppose has been paying everything since

     10    that time?

     11           A.    Lenny has never paid any -- Lenny has never paid a

     12    penny, a penny towards the loan of the house.

     13           Q.    No down payment, no monthly payments?

     14           A.    No.

     15           Q.    No loan?

     16           A.    No.    Nothing.

     17           Q.    Besides this accommodation, this help that Lenny gave

     18    you, did he have any responsibility with respect to 1610 Riggs
     19    Place Northwest?

     20           A.    No.

     21           Q.    Who was handling any and everything about the

     22    property?

     23           A.    All my responsibility.          Me.   I was doing it all.

     24           Q.    Okay.

     25                 Even before the divorce from Vicki who was paying all




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       1                Do you see that?

       2          A.    The bottom?

       3          Q.    On page 219?

       4          A.    Line which one?         What line?

       5          Q.    Oh, line 17.       I'm sorry, sir.

       6          A.    Okay.     Yeah.

       7                        "No, there's one trust, so no, they are

       8                not different, they are the same, I think."

       9          Q.    And then read the question and the next answer.

     10           A.            "Did you ever formally set up a trust?"

     11                         "Yes."

     12           Q.    Okay, and read the answer.

     13           A.            "Okay.    Do you agree if it's called CLR?"

     14                         "Yes, sir."

     15           Q.    And is that correct, it was called CLR?

     16           A.    The trust?        No.

     17           Q.    Because that -- all right, thank you.

     18                 Okay.
     19                 Can you explain when you brought to my attention

     20    the trust document and quit-claim deed?

     21           A.    Can I explain when I brought the trust to your

     22    attention?

     23           Q.    Approximately when did you --

     24           A.    Yeah.     So after we had, after the judgment came,

     25    after the trial where Mr. Barnes defended, represented me, you




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       1   -- so I was talking to you and you asked me --

       2          Q.     Did you say after the trial or during the trial?

       3                 MR. McNUTT:     Objection.

       4                 THE WITNESS:      After, well, I think it was after the

       5   trial.      After the trial.      I don't know when it was.

       6                 MR. McNUTT:     Your Honor, that was a blatant attempt -

       7   -

       8                 THE WITNESS:      Oh no --

       9                 MR. McNUTT:     -- to lead the witness.

     10                  THE WITNESS:      -- before the trial.         So, I don't -- I

     11    don't remember when, but I talked with you, and you asked me --

     12                  MR. McNUTT:     Your Honor, I ask that this answer be

     13    stricken.

     14                  THE COURT:     He can answer it now.         He's not honing it

     15    down to a specific time.

     16                  MR. McNUTT:     Your Honor, that was a blatant attempt

     17    to lead him and correct him.

     18                  THE WITNESS:      Okay.
     19                  MR. McNUTT:     That's highly improper.

     20                  THE COURT:     The question was when did this occur, and

     21    he can't remember at this moment.             It's been answered

     22    previously during the trial.

     23                  We're covering a lot of ground all over again.

     24                  MR. ALBERT:     I understand, Judge, but Mr. McNutt took

     25    approximately six hours with --




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       1                THE COURT:      Ask a question.

       2                BY MR. ALBERT:

       3          Q.    Do you know what -- what are -- explain the

       4   circumstances to the Court regarding finding the trust document

       5   and the quit-claim deed.

       6          A.    So you asked me, "You keep talking about this trust

       7   in your deposition.         I read your deposition and you keep

       8   talking about" --

       9          Q.    Who are you talking about?           Are you talking about me?

     10           A.    Yes.

     11           Q.    When you say "you"?

     12           A.    Yes.    You -- you talked to me about, "You keep

     13    talking about this trust through your whole deposition.                    I've

     14    read the whole thing.         What trust are you talking about?"              And

     15    I said, "The trust."         I said what -- and he said, you said to

     16    me, "Who put this trust together for you?                Was there a lawyer

     17    involved?"      And I said, "Yes."        I (sic) said, "Which lawyer?"

     18    "My son."      I (sic) said, "Your son is a lawyer?"              "Yes."
     19    "Where is he at?"        "Colorado."      I   said, "Colorado."         He says,

     20    "Do you -- does he have a copy of the trust?"                 I said -- no you

     21    asked me, "Do you have a copy of the trust?"                 I said, "No."

     22    "Where is it?"       I said, "It burned in the fire.             I don't have

     23    any" -- he says, "Well, do you think your son has a copy of the

     24    trust?"     I said, "Well, he should.           I guess, yeah, he might --

     25    he should."      I don't remember what I said.            "But I can call




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       1   him."

       2                So I called him.        You said, "May I talk to him?"            I

       3   said, "Yes."       You said, "Will you call him and tell him that

       4   I'm going to call him?"          I said, "Yes."

       5                So I called him, told him, asked him if he had a copy

       6   and he said yes.        And so you -- you called him and you got a

       7   copy of that, of the doc -- you got a copy of the trust and the

       8   quit-claim deed.

       9           Q.   Thank you.

     10                 Can you think of any reason why that document wasn't

     11    obtained earlier than that time?

     12            A.   No, I can't think of any reason why it was -- I --

     13    you know, I -- I don't understand why Mr. Barnes didn't ask for

     14    that before.       I just, I can't understand why he didn't ask for

     15    that before but -- and I can't -- there's a lot of things I

     16    look at now and I don't understand why Mr. Barnes didn't get

     17    any witnesses to the trial, like people that saw the windows

     18    open, people that --
     19                 THE COURT:      It's not --

     20                 THE WITNESS:       No --

     21                 THE COURT:      -- pertinent to the question.

     22                 THE WITNESS:       Yes, sir.     I'm sorry.

     23                 So did I answer your question?

     24                 BY MR. ALBERT:

     25            Q.   Thank you.




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       1   of the money to Vicki.          So we got a loan for $800,000 but that

       2   was to pay the old loan off.

       3           Q.   Right.

       4           A.   And then the rest of the loan, the rest of the money

       5   was to pay her for her half of the equity in the house.

       6           Q.   So my question is, did you ever pay your son back for

       7   the money that he borrowed that you used to pay your wife?

       8           A.   I didn't borrow any money from my son.

       9           Q.   I'm sorry.      I missed that.

     10            A.   I didn't borrow any money from my son.

     11            Q.   So the answer is you didn't pay any of this money

     12    back to your son, right?

     13            A.   I didn't borrow any money from my son.

     14            Q.   Okay.

     15                 After -- let me try it this way.             After April --

     16    yeah.     After April 2007, I think it was April 16th when the

     17    deed of trust was recorded?

     18            A.   Uh-huh.
     19            Q.   Does that sound about right?

     20            A.   Yes, sir.

     21            Q.   And that's, there were the three deeds and then the

     22    deed of trust, right?

     23            A.   Right.

     24            Q.   After April of 2010 did you pay any money to your son

     25    Len with respect to any of the money that you paid your wife,




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       1   your ex-wife Vicki?

       2          A.    I never paid Lenny any money.

       3          Q.    Okay, fair enough.

       4                Now, you also said that you tried to refinance.                  When

       5   did you try to refinance the property, and I think you said it

       6   was with SunTrust.         When was that?

       7          A.    So lots of times.        I mean, I continually tried.            At

       8   least twice a year.

       9          Q.    At least twice a year?

     10           A.    Since -- since we borrowed the money from SunTrust.

     11           Q.    Okay.

     12                 And was that always with SunTrust?              The attempts to

     13    refinance, were they always with SunTrust?

     14           A.    I -- I think so.        I mean, we looked at other sources.

     15    I think one time we tried Capital One, but always the -- our

     16    best chances were with SunTrust because we had a track record

     17    with them.      We kept paying the loan to them.             Up until the

     18    fire, and then we fell behind on the mortgage.
     19           Q.    All right.

     20                 And none of those efforts were successful in

     21    obtaining a new loan, right?

     22           A.    No.

     23           Q.    Okay.

     24                 And your son Len was part of the application process,

     25    is that right?




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       1   separate?

       2                THE WITNESS:        Well, because -- because of, the

       3   individual account of Cornet was -- was my personal income,

       4   and the other account for CLR was different.                     And the

       5   intentions were originally is to, CLR was to be -- give

       6   that account to my sons, but that never happened.                       Because

       7   it never made any money.

       8                THE COURT:       What never made any money?

       9                THE WITNESS:        CLR.    It just became a way to

     10    separate income and meet the bills and pay for the mortgage

     11    and -- and the ability to pay for the house.

     12                 THE COURT:       This may have been answered already.

     13    Why use the CLR account for your rents?

     14                 THE WITNESS:        Because I didn't want to put the

     15    rent money into my personal account, into my -- my -- my

     16    personal account because -- see, in the very beginning,

     17    from the very beginning from when Vicki and I owned, well,

     18    when the house was in Vicki's name, and we always had the
     19    basement rented even when she and I -- when she and I were

     20    together we rented the basement, and that wasn't my money.

     21    That really wasn't -- I didn't consider that my money.

     22    That was just money to pay the mortgage.                   And so I would

     23    put the money into the CLR account and then I would

     24    supplement that money from CLR from my personal account,

     25    from the Bank of America -- or I mean from -- yeah, Bank of




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 Fill in this information to identify your case and this filing:

 Debtor 1                    Max E. Salas
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF DISTRICT OF COLUMBIA

 Case number            18-00260                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1610 Riggs Place, NW                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building             Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative

                                                                                        Manufactured or mobile home               Current value of the      Current value of the
        Washington                        DC        20009-0000                          Land                                      entire property?          portion you own?
        City                              State              ZIP Code                   Investment property                           $2,500,000.00               $2,500,000.00
                                                                                        Timeshare                                 Describe the nature of your ownership interest
                                                                                        Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only                             Owner
                                                                                        Debtor 2 only
        County                                                                          Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                Property held in name of 1610 Riggs Property Trust through unrecorded
                                                                                2010 Quitclaim Deed
                                                                                trust collapsed on creation through merger to convey property to debtor
                                                                                DC Records displays owner as Len Salas
                                                                                Contains furnished basement that is possible to be rented as a seperate
                                                                                unit, but which debtor currently is using as part of personal residence
                                                                                with remainder of property


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $2,500,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1       Max E. Salas                                                                                        Case number (if known)      18-00260
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       No
       Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                    $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
      No
      Yes. Describe.....

                                    **See Attached List**                                                                                                     $14,000.00


                                    Previously damaged and restored personal property being held in
                                    storage by Columbia Restoration
                                    **See attached list for property description**                                                                              $2,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                    HP Laptop 18 in.
                                    MacBook Pro 13 in.
                                    IPad 10 In.
                                    IPhone 6                                                                                                                      $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

                                    1 set Taylor-Made Golf Clubs and Bag
                                    1 set Titelist Golf Clubs and Bag                                                                                             $300.00


                                    1 Precor home treadmill                                                                                                     $1,500.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 2
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 Debtor 1       Max E. Salas                                                                      Case number (if known)   18-00260
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                    11 suits, 2 tuxedos, 7 pairs of shoes, and 15-20 business shirts,
                                    7-8 pairs of pants, various golf wearing apparel and other wearing
                                    apparel.                                                                                                    $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                    Timex watch                                                                                                   $25.00


                                    Gold costume jewelry ring                                                                                     $20.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....

                                    Hearing aides                                                                                               $300.00


                                    Framed Family Pictures                                                                                      $100.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                  $18,945.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                   Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured
                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

                                                                                                      Cash on hand                              $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                    Institution name:




Official Form 106A/B                                                 Schedule A/B: Property                                                         page 3
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 Debtor 1       Max E. Salas                                                                        Case number (if known)   18-00260


                                      17.1.    Checking                  Bank of America Core checking account                                 $1,779.24

                                                                         Bank of America Interest Checking
                                                                         (in name of 1610 Riggs Property Trust, Max
                                      17.2.    Checking                  Salas Trtee)                                                            $334.96


                                               Other financial           BB&T bank account x5086
                                      17.3.    account                   (CLR, Inc.)                                                         $29,624.97


                                               Other financial           BB&T bank account x1095
                                      17.4.    account                   (CLR, Inc. - Construction Account)                                        $39.68


                                               Other financial           BB&T bank account
                                      17.5.    account                   (1610 Riggs Property Trust)                                           $6,429.44


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................       Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                         % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                Institution name:

                                      401(k)                             T. Rowe Price/Cornet, Inc. 401(k)                                 $505,435.72


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...




Official Form 106A/B                                                 Schedule A/B: Property                                                          page 4
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 Debtor 1       Max E. Salas                                                                        Case number (if known)   18-00260


                                              Interest in 1610 Riggs Property Trust -
                                              Establishes Debtor as sole-trustee and sole-beneficiary
                                              Trust terminated through merger to grant ownership of trust
                                              property to debtor                                                                                    $0.00


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

 Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                           Beneficiary:                           Surrender or refund
                                                                                                                                  value:

                                         Interest in Life Insurance Policy
                                         through employer Cornet Technology,
                                         Inc.
                                         Interest to terminate upon full
                                         retirement on May 3, 2018
                                         $0.00 refund value                                   Ron Salas                                             $0.00


                                         Interest in health, vision, and dental
                                         insurance policies through employer
                                         Cornet Technology, Inc.
                                         $0.00 cash value                                                                                           $0.00


                                         Interest in Casualty Insurance -
                                         Progressive
                                         $0.00 cash value                                                                                           $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                         page 5
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 Debtor 1        Max E. Salas                                                                                                    Case number (if known)        18-00260
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

                                                          Potential claim against Encompass Insurance for unpaid
                                                          insurance funds due under policy                                                                                      Unknown


                                                          Contract claim against Fusion Contracting Group for
                                                          deficient and unperformed renovation work                                                                             Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
      Yes. Describe each claim.........

35. Any financial assets you did not already list
      No
      Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $543,844.01


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
       Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
      No
      Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
      Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
     Yes. Describe.....


41. Inventory
      No
      Yes. Describe.....


42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                  % of ownership:


Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 6
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 Debtor 1        Max E. Salas                                                                                                    Case number (if known)        18-00260


                                             1610 Riggs Property Trust a/k/a CLR, Inc.
                                             (Collapsing trust with full ownership vesting in
                                             Max Salas of all trust property)                                                            100%            %                     Unknown


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                   No
                   Yes. Describe.....


44. Any business-related property you did not already list
      No
      Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                    $0.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
      No
      Yes. Give specific information.........

                                             Washington Nationals MLB season tickets                                                                                         $10,000.00


                                             Washington Wizards NBA season basketball tickets                                                                                  $5,940.00


                                             Policy holder for potential insurance payout to third parties for liability
                                             from 2015 house fire - Encompass Insurance                                                                                        Unknown



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                 $15,940.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 7
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 Debtor 1         Max E. Salas                                                                                                          Case number (if known)   18-00260

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $2,500,000.00
 56. Part 2: Total vehicles, line 5                                                                               $0.00
 57. Part 3: Total personal and household items, line 15                                                     $18,945.00
 58. Part 4: Total financial assets, line 36                                                                $543,844.01
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +          $15,940.00

 62. Total personal property. Add lines 56 through 61...                                                    $578,729.01               Copy personal property total            $578,729.01

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $3,078,729.01




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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 Fill in this information to identify your case:

 Debtor 1                 Max E. Salas
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF DISTRICT OF COLUMBIA

 Case number           18-00260
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1610 Riggs Place, NW Washington,                               $2,500,000.00                                             D.C. Code Ann. §
      DC 20009                                                                                                                 15-501(a)(14)
      Property held in name of 1610 Riggs                                                  100% of fair market value, up to
      Property Trust through unrecorded                                                    any applicable statutory limit
      2010 Quitclaim Deed
      trust collapsed on creation through
      merger to convey property to debtor
      DC Records displays owner as Len
      Salas
      Contains
      Line from Schedule A/B: 1.1

      **See Attached List**                                            $14,000.00                                $8,621.00     D.C. Code Ann. § 15-501(a)(2)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Previously damaged and restored                                   $2,000.00                                     $1.00    D.C. Code Ann. § 15-501(a)(2)
      personal property being held in
      storage by Columbia Restoration                                                      100% of fair market value, up to
      **See attached list for property                                                     any applicable statutory limit
      description**
      Line from Schedule A/B: 6.2




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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Exhibit 22 M Salas Exhibit List for Exemption Hearing in Case No. 18-00260 Page 1 ofAPPX00919
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                                                        Brekelmans, et al. v. Salas, et al.




                                        Attorneys for
                                        Max E. Salas, Debtor and Debtor-In-Possession




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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 6 ofAPPX00928
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 7 ofAPPX00929
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 8 ofAPPX00930
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 9 ofAPPX00931
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 10 ofAPPX00932
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 11 ofAPPX00933
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 12 ofAPPX00934
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 13 ofAPPX00935
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 14 ofAPPX00936
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 15 ofAPPX00937
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 16 ofAPPX00938
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Exhibit 23 Courts Proceeding Memo for 3rd day of Exemption Hearing in Cas Page 17 ofAPPX00939
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE
                                        NASHVILLE DIVISION

 IN RE:                                                    )
                                                           )
 LEN SALAS                                                 )   CASE NO. 3:18-BK-02662
                                                   )           CHAPTER 11
            DEBTOR.                                )           JUDGE HARRISON
                                                   )
 NICOLAAS BREKELMANS AND                           )
 GAIL GREGORY BREKELMANS,                          )
 CO-PERSONAL REPRESENTATIVES OF                    )
 THE ESTATE OF NINA BREKELMANS                     )
                                                   )
 and                                               )
                                                   )
 MICHAEL MCLOUGHLIN AND                            )
 MARTHA JOHNSON, CO-PERSONAL                       )
 REPRESENTATIVES OF THE ESTATE                     )
 OF MICHAEL PATTRICK MCLOUGHLIN,                   )
                                                   )
           PLAINTIFFS,                             )
                                                   )
 v.                                                )   Adv. Pro. No. 3:20-ap-90027
                                                   )
 MAX SALAS,                                        )
                                                   )
           DEFENDANT.                              )

                         DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                       SUPPLEMENTAL LIST OF UNDISPUTED FACTS,
                     PURSUANT TO LOCAL RULE 7056-1 IN SUPPORT OF
                    THE PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Comes now the Defendant, Max Salas (the “Defendant”), by and through counsel, and submits

the following responses to the supplemental statement of undisputed facts (Doc. 79-1) (the “Plaintiffs’

Statement of Undisputed Facts”) submitted by the Plaintiffs:

           4. In 2007 Len Salas took out a loan for $870,000 in order to pay Max’s ex-wife an agreed

 $500,000 in a divorce settlement. Amended Joint Pre-trial Statement filed herein on March 29,

 2021, Parties Joint Statement of Uncontested Facts, (D-43, pp. 3-10) (“Joint Statement”), Nos. 12

 and 13.



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        RESPONSE:

 Admitted.

        11. That the Defendant is unaware of the location of the original Quitclaim Deed after

 2012. Exh. 3, Exemption Hrg Trans. Vol. 2, 55:7 - 58:13; Joint Statement No. 33.


        RESPONSE:

 Admitted.


        12. Ron Salas gave original(s) of the Trust and Quitclaim Deed of July 6, 2010 to Max

 Salas and only kept a copy. Exh. 4, L Salas Confirmation Hearing Transcript, 12/13/18, in Case

 No. 3:18-2662 (“L Salas Conf. Trans.”), 22:8-20; 53: 3-24. Exhibit 19 (Ron Salas - M Albert

 eMail chain, “Bates” No. salassm7-16-18 00557)

        RESPONSE:

 Admitted.

        16. Neither Len Salas nor Max Salas informed SunTrust in writing that Max was

 responsible for the SunTrust Deed of Trust Note payments. Exh. 4, L Salas Conf. Trans. 67:13-

 25; Exh. 13, L Salas Depo Trans. 22:22 - 23:7;

        RESPONSE:

Admitted that neither Len Salas nor Max Salas notified SunTrust in writing that Max Salas was
“responsible” for the SunTrust Deed of Trust, but denied to the extent that there is an implication
that SunTrust was not made aware of Max Salas’ involvement in the payment of the note. All
payments were made by Max Salas and Len Salas had signed a document authorizing SunTrust to
speak directly to Max Salas about the loan, so SunTrust had notice of Max Salas’ involvement.

        22. That on or about July 6, 2010, Ron Salas, an attorney recently admitted to practice law

 in Colorado, prepared a Trust document for the 1610 Riggs Property Trust along with a Quitclaim

 Deed purporting to transfer the Property from Len to Max. Joint Statement Nos. 24, 25, 26; Exh.




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 7.

        RESPONSE:

 Admitted.

        23. That the foresaid Trust and Deed were prepared and executed in Colorado. Joint

 Statement Nos. 24, 25, 26; Exh. 7.

        RESPONSE:

Admitted.

        30. There were no further communications regarding the creation or recording of a Deed

 for the transfer of the Property from Len to Max after February, 2012. Exh. 13, L Salas Depo

 Trans. 70:2-17.

        RESPONSE:

Admitted.

        34. That from the period 2010 through 2018 the Defendant did not declare the income

 from the rentals of rooms at the Property as income on his Federal or D.C. Income Tax Returns.

 Salas 2015 Federal Tax Return, Exh A to Plaintiffs’ Response (D-76-1).

        RESPONSE:

The Defendant objects to this statement on the basis that it is irrelevant. The Court has already
determined that these tax issues are irrelevant to this matter.

        37. The Plaintiffs’ judgments were allowed claims in both bankruptcy estates (Len’s and

 Max’s). Trustee’s Final Reports and Distribution, 18-2662, D-209 (Trustee’s Final Report), 220

 (Trustee’s Final Account) and 222 (Final Decree).

        RESPONSE:

Admitted.




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        38. The Plaintiffs received distributions on account of their claims from both estates.

 Trustee’s Final Reports and Distribution, 18-2662, D-209 (Trustee’s Final Report), 220 (Trustee’s

 Final Account) and 222 (Final Decree).

        RESPONSE:

Admitted.

        39. The Superior Court Judgments were recorded in the D.C. judgment records on or

 about April 5, 2018. Plaintiffs’ Proofs of Claim filed herein at claims C-5-1 and C-6-1, filed

 August 7, 2018, at pp. 4-9 of 9, respectively.

        RESPONSE:

Admitted.

        40. On April 18, 2018 both Len and Max filed separate Chapter 11 bankruptcy cases in

 the Middle District of Tennessee and the District of Columbia, respectively. Joint Statement No.

 5, Case No. 18-2662 (D-1), Case No. 18-260 (D-1).

        RESPONSE:

Admitted.

        41. At the time of the bankruptcy filings by Len and Max, Len was, and continued to be,

 until May 3, 2022, the title owner of property located at 1610 Riggs Place, NW, Washington, D.C.

 (“the Property”). Joint Statement Nos. 7 and 23, Complaint Exhibit B, Defendant’s Third

 Amended Plan (D-40-2), p. 19 of 37, Exh. 6, Exemption Hrg Trans. Vol 3, 40:2 - 46:16.

        RESPONSE:

Admitted that Lex Salas was the “owner” of the property listed on the deed to the property, but
denied that he held anything other than bare legal title.

        42. In 2007 Max deeded the Property to Len in 2007 after his father, Max, and Max’s then




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 wife, divorced. Joint State Nos. 11-13

        RESPONSE:

Admitted.

        43. Len then obtained a Deed of Trust from Sun Trust Bank for $870,000 (“the Sun Trust

 Loan”). Joint Statement No. 12.

        RESPONSE:

Admitted.

        45. Len received no part of the $870,000. M. Salas Affidavit attached as an Exhibit to the

 Defendant’s Opposition in Case No. 20-9007 (D-75-2)(“M Salas Aff.”); Exh. 5, L Salas Mtg of

 Creds Trans, at p. 6.

        RESPONSE:

Admitted.

        46. From 2007 through January 27, 2020, Len remained the sole owner of the Property.

 Max’s Confirmed Plan provides that the Confirmation Order constitutes “an Order conveying the

 Property to Max Salas”. See, Complaint, Exhibit B, Confirmed Plan, Max’s Bankruptcy (Case

 No. 18-00260) (D-298), p. 12, ¶ 4.4.; Joint Statement Nos. 7 and 23; Exh. 4, L Salas Conf Hrg

 Trans, 67:13-25; Exh. 6, Exemption Hrg Trans, Vol. 3, 43:25 - 44:24

        RESPONSE:

Admitted that Lex Salas was the “owner” of the property listed on the deed to the property, but
denied that he held anything other than bare legal title.

        47. At the time of Len’s purchase of the Property in 2007, Max had tax liens and other

 obligations which made it impossible for Max to obtain a loan on the Property. Exh. 6, Exemption

 Hrg Trans, Vol. 3, 71:9 - 72:23.




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        RESPONSE:

Admitted.

        50. According to Max, he tried to refinance the Property several times after 2007, all to no

 avail. In fact, at least through 2015 every attempt to refinance the Property required the

 participation of Len as a co-signer or co-obligor. Joint Statement Nos. 17, 18.

        RESPONSE:

Admitted.

        51. There are no documents indicating that Max was liable on the SunTrust loan at any

 time and Max never entered into any agreement or understanding with Len that Max was liable or

 responsible. Exh. 22, M Salas Document Production, 8/17/18, for Exemption Hearing, August 22-

 24, 2018, Docket No. 84, pp. 4-7; M Salas Aff.; Exh. 15, Motion to Approve U.S. Bank

 Settlement; Defendant’s Amended Answers to Plaintiffs’ Request for Admissions (“RFA”), 17;

 Exh. 23, Court Proceeding Memo in Case No. 18-00260 (D-96), 8/28/18 (“Proceeding Memo”),

 Exhibits Lists.

        RESPONSE:

Admitted that Max Salas never entered into any written agreement with Len Salas, but denied that
he never had an oral agreement or understanding that Max Salas would be responsible for the loan.
Both Max Salas and Len Salas have testified multiple times that there was an oral agreement to that
effect. Also denied that there are “no documents indicating that Max was liable on the SunTrust
loan.” All payments were made by Max Salas and Len Salas had signed a document authorizing
SunTrust to speak directly to Max Salas about the loan, so SunTrust was on notice of Max Salas’
involvement in the loan repayment.


        52. There is no document raised, proffered or produced by Max indicating that Len was

 not the sole party responsible for the Deed of Trust payments until at least November, 2019.

 Exh. 22, M Salas Document Production, Exemption Hearing, August 22-24, 2018, Docket No.




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 84, pp. 4-7; Exh. 15, Motion to Approve Settlement with U.S. Bank; Defendant’s Document

 Production in Case No. 3:20-90027; RFA 16, 18-20, Exh. 23, Proceeding Memo, Exhibits Lists.

        RESPONSE:

Denied. All payments were made to SunTrust by Max Salas and Len Salas had signed a document
authorizing SunTrust to speak directly to Max Salas about the loan. Documents evidencing this
have been produced by Max Salas to the Plaintiffs.

        54. From sometime after 2007 through the date of the fire, Max rented out rooms at the

 Property. The tenants, including Nina and Michael, signed leases under the name of “the CLR

 Trust” and Max signed each lease as Trustee. M Salas Aff. Exh. 1 (M Salas Depo Trans) 42:18 -

 43:2, 43:13-18; Joint Statement. Nos. 19-20; RFA 51.

        RESPONSE:

Admitted.


        57. The lease payments were put into an account in the name of the CLR Trust and were

 used to pay for the Deed of Trust obligations and other expenses associated with the Property. M

 Salas Aff.; Joint Statement. Nos. 19-22; RFA 26.

        RESPONSE:

Admitted.

        60. During the period 2015 through 2018, and continuing after Max’s Bankruptcy filing

 until November, 2019, no payments were made on the Sun Trust Deed of Trust Note (“the Sun

 Trust Note”) with the exception of one payment of made by Max from the insurance proceeds he

 received as a result of the fire damage. Joint Statement. No. 39.

        RESPONSE:

Admitted.




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           63. As of April, 2018, Len remained the sole obligor on the SunTrust Note. RFA 16.

           RESPONSE:

Admitted.

           65. At the time of the attempted Quitclaim Deed, in July, 2010, Len’s only significant

 asset was the Property. Joint Statement. No. 28.

           RESPONSE:

Admitted.

           66. At all relevant times, Len worked only part time and had limited income and assets.

 Exh. 13, L Salas Depo Trans, 22:18 - 23:25, 76:20 - 77:2, 87:6 - 21; Joint Statement No. 28.

           RESPONSE:

Admitted.

           67. At all times following the transfer in 2010, Len was insolvent. His liabilities exceeded

 his assets and his income was insufficient to pay his obligations, including the Sun Trust Deed of

 Trust Note payments. Exh. 13, L Salas Depo Trans, 22:18 - 23:25, 76:20 - 77:2, 87:6 - 21, Joint

 Statement Nos. 28 - 30.

           RESPONSE:

Admitted.



           84. These emails attached as Exhibit 7 were within the scope of the document production

 requested from Max as part of the discovery requests in the Exemption Hearing adversary

 proceeding in Max’s bankruptcy in D.C. Exh. 21, Debtor’s Responses to Movants’ First Set

 Request for Production of Documents, in Case No. 18-260, served on August 6, 2018, Request

 No. 10.



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        RESPONSE:

The Defendant objects to the relevance of this statement. The scope of the discovery requests in the
D.C. bankruptcy is irrelevant to this matter.

        85. Max, Ron and Len all testified at that hearing and all asserted, or supported the claim


 that the Quitclaim Deed of July 6, 2010 was in effect in 2018. Exhibits 3, 6, 20, Exemption Hrg

 Trans, Vols 1-3.

        RESPONSE:

Admitted.


        99.     The only deed referenced by Max or his counsel, allegedly entitling Max to an

 ownership interest in the Property, is the 2010 Quitclaim Deed. No other deed has been proffered,

 or even mentioned by the Salas family or by Max, specifically. Exhibit 13, L Salas Depo Trans,

 39:21 - 40:20, Exemption Hearing Transcripts Vols 1-3.

        RESPONSE:

Admitted.

        100. As of the filing of Len’s bankruptcy case in 2018, Len was obligated to pay over $15

 Million in damages to the Plaintiffs as a result of their judgments. Neither Len, nor the Trustee

 filed objections to the Plaintiffs’ claims filed in Len’s bankruptcy. Exh. 13, L Salas Depo Trans,

 61:12 - 62:13, Proofs of Claim Nos. C-5 and C-6,

        RESPONSE:

Admitted
       101. In Len’s Schedule J, filed on April 18, 2018 in Case No. 18-2662 (D-1), p. 35, Len

 listed total monthly income of $4977.75 and total monthly expenses of $4,407.14.

 On April 5, 2018 Max was a creditor of Len’s. He owed Len, at the very least, his contribution




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 for the Plaintiffs’ Judgment and the balance of the SunTrust Deed of Trust Note (at least

 $1,035,000 approx) per his consistent promise that he would pay that amount and his consistent

 assertion that he was responsible for payment of the SunTrust Note which was, at all relevant

 times, in Len’s name. Exh. 9, M Salas Schedules filed in Case No. 18-00260 in the United States

 Bankruptcy Court for the District of Columbia, 5/2/18, (D-12), (“M Salas Scheds”), Schedule

 A/B, p. 3 of 37, Schedule D, pp. 19-20 of 37, Schedule F, p. 27 of 37.

          RESPONSE:

The Defendant objects to the compound nature of this statement. Notwithstanding that objection,
the Defendant answers as follows.
The Defendant admits the statement concerning the contents of Len Salas’ Schedule J (the first
sentence of Paragraph 101).
The Defendant denies that he was a creditor of Len Salas’, as he never filed a claim and was not
listed as a creditor (the second sentence of Paragraph 101).
The Defendant denies that he owed Len Salas contribution, as no such demand was ever made, but
he admits that he owed the balance of the SunTrust Note pursuant to his promise to pay that note
(the third sentence of Paragraph 101).


          104. Max delivered the original Quitclaim Deed to Mr. Goldstein’s office. He does not

 recall that Mr. Goldstein mailed it back to Mr. Salas. Exh. 6, Exemption Trans. Vol. 3, 55:7 -

 56:21.

          RESPONSE:

Admitted.



          107. Max also learned from Albert that if Max could claim he is the actual owner of the

 Property, he could claim the Property exempt in his subsequent bankruptcy proceeding and, due to

 D.C.’s generous homestead exemption, Max could then claim the entire equity in the Property as

 exempt from execution by the Plaintiffs. Exh. 6, Exemption Hrg Trans. Vol 3, 121:3 - 122:1

          RESPONSE:



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The Defendant objects to this request on the grounds that it seeks information that is subject to the
attorney/client privilege. The citations provided by the Plaintiffs do not support the statements
made in Paragraph 107.


        124. As of June 17, 2011, Len and Max abandoned the Quitclaim Deed and no longer had


 any intent to use or record it. Exh. 7, eMails dated June, 2011 through February, 2012; Exh. 13, L

 Salas Depo Trans. 68:13 - 70:17.

        RESPONSE:

The Defendant denies this statement. The emails cited by the Plaintiffs show that Len Salas and Max
Salas continued their attempt to record the Quitclaim Deed, and the deposition transcript cited by the
Plaintiffs simply reflects that Len Salas could not recall what conversations occurred when.

Dated: September 28, 2022
                                              Respectfully Submitted,

                                              /s/ Phillip G. Young, Jr.
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                                       Certificate of Service

        The undersigned hereby certifies that a true and exact copy of the foregoing has been served

via electronic notice/ECF on all parties having made an appearance herein, including counsel for the

Plaintiffs.


This 28th day of September, 2022.

                                            /s/ Phillip G. Young, Jr.
                                            Phillip G. Young, Jr.




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